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Case 1:22-cv-00252-MSG Document 181-2 Filed 01/03/24 Page 50 of 820 PageID #: 7536




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Case 1:22-cv-00252-MSG Document 181-2 Filed 01/03/24 Page 58 of 820 PageID #: 7544
     Trials@uspto.gov                                                  Paper No. 51
     571.272.7822                                       Entered: September 11, 2019



             UNITED STATES PATENT AND TRADEMARK OFFICE
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              BEFORE THE PATENT TRIAL AND APPEAL BOARD
                             ____________

                        MODERNA THERAPEUTICS, INC.,
                                 Petitioner,

                                         v.

                        PROTIVA BIOTHERAPEUTICS, INC.,
                                 Patent Owner.
                                 ____________

                               Case IPR2018-00739
                               Patent 9,364,435 B2
                                 ____________

     Before SHERIDAN K. SNEDDEN, SUSAN L. C. MITCHELL, and
     RICHARD J. SMITH, Administrative Patent Judges.

     MITCHELL, Administrative Patent Judge.


                           FINAL WRITTEN DECISION

                     Determining Claims 1–6, 9, 12, 14, and 15
                       Unpatentable in Inter Partes Review
                     35 U.S.C. § 318(a) and 37 C.F.R. § 42.73

                   Determining Claims 7, 8, 10, 11, 13, and 16–20
                      Not Unpatentable in Inter Partes Review
                     35 U.S.C. § 318(a) and 37 C.F.R. § 42.73

                     Denying Patent Owner’s Motion to Amend
                     35 U.S.C. § 316(d) and 37 C.F.R. § 42.121




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Case 1:22-cv-00252-MSG Document 181-2 Filed 01/03/24 Page 59 of 820 PageID #: 7545
     IPR2018-00739
     Patent 9,364,435 B2
                                       INTRODUCTION
           This is a final written decision in inter partes review of claims 1–20
     of U.S. Patent No. 9,364,435 B2 (Ex. 1001, “the ’435 patent”) entered
     pursuant to 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73. For the reasons set
     forth below, we determine that Petitioner has shown by a preponderance of
     the evidence that claims 1–6, 9, 12, 14, and 15 of the ’435 patent are
     unpatentable under 35 U.S.C. § 102. See 35 U.S.C. § 316(e). We also
     determine that Petitioner has not shown by a preponderance of the evidence
     that claims 7, 8, 10, 11, 13, or 16–20 are unpatentable.
           Because we have found only some of the challenged claims
     unpatentable, we address Patent Owner’s contingent Motion to Amend
     concerning proposed substitute claims for those unpatentable claims, which
     are proposed substitute claims 21–26, 29, 32, 34, and 35. We also find that
     Patent Owner’s proposed substitute claims 21–26, 29, 32, 34, and 35 are
     unpatentable. Therefore, we deny Patent Owner’s Motion to Amend.

                                  A.     Procedural History
           Moderna Therapeutics, Inc. (“Petitioner”) 1 filed a Petition to institute
     an inter partes review of claims 1–20 (the “challenged claims”) of the
     ’435 patent. Paper 2 (“Pet.”); see 35 U.S.C. §§ 311–319. Petitioner relied
     upon the Declaration of Andrew S. Janoff, Ph.D. to support its challenge.




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      Petitioner states that the name of its parent has been changed to Moderna,
     Inc., and that Moderna, Inc.’s intellectual property matters are now
     conducted under the name of ModernaTX, Inc., which is a fully-owned
     subsidiary of Moderna, Inc. Paper 46, 2.

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     IPR2018-00739
     Patent 9,364,435 B2
     See generally Pet. Protiva Biotherapeutics, Inc. (“Patent Owner”)2 filed a
     Preliminary Response to the Petition. Paper 12 (“Prelim. Resp.”).
           Pursuant to 35 U.S.C. § 314(a), on September 12, 2018, we instituted
     an inter partes review of challenged claims 1–20 (Paper 15, “Inst. Dec.” or
     “Institution Decision”) instituting inter partes review of all challenged
     claims under all asserted grounds. Inst. Dec. 33. Patent Owner filed a
     Response (Paper 24, “PO Resp.”) supported by the Declaration of David H.
     Thompson, Ph.D (Ex. 2009). Petitioner filed a Reply (Paper 28, “Reply”)
     supported by a second Declaration of Dr. Janoff (Ex. 1021), and Patent
     Owner filed an authorized Sur-reply (Paper 34, “Sur-reply”). See Papers 16,
     19 (authorizing Patent Owner’s Sur-Reply).
           Patent Owner filed a contingent motion to amend (Paper 26
     (corrected), “Mot.”) supported by a Declaration of Dr. Thompson
     (Ex. 2040), which Petitioner opposed (Paper 29, “Opposition to Motion to
     Amend”) with a supporting Declaration of Dr. Janoff (Ex. 1020). Patent
     Owner filed a Reply to Petitioner’s opposition. Paper 33, “Reply Opp.”
           At the request of both parties, we held an oral hearing on June 6,
     2019, and the transcript of that hearing has been entered into the record.
     Paper 49 (“Tr.”).




     2
      According to Patent Owner, Protiva Biotherapeutics, Inc. (“Protiva”)
     existed as a wholly-owned subsidiary of Arbutus Biopharma Corporation
     and was amalgamated into Arbutus Biopharma Corporation in January 2018.
     Paper 14, 2. Patent Owner identifies Arbutus Biopharma Corporation (fka
     “Tekmira”), Genevant Sciences, Ltd., and its fully owned subsidiaries:
     Genevant Sciences Holding, Ltd., Genevant Sciences Corporation, Genevant
     Sciences, Inc., and Genevant Sciences, GmbH, as the real parties in interest.
     Id.

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     IPR2018-00739
     Patent 9,364,435 B2
                                    B.      Related Proceedings
           Patent Owner identifies the following related matters:
           Moderna Therapeutics, Inc. v. Protiva Biotherapeutics, Inc.,
     IPR2018-00680 regarding U.S. Patent No. 9,404,127 B2; and European
     Patent Office Opposition proceedings regarding EP 2 279 254. Paper 14, 2.

                               C.        The ’435 Patent (Ex. 1001)
           The ’435 patent relates to “stable nucleic acid-lipid particles (SNALP)
     comprising a nucleic acid (such as one or more interfering RNA), methods
     of making the SNALP, and methods of delivering and/or administering the
     SNALP.” Ex. 1001, Abstract. The ’435 patent states that “[t]he present
     invention is based, in part, upon the surprising discovery that lipid particles
     comprising from about 50 mol % to about 85 mol % of a cationic lipid, from
     about 13 mol% to about 49.5 mol % of a non-cationic lipid, and from about
     0.5 mol % to about 2 mol % of a lipid conjugate provide advantages when
     used for the in vitro or in vivo delivery of an active agent, such as a
     therapeutic nucleic acid (e.g., an interfering RNA).” Id. at 5:55–62. The
     ’435 patent further states that
           the present invention provides stable nucleic acid-lipid particles
           (SNALP) that advantageously impart increased activity of the
           encapsulated nucleic acid (e.g., an interfering RNA such as
           siRNA) and improved tolerability of the formulations in vivo,
           resulting in a significant increase in the therapeutic index as
           compared to nucleic acid-lipid particle compositions previously
           described. Additionally, the SNALP of the invention are stable
           in circulation, e.g., resistant to degradation by nucleases in serum
           and are substantially non-toxic to mammals such as humans.
     Id. at 5:62–6:5.
            The ’435 patent identifies specific SNALP formulations that
     encapsulate siRNA as the nucleic acid, such as the 1:57 SNALP and the 1:62

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     IPR2018-00739
     Patent 9,364,435 B2
     SNALP, and states that “the Examples herein illustrate that the improved
     lipid particle formulations of the invention are highly effective in
     downregulating the mRNA and/or protein levels of target genes.” Id. at 6:5–
     30.

                                    D.    Illustrative Claim
           Petitioner challenges claims 1–20 of the ’435 patent. Claim 1 is
     illustrative and reproduced below:
           1. A nucleic acid-lipid particle comprising:
           (a) a nucleic acid;
           (b) a cationic lipid comprising from 50 mol % to 85 mol % of the
           total lipid present in the particle;
           (c) a non-cationic lipid comprising from 13 mol % to 49.5 mol %
           of the total lipid present in the particle; and
           (d) a conjugated lipid that inhibits aggregation of particles
           comprising from 0.5 mol % to 2 mol % of the total lipid present
           in the particle.
     Ex. 1001, 89:55–63.
           Claim 1 is the only independent claim, and claims 2–20 are directly or
     indirectly dependent on claim 1. Id. at 89:55–92:22.

                       E.    The Instituted Grounds of Unpatentability
           We instituted the instant trial based on the following grounds of
     unpatentability. Inst. Dec. 5, 33.




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     IPR2018-00739
     Patent 9,364,435 B2
         Reference[s]                  Basis               Claims challenged
         WO 2005/007196 A23 and      § 103                 1–20
                             4
         US 2006/0134189 A1
         ’196 PCT, ’189 Publication, § 103                 1–20
         Lin,5 and Ahmad6
         US 2006/0240554 A17         §§ 102 and 103        1–20

                                           ANALYSIS

                            A.     Person of Ordinary Skill in the Art
             Petitioner asserts that a person having ordinary skill in the art
     (“POSITA”) “would have specific experience with lipid particle formation
     and use in the context of delivering therapeutic payloads, and would have a
     Ph.D., an M.D., or a similar advanced degree in an allied field (e.g.,
     biophysics, microbiology, biochemistry) or an equivalent combination of
     education and experience.” Pet. 5 (citing Ex. 1007 ¶¶ 31–32). Petitioner
     further states that “[t]his level of skill is representative of the inventors on
     the ’435 patent and authors/inventors of prior art cited herein.” Id. at 6. We



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       Ian MacLachlan et al., WO 2005/007196 A2, published Jan. 27, 2005
     (“’196 PCT”). Ex. 1002.
     4
       Ian MacLachlan et al., US 2006/0134189 A1, published June 22, 2006
     (“’189 Publication”). Ex. 1003.
     5
       Alison J. Lin et al., Three-Dimensional Imaging of Lipid Gene-Carriers:
     Membrane Charge Density Controls Universal Transfection Behavior in
     Lamellar Cationic Liposome-DNA Complexes, 84 BIOPHYSICAL J. 3307–16
     (2003) (“Lin”). Ex. 1005.
     6
       Ayesha Ahmad et al., New Multivalent Cationic Lipids Reveal Bell Curve
     for Transfection Efficiency Versus Membrane Charge Density: Lipid-DNA
     Compleses for Gene Delivery, 7 J. GENE MED. 739–48 (2005) (“Ahmad”).
     Ex. 1006.
     7
       Tongqian Chen et al., US 2006/0240554 A1, published Oct. 26, 2006
     (“’554 Publication”). Ex. 1004.
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     IPR2018-00739
     Patent 9,364,435 B2
     applied that description for purposes of our Institution Decision. Inst.
     Dec. 7.
           Patent Owner objects to Petitioner’s proffered definition for two
     reasons. PO Resp. 9–10 (citing Ex. 2009 ¶¶ 22–24). First, Patent Owner
     objects to Petitioner’s equating the level of ordinary skill with the level of
     skill of the inventors of the ’435 patent. Id. According to Patent Owner,
     “the petition has improperly assumed a much higher level of skill than that
     of a person of ordinary skill in the art (“POSITA”).” Id. at 10 (citing
     Ex. 1007 ¶ 31; 2009 ¶¶ 22–24; Ex. 2028, 44:8–12). Patent Owner further
     states that “[b]ecause the petition sets the level much higher, to that of the
     inventors, Petitioner has failed to conduct an appropriate analysis.” Id. at 10
     (citing Ex. 2009 ¶¶ 23–24).
           As an initial matter, we did not rely on Petitioner’s statement that the
     proposed level of skill is representative of the inventors on the ’435 patent in
     our Institution Decision, and we do not rely on it for purposes of this
     Decision. See Inst. Dec. 6. We do not view Petitioner’s statement regarding
     the proposed level of ordinary skill as representative of the inventors on the
     ’435 patent as part of Petitioner’s proposed level of ordinary skill in the art.
           Second, Patent Owner objects to Petitioner’s definition of a person of
     ordinary skill because it is indeterminable. PO Resp. 10. Patent Owner
     bases this contention on its characterization of Dr. Janoff’s testimony during
     cross-examination. Id. Patent Owner states that Dr. Janoff “repeatedly
     indicat[ed] that Petitioner’s own definition is ‘too vague’ to understand.” Id.
     (citing Ex. 2028, 33:6–14, 34:7–35:25, 36:1–37:5). Although Dr. Janoff
     may not have been as responsive to some questions during his deposition as
     may have been appropriate, see PO Resp. 4–8, what Dr. Janoff said in the
     cited portions of his testimony was that the questions from Patent Owner’s

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     IPR2018-00739
     Patent 9,364,435 B2
     counsel were “too vague.” See Ex. 2028, 3:36–14, 34:7–35:25, 36:1–37:5.
     The cited portions of Dr. Janoff’s testimony indicate that, rather than
     specifically asking about Petitioner’s proposed definition of a person having
     ordinary skill in the art, Dr. Janoff was asked questions about his work
     experience. Id.; see, e.g., id. at 33:7–8, 35:7–8 (“Do you have specific
     experience working with lipid particles?” “Do you have any experience with
     any therapeutic payload?”).
           Although Patent Owner cites to Dr. Thompson’s testimony in support
     of its objections to Petitioner’s definition, it does not expressly proffer its
     own definition of a person of ordinary skill in the art. PO Resp. 9–10 (citing
     Ex. 2009 ¶¶ 22–24). Dr. Thompson states that “Dr. Janoff has not simply
     applied a slightly higher level of skill in the art in setting forth his opinions
     in his declaration, but has assumed a much higher level of skill than that of a
     person of ordinary skill in the art.” Ex. 2009 ¶ 24. Dr. Thompson, however,
     does not proffer what he considers to be an appropriate level of ordinary
     skill in the art. See generally Ex. 2009.
           Accordingly, we find on the record as a whole that a person of
     ordinary skill in the art would have specific experience with, and/or be
     generally familiar with, lipid particle formation and use in the context of
     delivering therapeutic payloads, and would have a Ph.D., an M.D., or a
     similar advanced degree in an allied field (e.g., biophysics, microbiology,
     biochemistry) or an equivalent combination of education and experience.
     We also find on this record that both Dr. Janoff and Dr. Thompson are ones
     of at least ordinary skill in the art under this standard. See Ex. 1007 ¶¶ 8–22;
     Ex. 1018 (curriculum vitae of Dr. Janoff); Ex. 2009 ¶¶ 1–6; Ex. 2010
     (curriculum vitae of Dr. Thompson).



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     IPR2018-00739
     Patent 9,364,435 B2
           We further note that the prior art itself demonstrates the level of skill
     in the art at the time of the invention. See Okajima v. Bourdeau, 261 F.3d
     1350, 1355 (Fed. Cir. 2001) (explaining that specific findings regarding
     ordinary skill level are not required “where the prior art itself reflects an
     appropriate level and a need for testimony is not shown”) (quoting Litton
     Indus. Prods., Inc. v. Solid State Sys. Corp., 755 F.2d 158, 163–64 (Fed. Cir.
     1985)).

                                   B.     Claim Construction
           For petitions filed before November 13, 2018, 8, the Board interprets
     claim terms in an unexpired patent according to the broadest reasonable
     construction in light of the specification of the patent in which they appear.
     37 C.F.R. § 42.100(b); Cuozzo Speed Techs., LLC v. Lee, 136 S. Ct. 2131,
     2142 (2016) (affirming applicability of broadest reasonable construction
     standard to inter partes review proceedings). “Under a broadest
     reasonable interpretation, words of the claim must be given their plain
     meaning, unless such meaning is inconsistent with the specification and
     prosecution history.” Trivascular, Inc. v. Samuels, 812 F.3d 1056, 1062
     (Fed. Cir. 2016). Any special definitions for claim terms must be set forth
     with reasonable clarity, deliberateness, and precision. See In re Paulsen,
     30 F.3d 1475, 1480 (Fed. Cir. 1994). Only terms in controversy must be
     construed and only to the extent necessary to resolve the controversy.



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       The Petition was filed March 5, 2018. Paper 2. See Changes to the Claim
     Construction Standard for Interpreting Claims in Trial Proceedings Before
     the Patent Trial and Appeal Board, 83 Fed. Reg. 51,340 (Oct. 11, 2018) (to
     be codified at 37 C.F.R. pt. 42).


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     IPR2018-00739
     Patent 9,364,435 B2
     Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795, 803 (Fed. Cir.
     1999).
           As in our Decision on Institution, because Patent Owner substantively
     challenges the proposed construction of the term “nucleic acid-lipid particle”
     and relies on its narrower definition of the term in its arguments addressing
     the grounds asserted, we address the construction of that term, but find that
     we need not construe any other terms addressed by Petitioner for the purpose
     of reaching our institution decision. We again note, however, that Petitioner
     provides the same definition for “cationic lipid” as the express definition set
     forth in the specification of the ’435 patent, namely, “any of a number of
     lipid species that carry a net positive charge at a selected pH, such as
     physiological pH (e.g., pH of about 7.0).” Compare Pet. 24, with Ex. 1001,
     12:59–61.

                                nucleic acid-lipid particle
           In our Decision on Institution, we expressly defined the term “nucleic
     acid-lipid particle. See Inst. Dec. 7–11. In construing this claim term when
     read in light of the Specification of the ’435 patent, we stated that it should
     not be limited to the definition of a stable nucleic acid-lipid particle or
     SNALP and that it should not be limited to in vivo use. See Inst. Dec. 9–10.
     We concluded that:
                   Our preliminary construction of “nucleic acid-lipid
           particle” at this stage of the proceeding and for purposes of this
           decision is derived from the express definition of “lipid particle”
           as set forth in the ’435 patent that generally describes use of such
           a lipid particle to deliver nucleic acid as an active or therapeutic
           agent where the nucleic acid may be encapsulated in the lipid to
           protect it from enzymatic degradation. At this stage of the
           proceeding, we define “nucleic acid-lipid particle” as “a particle
           that comprises a nucleic acid and lipid, in which the nucleic acid


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     IPR2018-00739
     Patent 9,364,435 B2
           may be encapsulated in the lipid portion of the particle.” See
           Ex. 1001, 11:14–22.
     Inst. Dec. 10–11.
           Patent Owner asserts that our proposed construction is too broad “at
     least to the extent [that it encompasses] lipid particles lacking any
     encapsulated nucleic acid.” PO Resp. 11. Patent Owner asserts that a
     “nucleic acid-lipid particle” when read in light of the Specification of the
     ’435 patent requires that the nucleic acid be encapsulated in the lipid
     particle. Id. at 11–12. Patent Owner’s reasoning is as follows.

                  A “nucleic acid-lipid particle” expressly includes a nucleic
           acid. According to the ’435 patent, “nucleic acids, when present
           in the lipid particles of the present invention, are resistant in
           aqueous solution to degradation with a nuclease.” EX1001,
           11:51–54. The ’435 patent describes nucleic acid encapsulation
           in the lipid particle as conferring resistance to such enzymatic
           degradation. EX1001, 11:20–22; see also EX2007, 4:15–19;
           22:40–45; 23:1–3; 23:27–29; 26:35–37. A “lipid particle” “may
           [include a nucleic acid] encapsulated in the lipid portion of the
           particle, thereby protecting it from enzymatic degradation.”
           EX1001, 11:14–22. A “nucleic acid-lipid particle,” however,
           does include a nucleic acid encapsulated in the lipid portion of
           the particle, thereby protecting it from enzymatic degradation.
           EX1001, 11:23–31, 11:51–54; see also EX2009 ¶39.
     PO Resp. 11–12 (emphasis in original).
           In short, Patent Owner asserts that we should construe “nucleic
     acid-lipid particle” as a SNALP. Id. at 12–13 (citing testimony of
     Dr. Janoff and Dr. Thompson and the Specification of the ’435
     patent). Patent Owner concludes, however, that whichever
     construction we choose as the broadest reasonable construction, “the
     petition fails to establish the unpatentability of claims 1–20.” PO
     Resp. 13.


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           Petitioner responds that Patent Owner is trying inappropriately
     to import “serum stable” and “systemic use” limitations into the
     claims to limit the claims to a SNALP. See Reply 3–5.
           We find that our construction of “nucleic acid-lipid particle” is the
     broadest reasonable construction in light of the Specification of the ’435
     patent. 37 C.F.R. § 42.100(b); Cuozzo Speed Techs., 136 S. Ct. at 2142. For
     instance, the ’435 patent identifies a “stable nucleic acid-lipid particle” or
     SNALP as an example of a “nucleic acid-lipid particle,” see, e.g., Ex. 1001,
     3:38–39 (stating “nucleic acid-lipid particle (e.g., SNALP)”), 3:47–48, 3:57–
     58, 4:4–8, 4:12–13, 4:17–19, 27:43–45, and the term “nucleic acid-lipid
     particle” is broader than a SNALP.
           The Specification of the ’435 patent states that a SNALP requires the
     nucleic acid to be fully encapsulated within the lipid. See Ex. 1001, 11:23–
     30. A “lipid particle” with a nucleic acid as a therapeutic agent, i.e., a
     nucleic acid-lipid particle, however, may have the nucleic acid “encapsulated
     in the lipid, thereby protecting the agent [or nucleic acid] from enzymatic
     degradation.” Id. at 11:14–22 (defining “lipid particle”). Encapsulation, or
     more specifically, full encapsulation of the nucleic acid is not required
     according to the Specification of the ’435 patent.
           In fact, “lipid encapsulated” as defined in the Specification of the ’435
     patent “can refer to a lipid particle that provides an active agent or
     therapeutic agent, such as a nucleic acid (e.g., an interfering RNA), with full
     encapsulation, partial encapsulation, or both. In a preferred embodiment, the
     nucleic acid is fully encapsulated in the lipid particle (e.g., to form an SPLP,
     pSPLP, SNALP, or other nucleic acid-lipid particle).” Id. at 11:59–64. The
     Specification of the ’435 patent expressly states that only “[i]n some



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     embodiments, the nucleic acid is fully encapsulated in the lipid particle.” Id.
     at 27:43–47.
           Dr. Thompson attempts to shoehorn the statement that nucleic acids,
     when in the lipid particles, “are resistant in aqueous solution to degradation
     with a nuclease,” to require a “nucleic acid-lipid particle” as required by the
     claims to be a SNALP. See PO Resp. 11–12; Ex. 2009 ¶¶ 39–45 (stating in
     paragraph 45 that “there is no meaningful distinction between a nucleic acid-
     lipid particle and a SNALP in the context of the ’435 patent”). Although we
     do not question that the ’435 patent touts SNALPs as the focus of the ’435
     patent, see Ex. 1001, Abst., the claims are not limited to SNALPs when the
     claims are read in light of the Specification of the ’435 patent.
           Accordingly, we construe “nucleic acid-lipid particle” as “a particle
     that comprises a nucleic acid and lipids, in which the nucleic acid may be
     encapsulated in the lipid portion of the particle.” See Ex. 1001, 15:52–63.9
     This is the same construction that we applied for purposes of the Institution
     Decision. Inst. Dec. 10–11.
           We determine that we need not expressly construe any undisputed
     terms. See Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co., 868
     F.3d 1013, 1017 (Fed. Cir. 2017) (“[W]e need only construe terms ‘that are
     in controversy, and only to the extent necessary to resolve the controversy’”)
     (quoting Vivid Techs., 200 F.3d at 803).




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       We also continue to find that “nucleic acid-lipid particle” is not limited to
     in vivo use for the same reasons that we gave in our Decision on Institution.
     See Inst. Dec. 10.
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                                     C.     Principles of Law
           As set forth above, we instituted trial on all of Petitioner’s challenges
     to the claims of the ’435 patent on anticipation and obviousness grounds.
     Dec. 18; Pet. 7. The following principles of law guide our analysis of the
     asserted grounds.

                  1. Anticipation
           To establish anticipation, each and every element in a claim, arranged
     as recited in the claim, must be found in a single prior art reference. Net
     MoneyIN, Inc. v. VeriSign, Inc., 545 F.3d 1359, 1369 (Fed. Cir. 2008);
     Karsten Mfg. Corp. v. Cleveland Golf Co., 242 F.3d 1376, 1383 (Fed. Cir.
     2001). “A reference anticipates a claim if it discloses the claimed invention
     ‘such that a skilled artisan could take its teachings in combination with his
     own knowledge of the particular art and be in possession of the invention.’”
     In re Graves, 69 F.3d 1147, 1152 (Fed. Cir. 1995) (internal citation and
     emphasis omitted). Moreover, “it is proper to take into account not only
     specific teachings of the reference but also the inferences which one skilled
     in the art would reasonably be expected to draw therefrom.” In re Preda,
     401 F.2d 825, 826 (CCPA 1968); see Eli Lilly & Co. v. Los Angeles
     Biomedical Res. Inst. at Harbor-UCLA Medical Ctr., 849 F.3d 1073, 1074–
     75 (Fed. Cir. 2017).
           “Inherency is not necessarily coterminous with the knowledge of
     those of ordinary skill in the art. . . . Artisans of ordinary skill may not
     recognize the inherent characteristics or functioning of the prior art.” Atlas
     Powder Co. v. Ireco, Inc., 190 F.3d 1342, 1347 (Fed. Cir. 1999) (citing
     Titanium Metals Corp. v. Banner, 778 F.2d 775, 780, 782 (Fed. Cir. 1985).




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           “[T]he discovery of a previously unappreciated property of a prior art
     composition, or of a scientific explanation for the prior art’s functioning,
     does not render the old composition patentably new to the discoverer.” Id.
     (citing Titanium Metals, 778 F.2d at 782). “It is also an elementary principle
     of patent law that when, as by a recitation of ranges or otherwise, a claim
     covers several compositions, the claim is ‘anticipated’ if one of them is in
     the prior art.” Titanium Metals, 778 F.2d at 782 (emphasis added).

                   2. Obviousness
           A claim is unpatentable under 35 U.S.C. § 103(a) if the differences
     between the claimed subject matter and the prior art are such that the subject
     matter, as a whole, would have been obvious at the time the invention was
     made to a person having ordinary skill in the art to which said subject matter
     pertains. KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406 (2007).
     The question of obviousness is resolved on the basis of underlying factual
     determinations including: (1) the scope and content of the prior art; (2) any
     differences between the claimed subject matter and the prior art; (3) the level
     of ordinary skill in the art; and (4) objective evidence of nonobviousness.
     Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). “Both the suggestion
     and the expectation of success must be founded in the prior art, not in the
     applicant’s disclosure.” In re Dow Chemical Co., 837 F.2d 469, 473 (Fed.
     Cir. 1988).
           In analyzing the obviousness of a combination of prior art elements, it
     can be important to identify a reason that would have prompted one of skill
     in the art “to combine . . . known elements in the fashion claimed by the
     patent at issue.” KSR, 550 U.S. at 418. A precise teaching directed to the
     specific subject matter of a challenged claim is not necessary to establish


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     obviousness. Id. Rather, “any need or problem known in the field of
     endeavor at the time of invention and addressed by the patent can provide a
     reason for combining the elements in the manner claimed.” Id. at 420.
     Accordingly, a party who petitions the Board for a determination of
     unpatentability based on obviousness must show that “a skilled artisan
     would have been motivated to combine the teachings of the prior art
     references to achieve the claimed invention, and that the skilled artisan
     would have had a reasonable expectation of success in doing so.”
     In re Magnum Oil Tools Int’l, Ltd., 829 F.3d 1364, 1381 (Fed. Cir. 2016)
     (quotations and citations omitted).
           In KSR, the Supreme Court also stated that an invention may be found
     obvious if trying a course of conduct would have been obvious to a person
     having ordinary skill:
                  When there is a design need or market pressure to solve a
           problem and there are a finite number of identified, predictable
           solutions, a person of ordinary skill has good reason to pursue
           the known options within his or her technical grasp. If this leads
           to the anticipated success, it is likely the product not of
           innovation but of ordinary skill and common sense. In that
           instance the fact that a combination was obvious to try might
           show that it was obvious under § 103.
     550 U.S. at 421. “KSR affirmed the logical inverse of this statement by
     stating that § 103 bars patentability unless ‘the improvement is more than
     the predictable use of prior art elements according to their established
     functions.’” In re Kubin, 561 F.3d 1351, 135960 (Fed. Cir. 2009) (citing
     KSR, 550 U.S. at 417).
           We analyze the asserted grounds of unpatentability in accordance with
     the above-stated principles. First, we address the anticipation and
     obviousness ground involving the ’554 Publication as it is dispositive of

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     many of the challenged claims. For the claims for which the ’554
     Publication does not either anticipate or render them obvious, we address the
     remaining grounds.

                 D.        Anticipation by or Obvious Over the ’554 Publication
            Petitioner asserts that claims 1–20 of the ’435 patent are unpatentable
     as anticipated by or obvious over the ’554 Publication. Pet. 51–64. With
     regard to its anticipation challenge, Petitioner points to a specific
     formulation taught in the ’554 Publication of a nucleic acid-lipid particle
     using the L054 formulation as described in Figure 16 with siRNA for
     reducing HBsAg levels. Id. at 52. Petitioner also points to a more general
     discussion in the ’554 Publication which it admits “does not disclose exactly
     the same ranges of lipid components from claim 1 of the ’435 patent
     explicitly, [but] it discloses encompassing and overlapping ranges and
     specific examples falling within the claimed ranges with sufficient
     specificity to anticipate.” Id. at 51.
            Patent Owner responds that the L054 formulation is not a nucleic
     acid-lipid particle as set forth in the claims, and the prior art ranges are not
     sufficiently specific to anticipate the challenged claims. PO Resp. 39–46.
     Patent Owner also asserts that “Petitioner does not provide any showing that
     the ’554 Publication would have taught or suggested the use of nucleic acid–
     lipid particles with high levels of cationic lipids and low levels of conjugated
     lipids.” Id. at 47.
            We have reviewed the complete record before us, including the
     parties’ explanations and supporting evidence presented during this trial.
     We determine that given the evidence on this record, Petitioner has shown




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     by a preponderance of the evidence that claims 1–6, 9, 12, 14, and 15 are
     anticipated by the ’554 Publication.

                   1. ’554 Publication (Ex. 1004)
            The ’554 Publication involves lipid nanoparticles that transfect or
     deliver biologically active molecules, such as siRNA, to relevant cells and/or
     tissues in a subject to prevent, inhibit, or treat diseases, conditions, or traits
     in a cell, subject, or organism. Ex. 1004, Abst., ¶¶ 16–20. The ’554
     Publication notes that cationic lipids may be used to transport foreign
     nucleic acids into cells because such lipids “interact with nucleic acids
     through one end and lipid or membrane systems through another.” Id. ¶ 5.
     The ’554 Publication also identifies two structurally different complexes
     comprising nucleic acid and cationic lipid: a lamellar structure in which the
     nucleic acid monolayers sandwiched between cationic lipid bilayers, and an
     inverted hexagonal structure “in which nucleic acid molecules are encircled
     by cationic lipid in the formation of a hexagonal structure.” Id. ¶ 13. The
     inverted hexagonal structure exhibits greater transfection efficiency, but has
     very poor stability as compared to the lamellar complex. Id. The ’554
     Publication concludes that converting the complexes to an inverted
     hexagonal structure using a suitable helper lipid or a co-surfactant, however,
     is not suitable for delivery in biological systems. Id.
            Therefore, the ’554 Publication identifies a “need to design delivery
     agents that are serum stable, i.e. stable in circulation, that can undergo
     structural transformation, for example from lamellar phase to inverse
     hexagonal phase, under biological conditions.” Id. ¶ 14. In answer to this
     need, the ’554 Publication states that:
                 The present application provides compounds,
            compositions and methods for significantly improving the

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            efficiency of systemic and local delivery of biologically active
            molecules. Among other things, the present application
            provides compounds, compositions and methods for making
            and using novel delivery agents that are stable in circulation and
            undergo structural changes under appropriate physiological
            conditions (e.g., pH) which increase the efficiency of delivery
            of biologically active molecules.
     Id. ¶ 15.
            The ’554 Publication describes a particular embodiment, the L054
     formulation. The ’554 Publication states:
                   In one embodiment, the invention features a serum-stable
            formulated molecular composition comprising a biologically
            active molecule (e.g., a siNA molecule), a cationic lipid, a
            neutral lipid, and a PEG-conjugate, in which the cationic lipid
            is DMOBA, the neutral lipid is distearoylphosphatidylcholine
            (DSPC), and the PEG conjugate is PEG-DMG. In another
            embodiment, the composition further comprises cholesterol or a
            cholesterol derivative. This is known as formulation L053 or
            L054 (see Table IV).
     Id. ¶ 140.
            The L054 formulation was utilized in two evaluations, one of a
     formulated siNA composition in models of chronic HBV infection, and a
     second of a formulated siNA composition in an in vitro HCV replicon model
     of HCV infection. See id. ¶¶ 393, 400, 595, 603. The L054 formulation’s
     use in the chronic HBV infection model showed an example of in vitro
     efficacy of siNA nanoparticles in reducing HBsAg levels in HepG2 cells.
     Id. ¶ 395. The L054 formulation’s use in the in vitro HCV replicon model
     of HCV infection showed an “example of formulated siNA L053 and L054
     (Table IV) nanoparticle constructs targeting viral replication in a Huh7 HCV
     replicon system in a dose dependent manner.” Id. ¶ 400.




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           The formulation for L054 is shown in Table IV of the ’554
     Publication as set forth below.




     Id. at Table IV; ¶ 92 (“In one embodiment, the molar ratio of
     DMOBA:DSPC:cholesterol:PEG-DMG are 50:20:28:2 respectively, this
     composition is generally referred to herein as formulation L054.”).

                  2.   Analysis
           Petitioner principally relies on the L054 formulation disclosed in the
     ’554 Publication to establish that the challenged claims are anticipated. See
     Pet. 51–64. We begin our analysis with the only independent claim, claim 1,
     as Patent Owner’s arguments focus on the limitations of this claim.
                  a. Claim 1
           Petitioner points to the L054 formulation as disclosed in the ’554
     Publication as providing an example of the nucleic acid-lipid particle with
     the components as set forth in claim 1 within the claimed ranges. See Pet.
     52–56.
           Dr. Janoff testifies as follows concerning this specific example.
                 The ’554 publication also includes various specific
           formulations, including formulation L054, which contains 50%
           cationic lipid (DMOBA), 48% non-cationic lipid (CHol/DSPC),
           and 2% conjugate lipid (PEG-n-DMG). Ex. 1004, Table 4.
           This formulation was tested, for example, with siRNA for
           reducing HBsAg levels. See id., Fig. 16. The disclosed nucleic



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           acid-lipid particles meet all of the limitations in claim 1 of the
           ’435 patent.
     Ex. 1007 ¶ 99; see id. ¶¶ 144–152.
           “It is also an elementary principle of patent law that when, as by a
     recitation of ranges or otherwise, a claim covers several compositions, the
     claim is ‘anticipated’ if one of them is in the prior art.” Titanium Metals,
     778 F.2d at 782 (emphasis added) (citing In re Petering, 301 F.2d 676, 682
     (CCPA 1962)); KSR, 550 U.S. at 406. Here, it appears that the L054
     formulation is a composition that is covered by claim 1 because it contains
     all of the components required by claim 1 within the claimed ranges.
           Patent Owner asserts that the L054 is a lipid mixture, that may be used
     to make particles, but is not a particle itself. PO Resp. 39–40. Petitioner
     counters that the ’435 patent similarly uses input formulations in describing
     the nucleic acid-lipid particles of the invention, which Dr. Thompson
     confirmed. Reply 13–14; Ex. 1019, 162:9–14.
           We agree with Petitioner that the ’435 patent describes nucleic acid-
     lipid particles in terms of mole percent of the formulation’s composition, not
     the particle, just as in the ’554 Publication. See, e.g., Ex. 1001, 69:50–70:15
     (Table 2 showing formulation composition in mole percent); Ex. 1004,
     Table IV (showing composition of L054 formulation in molar ratio); see
     also Ex. 1021 ¶ 27 (Dr. Janoff explaining that using lipid percentages in the
     formulations for a nucleic acid-lipid particle “was accepted practice in the
     field.”); Ex. 1019, 162:9–14 (Dr. Thompson stating that he did not recall any
     description of cationic lipid analysis after particle formulation in the ’435
     patent). The ’435 patent describes the resultant nucleic acid-lipid particle
     not in terms of mole percent of its components, but in terms of its size, poly-



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     dispersity, and percent encapsulation of the drug. See, e.g., Ex. 1001,
     69:50–70:15.
           We do not agree with Patent Owner’s conclusion that the final particle
     products of the L054 formulation all fall outside of the claimed range, and
     therefore, not anticipate claim 1. Dr. Thompson testifies that
     cholesterol-based detergents identified for use with the detergent dialysis
     methods described in the ’554 Publication would skew the molar ratio of
     lipids in the finished particles relative to the starting materials because less
     cholesterol would be incorporated in the finished particles. Ex. 2009 ¶ 113.
     Dr. Thompson concludes that:
                  In the L054 example, while the lipid formulation is listed
           as 50/20/28/2, the molar fractions of the same lipids in the
           resulting particle would be expected [to] be different and
           presumably outside the scope of the challenged claims. The
           L054 lipid mixture has cationic lipid content and conjugated
           lipid content that are at the edge of the claimed ranges.
           Because L054 has cationic lipid content and conjugated lipid
           content on the edge of the claimed range, even small
           differences in incorporation of components will result in lipid
           particles that are outside the claimed range of cationic lipid
           content and conjugated lipid content. For example, if
           cholesterol is not quantitatively incorporated, see above,
           particles derived from the L054 lipid mixture would have more
           than 2 mol % conjugated lipid.
     Id. ¶ 115.
           First, the mole percentage of cationic lipid is at the low end of the
     range as set forth in claim 1. Therefore, any loss of the other lipid
     components, such as cholesterol, should result in a higher mole percentage
     of cationic lipid, which would be within claim 1’s range of 50 mol % to 85
     mol % of the total lipid present in the particle. See Ex. 1019:17–23



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     (Dr. Thompson stating that the cationic component is the most retained
     during particle formation).
           Second, Dr. Thompson does not definitively testify that the nucleic
     acid-lipid particle that is formed from the L054 formulation would fall
     outside of the claimed range. Although Dr. Thompson agrees that the ranges
     of the L054 formulation overlap with the ranges in claim 1 of the ’435 patent
     for the required components, see Ex. 1020, 219:1–7, he testifies that the final
     formulation of the particles may be different from that of the formulation,
     see id. at 219:9–24. Dr. Thompson also testifies that in formulating the
     particles, he would find, as a first approximation, a bell curve for the lipid
     percentages of the particles, see id. at 220:8–221:6, and a broad distribution
     for the fabrication method used in the ’554 Publication, see id. at 222:12–23.
           When questioned further about this bell curve or dispersion of lipid
     percentages of the particles, Dr. Thompson testified as follows.
           Q: So would you have also hypothesize[d] that some of the
           particles in the dispersion would have greater than 50 percent
           cationic lipid?
           ....
           A: In a population of particles, there may be a X percent of
           particles that fall within the range. Are those the functional
           particles that give rise to the modest function that’s reported?
           Who knows. The experiment was not done in a rigorous way.
           So it’s – it’s not an answerable question with any precision.
                  You know, I can – just as the authors opine, I opine as
           well that the – that the particles that are being produced here are
           – are, have a much broader distribution than – than particles
           produced by other more controlled methodologies.

     Id. at 224:6–21 (objection to form and foundation omitted).
           With regard to whether the mole percentage of conjugated lipid would
     change from the formulation to the particle, Dr. Thompson discussed how

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     the cholesterol content would be the most difficult to control, that losing
     cholesterol would cause the conjugate lipid concentration to go up, but Dr.
     Thompson would not confirm that none of the particles produced by the
     L054 formulation process would have less than 2 mole percent of conjugated
     lipid. See id. at 224:23–23. Dr. Thompson stated instead that “[t]he
     composition can change as a function of the formulation process.” Id. at
     226:22–23.
             Based on Dr. Thompson’s testimony that formulation of particles
     using the L054 formulation according to the processes set forth in the ’554
     Publication would result in a distribution of particles in terms of lipid mole
     percentage content, ostensibly with some particles having more cationic
     lipid content and less conjugated lipid content, we find Dr. Thompson’s
     opinion that no particles formed using the L054 formulation would be within
     the mole percentage ranges for lipids as required by claim one is speculative,
     and thus, not accorded weight.
             Dr. Thompson’s concern about the broader range of a distribution of
     particles formed by the processes as described in the ’554 Publication is not
     that no particle within the distribution would be within claim 1’s required
     ranges, but seems to be a practical one involving a researcher’s view that
     “usually you’re not focused on those minor components of the distribution.
     It’s the heart of the distribution that you’re, that is – that’s where your drug
     is, that’s where your activity most likely lies.” Dr. Thompson concludes
     that:
                   In my analysis I was considering largely the method of
             formulation and the likelihood that that method of formulation
             would deliver the particles of specified composition, and it’s
             my opinion that that is the wrong technique and unreliable in
             producing particles of a – with controlled composition.

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     Id. at 228:14–20.
           Anticipation, however, does not require that all of the formed particles
     from the L054 formulation, or even the majority of them, be within the
     claimed ranges as required by claim 1. Anticipation merely requires that a
     composition within the claimed ranges be disclosed. See Titanium Metals,
     778 F.2d at 782. We find that the L054 formulation discloses such a
     composition.10
           Patent Owner relies on its narrow definition of nucleic acid-lipid
     particle as requiring particles that encapsulate the nucleic acid. PO Resp.
     41–43. We are not persuaded by this argument as we have stated that we do
     not find “nucleic acid-lipid particle” as used in the challenged claims to be
     so limited. See supra Section II.B.11
           Because we find that claim 1 is anticipated by the L054 formulation,
     we decline to address Petitioner’s other challenges to this claim. See SAS
     Inst., Inc. v. Iancu, 138 S. Ct. 1348, 1359 (2018) (holding that a petitioner
     “is entitled to a final written decision addressing all of the claims it has
     challenged”); see also Beloit Corp. v. Valmet Oy, 742 F.2d 1421, 1423 (Fed.


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        Patent Owner also relies on testimony from Dr. Janoff and statements in
     the ’435 patent concerning input versus final lipid-to-drug ratios. PO Resp.
     40 (citing Ex. 1001, 79:40–80:9). As Dr. Janoff testifies, however, such a
     change in ratio of total lipid content to drug content may be a result of one or
     both of those components changing from input to final product. See
     Ex. 2028, 155:1–158:14. This evidence does not establish how particular
     ranges for the individual lipid components from a starting formulation would
     change, if at all, in the final particle.
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        We also agree with Petitioner that the ’554 Publication discusses
     encapsulation of the nucleic acid in relation to the L054 formulation. See
     Reply 14–15; Ex. 1004 ¶¶ 11, 136, 317, 400; Ex. 1021 ¶ 28; see also
     Ex. 1004 ¶ 140 (referring to L054 formulation as a “serum-stable formulated
     molecular composition”).
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     Cir. 1984) (holding that once a dispositive issue is decided, there is no need
     to decide other potentially dispositive issues); see also SZ DJI Tech. Co.,
     LTD. v. Drone-Control, LLC, Case IPR2018-00207, slip op. at 30–33 (Paper
     44) (PTAB June 11, 2019) (discussing basis for declining consideration of
     other grounds when all challenged claims are shown to be unpatentable); cf.
     In re Gleave, 560 F.3d 1331, 1338 (Fed. Cir. 2009) (not reaching other
     grounds of unpatentability after affirming the anticipation ground).
                  b. Dependent Claims
           Claims 2 through 20 depend either directly or indirectly on claim 1,
     which we have found to be anticipated. See Ex. 1001, 89:64–67, 90:54–
     92:22. Petitioner sets forth how these dependent claims are also either
     anticipated or rendered obvious by the ’554 Publication supported by the
     testimony of Dr. Janoff. See Pet. 56–64; Ex. 1007 ¶¶ 153–172.
           Patent Owner responds that none of dependent claims 2–20 is
     anticipated or rendered obvious. See PO Resp. 48–52. Patent Owner
     specifically addresses claims 5–8, 11, and 16–20.12
           Although we agree with Patent Owner that the Petition regarding the
     patentability of the challenged dependent claims based on the ’554
     Publication is not a model of clarity, we find that Petitioner has sufficiently
     shown that dependent claims 2–6, 9, 12, 14, and 15 are anticipated by the
     ’554 Publication. We also find, however, that Petitioner has failed to show
     by a preponderance of the evidence that claims 7, 8, 10, 11, 13, and 16–20
     would have been either anticipated or obvious over the ’554 Publication.



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       Patent Owner includes claim 14 in the heading for claims 16 through 20,
     but does not specifically discuss claim 14. See PO Resp. 52. Therefore, we
     view the inclusion of claim 14 as an inadvertent error.
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                  (i)    Anticipated Dependent Claims 2–6, 9, 12, 14 and 15

           Petitioner cites to the L054 formulation as an example teaching the
     additional limitations of dependent claims 2 through 6, 9, 12, 14 and 15. See
     Pet. 56–58, 60–62 (citing Ex. 1004 ¶¶ 395, Table IV; Ex. 1007 ¶¶ 153–157,
     161, 164). For instance, claim 2 defines the nucleic acid of claim 1 as
     including an interfering RNA. See Ex. 1001, 89:64–67. Petitioner points to
     the siRNA for reducing HBsAG levels as described in Figure 16 that uses
     the L054 formulation as one example of such a nucleic acid-lipid particle.
     Pet. 56. For claim 3, Petitioner cites the same example as teaching that the
     nucleic acid of claim 2 is further defined as a small interfering RNA or
     siRNA. See Pet. 57.
           Dependent claim 4 narrows the range for cationic lipid to 50 mol % to
     65 mol % of the total lipid present in the particle. Ex. 1001, 90:58–60.
     Petitioner refers to its discussion of claim 1 in which it states that “the L054
     formulation tested in Figure 16 contains 50% cationic lipid (DMOBA).”
     Pet. 53, 57. Dependent claim 5 defines the non-cationic lipid as a mixture of
     a phospholipid and cholesterol or a derivative of them. Ex. 1001, 61–63.
     Petitioner again points to the L054 formulation as an example of such a
     particle. Petitioner states “[f]or example, the L054 formulation tested in
     Figure 16 contains 48% non-cationic lipid (cholesterol and DSPC).” Pet. 58
     (citing Ex. 1001, Table IV; Ex. 1007 ¶ 156).
           Dependent claim 6 further defines the phospholipid of claim 5 as
     including DSPC, which is one of the non-cationic lipids in the L054
     formulation. See Ex. 1001, 64–67; Ex. 1004, Table IV. Petitioner also
     points to an express statement in the ’554 Publication that teaches suitable




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     neutral lipids include the two non-cationic lipids set forth in claim 6 and
     mixtures of those lipids. Pet. 60 (citing Ex. 1004 ¶ 85).
           Dependent claim 9 further defines the conjugated lipid as a
     polyethyleneglycol (PEG)-lipid conjugate. Ex. 1001, 91:7–9. Petitioner
     provides that “the L054 formulation tested in Figure 16 contains 2%
     conjugate lipid (PEG-n-DMG).” Pet. 60 (citing Ex. 1001, Table IV;
     Ex. 1007 ¶ 161). Claim 12 narrows that range for the conjugated lipid set
     forth in claim 1 to 1 mol % to 2 mol % of the total lipid present in the
     particle. Ex. 1001, 91:18–21. Petitioner refers to its explanation of claim 1
     in which it references the L054 formulation tested in Figure 16 that contains
     2% conjugate lipid (PEG-n-DMG). Pet. 55, 61–62.
           Dependent claim 14 further requires a pharmaceutically acceptable
     carrier with the nucleic acid-lipid particle of claim 1. Ex. 1001, 92:1–3.
     Petitioner points to express teachings in the ’554 Publication that the
     “pharmaceutical carrier is generally added following formulated siNA
     composition formation. Thus, after the formulated siNA composition is
     formed, the formulated siNA composition can be diluted into
     pharmaceutically acceptable carriers such as normal saline.” Pet. 62
     (quoting Ex. 1004 ¶ 502; Ex. 1007 ¶ 166).
           Dependent claim 15 further requires contacting a cell with the nucleic
     acid-lipid particle of claim 1 to introduce the nucleic acid into the cell.
     Ex. 1001, 92:4–7. Petitioner states that this additional limitation is met in
     part by referring back to its discussion of claim 1. With reference to the
     nucleic acid-lipid particles of claim 1, Petitioner states that “[o]ne example
     of such particles with siRNA for reducing HBsAg levels using the L054
     formulation are described in Figure 16,” and quotes the ’554 Publication as
     stating, “FIG. 16 shows a non-limiting example of in vitro efficacy of siNA

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     nanoparticles in reducing NBsAg levels in Hep G2 cells . . . treated with
     formulated active siNA L053 and L054 nanoparticles . . . .” Pet. 52.
           We find that Petitioner has shown that the L054 formulation
     anticipates claims 2 through 6, 9, 12, 14, and 15 by the L054 formulation
     and its use in experiments as referenced above as taught in the ’554
     Publication. As set forth by Petitioner, the L054 formulation not only meets
     the limitations of claim 1, but also the additional limitations of dependent
     claims 2 through 6, 9, and 12 arranged as in the claim as set forth above.
     Also, the ’554 Publication expressly states that formulated siNA
     compositions, such as L054, may be diluted into a pharmaceutical carrier
     such as saline, thus anticipating claim 14. Also, the use of the L054
     nanoparticles to show in vitro efficacy of siNA nanoparticles in reducing
     HBsAg levels in HepG2 cells anticipates claim 15.
           Patent Owner specifically responds to Petitioner’s arguments
     concerning claims 5 and 6. PO Resp. 48–49. Patent Owner states, with
     respect to claim 5, it cannot be anticipated because the L054 formulation
     does not anticipate claim 1. Id. at 48. Because we have found that claim 1
     is anticipated by the L054 formulation, this argument is not persuasive.
     Patent Owner’s argument concerning claim 6 refutes an obviousness
     analysis. Because we find that claim 6 is anticipated by the L054
     formulation, we also are not persuaded by this argument.
                  (ii)   Dependent Claims 7, 8, 10, 11, 13, and 16–20 are
                         not Unpatentable Over the ’554 Publication
           We agree with Patent Owner that Petitioner has failed to establish that
     dependent claims 7, 8, 10, 11, 13, and 16–20 are unpatentable. Petitioner
     offers an anticipation challenge to claims 7, 8, 10, 13, and 16–20 based on
     the teachings of the ’554 Publication. Pet. 58–64. Petitioner also challenges

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     claims 7, 8, and 11 based on obviousness over the ’554 Publication. Id. at
     58–62. Finally, Petitioner sets forth an obviousness challenge to claims 7,
     8, 10, 11, 13, and 16–20 based on the teachings of the ’196 PCT and the
     ’189 Publication. Pet. 42–48. We determine that Petitioner has not shown
     by a preponderance of the evidence on any of these challenges that these
     dependent claims are unpatentable.
           Although we did not need to reach the following arguments in
     determining the unpatentability of claim 1, we will reach these arguments
     here as they relate to the dependent claims. See Pet. 52–56. The ’554
     Publication discloses several different ranges for each lipid component,
     some of which touch or overlap the claimed ranges, some of which do not.
     See Ex. 1004 ¶¶ 116–118, 313. As Patent Owner states, Petitioner cites
     these different ranges for the different lipid components of claim 1 as set
     forth in paragraphs 116, 118, and 313 of the ’554 Publication without
     demonstrating how all of these ranges for the different components relate to
     each other with sufficient specificity to anticipate claim 1. See Pet. 52–55;
     PO Resp. 44–45. Therefore, we find that claim 1, that recites ranges of each
     lipid component, is not anticipated by the teaching of these ranges. See
     Atofina v. Great Lakes Chem. Corp, 441 F.3d 991, 999 (Fed Cir. 2006).
           In sum, the only basis on which we conclude that claim 1, or any
     claim that depends on claim 1, is anticipated is by the L054 formulation that
     has lipid components in the claimed ranges for claim 1. This informs our
     discussion of the remaining dependent claims set forth below.
                  Alleged Anticipation of Dependent Claims 7 and 8
           For dependent claims 7 and 8, which provide specific ranges for the
     phospholipid and cholesterol components of the nucleic acid-lipid particle,
     respectively, claim 7, which depends from claim 5, requires the phospholipid

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     to be 3–15 mol % of the total lipid present. Ex. 1001, 91:1–3. Claim 8,
     which also depends from claim 5, requires the cholesterol to be from 30–40
     mol % of the total lipid present in the particle. Id. at 4–6. Petitioner sets
     forth an anticipation and obviousness challenge from the teachings of the
     ’554 Publication for each of claims 7 and 8. See Pet. 58–60.
           For claim 7, Petitioner points to a range for the total amount of neutral
     lipid component, 20–85 mol %, as compared to a range for the cholesterol
     component of 20 to 45 mol %, when it is present, and concludes a range for
     phospholipid is 0–40 mol %. Petitioner states that
           [n]ot only does the disclosed range encompass the claimed
           range, when combined with a cationic lipid proportion in the
           60% range and cholesterol in the 20–40% range, the range for
           the phospholipid is decreased to 0%-20%. Given the breadth of
           the claimed range for the phospholipid, these disclosures are
           sufficiently specific to anticipate the claimed range.
     Pet. 58–59 (citing Ex. 1007 ¶ 158).
           Patent Owner responds that no range for phospholipid is disclosed in
     the ’554 Publication. PO Resp. 49.
           We agree with Patent Owner that Petitioner fails to show that claim 7
     is anticipated by the teachings of the ’554 Publication. As Patent Owner
     points out, Petitioner points to no affirmative teaching in the ’554
     Publication of a specific range for the amount of phospholipid in the nucleic
     acid-lipid particle. See Pet. 58–59. Petitioner makes some assumptions
     about the various other components in the particle, and then calculates a
     range for the phospholipid that encompasses the claimed range based on
     those assumptions and assuming that the phospholipid makes up the balance
     of the non-cationic lipid in the particle. Id. Petitioner makes no mention of
     the conjugated lipid component that is also required by the claim or why one


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     of skill in the art would choose 60 mol % for the cationic lipid component.
     Id. We determine that Petitioner has failed to show that the claimed range
     for the phospholipid is taught by the ’554 Publication. See Atofina v. Great
     Lakes Chem. Corp, 441 F.3d 991, 999 (Fed Cir. 2006). Therefore, we
     determine that Petitioner has failed to show that claim 7 is anticipated by the
     teachings of the ’554 Publication.
           For claim 8, Petitioner cites to a range for cholesterol, from 20 to
     45 % of the total lipid present, which encompasses the claimed range, and
     also references a specific formulation that has an amount of cholesterol
     within the claimed range. Pet. 59–60. Petitioner concludes that “[g]iven the
     breadth of the claimed range, these disclosures are sufficiently specific to
     anticipate the claimed range.” Pet. 60 (citing Ex. 1007 ¶ 160).
           Patent Owner responds that Petitioner has offered no relationship
     between the disclosure mapped for claim 8 to that mapped for claims 1 and 5
     from which claim 8 depends. PO Resp. 49. We agree. As we stated above,
     Petitioner offers no particular embodiment with overlapping ranges for each
     component of the nucleic acid-lipid particle for claim 8 that includes the
     limitations of claims 1 and 5 from which claim 8 depends. Therefore, we
     determine that Petitioner has failed to show that claim 8 is anticipated by the
     teachings of the ’554 publication.
                     Alleged Anticipation of Dependent Claim 10
           Claim 10 adds the requirement that the PEG-lipid conjugate comprise
     a PEG-DAG conjugate, a PEG-DAA conjugate, or a mixture of these.
     Ex. 1001, 91:10–13. Petitioner points to a disclosure in the ’554 publication
     of PEG-DAG conjugates and states that “[b]ecause one of the listed species
     of PEG-lipid conjugates is disclosed, this element is anticipated.” Pet. 60–
     61 (citing Ex. 1004 ¶ 86; Ex. 1007 ¶ 162).

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           Similar to claim 8, Petitioner fails to show any relationship between
     the disclosure of the PEG-DAG conjugate that teaches the additional
     requirement for claim 10 to any disclosure that teaches the limitations of
     claims 1 and 9 from which claim 10 depends. For example, paragraph 86 of
     the ’554 publication cited by Petitioner refers to suitable PEG-DAG
     conjugates, but does not indicate that the PEG-lipid conjugate in the claimed
     combination may be the described PEG-DAG conjugates. Therefore, we
     determine that Petitioner has failed to show that claim 10 is anticipated by
     the teachings of the ’554 Publication.
                      Alleged Anticipation of Dependent Claim 13
           Dependent claim 13 requires the nucleic acid to be fully encapsulated
     in the nucleic acid lipid particle of claim 1. Ex. 1001, 91:22–24. Petitioner
     asserts that the ’554 Publication teaches that “encapsulation of anionic
     compounds using cationic lipids is essentially quantitative due to
     electrostatic interaction.” Pet. 62 (quoting Ex. 1004 ¶ 11). From this
     teaching, Dr. Janoff concludes that a person or ordinary skill would
     understand that full encapsulation only requires “an excess of cationic lipid
     with regard to the nucleic acid for electrostatic interaction.” Id. (citing
     Ex. 1007 ¶ 165).
           It is not readily apparent, however, from the L054 formulation and the
     discussion concerning this formulation that the nucleic acid lipid particle is
     fully encapsulated. See Ex. 1004 ¶¶ 87, 89, 92, 140, 395, 400, 595, 603.
     Although the L054 formulation is said to be serum stable, see Ex. 1004
     ¶ 140, there is no mention of whether the nucleic acid is fully encapsulated
     within the lipid particle. See Ex. 1004 ¶¶ 87, 89, 92, 140, 395, 400, 595,
     603. Other examples described in the ’554 Publication do expressly
     describe encapsulation of the nucleic acid in the lipid particle, although

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     without identifying the extent of the encapsulation. See, e.g., Ex. 1004 ¶¶
     397 (describing L051 nanoparticle “encapsulated active siNA molecules),
     398 (same), 408 (same for L077, L069, L080, L082, L083, L060, L061, and
     L051). Also, Dr. Janoff does not discuss what would be considered an
     excess of cationic lipid as compared to the amount of nucleic acid that would
     yield a nucleic acid-lipid particle that fully encapsulates the nucleic acid or
     whether the L054 formulation would provide such an excess of cationic
     lipid. See Ex. 1007 ¶ 165.
           For these reasons, we determine that Petitioner has not shown by a
     preponderance of the evidence that claim 13 is anticipated by the ’554
     Publication.
                    Alleged Anticipation of Dependent Claims 16–20
           Claims 16–20 require in vivo delivery or administration of a nucleic
     acid-lipid particle of claim 1 to a mammalian subject. See Ex. 1001, 92:8–
     23. Petitioner points to several disparate paragraphs of the ’554 Publication
     as teaching the additional limitations of claims 16–20 relating to the in vivo
     delivery or administration of the claimed lipid particle to a mammalian
     subject to treat a disease or disorder such as a viral infection, liver disease,
     or cancer. See Pet. 63–64.
           For instance for claim 16, Petitioner points to the definition of
     “subject” in the ’554 Publication, which includes a mammal or mammalian
     cells, to establish that such in vivo delivery or administration to a
     mammalian subject of claim 1’s nucleic acid-lipid particle is taught. See
     Pet. 63 (citing Ex. 1007 ¶ 168). Petitioner also points to particular
     embodiments to establish the additional limitations relating to in vivo
     delivery and administration as taught in claims 17–20. See Pet. 63–64
     (citing Ex. 1004 ¶¶ 21, 274, 275, 310). None of these embodiments,

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     however, relates to the L054 formulation, which we have found anticipates
     claim 1’s nucleic acid lipid particle.
           The ’554 Publication does not teach that every formulation described
     for a lipid particle is suitable for in vivo delivery or administration to a
     mammalian subject. For instance, the ’554 Publication describes its
     invention as featuring
           compositions, and methods of use for the study, diagnosis, and
           treatment of traits, diseases and conditions that respond to the
           modulation of gene expression and/or activity in a subject or
           organism. . . . Such novel cationic lipids, microparticles,
           nanoparticles and transfection agents are useful, for example, in
           providing compositions to prevent, inhibit, or treat diseases,
           conditions, or traits in a cell, subject or organism.
     Ex. 1004, Abst. (emphasis added).
           The L054 formulation is only shown to be used in vitro to treat cells,
     id. ¶¶ 395, 400, 595, 603, and Petitioner does not point to any teaching
     indicating that the L054 formulation may be appropriate for systemic use.
     Therefore, we determine that Petitioner has failed to show that claims 16–20
     are anticipated by the ’554 Publication.
                Alleged Obviousness of Dependent Claims 7, 8, and 11
                             over the ’554 Publication
           For claims 7 and 8, Petitioner relies on In re Peterson, 315 F.3d 1325
     (Fed. Cir. 2003) to establish even a slight overlap in ranges renders them
     obvious. See Pet. 58–60. As we discussed previously for claim 7, Petitioner
     makes assumptions concerning the disclosed ranges for the other
     components of a lipid particle, but can point to no particular range for the
     phospholipid that overlaps the range required by claim 7. Id. at 59; PO
     Resp. 49; Ex.2009 ¶¶ 148–150. Also, Petitioner has not shown how
     achieving the claimed range for the phospholipid would be accomplished by

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     mere optimization or routine experimentation. Id.; Peterson, 315 F.3d at
     1330.
             Petitioner points to disclosure in the ’554 Publication that
     encompasses the claimed range for cholesterol as required by claims 8, and
     points to a particular example that has the amount of cholesterol within the
     claimed range without referring to any other of the required components of
     the lipid particle or ranges for those components. Pet. 59–60; PO Resp. 49–
     50; Ex. 2009 ¶¶ 151–155. Again, Petitioner has not shown how achieving
     the claimed range for cholesterol as required by claim 8 would be
     accomplished by mere optimization or routine experimentation. Id.
             Challenged claim 11 depends from claim 10, which we found was no
     anticipated by the ’554 Publication. For Petitioner’s obviousness challenge
     based on the ’554 Publication, it asserts that the PEG-DAA conjugates
     required by claim 11 “could be used in lieu of . . . PEG-DAG
     conjugates . . .” required by claim 10. Pet. 61. Patent Owner points out that
     the ’554 Publication does not disclose PEG-DAA conjugates at all, and
     questions the interchangeability of PEG-DAG and PEG-DAA conjugates.
     PO Resp. 50-51. Because we did not find claim 10 to be anticipated, and
     Petitioner makes no obviousness challenge to claim 10 based on the ’554
     Publication, we find Petitioner’s argument concerning the obviousness of
     claim 11 to be unpersuasive.
             We determine that Petitioner has failed to establish by a
     preponderance of the evidence that claims 7, 8, or 11 would have been
     obvious over the ’554 publication.




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          Alleged Obviousness of Dependent Claims 7, 8, 10, 11, 13, and 16–20
                      over the ’196 PCT and the ’189 publication
            Petitioner’s obviousness challenge for dependent claims 7, 8, 10, 11,
     13, and 16–20 under ground 1 fairs no better. See Pet. 42–48.13 For these
     dependent claims, Petitioner states where the limitation added by the
     dependent claim is taught in the asserted references, but does not address the
     relationship between the different ranges for the components of the particles
     or any reason why one of skill in the art would combine these teachings with
     those that allegedly taught the limitations of the claims from which the claim
     at issue depends. See id.; PO Resp. 14–32. Petitioner also does not address
     whether one of skill in the art would have a reasonable expectation of
     success in making the claimed combination. Pet. 42–48; PO Resp. 14–32.
     For none of these claims does Petitioner discuss how the subject matter of
     each claims as a whole would have been obvious in light of the teachings of
     the asserted art. Id.; PO Resp. 14–15 (stating that petition fails to
     acknowledge that concentrations of different lipid components are highly
     interdependent).
            We find that Petitioner has not shown by a preponderance of the
     evidence that claims 7, 8, 10, 11, 13, or 16–20 are unpatentable would have
     been obvious over the ’196 PCT and the ’189 Publication.

                            E.    Objections and Other Arguments
            Patent Owner also filed a Notice of Objection to Petitioner’s
     Demonstrative Exhibits. Paper 48. Patent Owner’s objections are presented



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       Claims 1 and 4 are the only two claims specifically addressed in ground 2.
     Because we have determined that these claims are anticipated, we need not
     address this ground here. Pet. 48–51.
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     as general categories of objections with identification of Petitioner’s slides
     that it contends fall within those broad categories. Id. at 1. However, the
     Board will not sort through multiple slides in an effort to discern what
     particular information is subject to Patent Owner’s general objection.
     Nevertheless, we overrule Patent Owner’s objections to Petitioner’s
     demonstrative exhibits (slides), at least because demonstrative exhibits are
     not evidence, and we rely on evidence in the trial record in reaching our
     Decision. See Office Patent Trial Practice Guide, August 2018 Update, 21,
     83 Fed. Reg. 39,989 (Aug. 13, 2018) (“Demonstrative exhibits used at the
     final hearing are aids to oral argument and not evidence”).
           Patent Owner asserts that the testimony of Dr. Janoff should be
     accorded no weight. See PO Resp. 4–8. Patent Owner argues that,
     according to Dr. Janoff’s testimony, his declaration is “based on the
     petition,” and thus constitutes attorney argument. Id. at 4–5 (citing Ex. 1007
     ¶¶ 5–7, 27; Ex. 2028, 26:12–27:5, 91:18–92:20, 92:21–93:11). Patent
     Owner argues further about the conduct of Dr. Janoff and Petitioner’s
     counsel during cross-examination, contending that it was “disruptive and
     prejudicial,” and that “[s]uch conduct is particularly prejudicial in the
     context of the present proceeding, as Patent Owner has repeatedly raised
     issues as to the lack of clarity in the petition materials.” Id. at 6–7 (citing
     multiple excerpts from Ex. 2028).
           Petitioner responds that Dr. Janoff testified that “he was aware of the
     Petition when executing his declaration,” and also “testified unequivocally
     that the opinions in his declaration are his opinions in the matter.” Reply 24
     (citing Ex. 2028, 89:4–92:20, 26:12–18). Petitioner further responds that
     “[t]he transcript illustrates that counsel for Patent Owner repeatedly asked
     questions devoid of any context and without reference to either Dr. Janoff’s

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     declaration or the ’127 patent,” but that “Dr. Janoff, nonetheless, provided
     answers to the extent possible.” Id. at 24–25 (citing multiple excerpts from
     Ex. 2028).
           We decline to exercise the extraordinary remedy of according “no
     weight” to Dr. Janoff’s testimony based on the contention that Dr. Janoff’s
     testimony is attorney argument because it is based on the Petition. PO Resp.
     4–8. Similarly, although Dr. Janoff may not have been as responsive to
     some questions during his deposition as may be appropriate, we decline to
     accord “no weight” to his entire testimony (see id.), particularly given that
     some questions appear vague, or lacking context or proper foundation. See,
     e.g., Ex. 2028, 35:7–8, 29:19–20, 56:24–57:17; see also Reply 24–25.
           In making the argument that “Dr. Janoff’s declaration merely adopts
     the attorney arguments set forth in the petition,” Patent Owner omits the
     remainder of the cited quotes from Dr. Janoff’s declaration. See PO Resp.
     4–5. All of those quotes actually state that Dr. Janoff’s opinions are based
     on the Petition “and other documents and materials identified in this
     declaration” (Ex. 1007 ¶ 26) or “and the exhibits cited in the Petition as well
     as other documents” (id. ¶¶ 5–7).

                           F.     Patent Owner’s Motion to Amend
           Patent Owner’s contingent Motion to Amend proposes to substitute
     claims 21–40 for issued claims 1–20, if the latter are determined to be
     unpatentable. We have determined that Petitioner has shown by a
     preponderance of the evidence that the challenged claims 1–6, 9, 12, 14, and
     15 are unpatentable as anticipated by the teachings of the ’554 Publication.




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     Thus, we consider Patent Owner’s contingent Motion to Amend concerning
     substitute claims for these claims.
           Proposed substitute independent claim 21 is representative and is
     reproduced below, with additional matter being underlined and deleted
     material marked with double-brackets. Patent Owner proposes amending
     dependent claims 2–20 to reflect dependencies relative to original claims 2–
     20 in light of new substitute claim 21. See Mot. 8. According to Patent
     Owner, “[n]o further substantive amendments are proposed for these
     claims.” Mot. 8.

                  21. (Substitute for claim 1) A serum-stable nucleic acid-
           lipid particle comprising:
                  (a) a nucleic acid;
                  (b) a cationic lipid comprising from 50 mol % to [[85]] 75
           mol % of the total lipid present in the particle;
                  (c) a non-cationic lipid comprising from [[13]] 23 mol %
           to 49.5 mol% of the total lipid present in the particle; and
                  (d) a conjugated lipid that inhibits aggregation of particles
           comprising from 0.5 mol % to 2 mol % of the total lipid present
           in the particle;
                  wherein the particle is formulated such that the nucleic
           acid is not substantially degraded after exposure of the particle
           to a nuclease at 37ºC for 20 minutes.

     Id. at 3–4.

                   1. Procedural Requirements for a Motion to Amend
           In an inter partes review, amended claims are not added to a patent as
     of right, but rather must be proposed as a part of a motion to amend.
     35 U.S.C. § 316(d). “During an inter partes review instituted under this
     chapter, the patent owner may file 1 motion to amend the patent,” and “[f]or




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     each challenged claim, propose a reasonable number of substitute claims.”
     Id.; see also 37 C.F.R. § 42.121(a)(3).
           Patent Owner’s proposed substitute claims, however, must meet the
     statutory requirements of 35 U.S.C. § 316(d) and the procedural
     requirements of 37 C.F.R. § 42.121. See Lectrosonics, Inc. v. Zaxcom, Inc.,
     Case IPR2018-01129, slip op. at 2 (PTAB Feb. 25, 2019) (Paper 15)
     (precedential); Memorandum “Guidance on Motions to Amend in view of
     Aqua Products” (Nov. 21, 2017)
     (https://www.uspto.gov/sites/default/files/documents/guidance_on_motions_
     to_amend_11_2017.pdf) (“Board’s Memorandum”). Although a motion to
     amend must comply with these requirements, a patent owner does not bear a
     burden to prove its proposed claims are patentable. Aqua Prods., Inc. v.
     Matal, 872 F.3d 1290, 1296 (Fed. Cir. 2017) (en banc) (stating Board may
     not place burden of persuasion on the patent owner).
           Accordingly, Patent Owner must demonstrate: (1) the amendment
     proposes a reasonable number of substitute claims; (2) the amendment
     responds to a ground of unpatentability involved in the trial; and (3) the
     amendment does not seek to enlarge the scope of the claims of the patent or
     introduce new subject matter, such that the proposed substitute claims are
     supported in the original disclosure. See 35 U.S.C. § 316(d); 37 C.F.R.
     § 42.121. We determine that Patent Owner’s Motion to Amend satisfies
     these procedural requirements for the reasons set forth below.

                  a. The Amendment Proposes a Reasonable Number
                     of Substitute Claims
           We find that Patent Owner proposes a reasonable number of substitute
     claims. Patent Owner proposes one substitute claim for each challenged
     claim, which is a presumptively reasonable number of substitute claims. See

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     37 C.F.R. § 42.121(a)(3) (“The presumption is that only one substitute claim
     would be needed to replace each challenged claim.”).

                  b. The Amendment Responds to a Ground of Unpatentability
                     Involved in the Trial
           We find that Patent Owner’s proposed substitute claims specifically
     respond to the unpatentability grounds set forth in the Petition. In two of the
     obviousness grounds involved in the inter partes review, Petitioner relies
     upon the teachings in the ’196 PCT and the ’189 Publication of nucleic acid-
     lipid particles that comprise a nucleic acid, and the lipid components—a
     cationic lipid, a non-cationic lipid, and a conjugated lipid—in mol
     percentage ranges that Petitioner asserts overlap with the claimed ranges.
     See Pet. 32–48; see Ex. 1007 ¶¶ 106–118. In the third obviousness ground,
     the only ground that includes an anticipation challenge, Petitioner relies
     upon the teachings in the ’554 Publication of “encompassing and
     overlapping ranges and specific examples falling within the claimed ranges
     with sufficient specificity to anticipate.” Pet. 51 (citing Ex. 1007 ¶ 143).
           In response to Petitioner’s challenges, Patent Owner contends that
     “substitute claim 21 amends independent claim 1 by reciting a narrower
     range for the concentration of the cationic lipid, and a narrower range for the
     concentration of non-cationic lipid.” Mot. 3. Patent Owner additionally
     contends that addition of the term “serum stable” to the preamble of
     substitute claim 21 and addition of the phrase “wherein the particle is
     formulated such that the nucleic acid is not substantially degraded after
     exposure of the particle to a nuclease at 37ºC for 20 minutes” respond to the
     instituted grounds. Id.
           Petitioner argues that the proposed substitute claims do “not respond
     to a ground of unpatentability involved in the trial” because the mol %

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      ranges for cationic lipid in the proposed substitute claims also overlap with
      the ranges taught by the cited prior art references. Opp. 2 (citing 37 C.F.R.
      § 42.121(a)(2)(i)). Petitioner contends that Patent Owner proposed narrower
      ranges because “it is apparently geared toward more closely aligning the
      claims with testing that the Patent Owner relies upon as evidence of
      unexpected results.” Id. (citing Mot. 16). Petitioner also argues that
      proposed substitute claims 22–40 do not respond to a ground of
      unpatentability involved in the trial because “Patent Owner does not propose
      changes to dependent claims 2–20” and “[t]he proposed amendments do
      nothing to address that the additional limitations present in these claims are
      disclosed in the prior art.” Id. at 1 n.1.
            Patent Owner replies that the proposed substitute claims respond to
      the grounds of unpatentability because they relate to serum stability and
      nuclease resistance, both of which are requirements for systemic use of the
      claimed particles. Reply Opp. 3. Patent Owner also explains that the
      proposed substitute cationic lipid range of “50 mol % to 75 mol %” is
      outside of the range disclosed in the prior art ’189 Publication, and
      “Petitioner does not provide a reason to increase the amount of cationic
      lipid.” Id. at 3–4.
            Patent Owner further contends that the proposed substitute claims are
      patentable over the ’554 Publication because the reference discloses the use
      of chemically-modified RNA constructs to protect the nucleic acid from
      enzymatic degradation, rather than the ’435 patent’s protection mechanism
      of encapsulating the nucleic acid within the lipid portion of the particle. Id.
      (citing Ex. 1001, 22:55–62). Patent Owner also argues that the overlapping
      ranges “may invoke a rebuttable presumption of obviousness under the
      specific rationale of ‘routine optimization’” but “Petitioner offers no

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      argument or evidence demonstrating that arriving at the claimed ranges of
      the lipid components was routine.” Id. at 7–8.
            Because Petitioner argues in part that the challenged claims are
      unpatentable because the claimed ranges of lipids overlap with the ranges
      taught by the prior art references, and Patent Owner attempts to address
      these challenges by narrowing the claimed ranges, we find that the
      amendment responds to a ground of unpatentability involved in the trial –
      the merits of which we will discuss below.

                    c. The Amendment Does Not Seek to Enlarge the Scope of the
                       Claims of the Patent or Introduce New Subject Matter
            We find that the written description of the ’435 patent provides
      adequate support for the proposed substitute claims. The ’435 patent claims
      priority to Provisional Application No. 61/045,228, filed April 15, 2008
      (“the ’228 provisional,” Ex. 2041) “through a series of three continuation
      applications: U.S. Application No. 13/928,309 filed June 26, 2013, (‘the
      ’309 application,’ EX2044); U.S. Application No. 13/253,917 filed October
      5, 2011, (‘the ’917 application,’ EX2043); and U.S. Application No.
      12/424,367 filed April 15, 2009 (‘the ’367 application,” EX2042).” Mot. 4.
            Petitioner asserts that the proposed substitute claims “lack written
      description support and an enabling disclosure for the different nucleic acid
      payloads recited therein.” Opp. 1. Petitioner contends, “the substitute
      claims broadly cover any nucleic acid payload—despite wide variations in
      potential nucleic acids and without support for anything but siRNA” and
      represent “Patent Owner’s attempt to extend its disclosures to cover other
      nucleic acid payloads” because “Petitioner is an mRNA company, while
      Patent Owner (and its predecessors) have traditionally focused on siRNA.”
      Id. at 2–3.

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            According to Petitioner, “Patent Owner points to testing of only
      siRNA payloads with a limited number of exemplar lipid components and
      with limited formulation processes” and admits “that changes to the payload,
      identity of lipid components, or production techniques can all impact the
      particle properties and resulting efficacy” and “the test data did not show the
      claimed formulations outperforming the prior art 2:40 formulation.” Id. at
      9–10 (citing Ex. 1022 ¶ 63; Ex. 1019; Ex. 1020). Petitioner explains, the
      ’435 patent’s “Background of the Invention” section discusses using siRNA
      for gene silencing and states that “the purpose of the invention is
      ‘downregulating the expression of genes of interest to treat or prevent
      diseases and disorders such as cancer and atherosclerosis,” but “[t]his is not
      a function of mRNA.” Id. at 12–13 (citing Exs. 1001, 1:39–51; 1022 ¶ 70).
      Petitioner also explains that the ’435 patent’s specification identifies the
      nucleic acids in SNALPs as “one or more interfering RNA molecules such
      as siRNA, aiRNA, and/or miRNA” and “the preferred embodiments are
      described as having an siRNA payload: ‘in preferred embodiments, the
      active agent or therapeutic agent comprises an siRNA.’” Id. (quoting
      Ex. 1001, 3:32–37, 14:62–17:47).
            Patent Owner responds that its Motion to Amend and the original
      disclosure provide written description support for the use of “‘nucleic acid’
      including mRNA.” Reply Opp. 9. Specifically, Patent Owner’s Motion to
      Amend discusses several disclosures in the ’228 provisional that provide
      written description support for the nucleic acid limitation in challenged
      claim 1 and proposed substitute claim 21. Mot. 6 (citing Exs. 2041 ¶¶ 10,
      19, 25–29; 2045 ¶¶ 17–18, 61, 76, 140, 307; 2040 ¶ 28). The disclosures
      highlighted by Patent Owner discuss encapsulation of “a nucleic acid” or an
      interfering RNA and merely provide siRNA as an example of a nucleic acid

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      by stating “(e.g., the siRNA molecule).” See Ex. 2041 ¶¶ 10, 25–29.
      According to Patent Owner, “[t]he disclosure is directed to ‘stable nucleic
      acid-lipid particles encapsulating a nucleic acid.’” Mot. 6 (citing Exs. 2041
      ¶ 10; EX2045 ¶¶ 289, 329, 331; 2040 ¶ 28).
            Patent Owner further contends that the ’435 patent’s specification
      provides support for the use of mRNA as a nucleic acid. Reply Opp. 9
      (citing Ex. 1001 10:26–35). In fact, the specification states that “[t]he term
      ‘nucleic acid’ as used herein refers to a polymer containing at least two
      deoxyribonucleotides or ribonucleotides in either single- or double-stranded
      form and includes DNA and RNA” and further explains that “RNA may be
      in the form of siRNA, asymmetrical interfering RNA (aiRNA), microRNA
      (miRNA), mRNA, tRNA, rRNA, tRNA, viral RNA (vRNA), and
      combinations thereof.” Ex. 1001, 10:26–36.
            We find Patent Owner’s examples of written description support for
      the nucleic acid limitation, especially as set forth in the Specification of the
      ’435 patent, sufficient. The ’435 patent’s specification discusses nucleic
      acids broadly, but also provides examples of nucleic acids, including
      mRNA. Ex. 1001, 10:26–36. Thus, we find Patent Owner’s proposed
      substitute claims satisfy the written description requirement.

                   2. Patentability Analysis of Proposed Substitute Claims
            In accordance with Aqua Products, Patent Owner does not bear the
      burden of persuasion to demonstrate the patentability of the substitute claims
      presented in the Motion to Amend. Rather, ordinarily, “the petitioner bears
      the burden of proving that the proposed amended claims are unpatentable by
      a preponderance of the evidence.” Bosch Auto. Serv. Sols., LLC v. Matal,
      878 F.3d 1027, 1040 (Fed. Cir. 2017), as amended on reh’g in part (Mar.


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      15, 2018). The Board itself also may justify any finding of unpatentability
      by reference to evidence of record in the proceeding. Id. (citing Aqua
      Products, 872 F.3d at 1311 (O’Malley, J.)). Thus, the Board determines
      whether the proposed substitute claims are unpatentable based on the
      entirety of the record, including any argument made by Petitioner.
            In its Opposition, Petitioner asserts that the proposed substitute claims
      do not remedy the unpatentability issues. Opp. 1. According to Petitioner,
      the proposed substitute claims are unpatentable under 35 U.S.C. § 103 as
      obvious over 1) the ’196 PCT and the ’189 Publication; and 2) the ’196
      PCT, the ’189 Publication, Lin, and Ahmad; under 35 U.S.C. §§ 102 and
      103 as anticipated by and obvious over the ’554 Publication; and under
      35 U.S.C. § 112 for lack of written description support and enablement. Id.
      at 8–20. We will focus our discussion on anticipation by the ’554
      Publication as we find this dispositive of the motion.
            Petitioner contends that Patent Owner’s addition of “serum-stable” to
      the preamble of claim 1 is non-limiting because preambles are generally
      considered to be non-limiting. Id. at 1, 3–4 (citing Catalina Marketing Int’l,
      Inc. v. CoolSavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002)).
      According to Petitioner, a POSITA would not “consider the term ‘serum-
      stable’ limiting in the claims.” Id. (citing Ex. 1022 ¶ 53).
            Petitioner further argues that even if the preamble were considered
      limiting, “the cited prior art references disclose serum-stable particles at
      greater than 50 mol% cationic lipid” and “[e]ach of the three primary
      references disclose the desire for serum-stable particles.” Id. at 4 (citing
      Ex. 1002 ¶¶ 2, 15–16, 120, 134; Ex. 1003, ¶¶ 182, 191, 217; Ex. 1004 ¶¶ 14–
      15, 158; Ex. 1022 ¶ 54). Petitioner points to disclosures in the ’189
      Publication and the ’554 Publication that discuss a series of in vivo

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      experiments with formulations matching the cationic lipid ranges in the
      proposed substitute claims. Id. (citing Ex. 1003 ¶¶ 351–391; Ex. 1004
      ¶ 408, Table IV, Fig. 29). Petitioner concludes “[a] POSITA would
      understand these disclosures in the context of the prior art references to
      disclose serum-stable particles at greater than 50 mol% cationic lipid.” Id.
      (citing Ex. 1022 ¶ 54).
            Petitioner additionally contends that the limitation “wherein the
      particle is formulated such that the nucleic acid is not substantially degraded
      after exposure of the particle to a nuclease at 37ºC for 20 minutes” fails to
      “differentiate over the prior art, given that serum-stable particles that resist
      nuclease degradation are disclosed in the prior art already of record.” Id. at
      1–2. According to Petitioner, the limitation “does not require the particle to
      be ‘serum stable’ as such resistance can be tested in vitro using a nuclease.”
      Id. at 3 (citing Ex. 1020, 159). In support of this statement, Petitioner points
      to in vitro testing of the L054 formulation in the ’554 Publication. Id. at 6
      (citing Ex. 1004, Table IV). Petitioner explains that the L054 formulation
      (tested in vitro) and the L060 formulation (tested in vivo) both contained the
      cationic lipid, DMOBA, and the L060 formulation showed in vivo efficacy
      with 52 mol % DMOBA. Id. (citing Ex. 1004 Table IV, ¶ 408, Fig. 29; Ex.
      1022 ¶ 59). Petitioner also argues that “[e]ach of the three primary
      references disclose nucleic acid-lipid particles that can also withstand
      nuclease exposure and Patent Owner’s prior disclosures disclose these exact
      parameters.” Id. at 7–8 (citing Ex. 1002; Ex. 1003).
            Patent Owner responds that the addition of “serum-stable” to the
      preamble of claim 1 “reinforces that the claims require a particle in which
      the nucleic acid is encapsulated in the particle so as to protect the nucleic
      acid from enzymatic degradation” and “is tied to the added limitation of

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      ‘wherein the particle is formulated such that the nucleic acid is not
      substantially degraded after exposure of the particle to a nuclease at 37ºC for
      20 minutes.’” Id. Patent Owner also contends that Petitioner’s argument
      that the ’554 Publication discloses “in vivo efficacy of a particle having 52
      mol% DMOBA . . . is irrelevant as toxicity was never assessed in the ’554
      publication.” Id. at 5–6.
            After considering the parties’ arguments and the remainder of the
      record, we conclude that the proposed substitute claims do not overcome the
      prior art references and find them unpatentable for the same reasons as
      discussed above.
            For purposes of this analysis, we assume that “serum stable” is
      limiting. The L054 formulation is also within the more narrow ranges
      required by substitute claim 21. Compare Ex. 1004 ¶ 92, with substitute
      claim 21. The question becomes whether the addition of serum stability
      sufficient to meet the parameters of the wherein clause is sufficient to
      distinguish the substitute claims from the prior art.
            The L054 formulation is described as serum stable. Id. ¶ 140. In
      Example 9, titled “Evaluation of Formulated siNA Compositions in Models
      of Chronic HBV Infection,” an in vitro analysis of the activity of
      nanoparticle formulation L054 was performed. Id. ¶ 595. The ’554
      Publication describes adding the siNA nanoparticle formulation to wells
      containing HepG2 cells with media. Id. “The cells were incubated for 4
      days, the media was then removed, and assayed for HBsAg levels. . . . FIG.
      16 shows level of HBsAg from formulation (Formulations L053 and L054,
      Table IV) active siNA treated cells compared to untreated or negative
      control treated cells.” Id.
            The ’554 Publication concludes that:

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            In these studies, a dose dependent reduction in HBsAg levels
            was observed in the active formulated siNA treated cells using
            nanoparticle formulations L051, L053, and L054, while no
            reduction is observed in the negative control treated cells. This
            result indicates that the formulated siNA compositions are able
            to enter the cells, and effectively engage the cellular RNAi
            machinery to inhibit viral gene expression.
      Id. In describing this Example, the ’554 Publication states that incubation
      was carried out at 37º C. Id.
            The discussion of this experiment using L054 formulation
      nanoparticles indicates that these particles were serum stable “such that the
      nucleic acid is not substantially degraded after exposure of the particle to a
      nuclease at 37ºC for 20 minutes.” See Mot., Appendix A (proposed
      substitute claim 21). As Dr. Thompson testifies “as soon as you feed your
      cells, any exposed nucleic acid is shredded. Even in in vitro setting.”
      Ex. 2019, 129:4–5; see also id. at 216–217 (Dr. Thompson stating that “if
      you have serum present, if it’s not a serum stable formulation, and one that
      actually performs in the presence of serum, game over”).
            We find that proposed substitute claim 21 is unpatentable as
      anticipated by the ’554 Publication. For the same reasons as set forth above
      regarding the anticipation of claims 2–6, 9, 12, 14, and 15, we also find that
      substitute claims 22–26, 29, 32, 34, and 35 are also anticipated. Therefore,
      we deny Patent Owner’s Contingent Motion to Amend.

                                         CONCLUSION
            After reviewing the information presented in the Petition and the
      Patent Owner Response, as well as the evidence of record, we determine that
      Petitioner has shown by a preponderance of the evidence that claims 1–6, 9,
      12, 14, and 15 of the ’435 patent are unpatentable as anticipated by the ’554


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      Publication. We also determine that Petitioner has not shown by a
      preponderance of the evidence that claims 7, 8, 10, 11, 13, or 16–20 are
      unpatentable.
            Because Patent Owner’s Motion to Amend was contingent, we only
      considered the proposed substitute claims for the unpatentable claims, which
      are substitute claims 21–26, 29, 32, 24, and 35. We found that these
      proposed substitute claims are unpatentable as anticipated by the ’554
      Publication.

                                           ORDER
            Accordingly, it is:
            ORDERED that claims 1–6, 9, 12, 14, and 15 of U.S. Patent No.
      9,364,435 B2 are determined to be unpatentable;
            FURTHER ORDERED that claims 7, 8, 10, 11, 13 and 16–20 of U.S.
      Patent No. 9,364,435 B2 have not been shown by a preponderance of the
      evidence to be unpatentable
            FURTHER ORDERED that Patent Owner’s Motion to Amend is
      denied; and
            FURTHER ORDERED that, because this is a final written decision,
      parties to this proceeding seeking judicial review of our Decision must
      comply with the notice and service requirements of 37 C.F.R. § 90.2.




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      IPR2018-00739
      Patent 9,364,435 B2
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             UNITED STATES PATENT AND TRADEMARK OFFICE
                      _____________________________

              BEFORE THE PATENT TRIAL AND APPEAL BOARD
                      _____________________________

                       MODERNA THERAPEUTICS, INC.,
                                Petitioner,

                                         v.

                      PROTIVA BIOTHERAPEUTICS, INC.,
                                 Patent Owner.
                        _____________________________

                              Case IPR2018-00739
                              Patent No. 9,364,435
                        _____________________________

              DECLARATION OF DAVID H. THOMPSON, PH. D.




                                                             PROTIVA - EXHIBIT 2009
                              Moderna Therapeutics, Inc. v. Protiva Biotherapeautics, Inc.
                                                                           JA00777
                                                                         IPR2018-00739
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         I, David H. Thompson, declare as follows:

   I.    QUALIFICATIONS
         1.     I am a Professor of Chemistry at Purdue University and Director of

   the Medicinal Chemistry Group in the Purdue Center for Cancer Research. My

   primary research interests include development of transiently-stable carrier

   systems for drug and nucleic acid delivery.

         2.     I received my Ph.D. in Organic Chemistry from Colorado State

   University in 1984. I also hold a Bachelor of the Arts in Biology and a Bachelor of

   Science in Chemistry from the University of Missouri, Columbia.

         3.     I have been a visiting professor at numerous institutions including,

   Chulalongkorn University, Department of Pharmaceutics; Technical University of

   Denmark, Department of Micro & Nanotechnology; Japan Advanced Institute of

   Science & Technology, Department of Biomaterials; Osaka University,

   Department of Applied Chemistry; University of Florida, Department of

   Pharmaceutics; and University of British Columbia, Department of Biochemistry.

         4.     I am listed as a co-inventor on 7 United States patents. I have also

   published more than 140 peer reviewed scientific papers.

         5.     I have studied, taught, practiced, and conducted research involving the

   formulation, use, characterization, and delivery of lipid particles. I have expertise

   with the delivery of therapeutic agents using lipid particles.



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         6.     A copy of my Curriculum Vitae, attached as EX2010, contains further

   details on my education, experience, publications, and other qualifications to

   render an expert opinion in this matter.

   II.   SCOPE OF WORK
         7.     I understand that a petition was filed with the United States Patent and

   Trademark Office for inter partes review of U.S. Patent No. 9,364,435 (“the ’435

   patent,” EX1001).

         8.     I further understand that the Patent Trial and Appeal Board (“PTAB”

   or the “Board”) has decided to institute inter partes review of claims 1-20 of the

   ’435 patent under 35 U.S.C. §§ 102 and 103 based on the disclosures of

   WO2005/007196 (“the ’196 PCT,” EX1002), US 2006/134189 (“the ’189 PCT,”

   EX1003), Lin, et al, “Three-Dimensional Imaging of Lipid Gene-Carriers:

   Membrane Charge Density Controls Universal Transfection Behavior in Lamellar

   Cationic Liposome-DNA Complexes,” (“Lin,” EX1005), Ahmad, et al, “New

   multivalent cationic lipids reveal bell curve for transfection efficiency versus

   membrane charge density: lipid–DNA complexes for gene delivery,” (“Ahmad,”

   EX1006), and US 2006/0240554 (“the ’554 publication,” EX1004).

         9.     I have been specifically asked to provide my expert opinions on the

   patentability of the claims of the ’435 patent in view of the asserted grounds in the

   petition. In connection with this analysis, I have reviewed the ’435 patent and the



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   prior art cited against the patentability of claims 1-20. I have also reviewed and

   considered the petition, Dr. Janoff’s declaration and deposition transcript, and the

   Board’s Decision on Institution of Inter Partes Review, and may cite these

   documents in this declaration.

          10.      I am being compensated at a rate of $600 per hour for my work in this

   matter. I am also being reimbursed for reasonable and customary expenses

   associated with my work in this investigation. My compensation is not contingent

   on the outcome of this matter or the specifics of my testimony.

   III.   LEGAL STANDARDS
          11.      I have been advised that a claimed invention is not patentable under

   an anticipation theory (35 U.S.C. § 102) if all claim elements are found in a single

   prior art reference. I further understand that anticipation is about prior invention

   and therefore the single prior art reference must be found to disclose all elements

   of the claimed invention arranged as in the claim. I also understand that picking,

   choosing, and combining various embodiments disclosed within a single reference

   is not proper under an anticipation theory.

          12.      I understand that differences between the prior art reference and a

   claimed invention, however slight, invoke the question of obviousness, not

   anticipation.




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         13.    I have been advised that a claimed invention is not patentable under

   35 U.S.C. § 103 if it is obvious. A patent claim is unpatentable if the claimed

   invention would have been obvious to a person of ordinary skill in the field at the

   time the claimed invention was made. This means that even if all of the

   requirements of the claim cannot be found in a single prior art reference that would

   anticipate the claim, a person of ordinary skill in the relevant field who knew about

   all this prior art would have come up with the claimed invention.

         14.    I have further been advised that the ultimate conclusion of whether a

   claim is obvious should be based upon several factual determinations. That is, a

   determination of obviousness requires inquiries into: (1) the level of ordinary skill

   in the field; (2) the scope and content of the prior art; (3) what difference, if any,

   existed between the claimed invention and the prior art; and (4) any objective

   indicia of nonobviousness.

         15.    I have been advised that, in determining the level of ordinary skill in

   the field that someone would have had at the time the claimed invention was made,

   I should consider: (1) the levels of education and experience of persons working in

   the field; (2) the types of problems encountered in the field; and (3) the

   sophistication of the technology.

         16.    I have been advised that a patent claim composed of several elements

   is not proved obvious merely by demonstrating that each of its elements was



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   independently known in the prior art. In evaluating whether such a claim would

   have been obvious, I may consider whether there is a reason that would have

   prompted a person of ordinary skill in the field to combine the elements or

   concepts from the prior art in the same way as in the claimed invention.

         17.    I have also been advised, however, that I must be careful not to

   determine obviousness using the benefit of hindsight; many true inventions might

   seem obvious after the fact. I should put myself in the position of a person of

   ordinary skill in the field at the time the claimed invention was made and I should

   not consider what is known today or what is learned from the teaching of the

   patent.

         18.    Finally, I have been advised that any obviousness rationale for

   modifying or combining prior art must include a showing that a person of ordinary

   skill would have had a reasonable expectation of success.

         19.    With regard to objective indicia of nonobviousness, I have been

   advised that any objective evidence may be considered as an indication that the

   claimed invention would not have been obvious at the time the claimed invention

   was made. I understand that the purpose of objective indicia is to prevent a

   hindsight analysis of the obviousness of the claims.




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          20.    I have been advised that there are several factors that may be

   considered as objective indicia. These factors include the long-felt need,

   skepticism, unexpected results and commercial success of the invention.

          21.    I have been further advised that in order for objective indicia to be

   significant, there must be a sufficient nexus between the claimed invention and the

   evidence of objective indicia. I understand that this nexus serves to provide a link

   between the merits of the claimed invention and the evidence of objective indicia

   provided.

   IV.    LEVEL OF ORDINARY SKILL IN THE ART
          22.    I have been advised that, in determining the level of ordinary skill in

   the art that someone would have had at the time the claimed invention was made, I

   should consider: (1) the levels of education and experience of persons working in

   the field; (2) the types of problems encountered in the field; and (3) the

   sophistication of the technology. I have been advised that an invention must be

   evaluated not through the eyes of the inventor, who may have been of exceptional

   skill, but as by one of ordinary skill in the art.

          23.    I understand that Dr. Janoff defined a person of ordinary skill as one

   that “would have specific experience with lipid particle formation and use in the

   context of delivering therapeutic payloads, and would have a Ph.D., an M.D., or

   similar advanced degree in an allied field (e.g., biophysics, microbiology,



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   biochemistry) or an equivalent combination of education and experience.” EX1007

   ¶31. I understand this was adopted by the Board. Paper 15 at 5-7.

         24.    In my opinion, the level of ordinary skill defined by Dr. Janoff and the

   Board is inappropriate. With regard to the “specific experience,” Dr. Janoff states

   that the “level of skill is representative of the inventors on the ʼ435 patent and

   authors/inventors of prior art cited herein.” EX1007 ¶31. The inventors of the ʼ435

   patent, however, are artisans of exceptional skill in the subject matter of the ʼ435

   patent. Thus, in my view, Dr. Janoff has not simply applied a slightly higher level

   of skill in the art in setting forth his opinions in his declaration, but has assumed a

   much higher level of skill than that of a person of ordinary skill in the art.

   V.    BACKGROUND

         25.    An objective of genetic therapy at the time, and to this day, is the

   development of drugs — that is, nucleic acids — to treat systemic diseases such as

   cancer, inflammation, virus infection, and cardiovascular disease. While genetic

   therapy holds the promise of highly specific targeting of disease pathways, it was

   known that this promise would only be realized through the development of

   appropriate delivery vehicles. Delivery is critical because a therapeutic agent is

   useless if it does not reach its target. This is particularly true with nucleic acids —

   large, negatively charged molecules — that cannot simply be given to a patient

   systemically (e.g., intravenously) and allowed to passively enter cells, as would be



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   the case with many small molecule drugs. Therapeutic nucleic acids require an

   effective delivery vehicle, which historically has proved to present a considerable

   technical obstacle. See, e.g., EX2016 (“You can write down the steps. You can

   write down what you think will happen. But then you have to put it in a 50-

   nanometer particle that’s safe and potent to deliver.”); EX2014 at 11 (“The major

   hurdle right now is delivery, delivery, delivery,” says Sharp), (“Khvorova believes

   that the medical benefits of RNAi will be huge if the delivery issues can be

   resolved.”).

         26.      The first generation of nucleic acid delivery systems that were

   developed included cationic liposome nucleic acid complexes (also known as

   liposomes). See EX1002 ¶8 (defining “cationic liposome complex” as lipoplex);

   EX2007, 2:27-28 (same). Lipoplexes were found to be unsuitable for many

   applications, particularly systemic uses, due in large part to the toxic nature of the

   cationic lipids. See, e.g., EX1008 at 5.

         27.      The toxicity of cationic lipids is observed both at the systemic level

   and at the cellular level. Cationic lipids cause clustering of membrane

   glycoproteins on cell surfaces, thereby disrupting normal cellular protein

   trafficking and receptor recycling, and thus are cytotoxic to cells themselves.

   Toxicity also occurs at the organ level, as these lipids are often not readily

   biodegradable, such that they accumulate to cytotoxic concentrations in the liver



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   and spleen. Cationic lipids also have immunostimulatory capacity and have been

   associated with immunogenic and inflammatory responses. The presence of

   cationic lipids also results in these complexes being rapidly cleared from the body,

   further limiting their therapeutic utility. Furthermore, it was understood that the

   cationic lipid component can cause aggregation of lipid particles.

         28.    These technical obstacles of toxicity, immunogenicity, and

   aggregation due to use of cationic lipids in a delivery vehicle for nucleic acids was

   well known in 2008 and thus those in the field at the time sought to minimize the

   cationic lipid component of a lipid delivery vehicle. This is evidenced in the

   references cited in the petition.

         29.    For example, Ahmad teaches that the cationic lipid component should

   be minimized to reduce cytotoxicity and metabolic effort associated with

   elimination of cationic lipids.

         Minimizing the amount of cationic lipid is desirable to reduce cost as
         well as potential toxic effects of the cationic lipid. In addition,
         achieving a given σM with fewer, more highly charged molecules
         should mean a smaller metabolic effort for the elimination of the
         lipids from the cell.
   EX1006 at 7.

         30.    Gao discusses toxicity caused by the cationic lipid component.

         Detailed toxicological studies … revealed that the cationic lipid
         contributes significantly to the toxicity observed. Similar toxic effects

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         are also noticeable in systemic gene delivery via the tail vein with
         other types of cationic lipids. Symptoms include acute pulmonary
         hypotension, induction of inflammatory cytokines, tissue infiltration
         of neutrophils in lungs, decrease in white cell counts, and in some
         cases tissue injury in liver and spleen. In humans, various degrees of
         adverse inflammatory reactions, including flulike symptoms with
         fever and airway inflammation, ….
   EX1008 at 5.

         31.   Gao further discloses that the cationic lipid component caused

   unwanted interactions with serum proteins, including complement.

         Another factor related to the severity of transfection-related side
         effects is complement activation and adsorption of serum proteins
         onto their surface, which in turn act as opsonins to trigger the uptake
         of opsonized particles by macrophages and other immune cells.
         Various strategies have been considered to deal with the toxic
         responses.
   EX1008 at 5-6; see also Table 1.

         32.   Gao also describes that the cationic lipid component of lipoplexes

   caused unwanted interactions with non-target cells.

         Once administered in vivo, lipoplexes tend to interact with negatively
         charged blood components and form large aggregates that could be
         absorbed onto the surface of circulating red blood cells, trapped in a
         thick mucus layer, or embolized in microvasculatures, preventing
         them from reaching the intended target cells in the distal location.
   EX1008 at 5.

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         33.    Additionally, it was appreciated that the cationic lipid component of

   lipoplexes caused aggregation of lipid particles. EX1008 at 9 (“[T]he polycations

   in either lipoplexes or polyplexes have the intrinsic property of causing significant

   aggregation in biological matrices full of negatively charged molecules ….”); see

   also EX1004 ¶136.

         34.    Therefore, it was well established at the time of filing of the patent

   that cationic lipids used in a delivery vehicle for nucleic acids were toxic,

   immunogenic, and caused aggregation. As Dr. Zamore of Alnylam stated, “I

   wouldn’t want anyone injecting cationic lipids into my bloodstream.” EX2011 at

   42.

         35.    At the filing date of the patent, the aim of those working in the field

   sought lipid particles that were substantially non-toxic and therefore suitable for

   systemic applications. However, at that time, the development of nucleic acid-lipid

   particles that were suitable for systemic applications had not been achieved.

   Furthermore, it was widely understood at that time that in order to design nucleic

   acid-lipid particles suitable for systemic use the amount of cationic lipid in the

   formulation should be kept as low as possible, because of concerns over the known

   toxic effects of cationic lipids.




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   VI.   CLAIM CONSTRUCTION
         36.    The petition materials provided an unreasonably broad construction of

   “nucleic acid-lipid particle,” stating that it should be construed as “a composition

   of lipids and a nucleic acid for delivering a nucleic acid to a target site on interest.”

   Pet. 24.

         37.    I have been apprised that the Board, in its Institution Decision,

   rejected the construction in the petition and offered a different one. That is, the

   Board construed “nucleic acid-lipid particle” as “a particle that comprises a nucleic

   acid and lipids, in which the nucleic acid may be encapsulated in the lipid portion

   of the particle.” Paper 15 at 10-11 (citing EX1001, 11:14–22).

         38.    In my opinion, both constructions of “nucleic acid-lipid particle” in

   the petition materials and in the Institution Decision are incorrect and unreasonably

   broad at least to the extent they encompass lipid particles lacking any encapsulated

   nucleic acid. The petition materials and the Board focused on a different term —

   i.e., the term “lipid particle” — and only incompletely address the corresponding

   discussion in the ’435 patent specification. But the claimed term is not “lipid

   particle,” the claimed term is “nucleic acid-lipid particle.”

         39.    A “nucleic acid-lipid particle” expressly includes a nucleic acid.

   According to the ʼ435 patent, “nucleic acids, when present in the lipid particles of

   the present invention, are resistant in aqueous solution to degradation with a



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   nuclease.” EX1001, 11:51-54. The ’435 patent describes nucleic acid

   encapsulation in the lipid particle as conferring resistance to such enzymatic

   degradation. EX1001, 11:20-22 (“[T]he active agent or therapeutic agent may be

   encapsulated in the lipid, thereby protecting the agent from enzymatic

   degradation.”); see also EX2007 4:15-19; 22:40-47; 23:1-3; 23:27-29; 26:35-37

   (describing resistance to nuclease enzymatic degradation as indicating nucleic

   encapsulation in the liposomes).

         40.    A “lipid particle” “may [include a nucleic acid] encapsulated in the

   lipid portion of the particle, thereby protecting it from enzymatic degradation.”

   EX1001, 11:14–22. A “nucleic acid-lipid particle,” however, does include a

   nucleic acid encapsulated in the lipid portion of the particle, thereby protecting it

   from enzymatic degradation. EX1001, 11:23-31, 11:51-54.

         41.    I understand that, during cross-examination, Dr. Janoff testified

   multiple times that the lipid particles as claimed are defined as SNALPs. See, e.g.,

   EX2028, 118:18-119:4, 119:9-17, 120:5-6, 121:14-25. Dr. Janoff cited to a

   provision of U.S. Patent No. 9,404,127 (“the ’127 patent,” EX2029) at 5:15-22 that

   is identically recited in the ’435 patent. Compare EX2029, 5:15-22 with EX1001,

   19:19-26.

         42.    Dr. Janoff is correct in that the specification repeatedly identifies

   SNALPs as the invention of the patent for delivering a nucleic acid payload. See



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   e.g., EX1001, 3:9-13 (“The present invention provides novel, serum-stable lipid

   particles ….”), 47:23-24 (“[T]he lipid particles of the invention are serum-stable

   nucleic acid-lipid particles (SNALP)…”), 3:32-37, 14:20-25.

         43.    In my opinion, a fair and reasonable reading of the ’435 patent

   specification supports Dr. Janoff’s position in that there is no meaningful

   distinction between the ’435 patent specification’s descriptions of a “lipid particle”

   containing a nucleic acid (i.e., a nucleic acid-lipid particle) and particle

   characteristics that confer serum stability. Compare EX1001, 11:14-22, 11:51-54

   (“[N]ucleic acids, when present in the lipid particles of the invention, are resistant

   in aqueous solution to degradation with a nuclease.”) with 13:32-37 (“‘Serum-

   stable’ in relation to nucleic acid-lipid particles such as SNALP means that the

   particle is not significantly degraded after exposure to a serum or nuclease assay

   that would significantly degrade free DNA or RNA”).

         44.    In my opinion, a narrow focus on a linguistic difference between a

   nucleic acid-lipid particle and the term “SNALP” is misguided and risks

   overlooking pertinent disclosure and context provided in the ’435 patent. The ’435

   patent specification states that “nucleic acids, when present in the lipid particles of

   the invention, are resistant in aqueous solution to degradation with a nuclease.” Id.,

   11:51-54. Such physical properties of the particles providing nuclease degradation

   resistance, or encapsulation of the nucleic acid, are also as described in the ’435



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   patent specification as conferring the identified serum stability. Id., 13:32-37. This

   is certainly true if the claimed particles are SNALP, as supported not only by the

   specification of the ’435 but as affirmed by petitioner’s expert Dr. Janoff.

         45.    I disagree with the Board’s analysis presented at pages 9-10 of the

   Institution Decision at least for the reasons explained above. As explained above,

   there is no meaningful distinction between a nucleic acid-lipid particle and a

   SNALP in the context of the ’435 patent. None of the provisions of the ’435 patent

   specification identified by the Board indicate otherwise. Paper 15 at 9-10. The

   Board’s discussion of whether particles are “limited to in vivo use,” is confusing

   and loses sight of both the context of the ’435 patent specification and a reasonable

   perspective of a person of ordinary skill in the art. For example, the Board cites to

   an example of SNALP being tested for transfection activity in vitro as indicating

   the same composition is not a SNALP. Paper 15 at 10 (citing Example 2 at 69:6–

   70:52 (“Eg5 siRNA Formulated as 1:57 SNALP are Potent Inhibitors of Cell

   Growth In Vitro”)). The composition in Example 2 is expressly described as “1:57

   SNALP.” A person of ordinary skill in the art would understand that composition

   can be both 1) formulated such that the nucleic acid is encapsulated in the lipid

   particle, rendering the composition extremely useful for systemic applications; and

   2) tested for in vitro transfection activity. It is not uncommon for compositions to

   be assessed for in vitro transfection activity and then subject to testing in vivo.



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          46.   Regardless of whether the Board construes “nucleic acid-lipid

   particle” as a SNALP as indicated by Dr. Janoff; as a lipid particle with an

   encapsulated nucleic acid (thereby protecting it from enzymatic degradation); or

   under the broad construction presented in the Institution Decision, the petition

   materials fail to establish the unpatentability of claims 1-20.

   VII. GROUND 1 – CLAIMS 1-20 ARE NOT OBVIOUS IN VIEW OF
        PATENT OWNER’S DISCLOSURES IN THE ’196 PCT AND ’189
        PUBLICATION
          47.   It is my opinion that the petition fails to demonstrate that claims 1-20

   of the ’435 patent are obvious in view of the ’196 PCT and the ’189 publication.

   Since the petition materials provide no meaningful discussion of the ’189

   publication, the below arguments focus on lack of obviousness in view of the ’196

   PCT.

          48.   Although I understand that it is not Patent Owner’s burden to prove, it

   is my opinion that claims 1-20 of the ’435 patent are not obvious.

          A.    Claim 1
          49.   First, the petition materials fail to address all the lipid components of

   the claimed nucleic acid-lipid particle composition. Second, the petition materials

   fail to address the combination of the lipid components of the claimed nucleic acid-

   lipid particle composition. Third, the petition materials fail to explain why a person

   of ordinary skill in the art would have wanted to combine the individual lipid



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   components disclosed in the ’196 PCT. Fourth, the petition materials fail to

   address that a skilled artisan would have had no reasonable expectation of success

   that the claimed nucleic acid-lipid particle composition would be well-tolerated

   and efficacious. Finally, much of the evidence of unexpected results within the

   patent is disregarded, and what is considered is mischaracterized in view of the

   prior art.

          50.   As an initial observation, the assertion of obviousness in the petition

   materials is based on alleged overlapping ranges between the ’196 PCT and the

   challenged claims. But the petition materials fail to identify ranges that overlap for

   each of the claim components.

          51.   For example, claim 1 recites “a conjugated lipid that inhibits

   aggregation of particles.” Rather than identifying disclosure in the ’196 PCT that

   is specific for a conjugated lipid range, the petition materials cite to a range

   provided for “a bilayer stabilizing component.” Pet. 39; EX1007 ¶117.

          52.   The ’196 PCT makes clear that a “bilayer stabilizing component” is

   not the same as a “conjugated lipid that inhibits aggregation of particles.” See, e.g.,

   EX1002 ¶92 (“Suitable BSCs include, but are not limited to, polyamide oligomers,

   peptides, proteins, detergents, lipid-derivatives, PEG-lipids, …”). Bilayer

   stabilizing components include a broad class of structurally and chemically diverse

   molecules. Numerous bilayer stabilizing components (e.g., polyamide oligomers,



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   peptides, proteins, detergents, and lipid-derivatives) would not be considered a

   conjugated lipid by a person of ordinary skill in the art.

         53.    While the ’196 PCT lists a general range for the bilayer stabilizing

   component category, a person of ordinary skill in the art would not have

   interpreted the stated range (e.g., 0.5% to 25%) as being applicable to each listed

   bilayer stabilizing component example. For example, a skilled artisan would have

   appreciated that if the bilayer stabilizing component were a detergent, 25% would

   have been an unreasonably high level. This is because at this concentration of

   detergent the lipids would be solubilized and no longer form a lipid particle.

         54.    The ’196 PCT discloses seven nucleic acid-lipid particle compositions

   — all of which have either 7.5 or 15 mol % cationic lipid and 10 mol % conjugated

   lipid. EX1002 ¶¶216, 223, 228, 232.

         55.    Therefore, the petition materials fail to identify in ’196 PCT “a

   conjugated lipid that inhibits aggregation of particles” as required by claim 1.

         56.    In my opinion, as explained in further detail below, there would have

   been no good reason why a person of ordinary skill in the art would combine the

   different range disclosures for different lipid components from the ’196 PCT so as

   to arrive at the claimed nucleic acid-lipid particle. Nor would one would

   reasonably expect such formulations to work. The petition materials fail to

   demonstrate otherwise.



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         57.    Those in the field at the time recognized that the properties of any

   lipid particle are conferred not by the amount of any individual component but by

   the interaction of the combined components as a whole. Furthermore, if the skilled

   person were to vary one component (by taking the amount of that component

   specified for a particular formulation), it would then be necessary to decide which

   of the other components would need to be varied in order to accommodate the

   change in proportions of the overall composition.

         58.    The effects of making changes to the proportion of other components

   in the lipid particle would be unpredictable. Such changes, even if apparently

   minor in nature, would have little assurance of producing a functional lipid particle

   suitable for systemic use. The idea of simply “cherry-picking” specific amounts of

   individual components from different formulations, or the different ranges in the

   ’196 PCT, when designing lipid particles is therefore something which would have

   made no technical sense to the skilled person.

         59.    Dr. Janoff states that “determining the optimal proportion of cationic

   lipid for a given lipid combination would be a simple matter of varying the

   proportion using prior art methodologies.” EX1007 ¶110. I disagree. As explained

   above, the properties of a formulation are not conferred by the amount of one

   single component. Properties such as safety and efficacy are conferred by the

   combination of components in the entire formulation.



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         60.    Moreover, Dr. Janoff’s stated reason disregards the state of the art at

   the time of the invention. Making safe and effective nucleic acid-lipid particle

   formulations was not simply a matter of “varying the proportion” of cationic lipid

   in prior art formulations. As discussed above, the field of genetic medicine was

   hindered by the lack of effective and safe nucleic acid delivery vehicles. That the

   field struggled for 20 years to find such a delivery vehicle speaks to the difficulty

   of the task. See generally EX2015. Had the solution been a matter of simply

   optimizing the cationic lipid proportion, it would not have taken such an enormous

   investment of money and time.

         61.    As discussed elsewhere herein, the high cationic lipid levels claimed

   would have been disfavored in view of well-established toxicity concerns.

   Moreover, inclusion of a conjugated lipid in a formulation with high cationic lipid

   would have been expected to occur at much higher levels than claimed.

         62.    Conjugated lipid had been incorporated into lipid particles to help

   shield positive charge and reduce nonspecific interactions with blood components,

   leading to enhanced systemic clearance. Lipid particle compositions at the time

   typically used much higher levels of conjugated lipid than is claimed by the ’435

   patent, such as 10% PEG (i.e., 5- to 20-times more than the claimed formulations).

   For example, Doxil, the first FDA approved liposome formulation contained 5%

   PEG-conjugated lipid. EX2034. Likewise lipid particles for the delivery of nucleic



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   acids commonly used 10% PEG. EX2032 at 174; EX2033 at 1021; EX1002 ¶¶216,

   223, 228, 232.

         63.    The petition materials fail to provide a reasonable expectation of

   success for the claimed nucleic acid-lipid particle in view of the ’196 PCT and the

   state of the art at the date of the patent filing. In my opinion, a person of ordinary

   skill in the art would not have expected a nucleic acid-lipid particle composition

   with a high level of cationic lipid and a low level of conjugated lipid to be safe and

   effective.

         64.    As discussed above, the prior art taught that the cationic lipid

   component of lipid particles should be minimized, regardless of whether used for

   in vitro or in vivo purposes. For example, it was appreciated that cationic lipids are

   directly cytotoxic. Cationic lipids, in addition, elicit unwanted immune reactions

   (e.g., inflammation), off-target cellular interactions (e.g., blood cells), and

   aggregation. Furthermore compositions with low levels of conjugated lipid (i.e.,

   0.5 mol % to 2 mol %) would have been expected to result in unstable particles

   that aggregate and fail to effectively transfect cells. Hence the claimed nucleic

   acid-lipid particle would have been expected to be cytotoxic and ineffective.

         65.    Accordingly, claim 1 is not obvious in view of the ’196 PCT at least

   because there would have been no expectation of success that the claimed nucleic

   acid-lipid particle would be safe and effective.



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         B.     Unexpected Results
         66.    I reviewed the experimental data in the ’435 patent. In my opinion,

   the results of the experimental data would have been quite surprising to a POSITA.

   As explained in further detail below, those in the art at the time would have

   expected formulations as claimed to result in significantly lower activity and

   higher levels of toxicity compared to what is reported in the experimental results.

         67.    The prior art expressly instructs that high-level cationic lipid

   formulations were expected to have poor in vivo activity and display increased

   toxicity and immunogenicity relative to low-level cationic lipid formulations. See

   EX1005 at 3315; EX1006 at 745; EX1008 at E96; EX2007, 30:34:41 (Issued

   patent naming Dr. Janoff as an inventor and explaining that “[t]here may be a limit

   to the use of cationic lipoplexes [in vivo] because of their toxicity.”). As such, the

   expectation for the claimed formulations would have been toxic formulations

   unsuitable for systemic use and little, if any, efficacy.

         68.    Contrary to these expectations, the claimed formulations are well-

   tolerated and possess favorable in vivo efficacy at far lower dosages than prior art

   formulations. Data for numerous formulations within the scope of claim 1 are

   found in the ’435 patent and support the unexpected degree of tolerability and

   efficacy. See also Section XI.




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                                                                                   JA00801
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         69.    The petition materials present an incomplete and flawed analysis of

   the data within the ’435 patent. First, the petition materials fail to consider that,

   unexpectedly, the claimed formulations are not toxic nor do they cause unwanted

   immune responses. Second, although the petition materials purport to address the

   data supporting unexpected efficacy, these data are analyzed without consideration

   of what a person of ordinary skill in the art would have expected.

         70.    Dr. Janoff says “the sole basis for alleged novelty of the ’435 patent

   claims is that a nucleic acid-lipid particle comprising component lipids in the

   claimed proportions achieves unexpected efficacy making the claims patentably

   distinct from the prior art.” EX1007 ¶75 (emphases added). Not so. The ’435

   patent also discloses that the claimed formulations “are substantially non-toxic to

   mammals such as humans.” EX1001, 6:2-5; see also EX1001, 6:26-30, 11:51,

   14:40-42, 23:2-3, 47:9-18.

         71.    For example, the ’435 patent used various measurements (e.g., body

   weight, appearance and behavior, and platelet count) to assess the toxicity of the

   claimed compositions following systemic administration to mice. Unexpectedly,

   no significant toxicity was detected by any measure.

         72.    Body weight was monitored after systemic administration of a 1:57

   formulation. EX1001, 79:33-37. A sharp decline was considered indicative of

   toxicity and would have been the expected result. However, “there was very little



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   effect on body weight 24 hours” even at the highest dosages. EX1001, 79:33-34;

   see also id., 79:34-36 (“The maximum weight loss of 3.6±0.7% was observed at

   the highest drug dose of 17 mg/kg.”), Figure 8. Moreover, the ’435 patent explains

   that “[t]here was also no obvious change in animal appearance/behavior at any of

   the dosages tested.” EX1001, 79:36-37.

         73.    Platelet count was also measured after systemic administration of a

   1:57 nucleic acid-lipid particle composition. An increase or decrease in platelet

   count is indicative of toxicity and would have been the expected result. See

   EX1001, 79:38-41. However, “the mean platelet volume did not change in

   SNALP-treated groups.” EX1001, 79:44; see also Figure 9.

         74.    No significant toxicity was observed even after multiple systemic

   doses of the 1:57 nucleic acid-lipid particle composition. Mice were dosed

   intravenously multiple times per week for a total of 5 weeks. EX1001, 81:20-

   82:25. Similar to the single dose of 1:57, no treatment-related toxicity was

   observed. EX1001, 82:30-36 (“The treatment regimen was well tolerated with no

   apparent signs of treatment-related toxicity.”), (“[T]reatment with 1:57 SNALP-

   formulated PLK1424 caused a significant increase in the survival of Hep3B tumor-

   bearing mice. This in vivo anti-tumor effect was observed in the absence of any

   apparent toxicity or immune stimulation.”).




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         75.    For example, the claimed nucleic acid-lipid particle compositions

   effectively induced silencing of the targeted gene (i.e., ApoB) when administered

   systemically to mice. Table 4 lists the nucleic acid-lipid particle compositions

   tested as part of Example 3.




   EX1001, Table 4. Amongst those tested were nucleic acid-lipid particle

   compositions within the scope (i.e., Groups 11, 13, and 14) and outside the scope

   of claim 1. The expectation for nucleic acid-lipid particle compositions of Groups

   11, 13, and 14 would have been little, if any, gene silencing. That is, based on what

   was known in the art at the time, Groups 11, 13, and 14 would have been expected



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   to yield reductions in gene expression similar to the “untreated” control group (i.e.,

   PBS). However, each of the nucleic acid-lipid particle compositions within the

   scope of claim 1 (Groups 11, 13, and 14) showed significant gene silencing relative

   to the control group (i.e., PBS). EX1001, FIG 2. Even more surprisingly, these

   nucleic acid-lipid particle compositions yielded gene silencing levels which were

   at least comparable and in many cases superior to prior art compositions that have

   a much lower cationic lipid level (e.g., 25 mol % to 40 mol % cationic lipid).

   EX1001, FIG 2 (red and green highlighting added).




   For instance, the 1:57 nucleic acid-lipid particle composition, “was substantially

   more effective at silencing the expression of a target gene as compared to prior art

   nucleic acid-lipid particles (‘2:40 SNALP’).” EX1001, 6:10-14. Furthermore, the




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   1:57 nucleic acid-lipid particle composition “was the most potent at reducing” gene

   expression in vivo. EX1001, 72:25-27.

         76.    The 1:57 nucleic acid-lipid particle composition was also compared to

   the prior art 2:30 composition. Surprisingly, the 1:57 nucleic acid-lipid particle

   composition was “more than 10 times as efficacious as the 2:30 SNALP”

   composition in silencing gene expression in mouse liver when administered

   systemically. EX1001, Figure 3 (reproduced below). Remarkably, the 1:57 nucleic

   acid-lipid particle composition achieved these results at “a 10-fold lower dose”

   than the 2:30 composition. That is, even at a 10-fold lower dose, the claimed

   nucleic acid-lipid particle composition produced more gene silencing in vivo than

   the prior art composition.




   EX1001, FIG 3 (green highlighting added).

         77.    Dr. Janoff states that “[a]t most, [Example 4] established that the 1:57

   SNALP comprised of the specific species of lipid components and nucleic acid to


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                                                                                 JA00806
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   lipid ratio disclosed, dosed as disclosed, outperformed the 2:30 SNALP comprised

   of the lipid species disclosed and dosed as disclosed.” EX1007 ¶85. Dr. Janoff

   further states that “given the disclosures in the ’435 patent, a POSITA would not

   expect all alternative data points falling within the recited numeric range to

   perform like the 1:57 SNALP.” EX1007 ¶112. These comments disregard the

   breadth of formulations tested. As discussed below, Examples 5 and 6 describe

   testing of additional formulations within the scope of claim 1 which also yield

   considerable levels of gene silencing in vivo. EX1001, 74:5-58. I discuss those

   results in further detail below.

         78.    Example 5 discloses the testing of seven formulations within the

   scope of claim 1. EX1001, 74:11-58, Table 6.




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   EX1001, Table 6. Figure 4 displays the level of gene silencing following systemic

   administration of each of the seven formulations as compared to the performance

   of a control (i.e., PBS). A person of ordinary skill in the art would have expected

   these formulations to be ineffective — that is, produce levels of gene silencing

   similar to that of the control. EX1001, FIG. 4. Contrary to expectations, these

   formulations produce significant reductions in gene expression.




   EX1001, FIG 4.

         79.    Dr. Janoff states “Example 5 in the ’435 patent shows variation of the

   cationic lipid apparently impacts efficacy” and concludes that “[a] POSITA would

   understand these results to suggest that a preferred proportion for one cationic lipid

   (e.g., DLinDMA) does not necessarily apply to all other cationic lipids (e.g.,

   DODMA).” While there is some variation in the efficiency of formulations

   depending on which cationic lipid is used, (compare Group 4 (DODMA) with


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                                                                                 JA00808
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   Group 2 (DLinDMA)), this does not take away from the conclusion that both

   DODMA and DLinDMA are unexpectedly efficacious.

         80.   Example 6 discloses the testing of 14 formulations within the scope of

   claim1 (i.e., 54 mol % to 68 mol % cationic lipid). EX1001, 74:11-58, Table 7.




   EX1001, Table 7. Figure 5 depicts the level of gene silencing activity achieved

   with the 14 formulations and compares this activity to the expected result — the

   performance of the PBS control.




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   EX1001, FIG 5. Surprisingly, each of the nucleic acid-lipid particle compositions

   demonstrated significant levels of gene silencing. The ’435 patent notes “that the

   1:62 SNALP formulation was one of the most potent inhibitors of ApoB

   expression at two different lipid:drug ratios (i.e., 6.1 & 10.1) among the

   phospholipid-free SNALP formulations tested (see Groups 2 & 15).” EX1001,

   75:45-48.

         81.      In sum, the ’435 patent discloses data demonstrating nucleic acid-lipid

   particle compositions across the claimed range are unexpectedly well-tolerated and

   efficacious.

         C.       Claims 2-20
         82.      As an initial matter, the analysis of the dependent claims in the

   petition and Dr. Janoff’s declaration is often difficult to follow. For instance,


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   Ground 1 alleges obviousness of claims 1-20, but many of the dependent claims

   include language that appears to invoke an unspecified anticipation theory. See,

   e.g., EX1007 ¶124 (“Given the breadth of the claimed range for the phospholipid,

   these disclosures are sufficiently specific to disclose the claimed range. In addition,

   given the explicit disclosure of encompassing ranges, this limitation is prima facie

   obvious.”). Additionally, most of the claims simply map disclosure without any

   explanation as to its significance. See, e.g., EX1007 ¶124. Finally, the dependency

   of claims is largely ignored therefore it is challenging to determine what theory of

   unpatentability is actually being advanced. See, e.g., EX1007 ¶125 (discussing

   claim 8 which depends from claims 1 and 5). I have done my best to respond to

   what seems to be the theory of unpatentability for each of the dependent claims.

         83.    It is my opinion that claims 2-20 are not obvious for the same reasons

   identified above with respect to claim 1. Additional discussion for some of claims

   2-20 is provided below.

                Claim 4. The nucleic acid-lipid particle of claim 1, wherein the
                cationic lipid comprises from 50 mol % to 65 mol % of the total
                lipid present in the particle.

         84.    Dr. Janoff merely refers to his discussion of the cationic lipid level

   recited and claim 1 and concludes:

         Given the breadth of the claimed range, the disclosures above are
         sufficiently specific to disclose the claimed range. Not only does the
         disclosed broader range substantially overlap with the claimed range,


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         a preferred embodiment in the reference recites a narrower range that
         also partially overlaps. In addition, given the explicit disclosure of
         overlapping ranges, this limitation is prima facie obvious.
   EX1007 ¶121. I do not know what range Dr. Janoff asserts belongs to a “preferred

   embodiment.” Moreover, claim 4 recites a narrower range of cationic lipid than

   claim 1 — a range that is well represented by the tested range of cationic lipid

   and, in particular, a nucleic acid-lipid particle composition with 57 mol % cationic

   lipid was found unexpectedly well-tolerated and efficacious. See Section VIII.B.

   Thus, the nexus of the unexpected results and claim 4 is even stronger than it is for

   claim 1.

                Claim 5. The nucleic acid-lipid particle of claim 1, wherein the
                non-cationic lipid comprises a mixture of a phospholipid and
                cholesterol or a derivative thereof.

         85.    Neither the petition nor Dr. Janoff points to disclosure of nucleic acid-

   lipid particles with a mixture of phospholipid and cholesterol. Instead, reliance is

   placed on long lists of non-cationic lipids including phospholipids, sterols, and

   non-phosphorous containing lipids and generic ranges for non-cationic lipid and

   cholesterol. EX1007 ¶122 (citing EX1002 ¶¶89, 91). These paragraphs do not

   disclose nucleic acid-lipid particle compositions that contain a mixture of

   phospholipid and cholesterol. To the extent it is argued that a skilled artisan might

   select both lipid components for inclusion in a nucleic acid-lipid particle, I




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   understand that an obviousness theory requires a reason to make such a

   combination and a reasonable expectation of success — both of which are absent.

         86.    Moreover, claim 5 requires a mixture of phospholipid and cholesterol

   such as that found in 1:57 nucleic acid-lipid particle compositions which are

   unexpectedly well-tolerated and efficacious. See Section VIII.B. Thus, the nexus of

   the unexpected results and claim 5 is even stronger than it is for claim 1.

                Claim 6. The nucleic acid-lipid particle of claim 5, wherein the
                phospholipid comprises dipalmitoylphosphatidylcholine (DPPC),
                distearoylphosphatidylcholine (DSPC), or a mixture thereof.
         87.    Dr. Janoff relies on a long list of non-cationic lipids for disclosure of

   DPPC and DSPC. EX1007 ¶123 (citing EX1002 ¶¶89, 128). It is unclear how the

   cited disclosure relates to the disclosure cited in the context of claims 1 and 5, from

   which claim 6 depends. To the extent that Dr. Janoff is arguing that a skilled

   artisan might select DPPC or DSPC from a long list of non-cationic lipids and

   incorporate one or both into a nucleic acid-lipid particle composition that includes

   cholesterol, I understand that such a theory requires a reason to make the

   formulation and a reasonable expectation of success — both of which are absent.

                Claim 7. The nucleic acid-lipid particle of claim 5, wherein the
                phospholipid comprises from 3 mol % to 15 mol % of the total
                lipid present in the particle.

         88.    As an initial matter, the ’196 PCT does not disclose a range for a

   phospholipid component, much less a range for a phospholipid component in a



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   nucleic acid-lipid particle composition that includes cholesterol. Instead, Dr. Janoff

   arrives at the limitation through arithmetical manipulations of ranges of non-

   cationic lipid and cholesterol two different patent documents. EX1007 ¶124.

   Specifically, Dr. Janoff selects the 20% to 85% range of non-cationic lipid from

   the ’196 PCT and subtracts from this range the 20% to 45 % range of cholesterol

   disclosed in the ’618 patent. A person of ordinary skill in the art would not

   consider these calculations to amount to disclosure of a range of phospholipid.

   There is no basis to conclude that the ’196 PCT provides an “explicit disclosure”

   of a range of 0% to 20% phospholipid. EX1007 ¶124. Moreover, the 1:57 nucleic

   acid-lipid particle composition is encompassed by claim 7 and is unexpectedly

   well-tolerated and efficacious. See Section VIII.B. Thus, the nexus of the

   unexpected results and claim 7 is even stronger than it is for claim 1.

                Claim 8. The nucleic acid-lipid particle of claim 5, wherein the
                cholesterol or derivative thereof comprises from 30 mol % to 40
                mol % of the total lipid present in the particle.
         89.    As an initial matter, the ’196 PCT does not disclose a range for

   cholesterol in a formulation that includes phospholipid. Dr. Janoff relies on

   disclosure in the ’196 PCT of a range of 20 mol % to 45 mol % cholesterol.

   However, this is insufficient to make claim 8, which depends from claims 1 and 5,

   obvious. Dr. Janoff also relies on a lipoplex composition in the ’618 patent that

   contains 30% cholesterol. A person of ordinary skill in the art would not look to



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   lipoplex compositions for guidance in making nucleic acid-lipid particle

   compositions. Moreover, the 1:57 nucleic acid-lipid particle composition is

   encompassed by claim 8 and is unexpectedly well-tolerated and efficacious. See

   Section VIII.B. Thus, the nexus of the unexpected results and claim 8 is even

   stronger than it is for claim 1.

                Claim 12. The nucleic acid-lipid particle of claim 1, wherein the
                conjugated lipid that inhibits aggregation of particles comprises
                from 1 mol % to 2 mol % of the total lipid present in the particle.
         90.    Neither the petition nor Dr. Janoff provides any reason to use the

   range of conjugated lipid of claim 12 in a nucleic acid-lipid particle composition

   with the claimed ranges of cationic and non-cationic lipid components. See

   EX1007 ¶¶119, 120. Any discussion of reasonable expectation of success is

   similarly missing. Moreover, claim 12 recites a narrower range of cationic lipid

   than claim 1 — a range that is well represented by the tested range of cationic lipid

   and, in particular, nucleic acid-lipid particle compositions with 57 mol % cationic

   lipid are unexpectedly well-tolerated and efficacious. See Section VIII.B. Thus, the

   nexus of the unexpected results and claim 12 is even stronger than it is for claim 1.

                Claim 13. The nucleic acid-lipid particle of claim 1, wherein the
                nucleic acid is fully encapsulated in the nucleic acid-lipid particle.
         91.    The petition and Dr. Janoff rely solely on one paragraph of the ’196

   PCT, which states “[i]n some embodiments, the siRNA molecule is fully

   encapsulated within the lipid bilayer of the nucleic acid-lipid particle such that the


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   nucleic acid in the nucleic acid-lipid particle is resistant in aqueous solution to

   degradation by a nuclease.” EX1002 ¶11. Dr. Janoff provides no explanation for

   why a person of ordinary skill in the art would have had a reasonable expectation

   of success generating fully encapsulated nucleic acid-lipid particles that have a

   high level of cationic lipid and a low level of conjugated lipid. Among other issues,

   a person of ordinary skill in the art would have expected the claimed nucleic acid-

   lipid particle to be unstable and thus incapable of encapsulating nucleic acids.

                Claim 14. A pharmaceutical composition comprising a nucleic
                acid-lipid particle of claim 1 and a pharmaceutically acceptable
                carrier.
         92.    Dr. Janoff provides no explanation for why a person of ordinary skill

   in the art would have had a reasonable expectation of success generating a

   pharmaceutical composition of nucleic acid-lipid particles that have a high level of

   cationic lipid and a low level of conjugated lipid. As discussed above, a person of

   ordinary skill in the art would have expected the claimed particles to be prone to

   aggregation and to be unstable due to the combination of a high level of cationic

   lipid and a low level of conjugated lipid. Consequently, a person of ordinary skill

   in the art would not have expected to successfully generate a pharmaceutical

   composition.

                Claim 16. A method for the in vivo delivery of a nucleic acid, the
                method comprising: administering to a mammalian subject a
                nucleic acid-lipid particle of claim 1.



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                Claim 17. A method for treating a disease or disorder in a
                mammalian subject in need thereof, the method comprising:
                administering to the mammalian subject a therapeutically
                effective amount of a nucleic acid-lipid particle of claim 1.

                Claim 18. The method of claim 17, wherein the disease or disorder
                is a viral infection.

                Claim 19. The method of claim 17, wherein the disease or disorder
                is a liver disease or disorder.

                Claim 20. The method of claim 17, wherein the disease or disorder
                is cancer.
         93.    Dr. Janoff does not include any discussion of reasonable expectation

   of success. However, the ’196 PCT teaches that nucleic acid-lipid particles for

   systemic use should have cationic lipid in the range of 5 mol % to 15 mol % —

   that is, much lower than the claimed range. As I discuss in detail above, a skilled

   artisan would have expected the claimed nucleic acid-lipid particles to be too toxic

   for in vivo administration. Thus, a person of ordinary skill in the art would not

   have had a reasonable expectation of success of obtaining nucleic acid-lipid

   particles suitable for administration to mammalian subjects.

   VIII. GROUND 2 – CLAIMS 1-20 ARE NOT OBVIOUS IN VIEW OF
         PATENT OWNER’S PRIOR DISCLOSURES IN LIGHT OF LIN
         AND/OR AHMAD
         94.    The petition alleges that Lin and Ahmad provide additional support,

   over “patent owner’s prior disclosures.” Although Ground 2 alleges that claims 1-

   20 are obvious, the petition materials only address the cationic lipid limitations of

   claims 1 and 4. Ground 2 lacks a plausible explanation as to why a person of


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   ordinary skill in the art would want to combine disclosure regarding “lipoplexes”

   with nucleic acid-lipid particle technology as described in the ’196 PCT.

   Moreover, the statement in the petition materials that a skilled artisan would have

   had a reasonable expectation of success is conclusory, nonsensical, and appears to

   be based on a misapprehension of the prior art.

          95.    The petition materials state that “the Lin and Ahmad systems tested

   helper lipids and cationic lipids to create carrier particles for nucleic acids, i.e.,

   ‘nucleic acid-lipid particles,’ the same general carrier particles described in the

   Patent Owner’s prior disclosures.” Pet. 50. Lin and Ahmad are directed to

   lipoplexes. EX1002 ¶8 (defining “cationic liposome complex” as lipoplex);

   EX2007, 2:27-28 (same). Lipoplexes are not nucleic acid-lipid particles.

          96.    Lipoplexes are distinct from the claimed nucleic acid-lipid particles.

   Lipoplexes and nucleic acid-lipid particles have different lipid compositions. See,

   e.g., EX1002, ¶85 (explaining that nucleic acid-lipid particles “comprise a nucleic

   acid …, a cationic lipid, a noncationic lipid and a bilayer stabilizing component”);

   EX1005 at 2 (describing lipoplexes that comprise DNA and cationic and neutral

   lipids); EX1006 at 2-3 (same); EX1002 ¶¶6, 8 (contrasting lipoplexes and nucleic

   acid-lipid particle).

          97.    Lipoplexes and nucleic acid-lipid particles have different structures.




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         For example, liposomal bilayers form around encapsulated nucleic
         acids, thereby protecting the nucleic acids from degradation by
         environmental nucleases; lipoplexes, by contrast, do not encapsulate
         nucleic acids, and hence, cannot completely sequester them away
         from environmental nucleases. Moreover, liposomes can encapsulate,
         in their aqueous compartments, other bioactive agents in addition to
         nucleic acids; lipoplexes, by contrast, cannot because they do not
         encapsulate aqueous volume.
   EX2007, 2:54-62; see also EX2028, 122:1-24 (acknowledging distinction between

   lipoplexes and nucleic acid-lipid particles).

         98.    Lipoplexes are also functionally distinct and were known to be

   unsuitable for many applications. EX2007, 2:26-40 (explaining that “lipoplexes

   suffer from several major drawbacks when used in gene therapy, including low

   stability, high cytotoxicity, non-biodegradability, poor condensation and protection

   of DNA, serum sensitivity, large size and lack of tissue specificity.”); EX1002, ¶6;

   EX1005 at 3315; EX1008 at 5-6.

         99.    The ’196 PCT explicitly distinguishes lipoplexes from the nucleic

   acid-lipid particles described therein. Compare EX1002, ¶6 (“Cationic liposome

   complexes, however, are large, poorly defined systems that are not suited for

   systemic applications and can elicit considerable toxic side effects.”) with id., ¶2

   (“[T]he present invention is directed to using a small interfering RNA (siRNA)




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   encapsulated in a serum-stable lipid particle having a small diameter suitable for

   systemic delivery.”).

         100. Dr. Janoff asserts that a person of ordinary skill in the art “a POSITA

   would have found it obvious to use the insights of Lin regarding increasing the

   cationic mole fraction of nucleic acid lipid particles to increase transfection

   efficiency and the disclosures of the Patent Owner’s prior disclosures regarding

   nucleic acid-lipid particles with a cationic lipid proportion greater than 50%.”

   EX1007 ¶142. I disagree. Because of the differences between lipoplexes and the

   claimed nucleic acid-lipid particles, a person of ordinary skill in the art would not

   have found teachings regarding lipoplexes to be relevant for the development of

   nucleic acid-lipid particle compositions.

         101. Moreover, the petition materials falsely assert that “[a] POSITA

   would understand the testing of Ahmad to support the proposition that for certain

   formulations, cationic lipids can increase transfection efficiency when they are

   incorporated above 50 mol%.” Pet. 49; EX1007 ¶139. But Ahmad discloses that

   transfection efficiencies for most lipoplexes are insensitive to cationic lipid

   increases over the range of 40 mol % to 80 mol % cationic lipid content. EX1006,

   Figure 3A. Similarly, Lin discloses that transfection efficiency for lipoplexes

   varies dramatically depending on which cationic lipid and non-cationic lipid are

   used. For example, the transfection efficiency of DOSPA/DOPC lipoplexes is



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   insensitive over the range of 20 mol % to 100 mol % cationic lipid, EX1005,

   Figure 4A, and DOTAP/DOPE lipoplexes are insensitive to cationic lipid increases

   over the entire tested range (0 mol % to 70 mol %), EX1005 Figure 4D. If

   anything, Lin supports the unpredictability of lipid particle chemistries.

   Consequently, there is no teaching or suggestion in Lin or Ahmad to increase the

   cationic lipid component above 50% is beneficial.

         102. Lin and Ahmad further provide that the cationic lipid component of

   lipid particles should be minimized, regardless of whether used for in vitro or in

   vivo purposes. For example, Ahmad specifically teaches that the cationic lipid

   component should be minimized.

         A relatively low lipid/DNA charge ratio, therefore, can be considered
         optimal since it allows for achievement of maximum TE with the least
         amount of cationic lipid. This is due to the unexpected increase of σM∗
         with ρchg. Minimizing the amount of cationic lipid is desirable to
         reduce cost as well as potential toxic effects of the cationic lipid. In
         addition, achieving a given σM with fewer, more highly charged
         molecules should mean a smaller metabolic effort for the elimination
         of the lipids from the cell.
   EX1006 at 7 (emphasis added). This teaching is unequivocal and would not have

   been ignored by a person of ordinary skill in the art.

         103. The Board in its institution decision stated that:




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                                                                                    JA00821
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         We do recognize that Ahmad is concerned with the toxicity of
         cationic lipids, but Ahmad noted that “with the amounts of cationic
         lipid employed in our in vitro experiments, we find no toxic effects on
         the cells as judged by cell morphology and the amount of total cellular
         protein.” Ex. 1006, 746. Because claim 1 is not limited to in vivo use
         of the claimed nucleic acid-lipid particle, the statement in Ahmad to
         which Patent Owner directs us concerning minimizing the amount of
         cationic lipid to avoid cost and toxicity, is not necessarily persuasive
         that Ahmad does not encourage increased amounts of cationic lipid in
         certain circumstances.
   Paper 15 at 31-32. I disagree. Ahmad states without qualification that cationic lipid

   should be minimized to avoid toxicity. EX1006 at 7, 9. Moreover, Ahmad does not

   qualify the conclusion that cationic lipid should be minimized even though no

   toxicity was observed in a single particular set of her experiments.

         104. Furthermore, the toxicity assay is not described in sufficient detail to

   meaningfully assess the results, and in any event, that in a single set of experiments

   “toxic effects” were not observed does not take away from Ahmad’s unequivocal

   teaching or the teaching of other prior art references consistent with Ahmad. E.g.,

   EX1008 at 5. Among other things, persons of ordinary skill in the art appreciated

   that in vitro toxicity is dependent on how and when it is measured. For example, if

   toxicity is measured too long after treatment with a toxic formulation, growth of

   the surviving cells will give the false impression that the formulation is not toxic.

   This is because surviving cells will continue to grow and, in time, replace those

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   cells killed by the toxic formulation. A person of ordinary skill in the art would not

   ignore the problem of cytotoxicity based on a single unspecified observation to the

   contrary.

             105. In my opinion, as explained in further detail below, there would have

   been no good reason why a person of ordinary skill in the art would combine the

   different range disclosures for different lipid components from the ’196 PCT so as

   to arrive at the claimed nucleic acid-lipid particle. Nor would one reasonably

   expect such formulations to work. The petition materials fail to demonstrate

   otherwise.

             106. The petition materials state that “given the success of generating

   nucleic acid-lipid particles with a cationic lipid proportion greater than 50% as

   described in the Patent Owner’s prior disclosures, a POSITA would have

   appreciated a reasonable expectation of doing so.” EX1007 ¶141. However, this

   statement is confusing to me because neither the ’196 PCT nor the ’189 publication

   disclose nucleic acid-lipid particles with cationic lipid proportion greater than 50%.

   EX1002 ¶¶ 216, 223, 228, 232 (disclosing formulations of 7.5 mol % and 15 mol

   % cationic lipid); EX1003 ¶¶289, 291-293, 295, 303, 311, 319, 327, 335, 343, 351,

   361, 369, 377, 385 (disclosing formulations of 30 mol % and 40 mol % cationic

   lipid).




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         107. Moreover, if anything, Lin and Ahmad strengthen the conclusion I

   arrived at in Ground 1 that a person of ordinary skill in the art would not have a

   reasonable expectation of success. For example, Ahmad expressly states that

   cationic lipid should be minimize to avoid toxicity and cost. EX1006 at 7.

   IX.   GROUND 3 – CLAIMS 1-20 ARE NEITHER ANTICIPATED BY
         NOR OBVIOUS IN VIEW OF THE ’554 PUBLICATION
         108. It is my opinion that the petition fails to demonstrate that claims 1-20

   of the ’435 patent are unpatenable in view of the ’554 publication.

         A.     Claim 1

                1.     Anticipation by L054
         109. The ’554 publication does not disclose the claimed nucleic acid-lipid

   particle composition, as claimed. First, L054 formulation of Table 4 is a lipid

   mixture for making particles, not a particle. Second, the petition fails to establish

   that L054-derived lipid particles would qualify as a nucleic-acid lipid particle as

   claimed, as there is no evidence that the L054-derived lipid particles encapsulate

   nucleic acid. Separately, the petition fails to establish that a L054-derived lipid

   particle of the ’554 publication is suitable for systemic delivery as required by

   claim 1.

         110. The challenged claims are directed to a nucleic acid-lipid particle.

   The L054 lipid formulation identified in Table 4 of the ’554 publication is a listing

   of lipid components or mixture of lipids used to form particles, not a nucleic acid-


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   lipid particle as claimed. The petition materials confuse the composition of the

   input formulation (i.e., lipids of Table 4) with something different—i.e., the output

   formulation (i.e. lipid particles). There is no disclosure in the ’554 publication

   regarding the composition of particles generated using the L054 formulation. This

   is an important distinction because a person of ordinary skill in the art would not

   assume that the composition of a lipid particle will be exactly the same as the

   composition of the lipid formulation utilized as a mixture of lipids to make the

   particles. Testing of the finished particle composition is necessary to account for

   variations in the molar fractions of the lipid components in the starting lipid

   formulation compared to the molar fractions of the lipid components in the

   resulting particles. EX2012 at 7242 (“Perhaps surprisingly, however, the

   composition of CLDCs is not usually determined at all—rather, the composition is

   simply assumed to be defined by the identity and amounts of the components

   originally introduced. In the future, however, as gene therapy agents approach

   pharmaceutical reality, more rigorous criteria likely will be required.”); EX2013

   (FDA guidance) at 3 (recommending labeling with the “amount of each lipid

   component used in the formulation based on the final form of the product” and

   “[a]n expression of the molar ratio of each individual lipid to the drug substance is

   also recommended for each individual lipid in the finished formulation), 8

   (recommending reporting of “characteristics or attributes specific to the liposome



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   formulation” including “[l]ipid content (to demonstrate consistency with the

   intended formulation).”).

         111. Experimental data presented in the ’435 patent illustrates that the

   input and output formulations are not identical. For example, the ’435 patent

   discloses that the lipid to drug ratio (i.e., lipid to nucleic acid ratio) calculated from

   the input components is not identical to that of the finished product. See, e.g.,

   EX1001, 79:50-80:9 (reporting different input and final lipid to drug ratios for

   SNALP formulations). I understand that Dr. Janoff agrees with this assessment.

   See EX2028, 155:2-25 (indicating that there could be a difference between input

   and output lipid-to-drug ratio).

         112. The ’554 publication further evidences that the input molar ratio of

   lipids is not identical to that of the finished product. For example, the ’554

   publication discloses that lipid particles made from the lipid mixtures in Table IV

   (e.g., L054) are “characterized in term of particle size, Zeta potential, alcohol

   content, total lipid content, nucleic acid encapsulated, and total nucleic acid

   concentration.” EX1004 ¶634. That is, lipid and nucleic acid content and Zeta

   potential (i.e., a measure of surface charge which relates to the amount of cationic

   lipid present in the particle) must be empirically determined and is not identical to

   the starting materials used to make the particles. See generally EX2013.




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         113. The methods disclosed in the ’554 publication, including the

   identified detergent dialysis methods, would be expected to skew the molar ratio of

   lipids in the finished particles relative to the starting materials. For example,

   cholesterol-based detergents (e.g., BIGCHAP and deoxy-BIGCHAP) are biased

   toward extracting cholesterol. See EX1004 ¶165 (listing BIGCHAP and deoxy-

   BIGCHAP as examples of suitable detergents for use with the detergent dialysis

   method of particle formation). The predictable result of using cholesterol-based

   detergents is less cholesterol in the finished particles than in the starting materials.

   When less cholesterol is incorporated into nanoparticles, the molar ratio of the

   remaining components (i.e., cationic lipid, phospholipid, and conjugated lipid) is

   increased. I understand that Dr. Janoff agrees that cholesterol in the starting lipid

   mixture may not be quantitatively incorporated into finished particles. EX2028,

   157:12-158:16 (explaining how failure to recover cholesterol in a particle would

   change the amount of the remaining components).

         114. A similar situation would apply to organic solvent-based methods.

   That is, differences in solubility in organic solvent amongst the lipid components

   of the mixture will result in differential incorporation of components into

   nanoparticles.

         115. In the L054 example, while the lipid formulation is listed as

   50/20/28/2, the molar fractions of the same lipids in the resulting particle would be



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   expected be different and presumably outside the scope of the challenged claims.

   The L054 lipid mixture has cationic lipid content and conjugated lipid content that

   are at the edge of the claimed ranges. Because L054 has cationic lipid content and

   conjugated lipid content on the edge of the claimed range, even small differences

   in incorporation of components will result in lipid particles that are outside the

   claimed range of cationic lipid content and conjugated lipid content. For example,

   if cholesterol is not quantitatively incorporated, see above, particles derived from

   the L054 lipid mixture would have more than 2 mol % conjugated lipid.

         116. Accordingly, the ’554 publication fails to disclose a lipid particle

   composition produced by the L054 lipid mixture that is within the scope of claim

   1.

         117. The petition materials fail to establish that the L054-derived

   nanoparticles encapsulate nucleic acid, as is required by claim 1. As discussed

   above, the term “nucleic acid-lipid particles” excludes particles that do not

   encapsulate nucleic acid. The encapsulation state of the nucleic acids in

   nanoparticles made with the L054 lipid mixture is unknown.

         118. To the extent that the ’554 publication discusses structure, it suggests

   that only serum-stable lamellar embodiments encapsulate nucleic acids.

         In one embodiment, the present invention provides a serum-stable
         formulated molecular composition … in which the biologically active
         molecule is encapsulated in a lipid bilayer and is protected from

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                                                                                   JA00828
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         degradation (for example, where the composition adopts a lamellar
         structure).
   EX1004 ¶136; see also ¶316. As discussed above, the L054 embodiment has not

   been tested for serum stability and whether it adopts a lamellar structure that

   encapsulates the nucleic acid is similarly unknown.

         119. Encapsulation of nucleic acids cannot be assumed based on the

   composition and formulation method. I understand that Dr. Janoff agrees with me.

         However, neither of [the prior art] preparations were dialyzed against
         high salt buffers subsequent to liposome formation, the reported
         amounts of encapsulated DNA actually may include a significant
         percentage of unencapsulated DNA. Since [the prior art] liposomal
         formulations were not exposed to DNAase degradation to determine
         the percentage of DNA actually sequestered in the liposomes, the high
         reported amounts probably do not reflect actually encapsulated DNA.
   EX2007, 4:11-19. The ’554 publication does not disclose dialyzing nanoparticles

   made from the L054 lipid mixture against high salt buffers or exposing the

   preparation to DNAse degradation. Moreover, the ’554 publication does not

   disclose methods for determining encapsulation of nucleic acids.

         120. Moreover, as indicated above, Dr. Janoff opined that the lipid

   particles of the ’435 patent are SNALP. That is, the inventive lipid particles are

   serum stable nucleic acid-lipid particle that are “extremely useful for systemic




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   applications” and “can exhibit extended circulation lifetimes following intravenous

   (i.v.) injection.” EX1001, 11:36-38.

         121. However, the petition and Dr. Janoff fail to address whether L054-

   derived nanoparticles are formulated for systemic administration. The ’554

   publication distinguishes between embodiments formulated for in vitro use and

   those formulated for in vivo use. See, e.g., EX1004 ¶¶136, 462. Furthermore, the

   ’554 publication stresses that serum-stability is a critical property of in vivo

   formulations. See, e.g., EX1004 ¶¶14, 15, 158. However, L054 was only tested in

   vitro. See EX1004 ¶395 (“FIG. 16 shows a non-limiting example of in vitro

   efficacy of siNA nanoparticles …”) (emphasis added). Specifically, the L054

   formulation was not evaluated for serum stability — a property identified as

   critical for embodiments formulated for systemic (in vivo) use. See EX1004 ¶¶158

   (providing a serum stability test “for determining whether a formulated molecular

   composition will be effective for delivery of a biologically active molecule into a

   biological system, …”), ¶592 (Example 7 Evaluation of Serum Stability of

   Formulated siNA Compositions). Furthermore, while another exemplary

   formulation (outside the scope of the ’435 claims) was tested in vivo, the L054

   formulation was not. EX1004 ¶596.

         122. Furthermore, a person of ordinary skill in the art would have expected

   particles derived from L054 to be too toxic for systemic use. Such a skilled artisan



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   would have expected DMOBA, the cationic lipid used in the L054 lipid mixture

   (see Table IV), to be toxic. A person of ordinary skill in the art would have

   appreciated that the dimethylamino group on the aryl ring is a good leaving group

   upon protonation and, as such, has the potential to alkylate cysteines and lysines on

   cellular proteins. See EX1004, Table IV (DMOBA structure). Additionally,

   DMOBA would have been expected to accumulate in liver and spleen because the

   arylether groups make elimination through mammalian detoxification pathways

   more difficult. The resulting accumulation and protein modifications would result

   in organ toxicity rendering lipid particles using DMOBA inappropriate for

   systemic use.

         123. Accordingly, the petition materials fail to identify a nucleic acid-lipid

   particle within the scope of claim 1.

                2.    Anticipation by ranges

         124. The petition and Dr. Janoff assert that claim 1 is anticipated by ranges

   disclosed in the ’554 publication However, the petition and Dr. Janoff fail to

   demonstrate that a person of ordinary skill in the art would have understood the

   separate disclosures of ranges for the various components to represent a single

   formulation. Moreover, I understand that anticipation by ranges requires a factual

   inquiry into whether the ranges are disclosed with “sufficient specificity.” Such an

   inquiry is wholly absent from the petition and Dr. Janoff’s declaration.



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         125. To the extent that these ranges are discussed, there is no explanation

   in the ’554 publication or Dr. Janoff’s declaration to indicate how the disclosed

   ranges for the three different components would represent or be combined into a

   single embodiment.

         126. For example, Dr. Janoff points to three paragraphs in the ’554

   publication for disclosure of ranges of lipid components. See EX1007 ¶¶146, 150,

   151. These paragraphs are reproduced in relevant part below.

         In one embodiment, the cationic lipid component …of a composition
         of invention comprises from about 2% to about 60%, from about 5%
         to about 45%, from about 5% to about 15%, or from about 40% to
         about 50% of the total lipid present in the formulation.
   EX1004 ¶116 (emphasis added).

         In one embodiment, the neutral lipid component of a composition of
         the invention comprises from about 5% to about 90%, or from about
         20% to about 85% of the total lipid present in the formulation.
   EX1004 ¶313 (emphasis added).

         In one embodiment, the PEG conjugate … of a composition of the
         invention comprises from about 1% to about 20%, or from about 4%
         to about 15% of the total lipid present in the formulation.
   EX1004 ¶118 (emphasis added).

         127. These paragraphs state that “in one embodiment” the cationic lipid

   component can span four different ranges. Further, “in one embodiment” the

   neutral lipid component can span two different ranges. Still further, “in one

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   embodiment” the PEG conjugate can span two different ranges. There is no

   explanation in the ’554 publication or Dr. Janoff’s declaration to indicate how

   these eight different ranges for three different components would represent or be

   combined into a single embodiment. Moreover, as with L054-derived particles, the

   petition and Dr. Janoff fail to address whether any of the embodiments relied upon

   are suitable for systemic administration.

         128. Also absent is sufficient demonstration that ranges or examples relied

   upon in ’554 publication disclose the claimed range for “a conjugated lipid that

   inhibits aggregation of particles” (i.e., claim element 1(d)). The petition relies on

   paragraph ¶504 of the ’554 publication to support that it is “desirable to include

   other components” that serve to prevent aggregation. Pet. 55. The petition

   materials, however, fail to demonstrate or explain which, if any, specific

   embodiments in the ’554 publication includes conjugated lipid such that

   aggregation of particles is inhibited as claimed.

         129. Moreover, as with L054-derived particles, the petition and Dr. Janoff

   fail to address whether any of the embodiments relied upon are suitable for

   systemic administration.

         130. Furthermore, the petition and Dr. Janoff fail to demonstrate that a

   person of ordinary skill in the art would have understood the separate disclosures

   of ranges for the various components to represent a single formulation. For



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   example, relevant to such an inquiry is an analysis as to the size of the prior art

   ranges and the differences between the prior art ranges and the claimed ranges. No

   such analysis was provided by Dr. Janoff — he merely asserts “[g]iven the breadth

   of the claimed range, these disclosures are sufficiently specific to anticipate the

   claimed range.” EX1007 ¶¶148, 150, 151.

         131. Based on my review of the size of the prior art ranges and the extent

   of the differences between the prior art ranges and the claimed ranges, it is my

   opinion that there are considerable differences between the prior art and claimed

   ranges. The ranges disclosed by the ’554 publication which Dr. Janoff cites are

   very broad, and thus the ’554 publication fails to provide the required sufficient

   specificity to anticipate the lipid component ranges of claim 1.

         132. Therefore, in my opinion, the lipid component ranges of the ’554

   publication do not anticipate the lipid component ranges of the claimed nucleic

   acid-lipid particle composition at least because the ranges disclosed by the ’554

   publication which Dr. Janoff cites are very broad, the ’554 publication and Dr.

   Janoff fail to indicate how these broad ranges arrive at the specific ranges recited

   in claim 1, and a person of ordinary skill in the art would not have understood the

   separate disclosures of ranges for the various components to represent a single

   formulation.




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                3.     Obvious over ranges
         133. The claimed nucleic acid-lipid particle composition is not obvious in

   view the lipid component ranges of the ’554 publication. First, the ’554 publication

   fails to disclose the combination of the lipid components of the claimed nucleic

   acid-liposome particle. Second, a skilled artisan would have had no reason to

   combine individualized lipid components in the ’554 publication to arrive at the

   claimed nucleic acid-lipid particle. Third, the petition materials fail to address that

   a skilled artisan would have had no reasonable expectation of success that the

   claimed nucleic acid-lipid particle composition would be well-tolerated and

   efficacious. Finally, unexpected results further demonstrate the nonobvious nature

   of the claimed nucleic acid-lipid particle composition.

         134. To the extent that the petition and Dr. Janoff argue that the claims are

   obvious over the disclosed ranges of lipids in the ’554 publication, this argument

   fails for the same reasons as discussed in Ground 1. That is, the petition materials

   rely on generic disclosure of ranges for individual lipid components that may be

   used in lipid particle compositions. But a person of ordinary skill in the art knew

   that the properties of lipid particle compositions (e.g., cytotoxicity and efficacy)

   derive from the entire composition (i.e., cationic, non-cationic, and conjugated

   lipids), rather than the individual lipid components. Given the interdependent

   nature of the components of the claimed nucleic acid-lipid particle composition,



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   the petition’s per-limitation approach to addressing the levels of cationic, non-

   cationic, and conjugated lipids is inadequate.

         135. Moreover, “a conjugated lipid that inhibits aggregation of particles” is

   required by the challenged claims (i.e., claim element 1(d)). The petition materials,

   however, rely on paragraph ¶504 of the ’554 publication for the proposition that it

   is “desirable to include other components” that serve to prevent particle

   aggregation. EX1007 ¶151. The petition materials, however, fail to demonstrate or

   explain which, if any, specific embodiments in the ’554 publication includes a

   conjugated lipid such that aggregation of particles is inhibited as claimed.

         136. Lastly, it is my understanding that a claim is only obvious if a person

   of ordinary skill in the art would have had some motivation to modify the cited

   reference, and a reasonable expectation of success in doing so. Dr. Janoff does not

   discuss these aspects. However, it is my opinion that there would not have been

   any motivation to modify the cited disclosures of the ’554 publication. As already

   discussed, the state of the art was unequivocal that a high level of cationic lipid

   should be avoided, and that much higher levels of conjugated lipids should be

   used. To the extent that Dr. Janoff is suggesting that a person of ordinary skill in

   the art could simply vary the concentrations of each component until they arrived

   at the claimed invention, I disagree. The field of art is unpredictable. Furthermore,




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   there was no guidance whatsoever that would suggest to a skilled artisan to

   increase the cationic lipid levels while decreasing the conjugate lipid levels.

          137. It is also my opinion that there would not have been any reasonable

   expectation of success. As discussed, a person of ordinary skill in the art would not

   have expected lipid particle formulations that departed so drastically from the

   instructions in the prior art to successfully exhibit any efficacy (e.g., gene

   silencing). The expected result of using the claimed lipid particle formulations

   would have been little to no efficacy, accompanied by a host of unwanted side

   effects — e.g., toxicity, in vivo aggregation, and immunogenicity

          B.     Claims 2-20
          138. According to the petition, claims 1-20 are being challenged under

   anticipation and obviousness theories. However, only a handful of claims

   unambiguously identify both an anticipation and obvious theory.

       Claim                                    Theory

   2, 3, 5, 6,   From these disclosures, a POSITA would appreciate that the claim

   9, 13-20      limitation is expressly disclosed. EX1007 ¶¶153, 154, 156, 157, 161,

                 165-172.

   4             [G]iven the explicit disclosure of overlapping ranges, this limitation

                 is prima facie obvious. EX1007 ¶155.




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       Claim                                    Theory

   7           Given the breadth of the claimed range for the phospholipid, these

               disclosures are sufficiently specific to anticipate the claimed range.

               EX1007 ¶158. This limitation is prima facie obvious. EX1007 ¶159.

   8           Given the breadth of the claimed range, these disclosures are

               sufficiently specific to anticipate the claimed range. Moreover, given

               the explicit disclosure of an encompassing range, this limitation is

               prima facie obvious. EX1007 ¶160.

   10          Because one of the listed species of PEG-lipid conjugates is

               disclosed, this element is anticipated. EX1007 ¶162.

   11          This limitation would have been obvious in view of the ’554

               publication in light of the knowledge of a POSITA. EX1007 ¶163.

   12          For the reasons stated above, the ’554 publication discloses this

               range with sufficient specificity to anticipate. In the alternative, this

               range is prima facie obvious given the overlapping range in the ’554

               publication. EX1007 ¶164.


          139. Additionally, most of the claims simply map disclosure without any

   explanation as to its significance. See, e.g., EX1007 ¶160. Finally, the dependency

   of claims is largely ignored therefore it is challenging to determine what theory of

   unpatentability is actually being advanced. See, e.g., EX1007 ¶160 (discussing

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   claim 8 which depends from claims 1 and 5). I have done my best to respond to

   what seems to be the theory of unpatentability for each of the dependent claims.

                Claim 4. The nucleic acid-lipid particle of claim 1, wherein the
                cationic lipid comprises from 50 mol % to 65 mol % of the total
                lipid present in the particle.
         140. Dr. Janoff presents no independent argument for claim 4, but rather

   refers back to his discussion of claim 1. For the same reasons as claim 1, the

   petition and Dr. Janoff fail to demonstrate the unpatentability of claim 4. Moreover,

   claim 4 recites a narrower range of cationic lipid than claim 1 — a range that is

   well represented by the tested range of cationic lipid and, in particular, nucleic

   acid-lipid particle compositions with 57 mol % cationic lipid which are

   unexpectedly well-tolerated and efficacious. See Section VIII.B. Thus, the nexus of

   the unexpected results and claim 4 is even stronger than it is for claim 1.

         141. Accordingly, the ’554 publication neither anticipates nor makes

   obvious claim 4.

                Claim 5. The nucleic acid-lipid particle of claim 1, wherein the
                non-cationic lipid comprises a mixture of a phospholipid and
                cholesterol or a derivative thereof.
         142. Dr. Janoff appears to suggest that claim 5 is anticipated by the L054

   formulation. EX1007 ¶156 (citing EX1004 Table IV). As I discussed above, L054

   does not anticipate claim 1 and therefore cannot anticipate claim 5.




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         143. To the extent that Dr. Janoff is asserting an anticipation theory based

   on disclosure in paragraphs 85 and 455, he provides no guidance for why a person

   of ordinary skill in the art would select a mixture of cholesterol and phospholipid

   from long lists of non-cationic lipids which include phospholipids,

   nonphosphorous containing lipids, and sterols.

         144. To the extent that Dr. Janoff is presenting an obviousness theory, I

   understand that to require a reason to combine these disclosures and a reasonable

   expectation of success — both of which are absent. Moreover, claim 5 requires a

   mixture of phospholipid and cholesterol such as that found in 1:57 formulations

   which are unexpectedly well-tolerated and efficacious. See Section VIII.B. Thus,

   the nexus of the unexpected results and claim 5 is even stronger than it is for claim

   1.

         145. Accordingly, the ’554 publication neither anticipates nor makes

   obvious claim 5.

                Claim 6. The nucleic acid-lipid particle of claim 5, wherein the
                phospholipid comprises dipalmitoylphosphatidylcholine (DPPC),
                distearoylphosphatidylcholine (DSPC), or a mixture thereof.

         146. Dr. Janoff states that “a POSITA would appreciate that the claim

   limitation is expressly disclosed” in paragraph 85 of the ’554 publication.

         Suitable neutral lipids include those comprising any of a variety of
         neutral uncharged, zwitterionic or anionic lipids capable of
         producing a stable complex. They are preferably neutral, although


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         they can alternatively be positively or negatively charged. … [list of
         neutral lipids].
   EX1004 ¶85. To the extent that Dr. Janoff is expressing an anticipation theory, I

   understand that picking and choosing claim elements from a prior art disclosure is

   not proper. To the extent that he is arguing that the claim is obvious, I understand

   that such a theory requires a reason to combine and reasonable expectation of

   success — both of which are absent.

         147. Accordingly, the ’554 publication neither anticipates nor makes

   obvious claim 6.

                Claim 7. The nucleic acid-lipid particle of claim 5, wherein the
                phospholipid comprises from 3 mol % to 15 mol % of the total
                lipid present in the particle.
         148. Dr. Janoff appears to be alleging that claim 7 is anticipated or obvious

   over paragraph 455, which is a long list of neutral lipid components and generic

   ranges for neutral lipids and cholesterol disclosed in paragraphs 117-119 of the

   ’554 publication. Dr. Janoff arrives at the “disclosure” of 3 mol % to 15 mol %

   phospholipid through a series of unexplained assumptions and mathematical

   manipulations. Dr. Janoff selects the 20% to 85% range of neutral lipid and the

   20% to 45 % range of cholesterol from the paragraphs below.

         In one embodiment, the neutral lipid component of a composition of
         the invention comprises from about 5% to about 90%, or from about
         20% to about 85% of the total lipid present in the formulation.



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         In one embodiment, the PEG conjugate (i.e., PEG-DAG, PEG-
         cholesterol, PEG-DMB) of a composition of the invention comprises
         from about 1% to about 20%, or from about 4% to about 15% of the
         total lipid present in the formulation.
         In one embodiment, the cholesterol component of a composition of
         the invention comprises from about 10% to about 60%, or from about
         20% to about 45% of the total lipid present in the formulation.
   EX1004 ¶¶117-119. Dr. Janoff then concludes:

         When cholesterol is present, the range for a phospholipid is thus 0-
         40%. Not only does the disclosed range encompass the claimed range,
         when combined with a cationic lipid proportion in the 60% range and
         cholesterol in the 20-40% range, the range for the phospholipid is
         decreased to 0%-20%. Given the breadth of the claimed range for the
         phospholipid, these disclosures are sufficiently specific to anticipate
         the claimed range.
   EX1007 ¶158. I do not understand this argument. There is just no basis to conclude

   that the ’554 publication “discloses” a range of 0% to 40% or 0% to 20%

   phospholipid.

         149. Moreover, 1:57 nucleic acid-lipid particle compositions are

   encompassed by claim 7 and are unexpectedly well-tolerated and efficacious. See

   Section VIII.B. Thus, the nexus of the unexpected results and claim 7 is even

   stronger than it is for claim 1.

         150. Accordingly, the ’554 publication neither anticipates nor makes

   obvious claim 7.

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                Claim 8. The nucleic acid-lipid particle of claim 5, wherein the
                cholesterol or derivative thereof comprises from 30 mol % to 40
                mol % of the total lipid present in the particle.
         151. As an initial matter, claim 8 depends from claims 1 and 5. One of the

   anticipation theories presented in claim 5 was based on the L054 lipid mixture,

   which has 28 mol % cholesterol and therefore cannot be used to make particles

   with 30 mol % to 40 mol % cholesterol as recited in claim 8. The other anticipation

   theory in claim 5 was based on disclosure in paragraphs 85 and 455 which recite

   long lists of non-cationic lipids. I do not understand the relevance of paragraph

   119, which recites ranges of cholesterol, to an anticipation theory. Among other

   reasons, this paragraph does not address the phospholipid content required by

   claim 5.

         152. Dr. Janoff also argues that paragraph 119 represents “an

   encompassing range” and therefore the claim is prima facie obvious. But again,

   claim 8 depends from claim 5 which requires a mixture of phospholipid and

   cholesterol. This “encompassing range” for cholesterol does not make any mention

   of phospholipid. Furthermore, a reason to combine these disclosures and

   reasonable expectation of success are absent from Dr. Janoff’s analysis.

         153. Dr. Janoff also argues that “the ’554 publication also includes various

   specific formulations which include cholesterol at a 30% proportion. Id., Table 4

   (e.g., L106).” First, L106 is a lipid mixture and not a nucleic acid-lipid particle.



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   Second, even if particles were made from L106, these particles would not meet the

   limitations of claim 8 which depends from claims 1 and 5. L106 has 3%

   conjugated lipid, which is well above the range of claim 1 (i.e., 0.5% to 2%).

   Further L106 does not “comprise[] a mixture of a phospholipid and cholesterol or a

   derivative thereof” as required by claim 5. L106, as with the other examples from

   the ’554 publication with 30% cholesterol, do not meet the limitations of claim 8.

         154. Moreover, 1:57 nucleic acid-lipid particle compositions are

   encompassed by claim 8 and are unexpectedly well-tolerated and efficacious. See

   Section VIII.B. Thus, the nexus of the unexpected results and claim 8 is even

   stronger than it is for claim 1.

         155. Accordingly, the ’554 publication neither anticipates nor makes

   obvious claim 8.

                Claim 11. The nucleic acid-lipid particle of claim 10, wherein the
                PEG-DAA conjugate comprises a PEG-dimyristyloxypropyl
                (PEG-DMA) conjugate, a PEG-distearyloxypropyl (PEG-DSA)
                conjugate, or a mixture thereof.

         156. Dr. Janoff admits, that the ’554 publication does not disclose a PEG-

   dialkyloxypropyl (PEG-DAA) conjugates as required in claim 11 and thus the ’554

   publication does not anticipate claim 11.

         157. Dr. Janoff alleges that “[a] POSITA would have been aware that PEG-

   dialkyloxypropyl (PEG-DAA) conjugates could be used in lieu of PEG-

   diacylglycerol (PEG-DAG) conjugates.” EX1007 ¶163. Dr. Janoff points to


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                                                                               JA00844
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   EX1014 as the “’910 publication” and states that it discloses PEG-DAA

   conjugates. I do not know what EX1014 is, but it is not the ’910 publication.

   Regardless, Dr. Janoff’s argument is based on the false assumption that PEG-DAG

   and PEG-DAA conjugates are interchangeable. This is not the case. PEG-DAG

   conjugates have an ester moiety linking the acyl chains (R1 and R2 in the figure) to

   the backbone whereas PEG-DAA conjugates have an ether moiety linking the acyl

   chains to the backbone. See EX1001, 53:53-54:14 (inset). As compared to PEG-

   DAA conjugates, PEG-DAG conjugates are more hydrophilic which directly

   impacts the physical properties of the particles. Moreover, PEG-DAG conjugates

   are more easily metabolized by cells. A skilled artisan would not consider PEG-

   DAG and PEG-DAA conjugates to be equivalent or interchangeable.




                             PEG-DAG                PEG-DAA

         158. Accordingly, the ’554 publication neither anticipates nor makes

   obvious claim 11.




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                Claim 12. The nucleic acid-lipid particle of claim 1, wherein the
                conjugated lipid that inhibits aggregation of particles comprises
                from 1 mol % to 2 mol % of the total lipid present in the particle.
         159. Dr. Janoff presents no independent argument for claim 12, but rather

   refers back to his discussion of claim 1. For the same reasons as claim 1, the

   petition and Dr. Janoff fail to demonstrate the unpatentability of claim 12.

   Moreover, claim 12 recites a narrower range of cationic lipid than claim 1 — a

   range that is well represented by the tested range of cationic lipid and, in

   particular, nucleic acid-lipid particle composition with 57 mol % cationic lipid are

   unexpectedly well-tolerated and efficacious. See Section VIII.B. Thus, the nexus of

   the unexpected results and claim 12 is even stronger than it is for claim 1.

                Claim 13. The nucleic acid-lipid particle of claim 1, wherein the
                nucleic acid is fully encapsulated in the nucleic acid-lipid particle.
         160. Dr. Janoff alleges that “a POSITA would understand that full

   encapsulation requires only an excess of cationic lipid with regard to the nucleic

   acid for electrostatic interaction.” EX1007 ¶165. I disagree. Encapsulation is only

   determined by testing and cannot be inferred from the composition or production

   method. I understand that Dr. Janoff’s shares my views. As he disclosed in one of

   his own patents:

         Additionally, [two prior art references] report encapsulation of 1-4
         micrograms per micromole of spermine-condensed SV40 plasmid
         DNA in liposomes. However, neither of their preparations were
         dialyzed against high salt buffers subsequent to liposome formation,

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         the reported amounts of encapsulated DNA actually may include a
         significant percentage of unencapsulated DNA. Since these liposomal
         formulations were not exposed to DNAase degradation to determine
         the percentage of DNA actually sequestered in the liposomes, the high
         reported amounts probably do not reflect actually encapsulated DNA.
   EX2007 (Janoff) 4:15-19. Dr. Janoff’s statements about full encapsulation are

   remarkably similar to how the term is defined in the ’435 patent.

         The term “fully encapsulated” indicates that the active agent or
         therapeutic agent in the lipid particle is not significantly degraded
         after exposure to serum or a nuclease or protease assay that would
         significantly degrade free DNA, RNA, or protein. In a fully
         encapsulated system, preferably less than about 25% of the active
         agent or therapeutic agent in the particle is degraded in a treatment
         that would normally degrade 100% of free active agent or therapeutic
         agent, more preferably less than about 10%, and most preferably less
         than about 5% of the active agent or therapeutic agent in the particle is
         degraded.
   EX1001, 23:5-15. That is, full encapsulation requires a determination that the

   nucleic acid is protected from nuclease degradation.

         161. Dr. Janoff does not point to a nuclease degradation assay in the ’554

   publication — because there is no such disclosure. Instead he alleges that

   encapsulation finds support in paragraph 11.

         The encapsulation of anionic compounds using cationic lipids is
         essentially quantitative due to electrostatic interaction. In addition, it



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         is believed that the cationic lipids interact with the negatively charged
         cell membranes initiating cellular membrane transport (Akhtar et al.,
         1992, Trends Cell Bio., 2, 139; Xu et al., 1996, Biochemistry 35,
         5616).
   EX1004 ¶11. This paragraph is describing prior art formulations and not

   embodiments of the ’554 publication. Additionally, paragraph 11 is describing

   prior art cationic liposome-DNA complexes (i.e., lipoplexes). I understand that Dr.

   Janoff asserts that lipoplexes do not encapsulate nucleic acids. EX2007, 2:54-59.

   (“[L]iposomal bilayers form around encapsulated nucleic acids, thereby protecting

   the nucleic acids from degradation by environmental nucleases; lipoplexes, by

   contrast, do not encapsulate nucleic acids, and hence, cannot completely sequester

   them away from environmental nucleases.”). I do not understand why Dr. Janoff

   suggests paragraph 11 is relevant to the limitation of claim 13.

         162. Accordingly, the ’554 publication neither anticipates nor makes

   obvious claim 13.

                Claim 14. A pharmaceutical composition comprising a nucleic
                acid-lipid particle of claim 1 and a pharmaceutically acceptable
                carrier.

         163. With respect to claim 14, Dr. Janoff points to disclosure of a

   pharmaceutical carrier and summarily concludes that this limitation is “expressly

   disclosed.” EX1007 ¶162. As I discussed above, claim 1 is not anticipated under

   any theory nor are any claims depending from claim 1.



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         164. To the extent that Dr. Janoff is presenting an obviousness theory, I

   understand that it requires a reason to combine and reasonable expectation of

   success — both of which are absent.

                Claim 16. A method for the in vivo delivery of a nucleic acid, the
                method comprising: administering to a mammalian subject a
                nucleic acid-lipid particle of claim 1.

                Claim 17. A method for treating a disease or disorder in a
                mammalian subject in need thereof, the method comprising:
                administering to the mammalian subject a therapeutically
                effective amount of a nucleic acid-lipid particle of claim 1.

                Claim 18. The method of claim 17, wherein the disease or disorder
                is a viral infection.

                Claim 19. The method of claim 17, wherein the disease or disorder
                is a liver disease or disorder.

                Claim 20. The method of claim 17, wherein the disease or disorder
                is cancer.
         165. As I discussed above, the ’554 publication neither anticipates nor

   makes obvious the nucleic acid-lipid particles of claim 1. Therefore, any method

   that claims the in vivo delivery of the nucleic acid-lipid particles of claim 1 is

   similarly not anticipated and not obvious over the ’554 publication.

         166. A person of ordinary skill in the art would not find it obvious to

   administer the nanoparticles of the ’554 publication to mammalian subjects in

   vivo. This is because a skilled artisan would have expected the disclosed

   nanoparticles to be too toxic for in vivo administration. More particularly, a skilled

   artisan would have expected DMOBA and DMLBA (see Table IV) to be toxic. A


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   person of ordinary skill in the art would have appreciated that the dimethylamino

   group on the aryl ring is a good leaving group upon protonation and, as such, has

   potential to alkylate cysteines and lysines on cellular proteins. Additionally,

   DMOBA and DMLBA would have been expected to accumulate in liver and

   spleen because the arylether groups make elimination through mammalian

   detoxification pathways more difficult. The resulting accumulation and protein

   modifications would result in organ toxicity rendering lipid particles using

   DMOBA and DMLBA inappropriate for systemic use.

         167. In sum, a person of ordinary skill in the art would not have been

   motivated to administer the nanoparticles of the ’554 publication to mammalian

   subjects. And, consequently, claims 16-20 are not obvious.

   X.    OBJECTIVE INDICIA OF NONOBVIOUSNESS
         168. The nucleic acid-lipid particle formulations of the ’435 patent solved a

   long-felt need for compositions that could safely and effectively deliver nucleic

   acids to target cells of patients. Skilled artisans were skeptical that compositions

   having high levels of cationic lipid (i.e., 50 mol % to 85 mol %) and low levels of

   conjugated lipid (i.e., 0.5 mol % to 2 mol %) would be effective and well-tolerated

   when administered in vivo. The combination of effectiveness and low toxicity that

   characterizes the claimed compositions surprised many in the field, including me.

   Finally, the unique properties of the claimed nucleic acid-lipid particle



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   formulations solved the delivery problem that hindered the field of siRNA drugs.

   Onpattro™, a first in class siRNA drug was recently approved for use in the United

   States and Europe and is a nucleic acid-lipid particle composition within the scope

   of claim 1.

         169. My opinion that the challenged claims of the ’435 patent are not

   obvious in view of the prior art, as set forth above, is not dependent on objective

   indicia of nonobviousness. However, such objective indicia further support the

   conclusion that the challenged claims would not have been obvious to a person of

   ordinary skill in the art at the time of the invention.

         A.      Long-felt need
         170. In 1998, it was discovered that double-stranded RNA molecules could

   mediate a sequence-specific destruction of mRNA in the model organism, C.

   elegans. EX2011 (ACS) at 41. This phenomenon was dubbed RNA interference or

   RNAi. A few years later, RNAi was shown to work in mammalian cells but only if

   the size of the double-stranded RNA was limited to 21-23 nucleotides. The

   biomedical potential of targeted destruction mammalian mRNAs was immediately

   appreciated. Fire and Mello were awarded the Nobel Prize in Physiology in 2006

   for their discovery of RNAi. EX2011 at 41.

         171. RNAi can be used to selectively disable mRNAs in mammalian cells

   and thereby silence expression of a protein (e.g., an aberrant protein causing



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   disease). However, a major challenge in bringing RNAi to the clinic was delivery

   of the small interfering (“siRNA”) to cells. EX2011 at 38 (“[P]hysical delivery of

   the drugs to diseased cells is extremely challenging.”). In 2003, for example, Dr.

   Phillip Sharp, Nobel Laureate and co-founder of Alnylam Pharmaceuticals, was

   asked about the challenges that lie ahead for RNAi drugs he answered “Delivery,

   delivery, delivery.” EX2014 at 11. Dr. Phillip Zamore, co-Founder of Alnylam

   Pharmaceuticals, shared Dr. Sharp’s concern about delivery. EX2011 at 42.

         172. Delivery of RNAi to cells in vivo was widely regarded as a major

   challenge in the field. For instance, Dr. Anastasia Khvorova, Director of Biology at

   Dharmacon, acknowledged that the delivery systems developed prior to 2003 for

   antisense-based nucleic acid drugs were not promising for delivery of RNA drugs.

         Khvorova believes that the medical benefits of RNAi will be huge if
         the delivery issues can be resolved. “But we’ve looked at a lot of the
         delivery methods that have been used for antisense, and so far I
         haven’t been impressed,” she says.
   EX2014 at 11.

         173. The mid-2000’s (i.e., 2005-2008) saw dramatic growth and

   investment in RNAi-based therapeutics. A number of large pharmaceutical

   companies entered the RNAi space through acquisition of biotechnology

   companies that owned the intellectual property rights to various siRNA molecules,

   such as Merck’s acquisition of Sirna Therapeutics. Yet, despite $2.5-3.5 billion in



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   investment, no solution for the delivery problem had been found. EX2015 at 1. In

   fact, all four RNAi drugs in clinical trials at this time were naked RNA — that is,

   the siRNA was administered without a delivery vehicle. None of those four RNAi

   drugs in clinical trial were ultimately successful.

         174. By 2008, the industry-wide failure to identify a solution to the

   delivery challenge resulted in waning confidence that RNAi could deliver on its

   therapeutic promise. The large pharmaceutical companies that had entered the

   RNAi space just a few years prior, began searching for delivery solutions by

   acquiring nascent delivery technologies and developing in-house delivery

   programs. EX2015 at 2 (“Big Pharma quickly realized the mistake of putting IP

   before enablement as they scrambled to scout for delivery technologies and found

   the majority of them not to live up to their claims.”), 10 (“Big Pharma may also

   have relied too much on assurances by pure-play companies that delivery

   technologies were more mature than they really were.”). Much of the delivery

   technologies identified around this time were inferior to Patent Owner’s SNALP

   technology. EX2015 at 10 (“It is interesting for example that Roche’s Factor VII

   patent application (WO 2010/055041) features Alnylam’s ‘lipidoid’ technology for

   the rodent studies, but then switched to Tekmira’s SNALP liposomes for the

   nonhuman primate part of the patent application.”).




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         175. Prior to the first publication of the ’435 patent disclosure, Alan Sachs,

   leader of RNA Therapeutics at Merck, identified delivery as the challenge to

   successfully developing RNAi drugs.

         I have no doubt that RNAi, if it hasn’t already, will absolutely
         demonstrate efficacy. It’s an incredible drug. What’s interesting about
         what we do is that the drug isn’t the problem. It’s the delivery of it.
   EX2016 at 7.

         176. Dr. Sachs indicated that while there were a large number of delivery

   technologies available in mid-2009, few had been tested systemically in a relevant

   animal model.

         We have a graph we’ve disclosed which represents the number of
         opportunities we have looked at to do exactly what you describe,
         which is collaborate, particularly in the delivery space to advance this
         field. We are fully funded to do that, not just the evaluation, but the
         actual work. And what’s really disappointing is that when you look at
         that graph, which is current as of mid-2009, there were 250-260
         interesting opportunities, and there are really only two or three which
         have data that’s valuable—meaning they have data from non-human
         primates.
   EX2016 at 4. As explanation for the lack of viable delivery chemistries, Dr. Sachs

   elaborated on the nature of the challenge.

         There’s a lot of hype, and there’s a lot of ideas. But it’s not a
         straightforward problem. Injecting something in the bloodstream,
         leading to something appearing in the cytoplasm in the RNA-silencing

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         complex, there are a lot of black boxes between those two steps.
         People who are entering the field start with a white paper. It’s much
         like people who started on targeted therapeutics years ago started with
         a white paper. If it were so easy, one would have to describe why so
         few examples exist. The same is true in the RNAi delivery process.
         You can write down the steps. You can write down what you think
         will happen. But then you have to put it in a 50-nanometer particle
         that’s safe and potent to deliver.
   Id.

         177. The long-felt need for a siRNA delivery vehicle and the difficulty in

   finding a solution is further exemplified by the effort and money that Patent Owner

   invested into SNALP technology.

         [I]t took Tekmira 500 person-years and over US$200M to turn a
         single technology, SNALP, into the prolific drug development engine
         it is today.
   EX2015 at 8.

         178. Prior to the nucleic acid-lipid particles disclosed in the ’435 patent,

   there were no proven solutions to the delivery problem.

         B.     Skepticism

         179. It was widely believed that cationic lipid content should be minimized

   to avoid cytotoxicity, aggregation, and unwanted interactions with the immune

   system and non-target cells.




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         180. For example, Dr. Zamore of Alnylam, acknowledged that various

   cationic lipid formulations could successfully deliver siRNA to cells in vitro but

   stated that “I wouldn’t want anyone injecting cationic lipids into my bloodstream.”

   EX2011 at 42.

         181. Dr. Sachs of Merck also expressed skepticism as to the safety of the

   SNALP platform for delivery of siRNA.

         First are lipid-based delivery systems. At the time of our acquisition
         of Sirna, they had successfully shown lipid-based delivery to the liver.
         Initially, it was through a collaboration with what is now called
         [Vancouver, BC-based] Tekmira. That was really the leading standard
         for the area. Several [applications to begin clinical trials] have been
         filed with the FDA. We spent a lot of internal research money and
         time on novel lipids. The liability of that platform is absolutely its
         safety.
   EX2016 at 5.

         C.     Unexpected Results
         182. It is surprising and entirely unexpected that the first FDA approved

   RNAi drug to meet the long-felt need for a delivery vehicle for RNAi drugs was

   one that does not minimize the cationic lipid component. Even more surprisingly

   the claimed formulations have a low level of conjugated lipid.




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         183. Patent Owner’s patents and publications that were published after the

   filing date of the ’435 patent provide data for additional formulations within the

   scope of claim 1.

         184. For example, in U.S. Patent No. 8,236,943 (the “’943 patent,”

   EX2017) tested several 1:57 formulations. Specifically, the ’943 patent tested 1:57

   formulations that used C2K, g-DLen-C2K-DMA, or DLen-C2K-DMA as the

   cationic lipid. Figure 7 depicts levels of gene silencing obtained after systemic

   administration of 0.010, 0.033, or 0.100 mg/kg of the various nucleic acid-lipid

   particle formulations. EX2017, 153:45-47.




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   EX2017, Figure 7. Each formulation exhibited gene silencing activity far superior

   to that of the control PBS group. Further, the “SNALP formulation containing g-

   DLen-C2K-DMA displayed similar ApoB silencing activity at all three doses” and

   “the SNALP formulation containing DLen-C2K-DMA displayed considerable

   potency in silencing ApoB mRNA expression.” EX2017, 153:45-55.

         185. U.S. Publication No. 2013/0116307 (“’307 publication,” EX2018)

   also tested 1:57 formulations. Specifically, the ’307 publication tested 1:57

   formulations that used MC3, C2K, g-Len-MC3, CP-g-Len-MC3, Len-MC3, and

   CP-Len-MC3 as the cationic lipid.




   EX2018, Figure 5. Figure 5 depicts levels of gene silencing obtained after systemic

   administration of 0.010, 0.033, or 0.100 mg/kg of the various nucleic acid-lipid



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   particle formulations. EX2018 ¶439. Each formulation exhibited gene silencing

   activity far superior to that of the control PBS group. Further, the ’307 publication

   explains that “a SNALP formulation containing either CP-γ-LenMC3 or CP-

   LenMC3 displayed similar ApoB silencing activity compared to a SNALP

   formulation containing the C2K benchmark cationic lipid at all three doses.”

   EX2018 ¶439.

         186. Yet more 1:57 formulations were disclosed in Semple et al., Rational

   Design of Cationic Lipids for siRNA Delivery, 28 Nature Biotechnology 172-178

   (2010) (“Semple,” EX2021). Specifically, Semple tested 1:57 formulations that

   used KC2 as the cationic lipid. EX2021 at 177. Semple measured gene silencing

   following systemic administration in non-human primates. EX2021 at 174.




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   EX2021, Figure 3b. Semple explains that “[a] clear dose response was obtained

   with an apparent ED50 of ~0.3 mg/kg.” EX2021 at 175. Further, “toxicological

   analysis indicated that the treatment was well tolerated at the dose levels tested,

   with no treatment-related changes in animal appearance or behavior.” EX2021 at

   175; see also id. (“Clinical signs were observed daily and body weights, serum

   chemistry and hematology parameters were measured 72 h after dosing. KC2-

   SNALP was very well tolerated at the high dose levels examined (relative to the

   observed ED50 dose) with no dose-dependent, clinically significant changes in key

   serum chemistry or hematology parameters.”); EX2022 [Supplementary Materials

   Doc], Table 4.

         187. U.S. Publication No. 2017/0307608 to Bettencourt (“’608

   publication,” EX2019) discloses testing of a 1:50 formulation. The ’608

   publication is directed to the commercial product, Onpattro™ (i.e., patisiran). The

   patisiran formulation is disclosed in Table 1. EX2019 ¶46, Table 1. Converting to

   mol % yields the following:


                     DLin-MC3-         PEG-c-DMG         DSPC              Cholesterol
                     DMA

   mg                12.7              1.5               3.1               5.9

   mol %             50                1.5               10                38.5

   That is, patisiran is encompassed by claim 1.




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         188. The ’608 publication discloses the testing of patisiran in human

   subjects. As with the testing of 1:57 formulations in mice and non-human primates,

   patisiran was well tolerated in humans. EX2019 ¶103 (“The use of patisiran did not

   result in any significant changes in hematologic, liver, or renal measurements or in

   thyroid function, and there were no drug-related serious adverse events or any

   study-drug discontinuations because of adverse events.”). Patisiran effectively

   silenced expression of its target — the TTR protein. EX2019 ¶121. (“[T]reatment

   of patients with FAP with patisiran led to robust, dose-dependent, and statistically

   significant knockdown of serum TTR protein levels.”). The disclosed study found

   clinical benefit to treatment of patients with patisiran. EX2019 ¶132.

         189. A person of ordinary skill in the art would understand that the

   unexpected results of the ’435 patent are not limited to formulations comprising

   specific ratios of components or comprising a specific type of cationic lipid.

   Specifically, between the ’435 patent and subsequent publications, nucleic acid-

   lipid particle formulations with cationic lipid in the range of 50 mol % to 70 mol %

   and conjugated lipid in the range of 1.2 mol % to 2 mol % were tested and found to

   be efficacious and well tolerated. Additionally, nucleic acid-lipid particle

   formulations with eight different cationic lipids were tested and found to be

   efficacious and well tolerated. Finally, nucleic acid-lipid particle formulations

   within the scope of the claims were found efficacious and well tolerated in non-



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   human primates and humans. These data span nearly the entire claimed ranges of

   cationic and conjugated lipid and are entirely unexpected.

         D.     Commercial Success
         190. The nucleic acid-lipid particles claimed by the ’435 patent have

   achieved tremendous commercial success. Patisiran — tradename “Onpattro” — is

   a first in class siRNA drug. See, e.g., EX2023 (Patisiran Nature News)at 291 (“US

   regulators have approved the first therapy based on RNA interference (RNAi), a

   technique that can be used to silence specific genes linked to disease.”), (“‘This

   approval is key for the RNAi field,’ says James Cardia, head of business

   development at RXi Pharmaceuticals in Marlborough, Massachusetts, which is

   developing RNAi treatments. ‘This is transformational.’”); EX2024 (FDA Release)

   (“FDA approves first-of-its kind targeted RNA-based therapy to treat a rare

   disease.”); EX2025 (EMA Release) (“The European Medicines Agency's (EMA)

   Committee for Medicinal Products for Human Use (CHMP) has recommended

   granting a marketing authorisation for Onpattro (patisiran), …”). . Patisiran

   received regulatory approval in Europe on July 28, 2018 and the United States on

   August 10, 2018. Id.

         191. Patisiran was developed by Alnylam Pharmaceuticals under license

   from Arbutus. Specifically, Alnylam licenses the nucleic acid-lipid particle

   technology claimed in the ’435 patent from Arbutus. EX2026 (Arbutus press



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   release). Under the license, Alnylam owes Arbutus royalties on the patisiran

   product. Id.

         192. Patisiran is encompassed by claim 1 of the ’435 patent. EX2019,

   Table 1.


              Nucleic      Cationic lipid      Non-cationic lipid     Conjugated
              acid                                                    lipid

              siRNA-       DLin-MC3-           Cholesterol DSPC PEG-c-DMG
              TTR          DMA

   mg         2.0          12.7                5.9           3.1      1.5

   mol %                   50                  38.5          10       1.5

         193. The ’435 patent is one of the patents that encompasses the patisiran

   commercial product. EX2027.

   XI.   CONCLUDING STATEMENTS
         194. In signing this declaration, I understand that the declaration will be

   filed as evidence in a contested case before the Patent Trial and Appeal Board of

   the United States Patent and Trademark Office. I acknowledge that I may be

   subject to cross-examination in this case and that cross-examination will take place

   within the United States. If cross-examination is required of me, I will appear for

   cross-examination within the United States during the time allotted for cross-

   examination.




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         195. I declare that all statements made herein of my knowledge are true,

   and that all statements made on information and belief are believed to be true, and

   that these statements were made with the knowledge that willful false statements

   and the like so made are punishable by fine or imprisonment, or both, under

   Section 1001 of Title 18 of the United States Code.


   Dated: December 21, 2018              By:
                                               David H. Thompson, Ph.D.




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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


     ARBUTUS BIOPHARMA CORPORATION
     and GENEVANT SCIENCES GMBH

                          Plaintiffs,

            v.

     MODERNA, INC. and MODERNATX,
     INC.,
                                                     C.A. No. 22-252-MSG
                          Defendants.


     MODERNA, INC. and MODERNATX,                    JURY TRIAL DEMANDED
     INC.,
                                                     [**MODERNA’S CONFIDENTIAL
                  Counterclaim-Plaintiffs,           INFORMATION REDACTED**]

            v.

     ARBUTUS BIOPHARMA CORPORATION
     and GENEVANT SCIENCES GMBH

                  Counterclaim-Defendants


                    MODERNA’S INITIAL INVALIDITY CONTENTIONS

          Pursuant to Paragraph 6(c) of the Court’s March 21, 2023 Scheduling Order (D.I. 72),

   Defendants and Counterclaim-Plaintiffs Moderna, Inc. and ModernaTX, Inc. (collectively

   “Moderna” or “Defendants”) hereby provide the following Initial Invalidity Contentions

   (“Contentions”) with respect to the asserted claims of U.S. Patent Nos. 8,058,069 (the “’069

   Patent”), 8,492,359 (the “’359 Patent”), 8,822,668 (the “’668 Patent”), 9,364,435 (the “’435

   Patent”), 9,504,651 (the “’651 Patent”), and 11,141,378 (the “’378 Patent”) (collectively, the

   “Patents in Suit”), asserted by Plaintiffs and Counterclaim-Defendants Arbutus Biopharma




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                                 CONFIDENTIAL INFORMATION


                    1.     ’651 Patent

                           a.     “fully encapsulated”

              Claim 1 of the ’651 patent is directed a “lipid vesicle formulation comprising . . .

   messenger RNA (mRNA) wherein at least 70% of the mRNA in the formulation is fully

   encapsulated in the lipid vesicle.” All claims of the ’651 patent depend, directly or indirectly, from

   claim 1.

          The specification of the ’651 patent discloses that “[a]s used herein, ‘lipid encapsulated’

   can refer to a lipid formulation which provides a compound with full encapsulation, partial

   encapsulation, or both.” ’651 patent at 5:38-40. Aside from the claims, this is the only reference

   to “full encapsulation” or “fully encapsulated” in the ’651 patent. In particular, nowhere in the

   specification of the ’651 patent did the named inventors explain the meaning of “fully”

   encapsulated, as distinct from “partial[ly]” encapsulated. Nor does the specification teach a method

   to measure “fully encapsulated.” A POSA would understand that the word “fully” does not refer

   to the proportion of the nucleic acid that is encapsulated (i.e. that 100% of the nucleic acid is

   encapsulated), because the proportion of nucleic acid that is encapsulated is recited elsewhere in

   the claim by a specific percentage (“at least 70[/80/90]% of the mRNA”). Because there is no

   indication in the specification as to the meaning of “fully encapsulated,” a POSA would not

   understand the scope of the claim.

          Further, even if a POSA in 2002 did understand the bounds of the term “fully

   encapsulated,” which a POSA would not, the term is nonetheless indefinite as there is no method

   disclosed in the specification for measuring encapsulation, let alone distinguishing “fully” versus

   “partially” encapsulated nucleic acid.




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                                  CONFIDENTIAL INFORMATION


                           b.         “wherein each lipid vesicle is a lipid-nucleic acid particle”

           To the extent Plaintiffs contend that the term “lipid-nucleic acid particle” requires stability,

   this term is indefinite, as it is not defined in the specification. A POSA in 2002 would have no

   guidance as to, inter alia, what type of stability is required, how to measure that stability and what

   degree of stability is required.

                           c.         “wherein each lipid vesicle is a liposome”

           Plaintiffs have previously characterized as “non-liposomal” the 1:57 SNALP described in

   the Molar Ratio Patents. See U.S. Patent 9,404,127. The Molar Ratio Patents describe the 1:57

   SNALP as a “nucleic acid-lipid particle,” and claim the invention is directed to “lipid-nucleic acid

   particle[s].” According to Plaintiffs, then, a “lipid-nucleic acid particle” is non-liposomal.

   Plaintiffs have asserted that Moderna’s COVID-19 Vaccine infringes claims 8 and 9 of the ’651

   Patent, reciting a “liposome” and “lipid-nucleic acid particle” respectively, without explaining how

   Moderna’s COVID-19 Vaccine meets either element. Plaintiffs also assert claims of the Molar

   Ratio Patents reciting “nucleic acid-lipid particles,” without explaining how Moderna’s COVID-

   19 Vaccine meets that element. Based on Plaintiffs’ conflicting interpretation of these terms, the

   scope and meaning of the term “liposomal” is therefore uncertain, as a POSA would not know the

   characteristics required to meet the definition, rendering the term indefinite.

                   2.      ’069, ’435, ’359, ’668, and ’378 Patents (Molar Ratio Patents)

                           a.         “the total lipid present in the particle”

           Each independent claim of the Molar Ratio Patents is directed to a “nucleic acid-lipid

   particle” comprising or consisting essentially of certain lipids at specified mol% “of the total lipid

   present in the particle.” During the ’435 IPR and appeal, Arbutus (formerly Protiva) argued that it

   “cited extensive evidence demonstrating that the input formulation and the output formulation are

   not identical and that the finished particle must be tested to determine its final composition …


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   The evidence cited by Protiva clearly demonstrated that Moderna’s anticipation challenge was

   based on the erroneous assumption that the composition of a particle is the same as the lipid

   mixture used to produce the particle.” CAFC-20-1184, Dkt. 67-1 at 29 (emphasis added). In other

   words, Arbutus argued that the claims recite characteristics of the finished product.

          The Molar Ratio Patents’ specification discloses the mol% in the starting materials, as

   compared to the final nucleic acid-lipid particle:




   ’069 patent at Table 2. The specification of the Molar Ratio Patents further refers to the disclosed

   formulations as “target” formulations. See, e.g., ’378 Patent 25:55 (“It should be understood that

   these SNALP formulations are target formulations, and that the amount of lipid (both cationic and

   non-cationic) present and the amount of lipid conjugate present in the SNALP formulations may

   vary.”); id. at 70:32-43 (“It should be understood that the 1:57 formulation and 1:62 formulation

   are target formulations, and that the amount of lipid (both cationic and non-cationic) present and

   the amount of lipid conjugate present in the formulation may vary. Typically, in the 1:57

   formulation, the amount of cationic lipid will be 57 mol %±5 mol %, and the amount of lipid



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   conjugate will be 1.5 mol%±0.5 mol %, with the balance of the 1:57 formulation being made up

   of non-cationic lipid (e.g., phospholipid, cholesterol, or a mixture of the two).”); see also ’378

   patent at 71:16-77:22, Tables 2, 4, 6 and 7. The inventors therefore distinguished between starting

   composition and finished product characteristics.

           If, contrary to positions asserted before the PTAB and Federal Circuit, Plaintiffs now

   attempt to take the position that the claims do not refer to the characteristics of the finished product,

   the claims are indefinite as POSA reading the claims in light of the specification in 2008 would

   fail to understand at what point the mol% of each of the claimed lipid components should be

   measured to determine whether a given composition falls within the scope of the claims.

           Additionally, the claims of the Molar Ratio Patents encompass nucleic acid-lipid particles

   comprising or consisting essentially of three to four lipids and nucleic acids, providing ranges for

   the mole percentages of the claimed lipid types. However, the Federal Circuit in CAFC No. 20-

   2329 reasoned that “this case is not” “as simple as arbitrarily setting maximums and minimums

   for each individual component,” based on Arbutus’s arguments that this “because the lipid

   components of the nucleic acid-lipid particle are interdependent, and they interact with each other

   unpredictably.” CAFC No. 20-2329, Dkt. 66 at 15. According to Plaintiffs, the specification of the

   Molar Ratio Patents fails to adequately explain how a POSA in 2008 is to determine—or pick from

   the claimed ranges—the appropriate amount of each lipid to create a specific formulation. In other

   words, the claims are indefinite because the specification fails to explain which combinations of

   the mole percentages are claimed by these patents.

           For at least these reasons, the claims of the Molar Ratio Patents are therefore invalid as

   indefinite.




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                                                                                          CHAPTER 9

                 Liposomal Formulations for Nucleic Acid Delivery

           Ian 1l:►cLachlan


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                          9.1 LIPOSOMES FOR THE DELIVERY OF NUCLEIC ACID DRUGS

               Liposomes are artificial vesicles made up of one or more bilayers of amphipathic lipid encap-
           sulating an equal number of internal aqueous compartments. They are distinguished on the basis
           of their size and the number and arrangement of their constituent lipid bilayers (Figure 9.1).
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                             Multilamellar                 Small unilamellar         Large unilamellar
                             vesicle (MLV)                  vesicle (SUV)              vesicle (LUV)

           Figure 9.1 Liposomes. Mulilamellar vesicles (MLVs) are large (hundreds of nm in diameter) complex structures
                           containing a series of concentric bilayers separated by narrow aqueous compartments. Large
                           unilamellar vesicles (LUVs) are between 50 and 500 nm in diameter, while the smallest liposomes
                           namely small unilamellar vesicles (SUVs) are <50 nm. LUVs are the preferred systems for delivery
                           of NA drugs. Lipids are drawn roughly to scale.


           Multilamellar vesicles (MLVs) are formed by the aqueous hydration of dried lipid films. Typically
           hundreds of nanometers in diameter, they are large. complex structures containing a series of con-
           centric bilayers separated by narrow aqueous compartments. Simple unilamellar vesicles between
           50 and 500 nm in diameter are referred to as large unilamellar vesicles (LUVs) while the smallest
           liposomes. vesicles smaller than 50 nm in diameter, are small unilamellar vesicles (SUVs).
               Liposomes have received attention not only for their utility as model membrane systems, but
           also for use in drug delivery. Typically, liposomes are used as drug carriers, with the solubilized
           drug encapsulated in the internal aqueous space formed by the liposomal lamellae. Liposomal drug
           formulations can be used to overcome a drug's nonideal properties, such as limited solubility,
           serum stability, circulation half-life, biodistribution, and target tissue selectivity. Experience with
           conventional small molecule drugs has shown that the drugs which benefit the most from liposo-
           mal delivery. are those that are chemically labile, subject to enzymatic degradation and have an
           intracellular site of action [1]. For this reason, there is considerable interest in exploiting lipo-
           somes as carriers of nucleic acids (NAs), either as plasmid vectors for gene therapy applications
           or to deliver smaller NA species such as antisense oligonucleotides. ribozymes and, more recently,
           siRNA for the purposes of downregulating target genes. Because of their ability to achieve favor-
           able drug/lipid ratios and their more predictable drug release kinetics LUV are the preferred lipo-
           some delivery system for NA drugs.
               An advantage of liposomal drug delivery is that the pharmacokinetics, biodistribution, and intra-
           cellular delivery of the liposome payload are largely determined by the physicochemical properties
           of the carrier. For example, the biodistribution of a NA entrapped within a small, long circulating
           liposome is independent of the type of NA, which can be a relatively stable double-stranded plasmid
           DNA molecule or single-stranded antisense DNA, or one of the more labile ribonucleotide
           molecules such as ribozymes or a duplex siRNA. This is only true if the liposome is truly acting as
           a carrier, rather than a mere excipient. Liposomes function as excipients when used to formulate
           hydrophobic drugs that would otherwise be difficult to administer in aqueous dosage form.
           Hydrophobic drugs rapidly exchange into lipoproteins or other lipid-rich environments soon after
           injection, resulting in comparably uncontrolled pharmacology. In the context of NA drug delivery,
           liposomes are considered excipients if used to enable vialing and aqueous dosing of hydrophobic
           lipid—NA conjugates [2-5]. (These applications are not considered in this chapter, nor are those that
           use preformed, cationic lipid-containing vesicles to form "lipoplex" or "oligoplex" systems.)

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           LIPOSOMAL FORMULATIONS FOR NUCLEIC ACID DELIVERY                                                    239

               An objective inherent in all pharmaceutical development is to minimize the risks associated with
           treatment while maximizing the benefit to patient health. The most important risk to patients is the
           toxicity associated with the administration of poorly tolerated compounds, often exacerbated by
           attempts to increase efficacy by escalating the administered dose. A well-designed liposomal delivery
           system will be capable of reducing the toxicity and increasing the potency of NA-based drugs by
           optimizing NA delivery to target tissues. Liposomal NA delivery will be determined by the physical
           and biochemical properties of the liposome including stability, size, charge, hydrophobicity. interac-
           tion with serum proteins, and interaction with nontarget cell surfaces. Ideally, liposomal carriers for
           NA delivery will have the following properties: (i) they will be safe and well tolerated; (ii) they will
           have appropriate pharmacokinetic attributes to ensure delivery to intended disease sites; (iii) they will
           mediate effective intracellular delivery of intact NA: (iv) they will be nonimmunogenic, enabling
           the use of multidosing treatment regimes; and (v) they will be stable upon manufacture so that large
           batches can he prepared with uniform, reproducible specifications. In this chapter we discuss the
           physical makeup, manufacturing methods, and pharmacological considerations specific to liposomal
           systems for the delivery of NA-based drugs, with emphasis on those that enable systemic delivery of
           synthetic polynucleotides such as antisense ODN, ribozymes, and siRNA.


                                                   9.2   LIPOSOME CONSTITUENTS

               NA encapsulation was first described in the late 1970s, prior to the development of cationic lipid-
           containing lipoplex. using naturally occurring. neutral lipids to encapsulate high-molecular-weight
           DNA [6-8]. The first reports of low-molecular-weight oligo- or polynucleotide encapsulation
           similarly used passive techniques to entrap NA in neutral liposomes [9-11]. The advent of cationic
           lipid-mediated lipofection [12] saw a shift in emphasis away from encapsulated systems in favor of
           "lipoplex" or "oligoplex" systems. More recently, improvements in formulation technology have
           allowed for a return to encapsulated systems that contain cationic lipids as a means of facilitating
           both encapsulation and intracellular delivery. More advanced systems typically contain multiple lipid
           components. each of which play a role in determining the physical and pharmacological properties
           of the system as a whole.

           9.2.1       Cationic Lipids

               Cationic lipids play two roles in liposomal NA formulations. In the first case. they encourage
           interaction between the lipid bilayer and the negatively charged NA. allowing for the enrichment
           of NA concentrations over and above that which would be achieved using passive loading in charge neu-
           tral liposomes. Cationic lipids allow for encapsulation efficiencies greater than 40% when using
           coextrusion methods, and greater than 95% when using more sophisticated techniques [13-15].
           Cationic lipids also function by providing the liposome with a net positive charge, which in turn
           enables binding of the NA complex to anionic cell surface molecules. The most abundant anionic
           cell surface molecules, sulfated proteoglycans and sialic acids, interact with and are responsible for
           the uptake of cationic liposomes [16-18]. The role of cationic lipids in liposomal uptake presents
           a dilemma: highly charged systems are rapidly cleared from the blood, thereby limiting accumula-
           tion in target tissues. Particles with a neutral charge however, display good biodistribution profiles.
           but are poorly internalized by cells. This supports the concept of a modular delivery solution, that
           is. an engineered nanoparticle with individual components fulfilling different functions in the
           delivery process, and in particular, a system which responds to the microenvironment in a manner
           that facilitates transfection. Titratable, ionizable lipids are components that allow for the adjust-
           ment of the charge on the system by simply changing the pH after encapsulation [19]. At reduced
           pH when the system is strongly charged, NAs are efficiently encapsulated. When liposomes
           containing titratable, ionizable lipids are at a pH closer to the pK,, of the cationic lipid, such as

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           physiological pH. they become more charge neutral and are able to avoid opsonization by blood
           components [19]. More recently, the use of novel, pH titratable cationic lipids with distinct
           physicochemical properties that regulate particle formation, cellular uptake, fusogenicity, and
           endosomal release of NA drugs have been described [20]. The chemical and biological properties
           of pH-titratable cationic lipids are influenced by their degree of lipid saturation. In particular, the
           phase transition properties, as measured using 31P-NMR, are affected. Above the phase transition
           temperature. T„ lipids adopt the more highly fusogenic reverse hexagonal H11 phase [20-22]. By
           noting the temperature at which this phase transition occurs. the relative ease with which lipids
           form the H11 phase and become "fusogenic" can be determined. On this basis it has been shown
           that the fusogenicity of liposomal systems increases as the titratable cationic lipid becomes less
           saturated. The lipid pK„ also correlates with the degree of saturation. pK measurements confirm
           that saturated lipids carry more residual charge at physiological pH. For this reason, liposomes
           containing the more highly saturated cationic lipids are taken up more readily by cells in vitro [20].
           However, liposomes containing the more fusogenic unsaturated cationic lipids DLinDMA and
           DLenDMA are more effective at mediating RNA interference in both in vitro cell culture systems
           and in vivo. The apparently conflicting results between cellular uptake and silencing potency are
           a reminder that cellular uptake per se is insufficient for effective delivery of NA. Cellular uptake.
           fusogenicity, and endosomal release are distinct processes, each of which need to be enabled by
           the delivery vehicle and each of which are profoundly affected by the physicochemical properties
           of the cationic lipids used.

           9.2.2       The Role of Helper Lipids In Promoting Intracellular Delivery

               Although we have just shown that cationic lipids may have inherent fusogenic properties of
           their own, cationic lipids were originally believed to require fusogenic "helper" lipids for effi-
           cient NA delivery [23-26]. Fusogenic liposomes facilitate the intracellular delivery of complexed
           plasmid DNA by fusing with the membranes of the target cell. Fusion may occur at a number of
           different stages in delivery, either at the plasma membrane, endosome or nuclear envelope.
           Fusion of first-generation, nonencapsulated lipoplex systems with the plasma membrane is
           expected to be a particularly inefficient method of introducing NA into the cytosol. Since
           lipoplex-NA is predominantly attached to the surface of the liposome, lipoplex fusion events
           resolve with NA, formerly attached to the liposome surface, deposited on the outside surface of
           the plasma membrane. Encapsulated systems are significantly different from lipoplex in this
           respect. Upon fusion with either the plasma or endosomal membrane(s), encapsulated carriers
           deliver their contents directly into the cytosol.
               Lipids that preferentially form nonbilayer phases. in particular the reverse hexagonal Hu phase,
           such as the unsaturated phosphatidylethanolamine DOPE, promote destabilization of the lipid
           bilayer and fusion. Similar to fusogenic cationic lipids, decreasing the degree of lipid saturation
           increases the lipid's affinity for the fusogcnic H11 phase [27-32]. However, some cationic lipids can
           function in the absence of these so-called helper lipids, either alone [24,25] or in the presence of
           the nonfusogenic lipid cholesterol [33]. This would suggest that either these lipids have properties
           which promote delivery through a mechanism which does not require membrane fusion, or that
           their own fusogenic properties are adequate to support delivery. As described above, cationic lipids
           are readily designed for optimal fusogenicity by controlling lipid saturation. This provides for
           multiple opportunities for modulating the fusogenicity of a liposomal lipid bilayer [20].
               Attempts to address the role of fusogenic lipids in vivo have yielded confounding results. In this
           regard it is important to distinguish the effect of fusogenic lipids on NA delivery to target tissue
           from their effect on intracellular delivery. Fusogenic formulations are more likely to interact
           with the vascular endothelium, blood cells. lipoproteins. and other nontarget systems while in the
           blood compartment. For this reason there may be an advantage to transiently shield the fusogenic
           potential of systemic carriers using shielding agents such as polyethylene glycol (PEG).

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           LIPOSOMAL FORMULATIONS FOR NUCLEIC ACID DELIVERY                                                     241

           9.2.3       PEG-Lipids

                An ideal delivery system would be one that is transiently shielded upon administration, facili-
           tating delivery to the target site, yet becomes increasingly charged and fusogenic as it reaches the
           target cell. PEG lipids partially address this challenge. PEG-lipid conjugates are readily incorpo-
           rated in liposomal NA formulations. They provide a benefit during the formulation process. stabi-
           lizing the nascent particle and contribute to formulation stability by preventing aggregation in the
           vial [13]. PEG conjugates sterically stabilize liposomes by forming a protective hydrophilic layer
           that shields the hydrophobic lipid layer. By shielding the liposome's surface charge they prevent the
           association of serum proteins and resulting uptake by the reticuloendothelial system when liposomes
           are administered in vivo [34.35]. In this way, cationic liposome NA formulations are stabilized in a
           manner analogous to PEGylated liposomal drug formulations that exhibit extended circulation life-
           times [36-41]. Although this approach has been investigated with a view towards improving the sta-
           bility and pharmacokinetics of lipoplex containing either plasmid DNA [42] or antisense
           oligonucleotides [43], PEG-lipid-containing lipoplex systems suffer from the heterogeneity and
           suboptimal pharmacology common to most nonencapsulated NA-cationic lipid complexes.
                Although PEG-lipid-containing systems are promising with respect to their ability to deliver NA
           to disease sites, improvements are required to increase their potency. Early PEGylated liposomes for
           the delivery of small molecule chemotherapeutic drugs utilized stably integrated PEG lipids such as
           PEG-DSPE [39]. These systems are designed to function as carriers that facilitate the accumulation of
           active drug compound at disseminated disease sites. The drug is released at the cell surface at a "leak-
           age rate" determined by the liposomal bilayer composition. NA-based drugs differ in this respect in
           that they require effective intracellular delivery, hence the use of the cationic and fusogenic lipids
           described earlier. PEGylated systems typically exhibit relatively low-transfection efficiencies. This is
           mainly due to the ability of the PEG coating to inhibit cell association and uptake [23,44,45]. Ideally,
           PEG-lipid conjugates would have the ability to dissociate from the carrier and transform it from a sta-
           ble, stealthy particle to a transfection-competent entity at the target site. Various strategies have been
           applied to this problem. A number of investigators have explored the use of chemically labile
           PEG-lipid conjugates [46-52]. in particular those that are "pH sensitive." Typically, these systems
           invoke a chemically labile linkage between the lipid and PEG moieties that reacts via acid-catalyzed
           hydrolysis to destabilize the liposomes by removal of the sterically stabilizing PEG layer. Although
           this approach results in improved performance both in vitro and in vivo, it may be regarded as sub-
           optimal for two reasons. First, pH-sensitive PEG lipids are designed to be rapidly hydrolyzed in the
           reduced pH environment encountered within the endosome, but since PEG lipids are known to inhibit
           cellular uptake, a prerequisite to endosomal localization and hydrolysis, their use actually limits the
           amount of material delivered to the endosome [53]. Second, the incorporation of pH-sensitive or oth-
           erwise chemically labile lipids results in a truncation of formulation shelf life relative to systems that
           use more stable PEG-lipids. An alternative to the use of acid-labile PEG-lipids involves the use of
           chemically stable, yet diffusible PEG lipids.
                The concept of diffusible PEG lipids arose from the observation that the length of the PEG lipid
           anchor has an influence on PEG lipid retention and the stability and circulation lifetime of empty
           lipid vesicles [54]. It has been found that by modulating the alkyl chain length of the PEG lipid
           anchor [55-59]. the pharmacology of encapsulated NA can be controlled or "programmed" in a
           predictable manner. Upon formulation, the liposome contains a full complement of PEG in steady-state
           equilibrium with the contents of the vial. In the blood compartment, this equilibrium shifts and the
           PEG-lipid conjugate is free to dissociate from the particle over time, revealing a positively charged
           and increasingly fusogenic lipid bilayer that transforms the particle into a transfection-competent
           entity. Diffusible PEG lipids differing in the length of the their lipid anchors have been incorporated
           into liposomal systems containing plasmid DNA (SPLP) [13,55], antisense oligonucleotides (PFV,
           SALP) [19.56,60], and siRNA (SNALP) [14,15.61]. This approach may help to resolve the two
           conflicting demands imposed upon NA carriers. First. the carrier must be stable and circulate long

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           enough to facilitate accumulation at disease sites. Second, the carrier must be capable of interact-
           ing with target cells to facilitate intracellular delivery.

           9.2.4       Active Targeting

               Active targeting refers to processes that aim to increase the accumulation, retention or internal-
           ization of a drug through the use of cell-specific ligands. This is to be distinguished from the passive
           "disease site targeting" or the "enhanced permeability and retention" (EPR) effect, which results
           in the accumulation of appropriately designed carriers in target sites such as tumor tissue. Active
           targeting has been successfully applied to liposomal small molecule drug formulations and generally
           has the effect of improving the therapeutic index of the liposomal drug when measured in preclinical
           studies. NA delivery systems stand to benefit from targeting in two ways, first through improving the
           accumulation and binding of formulations to target cells and second by facilitating intracellular
           delivery through endocytosis. The perceived benefits of active targeting have encouraged numerous
           investigators in this area and targeting of NA formulations has been achieved through the use of
           molecules as diverse as antibodies directed against cell surface proteins [62-65], protein ligands of
           cell surface receptors [66-69], vitamins [70-72], and glycolipids [73,74].
               The earliest reports of targeted liposomal formulations of encapsulated NA were attempts to
           improve the intracellular delivery characteristics of charge neutral liposomes encapsulating either
           synthetic antisense DNA [63,65] or in vitro transcribed antisense RNA [64]. The results of these
           studies were encouraging, suggesting a significant benefit associated with the use of targeted
           systems. Although these in vitro studies effectively demonstrated the potential advantage of targe-
           ting at the level of intracellular delivery, they were unable to address important pharmacological
           considerations such as those that influence accumulation at disease sites. It is unlikely that addition
           of targeting ligands to delivery systems that are rapidly removed from the circulation will result
           in delivery exceeding that achieved by systems that display passive disease site targeting. For this
           reason many investigators have pursued approaches involving the addition of targeting ligands to
           sterically stabilized and charge shielded systems. such as those containing PEG lipids [71,72,75-77].
           This approach has been advanced, in part, by the development of the so-called postinsertion technique
           [78]. Postinsertion allows for the insertion of ligand—PEG—lipid conjugates into preformed liposomes
           containing encapsulated NA. This represents a significant improvement on earlier approaches in
           which ligands were chemically coupled to preformed liposomes, an approach limited by suboptimal
           coupling efficiencies, or where ligand—lipid conjugates were incorporated in the first stages of the
           formulation process, an approach limited by the resulting negative impact on NA encapsulation
           efficiency and subsequent suboptimal presentation of the targeting ligand.
               A number of reports suggest that it is possible to design encapsulated systems containing
           targeting ligands that retain extended circulation lifetimes and passive disease site targeting the
           following systemic administration. It remains to be seen if the benefits of active targeting outweigh
           the increased cost, manufacturing complexity and immunogcnicity that often accompanies the use
           of such technology.


                                   9.3       METHODS OF ENCAPSULATING NUCLEIC ACIDS

               To capitalize on the pharmacology of liposomal drug carriers it is necessary to completely entrap
           NA within the contents of a liposome. In this regard it is important to distinguish first-generation
           "lipoplex" or "oligoplex" systems from those that truly encapsulate their NA payload. Lipoplex are elec-
           trostatic complexes formed by mixing preformed cationic lipid-containing vesicles with NA [12,79,80].
           The result is a herenvenous, metastable aggregate that is effective when used to transfect cells in cul-
           ture but has relatively poor performance in vivo. Upon systemic administration, lipoplex systems are
           rapidly cleared from the blood. accumulating in the capillary bed of first-pass organs such as the lung.

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           LIPOSOMAL FORMULATIONS FOR NUCLEIC ACID DELIVERY                                                             243

           Lipoplex are effectively taken up by the cells of the innate immune system, contributing to their pro-
           found toxic ities and off-target effects. These side effects may manifest as "efficacy" in antitumor or anti-
           infixtive applications, confounding data interpretation and encouraging the acceptance of false-positive
           results. For these reasons, an abundance of caution is encouraged when initiating in vivo studies that use
           liposomes to deliver NA. Of particular importance is the use of appropriate analytical methodology.
           described in Section 9.4, to properly characterize lipid-based systems prior to and during use.

           9.3.1 Passive Nucleic Acid Encapsulation

               Liposomal encapsulation of small molecule drugs may be achieved by either "passive" or "active"
           loading. Unlike small molecule drugs, NAs are not readily packaged in preformed liposomes using
           pH gradients or other similar active loading techniques. This is predominantly due to the large size
           and hydrophilic nature of NA, which conspire to prevent them from crossing intact lipid bilayers. For
           this reason. much of the work on NA encapsulation has utilized passive loading technology.
               Passive encapsulation typically involves the preparation of a "lipid film," the lipidic residue that
           remains after evaporation of the organic phase of a lipid solution (Figure 9.2). Rehydration of the



                                                                                         Lipid solution in solvent


                                            Nucleic acid solution
                                                                                             Dried lipid film
                                                  in buffer



                                                                Lipid hydration with
                                                                nucleic acid solution


                                                                   MLV formation
                                                              by freeze/thaw (5-10x)


                                                                MLV extrusion (10x)

                                                                            1
                                                                    LUV collection



                                                            Free nucleic acid removal



                                                               Sample concentration



                                                                    Sterile filtration


           Figure 9.2 Passive method of NA encapsulation. Passive encapsulat'on utilizes a dried lipid film prepared by
                      evaporating the organic phase of a lipid solution. The resulting lipid film is rehydrated in an aqueous
                      solution of NA in buffer, forming MLV. Multiple freeze-thaw cycles increase the extent of NA encap-
                      sulation within the MLV bilayers. The vesicles are then extruded through polycarbonate filters
                      producing LUV.

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            lipid film in aqueous media, typically buffer containing NA, followed by vigorous mixing, results
            in the formation of MLV. This is followed by multiple cycles of freezing and thawing to increase
            the extent to which the NA solute is entrapped by the MLV bilayers. The MLV preparation is then
            subjected to multiple rounds of extrusion through polycarbonate filters to produce LUV (Figure 9.2
            and Figure 9.3) [81]. The size of the LUV is determined by the size of the filter pores. This process
            suffers from a number of limitations. When used to encapsulate NA, the efficiency of passive encap-
            sulation is generally quite low, ranging from 3 to 45%, depending on the composition of the lipid
            bilayer and other factors (Table 9.1). The low encapsulation efficiency, consequently, necessitates
            the incorporation of a postencapsulation separation step such as dialysis, size exclusion chro-
            matography or ultrafiltration to remove nonencapsulated NA. In an effort to improve the efficiency
            of encapsulation, excess lipid is often incorporated in the formulation process, resulting in low
            NA/lipid ratios which ultimately impact toxicity and cost of goods. Finally, the extrusion process is
            inherently difficult to scale. Preparation of large batches requires the use of custom-built extruders
            to accommodate large filters. The probability of filter tears, resulting in batch failure, increases
            as the size and cost of the batch increases. In spite of these process limitations, extrusion-based
            methods for liposome preparation have been successfully adopted by many laboratories, presum-
            ably because the technology is readily accessible to the casual investigator. Furthermore, significant
            progress has been made adapting or enhancing extrusion-based processes for the liposomal formu-
            lation of NA-based drugs. These include the use of cationic and anionic lipids [82,83], ionizable
            cationic lipids [19,84], PEG lipids [85], and detergent or organic solvents such as ethanol [19,60]
            to control bilayer assembly.


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            Figure 9.3 The LipexTM thermobarrel extruder for the preparation of uniformly sized liposomes by extrusion. An
                       MLV or other vesicle preparation is introduced to the top of the extruder and the extruder is pres-
                       surized with nitrogen, forcing the MLV through a polycarbonate filter of defined pore size. The resulting
                       LUVs are collected via the outlet port at the bottom of the device. Extrusion is repeated, typically for
                       a total of 10 passes. The unit permits therrnostafic operation by virtue of the thermobarrel, which
                       can be coupled to a circulating water bath. Photo courtesy Northern Lipids Inc., Vancouver, Canada,
                       http://www.northernlipids.com.


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           LIPOSOMAL FORMULATIONS FOR NUCLEIC ACID DELIVERY                                                             247

           9.3.2       The Ethanol Drop (SALP) Method of Nucleic Acid Encapsulation

               Stabilized antisense-lipid particles (SALPs) were developed as a means of improving both the
           limited efficiency of passive NA encapsulation and the pharmacology of the resulting particles.
           SALPs are prepared by dropwise addition or injection of an ethanolic lipid solution to an aqueous
           solution of NA. followed by extrusion through polycarbonate filters [19] (Figure 9.4). By utilizing
           an ionizable aminolipid at an acidic pH, where the aminolipid is fully charged. highly efficient
           (up to 70%) encapsulation may be achieved. Furthermore, the use of an ionizable lipid facilitates
           adjustment of the total charge of the system by simply changing the pH after the encapsulation step.
           In this manner, antisense oligonucleotides may be encapsulated in lipidic systems at NA/lipid ratios
           as high as 0.25 (w/w) [19]. At the higher NA/lipid ratios novel small multilamellar vesicles
           (SMLVs) are formed, consisting of numerous (typically 6-9) lamellae arranged concentrically
           around a dense core. At lower drug to lipid ratios more typical LUVs or capped-LUVs are formed.

           9.3.3       Encapsulation of Nucleic Acid in Ethanol-Destabilized Liposomes

               An alternative to the SALP method uses ethanol-destabilized cationic liposomes [60,86]
           (Figure 9.5). This method requires empty liposome formation by extrusion prior to addition of NA.
           Once cationic liposomes of the desired size have been prepared, they are destabilized by the addi-
           tion of ethanol to 40% v/v. Destabilization of preformed vesicles requires the controlled addition
           of ethanol to a rapidly mixing aqueous suspension of vesicles, to avoid formation of localized
           areas of high ethanol concentration (> 50% v/v) that promote the fusion and conversion of lipo-
           somes into large lipid structures. The addition of NA to ethanol-destabilized liposomes must also
           be accomplished carefully, in a dropwise manner. to avoid aggregation of the resulting particle
           suspension. The required extrusion step and the sensitive nature of both the vesicle destabilization



                                                   Lipid solution            Nucleic acid solution
                                                     in ethanol         L          in buffer
                                                     1
                                              Dropwise addition
                                          while mixing NA solution             Vesicle formation


                                                                               Vesicle sizing by
                                                                                extrusion (10x)



                                                                            Sample concentration       1


                                                                              Free nucleic acid
                                                                             and ethanol removal



                                                                                Sterile filtration


           Figure 9.4 Ethanol drop (SALP) method of NA encapsulation. The ethanol drop or SALP method involves the
                      dropwise addition of an ethanolic solution of lipid to an aqueous solution of NA, resulting in the for-
                      mation of MLV. Vesicles are then sized by extrusion through polycarbonate filters. This method
                      allows for the encapsulation of antisense oligonucleotides with up to 70% efficiency. Either SMLV or
                      WV can be prepared using this process, depending on the starting NA/lipid ratio.

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                                                                                         Lipid solution in solvent


                                                                                             Dried lipid film


                                                                                             Lipid hydration
                                                                                                in buffer

                                                                                             MLV formation
                                                                                         by freeze/thaw (5-10x)


                                                                                          MLV extrusion (10x)


                                                                                             LUV collection


                                            Nucleic acid solution                           LUV destabilized
                                                  in buffer                                   in ethanol


                                                            Nucleic acid encapsulation


                                                                 Free nucleic acid
                                                                and ethanol removal


                                                               Sample concentration


                                                                    Sterile filtration


           Figure 9.5 Encapsulation of NA in ethanol destablized liposomes. A dried lipid film is rehydrated in buffer.
                      resulting in the formation of MLV. Multiple freeze-thaw cycles follow. and the empty vesicles are then
                      extruded through polycarbonate filters, producing LUV. The LUVs are then destabilized by the con-
                      trolled addition of ethanol to the rapidly mixing aqueous suspension of vesicles. NA solution is added
                      to the destabilized liposomes in a drop wise manner resulting in encapsulation.


           and NA addition represent process challenges that must be overcome prior to adopting this method
           for the reproducible preparation of encapsulated NA at a scale suitable for clinical evaluation.

           9.3.4       The Reverse-Phase Evaporation Method of Nucleic Acid Encapsulation

               Reverse-phase evaporation, an effective means of pre :sluing the aggregation of charged lipo-
           somes. has previously been used to encapsulate plasmid DNA [87-91] and more recently antisense
           oligonucleotides [75,92]. The coated cationic liposomes (CCL) developed by Allen et al. utilize a
           reverse-phase evaporation procedure to accomplish NA encapsulation [75.76,93]. The CCL process
           is comprised of two stages (Figure 9.6). In the first, hydrophobic cationic lipid—NA seed particles
           are formed. In the second, the cationic particles are coated with neutral lipids and vesicles are
           formed by reverse-phase evaporation. The formation of the cationic lipid—NA intermediate is per-
           formed by combining two immiscible fluids, an organic solution of cationic lipid in chloroform and
           an aqueous solution of NA. Addition of methanol results in the generation of a Bligh—Dyer

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                                                    Cationic lipid solution                    Nucleic acid solution
                                                        in chloroform                                in buffer

                                                                                   'Jr
                                       Methanol                         Biphasic intermediate


                                                                                   •
                                Chloroform & water                     Bligh- Dyer monophase


                                                                                   •
                                Neutral & PEG lipids                 Phase separation & recovery




                                                                     Sonication of organic phase

                                                                                  1
                                                                           Gel formation by
                                                                          rotary evaporation


                                                                              Rehydration


           Figure 9.6 Reverse-phase evaporation method of NA encapsulation. The combination of cationic lipid solution
                           in chloroform, and aqueous NA solution in the first step of the reverse-phase evaporation method
                           results in the formation of hydrophobic cationic lipid-NA seed particles. Methanol is added. producing
                           a Bligh-Dyer monophase. Upon reconstitution with excess chloroform and water, the hydrophilic NA
                           is drawn into the organic phase along with the cationic lipid. Neutral lipids are then added, and the
                           organic phase is sonicated and subsequently evaporated to a gel phase. The rehydration step
                           results in NA encapsulated in lipid vesicles ranging from 300 to 600 nm in size.


           monophase [94]. When the two-phase system is reconstituted by the addition of excess chloroform
           and water, the hydrophilic NA is drawn into the organic phase in association with the cationic lipid.
           Neutral lipids are added and the organic phase is sonicated prior to evaporation to a gel phase.
           Rehydration results in formation of 300-600 nm vesicles encapsulating NA. Sizing is accomplished
           via extrusion and unencapsulated NA is removed by size exclusion chromatography.

           9.3.5       The Spontaneous Vesicle Formation by Ethanol Dilution (SNALP) Method of
                       Nucleic Acid Encapsulation

               The previously described tointulatioa methods rely on the incorporation of an extrusion step to
           facilitate preparation of small, monodisperse liposomes. The stable nucleic acid lipid particle (SNALP)
           method was developed specifically as an alternative to these extrusion-based methods [13]. Originally
           conceived as an alternative to a detergent dialysis method used to encapsulate plasmid DNA, the
           method has subsequently been adapted to the encapsulation of smaller NA payloads. The detergent
           dialysis method of plasmid encapsulation involves the simultaneous solubilization of hydrophobic
           (cationic and helper lipid) and hydrophilic (PEG lipid and plasmid DNA) components in a single deter-
           gent-containing phase [55,57]. Particle formation occurs spontaneously upon removal of the detergent
           by dialysis. This technique results in the formation of small (-100 nm diameter) stabilized plasmid

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           lipid particles (SPLPs) containing one plasmid per vesicle in combination with optimized plasmid trap-
           ping efficiencies approaching 70%.
               Although SPLP show considerable potential as systemic gene transfer agents [55,95,96], the
           detergent dialysis manufacturing method suffers from a number of limitations. Detergent dialysis
           is exquisitely sensitive to minor changes in the ionic strength of the formulation buffer. Changes
           as small as 10 mM result in a dramatic decrease in encapsulation efficiency [55,57]. Even when
           SPLPs are formed under ideal conditions the detergent dialysis method results in the formation of
           large numbers of empty vesicles that require separation from SPLP by gradient ultracentrifugation.
           The detergent dialysis process is also difficult to scale to the size required to support preclinical
           and clinical development of the technology. Finally, detergent dialysis is very inefficient when used
           to encapsulate smaller NA species such as siRNA duplexes or antisense DNA oligonucleotides.
           For these reasons, alternative methods of preparing SPLP were explored and a more simple, robust,
           and fully scalable method for the encapsulation of plasmid DNA has been developed. This method,
           termed "stepwise ethanol dilution," produces SPLP with the same desirable properties as those
           prepared by detergent dialysis [13]. Lipid vesicles encapsulating plasmid DNA are formed instan-
           taneously by mixing lipids dissolved in ethanol with an aqueous solution of DNA in a controlled,
           stepwise manner (Figure 9.7). Combining DNA and lipid flow streams result in rapid dilution of
           ethanol below the concentration required to support lipid solubility. Using this method, vesicles are
           prepared with particle sizes <150 nm and DNA encapsulation efficiencies as high as 95%. When
           the method is adapted to the encapsulation of smaller NA species, vesicle sizes as low as 45 nm
           are readily obtained and encapsulation efficiencies of 95% are routine. The term SNALP, is used
           to differentiate from particles prepared using the SALP and SPLP methods, and to denote the more
           generally applicable methodology which can be applied to any charged NA species.
               The ability of the ethanol dilution method to rapidly prepare liposomes of desirable size and
           encapsulate NA with high efficiency is thought to result from the precise control of the conditions


                                                   Lipid solution                           Nucleic acid solution
                                                     in ethanol                                   in buffer



                                                                    Spontaneous vesicle
                                                                    formation by mixing
                                                                               4
                                                                    Vesicle stabilization by
                                                                            dilution



                                                                    Sample concentration



                                                                      Ethanol removal

                                                                               4,
                                                                       Sterile filtration


           Figure 9.7 Ethanol dilution (SNALP) method of NA encapsulation. The ethanol dilution or SNALP method
                      involves in-line mixing of lipids dissolved in ethanol with nucleic acid dissolved in buffer, resulting in
                      the spontaneous formation of lipid vesicles. As the solutions are mixed, ethanol is diluted below the
                      concentration required to maintain lipid solubility, resulting in vesicle stabilization. Controlled parti-
                      cle sizes from 40 to 150 nm. and encapsulation efficiencies of up to 95% are routinely observed. No
                      extrusion steps are required.

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           under which the lipids enter the aqueous environment, self-arrange into lipid bilayer fragments,
           and then form liposomes. By analogy, similar parameters have been shown to be critical for SPLP
           formation and plasmid encapsulation when using detergent dialysis [95.97]. Ionic strength, cationic
           lipid, and PEG lipid content must be optimized to maximize plasmid entrapment and minimize
           aggregation or the formation of empty vesicles [97]. The first stage of dilution is proposed to result
           in the formation of macromolecular intermediates, possibly lamellar lipid sheets or micelles. NA is
           recruited to these bilayer fragments by electrostatic attraction. If the cationic lipid content is too
           low, the plasmid fails to associate with these intermediates, favoring the formation of empty
           vesicles. If the cationic lipid concentration is too high, the surface charge on the lipid intermediate
           attracts excess NA, leading to the formation of polydisperse aggregates. At optimal cationic lipid
           concentrations, NA is proposed to associate with the lipid intermediates in such a way as to reduce
           the net positive charge on the lipid surface. Association of additional lipid leads to the formation of
           vesicles containing encapsulated NA. Similar to detergent dialysis. SNALP formation by ethanol
           dilution is optimized by balancing ionic strength, cationic lipid, and PEG lipid content. However.
           the ethanol dilution method appears much more robust than detergent dialysis, with good results
           achieved through a wide range of formulation conditions.
               In summary. a variety of techniques are available for encapsulating NA into lipid-based
           systems. Stepwise ethanol dilution, the SNALP approach, generates small (diameter <100 nm),
           well-defined, stable systems with high encapsulation efficiencies (>95%) and a broad range of
           NA/lipid ratios (>0.1 w/w) that exhibit the extended circulation lifetimes required to achieve
           preferential accumulation at target sites such as solid tumors or liver. Among the various methods
           for encapsulating NA, stepwise ethanol dilution most adequately satisfies demands related to
           scalability and reproducibility.


                                                     9.4   ANALYTICAL METHODS

               An important adjunct to any method of preparing liposomes for NA delivery is the characteri-
           zation of the resulting system using appropriate analytical methodology. The critical measurements
           are those that determine the size and monodispersity of the particle preparation, the degree of NA
           encapsulation, and the particles' surface charge. Since each of these attributes has the potential to
           affect the pharmacology of a liposomal NA delivery system and each has the potential to change
           over time, it is critical to develop an understanding of each system's properties and their stability
           by monitoring each of these parameters using the appropriate methodology.

           9.4.1       Measuring Particle Size

               Two methods are commonly used to determine the size of a liposome preparation. The first is
           direct visualization using scanning or transmission electron microscopy. The second is an indirect
           method. dynamic light scattering, also referred to as quasi-elastic light scattering (QELS) or photon
           correlation spectroscopy (PCS). Dynamic light scattering measures the size of liposomes suspended
           in a liquid. A colloidal liposome preparation is in a state of random movement due to Brownian
           motion. The speed of any given particle is inversely proportional to its size and smaller liposomes
           move more quickly than their larger counterparts. When a suspension of liposomes is illuminated
           with a laser, the movement, and therefore the size of the liposomes, can be measured by analyzing
           the rate at which the light intensity fluctuates as a result of light scatter.
               It is important to understand that depending on which method is used to measure the size of a
           liposome preparation, one can, and will, generate different results. Examination of liposomes under
           an electron microscope provides a two-dimensional image. Generally, we assume that the ideal
           liposome is spherical, while in reality. especially on an electron microscope grid. there is infinite
           number of diameters that can be measured. If the maximum length is used as the diameter, then the

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           particle is assumed to be a sphere of this maximum dimension. Using the minimum diameter will
           obviously produce a different result for the particle size.
               The situation becomes more complex when we consider the problem of describing a lipo-
           some preparation that consists of one or more populations of particles with different sizes. If we
           imagine a photograph taken with an electron microscope of a liposome preparation consisting
           of three spheres of diameters 50, 100 and 150 nm, how do we determine and express the average
           size of the liposomes?
               If we simply add all the diameters (Ed — 50 nm + 100 rim + 150 nm) and then divide by the num-
           ber of liposomes (n = 3), the average diameter is 100 nm. This is the mean, or more specifically the
           number—length mean diameter [981. The designation "number—length" mean is used, because the
           number of particles appears in the equation:

                           D[1,0]           Mean diameter = (50 nm + 100 nm + 150 nm)/ 3 =100 nm =    d.

               This value is referred to as D[1,0] because the diameter terms in the numerator are to the
           power of one (d') and there are no diameter terms (d°) in the denominator of the equation [98].
           Manual analysis of photomicrographs yields D11.01. Automated image analysis of the same photo-
           micrograph would typically begin by measuring the surface area of each liposome to determine
           the average size. This compares liposomes on the basis of their surface area. Since the surface
           area of a sphere is 47rr2, the diameters are squared, divided by the number of particles, and
           the square root is taken to derive the mean diameter:

                                D[2,0]             = 4{(50 nm2 + 100 nm2 + 150 nm2 )/ 3} = 108 nm =


               This yields the number—surface mean diameter. Since the diameter terms in the numerator are
           to the power of two (d2) and there are no diameter terms (d°) in the denominator of the equation,
           this value is described as D[2.0] [98]. Our hypothetical example, when analyzed in this way, gives
           a number—surface mean diameter of 108 nm.
               These calculations require explicit knowledge of the absolute number of liposomes analyzed (n),
           however many instrumental methods determine D[4.3], the volume moment mean, using methods
           which do not require explicit knowledge of the number of particles analyzed. For example,
           dynamic light scattering instruments often generate the D[4,3] or the equivalent—volume mean
           diameter [98].

             D[4,3] (50 nm4 +100nm4 +150nm4)/(50nm3 +100nm3 +150 nm3) = 136nm =                            /E.

               In this case. the calculated equivalent—volume mean diameter is 136 nm, a difference of 36%
           relative to the value of D[1,0], the result of manual analysis of data acquired using an electron
           microscope. These examples, derived from the work of Rawle [98], illustrate how different
           methods of determining average particle size may yield different results. Often, investigators
           give extra weight to data acquired by electron microscopy, perhaps because the data acquisition
           methods seem more direct or "hands on" or because the lower numbers are thought to reflect a
           higher quality liposome preparation. However, size measurements made using photomicroscopy
           typically contain ±3 — ±5% error. If number—length diameter measurements containing -±4%
           error are then used to calculate volume mean diameter, a cubic function of the diameter, the error
           will be cubed upon conversion and will increase to ±64%. However, dynamic light scattering
           can be used to calculate the volume mean diameter with reproducibility approaching ±0.5% [98].
           Converting this figure into a number mean gives an error that is the cube root of 0.5%.

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                Furthermore, while electron microscopy allows for the direct examination of liposomes, it is not
           suitable as an in-process or quality control technique. Sample preparation for electron microscopy
           is laborious and slow, and a limited number of particles can be examined, increasing the danger of
           unrepresentative sampling and magnification of error.

           9.4.2       Zeta Potential

                Zeta potential is a measure of the electric charge acquired by a liposome. This is of interest for
           two reasons. In the first case, the charge affects particle stability: in the second case the charge
           affects liposomal pharmacology. Liposomes, as colloidal particles. are subject to the DVLO theory
           [99.100]. This theory suggests that the stability of a colloidal system is governed by both the repul-
           sive electrical double layer and the attractive van der Waals forces which the particles experience as
           they approach one another. The energy barrier presented by the repulsive forces must be large
           enough to prevent particles from contacting one another, adhering and forming aggregates. If this
           energy barrier is overcome the attractive van der Waals forces will pull the particles into contact and
           keep them together, an unsatisfactory situation for a liposomal preparation designed to be used as a
           drug. The goal of liposomal formulation is to prepare a stable, monodisperse particle preparation
           that retains both monodispersity and particle size in an effort to yield consistent performance. Since
           charge is a good measure of the magnitude of the interaction between particles, the zeta potential
           gives an indication of the potential stability of a liposomal system. Liposomes with a large negative
           or positive zeta potential will repel each other and remain monodisperse and stable. If liposomes
           have low zeta potential values then the attractive van der Waals forces are able to overcome the
           repulsive electrical double layer forces, the particles come together, aggregate, and the formulation
           tends to be unstable. As a rule, liposomes with zeta potentials more positive than +30 mV or more
           negative than —30 mV are considered stable. Particles with low zeta potentials between —30 and
           +30 mV are normally unstable. This would suggest that liposomes should be prepared such that
           they carry substantial surface charge to enhance their stability as a monodisperse particle preparation.
           This does not take into account the complex electrostatic milieu encountered once the liposome
           leaves the vial and enters the blood compartment. Once in the blood. liposomes are free to interact
           with blood components such as proteins, lipoproteins, and cell surface membranes. Many of these
           entities are charged and as such, exert either attractive or repulsive forces on the liposomes depending
           on the charge differential. For this reason, liposomes with substantial positive or negative charge
           (zeta potential), although stable upon formulation, are rapidly cleared upon systemic administration
           [101,102]. This presents a dilemma in the design of liposomal systems for the delivery of NA. NA
           formulations generally incorporate cationic lipids to encourage interaction of the anionic NA with
           the lipid bilayer. The resulting systems are often highly charged, and accordingly have no appre-
           ciable circulation lifetime in systemic applications. In an effort to improve upon the pharmacology
           of liposomes containing cationic lipids a number of strategies have been adopted including steric
           stabilization using lipid conjugates of hydrophilic polymers such as PEG. PEG lipids have the
           undesired side effect of confounding zeta potential readings. For this reason other methods may be
           necessary for determining the apparent surface charge of PEGylated systems, such as those that
           utilize fluorescent dyes, for example the toluene nitrosulfonic acid (TNS) assay [20]. The situation is
           further complicated when using titratable lipids in which case surface charge measurements are
           specific to the medium in which they are obtained.

           9.4.3       Encapsulation

               The pharmacology of a liposomal formulation of NA will be largely determined by the extent
           to which the NA is encapsulated inside the liposome bilayer(s). Encapsulated NA will be protected
           from nuclease degradation, while those that are merely associated with the surface of a liposome
           will be less protected. Encapsulated NA shares the extended circulation lifetime and biodistribution

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           of the intact liposome, while those that are surface associated will adopt the pharmacology of naked
           NA once they disassociate from the liposome surface. For this reason encapsulation must be accu-
           rately determined. An acceptable method is the use of a membrane-impermeable fluorescent dye
           exclusion assay. This method requires a dye that has enhanced fluorescence when associated with NA.
           Specific dyes are available for the quantitative determination of plasmid DNA, single-stranded
           deoxyribonucleotides, and single- or double-stranded ribonucleotides. Encapsulation is determined
           by adding the dye to a liposomal formulation, measuring the resulting fluorescence and comparing
           it to the fluorescence observed upon addition of a small amount of nonionic detergent. Detergent-
           mediated disruption of the liposomal bilayer releases the encapsulated NA, allowing it to interact
           with the membrane-impermeable dye. NA encapsulation is calculated as E =               0/4 where I and
           I, refer to the fluorescence intensities before and after the addition of detergent [55]. Although other
           methods have been used to determine the liposomal encapsulation of NAs, including nuclease
           protection assays, chromatographic separation [43]. density gradient ultracentrifugation [103], and
           capillary electrophoresis [104], this method is the most accurate, rapid, and cost-effective. Methods
           that rely on nuclease protection or chromatographic separation often fail to differentiate encapsu-
           lated NA from that which is merely surface associated or trapped in lipid—NA aggregates.


                                             9.5 PHARMACOLOGY OF LIPOSOMAL NA

               Systemic delivery to disseminated target tissues requires the use of a "stealthy," relatively
           charge neutral delivery system, since indiscriminate interaction with blood components, lipopro-
           teins or serum opsonins, can cause aggregation before the carrier reaches the target site. This is
           especially important in the case of systems containing large polyanionic molecules such as NA,
           which have a greater potential for inducing toxicity through interaction with complement and coag-
           ulation pathways [105]. Other barriers to delivery may include the rnicrocapillary beds of the
           "first-pass" organs, the lungs and the liver, and the phagocytic cells of the reticuloendothelial
           system. Accessing target cell population requires the ability to extravasate from the blood compart-
           ment to the target site. Charge neutral carriers of appropriate size can pass through the fenestrated
           epithelium found in sites of clinical interest such as tumors, sites of infection, inflammation, and in
           the healthy liver and accumulate via the EPR effect [106] (also referred to as "passive" targeting or
           "disease site" targeting). To take advantage of this EPR effect, which can result in profound enrich-
           ment at the target site, carriers must be small (diameter on the order of 100 nm) and long circulating
           (extended circulation lifetimes following intravenous injection in mice). Clearly. NA stands to
           benefit from the pharmaceutical enablement conferred by encapsulation in appropriately designed
           liposomal carriers.

           9.5.1       Pharmacokinetics and Biodistribution of Liposomal NA Following Systemic
                       Administration

               Following intravenous injection, the clearance of properties of encapsulated NA can be assessed
           by lipid and/or NA markers. (As methods of determining the pharmacokinetics and biodistribution
           of NA themselves are described elsewhere in this volume they will not be discussed here.) Previous
           experience shows that, if NA is fully encapsulated in stable liposomes, the lipid and NA compo-
           nents are cleared from the blood compartment at the same rate and the NA remains intact, protected
           from nuclease degradation while encapsulated within the liposome [15,107,                                  AQ1
           14]. As long as the liposome remains intact, the biodistribution of a nonexchangeable lipid
           marker [108] incorporated in the formulation is representative of the biodistribution of the entire
           particle, including the NA component. This finding may be applied to analysis of liposomal clear-
           ance and biodistribution up to 24 h after administration, after which time even the most stable lipid
           markers will begin to experience some remodeling or exchange [109].

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               A comparison of the clearance properties of liposomal formulations of siRNA in three different
           species is shown in Figure 9.8. Liposomes were formulated containing DSPC, cholesterol. DLinDMA               AQ2
           and PEG-c-DMA encapsulating siRNA. The specific liposome composition, manufactured using
           the SNALP process. was selected for efficient delivery to the liver, with a view towards avoiding
           accumulation in distal tissue or in nontarget tissues of the reticuloendothelial system such as the
           spleen. The dose remaining in plasma and tissue samples obtained at various times after intra-
           venous administration in either mice or guinea pigs was determined using the radiolabeled lipid
           marker ([3H]-cholesteryl hexadecyl ether [CHE]) [15,61]. The plasma clearance properties of lipo-
           somally encapsulated siRNA in cynomolgus monkeys was determined directly by ion exchange
           high-performance liquid chromatography (HPLC) [15]. Four hours after tail vein injection in mice,
           3.3±1.3% of the injected dose remains in the plasma with a half-life of 38 min. The half-life
           of unprotected, unmodified phospodiester siRNA has been shown to be < 2 min in mice [14]. When
           liposomal siRNA is administered intravenously via ear vein injection in guinea pigs, 3.0 -4- 1.0%
           of the injected dose remains in the plasma 4 h after administration, corresponding to a plasma half-
           life of 39.3 min [61]. When encapsulated siRNA is administered to cynomolgus monkeys as a
           bolus injection in the saphenous vein, 17% of the injected dose remains in the plasma after 4 h,
           corresponding to a plasma half-life of 72 min. The agreement between the clearance properties
           in mice and guinea pigs, especially given the different routes of administration, is remarkable.
           Also noteworthy is the extent to which the doubling in the plasma half-life as measured in mice
           and primate species is predicted based on the comparative pharmacologic studies which have given
           rise to the technique of allometric scaling, whereby the pharmacological parameters of a given drug
           can be predicted in different species [110].
               Using either radiolabeled lipid markers or direct analysis of NA. the biodistribution of liposomal
           NA following intravenous administration may be determined. Figure 9.9 illustrates the accumula-
           tion of liposomal siRNA in various tissues 24 h after the administration in mice and guinea pigs.
           The liver and spleen typically demonstrate the highest levels of liposome accumulation. In this case
           the liver has accumulated 70.7 ± 5.4 and 83.4 ± 6.5% of the injected dose per gram, in mice and
           guinea pigs, respectively and the spleen has accumulated 0.94 ± 0.15 and 2.2 ± 0.2% of the
           injected dose per gram in mice and guinea pigs, respectively; whereas, the kidney, heart and brain
           accumulate the least amount of liposomal NA. Of note, the kidney, the prototypical target tissue
           associated with the toxicity of naked antisense drugs, accumulates <1% of the injected dose per
           gram. in both mice and guinea pigs.


                                                  100

                                             a
                                             cn) 80                    - Cynomolgus monkey
                                             0
                                            1C;
                                                                       —0— Guinea pig
                                            3 60                       - Mouse

                                             t 40 -
                                             a)
                                             El?
                                             a)
                                            1:1- 20 -



                                                        0    2     4       6       8   10    12
                                                                        Time (h)

           Figure 9.8 Plasma clearance of liposomal (SNALP) encapsulated siRNA. Plasma clearance of SNALP siRNA
                      determined in mice, guinea pigs, and cynomolgus monkeys. Each animal received a single intra-
                      venous injection of SNALP-formulated siRNA. Data represent percent of the total injected dose in
                      blood at the indicated time points after treatment. Mouse and guinea pig data are presented as
                      mean s.d., n = 5. Cynomolgus monkey data represent the mean of two treated animals.

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                                                                                    0 Mouse



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                                                            Liver   Spleen   Lung     Kidney   Heart   Brain

           Figure 9.9 Biodistribution of liposomal (SNALP) encapsulated siRNA. Biodistribution of SNALP siRNA was
                      determined in mice and guinea pigs. Each animal received a single intravenous injection of
                      3H-labeled SNALP-formulated siRNA. Data represent percent of the total injected dose in each
                      tissue 24 h after treatment. Data are represented as mean ± s.d., n = 5.


                While these results are typical of freely circulating liposomal systems, the extent to which lipo-
            somes accumulate in certain tissues, especially the liver, spleen, and distal disease sites such as
            tumors, can be modulated by affecting changes in the liposome formulation. Manipulation of the
            chemistry of the individual lipid components and their relative molar ratios within the system can
            significantly alter a formulation's pharrnacokinetics, biodistribution. and transfection efficiency.
            One such example of this plasticity is illustrated in Figure 9.10 and Figure 9.11. The plasma clear-
            ance and liver accumulation of three liposomal siRNA formulations (SNALP) that differ only in the
            alkyl chain length of the incorporated PEG—lipid are shown. Shorter PEG—lipid anchor lengths
            decrease the blood circulation times of the SNALP and increase the rate and extent of nanoparticle
            accumulation in the liver of mice. SNALP containing PEG lipids with distearyl (C18). dipalmityl
            (C16). and dimyristyl (C14) lipid anchors have circulation half-lives of 4 h, 2 h, and 40 min.
            respectively. In this example, up to 75% of the total injected dose of PEG-cDMA-containing
            particles accumulates in the liver after intravenous administration, while 35% of the dose accumulates
            in the liver when the more stably integrated PEG-cDSA is used. Further manipulation of the
            liposomal bilayer composition can result in <20% of the total injected dose accumulating in the
            liver, with concomitant increases in the extent of accumulation in non-RES tissues such as dissem-
            inated tumors [58].
                The extent of NA distribution in tissues following administration of liposomal systems is
            markedly greater than what has been observed in other systems. This can be attributed to the
            extended blood circulation lifetimes of liposomal formulations and their ability to protect encapsu-
            lated NA from degradation, greatly extending the available timeframe for delivery to and accumu-
            lation within tissues. While liposomal formulations may provide plasma half-lives for intact NA of
            0.5-60 h [61, 14, 114, 107, 15                                                                             AC:13
           ] "naked" NA and cationic lipoplex typically have half-lives of minutes
            or less [14,111-114].

           9.5.2       Toxicity of Liposomal NA Formulations

               The raison creme of drug delivery technology is to improve a drug's effectiveness by increasing
           availability of the drug at the intended target site. However, an unintended by-product that often
           accompanies the use of drug delivery technology is a shift in drug-associated toxicity. In many cases
           these drug-related toxicities may be anticipated by previous experience with the free drug in that the
           mechanism of toxicity is conserved; however, a shift in the target organ of toxicity is common [115,116].

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                                                                             Time (h)

           Figure 9.10 Plasma clearance of SNALP containing PEG—lipids with increasing alkyl chain lengths. Plasma
                       clearance of 3H-labeled SNALP containing PEG-C-DMA, PEG-C-DPA or PEG-C-DSA in ICR mice.
                       SNALP were administered i.v. at 5 mg/kg siRNA. Data represent percent of the total injected dose
                       in blood at the indicated time points alter treatment. Values are mean ± s.d., n = 4 mice.




                                                            PEG-C-DMA       PEG-C-DPA      PEG-C-DSA

           Figure 9.11 Liver accumulation of SNALP containing PEG—lipids with increasing alkyl chain lengths. Liver
                       accumulation of 3H-labeled SNALP containing PEG-C-DMA. PEG-C-DPA or PEG-C-DSA in ICR
                       mice. SNALP were administered i.v. at 5 mg/kg siRNA. Data represent percent of the total injected
                       dose in liver at the indicated time points after treatment. Values are mean ± SD. n = 4 mice.


           While many small molecule chemotherapeutic drugs in their free form give rise to nephrotoxicity or
           hepatotoxicity as a result of accumulation in the kidneys or liver, the same drugs. once encapsulated
           and delivered in liposomal form, may give rise to previously unobserved mucocutaneous toxicities
           or peripheral neuropathy [115,116]. These changes in toxicity are similar to those observed when
           using liposomal NA drugs. When naked antisense phosphorothioate oligonucleotides are injected
           intravenously in mammals, —20% of the injected dose accumulates in the kidney [117]. At high
           doses in monkeys this level of accumulation manifests as toxicity, fast in the form of focal tubular
           regeneration. and at even higher doses as perturbation in N-acetylglucosamine, total protein, and
           retinol-binding protein levels [118]. Similarly, high levels of accumulation in the liver lead to hyper-
           trophy of Kupffer cells and ultimately increases in transaminases such as AST and ALT [119]. Since
           liposomal encapsulation results in a dramatic shift in the biodistribution of NA we would expect a
           concomitant shift in the target organs of toxicity. Indeed, as intravenous administration of liposomal
           NA results in accumulation of <1% of the total injected dose in the kidney when measured in either
           mice or guinea pigs [61]. little or no nephrotoxicity results. even at doses greater than those required
           to elicit hepatic toxicity as measured by elevations of serum transaminases [15].

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               A special consideration when working with liposomal systems is their potential to activate the
           complement system. In particular, liposomes possessing cationic or anionic lipids are capable of
           binding complement proteins and triggering the activation of the complement cascade [105]. To test
           liposomal systems for their ability to activate complement, standard in vitro assays may be per-
           formed, or complementary experiments may be performed in vivo. Results of numerous studies
           indicate that complement activation by liposomal NA may be prevented by controlling the amount
           and presentation of liposomal surface charge, either through the use of PEG—lipids or by adjusting
           the amount or type of cationic lipid used. PEGylated systems containing modest amounts of titrat-
           able cationic lipid appear to be particularly stealthy in this regard [120].

           9.5.3       Immune Stimulation

               NA can cause activation of the mammalian innate immune system leading to the release of
           interferons and proinflammatory cytokines. In the case of DNA, immune stimulation is triggered
           primarily by the recognition of unmethylated CpG sequence motifs by Toll-like Receptor-9
           (TLR9) [121] located within the endosomal compartment of certain antigen presenting cells
           (APC) [122,123]. Similar immune recognition pathways are also activated by exogenous single
           [124.125] and double-stranded RNA [126] through TLR7/8 and TLR3, respectively. It has been
           recently reported that synthetic siRNA can also induce potent immune stimulation [127-129].
           The immune responses elicited by NAs are greatly potentiated by the use of delivery vehicles.
           including either liposomal- or polycation-based vehicles that facilitate intracellular delivery via
           endosomes, the primary intracellular location of the affected TLRs [127,130].
               Although the immunomodulatory effects of CpG DNA have potential therapeutic utility in
           oncology and allergy applications [131], in many other applications immune activation represents
           an additional hurdle to drug development. The consequences of an unmanaged activation of the
           innate immune response can be severe, particularly in more sensitive species including humans
           [132-134] due to the multitude of local and systemic inflammatory reactions that can be triggered
           by activation. Many of the toxicities associated with the administration of siRNA in vivo have
           been attributed to this response [14,127].
               On the basis of the finding that immune activation by siRNA is sequence-dependent, it is possible
           to design active siRNA with negligible immunostimulatory activity by selecting sequences that lack
           GU-rich or other immunostimulatory motifs [127,135]. Although this strategy has proven successful, it
           significantly limits the number of novel siRNA sequences that can be designed against a given target.
           Furthermore, it currently requires some degree of screening due to the relatively ill-defined nature of
           putative RNA immunostimulatory motifs. Another approach involves the use of stabilization
           chemistries that were previously developed for ribozymes or antisense oligonucleotide drugs [136]
           that have more recently been applied to the chemical stabilization of synthetic siRNA. siRNA may
           be designed containing 2'OMe [137-139], 2'F [137,139-141], 2-deoxy [140] or "locked nucleic
           acid" (LNA) [128,142] modifications yet retaining functional RNAi activity, indicating that these
           chemistries can be compatible with the RNAi machinery. However, modification of siRNA appears
           to be tolerated only in certain positional or sequence-related contexts, and in most cases, indiscriminate
           modification has a negative impact on RNAi activity [128,138-140,142]. Until recently, the design
           of chemically modified siRNA has required laborious screening in an effort to identify duplexes that
           retain potent gene silencing activity.
               Recently, a more rational approach to the design of highly active, nonstimulatory siRNA
           molecules has been described [143]. Surprisingly, minimal 2'OMe modifications within one
           strand of a double-stranded siRNA duplex are sufficient to fully abrogate the immunostimulatory
           activity of siRNA, irrespective of sequence. Remarkably, incorporation of as few as two 2'OMe
           guanosine or uridine residues in highly immunostimulatory siRNA molecules completely
           abrogate siRNA-mediated interferon and inflammatory cytokine induction in human PBMC and
           in mice in vivo. This degree of chemical modification represents —5% of the native 2'-OH

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           positions in the siRNA duplex. Since complete abrogation of the immune response requires only
           one of the RNA strands to be selectively modified, 2 'OMe modifications can be restricted to the
           sense strand of the duplex, therefore minimizing the potential for attenuating the potency of
           siRNA. which is predominantly determined by the antisense "guide" strand. Minimally modi-
           fied siRNA retains potent gene silencing in vivo. without evidence of cytokine induction.
           immunotoxicities or off-target effects associated with immune activation triggered by unmodi-
           fied siRNA. This provides a simple method of designing nonimmunostimulatory siRNA based
           on native sequences with proven RNAi activity.
               It is presently unclear how the introduction of 2'OMe nucleotides into one strand of an siRNA
           duplex prevents recognition of siRNA by the immune system. The trans-inhibitory effect of
           2'O-methylation. whereby 2'OMe-modified ssRNA annealed to unmodified immunostimulatory
           ssRNA generates a nonimmunostimulatory duplex, is consistent with a hypothesis that involves
           recognition of the siRNA by its putative immune receptor, thought to be TLR-7 [128], as a double-
           stranded molecule. It is conceivable that 2'OMe-modified siRNA may avoid recognition by the
           innate immune system using a mechanism that has evolved to allow for the differentiation of self
           from pathogen-derived RNA.
               Other NA modification chemistries have the potential to influence immune stimulation. LNAs
           containing a 2'-O, 4`-C methylene bridge in the sugar ring have been shown to partially reduce the
           immunostimulatory activity of siRNA [128]. However. siRNAs containing inverted deoxy abasic
           end caps retain immunostimulatory activity [14]. No evidence of a trans-inhibitory effect was
           observed with LNA-modified duplexes. These observations suggest that, for reasons we do not
           currently understand. immune stimulation by siRNA may he particularly sensitive to inhibition by
           2'OMe modifications versus other stabilization chemistries. Minimal 2'OMe modification to
           prevent the induction of interferons and inflammatory cytokines has been shown to both limit the
           potential for nonspecific effects on gene expression and improve the tolerability of siRNA
           formulations. Intravenous administration of liposomal 2'OMe-modified siRNA is efficacious and
           well tolerated in mice [143]. This approach, coupled with ongoing improvements in                        AQ4
           delivery technology and siRNA design, may be an important component in the development of
           synthetic siRNA therapeutics.

           9.5.4       Immunogenicity

               The potential for a drug to be immunogenic is a serious concern in drug development since the
           establishment of an antibody (Ab) response can severely compromise both the safety and efficacy
           of a drug. This has hampered the development of drugs, including protein-based therapeutics such
           as monoclonal antibodies that contain immunogenic components. It has long been recognized that
           liposomes can act as immunological adjuvants as a result of their particulate nature, efficient uptake
           by APC, and ability to cross-link surface receptors [144]. This property is enhanced when
           immunostimulatory agents such as CpG DNA arc incorporated into the liposomes [145,146]. This
           has been exploited in the design of liposomal vaccines that generate strong Ab responses against
           weakly immunogenic antigens attached to the liposome surface. It is therefore unsurprising that
           immunogenicity has proven to be a major obstacle in developing receptor-targeted liposomes that
           incorporate antibodies, peptides or receptor ligands on their surface to enhance target cell uptake
           [147-149]. Remarkably, the addition of a PEG coating to these liposomes typically has a minor
           effect on reducing their immunogenicity [145,147,149].
               Experience with stable plasmid lipid particles (SPLPs), a liposomal system for the delivery and
           expression of therapeutic pDNA [13,58]. provides an example of the challenges faced when designing
           nonimmunogenic NA carriers. The in vivo safety and efficacy of SPLP that contain stably integrated
           PEG lipids are severely compromised following repeat administration due to a surprisingly robust
           Ab response against PEG that arises from a single administration. The immunogenicity of
           PEGylated liposomes containing pDNA can be greatly reduced by using alternative diffusible

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           PEG—lipids that diffuse more readily from the lipid bilayer upon administration. By eliminating
           the Ab response to PEG. these modified liposomes can be safely readministered to mice while
           maintaining the effective delivery of the pDNA payload to distal tumor sites. Administration of non-
           immunogenic SPLP is still associated with substantial cytokine induction, indicating that the
           reduced immunogenicity is not due to abrogation of the immunostimulatory activity of the pDNA
           payload. Instead, this supports the hypothesis that robust Ab responses to PEG require the close
           physical association of the PEG—lipid with pDNA and are driven by the specific binding and inter-
           nalization of PEGylated liposomes containing stimulatory pDNA by PEG-reactive B cells [120].
           An alternative approach to reducing carrier immunogenicity may be the development of less
           immunostimulatory NAs. CpG-free pDNA and chemically modified antisense ODN or synthetic
           siRNA may have significantly reduced capacity to activate cytokine responses. Synthetic siRNAs
           can induce potent immune stimulation in vivo, driving the production of a strong anti-PEG Ab
           response when immunostimulatory siRNAs are encapsulated in PEGylated liposomes containing
           stably integrated C18-PEG—lipids [120]. Minimally modified siRNA duplexes, when encapsulated
           in PEGylated liposomes containing stably integrated PEG—lipids, are nonimmunogenic. Use of
           minimally modified, nonimmunostimulatory NA and/or diffusible PEG—lipids allows for flexibility
           in the design of nonimmunogenic liposomal systems.
               These findings raise important concerns regarding the potential immunogenicity of any delivery
           vehicle currently under consideration for use with immunostimulatory NA-based drugs. Given that
           most RNA and DNA species stimulate innate cytokine responses and B cell activation [124-128,143].
           vehicle immunogenicity may prove to be problematic for a range of NA-based therapeutics. Antibody
           responses against surface components, especially targeting ligands, of liposomal systems should be
           closely monitored. However, the ability to abrogate the immunogenicity of liposomal NA formulations
           by simple modification of either their lipid composition or NA provides multiple paths forward in the
           design and clinical development of these systems.

           9.5.5       The Efficacy of Liposomally Formulated NA Drugs

               Currently, the clinical experience with liposomal formulations of NA drugs is limited. requiring us
           to rely on preclinical results to gauge their promise. In this regard there are many reports of efficacy
           associated with liposomal formulations of antisense ODN, ribozymes and more recently siRNA
           (recently reviewed by Behlke [150]). Liposomal NAs have been evaluated in preclinical models of
           infectious disease, inflammation, cancer, and various metabolic conditions. However, it is only recently
           that we have come to appreciate the extent to which nonspecific effects, such as stimulation of the
           innate immune system, may effect the results obtained in preclinical models that are used to measure
           efficacy. Particularly troublesome is the impact that induction of the innate immune system has on anti-
           tumor efficacy in murine models and on models of infectious disease. For these reasons it is especially
           crucial to adopt appropriate controls when working with these systems. Specifically, the inclusion of
           nontargeting control NA, with similar immunostimulatory properties to the active compounds, is
           required. As described in the previous section. with our improved understanding of the chemical mod-
           ification strategies that abrogate the immune stimulation associated with siRNA, it is now straightfor-
           ward to design immunologically silent NA that retain their desired mechanism of action [143].
                In spite of the well-documented impact that liposomal NA can have on the innate immune
           system some investigators have failed to fully characterize the immunostimulatory properties of
           their test article prior to publishing the efficacy results. Others have unwittingly reported false-
           negative immune stimulation data obtained by analyzing the immunostimulatory properties of
           their compounds either in cell lines that are not competent for an innate immune response, or by
           harvesting preclinical samples at inappropriate time points, days or even weeks after the immune
           stimulus has been applied. It is noteworthy that in our laboratory we have undertaken a retro-
           spective analysis of published siRNA used in efficacy studies and with one single exception all
           were shown to be immunostimulatory. All of the siRNA had either been previously described

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           as nonimmunostimulatory, or their immunostimulatory properties had not been described. Even
           more alarming is the fact that the one exception in our analysis was a negative control siRNA that
           has been used in more than 12 published studies to support the "efficacy" of an assortment of
           highly immunostimulatory siRNA. Control siRNA with similar immunostimulatory properties to
           the active compounds would have been preferred. Although the various pathways that may be
           affected by NA drugs are complex, assaying for interferon alpha and IL-6, either 2-12 h after
           intravenous administration in mice or 24 h after exposure of primary PBMCs, is all that is
           required to adequately gauge the immunostimulatory properties of most molecules.
                When efficacy studies are approached and interpreted with appropriate caution, the results can
           be substantially more convincing. Rather than provide a retrospective analysis of previously
           described efficacy studies, here we will describe one example that hopefully illustrates the potential
           of liposomal formulations of NA drugs, the example of liposomal siRNA targeting apolipoprotein B
           (apoB). ApoB is an essential component involved in the assembly and secretion of very low-density
           lipoprotein (VLDL), a precursor to LDL. ApoB is considered "non-druggable" with conventional
           small molecule therapies yet it is a highly relevant, genetically and clinically validated disease
           target. Targeting apoB with second-generation antisense oligonucleotides has shown promising
           preclinical and clinical results [151] and cholesterol-conjugated siRNAs directed against apoB
           have successfully resulted in knockdown of apoB message yielding a concomitant reduction in
           total cholesterol [152]. Unlike many oncology, inflammatory or infectious disease targets, the
           apoB transcript is regulated mainly at the posttranslational level. This is believed to confer some
           protection from off-target effects that would otherwise result in unintended perturbations in apoB
           expression levels, making apoB a "good" target for proof of concept efficacy studies.
                Intravenous administration of high doses. >50 mg/kg, of apoB-specific siRNA, siApoB-1, as
           naked siRNA, in the absence of chemical conjugation, has previously shown to have no in vivo
           silencing activity in mice [152]. However, profound silencing of liver apoB mRNA and apoB-100
           protein is achieved with a single, low dose of liposomal (SNALP-formulated) siApoB-1 [15].
           No detectable reduction in apoB is observed upon treatment with SNALP-formulated mismatch
           siRNA (siApoB-MM) or empty SNALP vesicles, indicating that silencing is specific to the
           siRNA and is not an artifact caused by the liposomal carrier or due to other off-target effects.


                                                              Encapsulated             Conjugate
                                                   120

                                                   100           —1000 Fold
                                                               Greater potency
                                           z 80
                                           E
                                           e8 60

                                                   40

                                           cc      20

                                                    0
                                                         Saline 1   0.5 0.25 0.1 Saline 100 50   25 12.5
                                                                           Dose (mg/kg)

           Figure 9.12 The efficacy of liposomal (SNALP) encapsulated siRNA compares favorably to chemically conju-
                       gated siRNA. The dose-dependent silencing of liver apoB mRNA after administration of either
                       SNALP siApoB-1 (left panel) or Chol-siApoB-1 (right panel) is shown. Liver apoB mRNA levels
                       were quantified relative to GAPDH mRNA 3 days after i.v. administration of siRNA. Data are mean
                       values relative to the saline treatment group 1:s.d. Chol-siApoB-1 was administered at doses of
                       100, 50, 25 or 12.5 mg/kg (n = 6 per group), and SNALP siApoB-1 was administered at siRNA
                       doses of 1, 0.5, 0.25, and 0.1 mg/kg (n = 4 per group).

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           Figure 9.12 is an illustration of the relative potency of siApoB-1 SNALP-mediated silencing
           compared to cholesterol-conjugated siApoB-1. While a dose of 100 mg/kg of cholesterol-conju-
           gated siRNA is required to achieve 50% knockdown of apoB message, comparable levels of gene
           silencing are achieved at a dose of 0.1 mg/kg SNALP siApoB-1. corresponding to a 1000-fold
           increase in the potency of siRNA, when it is encapsulated relative to the cholesterol conjugate.
           This represents an increase in potency relative to the naked, unconjugated molecule that is more
           than four orders of magnitude. This degree of silencing is readily achieved in the absence of
           immune stimulation or other toxicities. A nonhuman primate study, using a considerably less
           potent siRNA sequence, confirmed that liposomal siRNA can potently silence apoB [15].
           Silencing of 90% of the endogenous apoB message was achieved in cynomolgus monkeys treated
           with a single intravenous administration of 2.5 mg/kg SNALP-formulated siApoB-1. Again, this
           result was achieved in the absence of any toxicity as measured by general tolerability, comple-
           ment activation, coagulation or proinflammatory cytokine production. There were no changes in
           hematology parameters for SNALP-treated animals. The only measurable change in SNALP
           siApoB-2-treated primates was a moderate, transient increase in liver enzymes in monkeys that
           received the highest dose of SNALP siApoB-2. This manifested as transient transaminosis that
           peaked at 48-h posttreatment and was highly variable among individual animals. This effect was
           completely reversible, normalizing within 6 days, while the reduction in apoB had yet to reach
           its nadir. It is important to consider that a 90% reduction in apoB levels is unlikely to be a rele-
           vant clinical target, meaning that lower doses would be used in a clinical context. In monkeys, a
           more moderate treatment with a dose of 1.0 mg/kg resulted in a 68% in apoB message and a 50%
           reduction in plasma LDL in the absence of any transaminosis. Subsequent examination of this
           type of toxicity in mice has revealed a number of opportunities for improving the therapeutic win-
           dow of apoB SNALP. including the use of more potent siRNA sequences, formulation refine-
           ments, and changes to the dosing regime.
               While further optimization of NA payloads, formulations, and treatment regimens may be
           required, the experience with apoB SNALP suggests that effective systemic delivery of NA using
           liposomes is readily achievable. Together with efforts to develop chemically modified NA with
           optimal pharmacologic properties, liposomal NA shows considerable promise in a number of
           applications. It is highly likely that as NA drugs continue to move from bench to bedside, liposomes
           will increasingly become a component of their success.


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                   JOINT APPENDIX 32
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           0 338 971 10/1989     European Pat. Off. .                                larly suitable for use as carriers in the intracellular delivery
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                                                                                     material. Compositions of the present cationic lipid com-
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                       (List continued on next page.)                                              143 Claims, 2 Drawing Sheets

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                                                  LIPOFECTAMINE


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                                                    TRANSFECTAM


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                                                     EXAMPLE 5E1




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                                               CAT EXPRESSION (ng/m1)
                           0               100    200   300     400   500                     600
                               t   i   l   l   1 1 1 1   1   1 11   1 1 1 1   1 1 1 1   1 1 1 1




              LIPOFECTIN


          LIPOFECTAMINE    a\A
                  DOTAP H


           TRANSFECTAM


             EXAMPLE 5C        \\\%%%\\
             EXAMPLE 5D



                                                  rig. I




                                                                                                  JA00910
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              C=3
              CI
              II-)   J..




              c=1
              Lt")



              C=t
              CZ>
              icr




                                                                             EXAMPLE 50 14 :1




                            Lr)     (0       Is--         cr)
                            C=3     C:=3     C=3          C=:$      C=1
                            to      U        to           Lr,       to

                           L.LJ     LLJ      1.1.3        L.LJ      L....1
                           ...-I    ....I    —J           —J        --J
                           CL_      0...     Cl-          CL_       Cl
                                    =        M            M
                           ..2      ..:C     .ct          ..cr      4'
                           ›..0     >C.      X            ><        ,...0
                           U..:     L.L.1    U-1          U—        L.s../




                                                                                                JA00911
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          CATIONIC LIPIDS AND THE USE THEREOF                              viral capsule. Moreover, in the case of biologically active
                                                                           materials which comprise genetic material, undesired inter-
                       FIELD OF THE INVENTION                              action of the viral carrier may occur with the encapsulated
                                                                           genetic material and the patient.
          The present invention relates to novel cationic lipids and
       the use thereof. More particularly, the present invention         5    To minimize the potential interactions associated with
       relates to novel cationic lipids and their use in the delivery      viruses, attempts have been made to use only certain com-
       of biologically active agents.                                      ponents of a virus. This is difficult to achieve in vivo
                                                                           inasmuch as the virus components must be able to recognize
                  BACKGROUND OF THE INVENTION                              and reach the targeted cells. Despite extensive work, a
                                                                        10 successfully targeted, viral-mediated vector for the delivery
          The intracellular delivery of biologically active agents,        of biologically active materials into cells in vivo has not
       for example, pharmacologically active materials and diag-           been adequately achieved.
       nostic agents, is generally desirable in connection with the           As noted above, liposomes have been used as a carrier for
       treatment and/or diagnosis of various diseases. For example,        the intracellular delivery of biologically active agents,
       cell function can be influenced at the subcellular or molecu- 15 including genetic material. One of the original methods for
       lar level by delivering the biologically active agent intrac-       the use of liposomes as carriers for biologically active agents
       ellularly.                                                          is disclosed in Szoka and Papahadjopoulos, Ann. Ret: Bio-
          Various methods have been developed for the delivery of          physic. Bioeng., Vol. 9, pp. 467-508 (1980). The disclosed
       biologically active agents directly into living cells. Included     method involves the preparation of liposomes by the addi-
       among such methods is the "carrier method" which involves           tion of an aqueous solution of genetic material to phospho-
       the use of a carrier to promote intracellular delivery of a         lipids which are dissolved in ether. Evaporation of the ether
       bioactive agent to specifically targeted cells, for example,        phase provides genetic material encapsulated in lipid
       diseased cells. The intracellular delivery of therapeutic           vesicles.
       agents is referred to herein also as "transfection".                   Another method for encapsulating biologically active
          Various carriers have been developed for use in the 25 agents in liposomes involves the extrusion of dehydration-
       transfection of biologically active agents. For example,            rehydration vesicles. Other methods, in addition to those
       liposomes and polymers have been developed for the trans-           described above, are known for the encapsulation by lipo-
       fection of genetic materials, including deoxyribonucleic acid       somes of biologically active agents.
       (DNA) and ribonucleic acid (RNA). However, the currently               More recently, liposomes have been developed from
                                                                        30
       available carriers, including liposomes and polymers, are           cationic lipids, such as N41-(2,3-dioleoyloxy)propylIN,N,
       generally ineffective for the intracellular delivery of biologi-    N-trimethylammonium chloride ("DOTMA") or lipids
       cally active materials in vivo. Moreover, the currently avail-      which comprise cationic polymers, for example, polysine.
       able carriers have limited use in connection with the trans-        See, e.g., Xiaohuai and Huang, Biochimica et Biophysica
       fection of cells in vitro.                                          Acta, Vol. 1189, pp. 195-203 (1994). Liposomes which are
                                                                        35
          In addition to the carrier method, alternative methods           prepared from cationic materials (referred to hereinafter as
       have been developed for the transfection of biologically            "cationic liposomes") have been developed, inter alia, to
       active agents, including genetic material, directly into cells.     transfect cells with genetic material, including DNA. It is
       These methods include, for example, calcium phosphate               believed that the cationic liposomes bind with the negatively
       precipitation and electroporation. However, these methods           charged phosphate group(s) of the nucleotides in DNA.
                                                                        40
       are also generally ineffective for the intracellular delivery of    Studies have shown that cationic liposomes mediate trans-
       biologically active agents in vivo.                                 fection of cells with genetic material in vitro more efficiently
          Great strides have been made in connection with the              than other carriers, for example, cationic polymers. In
       characterization and understanding of various diseases, for         addition, in vitro studies have shown also that cationic
       example, genetic diseases, and their associated protein 45 liposomes provide improved transfection of cells relative to
       transcription, in humans and other animals. This has led to         other delivery methods, including electroporation and cal-
       the development or postulation of improved methods for the          cium phosphate precipitation.
       treatment of such diseases with biologically active agents.            However, the currently available cationic lipids and cat-
       Various of these methods involve or require that the bio-           ionic liposomes are generally ineffective for the intracellular
       logically active agent be delivered intracellularly. As noted 50 delivery of biologically active agents in vivo. Moreover,
       above, however, current methods for the transfection of cells       they are generally ineffective for the intracellular delivery of
       with biologically active agents in vivo are generally inef-         biologically active agents in scrum. This is a serious draw-
       fective. This is thwarting the study and implementation of          back inasmuch as cells require serum for viability. In fact, it
       improved methods for the treatment of various diseases.             is generally necessary to remove serum from tissue culture
          The cellular membrane is a selective barrier which pre- 55 baths during gene transfection studies involving cationic
       vents random introduction of substances into the cell.              lipids and cationic liposomes. After transfection, the serum
       Accordingly, a major difficulty in the intracellular delivery       is replaced. This involves additional processing steps which
       of biologically active agents is believed to involve the            render transfection of cells with cationic lipids and cationic
       transfer of the agent from the extracellular space to the           liposomes complex and cumbersome.
       intracellular space. Localization of the biologically active 60        New and/or better cationic lipids useful, inter alia, for the
       agent at the surface of selected cell membranes has been            intracellular delivery of bioactive agents are needed. The
       difficult to achieve also.                                          present invention is directed to this as well as other impor-
          Carriers have been engineered also from viral vectors.           tant ends.
       Specifically, vectors for the transfection of genetic material
       have been developed from whole viruses, including aden- 65                       SUMMARY OF THE INVENTION
       oviruses and retroviruses. However, only a limited amount              The present invention is directed to cationic lipids which
       of biologically active materials can be placed inside of a          comprise at least one, and preferably at least two, cationic




                                                                                                                                 JA00912
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       groups and which may be useful for the intracellular deliv-            each of x and y is independently an integer from 0 to
       ery of bioactive agents.                                                  about 100;
          Specifically, in one embodiment, the present invention              each X, is independently a direct bond, -0-, -S-,
       relates to a cationic lipid compound of the formula                       - NR,-, -C(=X2)-, -C(=X2)-N(R3)-,
                                                                                 - N(R3)- C(=X2)- , - C(=X2)-0- , -0- C
                                 (14 Y3).!                                       (=X2)- or -X,-(R 3X2)P(=X2)-X2-;
                                                                              each X2 is independently 0 or S;
              Y1- (R1- XL):- R2- [Y2 -R3]v-(XL                                each Y2 is independently -S(R2)b-, -N(R2)b- or
       wherein:                                                                  - P(R2)b-, wherein b is an integer from 0 to 2;
          each of x, y and z is independently an integer from 0 to 10         each R3 is independently hydrogen or alkyl of 1 to
             about 100;                                                          about 10 carbons;
                                                                              each of R4 and R5 is independently a direct bond or
          each X, is independently -0-,          -S-, -NR5-,
                                                                                 alkylene of 1 to about 30 carbons containing 0 to
             -C(=X2)-, -C(=X 2)-N(R5)-, -N(R5)-C
                                                                                 about 15 -0-, -S-,                  Of -X 2-02 3X2)
             (=X2)-, -C(=X 2)-0-,             -O-C(=X 2)- or                     P(=X2)-X2- hctcroatoms or heteroatom groups;
             - X2- (R5X2)13(=X2)- X2- ,                               5          and
          each X, is independently 0 or S;                                    each R6 is independently hydrogen or alkyl of 1 to
          each Y, is independently a phosphate residue, l`(R6),,-,               about 60 carbons containing 0 to about 30 -0-,
             S(126)4-, P(R6),_, -co2R6, wherein a is an integer                  - 8-, -NR3- or - X2-(R3X2)P(=X2)- X2-
             from 1 to 3;                                                         heteroatoms or heteroatom groups; with the proviso
          each Y2 is independently -N(R6)b-,                      or 20           that the compound of formula (II) comprises at least
                           wherein b is an integer from 0 to 2;                  one, and preferably at least two, quaternary salts.
          each Y3 is independently a phosphate residue, N(126)4,-,         In yet another embodiment, the present invention relates
             S(R6)4-, P(126)„- or -0O 2R6, wherein a is an inte-        to a cationic lipid compound of the formula
             ger from 1 to 3;
          each of R1, R2, R3 and R4 is independently alkylene of 1 25                               (114- Y3):
             to about 20 carbons;                                               Irt -(Rt -XL).-R2-D r2-R31y-(Xi -ROA-YL
          each R5 is independently hydrogen or alkyl of 1 to about
             10 carbons; and                                                                                             (121-X1).
          each R6 is independently -[127-X 31-R 5 or -R 5- 30                                                             R2
            [X4- Ria3Q, wherein:                                                Y1- (R1- Xi):- [R3- Y21,- R2- (Xi - Ri)x- YL
             each of c and d is independently an integer from 0 to
                about 100;                                                                          (R4- Y3):
             each Q is independently a phosphate residue,
                - N(R„)g, S(R11)q, -P(R„)q or -0O 2R6, 35               wherein:
                wherein q is an integer from 1 to 3;                       each of x, y and z is independently an integer from 0 to
             each of X3 and X4 is independently -0-, -S-,                     about 100;
                - NR,-, -C(=--X,)-, - C(=X2)- N(R5)- ,                     each X, is independently -0-,            - S- , - NRs- ,
                - N(R5)-C(=X2)--, -C(=--X2)-0-, -0-C                         -C(=X2)-, -C(=X 2)-N(R5)-, -N(R5)-C
                (=X2)- or - X2- (R5X2)P(=X2)- X2- ;                          (=X2)-, -C(=X2)-0-,                -0-C(=X 2)- or
                                                                     40
             each R7 is independently alkylene of 1 to about 20              - X2- 015)(2)13(=X2)- X2- ;
                carbons;                                                   each X2 is independently 0 or S;
             each R8 is independently hydrogen or alkyl of 1 to            each Y1 is independently -0-,                 -N(R6).-,
                about 60 carbons;                                            - S(R6)4- or -130161.-, wherein a is an integer
             each of R9 and 11,0 is independently alkylene of 1 to 45         from 0 to 2;
                about 20 carbons; and                                      each Y2 is independently - NR6L-, -S(R6),- or
             each R11 is independently -[127-X 3L-R5 or -125-                -P(R6)4-, wherein a is an integer from 0 to 2;
               [X4 R,0]3 W, wherein:                                       each Y3 is independently a phosphate residue, N(R6)b- ,
                each W is independently a phosphate residue,                 S(R6)b-, 13(16)b- or -CO2R6, wherein b is an
                               -S(R,2),„ -P(R„),, or -0O 2126, 50             integer from 1 to 3;
                  wherein w is an integer from 1 to 3; and                 each of RI, R2, R3 and R4 is independently alkylene of 1
                R1, is -[127-X 31_, 8; with the proviso that the              to about 20 carbons;
                  compound of formula (1) comprises at least one,          each R5 is independently hydrogen or alkyl of 1 to about
                  and preferably at least two, quaternary salts.             10 carbons; and
          In another embodiment, the invention relates to a cationic
                                                                     55    each R6 is independently -[127-X 31-128 or -R 9-
       lipid compound of the formula
                                                                             [X4-R 10]3Q, wherein:
                                                                              each of c and d is independently an integer from 0 to
               Y1- R1- Y1
                                                                                 about 100;
       wherein:                                                               each Q is independently a phosphate residue,
          each Y1 is independently a phosphate residue, N(R2)b-, 60              - N(R31)q, -S(R11)q, -P(R„)q or -0O 2R11,
             S(R2)4-, P(R2)„- or -0O 2R2, wherein a is an inte-                  wherein q is an integer from 1 to 3;
             ger from 1 to 3;                                                 each of X3 and X4 is independently -0-, -S-,
          R1 is alkylene of 1 to about 60 carbons containing 0 to                - NR,-, -C(=X 2)-, - C(=X2)- N(R5)- ,
             about 30 -0-, -S-, -NR,- or -X 2-(R 3X2)P                           - N(R5)-C(=X2)-, -C (=X2)-0-, -0-C
            (=L3-X 2- heteroatoms or heteroatom groups;              65          (=X2)- or - X2- (R5X2)P(=X2)- X2- :
          R2 is a residue of the formula -124-[(X1-R 5)-                      each R7 is independently alkylene of 1 to about 20
             Y2]-R 6, wherein:                                                   carbons;




                                                                                                                            JA00913
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             each RE, is independently hydrogen or alkyl of 1 to          include methyl, ethyl, i-propyl, n-butyl, t-butyl, n-pentyl,
                about 60 carbons;                                         heptyl, octyl, decyl, dodecyl, Iridecyl, tetradecyl, pentadecyl
             each of 129 and 12,0 is independently alkylene of 1 to       and hexadecyl. Preferred alkyl groups include the lower
                about 20 carbons; and                                     alkyl groups of 1 to about 4 carbons and the higher alkyl
             each R„, is independently —[R7—X31.—R5 or 5 groups of about 12 to about 16 carbons. Preferred alkyl
                —R9—[X4.—R„]d—W, wherein:                                 groups include also alkyl groups which are substituted with
                each W is independently a phosphate residue,              one or more halo atoms. Fluoroalkyl groups are preferred
                  —N(R,2),,, —S(R,2)„,, —P(R,2),„ or —CO2R,2,             among the halo-substituted alkyl groups, including, for
                  wherein w is an integer from 1 to 3; and                example, fluoroalkyl groups of the formula CF3(CF2)„
                                                                          (CH„)„,—, wherein each of m and n is independently an
                R12 is —[R,—X31-128; with the proviso that the 10
                                                                          integer from 0 to about 22. Exemplary fluoroalkyl groups
                  compound of formula (III) comprises at least one,       include perfluoromethyl, perfluomethyl, perfluoropropyl,
                  and preferably at least two, quaternary salts.          perfluorobutyl, perfluorocyclobutyl, perfluoropentyl,
          Cationic lipid compounds which comprise at least one,           perfluorohexyl, perfluoroheptyl, perfluorooctyl,
       and preferably at least two, cationic groups are also the          perfluorononyl, perfluorodccyl, perfluoroundccyl and per-
       subject of the present invention.                               15 fluorododecyl.
          Another aspect of the present invention are cationic lipid         "Alkenyl" refers to an alkyl group containing at least one
       compositions which are composed of cationic lipid com-             carbon-carbon double bond. The alkenyl group may be
       pounds that comprise at least one, and preferably at least         optionally substituted with one or more "alkyl group sub-
       two, cationic groups.                                              stituents". Exemplary alkenyl groups include vinyl, allyl,
          Yet another aspect of the present invention is a cationic 20 n-pentenyl, decenyl, dodecenyl, tetradecadienyl, heptadec-
       lipid formulation for the intracellular delivery of a bioactive    8-en-1-yl and heptadec-8,11-dien-1-yl.
       agent. The formulation comprises, in combination with a               "Alkynyl" refers to an alkyl group containing a carbon-
       bioactive agent, a cationic lipid compound that comprises at       carbon triple bond. The alkynyl group may be optionally
       least one, and preferably at least two cationic groups.            substituted with one or more "alkyl group substituents".
          Still another aspect of the present invention relates to a 25 Exemplary alkynyl groups include ethynyl, propargyl,
       process for the preparation of a cationic lipid formulation for    n-pentynyl, decynyl and dodecynyl. Preferred alkynyl
       the intracellular delivery of a bioactive agent. The process       groups include the lower alkynyl groups.
       comprises combining together a bioactive agent and a cat-             "Cycloalkyl" refers to a non-aromatic mono- or multicy-
       ionic lipid composition which comprises a cationic lipid           clic ring system of about 4 to about 10 carbon atoms. The
       compound having at least one, and preferably at least two, 30 cycloalkyl group may be optionally partially unsaturated.
       cationic groups.                                                   The cycloalkyl group may be also optionally substituted
          Also encompassed by the present invention is a method           with an aryl group substituent, oxo and/or alkylene. Pre-
       for delivering intracellularly a bioactive agent. The method       ferred monocyclic cycloalkyl rings include cyclopentyl,
       comprises contacting cells with a cationic lipid compound          cyclohexyl and cycloheptyl. Preferred multicyclic
       having at least one, and preferably at least two, cationic 35 cycloalkyl rings include adamantyl, octahydronaphthyl,
                                                                          decalin, camphor, camphane, noradamantyl, bicyclo[2.2.2.]
       groups and a bioactive agent.
                                                                          oct-5-ene, cis-5-norbornene, 5-norbornene, (1R)-(—)-
          These and other aspects of the invention will become
                                                                          myrtentane, norbomane and anti-3-oxo-tricyclo[2.2.1.021
       more apparent from the present specification and claims.
                                                                          heptane.
              BRIEF DESCRIPTION OF THE DRAWINGS                        40
                                                                             "Aryl" refers to an aromatic carbocyclic radical contain-
                                                                          ing about 6 to about 10 carbon atoms. The aryl group may
           FIGS. 1 and 2 are graphical representations of the amount      he optionally substituted with one or more aryl group
       of protein expressed in transfection experiments involving         substituents which may be the same or different, where "aryl
       cationic lipid compounds of the present invention and com-         group substituent" includes alkyl, alkenyl, alkynyl, aryl,
       pounds disclosed in the prior art.                                 aralkyl, hydroxy, alkoxy, aryloxy, aralkoxy, carboxy, aroyl,
                                                                       45
                                                                          halo, nitro, trihalomethyl, cyano, alkoxycarbonyl,
                   DE:FAILED DESCRIPTION OF THE                           aryloxycarbonyl, aralkoxycarbonyl, acyloxy, acylamino,
                               INVENTION                                  aroylamino, carbamoyl, alkylcarbamoyl, dialkylcarbamoyl,
          As employed above and throughout the disclosure, the                     alkylthio, alkylene and —NRR', where R and R' are
       following terms, unless otherwise indicated, shall be under- 50 each independently hydrogen, alkyl, aryl and aralkyl. Exem-
       stood to have the following meanings.                              plary aryl groups include substituted or unsubstituted phenyl
          "Alkyl" refers to an aliphatic hydrocarbon group which          and substituted or unsubstituted naphthyl.
       may be straight or branched having 1 to about 60 carbon               "Acyl" refers to an alkyl-CO— group wherein alkyl is as
       atoms in the chain. "Lower alkyl" refers to an alkyl group         previously described. Preferred acyl groups comprise alkyl
       having 1 to about 8 carbon atoms. "Higher alkyl" refers to 55 of 1 to about 30 carbon atoms. Exemplary acyl groups
       an alkyl group having about 10 to about 20 carbon atoms.           include acetyl, propanoyl, 2-methylpropanoyl, butanoyl and
       The alkyl group may be optionally substituted with one or          palmitoyl.
       more alkyl group substituents which may be the same or                "Aroyl" means an aryl-CO— group wherein aryl is as
       different, where "alkyl group substituent" includes halo,          previously described. Exemplary aroyl groups include ben-
       aryl, hydroxy, alkoxy, aryloxy, alkyloxy, alkylthio, arylthio, 60 zoyl and 1- and 2-naphthoyl.
       aralkyloxy, aralkylthio, carboxy alkoxycarbonyl, oxo and              "Alkoxy" refers to an alkyl-O— group wherein alkyl is as
       cycloalkyl. There may be optionally inserted along the alkyl       previously described. Exemplary alkoxy groups include
       group one or more oxygen, sulphur or substituted or unsub-         methoxy, ethoxy, n-propoxy, i-propoxy, n-butoxy and hep-
       stituted nitrogen atoms, wherein the nitrogen substituent is       toxy.
       lower alkyl. "Branched" refers to an alkyl group in which a 65        "Aryloxy" refers to an aryl-0— group wherein the aryl
       lower alkyl group, such as methyl, ethyl or propyl, is             group is as previously described. Exemplary aryloxy groups
       attached to a linear alkyl chain. Exemplary alkyl groups           include phenoxy and naphthoxy.




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          "Alkylthio" refers to an alkyl-S— group wherein alkyl is          "Amino Acid" refers to a naturally occurring or synthetic
       as previously described. Exemplary alkylthio groups include       amino acid.
       methylthio, ethylthio, i-propylthio and heptylthio.                  "Polypeptide" refers to a biologically active series of two
          "Arylthio" refers to an aryl-S— group wherein the aryl         or more amino acid residues bonded by peptide linkages.
       group is as previously described. Exemplary arylthio groups 5 Polypeptides having about 3 to about 40 amino acid residues
       include phenylthio and naphthylthio.                              are preferred.
          "Aralkyl" refers to an aryl-alkyl- group wherein aryl and         "Phosphate residue" refers to a substituent group which is
       alkyl are as previously described. Exemplary aralkyl groups       derived from phosphoric acid (0=P(OH)3). Preferably, the
       include benzyl, phenylethyl and naphthylmethyl.                   phosphate residue is an ester of phosphoric acid which is
                                                                      10
          "Aralkyloxy" refers to an arallcy1-0— group wherein the        substituted with one or more alkyl and/or alkenyl groups.
       aralkyl group is as previously described. An exemplary            Preferred phosphate esters include phospholipids. Preferred
       aralkyloxy group is benzyloxy.                                    among the phospholipids are phosphoglycerides, with dia-
          "Aralkylthio" refers to an aralkyl-S— group wherein the        cylglycerol phosphates being especially preferred. An exem-
       aralkyl group is as previously described. An exemplary            plary diacylglycerol phosphate is 1,2-dioleoylglycero-3-
       aralkylthio group is benzylthio.                               15 phosphoethyl.
          "Dialkylamino" refers to an —NRR' group wherein each              "Quaternary salt" refers to a type of ammonium, sulfo-
       of R and R' is independently an alkyl group as previously         nium or phosphonium compound in which the hydrogen
       described. Exemplary alkylamino groups include                    atoms of the ammonium, sulfonium or phosphonium ion are
       ethylmethylamino, dimethylamino and diethylamino.              20
                                                                         replaced by alkyl groups. With respect to quaternary ammo-
          "Allcoxycarbonyl" refers to an alkyl-O—CO— group.              nium and phosphonium compounds, the molecular structure
       Exemplary alkoxycarbonyl groups include                           includes a nitrogen or phosphorous atom joined to four
       methoxycarbonyl, ethoxycarbonyl, butyloxycarbonyl and             organic groups, for example, alkyl groups. The molecular
       t-hutyloxycarbonyl.                                               structure of a quaternary sulfonium compound includes a
          "Aryloxycarbonyl" refers to an aryl-0—CO— group. 25 sulfur atom joined to three organic groups. These molecular
       Exemplary aryloxycarbonyl groups include phenoxy- and             structures are positively charged and are generally referred
       naphthoxy-carbonyl.                                               to as cations or cationic groups. The cations are typically,
                                                                         although not necessarily, associated with a negatively
          "Arallcoxycarbonyl" refers to an aralkyl-O—00— group.
                                                                         charged acid radical. The negatively charged radical is
       An exemplary aralkoxycarbonyl group is benzyloxycarbo-
                                                                      30
                                                                         generally referred to as an anion or an anionic group.
       nyl.
                                                                         Exemplary anions include, for example, halides. Quaternary
          "Carbamoyl" refers to an H2N—CO— group.                        salts are generally the product of the final stage of alkylation
          "Alkylcarbamoyl" refers to a R'RN—CO— group                    of nitrogen, sulfur or phosphorous.
       wherein one of R and R' is hydrogen and the other of R and
                                                                            "Lipid" refers to a synthetic or naturally-occurring amphi-
       R' is alkyl as previously described.
                                                                      35 pathic compound which comprises a hydrophilic component
          "Dialkylcarbamoyl" refers to R'RN—CO— group                    and a hydrophobic component. Lipids include, for example,
       wherein each of R and R' is independently alkyl as previ-         fatty acids, neutral fats, phosphatides, glycolipids, aliphatic
       ously described.                                                  alcohols and waxes, terpenes and steroids.
          "Acyloxy" refers to an acyl-O— group wherein acyl is as
                                                                            "Cationic lipid compound" refers to a lipid which com-
       previously described.
                                                                      40 prises a cationic group and which functions generally as a
          "Acylamino" refers to an acyl-NH— group wherein acyl           positively charged ion, for example, in solution. Preferred
       is as previously described.                                       cationic lipid compounds are lipids which comprise at least
          "Aroylamino" refers to an aroyl-NH— group wherein              one cationic group, with lipids which comprise at least two
       aroyl is as previously described.                                 or more cationic groups being more preferred.
          "Alkylene" refers to a straight or branched bivalent ali- 45      "Cationic group" refers to a group which is positively
       phatic hydrocarbon group having from 1 to about 30 carbon         charged. Preferred cationic groups include the positively
       atoms. The alkylene group may he straight, branched or            charged ions of quaternary salts. Exemplary quaternary salts
       cyclic. The alkylene group may be also optionally unsatur-        are ammonium, phosphonium and sulfonium salts.
       ated and/or substituted with one or more "alkyl group
       substituents." There may be optionally inserted along the 50         "Counter ion" refers to an anion. An anion which is
       alkylene group one or more oxygen, sulphur or substituted         "pharmaceutically-acceptable"      is substantially non-toxic
       or unsubstituted nitrogen atoms, wherein the nitrogen sub-        and does not render the associated cation pharmaceutically
       stitucnt is alkyl as previously described. Exemplary alkylenc     unacceptable.
       groups include methylene (—CH2—), ethylene                           "Cationic lipid composition" refers to a composition
       (—CH2CH2—), propylene (—(CH2)3), cyclohexylene 55 which comprises a cationic lipid compound. Exemplary
                         —CH=CH—CH=CH—,                                  cationic lipid compositions include suspensions, emulsions,
                 —(CF2)„(C112)„,—, wherein n is an integer from          vesicular compositions and hexagonal H II phase structures.
       about 1 to about 22 and m is an integer from 0 to about 22,       "Cationic lipid formulation" refers to a composition which
       —(CH2)„—N(R)—(CH2)„,—, wherein each of m and n is                 comprises a cationic lipid compound and a bioactive agent.
       independently an integer from 0 to about 30 and R is 60              "Charge density" refers to charge per unit mass or vol-
       hydrogen or alkyl, methylenedioxy (-0—CH2-0—) and                 ume.
       ethylenedioxy (-0—(CH2)2-0—). It is preferred that the               "Vesicle" or "vesicular species" refers to a spherical entity
       alkylene group has about 2 to about 3 carbon atoms.               which is characterized by the presence of an internal void.
          "Halo" or "halide" refers to fluoride, chloride, bromide or    Preferred vesicles or vesicular species are formulated from
       iodide.                                                        65 lipids, including the cationic lipid compounds of the present
          "Ileteroatom group" refers to a radical which contains at      invention. In any given vesicle or vesicular species, the
       least one heteroatom.                                             lipids may be in the form of a monolayer or bilayer, and the




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       mono- or bilayer lipids may be used to form one or more           and ribonucleic acid (RNA). The genetic material may be
       mono- or bilayers. In the case of more than one mono- or          made by synthetic chemical methodology known to one of
       bilayer, the mono- or bilayers are generally,concentric. The      ordinary skill in the an, or by the use of recombinant
       lipid vesicles or vesicular species include such entities         technology, or by a combination of the two. The DNA and
       commonly referred to as liposomes, micelles and the like. 5 RNA may optionally comprise unnatural nucleotides and
       Thus, the lipids may be used to form a unilamellar vesicle        may be single or double stranded. "Genetic material" refers
       (comprised of one monolayer or bilayer), an oligolamellar         also to sense and anti-sense DNA and RNA, that is, a
       vesicle (comprised of about two or about three monolayers         nucleotide sequence which is complementary to a specific
       or bilayers) or a multilamellar vesicle (comprised of more        sequence of nucleotides in DNA and/or RNA.
       than about three monolayers or bilayers). The internal void ro "Pharmaceutical" or "drug" refers to any therapeutic or
       of the vesicles are generally filled with a liquid, including,    prophylactic agent which is used in the prevention,
       for example, an aqueous liquid, a gas, a gaseous precursor,       diagnosis, alleviation, treatment or cure of a malady,
                                                                         affliction, disease or injury in a patient. Therapeutically
       and/or a solid material, including, for example, a bioactive      useful polynucleotides and polypeptides are included within
       agent.                                                            the definition of drug.
          "Cationic vesicle" or "cationic vesicular composition" 5 "In combination with" refers to the incorporation of a
       refers to a vesicle or vesicular species which is formulated      bioactive agent with a cationic lipid compound of the
       from a cationic lipid compound.                                   present invention. The cationic lipid compound can be
          "Cationic vesicle formulation" refers to a composition of      combined with the bioactive agent in any of a variety of
       a vesicle or vesicular species and a bioactive agent.             different ways. For example, when the cationic lipid corn-
                                                                      20
          "Liposome" refers to a generally spherical cluster or          pound is in the form of a cationic vesicle or a cationic
       aggregate of amphipathic compounds, including lipid               vesicular composition, the bioactive agent may be entrapped
       compounds, typically in the form of one or more concentric        within the internal void of the vesicle. It is also contemplated
       layers, for example, bilayers.                                    that the bioactive agent may be integrated within the layer(s)
          "Emulsion" refers to a lipoidal mixture of two or more 25 or wall(s) of the vesicle, for example, by being interspersed
       liquids and is generally in the form of a colloid. The lipids     among lipids which are contained within the vesicular
       may be heterogeneously dispersed throughout the emulsion.         layer(s) or wall(s). In addition, it is contemplated that the
       Alternatively, the lipids may be aggregated in the form of,       bioactive agent may be located on the surface of a vesicle.
       for example, clusters or layers, including mono- or bilayers.     In this case, the bioactive agent may interact chemically with
                                                                         the surface of the vesicle and remain substantially adhered
          "Suspension" refers to a mixture of finely divided colloi- 30 thereto. Such interaction may take the form of, for example,
       dal particles floating in a liquid.                               electrostatic interactions, hydrogen bonding, van dcr Waal's
          "Hexagonal H II phase structure" refers to a generally         forces or covalent bonding. Alternatively, or in addition to,
       tubular aggregation of lipids in liquid media, for example,       the bioactive agent may interact with the surface of the
       aqueous media, in which the hydrophilic portion(s) of the         vesicle in a limited manner. Such limited interaction would
       lipids generally face inwardly in association with a liquid 35 permit migration of the bioactive agent, for example, from
       environment inside the tube. The hydrophobic portion(s) of        the surface of a first vesicle to the surface of a second
       the lipids generally radiate outwardly and the complex            vesicle.
       assumes the shape of a hexagonal tube. A plurality of tubes          "Intracellular" or "intracellularly" refers to the area within
       is generally packed together in the hexagonal phase struc-        the plasma membrane of a cell, including the protoplasm,
       ture.                                                          40
                                                                         cytoplasm and/or nucleoplasm. "Intracellular delivery"
          "Patient", as used herein, refers to animals, including        refers to the delivery of a bioactive agent into the area within
       mammals, preferably humans.                                       the plasma membrane of a cell.
          "Bioactive agent" refers to a substance which is capable          "Cell" refers to any one of the minute protoplasmic
       of exerting a biological effect in vitro and/or in vivo. The 45 masses which make up organized tissue, comprising a mass
       biological effect is preferably therapeutic in nature. As used    of protoplasm surrounded by a membrane, including nucle-
       herein, "bioactive agent" refers also to substances which are     ated and unnucleated cells and organelles.
       used in connection with an application which is diagnostic           "Immune competence" refers to the ability of the immune
       in nature, such as in methods for diagnosing the presence or      system to protect against pathogens or infectious agents.
       absence of a disease in a patient. The bioactive agents may so       The present invention is directed, in part, to a new class
       be neutral or positively or negatively charged. Preferably,       of cationic lipid compounds which are highly useful in
       the bioactive agents are negatively charged. Examples of          connection with the intracellular delivery of one or more
       suitable bioactive agents include pharmaceuticals and dnigs,      bioactive agents. The new class of lipids are described in
       synthetic organic molecules, proteins, vitamins, steroids,        more detail below.
       polyanions, nucleosides, nucleotides, polynucleotides and 55         Specifically, in one embodiment, the present invention
       diagnostic agents, such as contrast agents for use in con-        relates to a cationic lipid compound of the formula
       nection with magnetic resonance imaging, ultrasound or
       computed tomography of a patient.                                                            (1 —Y3),                            (I)
          "Anionic group" refers to a group which is negatively                                      1
       charged. Preferred anionic groups include phosphate (P0,1) 60            Y1—(17k, —XL), — R2—Dr2 —Rdy—(X1 — R1).- Y1
       groups.                                                           wherein:
          "Anionic bioactive agent" refers to a bioactive agent that        each of x, y and z is independently an integer from 0 to
       comprises at least one anionic group. Certain genetic                   about 100;
       materials, for example, polynucleotides, are exemplary               each X, is independently —0—, —5—, —NR5—,
       anionic bioactive agents.                                      65       —C(=X2)—, —C(=X2)—N(R5)—, —N(R5)—C
          "Genetic material" refers generally to nucleotides and               (=X 2)—, —C(=                      —0—C(=X2)— or
       polynucleotides, including deoxyribonucleic acid (DNA)                  —X2—(RsXDK=X-D—Xz—;




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          each X, is independently 0 or S;                               each Y3 is independently a phosphate residue, N(R6)„- or
          each Y, is independently a phosphate residue, N(126)„-,        -0 O2R6, wherein a is 2 or 3. Preferably, a is 3.
             S(126),,-, P(126)„- or -0O 2126, wherein a is an inte-         In the above formula (I), each of R„ R2, R3 and R4 is
             ger from 1 to 3;                                            independently alkylene of 1 to about 20 carbons. Preferably,
                                                                      5 each of R„ R2, R3 and R4 is independently straight chain
          each Y2 is independently -N(R6)b-, -S(R6)b- or                 alkylene of 1 to about 10 carbons or cycloalkylene of about
            -P(126)b-, wherein h is an integer from 0 to 2;              4 to about 10 carbons. More preferably, each of R„ R2, R3
          each Y3 is independently a phosphate residue, N(R6)„-,         and R4 is independently straight chain alkylene of 1 to about
             S(Z6)a- , P(R6).- or -CO,R6, wherein a is an inte-          4 carbons or cycloalk-ylene of about 5 to about 7 carbons.
             ger from 1 to 3;                                            Even more preferably, each of R„ R2, R3 and R4 is inde-
                                                                     r()
          each of R„ R2, R3 and R4 is independently alkylene of 1        pendently methylene, ethylene or cyclohexylene.
             to about 20 carbons;                                           In the above definitions of X„ X3 and X4, each R5 is
          each R5 is independently hydrogen or alkyl of 1 to about       independently hydrogen or alkyl of 1 to about 10 carbons.
                                                                         Preferably, each R5 is independently hydrogen or alkyl of 1
             10 carbons; and
                                                                         to about 4 carbons. More preferably, R5 is hydrogen.
          each R6 is independently -[R 7-X 31-128 or -12,- 15               In the above definitions of Y„ Y, and Y3, each R6 is
            [Xn- R10]/- Q, wherein:                                      independently -[127-X 31-R, or -12,-Pc-Ricula- Q,
             each of c and d is independently an integer from 0 to       wherein each of c and d is independently an integer from 0
                about 100;                                               to about 100. Preferably, each of c and d is independently an
             each Q is independently a phosphate residue,                integer from 0 to about 50, with integers from 0 to about 20
                - N(R„),7, -S(R11),7, -P(R„)q or -0O 2R„, 20 being more preferred. Even more preferably, each of c and
                wherein q is an integer from 1 to 3;                     d is independently an integer from 0 to about 10, with
             each of X3 and X4 is independently -0-, -S-,                integers from 0 to about 5 being still more preferred. In
                            -C(=X 2)--, -C(=X2)-N(125)-,                 certain particularly preferred embodiments, c is 0 or 1 and
                - N(125)-C(=X2)-, C(,----, X2)-0-,          -0-C         d is 1.
                (=X2)- or -X 2-(R,X.2)P(=--X2)-X,-;                  25     Each Q in R6 above is independently a phosphate residue,
             each R7 is independently alkylene of 1 to about 20          -N(R„),7, -S(R„)„ -P(R11) or -0 O2R11, wherein q is
                carbons;                                                 an integer from I to Preferably, each Q is independently
             each R8 is independently hydrogen or alkyl of 1 to          a phosphate residue, -N(R1,),7 or -CO,R„, wherein q is
                                                                         2 or 3. Preferably, q is 3.
                about 60 carbons;
                                                                            Also in the above definition of R6, each of X3 and X4 is
             each of R, and 1210 is independently alkylene of 1 to 30
                                                                         independently -0-,        -S-, -NR5-, -C(=X2)-,
                about 20 carbons; and                                    - C(=X2)-N(R5)-, -N(R5)-C(=X2)-, -C(=X2)
             each R11 is independently -[R 7-X 3L-12,3 or -129           - 0-, -0-C(=X 2)- or -X 2-(R,X2)P(=X2)-
               [X4-R10]r-W, wherein:                                     X2-, wherein each of X.2 and R5 is independently as
                each W is independently a phosphate residue,             previously described. Preferably, each of X3 and X4 is
                               -S(R,2),„ -P(R„),„ or -CO,R„, 35 independently -C(=0)-NR 6-, -NR5-C(=0)-,
                   wherein w is an integer from 1 to 3; and              - C(=0)-0- or -0-C(=0)-.
                1212 is -[R 7-X 31-128; with the proviso that the           In the definitions of R6, R11 and R12 above, each R7 is
                   compound of formula (I) comprises at least one,       independently alkylene of 1 to about 20 carbons. Preferably,
                   and preferably at least two, quaternary salts.        each R7 is independently alkylene of 1 to about 10 carbons,
          In the above formula (I), each of x, y and z is indepen- 40 with alkylene of 1 to about 4 carbons being preferred. More
       dently an integer from 0 to about 100. Preferably, each of x,     preferably, each R7 is independently methylene or ethylene.
       y and z is independently an integer of from 0 to about 50,           Also in the definitions of R6, R11 and R12 above, each R8
       with integers from 0 to about 20 being more preferred. Even       is independently hydrogen or alkyl of 1 to about 60 carbons.
       more preferably, each of x, y and z is independently an           Preferably, each R8 is independently hydrogen or alkyl of 1
       integer from 0 to about 10, with integers from 0 to about 5 45 to about 40 carbons, with hydrogen or alkyl of 1 to about 20
       being still more preferred. In certain particularly preferred     carbons being more preferred. Even more preferred, each R8
       embodiments, x is 1, y is 2 or 3 and z is 0 or 1.                 is independently hydrogen or alkyl of 1 to about 16 carbons.
          In the above formula (I), each X, is independently -0-,        In certain particularly preferred embodiments, each R8 is
       - S-, -NR,-, -C(=X7)-, -C(=X2)-N(R,)-,                            independently hydrogen, methyl, dodecyl or hexadecyl.
       - N(R 5 )-C(=X 2)-, -C(=X 2)-0-,                    -0-C      so     Each of R9 and R10 in the definitions of R6 and R11 above
       (=X2)- or -X 2-(R 5X2)P(=X2)-X2-. Preferably,                     is independently alkylene of 1 to about 20 carbons.
       each X, is independently -C(=0)-NR,-,                             Preferably, each of R9 and R10 is independently alkylene of
       (=0)-, -C(=0)-0-             or -0-C(=0)-.                        1 to about 10 carbons. More preferably, each of R9 and 12,0
          Each X. in the definitions of X„ X3 and X4 above is            is independently alkylene of 1 to about 4 carbons. Even
       independently 0 or S. Preferably, X2 is 0.                    55 more preferably, each of R9 and 12,0 is independently
          In the above formula (I), each Y, is independently a           methylene or ethylene.
       phosphate residue, N(R6)„-, S(R6),,-, P(R6),,- or                    Each R11 in Q above is independently -[R 7-X 31,-R8
       - 0O2R6, wherein a is an integer from 1 to 3. Preferably,         or -Ro-V4-Rroid-W, wherein each of c, d, X3, X4, R7,
       each Y1 is independently a phosphate residue, N(R6)„- or          R8, R9 and R10 is independently as previously described.
       - 0O2R6, wherein a is 2 or 3. Preferably, a is 3.             60     Each W in R11 above is independently a phosphate
          Each Y, in formula (I) above is independently                  residue, -N(R12),,,, -S(R12),„, -P(R1) k, or -0O2R12,
       - N(R6)b-, -S(126)b- or P R                  wherein b is an      wherein w is an integer from 1 to 3. Preferably, W is a
       integer from 0 to 2. Preferably, Y2 is -N(R6)b-, wherein          phosphate residue, -N(R12)„, or -CO,R,,, wherein w is 2
       b is 1 or 2.                                                      or 3. Preferably, w is 3.
          in the above formula (I), each Y3 is independently a 65           in the above definition of W, R12 is -[R 7-X 3L-R8,
       phosphate residue, N(R6)„-, S(R6)a-, P(R6)„,- or                  wherein each of c, X3, R7 and R8 is independently as
       - 0O2R6, wherein a is an integer from 1 to 3. Preferably,         previously described.




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         In another embodiment of the present invention, there is           Each Y2 in the above definition of R2 is independently
       provided a cationic lipid compound of the formula                 -S(R,)b-, -N(122)b- or -P(R,)b-, wherein b is an
                                                                         integer of from 0 to 2. Preferably, Y2 is -N(R,)b- and b
               Y1- R1- Y1                                         (H)    is 1 or 2.
                                                                      5     In the above definitions of X1, R1, R4, R5 and R6, each R3
       wherein:
                                                                         is independently hydrogen or alkyl of 1to about 10 carbons.
          each Y, is independently a phosphate residue, N(R,)„-,         Preferably, each R3 is independently hydrogen or alkyl of 1
             S(R2)„,-, P(122)„- or -0O2R2, wherein a is an inte-         to about 4 carbons. More preferably, R3 is hydrogen.
             ger from 1 to 3;                                               In the above definition of R2, each of R4 and R5 is
          R, is alkylene of 1 to about 60 carbons containing 0 to 10 independently a direct bond or alkylene of 1 to about 30
             about 30 -0-, -S-, -NR3- or -X 2-(R3X2)P                    carbons containing 0 to about 15 -0-, -S-, -NR3-
            (=X2)-X 2- heteroatoms or heteroatom groups;                 or -X 2-(R3X2)P(=X2)-X 2- heteroatoms or heteroa-
          R2 is a residue of the formula - R4- RX1- RsL- Y-2]            tom groups. Preferably, each of R4 and R5 is independently
                  R6, wherein:                                           a direct bond or alkylene of 1 to about 20 carbons. More
             each of x and y is independently an integer from 0 to 15 preferably, each of R4 and R5 is independently a direct bond,
                about 100;                                               straight chain alkylene of 1 to about 10 carbons or
             each X, is independently a direct bond, -0-, -S-,           cycloalkylene of 4 to about 10 carbons. Even more
                -  NR3 -  , -C(=X2)-,        -C(=--X2)-N(R0-,            preferably, each of R4 and R5 is independently a direct bond,
                - N(R3)--C(=X2)-, -C(=X2)-0-, -0-C                       straight chain alkylene of 1 to about 4 carbons or cycloalky-
               (=X2)- or -X 2-(R3X2A=X 2)-X 2-;                       20 lone of about 5 to about 7 carbons.
             each X2 is independently 0 or S;                               Each R6 in R, above is independently hydrogen or alkyl
             each Y2 is independently -S(R2)b-, -N(R2)b- or              of 1 to about 60 carbons containing 0 to about 30 -0-,
                - P(R,),,-, wherein b is an integer from 0 to 2;         -S-, -NR3- or -X 2-(R3XDP(=X2)-X 2- heteroa-
             each R3 is independently hydrogen or alkyl of 1 to          toms or heteroatom groups. Preferably, each R6 is indepen-
                about 10 carbons;                                     25 dently hydrogen or alkyl of 1 to about 40 carbons. More
             each of R4 and R5 is independently a direct bond or         preferably, each R6 is independently hydrogen or alkyl of 1
                alkylene of 1 to about 30 carbons containing 0 to        to about 20 carbons.
                about 15 -0-, -S-, -NR3- or -X 2-(R3X„)                     In yet another embodiment of the present invention, there
               P(=X2)-X 2- heteroatoms or heteroatom groups;             is provided a cationic lipid compound of the formula
                and                                                   30
             each R6 is independently hydrogen or alkyl of 1 to                                       (R4 - Y3):
                about 60 carbons containing 0 to about 30 -0-,
                                                                                 Y1 -(111-X1),,- R2-[Y2-R3]y-(X1- R1).,-Y1
                - 8-, -NR3- or -X 2-(R3X2)P(=X2)-X 2-
                heteroatoms or heteroatom groups; with the proviso
                that the compound of formula (II) comprises at least 35
                one, and preferably at least two, quaternary salts.
          In the above formula (II), each Y, is independently a                  YL - (Rt - X0x- ER3- Y21,- R2   - ROx - Y1
       phosphate residue, N(R,)„-, S(R2)a , P(R,)„- or                                                (R4-Y3),
       - 0O2122, wherein a is an integer from 1 to 3. Preferably,
       each Y, is independently a phosphate residue, -N(112).- 40 wherein:
       or -0O2R2, wherein a is 2 or 3. Preferably, a is 3.                  each of x, y and z is independently an integer from 0 to
          Also in the above formula (II),R, is alkylene of 1 to about          about 100;
       60 carbons containing 0 to about 30 -0-, -S-,                        each X, is independently -0-,           -8-, -NR3-,
       - NR3 or -X 2-(R3X2)13(=X2)-X 2- heteroatoms or                         - C(=X2)-, -C(=X2)-N(R5)-, -N(R5)-C
       heteroatom groups. Preferably, R, is alkylene of 1 to about 45          (=X2)-, -C(=X2)-0-, -0-C(=X 2)- or
       40 carbons, with alkylene of 1 to about 20 carbons being                - X2- 0ZsLiK=X-2)- X2- ;
       preferred. More preferably, R, is straight chain alkylene of         each X2 is independently 0 or S;
       1 to about 10 carbons or cycloalkylene of about 4 to about
                                                                            each Y, is independently -0-,               -N(R6)„-,
       10 carbons. Even more preferably, R, is straight chain
                                                                               -S(R,),,- or -P(R,)„-, wherein a is an integer
       alkylene of 1 to about 4 carbons or cycloalkylene of about 50
                                                                               from 0 to 2;
       5 to about 7 carbons.
          In the above definition of Y1, R2 is a residue of the             each Y2 is independently -N(R6)Q-, -S(126),- or
       formula -R 4-[(X1-R 5)-Y 2]y-R 6, wherein each of x                     - P(11,)„-, wherein a is an integer from 0 to 2;
       and y is independently an integer from 0 to about 100.               each Y3 is independently a phosphate residue, N(126),--,
       Preferably, each of x and y is independently an integer from 55         S(126)b-, P(R6)b- or -0O2R6, wherein b is an
       0 to about 50, with integers from 0 to about 20 being more              integer from 1 to 3;
       preferred. Even more preferably, each of x and y is inde-            each of R„ R2, R3 and R4 is independently alkylene of 1
       pendently an integer from 0 to about 10.                                to about 20 carbons;
          In the above definition of R2, each X, is independently a         each R, is independently hydrogen or alkyl of 1 to about
       direct bond, -0-,        -S-, --NR3              C(-X 2)-, 60           10 carbons; and
       - C(=X2..)- N(R0)-9 - N(R3)--C(=X2)--, - C(=X-2)                     each R6 is independently -[127-X 31-R8 or -R 9-
       - 0-, -0-C(=X 2)- or -X 2--(R3X2)P(=X2)-                                [X4-121],-Q, wherein:
       X,-. Preferably, X, is a direct bond,-C(=X2)-N(R3)-,                    each of c and d is independently an integer from 0 to
       - N(R3)-C(=X2)-, -C(= X2)-0-                    or -0-C                    about 100;
       (=X2)-.                                                        65       each Q is independently a phosphate residue,
          Each X2 in the above definitions of X1, R1, R4, R5 and R6               -N(R„),7, -S(R„),7, -P(R„)q or -CO,R„,
       is independently 0 or S. Preferably, X2 is 0.                              wherein q is an integer from 1 to 3;




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             each of X3 and X4 is independently -0-, -S-,               integers from 0 to about 5 being still more preferred. In
               - NR,-, -C(=X 2)-, -C(=X 2)-N(R5)-,                      certain particularly preferred embodiments, c is 0 or 1 and
               - 14010 - C(=X2)- , - C(=X0-0- , -0-C                    d is 1.
               (=X2)- or -X 2-(R,X2)P(=--X2)-X 2-;                         Each Q in R6 above is independently a phosphate residue,
             each R7 is independently alkylene of 1 to about 20 5 -N(R „ )1, -S(R„)q,-P(R„)/ or -0O 2R„, wherein q is
               carbons;                                                 an integer from 1 to 3. Preferably, each Q is independently
             each R8 is independently hydrogen or alkyl of 1 to         a phosphate residue, -N(R11),7 or -0O 212„, wherein q is
               about 60 carbons;                                        2 or 3. Preferably, q is 3.
             each of R9 and R10 is independently alkylene of 1 to          Also in the above definition of R6, each of X3 and X4 is
               about 20 carbons; and                                 10 independently -0-,        -S-, -NR5-, -C(=X2)--,
             each R„ is independently -{ R7-X 3]- R8 or -R 9            - C(=X7)-N(R5)-,                                -C(=-X2)-
               [X4- Rio]d- W, wherein:                                  0-, -0-C(=X 2)- or -X 2-(R,X2)P(=X2)-X2-,
               each W is independently a phosphate residue,             wherein X2 and R5 are as previously described. Preferably,
                  -N(1212).„ -S(R12)„,, -P(1212),, or -0O 21212,        each of X3 and X4 is independently
                  wherein w is an integer from 1 to 3; and           15 -NR,-C(=0)-, -C(=0)-0-                    or -0-C(=0)-.
               R1., is -[R 7-X 3L-R,; with the proviso that the            In the definitions of R6, R„ and R12 above, each R7 is
                  compound of formula (III) comprises at least one,     independently alkylene of 1 to about 20 carbons. Preferably,
                  and preferably at least two, quaternary salts.        each R7 is independently alkylene of 1 to about 10 carbons,
          In the above formula        each of x, y and z is indepen-    with alkylene of 1 to about 4 carbons being preferred. More
       dently an integer from 0 to about 100. Preferably, each of x, 20 preferably, each R7 is independently methylene or ethylene.
       y and z is independently an integer from 0 to about 50, with        Also in the definitions of R6, R11 and 1212 above, each R8
       integers from 0 to about 20 being more preferred. Even more      is independently hydrogen or alkyl of 1 to about 60 carbons.
       preferably, each of x, y and z is independently an integer       Preferably, each R8 is independently hydrogen or alkyl of 1
       from 0 to about 10. Still more preferably, each of x, y and      to about 40 carbons, with hydrogen or alkyl of 1 to about 20
       z is independently an integer from 0 to about 5. In certain 25 carbons being more preferred. In certain particularly pre-
       particularly preferred embodiments, x is 1, y is 2 or 3 and z    ferred embodiments, each R8 is independently hydrogen,
       is 0 or 1.                                                       methyl, dodecyl or hexadecyl.
          In the above formula (III), each X, is independently             Each of R9 and R10 in the definitions of R6 and R11 above
       _0_,              _NR5_ ,                      -c(=x 2)-N        is independently alkylene of 1 to about 20 carbons.
       (R5)-, -N(R,)-C(=X2)-, -C(=X,)-0-, -0-C 30 Preferably, each of 129 and R10 is independently alkylene of
       (=X2)- or -X 2-(R,X2)P(=X2)-X2-. Preferably,                     1 to about 10 carbons. More preferably, each of R9 and R10
       each X, is independently -C(=0)-NR,-, -NR,-C                     is independently alkylene of 1 to about 4 carbons. Even
       (=0)-, -C(=0)-0-            or -0-C(=0)-.                        more preferably, each of R9 and R10 is independently
          In the above definitions of X1, X3 and X4, each X2 is         methylene or ethylene.
       independently 0 or S. Preferably, X2 is 0.                    35    In Q above, each R11 is independently -[127-XL-R 8
          Each Y1 in formula (III) above is independently -0-,          or -R,-[X 4-R, 0],-W, wherein each of c, d, X3, X4, R7,
       - N(126)„-, -S(R6)„- or -P(126)„-, wherein a is an               R8, R9 and R10 is independently as previously described.
       integer from 0 to 2. Preferably, Y1 is -N(126)„-, wherein           Each W in R11 above is independently a phosphate
       a is 1 or 2.                                                     residue, -N(R12), -S(R12), - P( 112). or -- 00 z1Z12,
          Each Y, in formula (III) above is independently 40 wherein w is an integer from 1 to 3. Preferably, each W is
       - N(126)„-, -S(R6).- or -P(R6)„-, wherein a is an                independently a phosphate residue, -N(R12)„. or
       integer from 0 to 2. Preferably, Y2 is -N(126)„-.                - 0O21112, wherein w is 2 or 3. Preferably, w is 3.
          In the above formula (III), each Y3 is independently a           In W above, R12 is -[R 7-X 31.-R8, wherein each of c,
       phosphate residue, N(R6)b-, S(R6)h-, P(R6)h- or                  X3, R7 and RR is independently as previously described.
       - 0O2R6, wherein b is an integer from 1 to 3. Preferably, 45        In the above formulas, it is intended that when any symbol
       each Y3 is independently a phosphate residue or N(R6)b-,         appears more than once in a particular formula or
       wherein b is 2 or 3. Preferably, b is 3.                         substituent, its meaning in each instance is independent of
          In the above formula (III), each of R1, R2, R3 and R4 is      the other.
       independently alkylene of 1 to about 20 carbons. Preferably,        Also in the above formulas, it is intended that when each
       each of R„ R2, R3 and R4 is independently straight chain so of two or more adjacent symbols is defined as being "a direct
       alkylene of 1 to about 10 carbons or cycloallcylene of about     bond" to provide multiple, adjacent direct bonds, the mul-
       4 to about 'I0 carbons. More preferably, each of R1, R2, R3      tiple and adjacent direct bonds devolve into a single direct
       and R4 is independently straight chain alkylene of 1 to about    bond.
       4 carbons or cycloallcylene of about 5 to about 7 carbons.          The compounds of formulas (I), (II) and (III) above are
       Even more preferably, each of R1, R„ R3 and R4 is inde- 55 exemplary of the cationic lipid compounds which are the
       pendently methylene, ethylene or cyclohexylene.                  subject of the present invention. The cationic or positively
          In the above definitions of X1, X3 and X4, each R5 is         charged properties of the cationic lipid compounds is due to
       independently hydrogen or alkyl of 1 to about 10 carbons.        the presence of at least one cationic group. In preferred
       Preferably, each R5 is independently hydrogen or alkyl of 1      embodiments, at least two cationic groups are present in the
       to about 4 carbons. More preferably, R5 is hydrogen.          60 cationic lipid compounds of the present invention. The
          In the above definitions of Y1, Y2 and Y3, each R6 is         existence of the cationic groups imparts desirable and ben-
       independently -[127-X 3L-R, or -R,-[X 4-R io].--019              eficial properties to the cationic lipid compounds, such
       wherein each of c and d is independently an integer from 0       properties being absent from lipid compounds known here-
       to about 100. Preferably, each of c and d is independently an    tofore. In particular, the cationic lipid compounds of the
       integer from 0 to about 50, with integers from 0 to about 20 65 present invention possess improved ability to hind and/or
       being more preferred. Even more preferably, each of c and        chelate with bioactive agents relative to lipid compounds of
       d is independently an integer from 0 to about 10, with           the prior art. This binding and/or chelation of the present




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       cationic lipid compounds with bioactive agents is referred to          In embodiments in which the cationic group comprises a
       generally hereinafter as "interaction". Accordingly, the cat-       quaternary salt, the cationic lipid compound is generally,
       ionic lipid compounds of the present invention are particu-         although not necessarily, associated with a counter ion.
       larly suitable for use as carriers for bioactive agents and for     Preferably, the counter ion is a pharmaceutically-acceptable
       the intracellular delivery of bioactive agents.                  5 counter ion.
          While the inventors do not wish to be bound by any theory           In certain preferred embodiments of the present invention,
       or theories of operation, it is believed that the improved          the counter ion is selected from the group consisting of
       ability of the cationic lipid compounds of the present inven-       halide, R13S03, 1113CO2, phosphate, sulfite, nitrate,
       tion to interact with bioactive agents is due, at least in part,    gluconate, guluronate, galacturonate, estolate and mesylate,
                                                                           wherein R 13 is hydrogen, alkyl of 1 to about 20 carbons or
       to the enhanced charge densities of the present lipid com- 10
                                                                           aryl of about 6 to about 10 carbons. Preferably, R 13 is
       pounds. In this connection, the present cationic lipid com-         hydrogen or alkyl of 1 to about 10 carbons or phenyl. In
       pounds possess an increased, positive charge density due to         other preferred embodiments, the counter ion is halide
       the existence of at least one, and preferably at least two,         (fluoride, chloride, bromide or iodide), with iodide being
       cationic groups. As discussed in detail below, this enhanced        preferred. Various other counter ions, including pharmaceu-
       charge density results in unexpectedly desirable interaction 15 tically acceptable counter ions, would be apparent to one
       with bioactive agents.                                              skilled in the art based on the present disclosure.
          Bioactive agents, whether neutral (uncharged) or posi-              As those skilled in the art will recognize, once placed in
       tively or negatively charged, typically contain a dipole            possession of the present invention, cationic lipid composi-
       moment and/or one or more heteroatoms, for example,                 tions may be readily formulated from the cationic lipid
       nitrogen, oxygen and sulfur atoms. These heteroatoms gen- 20 compounds. Depending on the desired physical properties,
       erally possess one or more unshared pairs of electrons. It is       cationic lipid compositions may be prepared from the cat-
       believed that the positively charged lipid compounds of the         ionic lipid compounds, alone or in combination with other
       present invention electrostatically interact with the nega-         materials, for example, materials which act to stabilize the
       tively charged region of the dipole moment and/or with the          composition.
       unshared pair(s) of electrons on the heteroatoms.                25    It is generally desirable to combine the cationic lipid
          The cationic lipid compounds of the present invention            compounds with other materials, including stabilizing
       possess particularly improved abilities to interact with bio-       materials, for example, additional amphipathic compounds,
       active agents which are anionic and which contain one or            to stabilize and/or otherwise improve the properties of the
       more anionic groups. Such anionic bioactive agents possess          compositions. Compositions which are prepared from the
       a greater negative charge density relative to neutral or 30 present cationic lipid compounds and additional amphip-
       positively charged bioactive agents.                                athic compounds include, for example, suspensions,
          Due to the improved ability of the cationic lipid com-           emulsions, vesicles and hexagonal II II phase structures.
       pounds of the present invention to interact with bioactive             A wide variety of materials which act to stabilize the
       agents, the present lipid compounds are particularly suitable       compositions of the present invention are readily available
       for use as carriers for the intracellular delivery of bioactive 35 and would be apparent to a person skilled in the art based on
       agents. Thus, the cationic lipid compounds of the present           the present disclosure. Included among such materials are
       invention are particularly applicable for use in vitro and/or       additional amphipathic compounds, such as lipids, and fatty
       in vivo in methods for the treatment of diseases, including         materials. 'I'he particular stabilizing material which is ulti-
       genetic diseases, which involve or require the intracellular        mately combined with the present cationic lipid compounds
       delivery of bioactive agents.                                    40 may be selected as desired to optimize the properties of the
          As discussed in detail below, the cationic lipid compounds       resulting composition. It is believed that suitable stabilizing
       are also particularly suitable for use in the formulation of        materials are readily identifiable and that compositions of
       cationic vesicles, including micelles and liposomes. The            the present cationic lipid compounds can be prepared by out
       inventors have found that cationic liposomes are also par-          skilled in the art without undue experimentation.
       ticularly suitable for use as carriers for the intracellular 45        It is also desirable, in certain instances, to combine the
       delivery of bioactive agents.                                       cationic lipid compounds with a material which is capable of
          As noted above, the cationic lipid compounds of the              promoting fusion of the lipid with the cell membrane. Such
       present invention comprise at least one, and preferably at          materials enhance the ability of the cationic lipid composi-
       least two, cationic groups. In an alternate embodiment, the         tions to deliver intracellularly the bioactive agent. Certain of
       cationic lipid compounds comprise more than at least two so such materials are capable also of promoting gene expres-
       cationic groups, for example, at least three cationic groups.       sion. These latter materials are particularly suitable for use
       In another alternate embodiment, the cationic lipid com-            in the transfection of genetic material. Examples of materials
       pounds comprise at least four cationic groups. In yet another       which are capable of promoting fusion of the cationic lipid
       alternate embodiment, the cationic lipid compounds com-             composition with cell membranes include, for example,
       prise at least five cationic groups. In certain embodiments, 55 ammonium sulfate, cytochalasin B, chloroquine, glycerol,
       the cationic lipid compounds comprise more than five cat-           propylene glycol and poly(ethylene glycol).
       ionic groups.                                                          In one embodiment of the invention, a cationic lipid
          For purposes of illustration only, and not for purposes of       composition is provided which comprises a cationic lipid
       limitation, cationic groups may be provided, for example, in        suspension and/or emulsion. Lipid suspensions and emul-
       the compounds of formula (I) by the group Y1. Thus, for 60 sions are well known and may be prepared using conven-
       example, when Y, in formula (I) is N(126)„— and a is 3, a           tional techniques. As those skilled in the art will recognize,
       quaternary salt is formed in that the nitrogen atom of Y, is        a suspension is a mixture of finely divided particles floating
       bonded to four other carbon atoms. The nitrogen atom is             in a liquid, and an emulsion is a colloidal mixture of two or
       therefore positively charged.                                       more liquids. The components of the suspension/emulsion
          Other cationic groups, in addition to the cationic groups 65 are generally mixed together by mechanical agitation,
       discussed above, would be apparent to one of ordinary skill         optionally but preferably in the presence of small amounts of
       in the art based on the present disclosure.                         additional substances known as emulsifiers.




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          Typically, in preparing the suspension/emulsion, the cat-       which may be combined with the cationic lipid compounds
       ionic lipid compounds may he added to ethanol or chloro-           to stabilize the micellar compositions produced therefrom
       form or any other suitable organic solvent and agitated by         include lauryltrimethylammonium bromide, cetyltrimethy-
       hand or by using mechanical techniques. The solvent is then        lain mon imp bromide, myristyl trimethylammonium
       evaporated from the mixture leaving a dried glaze of cat- 5 bromide, alkyldimethylbenzylammonium chloride, wherein
       ionic lipid. The lipids arc resuspended in aqueous media,          the alkyl group is about 12 to about 16 carbons, benzyldim-
       such as phosphate buffered saline, resulting in a suspension/      eth yldodecy[ammonium bromide or chloride, benzyldimeth-
       emulsion. To achieve a more homogeneous size distribution          ylhexadecylammonium bromide or chloride, benzyldimeth-
       of the involved lipids, the mixture may be sonicated using         yltetradecylammonium bromide or chloride,
       conventional sonication techniques as well as microfluidi- 10 cetyldimethylethylammonium bromide or chloride, cetylpy-
       zation (using, for example, a MICROFLUIDIZERTM,                    ridinium bromide and chloride and lauryl sulfate.
       Newton, Mass.), and/or high pressure extrusion (such as, for          Other materials for stabilizing the micellar compositions,
       example, 600 psi) using an Extruder Device (Lipex                  in addition to those exemplified above, would be apparent to
       Biomembranes, Vancouver, Canada). The lipid may be also            one skilled in the art based on the present disclosure.
       subjected to one or more alternating cycles of freezing and 15        As noted above, the cationic vesicular composition may
       thawing to promote the formation of a substantially uniform        comprise cationic liposomes. Cationic liposomes are par-
       suspension/emulsion. In addition, a salt, for example,             ticularly effective as carriers for the intracellular delivery of
       sodium chloride, is optionally added to the suspension/            bioactive agents and are therefore preferred cationic lipid
       emulsion in a concentration of about 0.05 molar (M) to             compositions. The present cationic liposomes are highly
       about 1.OM to promote the formation of substantially uni- 20 stable and permit substantially complete entrapment of a
       form dispersions. Bioactive agents may be added to the             bioactive agent within the vesicle. Thus, compositions
       cationic lipid compounds during the preparation of the             which comprise cationic liposomes are highly effective
       suspension/emulsion, such as at the stage where the lipids         carriers for the transfection of bioactive agents in that the
       are added to the organic solvent or at other stages of             liposomes are capable of (A) effectively interacting with the
       preparation, or may be added after the cationic lipid 25 bioactive agent by virtue of electrostatic forces (as discussed
       suspension/emulsion has been formed, as desired. in pre-           above in connection with the cationic lipid compounds,
       paring the suspensions/emulsions, particularly useful addi-        generally); and (B) entrapping the bioactive agent within the
       tives are, for example, soybean lecithin, glucose, Pluronic        liposome vesicle. The cationic liposomes are also highly
       F-68, and D,L-a-tocopherol (Vitamin E), generally in an            biocompatible.
       amount of about 0.03 to about 5 percent by weight. These 30           The cationic liposome compositions may comprise one or
       additives are particularly useful where intravenous applica-       more cationic lipid compounds. In any given liposome, the
       tions are desired. Techniques and ingredients for formulating      cationic lipid compound(s) may be in the form of a mono-
       lipid suspensions/emulsions are well known in the art and          layer or bilayer, and the mono- or bilayer lipids may be used
       are applicable to the present cationic suspensions/emulsions.      to form one or more mono- or bilayers. In the case of more
       Suitable procedures and suspension/emulsion ingredients 35 than one mono- or bilayer, the mono- or bilayers are
       are reported, for example, in Modern Pharmaceutics, pp.            generally concentric. Thus, the lipids may be used to form
       505-507, Gilbert Baker and Christopher Rhodes, eds., Mar-          a unilamellar liposome (comprised of one monolayer or
       cel Dekker Inc., New York, N.Y. (1990), the disclosures of         bilayer), an oligolamellar liposome (comprised of two or
       which are hereby incorporated herein by reference in its           three monolayers or bilayers) or a multilamellar liposome
       entirety.                                                       40 (comprised of more than three monolayers or bilayers).
          In another embodiment of the invention, a cationic lipid           As with the suspensions/emulsions and micelles above,
       composition is provided which comprises a cationic vesicu-         cationic liposome compositions are preferably formulated
       lar composition. The cationic vesicular composition may            from both the present cationic lipid compounds and addi-
       comprise micelles and/or liposomes. With particular refer-         tional stabilizing materials, including additional amphip-
       ence to cationic micelle compositions, the following discus- as athic compounds. In the case of liposomes, the additional
       sion is provided.                                                  amphipathic compounds preferably comprise lipids. A wide
          Micelles may be prepared using any one of a variety of          variety of additional lipids are available which may be
       conventional micellar preparatory methods which will be            incorporated into the liposome compositions. Preferably, the
       apparent to those skilled in the art. These methods typically      lipids are selected to optimize certain desirable properties of
       involve suspension of the cationic lipid compound in an so the liposomes, including serum stability and plasma half-
       organic solvent, evaporation of the solvent, resuspension in       life. The selection of suitable lipids in the preparation of
       an aqueous medium, sonication and centrifugation. The              cationic liposome compositions would he apparent to a
       foregoing methods, as well as others, are discussed, for           person skilled in the art and can be achieved without undue
       example, in Canfield et al., Methods in Enzymology, Vol.           experimentation, based on the present disclosure.
       189, pp. 418-422 (1990); El-Gorab et al, Biochem. Biophys. 55         Lipids which may be used in combination with the resent
       Acta, Vol. 306, pp. 58-66 (1973); Colloidal Surfactant,            cationic lipid compounds and in the formulation of cationic
       Shinoda, K., Nakagana, Tamamushi and Isejura, Academic             liposome compositions include ZONYLTM fluoro surfac-
       Press, NY (1963) (especially "The Formation of Micelles",          tants (DuPont Chemicals, Wilmington, Del.) and the
       Shinoda, Chapter 1, pp. 1-88); Catalysis in Micellar and           fluorine-containing compounds which are described in the
       Macro molecular Systems, Fendler and Fendler, Academic 60 following publications: S. Gaentzler et al., New Journal of
       Press, NY (1975). The disclosures of each of the foregoing         Chemistry, Vol. 17(5), pp. 337-344 (1993); C. Santaella et
       publications are incorporated by reference herein, in their        al., New Journal of Chemistry, Vol. 16(3), pp. 399-404
       entirety. The micelles may be prepared in the presence of a        (1992); and L. sole- Violan„New Journal of Chemistry, Vol.
       bioactive agent or the bioactive agent may be added to             17(8,9), pp. 581-583 (1993); the disclosures of each of
       pre-formed micelles.                                            65 which are hereby incorporated by reference, in their entire-
          It is generally desirable to include one or more stabilizing    ties. Other exemplary lipids which may be used in the
       materials in the micellar compositions. Exemplary materials        preparation of cationic liposome compositions include phos-




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       phatidylcholine with both saturated and unsaturated lipids,          thawing. The liposomes may also be prepared by various
       including             dioleoylphosphatidylcholine,                   processes which involve shaking or vortexing. This may he
       dimyristoylphosphatidylcholine, dipalmitoylphosphatidyl-             achieved, for example, by the use of a mechanical shaking
       choline (DPPC) and distearoylphosphatidylcholine;                    device, such as a WIG-L-BUGTh (Crescent Dental, Lyons,
       phosphatidylethanolamines, such as dioleoylphosphatidyle- 5 III.). Conventional microemulsification quipment, such as a
       thanolamine and dipalmitoylphosphatidylethanolamine                  MICROFLUIDIZERTM (Microfluidics, Woburn, Mass.)
       (DPPE); phosphatidylserine; phosphatidylglycerol; sphin-             may be used also.
       golipids; sphingornyelin; lysolipids; glycolipids, such as              Additional methods for the preparation of liposome
       ganglioside GM1; glucolipids; sulfatides; glycosphingolip-           ompositions from the cationic lipid compounds of the resent
       ids; phosphatidic acids, such as dipalmitoylphosphatidic io invention include, for example, sonication, chelate dialysis,
       acid (DPPA); palmitic acid; stearic acid; arachidonic acid;          homogenization, solvent infusion, spontaneous formation,
       oleic acid; fatty acids; lipids with ether and ester-linked fatty    solvent vaporization, controlled detergent dialysis, and
       acids; polymerizable lipids; cholesterol, cholesterol sulfate        others, each involving the preparation of liposomes in vari-
       and cholesterol hemisuccinate; 12-{[(7'-                             ous fashions. Methods which involve freeze-thaw tech-
       d ie t h yla m in ocou m a rin- 3 -yl)carbonyl] 15 piques are preferred in connection with the preparation of
       methylamino}octadecanoic acid; N-[12-{[(7'-                          liposomes from the cationic lipid compounds of the present
       diethylaminocoumarin-3-yl)carbonyl]methylamino}-                     invention. Suitable freeze-thaw techniques are described, for
       octadecanoy1]-2-aminopalmitic acid; cholesteryl-4'-                  example, in copending U.S. application Ser. No. 07/838,504
       trimethylaminobutanoate; N-succinyldioleoylphosphatidyl-             now abandoned, filed Feb. 19, 1992, the disclosures of
       ethanolamine; 1,2-dioleoyl-sn-glycerol; 1,2-dipalmitoyl-sn- 20 which arc incorporated herein by reference in their entirety.
       3-succinylglycerol; 1,3-dipalmitoyl-2-succinyl-glycerol;             Preparation of the liposomes may be carried out in a
       1-hexadecy1-2-palmitoylglycerophosphatidylethanolamine;              solution, such as an aqueous saline solution, aqueous phos-
       and pahnitoylhomocysteine.                                           phate buffer solution, or sterile water, containing one or
          Lipids bearing polymers, including the hydrophilic poly-          more bioactive agents, so that the bioactive agent is encap-
       mers poly(ethylene glycol) (PEG), polyvinylpyrrolidone, 25 sulated in the liposome or incorporated into the liposome
       and poly(vinyl alcohol), may also he included in the lipo-           membrane. Alternatively, the bioactive agents may he added
       some compositions of the present invention. Examples of              to previously formed liposomes.
       suitable hydrophilic polymers include, for example, PEG                 The size of the liposomes can be adjusted, if desired, by
       2,000, PEG 5,000 and PEG 8,000, which have molecular                 a variety of techniques, including extrusion, filtration, soni-
       weights of 2,000, 5,000 and 8,000, respectively. Other 30 cation and homogenization. In addition, the size of the
       suitable polymers, hydrophilic and otherwise, will be readily        liposomes can be adjusted by the introduction of a laminar
       apparent to those skilled in the art based on the present            stream of a core of liquid into an immiscible sheath of liquid.
       disclosure. Polymers which may be incorporated via alky-             Other methods for adjusting the size of the cationic lipo-
       lation or acylation reactions onto the surface of the liposome       somes and for modulating the resultant liposomal biodistri-
       are particularly useful for improving the stability and size 35 bution and clearance of the liposomes would be apparent to
       distribution of the liposomes. Exemplary lipids which bear           one skilled in the art based on the present disclosure.
       hydrophilic polymers include, for example,                           Preferably, the size of the cationic liposomes is adjusted by
       dipalmitoylphosphatidylethanolamine-PEG,                             extrusion under pressure through pores of a defined size.
       dioleoylphosphatidylethanolamine-PEG and                             Although liposomes employed in the subject invention may
       distearylphosphatidyl-ethanolamine-PEG.                           40 be of any one of a variety of sizes, preferably the liposomes
          Other materials for use in the preparation of cationic            are small, that is, less than about 100 nanometer (nm) in
       liposome compositions, in addition to those exemplified              outside diameter.
       above, would be apparent to one skilled in the art based on             Many of the foregoing liposonial preparatory techniques,
       the present disclosure.                                              as well as others, are discussed, for example, in U.S. Pat. No.
          The amount of stabilizing material, such as, for example, 45 4,728,578; U.K. Patent Application GB 2193095 A; U.S.
       additional amphipathic compound, which is combined with              Pat. No. 4,728,575; U.S. Pat. No. 4,737,323; International
       the present cationic lipid compounds may vary depending              Application Serial No. PCT/US85/01161; Mayer et al.,
       upon a variety of factors, including the specific cationic lipid     Biochimica et Biophysica Acta, Vol. 858, pp. 161-168
       compound(s) of the invention selected, the specific stabiliz-        (1986); Hope et al.,Biochimica et Biophysica Acta, Vol. 812,
       ing material(s) selected, the particular use for which it is so pp. 55-65 (1985); U.S. Pat. No. 4,533,254; Mayhew et al.,
       being employed, the mode of delivery, and the like. The              Methods in Enzymology, Vol. 149, pp. 64-77 (1987); May-
       amount of stabilizing material to he combined with the               hew et al., Biochimica et Biophysica Acta, Vol 755, pp.
       present cationic lipid compounds in a particular situation,          169-74 (1984); Cheng et al, Investigative Radiology, Vol.
       and the ratio of stabilizing material to cationic lipid              22, pp. 47-55 (1987); International Application Serial No.
       compound, will vary and is readily determinable by one 55 PCDUS89/05040; U.S. Pat. No. 4,162,282; U.S. Pat. No.
       skilled in the art based on the present disclosure. In general,      4,310,505; U.S. Pat. No. 4,921,706; and Liposome
       for example, it has been found that higher ratios, that is,          Technology, Gregoriadis, G., ed., Vol. I, pp. 29-31, 51-67
       ratios higher than about 4:1, 3:1 or 2:1, of cationic lipid          and 79-108 (CRC Press Inc., Boca Raton, Fla. 1984), the
       compound to stabilizing lipid, are preferred.                        disclosures of each of which are hereby incorporated by
          A wide variety of methods are available in connection 60 reference herein, in their entirety.
       with the preparation of cationic liposome compositions.                 Although any of a number of varying techniques can be
       Accordingly, the cationic liposomes may be prepared using            used, the liposomes of the present invention are preferably
       any one of a variety of conventional liposome preparatory            prepared using a shaking technique. Preferably, the shaking
       techniques which will be apparent to those skilled in the art.       techniques involve agitation with a mechanical shaking
       These techniques include solvent dialysis, French press, 65 apparatus, such as a WIG-i.-BUG"' (Crescent Dental,
       extrusion (with or without freeze thaw), reverse phase               Lyons, Ill.), such as those disclosed in copending U.S.
       evaporation, microemulsitication and simple freeze-                  application Ser. No. 160,232, filed Nov. 30,1993, (issued as




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       U.S. Pat. No. 5,542,935), the disclosures of which are                 Preferably, the gaseous precursor is a salt which is
       hereby incorporated herein by reference in their entirety.          selected from the group consisting of an alkali metal salt, an
          As those skilled in the art will recognize, any of the           ammonium salt and mixtures thereof. More preferably, the
       cationic lipid compounds and compositions containing the            salt is selected from the group consisting of carbonate,
       cationic lipid compounds, with or without bioactive agents, 5 bicarbonate, sesquecarbonate, aminomalonate and mixtures
       may be lyophilized for storage, and reconstituted in, for           thereof.
       example, an aqueous medium (such as sterile water or                   Examples of gaseous precursor materials for use in the
       phosphate buffered solution, or aqueous saline solution),           cationic lipid compositions of the present invention include
       with the aid of vigorous agitation. To prevent agglutination        lithium carbonate, sodium carbonate, potassium carbonate,
       or fusion of the lipids as a result of lyophilization, it may be 10 lithium bicarbonate, sodium bicarbonate, potassium
       useful to include additives which prevent such fusion or
       agglutination from occurring. Additives which may be use-           bicarbonate, magnesium carbonate, calcium carbonate,
       ful include sorbitol, mannitol, sodium chloride, glucose,           magnesium bicarbonate, ammonium carbonate, ammonium
       trehalose, polyvinylpyrrolidone and poly(ethylene glycol),          bicarbonate,     ammonium sesquecarbonate, sodium
       for example, PEG 400. These and other additives arc                 sesquecarbonate, sodium aminomalonate and ammonium
       described in the literature, such as in the U.S. Pharmacopeia, 15 aminomalonate. Aminomalonate is well known in the art,
       USP XXII, NF XVII, The United States Pharmacopeia, The              and its preparation is described, for example, in "Thanas.si,
       National Formulary, United States Pharmacopeia! Conven-             Biochemistry, Vol. 9, no. 3, pp. 525-532 (1970); Fitzpatrick
       tion Inc., 12601 1Nvinbrook Parkway, Rockville, Md. 20852,          et al., Inorganic Chemistry, Vol. 13, no. 3 pp. 568-574
       the disclosures of which are hereby incorporated herein by          (1974); and Stclmashok et al., Koordinatsionnaya Khimiya,
       reference in their entirety. Lyophilized preparations gener- 20 Vol. 3, no. 4, pp. 524-527 (1977). The disclosures of these
       ally have the advantage of greater shelf life.                      publications are hereby incorporated herein by reference.
          The inventors have found that intracellular delivery of             In addition to, or instead of, being sensitive to changes in
       bioactive agents through the use of cationic lipid                  pH, the gaseous precursor materials may also comprise
       compositions, including suspensions/emulsions and vesicu-           compounds which are sensitive to changes in temperature.
       lar compositions, may be enhanced by the presence of a 25 Such temperature sensitive agents include materials which
       gaseous substance. it is contemplated that the gaseous              have a boiling point of greater than about 37° C. Exemplary
       substance promotes uptake by cells of the bioactive agent.          temperature sensitive agents are methyl lactate, perfluoro-
       Thus, in certain preferred embodiments, a gas, such as an           pentane and perfluorohexane. The gaseous precursor mate-
       inert gas, is incorporated in the cationic lipid compositions.      rials may be also photoactivated materials, such as diazo-
       Alternatively, a precursor to a gaseous substance may be 30 nium ion and aminomalonate. As discussed more fully
       incorporated in the cationic lipid compositions. Such pre-          hereinafter, certain lipid compositions, and particularly
       cursors include, for example, materials which are capable of        vesicular compositions, may be designed so that gas is
       converting in vivo to a gas, and preferably, to an inert gas.       formed at the target tissue or by the action of sound on the
          Preferred gases are gases which are inert and which are          particle. Examples of gaseous precursors are described, for
       biocompatible, that is, gases which are not injurious to 35 example, in U.S. Pat. Nos. 5,088,499 and 5,149,319. These
       biological function. Preferable gases include those selected        patents are hereby incorporated herein by reference in their
       from the group consisting of air, noble gases, such as helium,      entirety. Other gaseous precursors, in addition to those
       neon, argon and xenon, carbon dioxide, nitrogen, fluorine,          exemplified above, will be apparent to one skilled in the art
       oxygen, sulfur hexafluoride, fl uorocarbons,                        based on the present disclosure.
       perfluorocarbons, and mixtures thereof. Other gases, includ- 40        In certain preferred embodiments, a gaseous agent, for
       ing the gases exemplified above, would be readily apparent          example, air or a perfluorocarbon gas, is combined with a
       to one skilled in the art based on the present disclosure.          liquid perfluorocarbon, such as perfluorohexane,
          In preferred embodiments, the gas comprises a perfluo-           perfluoroheptane, perfluorooctylbromide (PFOB),
       rocarbon. Preferably, the perfluorocarbon is selected from          perfluorodecalin, perfluorododecalin, perfluorooctyliodide,
       the group consisting of perfluoromethane, perfluoroethane, 45 perfluorotripropylamine and perfluorotributylamine.
       perfluoropropane, perfluorobutane, perfluorocyclobutane,               A preferred composition for use in the intracellular deliv-
       and mixtures thereof. More preferably, the perfluorocarbon          ery of a bioactive agent, for example, genetic material,
       gas is perfluoropropane or perfluorobutane, with perfluoro-         comprises a bioactive agent, a perfluorocarbon gas and a
       propane being particularly preferred.                               gaseous precursor which has a boiling point of greater than
          As noted above, it may also be desirable to incorporate in so about 37° C., such as perlluoropentane. As discussed in
       the cationic lipid compositions a precursor to a gaseous            detail below, energy, for example, heat or ultrasound, is
       substance. Such precursors include materials that are               preferably applied to the patient after the administration of
       capable of being converted in vivo to a gas. Preferably, the        the composition and to assist in the intracellular delivery of
       gaseous precursor is biocompatible, and the gas produced in         the bioactive agent.
       vivo is biocompatible also.                                      55    The gaseous substances and/or gaseous precursors are
          Among the gaseous precursors which are suitable for use          preferably incorporated in the cationic lipid compositions of
       in the present compositions are pH sensitive agents. These          the present invention irrespective of the physical nature of
       agents include materials that are capable of evolving gas, for      the composition. Thus, it is contemplated that the gaseous
       example, upon being exposed to a pH that is neutral or              substances and/or precursors thereto are incorporated in
       acidic. Examples of such pH sensitive agents include salts of 60 compositions which are suspensions/emulsions or vesicular
       an acid which is selected from the group consisting of              compositions, including micelles and liposomes. Incorpora-
       inorganic acids, organic acids and mixtures thereof. Car-           tion of the gaseous substances and/or precursors thereto in
       bonic acid (H2CO3) is an example of a suitable inorganic            the cationic lipid compositions may be achieved by using
       acid, and aminomalonic acid is an example of a suitable             any of a number of methods. For example, the formation of
       organic acid. Other acids, including inorganic and organic os gas-filled vesicles can be achieved by shaking or otherwise
       acids, would be readily apparent to one skilled in the art          agitating an aqueous mixture which comprises a gas or gas
       based on the present disclosure.                                    precursor and the cationic lipids of the present invention.




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                                    25                                                                 26
       This promotes the formation of stabilized vesicles within         ditions involving immune competence include, for example,
       which the gas or gas precursor is encapsulated. Gas or            acquired immune deficiency syndrome (AIDS), cancer,
       gaseous precursor cationic lipid compositions may be pre-         chronic viral infections, and autoimmune disease.
       pared in other manners similar to those discussed in am-             Specifically, DNA may be selected which expresses
       nection with the incorporation of bioactive agents in vesicu- 5 adenosine deaminase (ADA) for the treatment of ADA
       lar compositions as earlier discussed.                            deficiency; growth hormone for the treatment of growth
          The gaseous substances and/or precursors thereto may           deficiency or to aid in the healing of tissues; insulin for the
       also be incorporated in the cationic lipid compositions using     treatment of diabetes; luteinizing hormone releasing hor-
       any conventional and well-known techniques. For example,          mone (LHRH) antagonist as a birth control agent; LHRH for
       a gas may be bubbled directly into an aqueous mixture of the 10 the treatment of prostate or breast cancer; tumor necrosis
       present cationic lipid compounds, optionally in the presence      factor and/or interleukin-2 for the treatment of advanced
       of a bioactive agent. Alternatively, a gas instillation method    cancers; high-density lipoprotein (HDL) receptor for the
       can be used as disclosed, for example, in U.S. Pat. Nos.          treatment of liver disease; thymidine kinase for the treatment
       5,352,435 and 5,228,446, the disclosures of each of which         of ovarian cancer, brain tumors, or human immunodefi-
       are hereby incorporated herein by reference in their entire- 15 ciency virus (HIV) infection; HLA-B7 for the treatment of
       ties. Suitable methods for incorporating the gas or gas           malignant melanoma; IL-2 for the treatment of
       precursor in cationic lipid compositions are disclosed also in    neuroblastowa, malignant melanoma or kidney cancer;
       U.S. Pat. No. 4,865,836, the disclosure of which is hereby        interleukin-4 (IL-4) for the treatment of cancer; HIV env for
       incorporated herein by reference. Other methods would be          the treatment of IIIV infection; antisense ras/p53 for the
       apparent to one skilled in the art based on the present 20 treatment of lung cancer; and Factor VIII for the treatment
       disclosure.                                                       of Hemophilia B. Such therapies are described, for example,
          In preferred embodiments, the gaseous substances and/or        in Science, Vol. 258, pp. 744-746 (1992), the disclosure of
       gaseous precursor materials are incorporated in vesicular         which is incorporated herein by reference in its entirety.
       compositions, with micelles and liposomes being preferred.           As noted above, the present invention provides cationic
       Liposomes are particularly preferred because of their high 25 lipid formulations which comprise cationic lipid composi-
       stability and hiocompatahility. As discussed in detail below,     tions in combination with one or more hioactive agents. The
       vesicles in which a gas or gas precursor or both are encap-       cationic lipid compositions may comprise cationic
       sulated are advantageous in that they can be more easily          suspensions/emulsions and/or cationic vesicular
       monitored in vivo, for example, by monitoring techniques          compositions, including cationic liposome compositions
       which involve ultrasound. Thus, the circulation and delivery 30 and/or cationic micelle compositions. In addition, the cat-
       of the vesicles to the targeted tissue and/or cells can be        ionic lipid compositions can comprise one or more cationic
       observed via a non-invasive procedure. Gas precursor- or          lipid compounds optionally in combination with a stabiliz-
       gas-filled vesicles are preferred also because the application    ing material, such as an amphipathic compound, and a gas
       of high energy ultrasound, radio frequency, optical energy,       or precursor thereto. These cationic lipid formulations may
       for example, laser light, and/or heat, to produce areas of 35 be prepared according to any of a variety of techniques. For
       hypertherrnia, can be used to rupture in vivo the vesicles and    example, the cationic lipid formulations may be prepared
       thereby promote release of the entrapped gas (or precursor        from a mixture of cationic lipid compounds, bioactive agent
       thereto) and bioactive agent. Thus, vesicular compositions        and gas or gaseous precursor. In the case of vesicular
       permit the controlled release of a hioactive agent in vivo.       compositions, it is contemplated that the hioactive agent is
          In addition to being entrapped within the vesicle, it is 40 entrapped within the vesicle of the liposome or micelles. In
       contemplated that the bioactive agent may be located also,        certain cases, the bioactive agent can be incorporated also
       or instead of, outside of the vesicles or in the lipid mem-       into the membrane walls of the vesicle. In the case of a
       branes. Thus, in certain embodiments, the bioactive agent         suspension/emulsion, it is contemplated that the bioactive
       may be coated on the surface of the liposomes or micelles         agent is generally dispersed homogeneously throughout the
       and/or in the lipid membranes, in addition to, or instead of, 45 suspension/emulsion. Alternatively, the cationic lipid com-
       being entrapped within the vesicles.                              positions may he preformed from cationic lipid compounds
          The bioactive agent which is incorporated in the present       and gas or gaseous precursor. In the latter case, the bioactive
       cationic lipid compositions is preferably a substance which       agent is then added to the lipid composition prior to use. For
       is capable of exerting a therapeutic biological effect in vitro   example, an aqueous mixture of liposomes and gas may be
       and/or in vivo. Particularly suitable bioactive agents for use so prepared to which the bioactive agent is added and which is
       in the methods and compositions of the present invention is       agitated to provide the cationic liposome formulation. The
       genetic material. Examples of genetic materials include, for      cationic liposome formulation is readily isolated also in that
       example, genes carried on expression vectors, such as             the gas- and/or bioactive agent-filled liposome vesicle gen-
       plasmids, phagemids, cosmids, yeast artificial chromosomes        erally float to the top of the aqueous solution. Excess
       (YACs) and defective- or "helper" viruses; anti-sense and 55 bioactive agent can be recovered from the remaining aque-
       sense oligonucleotides; phosphorothioate oligodeoxynucle-         ous solution.
       otides; antigene nucleic acids; and single and double                The formulations of the present invention can be used in
       stranded RNA and DNA, including DNA which encodes at              either in vitro or in vivo applications. In the case of in vitro
       least a portion of a gene, for example, DNA which encodes         applications, including cell culture applications, the cationic
       for human leukocyte antigen (HLA), dystrophin, cystic 60 lipid formulations can be added to the cells in cultures and
       fibrosis transmembrane receptor (CF112), interleukin-2 (IL-       then incubated. If desired, where liposomes are employed,
       2), tumor necrosis factor (TNF) and granulocyte-                  energy, such as sonic energy, may be applied to the culture
       macrophage colony stimulating factor (GMCS1-). The DNA            media to burst the liposomes and release any therapeutic
       can also encode certain proteins which may be used in the         agents.
       treatment of various types of pathologies or conditions, 65          With respect to in vivo applications, the formulations of
       including those which are associated with the loss or dete-       the present invention can be administered to a patient in a
       rioration of immune competence. Such pathologies or con-          variety of forms adapted to the chosen route of




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                                    27                                                                  28
       administration, namely, parenterally, orally, or intraperito-       bone. Intravascular and/or endoluminal ultrasound transduc-
       neally. Parenteral administration, which is preferred,              ers may be used to apply the ultrasound energy to selected
       includes administration by the following routes: intrave-           tissues and/or sites in the body, for example, the aorta and
       nous; intramuscular; interstitially; intraarterially; subcutane-    the esophagus.
       ous; intra ocular; intrasynovial; trans epithelial, including 5        Cationic lipid formulations can be formulated to be suf-
       transdermal; pulmonary via inhalation; ophthalmic; sublin-          ficiently stable in the vasculature such that they circulate
       gual and buccal; topically, including ophthalmic; dermal;           throughout the body and provide blood pool equilibration.
       ocular; rectal; and nasal inhalation via insufflation. Intrave-     As one skilled in the art would recognize, the lipid
       nous administration is preferred among the routes of                formulations, including those which comprise suspensions/
       parenteral administration.                                       10 emulsions and vesicles, such as liposomes and micelles, may
          It is contemplated that the present cationic lipid formu-        be coated with certain materials to minimize uptake by the
       lations can be administered also by coating a medical device,       reticuloendothelial system. Suitable coatings include, for
       for example, a catheter, such as an angioplasty balloon             example, gangliosides and glycolipids which bind saccha-
       catheter, with a cationic lipid formulation. Coating may be         ride moieties, such as glucuronate, galacturonate,
       achieved, for example, by dipping the medical device into a 15 guluronate, poly(ethylene glycol), poly(propylene glycol),
       cationic lipid formulation or a mixture of a cationic lipid         polyvinylpyrrolidone, poly(vinyl alcohol), dextran, starch,
       formulation and a suitable solvent, for example, an aqueous-        phosphorylated and sulfonated mono-, di-, tri-, oligo- and
       based buffer, an aqueous solvent, ethanol, methylene                polysaccharides and albumin. Provided that the circulation
       chloride, chloroform and the like. An amount of the formu-          half-life of the cationic lipid formulations is of a sufficient
       lation will naturally adhere to the surface of the device 20 period of time, they will generally pass through the target
       which is subsequently administered to a patient, as appro-          tissue while passing through the body. In the case of lipid
       priate. Alternatively, a lyophilized mixture of a cationic lipid    formulations which comprise gas or gaseous precursors,
       formulation may be specifically bound to the surface of the         energy, for example, sonic energy, may be focused on the
       device. Such binding techniques are described, for example,         tissue to be treated, for example, diseased tissue. The
       in K. lshihara et al., Journal of Biomedical Materials 25 bioactive agent will then be released locally in the target
       Research, Vol. 27, pp. 1309-1314 (1993), the disclosures of         tissue. The inventors have found also that antibodies,
       which are incorporated herein by reference in their entirety.       carbohydrates, peptides, glycopeptides, glycolipids and lee-
          The useful dosage to be administered and the particular          tins also assist in the targeting of tissue with the lipid
       mode of administration will vary depending upon such                formulations and the bioactive agents. Accordingly, these
       factors as the age, weight and the particular animal and 30 materials may be incorporated into the lipid formulations
       region thereof to be treated, the particular bioactive agent        also.
       and cationic lipid compound used, the therapeutic or diag-             Ultrasound can be used for both diagnostic and therapeu-
       nostic use contemplated, and the form of the formulation, for       tic purposes. In general, the levels of energy from diagnostic
       example, suspension, emulsion, micelle or liposome, as will         ultrasound are insufficient to cause rupture of vesicular
       be readily apparent to those skilled in the art. Typically, 35 species and to facilitate release and cellular uptake of the
       dosage is administered at lower levels and increased until          bioactive agents. Moreover, diagnostic ultrasound involves
       the desirable therapeutic effect is achieved. The amount of         the application of one or more pulses of sound. Pauses
       cationic lipid compound that is administered can vary and           between pulses permits the reflected sonic signals to be
       generally depends upon the amount of hioactive agent being          received and analyzed. The limited number of pulses used in
       administered. For example, the weight ratio of cationic lipid 40 diagnostic ultrasound limits the effective energy which is
       compound to bioactive agent is preferably from about 1:1 to         delivered to the tissue that is being studied.
       about 15:1, with a weight ratio of about 5:1 to about 10:1             On the other hand, higher energy ultrasound, for example,
       being more preferred. Generally, the amount of cationic lipid       ultrasound which is generated by therapeutic ultrasound
       compound which is administered will vary from between               equipment, is generally capable of causing rupture of the
       about 0.1 milligram (mg) to about 1 gram (g). By way of 45 vesicular species. In general, therapeutic ultrasound
       general guidance, typically between about 0.1 mg and about          machines use from about 10 to about 100% duty cycles,
       10 mg of the particular bioactive agent, and about 1 mg to          depending on the area of tissue to be treated with the
       about 100 mg of the cationic lipid compositions, each per           ultrasound. Areas of the body which are generally charac-
       kilogram of patient body weight, is administered, although          terized by larger amounts of muscle mass, for example,
       higher and lower amounts can be used.                            so backs and thighs, as well as highly vascularizgd tissues, such
          After vesicular lipid formulations which comprise a gas or       as heart tissue, may require a larger duty cycle, for example,
       gaseous precursor and hioactive agent have been adminis-            up to about 100%.
       tered to a patient, energy, preferably in the form of ultrasonic       In therapeutic ultrasound, continuous wave ultrasound is
       energy, can be applied to the target tissue to identify the         used to deliver higher energy levels. For the rupture of
       location of the vesicles containing gas or gaseous precursor 55 vesicular species, continuous wave ultrasound is preferred,
       and bioactive agent. The applied energy may also be                 although the sound energy may be pulsed also. If pulsed
       employed to effect release of the bioactive agent and facili-       sound energy is used, the sound will generally be pulsed in
       tates cellular uptake of the bioactive agent. As one skilled in     echo train lengths of about 8 to about 20 or more pulses at
       the art would recognize, this method of mediating cellular          a time. Preferably, the echo train lengths are about 20 pulses
       transfection with ultrasonic energy is preferably effected 60 at a time. In addition, the frequency of the sound used may
       with tissues whose acoustic window permits the transmis-            vary from about 0.25 to about 100 megahertz (MHz). In
       sion of ultrasonic energy. This is the case for most tissues in     general, frequency for therapeutic ultrasound ranges
       the body, including muscle and organ tissues, such as the           between about 0.75 and about 3 MHz are preferred with
       heart and liver, as well as most other vital structures. With       about 1 and about 2 MHz being more preferred. In addition,
       respect to brain tissue, it may he necessary to create a 65 energy levels may vary from about 0.05 Watt (W) to about
       "surgical window" by removing part of the skull, inasmuch           5.0 W, with energy levels of about 0.1 to about 0.5 W being
       as ultrasonic energy generally does not transmit through            preferred. For very small vesicular species, for example,




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       species in which the vesicles have a diameter of less than         tic acid dianhydride (2.56 g, 0.01 mole) in dry methanol (30
       about 0.5 micron, higher frequencies of sound are generally        mL). The mixture was stirred at 50° C. for 6 hours. The
       preferred. This is because smaller vesicular species are           resulting white solid precipitate was isolated by filtration
       capable of absorbing sonic energy more effectively al higher       and dried under vacuum at room temperature to yield 3.43
       frequencies of sound. When very high frequencies are used, 5 g (64%) of the title compound. m.p. 156°-158° C.
       for example, greater than about 10 MHz, the sonic energy
       will generally penetrate fluids and tissues to a limited depth        IR: 3320 crn- ' for 011; 1670 cm- ' for —C(=0)—.
       only. Thus, external application of the sonic energy may be
       suitable for skin and other superficial tissues. However, for
       deep structures it is generally necessary to focus the ultra- 10                     (ii) Synthesis of N,IsP-Bis
       sonic energy so that it is preferentially directed within a            (dodecy la m inocarbonylmethylene)-N,N'-bis((3-N,N-
       focal zone. Alternatively, the ultrasonic energy may be                    dimethylam inoethylam inocarbonylmethylene)
       applied via interstitial probes, intravascular ultrasound cath-                 ethylenediamine (EDTA-1A-DMA)
       eters or endoluminal catheters. Such probes or catheters may
       be used, for example, in the esophagus for the diagnosis 15
       and/or treatment of esophageal carcinoma.
          The present invention is further described in the following
       examples. In these examples, examples 1 to 9 are actual                                                       0
       examples. Examples 10 to 12 are prophetic examples. These                                                        NH    CH3
       examples arc for illustrative purposes only, and arc not to be 20
       construed as limiting the appended claims.                          H3C            NII
                                                                                                                                \
          Various of the starting materials used in the following                                                                 CH3
       examples are commercially available. N,N-                                                     IIN
                                                                                 CH3                     .NCi211,1
       dimethylethylenediamine and iodomethane were purchased
       from Aldrich Chemical Co. (Milwaukee, Wis.).                    25

                                   EXAMPLE 1
                                                                                               EDTA-t.A (3.14 g, 0.005 mole) from step (i), N,N-
                        Synthesis of N,N'-Bis                                              dimethylethylenediamine (0.88 g, 0.01 mole) and CHC13
              (dodecylaminocarbonylmethylene)-N,N-'-bis                                    (100 mi.) were combined. After dissolution of the solid
                             (I3-N,N, N-                                                30 materials, the solution was cooled to 50° C. and a solution
          trimethylammoniumethylaminocarbonylmethylene)-                                   of 1,3-dicyclohexylcarbodiimide (DCC) (2.227 g, 0.011
           N,N.-dimethylethylenediamine tetraiodide (EDTA-                                 mole) in CHC13 (20 mL) was added dropwise. A precipitate
                        LA-TMA tetraiodide)                                                was observed. The reaction mixture was stirred at room
                                                                                           temperature for about 24 hours. The reaction mixture was
                                 H23C12                                                 35
                                           NH
                                                                                           filtered and the filtrate was washed with 0.59 acetic acid
                                                                                           (100 ml..) to decompose any excess DCC. A white milky
                                                                                           solution was formed which separated into two layers. The
                                  CH3                            0                         bottom organic layer was dried (Na.2SO4) and concentrated
                                  1                N!..............1                    40
                                                                                           in vacuo to yield 3.81 g of the title compound as a soft solid.
                                 or        --...--. 1                  NH       CH3
             CH3

       H3C-Nr ..."..
                       NH         1.........r0
                                                   CH3
                                                                       c    j
                                                                                N-CH3
                                                                                              IR: 3280 cm-1; 2900 cm- '; 1640 cm- '; 1530 cm-1.

          1                           HN                                        CH3
                                           \ ..-.
                                             r.12••u25               41-
          CH,                                                                                     (iii) Synthesis of EDTA-LA-TMA Tetraiodide
                                                                                        45

                                                                                              A solution of EDTA-LA-DMA (3.66 g, 4.77 mmolc) from
                                 Synthetic Route                                           step (ii), iodomethane (3.41 g, 24 mmole) and ethanol (30
                      (i) Synthesis of N,N'-Bis                                            mL) was refluxed for 2 hours. The ethanolic solution was
          (dodecylaminocarbonylmethylene)-ethylenedia mine-                                concentrated in vacuo and the resulting residue was lyo-
                                                                                        50
                    N,N'-diacetic acid (EDTA-LA)                                           philized overnight. 3.98 g of EDTA-LA-TMA tetraiodide, a
                                                                                           compound within the scope of the invention, was obtained
                       H25C12'                                                             as a yellow solid.
                                  141.1
                                                                                              IR: 3260 cm- '; 1650 cm- '.
                                                        0                               55

                                          N\./     A        OH                                                     EXAMPLE 2
                OH

                                                                                        60
                                                                                                              Synthesis of N,N"-Bis
                                 NH
                     II25Cl2
                                                                                               (hexadecylaminocarbonylmethylene)-N,N'N"-tris(13-
                                                                                                                      N,N, N-
                                                                                               trimethylam moniumethylaminocarbonylmethy le ne)-
        Dodecylamine (3.71 g, 0.02 mole) in dry methanol (60                                      N,N',N"-trimethyld iethy le netriamine hexaiodide
       mL) was added to a suspension of ethylenediaminetetraace-                                          (DTPA-HA:I'ME Hexaiodide)




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                                                                                            5,830,430
                                            31                                                                                      32
                                                         CH3

                                                                           NH
                                                                                                61-
                                                           113
                                                                                0
                                                 Cu,H3                               CH3
                                0   .0..•"••••                                                        °
                           3                                                                                  CH3
                       I                                         0   CH3
                                    NH           1...........r
            ii3C-1‹....\./                                                                                   a3N —CH3
                    I
                    CH3                               HN                                                      CH3
                                                           N.,  n.
                                                            •-103.33                N1I
                                                                                          Ns,



                                                                                                      15
                                    Synthetic Route                                                         A solution of DTPA-HA (4.2 g, 0.005 mole) from step (i),
                                                                                                         N,N-dimethylethylenediamine (0.88 g, 0.01 mole) and
                          (i) Synthesis of N,N"-Bis                                                      CHCl3 (100 mL) was cooled to 0°-5° C. To this solution was
                    (hexadecylaminocarbonylmethylene)-                                                   added dropwise a solution of DCC (2.23 g, 0.011 mole) in
                  diethylenetriamine-N,N',N"-triacetic acid
                                                                                                      20 ClG., (20 mt.). The reaction mixture was stirred for 24
                                 (DTPA-HA)
                                                                                                         hours at room temperature. The resulting precipitate was
                                                    OH                                                   removed by filtration and was washed with 0.5% acetic acid
                                                                                                         (100 mL). A white, milky solution was obtained which was
                                                                                                         filtered again, dried (Na2SO4), and concentrated in vacuo.
                                                                                                      25
                                                                                                         The title compound was obtained as a soft solid (3.5 g).

                  OH                                                       OH

                                    NH
                           H33C1f                                C161433
                                                                                                      30       (iii) Synthesis of DTPA-HA-TMA Hexaiodide


          Hexadecylamine (4.82 g, 0.02 mole) in dry methanol(60
       mL) was added to a suspension of diethylenetriamine pen-             A solution of DTPA-HA-DMA (4.7 g, 4.8 mmole) from
       taacetic acid dianhydride (3.57 g, 0.01 mole) in dry metha- 35 step (ii), iodomethane (3.41 g) and methanol (50 mL) was
       nol (30 mL). The resulting mixture was stirred at 50° C. for      refluxed for 2 hours. The methanolic solution was concen-
       6 hours. The reaction mixture was cooled and the resulting        trated in vacuo and the resulting residue was lyophilized
       white solid precipitate was collected by filtration. The white    overnight. 6 g of D'IPA-HA-TME hexaiodide, a compound
       solid was dried under vacuum to yield 5.9 g of the title
                                                                         within the scope of the invention, was obtained as a yellow
       compound.                                                      40
                                                                         solid.
                      (ii) Synthesis of N,N"-Bis
          (hexadecylaminocarbonylmethylene)-N,N',N"-trisal-
           N,N-dimethylaminoethylaminocarbonylmethylene)
                diethylenetriamine (DTPA-HA-DMA)

                                                         CH3


                                            H3C /          V               NH


                                                                                °


              3                     NH                           0

                    CH3                               HN                                                      CH3
                                                                 , I6.33             Cb3H33




                                                                                                                                                          JA00927
                                                                                                                                               MRNA-GEN-00222937
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                                                                            5,830,430
                                    33                                                                                         34
                               EXAMPLE 3
                           Synthesis of N,N'-Bis
           (dodecylam inocarbonylmethykne)-N,N-bis(13-N,N,
                                    N-                                                     H3C                                                                 I CH3

           t rimethylammoniumethylarn inocarbonyhnethyle ne)-                         5
                                                                                                                                                           N
                N , N'-dimethyl cyclohexylene-1,4-diamine
                                                                                                 /                                0
                 tetraiodide (CDTA-LA-TMA Tetraiodide)                                     H3C                            =°
                                                                                                                                                                CH,

                                                                                                             1125C12 —N                   N   C   H25
              CH3                                                                                                    H                    H
                                                                     CH3
                                               0                                      10
        H3C—NO                                                     /1—CH3
              CH3
                                                    N11                                    A solution of CDTA-E A (3.4 g, 0.005 mole) from step (i),
                                                                     CH3
                          H3C— N            N —CH3                                       N,N-dimethylethylenediamine (0.88 g, 0.01 mole) and
                                                                                         CHC13 (100 mL) was cooled to 0°-5° C. To this solution was
                                                                                      15 added dropwise a solution of DCC (2.23 g, 0.011 mole) in
                                   =0                                                    CHG., (20 mL). The reaction mixture was stirred for 24
                      H25C12 —N               N —Ci2H25                                  hours at room temperature and filtered. The filtrate was
                               H              H                                          washed with 0.5% acetic acid (100 mL) to decompose any
                                                                                         excess DCC and was filtered again. The filtrate was dried
                                                                                      20 (Na2SO4) and concentrated in vacuo to yield the title com-
                             Synthetic Route
                                                                                         pound (4.2 g) as a soft solid.
                       (i) Synthesis of N,N'-Bis
          (dodecylaminocarbonyhnethylene)-cyclohexylene-1,                                           (iii) Synthesis of CDTA-LA-TMA Tetraiodide
               4-diamine-N,M-diacetic acid (CDTA-LA)                                       A solution of CDTA-LA-DMA (3 g) from step (ii),
                                                                                      25 iodomethane (3.5 g) and methanol (30 mL) was refiuxed for
                                                                                         2 hours. The methanolic mixture was concentrated in vacuo
                                                                                         and the resulting residue was lyophilized overnight. 3.1 g of
                                                   011                                   CDTA-LA-TMA tetraiodide, a compound within the scope
                                                                                         of the invention, was obtained as a solid.
                                                                                      30
                                                                                                                        EXAMPLE 4
                                         N—CL2H25
                                         H
                                                                                                     Synthesis of 1,1,7,7-tetra(0-N,N,N,N-
                                                                                             ietramethylammoniumethylaminocarbonylmethylene)-
                                                                                      35         4-hexadecylaminocarbonylmethylene-N,N',N"-
        A solution of dodecylamine (3.71 g, 0.02 mole) in dry                                  trimethy1-1,4,7-triazaheptane heptaiodide (DTPA-
       methanol (60 ml) was added to a suspension of cyclohexane-                                         MHA-7TMA Heptaiodide)

                                                                                                        H33C16 ,,
                                                                                                                                71-
                                                                                                                    0     cm
                                                                                           CH3
                                                                                                                                      0
                                                                                            14             914                                    CII3
                                                                 CH3
                                                                                                            CH3
                                                                                     NH
                                                         H3C— 1.;......'`••••••••"                                                                N —CH3

                                                                 CH3                             UN                                               CH3
                                                                                                            CH3
                                                                                                                                    CH3
                                                                                                          0N—CH3
                                                                                                                                 ®N—CH3
                                                                                                            CH3
                                                                                                                                    CH3



                                                                                      55
       1,4-diamine-N,N,N',N'-tetraacetic acid dianhydride (3.1 g,
       0.01 mole) in dry methanol (30 mL). The resulting mixture
       was stirred at 50° C. for 6 hours. Filtration yielded the title
       compound (4.8 g) as a white solid.
                                                                                      60
                                                                                                                     Synthetic Route


                          (ii) Synthesis of N,N'-Bis
          (dodecylam inocarbonylmethylene)-N,N-bis(13-N,N-                            65                      (i) Synthesis of 4-
             dinteth y la minoethylaminocarbonyl methylene)                                        hexadecylaminocarbon y lanethylene-1,4,7-
             cyclohexylene-1,4-diamine (CDTA-LA-DMA)                                         triazaheptane-1,1,7,7-tetraacxtic acid (DTPA-MHA)




                                                                                                                                                           JA00928
                                                                                                                                              MRNA-GEN-00222938
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                                                                  5,830,430
                                    35                                                                           36
                                                                              hours. The methanolic solution was concentrated in vacuo
                                                                              and the resulting residue was lyophilized overnight to yield
                                                                              2.4 g of DTPA-MHA-TTMA heptaiodide, a compound
                                                                              within the scope of the present invention.
                                                                         5
                                                              0
                                                                                                     EXAMPLE 5
                OH                                       OH

                            OH                                                 Using procedures similar to those in Examples 1 to 4, the
                                               OH
                                                                         10 following compounds within the scope of the invention were
                                                                            prepared.


                                                                                                    EXAMPLE 5A
         A solution of diethylenetriaminepentaacetic acid (3.93 g, 15
       0.01 mole), hexadecylamine (2.4 g, 0.01 mole) and CHC13
       (200 mL) was cooled to 0°-50° C. To this solution was                       N,N'-Bis(dodecyloxycarbonylmethylene)-N,N'-bis
                                                                                                     (13-N,N, N-
       added dropwise a solution of DCC (2.23 g, 0.011 mole) in
                                                                                  trimethylammoniumethylaminocarbonylmethylene)
       CHCI3 (15 mL). The reaction mixture was stirred for 24 20                              cthylcncdiaminc diiodidc
       hours at room temperature and filtered. The filtrate was
       washed with 05% acetic acid (10(1 ml) and filtered again.                                   H2sCi.2
       The filtrate was dried (Na2SO4) and concentrated in vacuo.
       Recrystallization of the resulting residue from water yielded
                                                                                                                               0
       the title compound as a white solid (3.7 g).                  25
                                                                                                                      Ns...so...A     NH
                                                                                                                                              CH3
                                                                                    CH                                                        1
                                                                                    1        NH                                            41; —CH3
                 (ii) Synthesis of 1,1,7,7-tetra((3-N,N-                                                                                      1
                                                                                                             0                                CH3
            dimethylaminoethylaminocarbonylmethylene)-4-                 30                                       r,                21-
                                                                                    CH3                           •-•12..3
               hexadecylamitmarbonylmethylene)-1,4,7-
                 triazaheptane (DTPA-MHA-TDMA)

                                               H33C1.6




                                                                          0

                              NH               0

                  CH3                    liN                                       CH3


                                                                         I CH3

                                                                     N

                                                                          CH3


                                                                         50
           A solution of DTPA-MHA           g) from step (i), N,N-                                  EXAMPLE 5B
       dimethylethylenediamine (1.76 g) and CI ICI, (200 mL) was
       cooled to 0°-5° C. To this solution was added dropwise a
       solution of DCC (4.5 g, 0.02 mole) in C110.4 (20 mL). The
       reaction mixture was stirred overnight at room temperature.
       The resulting precipitate was collected by filtration and the 55                     N,N,N",N"-Tetra(13-N,N,N-
       filtrate was washed with 0.5% acetic acid (100 mL) and                    trimethylammoniumethylaminocarbonylmethylene)-
       filtered again. The filtrate was dried (Na2SO4) and concen-                           N'-(1,2-dioleoylglycero-3-
       trated in vacuo. The resulting residue was purified on a silica
       gel column. The title compound was obtained as a soft solid                    phosphoethanolaminocarbonylmethylene)
       (2.8 g).                                                                            diethylenetriamine tetraiodide
                                                                       60
            (iii) Synthesis of DTPA-MHA-TTMA Heptaiodide
           A solution of DTPA-MHA-TDMA (2.24 g), iodomcthanc
       (3.5 g, 0.03 mole) and methanol (30 mL) was refluxed for 2




                                                                                                                                           JA00929
                                                                                                                             MRNA-GEN-00222939
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                                                                                      5,830,430
                                          37                                                                                             38
                                                                            0
                                                                             II
                                                    Hter......,.. .. 0—P —0 1

                                                                            Oll                  OCO(CH2),CH =CH(CH2)7CH3

                                                                                                 OCO(CH2)7CH=CH(CH2)7CH3
                                                                                                  0
                    CH3                                                                                  CH3
                                   NH                   O                                   HN
                                                                                                        43N—CH3

                    CH3                           I1N                                                    CH3


                                                                                             CH3
                                                            N —CH3
                                                                                             N —CH3
                                                            CH3                                            41-
                                                                                             C113



                                                                                                 20                         EXAMPLE 5E
                                                                                                        N,N'-bis(hexadecylaminocarbonylmethylene)-N,N'-
                                   EXAMPLE 5C
                                                                                                        trimethylamtnoniumethylaminocarbonyl methylene)
                                                                                                 25         -N,N'-dimethylethylenediamine tetraiodide

           N,N'-Bis(hexadecylaminocarbonylmethylene-N,N'-                                                                 F133C16         sm

              bis(trimethylammoniumethylaminocarbonyl
                  methylene)ethylenediamine diiodide
                                                                                                 30                                                    0
                                                                                                                            CH3
                                 H33C16
                                                                                                                                                             NH      CH3
                                           /411
                                                                                                          CH3               .........f     0   CII3
                                                                                                          I       NH                                         ..........; N —CH3
                                                            C)                                        H3—
                                                                                                       C Ar s ''.
                                                                                                 35       I                       HN                                 CH3
                                                  N.........)1,.                                                                         s.., .,".33   41-
                                  N                                N 1.1        CH3                       CH3                               ,16
           CH3 C)* *****'......... ......y                                      I
                     NH                        0                    ,........., N —CH3
                ----
       H3C—N®
           I                             HN                                       CH3                  Formulations of this invention are subjected to various
           C113                                             21-                                  40 biological tests, the results of which correlate to useful
                                            .s.216H33
                                                                                                    therapeutic activity. These tests are useful in determining the
                                                                                                    ability of the present formulations to deliver intracellularly
                                                                                                    bioactive agents, including genetic material. These tests are
                                                                                                    useful also in determining the ability of the present formu-
                                                                                                 45 lations to treat genetic diseases, including diseases which
                                   EXAMPLE SD                                                       involve a pathology or condition which is associated with
                                                                                                    loss or deterioration of immune competence.
                                                                                                                            EXAMPLE 6
          N,N'-bis(hexadecyloxycarbonylmethylene)-N-((3-N,                                       50    The following examples are directed to the intracellular
                                N, N-                                                               delivery of genetic material with cationic lipid compounds
          trimethylammoniumethylaminocarbonylmethylene)-                                            of the present invention and compounds disclosed in the
            N-methyl-N'-(carboxymethylene)ethylenediarnine                                          prior art. The genetic material involved in these transfection
                                                                                                    studies is DNA that codes for Chluramphenicol Acetyl
                               diiodide
                                                                                                 55 Transferase ("CAT"). The amount of expressed CAT
                                                                                                    (nanograms per mL (ng/mL)) was assayed using the Boe-
                                                  OH                                                hringer Mannheim CAT ELISATim kit, the results of which
                                                                                                    are tabulated in FIGS. 1 and 2.
                                                                                                       LIPOFECTAMINETM and LIPOFECTIN® were pur-
                                        CH3                                                      60 chased from Gibco BRL, a division of Life Technologies,
                                                        N                         C161433

                CH3
                                                                           cr"                      Inc. (Gaithersburg, Md.). LIPOFECTAMINElm is a 3:1
                                                                                                    liposome formulation of N-[2-({2,5-bis(3-aminopropyl)
                              NH                   0
        113C—N                                                                                      amino]-1-oxypentyl amino)ethyl-N,N-dimethy1-2,3-bis(9-
                                              0
                                                                                                    octadecenyloxy)-1-propanaminium trifluoroacetate and dio-
                CH3                                                21-
                                                   Ci6H33
                                                                                                 65 leoylphosphatidylethanolamine ("DOPE"). LIPOFECTIN®
                                                                                                    is a liposome formulation of N-[1 -(2,3-dioleoyloxy)pmpyl]
                                                                                                    -N,N,N-trimethylammonium chloride ("DOTMA") and




                                                                                                                                                                    JA00930
                                                                                                                                                       MRNA-GEN-00222940
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                                                               5,830,430
                                   39                                                               40
       DOPE. (See Proc. Natl. Acad. Sci. USA, Vol. 84, p. 7413         20 4, solutions were prepared of (1) the cationic lipid
       (1987).) TRANSFECTAMTM was purchased from Promega               compound of Example 5D in combination with varying
       Corp (Madison, Wis.). TRANSFECTAMTh is a cationic               amounts of DOPE; (2) Lipofectin; and (3) Lipofectamine.
       lipopolyamine compound which comprises a spermine               These were diluted to 100 ,t4L in HBS for each well. The
       headgroup. (See Proc. Nat!. Acad Sci., Vol. 86, p. 6982 5 compound of Example 5D and DOPE were combined in
       (1989); J. Neurochem., Vol. 54, p. 1812 (1990); and DNA         weight ratios of 5:1, 6:1, 7:1, 9:1, 11:1 and 14:1. The DNA
       and Cell Biology, Vol. 12, p. 553 (1993).) "DOTAP" refers       and lipid solutions were mixed by inverting and incubated at
       to 1,2-dioleoyl-3-propyl-N,N,N-trimethylammonium                room temperature for 15 minutes. After incubating, the
       halide.                                                         mixtures of DNA and cationic lipid (200µL) were added to
                                                                    10 each well (except for a HeLa (CELLS) standard to which no
                             EXAMPLE 6A                                DNA with cationic lipid was added) and the mixtures were
          This example describes the biological testing of the         agitated by pipetting several times upwards and downwards.
       compounds prepared in Examples 5C and 5D, Lipofectin,           The cells were then incubated in a CO, atmosphere at 37° C.
       Lipofectamine and DOTAP and Transfectam in the absence          for 48-72 hours. After incubating, the protein level was
       of scrum.                                                    15 assayed as described above.
          HeLa cells (American Type Culture Collection,                   The results of the assay are depicted in FIG. 2 which show
       Rockville, Md.) were cultured in EMEM media (Mediatech,         increased  expression of CAT when the cationic lipid com-
       Washington, D.C.). The cells were grown in 6-well plates        pounds of the present invention are used to transfect cells,
       (Becton Dickinson, Lincoln Park, NJ.) and at a density of       relative to compounds of the prior art. Particularly desirable
                                                                    Zo transfection is observed in compositions which comprise a
       4x105 cells/well until they were 60-80% confluent in a
       VWR model 2500 CO, incubator (VWR, Philadelphia, Pa.).          6:1 ratio of the compound of Example 5D to DOPE. The
       DNA (1.7 gig) was diluted to 50,uL in HEPES buffered saline     experiments performed in this example demonstrate that the
       (HBS) (HEPES 20 mM, 150 mM NaCl, pH 7.4) for each               cationic lipid compounds of the present invention provide
       well to be infected. 10 ,uL solutions of the cationic lipid     improved transfection of cells with bioactive agents as
       compounds prepared in Examples 5C and       Si), Lipofectin, 25 compared    to compounds of the prior art.
       Lipofectamine, DOTAP and Transfectam were each diluted
                                                                                               EXAMPLE 7
       to 50µI, in HRS. The DNA and lipid solutions were mixed
       by inverting and incubated at room temperature for 15             In vivo experiments in rats were performed which dem-
       minutes. After incubating, each of the mixtures of DNA and 30 onstrate the high effectiveness of the present cationic lipid
       cationic lipid (100 µL) was added to 1.9 mL of media           compounds to deliver intracellularly genetic material. The
       without serum and mixed by inverting. The media was            experiments demonstrate also the effectiveness of using
       removed from the 6-well plates and replaced with the media     ultrasound energy for targeting specific tissue in vivo with
       containing lipid and DNA. The cells were then incubated in     vesicular compositions containing genetic material.
       a CO, atmosphere at 37° C. for 5-6 hours. After incubating, 35    Plasmid pSV 3-gal (Promega, Madison, Wis.) which
       the lipid/DNA media was removed and replaced with com-         contains the I3-galactosida.se gene was combined with the
       plete media. The cells were then incubated for 48-72 hours     cationic lipid compound prepared in Example 5D by mixing.
       and the level of expressed protein was assayed. The results    The resulting mixture was injected into each of three Spra-
       of the assay were measured using an SLT Labinstruments         gue Dawley rats (rats (A), (B) and (C)) via the tail vein. Rat
       SPECTRA Shell plate reader (SLT, Salzburg, Austria) which 40 (A) was not subjected to ultrasound. Ultrasonic energy was
       was linked to a Centris 650 computer (Apple Computer, Inc.,    applied to the inside of the hind leg during injection for each
       Cupertino, Calif.) and controlled using DeltaSoft II version   of rats (B) and (C). After 48 hours, the rats were euthanized
       4.13s (Biometallics, Inc., Princeton, NJ.). The results of the and the tissues were removed. The tissues were fixed for 72
       assay are depicted in FIG. 1 which show increased expres-      hours in 2% formalin, sliced thin and placed in an X-gal
       sion of CAT when the cationic lipid compounds of the 45 solution. After 16 hours at 37° C., the tissues were inspected.
       present invention are used to transfect cells, relative to     The tissue from rat (A) exhibited a blue color which is
       compounds of the prior art. Accordingly, the experiments       indicative of general transfection. The tissue from rats (B)
       performed in this example demonstrate that the cationic lipid  and (C) exhibited blue color only at the site where ultra-
       compounds of the present invention provide useful and          sound energy was applied. This indicates that localization of
       improved transfection of cells with bioactive agents as 50 gene expression can be achieved with the compounds and
       compared to compounds of the prior art.                        methods of the present invention.
                             EXAMPLE 6B                                                        EXAMPLE 8
          This example describes the biological testing of the           A cationic lipid composition according to the present
       compound prepared in Example 5D, Lipofectin and Lipo- 55 invention was prepared from six parts of the compound
       fectamine in the presence of serum.                            prepared in Example 5D and 1 part dipalmitoylphosphati-
          HeLa cells were cultured in 4 mL of culture media as        dylethanolamine (DPPE) labeled with rhodamine (Avanti
       described above, except that the media was supplemented        Polarlipids, Alabaster, Ala.). The cationic lipid composition
       with enriched calf serum (Gibco 13RL Life Technologies,        was dissolved in ethanol and a Mansfield angioplasty cath-
       Gaithersburg, Md.) and Penicillin/Streptomycin (13oehringer 60 eter tip (Boston Scientific Corp., Watertown, Mass.) was
       Mannheim Biochemicals (BMB), Indianapolis, Ind.). The          dipped into the ethanolic formulation, removed and allowed
       cells were grown in 6-well plates (Becton Dickinson, Lin-      to dry. This procedure was repeated three times. The coated
       coln Park, NJ.) and at a density of 4x105 cells/well until     catheter tips were then placed onto a Nikon light microscope
       they were 60-80% confluent in a VWR model 2500 CO,             equipped with a filter for rhodamine fluorescence. A control
       incubator (VWR, Philadelphia, Pa.). DNA (3.3 ,ug) was 65 catheter, which was not coated with the cationic lipid
       diluted to 1004 in HEPES buffered saline (HBS) (IIEPES         composition, was also placed onto the light microscope.
       20 mM, 150 mM NaCI, pH 7.4) for each well to be infected.      Fluorescence of the coated catheter tips was observed,




                                                                                                                           JA00931
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                                                               5,830,430
                                   41                                                                42
       whereas the control catheter tips did not fluoresce. This        DACRONTM (a polyester synthetic fiber) and/or wire mesh,
       confirmed the presence of a coating of the lipid composition     is substituted for the angioplasty catheter. Improved endot-
       on each of the coated catheters. The coated catheter tips were   helialization is obtained along the surface of the stem.
       then dipped into normal saline, water and human serum for           We claim:
       varying periods of time and viewed under the light micro- 5         I. A cationic lipid compound of the formula:
       scope. Fluorescence of the catheter tips was observed again.
       This demonstrated that the coating of the rhodamine-labeled                                (Rs —1(3),                      (I)
       lipid composition adhered to the surface of the catheters.
       Accordingly, lipid compositions of the present invention can            YL- 011—X1%—   R2—[Y2-  1131,—(XL — R1),—Y1
       be delivered to specific locations within the body by coating 10 wherein:
       the compositions onto catheters which are then administered         each of x, y and z is independently an integer from 0 to
       to a patient, as appropriate.                                          about 100;
                              EXAMPLE 9                                      each X, is independently —0—, —S—, —NR5—,
                                                                               —C(=X2)—, —C(=X2)—N(R5)—, —N(R5)—C
          A cationic lipid formulation according to the present 15             (=X2)—, —C(=X2)-0—, —0—C(=X2)— or
       invention was prepared from DNA (5 ,ug) fluorescently
                                                                                —X2—(Rs)(2)13(=X2.)—X2—;
       labelled with fluorescein-12 DUTP (deoxyuracil
                                                                             each X2 is independently 0 or S;
       triphosphate, commercially available from Boehringer Man-
       nheim Biochemicals (BMB), Indianapolis, Ind.) using PCR,              each Y, is independently a phosphate residue, N(R6)„—,
       six parts of the compound prepared in Example 5D and 1 20               S(Z6)a—, P(R6)„— or —CO2R6, wherein a is an inte-
       part DPPE. Catheters were subsequently dipped into etha-                ger from 1 to 3;
       nolic solutions of the cationic lipid formulation as described        each Y, is independently —N(R6)b—, —S(R6)b— or
       (for the compositions) in Example 8. A control catheter was              —P(R6)b—, wherein b is an integer from 0 to 2;
       not coated with the subject cationic lipid formulation. Fluo-         each Y3 is independently a phosphate residue, N(R6)-9
       rescence was induced and observed for the coated catheters 25           S(R6)„—, P(126)„— or —0O2R6, wherein a is an inte-
       as described in Example 8. No fluorescence was observed                  ger from 1 to 3;
       with the control catheter. This demonstrated that the cationic        each of R1, R2, R3 and R4 is independently alkylene of 2
       lipid formulations of the present invention adhere to the                to about 20 carbons;
       surface of catheters. Accordingly, lipid formulations of the
                                                                       30    each R5 is independently hydrogen or allryl of 1 to about
       present invention can be delivered to specific locations
                                                                               10 carbons; and
       within the body by coating the formulations onto catheters
       which are then administered to a patient, as appropriate.             each   R6 is independently —[127—X3] —R8 or —R9—
                                                                               [X4—R10]d—Q, wherein:
                               EXAMPLE 10                                      each of c and d is independently an integer from 0 to
                                                                       35          about 100;
          A cationic lipid formulation according to the present
                                                                               each Q is independently a phosphate residue,
       invention will be prepared from 6 parts of the compound of
                                                                                   —N(12„),/, —S(R„)q, —P(1211)9 or —0O21211,
       Example 5D, 1 part DPPE (dipalmitoyl-
                                                                                   wherein q is an integer from 1 to 3;
       phosphatidylethanolamine) and 10 pg of plasmid DNA
                                                                               each of X3 and X4 is independently —0—, —S—,
       containing the gene for endothelial cell growth factor and a
                                                                       40          —NR5—, —C(=X2)—, —C(=X2)—N(R5)—,
       Respiratory Syncytial Virus RSV) growth factor. The for-
                                                                                   — N( 15)—C(=X2)—. —C(=X2)-0—, —0—C
       mulation will be lyophilized, and 1 to 10 mg of the lyo-
                                                                                  (=X2)- or —X2—(12,X2)P(=X2)—X2—;
       philized formulation will be waled on a balloon of an
                                                                               each R7 is independently alkylene of 2 to about 20
       angioplasty catheter. Coating will be accomplished by sim-
                                                                                   carbons;
       ply dipping the balloon into the formulation. The angio-
                                                                       45      each R8 is independently hydrogen or alkyl of 1 to
       plasty catheter will be introduced into the left anterior
                                                                                   about 60 carbons;
       descending coronary artery of a patient to cross the region of
                                                                               each of R9 and R10 is independently alkylene of 2 to
       a hemodynamically significant stenosis. The catheter will be
                                                                                   about 20 carbons; and
       inflated to 6 atmospheres of pressure with the coated bal-
                                                                               each R11 is independently —[R.,—X3L-12, or —R9-
       loon. The stenosis will be alleviated and the lyophilized
                                                                       50         [X4 R10]4 W, wherein:
       coating on the balloon will be deposited on the arterial wall.
                                                                                   each W is independently a phosphate residue,
       Transfection of endothelial cells results in localized produc-
                                                                                     —N(1212),,,              —KR12)„, or —0O211129
       tion of endothelial cell growth factor. Healing of the arterial
                                                                                     wherein w is an integer from 1 to 3; and
       wall will be improved and fibroblast proliferation will be
                                                                                   R12 is —[R7—X3L—R8; with the proviso that the
       reduced, resulting also in lessened restenosis.
                                                                       55            compound of formula (I) comprises at least two
                               EXAMPLE 11                                            quaternary salts.
                                                                             2. The compound according to claim 1 wherein said
          The procedure described in Example 10 will be repeated          quaternary salt comprises a pharmaceutically-acceptable
       except that the surface of the catheter balloon will he            counter ion.
       modified to improve the binding of the lyophilized cationic 60       3. The compound according to claim 2 wherein said
       lipid formulation according to the procedure described in K.       counter ion is selected from the group consisting of halide,
       Ishihara et al., Journal of Biomedical Materials Research,         12,3S03, R13CO2, phosphate, sulfite, nitrate, gluconate,
       Vol. 27, pp. 1309-1314 (1993).                                     guluronate, galacturonate, estolate and mesylate, wherein
                                                                          R13 is hydrogen, alkyl of 1 to about 20 carbons or aryl of
                               EXAMPLE 12
                                                                       65 about 6 to about 10 carbons.
          The procedure described in Example 10 will be repeated             4. The compound according to claim 1 wherein said
       except that a vascular stent comprising, for example,              compound is in lyophilized form.




                                                                                                                            JA00932
                                                                                                                 MRNA-GEN-00222942
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                                                             5,830,430
                                 43                                                               44
        5. The compound according to claim 1 wherein:                     a is 3; and
        each of c, d, x, y and z is independently an integer from         each c is independently 0 or 1.
           0 to about 50;                                                 18. The compound according to claim 17 wherein:
        each Q is independently a phosphate residue, -0O 2R„              b is 1.
                                                                    5
           or -N(R„)q, wherein q is 2 or 3; and                           19. The compound according to claim 18 which is N,N'-
        each W is independently a phosphate residue, -0O 2R,2          bis(dodecyloxycarbonylmethylene)-N,M-bis(13-N,N,N-
           or -N(R,2)„„ wherein w is 2 or 3.                           trimethylammoniumethylaminocarbonylmethylene)
        6. The compound according to claim 5 wherein:                  ethylenediamine dihalide.
        each of q and w is 3.                                             20. '!he compound according to claim 19 wherein said
                                                                    10
        7. The compound according to claim 6 wherein:                  halide is chloride, bromide or iodide.
                                                                          21. The compound according to claim 18 which is N,N'-
        each of c, d, x, y and z is independently an integer from      bis(hexadecylaminocarbonylmethylene-N,N'-bis
           0 to about 20; and                                          (trimethylammoniumethylaminocarbonylmethylene)
        X2 is O.                                                       ethylenediaminedihalide.
        8. The compound according to claim 7 wherein:               15
                                                                          22. The compound according to claim 21 wherein said
        each of c, d, x, y and z is independently an integer from      halide is chloride, bromide or iodide.
           0 to about 10; and                                             23. The compound according to claim 17 wherein:
        each of X„ X3 and X4 is independently -C(=0)-                     b is 2.
           NR5-, -NR 5-C(=0)-,              -C(=0)-0-            or 20    24. The compound according to claim 23 which is N,N'-
           -0-C(=0)-.                                                  bis(dodecylam inocarbonylmethylene)-N,N'-bis(13-N,N,
        9. The compound according to claim 8 wherein:                  N-trimethylammoniumethylaminocarbonylmethylene)-N,
        each of c, d, x, y and z is an integer from 0 to about 5.      N'-dimethylethylenediamine tetrahalide.
        10. The compound according to claim 9 wherein:                    25. The compound according to claim 24 wherein said
        each of R,, R2, R3 and R4 is independently straight chain 25 halide is chloride, bromide or iodide.
           alkylene of 2 to about 10 carbons or cycloalkylene of          26. The compound according to claim 23 which is N,N'-
           about 4 to about 10 carbons;                                bis(dodecylaminocarbonylmethylene)-N,N'-bis(13-N,N,
                                                                       N-trimethylammoniumethylaminocarbonylmethylene)-N,
        each R5 is independently hydrogen or alkyl of 1 to about       N'-dimethylcyclohexylene-1,4-diamine tetrahalide.
           4 carbons;                                                     27. The compound according to claim 26 wherein said
                                                                    30
        each R7 is independently alkylene of 2 to about 10             halide is chloride, bromide or iodide.
           carbons;                                                       28. The compound according to claim 23 which is N,N'-
        each R8 is independently hydrogen or alkyl of 1 to about       bis(hexadecylaminocarbonylmethylene)-N,N'-bis(13-N,N,
           40 carbons; and                                             N-trimethylaxmmoniumethylaminocarbonylmethylene)-N,
        each of IL, and R10 is independently alkylene of 2 to about 35 N'-dimethylethylenediamine tetrahalide.
           10 carbons.                                                    29. The compound according to claim 28 wherein said
        11. The compound according to claim 10 wherein:                halide is chloride, bromide or iodide.
        each of R,, R2, R3 and R4 is independently straight chain         30. The compound according to claim 17 wherein:
           alkylene of 2 to about 4 carbons or cycloalkylene of           each b is independently 1 or 2.
           about 5 to about 7 carbons;                              40    31. The compound according to claim 30 which is N,N'-
        R5 is hydrogen;                                                bis(hexadecyloxycarbonylmethylene)-N-(P-N,N,
                                                                       N-trimethylammoniumethylaminocarbonylmethylene)-N-
        each R7 is independently alkylene of 2 to about 4 carbons;
                                                                       methyl-N'-(carboxymethylene)ethylenediamine dihalide.
        each R8 is independently hydrogen or alkyl of 1 to about          32. The compound according to claim 31 wherein said
           20 carbons; and                                          45 halide is chloride, bromide or iodide.
        each of R9 and R10 is independently alkylene of 2 to about        33. The compound according to claim 13 wherein:
           4 carbons.                                                     y is 2 and z is 0 or 1.
        12. The compound according to claim 11 wherein:                   34. The compound according to claim 33 wherein:
        each Y, is independently a phosphate residue, N(R6).-             a is 3;
           or -0 O2R6;                                              50    b is 2;
        Y2 is -N -(R 6)5-; and
                                                                          each c is independently 0 or 1; and
        each Y3 is independently a phosphate residue, N(126).-
                                                                          d is 1.
           or -0O 2R6.
                                                                          35. The compound according to claim 34 wherein:
        13. The compound according to claim 12 wherein:
        x is 1.                                                     55    R11 is -[ R7-X3],-R 8.
                                                                          36. The compound according to claim 35 wherein:
        14. The compound according to claim 13 wherein:
                                                                          each of R„ R2, R3, R4 and R7 is independently methylene
        y is 2 and z is 0.                                                   or ethylene; and
        15. The compound according to claim 14 wherein:
                                                                          each R8 is independently hydrogen or alkyl of 1 to about
        each Y, is independently N(R6)„- or -CO2R6; and
                                                                    60       16 carbons.
        R6 is -[R 7-X 31-128.                                             37. The compound according to claim 36 which is N,N"-
        16. The compound according to claim 15 wherein:                bis(hexadecylaminocarbonylmethylene)-N,N',N"-tris(3-
        each of R„ R2, R3, R4 and R7 is independently methylene,       N,N, N-trimethylammoniumethylaminocarbonylmethylene)
           ethylene or cyclohexylene; and                              -N,N',N"-trimelhyldielhylenetriamine hexahalicie.
        each R8 is independently hydrogen or alkyl of about 1 to 65       38. The compound according to claim 37 wherein said
           about 16 carbons.                                           halide is chloride, bromide or iodide.
        17. The compound according to claim 16 wherein:                   39. The compound according to claim 13 wherein:




                                                                                                                        JA00933
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                                                              5,830,430
                                   45                                                              46
          y is 3 and z is 0.                                              57. The cationic lipid composition according to claim 49
          40. The compound according to claim 39 wherein:              further comprising a gas, a precursor to a gas, or a mixture
          a is 3;                                                      thereof, and an amphipathic compound for stabilizing the
          b is 2;                                                      composition.
          each c is independently 0 or 1; and                        5    58. The cationic lipid composition according to claim 57
          d is 1.                                                      wherein said amphipathic compound comprises a lipid.
          41. The compound according to claim 40 wherein:                 59. The cationic lipid composition according to claim 58
                                                                       which is selected from the group consisting of suspensions,
          each of R„ R2, R3, R4 and R7 is independently methylene      emulsions, and vesicle compositions.
             or ethylene;                                                 60. The cationic lipid composition according to claim 59
          each R8 is independently hydrogen or alkyl of 1 to about 10 which comprises a cationic vesicle composition.
             16 carbons;                                                  61. The cationic vesicle composition according to claim
          each of R9 and R10 is independently methylene or ethyl-      60 wherein said vesicles are selected from the group con-
             ene; and                                                  sisting of unilamellar vesicles, oligolamellar vesicles and
          R„ is methyl.                                                multilamellar vesicles.
          42. The compound according to claim 41 which is 1,1,7, 15       62. The cationic vesicle composition according to claim
       7 - t e t r a ( 13 -N , N , N , N-                              61 wherein said lipid is a polymerizable lipid.
       tetramethylammoniumethylaminocarbonylmethylene)-4-                 63. The cationic vesicle composition according to claim
       hexadecylaminocarbonylmethylene-N,N.N'-trimethy1-1,4,           61 further comprising polyethyleneglycol.
       7-triazaheptane heptahalide.                                       64. The cationic vesicle composition according to claim
          43. The compound according to claim 42 wherein said 20 61 wherein said vesicles comprise unilamellar vesicles.
       halide is chloride, bromide or iodide.                             65. The cationic vesicle composition according to claim
          44. The compound according to claim 13 wherein:              64 wherein said vesicles comprise a monolayer.
          y is 3 and z is 0.                                              66. The cationic vesicle composition according to claim
          45. The compound according to claim 44 wherein:              65 wherein said lipid is a phospholipid and said gas or said
          a is 3;                                                   25 precursor to a gas is sulfur hexafluoride.
          b is 1;                                                         67. The cationic vesicle composition according to claim
                                                                       65 wherein said lipid is a phospholipid and said gas or
          c is 0; and
                                                                       gaseous precursor is perfluoropentane.
          d is 1.                                                         68. The cationic vesicle composition according to claim
          46. The compound according to claim 45 wherein:           30 65 wherein said lipid is a phospholipid and said gas or
          each of R„ itz and R3 is independently methylene or          gaseous precursor is perfluoropropane.
             ethylene;                                                    69. The cationic vesicle composition according to claim
          each R8 is independently hydrogen or methyl;                 64 wherein said vesicles comprise a bilayer.
          each of R9 and R10 is independently methylene or ethyl-         70. The cationic vesicle composition according to claim
             ene; and                                               35 69 wherein said lipid is a phospholipid and said gas or
          R„ is methyl.                                                gaseous precursor is sulfur hexafluoride.
          47. The compound according to claim 46 which is N,N,            71. The cationic vesicle composition according to claim
       N" ,N"           - t e t r a ( (3 -N,N,N-                       69 wherein said lipid is a phospholipid and said gas or
       trimethylammoniumethylaminocarbonyl-methylene)-N'-(1,           gaseous precursor is perfluompentane.
       2 - d i o l eoy             l g l yce r o -3 - 40                  72. The cationic vesicle composition according to claim
       phosphoethanolaminocarbonylmethylene)                           69 wherein said lipid is a phospholipid and said gas or
       diethylenetriamine tetrahalide.                                 gaseous precursor is perfluoropropane.
          48. The compound according to claim 47 wherein said             73. The cationic vesicle composition according to claim
       halide is chloride, bromide or iodide.                          59 wherein said vesicles are selected from the group con-
          49. A cationic lipid composition comprising the cationic 45 sisting of oligolamellar and multilamellar vesicles.
       lipid compound according to claim 1.                               74. The cationic vesicle composition according to claim
          50. The cationic lipid composition according to claim 49     73 wherein said vesicles comprise monolayers.
       wherein said composition is lyophilized.                           75. The cationic vesicle composition according to claim
          51. The cationic lipid composition according to claim 49     74 wherein said lipid is a phospholipid and said gas or
       which is selected from the group consisting of micelles, so gaseous precursor is sulfur hexafluoride.
       liposomes and mixtures thereof.                                    76. The cationic vesicle composition according to claim
          52. The cationic lipid composition according to claim 51     74 wherein said lipid is a phospholipid and said gas or said
       further comprising an amphipathic compound for stabilizing      precursor to a gas is perfluoropentane.
       the composition.                                                   77. The cationic vesicle composition according to claim
          53. The cationic lipid composition according to claim 52 55 74 wherein said lipid is a phospholipid and said gas or
       further comprising a gas, a precursor to a gas or a mixture     gaseous precursor is perfluoropropane.
       thereof.                                                           78. The cationic vesicle composition according to claim
          54. The cationic lipid composition according to claim 53     73 wherein said vesicles comprise bilayers.
       wherein said gas or said precursor to a gas is selected from       79. The cationic vesicle composition according to claim
       the group consisting of perfluoromethane, perfluoroethane, 60 78 wherein said lipid is a phospholipid and said gas or
       perfluoropropane, perfluorobutane, perfluorocyclobutane,        gaseous precursor is sulfur hexafluoride.
       perfluoropentane, perfluorohexane, and mixtures thereof.           80. The cationic vesicle composition according to claim
          55. The cationic lipid composition according to claim 53     78 wherein said lipid is a phospholipid and said gas or
       which comprises a mixture of a gas and a precursor to a gas.    gaseous precursor is perfluoropentane.
          56. The cationic lipid composition according to claim 54 65     81. The cationic vesicle composition according to claim
       wherein said gas or gaseous precursor further comprises         78 wherein said lipid is a phospholipid and said gas or
       nitrogen.                                                       gaseous precursor is perfluoropropane.




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                                                               5,830,430
                                   47                                                                48
          82. The cationic lipid composition according to claim 58        107. The lipid formulation according to claim 103 further
       wherein said lipids comprise unilamellar lipids, oligolamel-    comprising a gas, a gaseous precursor or a mixture thereof.
       lar lipids or multilamellar lipids.                                108. The lipid formulation according to claim 107
          83. The cationic lipid composition according to claim 82     wherein said gas, gaseous precursor or mixture thereof is
       wherein said lipids are polymerizable lipids.                 5 selected from the group consisting of perfluoromethane,
          84. The cationic lipid composition according to claim 82     perfluoroethane, perfluoropropane, perfluorobutane,
       further comprising polyethyleneglycol.                          perfluorocyclobutane, perfluoropentane, perfluorohexane
          85. The cationic lipid composition according to claim 82     and mixtures thereof.
       wherein said lipids comprise unilamellar lipids.                   109. The lipid formulation according to claim 108
          86. The cationic lipid composition according to claim 85 10 wherein said gas, gaseous precursor or mixture thereof
       wherein said lipids are in the form of a monolayer.             further comprises nitrogen.
          87. The cationic lipid composition according to claim 86        1.10. The process for the preparation of a cationic lipid
       wherein said lipids are phospholipids and said gas or gas-      formulation for the intracellular delivery of a bioactive agent
       eous precursor is sulfur hexafluoride.                          comprising combining together a bioactive agent and a
          88. The cationic lipid composition according to claim 86     cationic lipid composition which comprises the cationic
       wherein said lipids are phospholipids and said gas or gas- 15 lipid compound according to claim 1.
       eous precursor is perfluoropentane.                                111. The process according to claim 110 wherein said
          89. The cationic lipid composition according to claim 86     hioactive agent comprises genetic material.
       wherein said lipids are phospholipids and said gas or gas-         112. The process according to claim 110 wherein said
       eous precursor is perfluoropropane.                             formulation is lyophilized.
          90. The cationic lipid composition according to claim 85 20     113. The process according to claim 110 wherein said
       wherein said lipids are in the form of a bilayer.               composition is selected from the group consisting of
          91. The cationic lipid composition according to claim 90     micelles, liposomes and mixtures thereof.
       wherein said lipids are phospholipids and said gas or gas-         114. The process according to claim 113 comprising
       eous precursor is sulfur hexafluoride.                          entrapping said bioactive agent within said micelles or
          92. The cationic lipid composition according to claim 90 25 liposomes.
       wherein said lipids are phospholipids and said gas or gas-         115. The process according to claim 110 wherein said
       eous precursor is perfluoropentane.                             composition further comprises a gas, a gaseous precursor or
          93. The cationic lipid composition according to claim 90     a mixture thereof.
       wherein said lipids are phospholipids and said gas or gas-         116. The process according to claim 115 wherein said gas,
                                                                       gaseous precursor or mixture thereof is selected from the
       eous precursor is perfluoropropane.                          30
                                                                       group consisting of perfluoromethane, perfluoroethane,
          94. The cationic lipid composition according to claim 82     perfluoropropane, perfluorobutane, perfluorocyclobutane,
       wherein said lipids comprise oligolamellar lipids or multi-     perfluoropentane, perfluorohexane and mixtures thereof.
       lamellar lipids.                                                   117. The process according to claim 116 wherein said gas,
          95. The cationic lipid composition according to claim 94     gaseous precursor or mixture thereof further comprises
       wherein said lipids are in the form of monolayers.           35 nitrogen.
          96. The cationic lipid composition according to claim 95        118. A method for delivering intracellularly a bioactive
       wherein said lipids are phospholipids and said gas or gas-      agent comprising contacting a cell with a cationic lipid
       eous precursor is sulfur hexafluoride.                          composition which comprises the cationic lipid compound
          97. The cationic lipid composition according to claim 95     according to claim I and the hioactive agent.
       wherein said lipids are phospholipids and said gas or gas- 40      119. The method according to claim 118 wherein said
       eous precursor is perfluoropentane.                             composition is reconstituted from a lyophilized composi-
          98. The cationic lipid composition according to claim 95     tion.
       wherein said lipids are phospholipids and said gas or gas-         120. The method of claim 118 wherein said composition
       eous precursor is perfluoropropane.                             is selected from the group consisting of micelles, liposomes
          99. The cationic lipid composition according to claim 94 45 and mixtures thereof.
       wherein said lipids are in the form of bilayers.                   121. The method of claim 120 comprising said hioactive
          100. The cationic lipid composition according to claim 99    agent entrapped within said micelles or liposomes.
       wherein said lipids are phospholipids and said gas or gas-         122. The method of claim 118 wherein said bioactive
       eous precursor is sulfur hexafluoride.                          agent comprises genetic material.
          101. The cationic lipid composition according to claim 99 50 123. The method of claim 122 wherein said genetic
       wherein said lipids are phospholipids and said gas or gas-      material is selected from the group consisting of
       eous precursor is perfluoropentane.                             polynucleotide, DNA, RNA, polypeptide and mixtures
          102. The cationic lipid composition according to claim 99    thereof.
       wherein said lipids are phospholipids and said gas or gas-         124. The method according to claim 118 wherein said
       eous precursor is perfluoropropane.                          55 composition further comprises a gas, a gaseous precursor or
          103. A cationic lipid formulation for the intracellular      a mixture thereof.
       delivery of a bioactive agent comprising, in combination           125. The method according to claim 124 wherein said gas,
       with a bioactive agent, a cationic lipid composition which      gaseous precursor or mixture thereof is selected from the
       comprises the cationic lipid compound according to claim 1.     group consisting of perfluoromethane, perfluoroethane,
          104. The lipis formulation according to claim 103 wherein 60 perfluoropropane, perfluorobutane, perfluorocyclobutane,
       said bioactive agent comprises genetic material.                perfluoropentane, perfluorohexane and mixtures thereof.
          105. The lipid formulation according to claim 103 which         126. The method according to claim 125 wherein said gas,
       is selected from the group consisting of micelles, liposomes    gaseous precursor or mixture thereof further comprises
       and mixtures thereof.                                           nitrogen.
          106. The lipid formulation according to claim 105 com- 65       127. The cationic vesicle comprising a cationic lipid
       prising said bioactive agent entrapped within said micelles     compound according to claim 1 and a gas or gaseous
       or liposomes.                                                   precursor.




                                                                                                                            JA00935
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                                                                5,830,430
                                   49                                                            50
          128. The cationic vesicle according to claim 127 which is     each X2 is independently 0 or S;
       selected from the group consisting of unilamellar vesicles,      each Y, is independently a phosphate residue, N(R6)„—,
       oligolamellar vesicles and multilamellar vesicles.                            P(R6)„— or CO2126, wherein a is an inte-
          129. The cationic vesicle according to claim 128 which
       comprises unilamellar vesicles.                                    ger from 1 to 3;
                                                                      5
          130. The cationic vesicle according to claim 129 which        each Y2 is independently —N(Rs)b—, —S(Rs)b— or
       comprises a monolayer.                                             —P(Rs)s—, wherein b is an integer from 0 to 2;
          131. The cationic vesicle according to claim 129 which        each Y3 is independently a phosphate residue, N(126)„—,
       comprises a bilayer.                                               S(R6)o—, P(Ro)„— or —0O2R6, wherein a is an inte-
          132. The cationic vesicle according to claim 128 which is 10    ger from 1 to 3;
       selected from the group consisting of oligolamellar vesicles
       and multilamellar vesicles.                                      each of RI, R2, R3 and R4 is independently alkylene of 1
          133. The cationic vesicle according to claim 132 which          to about 20 carbons;
       comprises monolayers.                                            each R5 is independently hydrogen or alkyl of 1 to about
          134. The cationic vesicle according to claim 132 which          10 carbons; and
       comprises bilayers.                                            15
          135. The cationic vesicle according to claim 132 further      each R6 is independently —[127—X3L—R, or —R9
       comprising an amphipathic compound for stabilizing the             [X4—R10],—Q, wherein:
       vesicle.                                                           each of c and d is independently an integer from 0 to
          136. The cationic vesicle according to claim 135 wherein           about 100;
       said amphipathic compound comprises a lipid.                   20  each Q is independently a phosphate residue,
          137. The cationic vesicle according to claim 136 wherein           —N(R„        —S(R11),79         11),7 or —0O2R6,
       said lipid is a phospholipid and said gas or gaseous precursor        wherein q is an integer from 1 to 3;
       is sulfur hexafluoride.                                            each of X3 and X4 is independently —0—, —S—,
          138. The cationic vesicle according to claim 136 wherein           —NR5—, —C(=X2)—, —C(=X2)—N(125)—,
       said lipid is a phospholipid and said gas or gaseous precursor 25
       is perfluoropentane.                                                  -N(Z 5)-(=X      2)-,       (- X2) 0     , —0—C
          139. The cationic vesicle according to claim 136 wherein           (=X2)- or —X2—I5X2)1.1=X2)—X2—;
       said lipid is a phospholipid and said gas or gaseous precursor     each R7 is independently alkylene of 1 to about 20
       is perfluompmpane.                                                    carbons;
          140. The cationic vesicle according to claim 136 wherein 30     each R8 is independently hydrogen or alkyl of 1 to
       said lipid is a polymerizable lipid.                                  about 40 carbons;
          141. The cationic vesicle according to claim 136 further        each of R9 and 1210 is independently alkylcnc of 1 to
       comprising polyethyleneglycol.                                        about 20 carbons; and
          142. A cationic lipid compound of the formula                   each R11 is independently —[127—X3]—R s or
                                                                             —R9—[X4—R„]y—W, wherein:
                                                                   35
                                (R4-1(3%                       (1)           each W is independently a phosphate residue,
                                                                                            —S(R12)„,, —P(R12), or —0O2R6,
              -(RL -Xi )x -R2-EY2-My-(XL -R -Y
                                                                                wherein w is an integer from 1 to 3; and
       wherein:                                                         R12 is —[127—X3L—R8; with the proviso that the corn-
         each of x, y and z is independently an integer from 0 to 40      pound of formula (I) comprises at least one quaternary
           about 100;                                                     salt.
         each X, is independently —0—, —S—, —NR,—,                      143. The compound according to claim 142 wherein said
           —C(=X2)—, —C(=X2)—N(R5)—, —N(R5)—C                         compound is in lyophilized form.
           (=X2)—,                         —0—C(=X2)— or
                                                                                           *   *   *  *   *
           —X2—Ol5)(013(=XD—X2—;




                                                                                                                       JA00936
                                                                                                            MRNA-GEN-00222946
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                         UNITED STATES PATENT AND TRADEMARK OFFICE
                             CERTIFICATE OF CORRECTION
          PATENT NO     5,830,430
                         :                                                                Page 1 of 6
          DATED       : Nov. 3, 1998
          INVENTOR(S) : Unger et al.

            It is certified that error appears in the above-indentifled patent and that said Letters Patent is
                                                                                                               hereby
            corrected as shown below:

          On the cover page, second column, under "OTHER PUBLICATIONS", at "Villanueva et
          al.", please delete "Patters" and insert —Patterns-- therefor.

          On the cover page, second column, under "OTHER PUBLICATIONS", at "Keller et al.",
          second line thereof, please delete "Microcirulation" and insert --Microcirculation—
          therefor.

          On page 5, first column, under "OTHER PUBLICATIONS", at "Shiina et al.", please
          delete "Hyperthermiaby" and insert --Hyperthermia by-- therefor.

          On page 5, first column, under "OTHER PUBLICATIONS", at "Poznansky et al.", please
          delete "Biologica" and insert --Biological-- therefor.

          On page 5, second column, under "OTHER PUBLICATIONS", at "Ter-Pogossia", please
          delete "Ter-Pogossia" and insert --Ter-Pogossian,-- therefor.

          On page 5, second column, under "OTHER PUBLICATIONS", at "San", please delete
          "Toxicitiy" and insert --Toxicity-- therefor.

          On page 6, first column, under "OTHER PUBLICATIONS", at "Behr, J.", second line
          thereof, please delete "lipopolyamine-caoted" and insert —lipopolyamine-coated" therefor.




                                                                                                                   JA00937
                                                                                                        MRNA-GEN-00222947
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                       UNITED STATES PATENT AND TRADEMARK OFFICE
                        CERTIFICATE OF CORRECTION
        PATENT NO. : 5,830,430                                                          Page 2 of 6
        DATED          : Nov. 3, 1998
        INVENTOR(S) :     Unger et al.

           it is certified that error appears in the above-indentlfied patent and that said Letters Patent is hereby
           corrected as shown below:

         On page 6, second column, under "OTHER PUBLICATIONS", at "Stcl'mashok et al.",
         please delete "Stermashok" and insert --Stelmashok-- therefor.

         In column 3, line 18, please delete "or _co2R6," and insert --or CO2&,-- therefor.

          In column 3, line 51, please delete "—[R,--X3], R8" and insert -- —[R7--X3].—Rs--
        - therefor.

         In column 5, line 5, please delete "R11, is" and insert --R11 is-- therefor.

         In column 6, line 49, please delete "rylthio" and insert --arylthio-- therefor.

         In column 9, line 3, please delete "generally, concentric" and insert --generally
         concentric-- therefor.

         In column 12, line 35, please delete "—C(-- -0)—NR6--" and insert                      —C(=0)--NR5--- —
         therefor.

         In column 14, line 62, please delete "[X4—Ri]d—Q" and insert — [X4—Rio]cr--Q --
         therefor.

         In column 19, line 60, please delete "Macro molecular" and insert --Macromolecular--
         therefor.




                                                                                                                   JA00938
                                                                                                        MRNA-GEN-00222948
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                       UNITED STATES PATENT AND TRADEMARK OFFICE
                         CERTIFICATE OF CORRECTION
        PATENT NO. : 5,830,430                                                           Page 3 of 6
        DATED         Nov. 3, 1998
        INVENTOR(S) : Unger et al.

           It is certified that error appears in the above-indentified patent and that said Letters Patent is hereby
           corrected as shown below:

         In column 20, line 55, please delete "resent" and insert --present-- therefor.

         In column 20, lines 57-58, please delete "fluoro surfactant" and insert —fluorosurfactant--
         therefor.

         In column 22, line 5, please delete "quipment" and insert --equipment-- therefor.

         In column 22, line 9, please delete "ompositions" and insert --compositions-- therefor.

         In column 22, line 9, please delete "resent" and insert --present-- therefor.

         In column 27, line 5, please delete "intra ocular" and insert --intraocular-- therefor.

         In column 27, line 5, please delete "trans epithelial" and insert --transepithelial— therefor.

         In column 29, line 29, please delete "(dodecylaminocarbonylmethylene)-N,N-'-bis" and
         insert --(dodecylaminocarbonylmethylene)-N,N'-bis— therefor.

         In column 30, line 35, please delete "0.59" and insert —0.5%-- therefor.

         In column 30, line 61, please delete "(hexadecylaminocarbonylmethylene)-N,N'N"-trisa3-
         " and insert — (hexadecylaminocarbonylmethylene)-N,N',N"-tris(13- — therefor.




                                                                                                                   JA00939
                                                                                                        MRNA-GEN-00222949
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                        UNITED STATES PATENT AND TRADEMARK OFFICE
                          CERTIFICATE OF CORRECTION
         PATENT NO. : 5,830,430                                                            Page 4     of 6
         DATED           : Nov. 3, 1998
         INVENTOR(S)       Unger et al.
                                                                                          said Letters Patent is hereby
            It is certified that error appears in the above-indentified patent and that
            corrected as shown below:

       In column 35, line 17, please delete "00-50° C" and insert --0°-5° C-- therefor.

       In column 38, line 57, please delete "CAT ELISATThi" and insert --CAT ELISATM--
       therefor.

       In column 42, line 57, claim 2, please delete "claim 1" and insert -- claim 142 -- therefor.

       In column 42, line 66, claim 4, please delete "claim 1" and insert -- claim 142 -- therefor.

       In column 43. line 1, claim 5, please delete "claim 1" and insert -- claim 142 -- therefor

       In column 43, line 48, claim 12, please delete "claim 11" and insert -- claim 142 —
       therefor.

       In column 44, line 14, claim 21, please delete "ethylenediaminedihalide" and insert
       --ethylenediamine dihalide-- therefor.

       In column 44, line 34, claim 28, please delete "N-trimethylaxmmoniumethylamino-
       carbonylmethylenel-N" and insert --N-
       trimethylammoniummethylaminocarbonylmethylene)-N therefor.

       In column 45, line 18, claim 42, please delete "hexadecylaminocarbonylmethylene-
       N,N',N'-trimethy1-1,4" and insert --hexadecylaminocarbonylmethylene-N,N',N"-
       trimethy1-1,4— therefor.




                                                                                                                      JA00940
                                                                                                            MRNA-GEN-00222950
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                      UNITED STATES PATENT AND TRADEMARK OFFICE
                        CERTIFICATE OF CORRECTION
        PATENT NO. :  5,830,430                                                         Page 5 of 6
        DATED       : Nov. 3. 1998
        INVENTOR(S) : Unger et al.


          It is certified that error appears in the above-indentified patent and that said Letters Patent is hereby
          corrected as shown below:

         In column 45, line 46, claim 49, please delete "claim 1" and insert -- claim 142 --
                                                                                                               therefor.

         In column 46, line 16, claim 62, please delete "polyrnerizable" and insert
         --polymerizable-- therefor.

         In column 47. line 59, claim 103. please delete "claim 1" and insert -- claim 142 --
         therefor.

         In column 47, line 60, claim 104, please delete "lipis" and insert --lipid-- therefor.

         In column 48, line 12, claim 110, please delete "The process for" and insert --A process
         for-- therefor.

         In column 48, line 15, claim 110. please delete "claim 1" and insert -- claim 142 --
         therefor.

         In column 48, line 39, claim 118, please delete "claim 1" and insert -- claim 142 --
         therefor.




                                                                                                                  JA00941
                                                                                                       MRNA-GEN-00222951
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                       UNITED STATES PATENT AND TRADEMARK OFFICE
                         CERTIFICATE OF CORRECTION
                                                                                                    Page 6 of 6
        PATENT NO. .  5,830,430
        DATED       : Nov. 3, 1998
        INVENTOR(S) : Unger et al.

           It is certified that error appears in the above-indentified patent and that said Letters Patent is hereby
           corrected as shown below:

      In column 48, line 66, claim 127, please delete "claim 1" and insert -- claim 142 --
      therefor.




                                                                       Signed and Sealed this
                                                           Twenty-third Day of November, 1999


                                 Attest:

                                                                                 Q. TODD DICKINSON

                                 Attesting Officer                   Acting Cnnunissioner of Patents and Trademarks




                                                                                                                       JA00942
                                                                                                            MRNA-GEN-00222952
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                   JOINT APPENDIX 33
                                                                                      Case 1:22-cv-00252-MSG Document 181-2 Filed 01/03/24 Page 281 of 820 PageID #: 7767
RIGHT, BSIP, CAVALLINI JAMES/SPL; MIDDLE RIGHT, K. BOLLER/SPL; FAR RIGHT, NIBSC/SPL   news feature




                                                                                      RNA to the rescue?
                                                                                      Disease therapies based on a technique for gene silencing called RNA
                                                                                      interference are racing towards the clinic. Erika Check investigates
                                                                                      molecular medicine’s next big thing.
                                                                                                                                        elegans1. Yet doctors and biotech executives

                                                                                      M
                                                                                               edicine’s molecular revolution is                                                         When a gene is activated, its sequence is read
                                                                                               overdue. By now, enthusiasts led us      are now talking about beginning human tri-       to produce messenger RNA (mRNA), which
                                                                                               to believe, gene therapy and related     als within the next two or three years — an      contains the information necessary to manu-
                                                                                      treatments should have transformed clinical       astonishing rate of progress. Part of the        facture a particular protein. So by using
                                                                                      practice. Diseases, they told us, would be        excitement stems from the knowledge that,        siRNAs or double-stranded RNAs that corre-
                                                                                      cured at their genetic roots, by repairing        unlike techniques such as gene therapy,          spond to a specific mRNA sequence,
                                                                                      defective human DNA or by disabling the           RNAi is a natural defence mechanism that is      researchers can trick a cell into destroying this
                                                                                      genes of infectious microbes. But it has          thought to have evolved to protect organ-        mRNA and silencing the gene in question.
                                                                                      proved frustratingly difficult to make these      isms from viral diseases.                            As soon as it became obvious that the
                                                                                      methods work in the clinic — if you get                                                            phenomenon operates in mammals3 as well
                                                                                      sick, your doctor will probably still treat you   Dicey defence                                    as in lower organisms, clinicians pricked up
                                                                                      with the pills and potions of old-fashioned       Many viruses have a genetic blueprint made       their ears. In theory, RNAi could be used to
                                                                                      medicinal chemistry.                              from RNA, rather than DNA. When they             treat any disease — forms of cancer, for
                                                                                          Given this chastening experience, you         infect a cell, they make double-stranded         instance — that is linked to an overactive
                                                                                      would expect experts to be cautious about         copies of their genetic material. In response,   gene or genes. But for the time being, most of
                                                                                      the prospects of molecular medicine’s latest      the RNAi pathway strikes back. An enzyme         the clinical interest lies in applying RNAi in
                                                                                      hope — a gene-silencing mechanism known           known as Dicer first chops the double-           its natural role: as a means of combating
                                                                                      as RNA interference, or RNAi. But instead,        stranded viral RNA into small segments of        pathogenic viruses by disabling their RNA.
                                                                                      researchers can barely contain their enthusi-     genetic code, each around 22 ‘letters’ long.         One of the obvious targets is HIV — a
                                                                                      asm. “Right now, everybody’s excited,” says       These segments, known as small interfering       virus for which there is no cure and no vac-
                                                                                      Anastasia Khvorova, director of biology with      RNAs, or siRNAs, then separate into single       cine.Last year,for instance,molecular virolo-
                                                                                      Dharmacon in Lafayette, Colorado, a com-          strands and some bind to intact stretches of     gist Bryan Cullen of Duke University Medical
                                                                                      pany that supplies RNAi technologies to           single-stranded viral RNA. Finally, proteins     Center in Durham, North Carolina, intro-
                                                                                      researchers and companies that develop            target this tagged viral RNA and destroy it2.    duced siRNAs against two HIV genes into the
                                                                                      therapeutics.                                     As a result, RNAi shuts off key viral genes,     human immune cells that are destroyed by
                                                                                          The term RNAi was coined just five years      potentially nipping infections in the bud.       the virus. The siRNAs allowed these cells
                                                                                      ago, in a paper documenting the phenome-              Biologists are exploiting RNAi as an         to resist viral replication better than those
                                                                                      non in the nematode worm Caenorhabditis           experimental tool to find out what genes do.     that had not been triggered to undergo RNAi
                                                                                      10                                                       © 2003 Nature Publishing Group
                                                                                                                                                                                                                      JA00943
                                                                                                                                                                                   NATURE | VOL 425 | 4 SEPTEMBER 2003 | www.nature.com/nature
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                                                                                                                                  news feature
                                                        Combating the incurable: researchers are testing       sequence that binds tightly to the mRNA.
                                                        the idea that the RNAi pathway, which shuts            This, the theory goes, should prevent the
                                                        down the genes of invading viruses, can block          mRNA from being translated into protein.
                                                        the replication of hepatitis C virus (far left, RNA    Scientists tried a variety of ways to get the anti-
                                                        shown in yellow) and HIV (left and middle left).       sense RNAs into cells — for example, they
                                                                                                               packed the RNA inside fatty globules, called
                                                        In June, this company merged with                      liposomes, which can cross cell membranes.
                                                        Ribopharma of Kulmbach in Germany.                     But antisense has not performed well in clini-
                                                            Both Avocel and Alnylam are planning to            cal trials,partly because these delivery systems
                                                        begin clinical trials as early as 2005. And hot        were not particularly effective. Khvorova
                                                        on their heels is Sirna Therapeutics of Boul-          believes that the medical benefits of RNAi will
                                                        der, Colorado, which has already raised                be huge if the delivery issues can be resolved.
                                                        US$43 million from investors. Sirna aims to            “But we’ve looked at a lot of the delivery meth-
                                                        develop therapies for hepatitis C and an eye           ods that have been used for antisense, and so
                                                        condition called macular degeneration. For             far I haven’t been impressed,”she says.
                                                        now, these companies are maintaining ami-
                                                        cable relations. But the situation could get           Harmless HIV
                                                        messier as RNAi moves towards the clinic,              Another option is to use a harmless virus as a
                                                        because patent offices around the world have           vector to ferry RNAi-triggering genes into
                                                        not yet decided who owns the rights to some            their target cells. Molecular biologist John
                                                        key RNAi-based technologies.                           Rossi of the Beckman Research Institute of
                                                            Before worrying about the ownership of             the City of Hope Medical Center in Duarte,
                                                        key intellectual property, however, scientists         California, is experimenting with one such
                                                        must figure out how to make RNAi therapies             vector, based on a version of HIV from
                                                        work. They are facing some formidable tech-            which the disease-causing genes have been
                                                        nical barriers, chief among which is the               stripped. Together with colleagues led by
                                                        problem of getting siRNAs into the right               Ramesh Akkina of Colorado State University
                                                        cells. This is not a trivial issue, because RNA        in Fort Collins, Rossi engineered this vector
                                                        is rapidly broken down in the bloodstream,             to contain sequences encoding siRNAs tar-
(ref. 4). Meanwhile, other researchers have             and our cells don’t readily absorb it through          geted against HIV genes. The researchers
shown that, in cultures of human cells, RNAi            their membranes. And even when RNA gets                used their vector to infect the human stem
can similarly combat viruses as diverse as              into its target cell, scavenger proteins quickly       cells that develop into immune cells. Next,
respiratory syncitial virus5, and those that            chew it up. “The major hurdle right now is             they either grew the cells into mature cells in
cause influenza6 and polio7.                            delivery, delivery, delivery,”says Sharp.              the lab, or injected them into mice from a
    RNAi may work like a charm in petri                     Researchers are exploring a variety of ways        special strain that accepts human trans-
dishes — but what about in live animals?                to combat the problem. Some involve tech-              plants. In both cases, the mature immune
Mark Kay, a geneticist at Stanford University           niques developed to facilitate an older tech-          cells fought off HIV when researchers tried
in California, addressed this question by               nology known as ‘antisense’. The idea behind           to infect them with disease-causing HIV in
fusing a genetic sequence from the hepatitis            antisense is to muffle a cell’s single-stranded        culture dishes10.
C virus to a gene for the enzyme luciferase,            mRNA — the ‘sense’strand — using a piece of                Rossi hopes that a similar technique could
which stimulates a reaction that emits light.           antisense RNA with a ‘complementary’                   work in human patients with HIV. Doctors
When Kay injected the fused gene into




                                                                                                                                                                     REF. 8
mouse livers, he could track its location by
detecting the glow. And when the mice were
treated with siRNAs targeted against the
hepatitis C gene, this glow dimmed dramati-
cally8. Hepatitis C doesn’t make mice sick,
but Kay and his colleagues have since gone on
to show that RNAi can drastically reduce
signs of infection by hepatitis B (ref. 9),
which can damage the animals’livers.

Firm plans
Results such as these are attracting intense
commercial interest. In August, Kay
announced that he has licensed his work
on hepatitis C to a company called Avocel
in Sunnyvale, California, which aims to
develop RNAi therapies against the disease.
Other RNA pioneers are lining up with
their own start-up biotech firms. For
instance, Phillip Sharp of the Massachusetts
Institute of Technology in Cambridge, who
shared the Nobel Prize in Physiology or
Medicine for his earlier work on RNA splic-
                                                        In mice containing a glowing version of a hepatitis C gene (left), a small interfering RNA (siRNA) against
ing, is one of the co-founders of Alnylam
                                                        the gene reduces liver fluorescence (middle), but an unrelated copy of the siRNA (right) does not.
Pharmaceuticals, also based in Cambridge.
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news feature
would extract stem cells from a patient’s bone                                                                system were activated,a mechanism by which
marrow, infect them with the RNAi-trigger-                                                                    cells shut themselves down in response to
ing vector, and then put them back into the                                                                   invading germs. The siRNAs activated genes
patient. Rossi is now working to perfect this                                                                 that act early in the interferon pathway, and
technique in mice, and is also beginning tests                                                                Williams’group did not measure whether the
in rhesus monkeys to ensure that the treat-                                                                   activated genes stopped working. But the
ment has no unwanted side effects. He hopes                                                                   team says that its findings provide a warning
to convince the US Food and Drug Adminis-                                                                     that off-target effects are perhaps more com-
tration to authorize a clinical trial in the next                                                             mon than scientists have realized.
two or three years.“I think when we get all this                                                                  Researchers argue that these hints of off-
data compiled we’ll have a fairly free road into                                                              target RNAi effects highlight the need for a
a stem-cell trial,”Rossi predicts.                                                                            deeper understanding of how,exactly,the sys-
    This may be so, but there are nagging                                                                     tem works. For instance, we still don’t know
safety concerns about vectors made from                                                                       for sure how many proteins work together to
viruses in the same family as HIV, which are                                                                  shut down a target mRNA. It’s also unclear
called retroviruses. This is due to the fact that                                                             why some siRNAs are incredibly effective,
retroviruses work by forcing their way into a                                                                 whereas others, targeted at a different region
cell’s own DNA. If the vector lands in the                                                                    of the same gene, don’t work as well. Given
wrong place it can damage important genes                                                                     these unknowns, some researchers urge cau-
and even cause cancer. These concerns were                                                                    tion before rushing into clinical trials.“Before
borne out by last year’s revelation that a                                                                    you know what you could perturb, you have
retroviral vector had triggered leukaemia in                                                                  to know what’s there,” says Tom Tuschl, a
some children in a gene-therapy trial11.                                                                      biochemist and RNAi pioneer at Rockefeller
Because of these concerns, Rossi says that he          Little helpers: Mark Kay hopes to use harmless         University in New York.
will not use stem cells in his first clinical trial.   viruses to deliver RNAi therapy to patients.               Even some of the scientists working in the
Instead, he will initially treat mature                                                                       commercial sector, where excitement about
immune cells, because these cells are less                 Jackson and Bartz are not sure why their           the clinical prospects of RNAi is most
likely to grow out of control.                         results were so different from those obtained          intense, agree that a great deal of ground-
                                                       by Brown’s team, but one possible explana-             work remains to be done. “For real clinical
Safe delivery                                          tion is that they used larger doses of siRNA.          development, this has to be done right,” says
Kay, meanwhile, is pinning his hopes for an            The Rosetta researchers also tested for off-tar-       Khvorova. “Investing a little more time on
RNAi vector on a virus known as adeno-                 get effects sooner after beginning their experi-       the basic steps will pay back in years of time
associated virus, or AAV. He has already used          ment than other groups have in their studies.          saved later on.”
AAV-based vectors in clinical trials of gene           But whatever the explanation, the findings                 But despite all of these caveats, most
therapy against haemophilia12. AAV does not            have shaken up the RNAi camp. “We’ve had               researchers working in this fast-moving field
cause disease in people, and so far there has          some really lively discussions,”says Bartz.            have high hopes that RNAi will deliver on its
been no cause for any serious safety concern               New data from a group at Case Western              therapeutic promise. “This is the honey-
— even though AAV can also integrate into              Reserve University in Cleveland, Ohio, seem            moon period; things are looking great,” says
a cell’s own DNA.                                      to support the Rosetta findings15. Last week,          Kay.“We will encounter technological issues
    Another important question mark hang-              Bryan Williams and his colleagues reported             along the way, but our goal is to solve these
ing over RNAi is its specificity. Before regula-       that when they introduced siRNAs into cells,           problems and get it to work.”                 ■
tors give the go-ahead for a clinical trial,           certain genes that are part of the interferon          Erika Check is Nature’s Washington biomedical
scientists need to prove that that RNAi will                                                                  correspondent.
not shut down vital human genes as well as                                                                    1. Fire, A. et al. Nature 391, 806–811 (1998).
the target viral sequences.                                                                                   2. Hannon, G. J. Nature 418, 244–251 (2002).
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encouraging results. In May this year, for                                                                    5. Bitko, V. & Barik, S. BMC Microbiol. 1, 34 (2001).
instance, researchers led by Patrick Brown of                                                                 6. Ge, Q. et al. Proc. Natl Acad. Sci. USA 100, 2718–2723 (2003).
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                                                                                                              8. McCaffrey, A. P. et al. Nature 418, 38–39 (2002).
ments in which they engineered human kid-                                                                     9. McCaffrey, A. P. et al. Nature Biotechnol. 21, 639–644 (2003).
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                                                                                                              12. Manno, C. S. et al. Blood 101, 2963–2972 (2003).
protein by using RNAi, and then used DNA                                                                      13. Chi, J.-T. et al. Proc. Natl Acad. Sci. USA 100, 6343–6346 (2003).
microarrays to monitor some 20,000 other                                                                      14. Jackson, A. L. et al. Nature Biotechnol. 21, 635–637 (2003).
genes — none of which seemed to be affected                                                                   15. Sledz, C. A., Holko, M., de Veer, M. J., Silverman, R. H. &
by the treatment13.                                                                                               Williams, B. R. G. Nature Cell Biol. doi:10.1038/ncb1038 (2003).

    But just a couple of weeks later,researchers
with Rosetta Inpharmatics in Kirkland,Wash-                                                                   Dharmacon
ington, cast a shadow over this rosy picture.                                                                 ➧ www.dharmacon.com
The Rosetta team, led by Aimee Jackson and                                                                    Avocel
Steven Bartz, used a range of different siRNAs                                                                ➧ www.avocel.com
to target two genes in cultured human cells.                                                                  Alnylam Pharmaceuticals
Disturbingly,the treatment caused changes in                                                                  ➧ www.alnylam.com
the expression of dozens of other genes.                                                                      Sirna Therapeutics
Depending on the precise sequence of the                                                                      ➧ www.sirna.com
                                                       Going to market: Phillip Sharp is one of several
siRNA concerned, a different range of ‘off-                                                                   Nature RNA Insight
                                                       RNAi researchers to form start-up biotech firms.
target’genes seemed to be affected14.                                                                         ➧ www.nature.com/nature/insights/6894.html

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                                                                                                        NATURE | VOL 425 | 4 SEPTEMBER 2003 | www.nature.com/nature
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                   JOINT APPENDIX 34
Case 1:22-cv-00252-MSG Document 181-2 Filed 01/03/24 Page 285 of 820 PageID #: 7771


                                                          FEBS Letters 356 (1994) 361-366


                                                                     FEBS 14928


            New structures in complex formation between DNA and cationic
              liposomes visualized by freeze-fracture electron microscopy
                                      Brigitte Sternberg”,*, Frank L. Sorgib, Leaf Huangb
        aInstitute of Ultrastructure Research, Medical School, Friedrich-Schiller-University Jena, Ziegelmiihlenweg I, Jena D-07743, Germany
                  bDepartments of Pharmacology and Pharmaceutical Sciences, University of Pittsburgh, Pittsburgh, PA 15261, USA

                                                             Received 2 November 1994

Abstract    Structures formed during interaction of cationic liposomes and plasmid DNA were studied by freeze-fracture electron microscopy and
their morphology was found to be dependent on incubation time and DNA concentration. These structures were formed with liposomes composed
of DC-Chol and DOPE after 30 min incubation at DNA: lipid concentrations encompassing maximal transfection activity. They resembled liposome
complexes (meatballs) and additionally bilayer-covered DNA tubules (spaghetti), whereby the DNA-tubules were found to be connected to the
liposome complexes as well as occurring free in the suspension. At later times and higher DNA-to-liposome ratios the complexes grow larger while
their membranes become discontinuous, allowing the self-encapsulation of the DNA. The relative transfection potency of the various morphologically
distinct structures is discussed.

Key words: Cationic       liposome;   Plasmid   DNA; Transfection;    Freeze-fracture   electron   microscopy



1. Introduction                                                               forming liposomes with a significantly increased transfection
                                                                              efficiency [15] while it reduces the cytotoxicity of the cationic
   Gene therapy        and genetic engineering require reliable and           surfactants [13]. A variety of different quaternary ammonium
efficient    systems   for delivery of exogenous genes into target            surfactants with alkyl-, ether- and ester-links to various back-
cells. Among other non-viral vectors, liposomes have been                     bones have been investigated in the search for an optimal trans-
widely used as delivery agents for DNA and other polynucleo-                  fection agent that is less toxic and metabolized by the cells
tides (for reviews see [1,2]). Thereby, liposomes offer several               [9-121. For a given cell confluence, DC-Chol liposomes, for
advantages over viral vectors, including the absence of viral                 instance, have been found to be at least fivefold less toxic than
components, the protection of the DNA/RNA from inactiva-                      that of lipofectin, which contains DOTMA [12]. More recently,
tion or degradation, and the possibility for cell-specific target-            cationic liposome-DNA complexes have been used successfully
ing. Negatively charged liposomes, used for gene delivery in                  to express heterologous genes in vivo, after administration in-
vitro to mammalian cells [3,4] or plant protoplast, however, do               travenously [ 161,intra-arterially [ 171,intra-tracheally [ 161,or by
not deliver more effectively than other simpler methods, despite              aerosol inhalation [ 181.
various improvements such as pH-sensitive liposomes [5] or                       Despite their extensive use as transfection agents the mecha-
virosomes [6].                                                                nism of DNA interacting with cationic liposomes and the struc-
   An important breakthrough in this field was the design of                  ture of the resulting complexes are still poorly understood. It
positively-charged liposomes, or cationic liposomes, as trans-                is generally assumed that, in contrast to the negatively charged
fection agents [7-141. Since nucleic acids are highly negatively              liposomes, there is no true encapsulation of the DNA by the
charged molecules they can interact spontaneously with the                    cationic vesicles, but rather binding at their surface while the
cationic liposomes. Complete complexation is achieved (even                   size and shape of the vesicle are maintained [S]. Electron micro-
at low liposome-to-DNA ratios) simply by mixing the polynu-                   graphs of a recent study [ 191suggest that the cationic liposomes
cleotides with preformed cationic liposomes. This simple and                  are attached like beads on a string, gradually covering the DNA
mild but still effective method is based on a complex formation               chain until, at a certain lipid to DNA ratio, a complete lipid
between plasmid DNA and vesicles composed of synthetic cat-                   coating of the DNA is reached composed of multilayered li-
ionic surfactants such as DOTMA [7], or DC-Chol [12] in                       posomes. It seems that this lipid coating is able to protect the
combination with a helper lipid, e.g. DOPE [2,7,9,11,12,14].                  DNA, to enhance the uptake by recipient cells, possibly via
Most of the cationic surfactants form micelles but not li-                    endocytosis and/or fusion, and possibly also to deliver material
posomes, and the addition of a phospholipid having a strong                   into the nucleus [20].
tendency to adopt the inverted hexagonal structure (HII phase),                  In this present study, we have investigated the structure of
such as DOPE, was found to be important [2]. DOPE helps in                    the complexes formed between plasmid DNA and preformed
                                                                              cationic liposomes composed of DC-ChoVDOPE, by freeze-
                                                                              fracture electron microscopy, and looked for the structural
                                                                              modifications of the complexes and their dependence on vary-
*Corresponding author. Fax: (49) (3641) 633 102.                              ing DNA concentration and incubation time. Although naked
E-mail: irt@rz.uni-jena.de                                                    DNA is not visible by freeze-fracture electron microscopy, this
                                                                              technique is very useful for studying the interaction between
Abbreviations: DC-Chol, 3B[N-(iV’,W-dimethylaminoet hane)-carbam-
oyllcholesterol; DOPE, 1,2-dioleoyl-sn-glycero-3-phosphoethanolam-            DNA and cationic liposomes because the structure of the DNA
ine; DOTMA, N-[1-[2,3-dioleyloxy)propyl]-n,n,n -trimethylammonium             is enhanced during this process by lipid coating, probably con-
chloride.                                                                     sisting of a single bilayer tubule.

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SSDIOOl4-5793(94)01315-2


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                                                                                                                                                           18733468, 1994, 2-3, Downloaded from https://febs.onlinelibrary.wiley.com/doi/10.1016/0014-5793(94)01315-2, Wiley Online Library on [19/09/2023]. See the Terms and Conditions (https://onlinelibrary.wiley.com/terms-and-conditions) on Wiley Online Library for rules of use; OA articles are governed by the applicable Creative Commons License
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2. Materials and methods                                                      well-defined, mainly small liposomes which were well separated
                                                                              from each other in the ice (Fig. 1A). The liposomes were fairly
2.1. DNA, surfactant, lipid, and preparation of the liposomes
                                                                              uniform in size, showing mean diameters below 200 nm, which
   Plasmid pRSV-LUC, containing a luciferase gene driven by the
Rouse sarcoma virus promoter [21] was prepared by a CsWEtBr gra-              is in good agreement with laser light scattering measurements.
dient method [22]. The plasmid DNA was of the B-type (2.37 nm) and            Due to the surface charge on the liposomes, contributed by the
existed predominantly in the supercoiled state. DOPE was purchased            positively charged DC-Chol component,        there is a repulsive
from Avanti Polar Lipids Inc. DC-Chol was synthesized according to            force between the liposomes, preventing aggregation.
the method of Gao and Huang [12]. DC-Chol and DOPE were mixed
in a 3 : 2 molar ratio, evaporated in a stream of nitrogen to form a thin
film, and vacuum desiccated for several hours to remove any residual          3.2. DNA control
chloroform. The lipid film was rehydrated in distilled deionized water           In freeze-fracture     electron micrographs   of the pRSV-LUC
which had been autoclaved. The liposomes were allowed to hydrate              DNA (0.67 mg DNA per ml HEPES buffer, 20 mM, pH 7.5;
overnight. DC-Chol liposomes were prepared by microfluidization               ‘DNA control’) it was not possible to clearly visualize the naked
using a M-110s microfluidizer (Microfluidics Corp.) to an average
diameter below 200 nm. The particle size was measured by using a              plasmid DNA (Fig. lB, some very weak features are marked
Coulter sub-micron particle analyzer, using a uni-modal analysis. The         by an arrow head). With a maximal width of 2.37 nm of the
sample was counted for 200 s. The liposomes were filtered through a           DNA strands, these structures are at the resolution limit of
0.2 pm filter to provide sterilization. The liposomes were diluted to a       freeze-fracture    technique (about 2 nm for periodical structures
final concentration of 2 ~moVm1 (1.2 mg/ml of total lipid).
                                                                              [23]). This is also true of another cryo-technique,     cryo-electron
2.2. Formation of the DNA-liposome complexes                                  microscopy, where some effort is needed to visualize the struc-
   To a volume of 10 ~1 HEPES buffer (20 mM, pH 7.5) 20 ~1 of                 ture of naked DNA in detail [24]. Typically, DNA samples for
DC-Chol liposomes (2 pmol/ml) with varying amounts of pRSV-LUC                electron microscopy are prepared by the Kleinschmidt           method
(1 mglml) were mixed at room temperature by a Hamilton syringe, to            of DNA spreading followed by metal rotary shadowing [25].
obtain final DNA-to-lipid ratio ranging from l-10 fig of DNA to 20
nmol DC-Chol liposomes. Thereby, the total volume of the sample was           One drawback of this method in visualization            of the DNA
increased, resulting in concentrations ranging from 31.25-200 pg of           together with liposomes is that the Kleinschmidt        methodology
DNA/ml. The concentration of the suspensions, chosen for freeze-              does not allow a size comparison       of these species, since DNA
fracture electron microscopy was approximately 15- to lOO-fold-higher         molecules are detected as cytochrome        c-DNA complexes and
than what is used in transfection because it is always a problem to refine
                                                                              appear much bigger than their naked form [19].
tiny little structures such as interaction events in too dilute suspensions
at the microscope.
   DNA-DC-Chol complexes were investigated by freeze-fracture elec-           3.3. DNA-liposome complexes
tron microscopy at room temperature, after different incubation times,            Freeze-fracture      electron micrographs         of DNA-liposome
ranging from 10 min to 24 h, and at various DNA-to-lipid ratios,              complexes, made after a short incubation time (10 min, Fig. 1C,
ranging from l-10 yg of DNA per 20 nmol DC-Chol liposomes.
                                                                              left panel) or low DNA-to-lipid           ratio (1 pug/20 nmol DC-Chol,
2.3. Freeze-fracture electron microscopy                                      Fig. lC, right panel), showed semi-fused liposomes where the
   DC-Chol liposomes, naked DNA, and DNA-liposome complexes                   number of liposomes involved was low (mainly 2-3 liposomes,
were quenched rapidly for freeze-fracture electron microscopy using           Fig. 1C) and their size was roughly the same compared to the
the sandwich technique and liquid propane (cooling rate > lo4 K/s). The
                                                                              control liposomes as shown in Fig. 1A. As described in the
cryofixed specimens were fractured and shadowed in a Balzers BAF
400D freeze-fracture device at -120°C and 2 x 10e6Torr. The cleaned           figure legends, the bars represent 100 nm for all the electron
replicas were examined in a transmission electron microscope (Jeol            micrographs.      The reason for choosing a 2-fold (in Fig. lC, left
JEM 1OOBor Zeiss CEM 902 A) [23].                                             panel) and a 3-fold higher magnification               (in Fig. lC, right
                                                                              panel) compared to Fig. 1A is to demonstrate               possible fusion
3. Results and discussion                                                     structures.     Indeed, in Fig. 1C (left panel), lipid particles
                                                                              (marked by arrows) were visible at the fusion area. The nega-
   We have investigated the complex formation between plas-                   tively charged plasmid DNA (not visible) seems to act as a
mid DNA and preformed cationic liposomes by freeze-fracture                   fusogenic agent, drawing together the positively charged li-
electron microscopy and studied the structural modifications of               posomes and forming semi-fused liposomes (liposome-DNA
both components,    depending on DNA concentration-       and in-             aggregates, Fig. 2).
cubation time.                                                                    At longer incubation         times (30 min-24 h) and at higher
                                                                              DNA-to-lipid       ratios (2-10 pug of DNA to 20 nmol of DC-Chol
3.1. Liposome control                                                         liposomes), some proportions           of the DNA clearly became visi-
   Freeze-fracture  electron micrographs of liposomes, made of                ble, as shown in Fig. ID-G and Fig. 2. Obviously, its structure
DC-Chol/DOPE       (6:4 by molar ratio; 2 pmol lipid/ml; ‘li-                 was enhanced, presumably            by lipid-coating.     The diameter of
posome control’) and prepared by microfluidization,    showed                 these tubular spaghetti-like         structures (Fig. 1D; some of the



Fig. 1. Freezeefracture electron micrographs of (A) liposomes, made of DC-ChollDOPE (6:4 by mol; liposome control); (B) naked pRSV-Leu DNZ
(DNA control, some of the very weak features are marked by an arrow head); and (C-G) DC-Chol-DNA complexes, at various DNA-to-lipid ratios
and incubation times: (C) fused liposomes without spaghetti-like structures at 10 min incubation time and 4 pg DNA/20 nmol DC-Chol in the left
panel and at 24 h incubation time and 1 pg DNA/20 nmol DC-Chol in the right panel (some lipidic particles are marked by arrows);
(D) spaghetti-meatball complexes at 24 h incubation time and 2pg DNA/20 nmol DC-Chol (some spaghetti, connected with the liposomes, are marked
by an arrow); (E) ‘free’ spaghetti-like structures, attached to the metal foil of the sandwich at the same incubation time and concentration as in D;
(F) spaghetti-meatball assembly at 30 min incubation time and 4 pg DNA/20 nmol DC-Chol, and (G) spaghetti-meatball assembly with partly
disrupted liposome membranes at the same DNA-to-lipid ratio as in F but at 60 min incubation time. The bar on all electron micrographs represents
100 nm and the shadow direction is running from bottom to top.




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                                        pR!SV-LeuDNA                                PRE.FORMEDCATIONICLIPOSOMES




                                                            LIPOSOME.DNA.AGGRRGATE
                                                             l + +        +   +       l




                                                                                                   +
                                                                                                   1
                                                                                                   +




                                        )c
                         SPAGHRTTI-MEATBALL-COMPLEXESOR
                                                   ASSEMBLIFS
                                                                                                                  SPACHEW




Fig. 2. Scheme showing our personal suggestion, based on freeze-fracture     electron micrographs,    about the interaction  of negatively charged DNA
with the cationic DC-Chol-containing   liposomes and the formation of liposome-DNA     aggregates without spaghetti-like    structures, occurring at short
incubation    times and low DNA-to-lipid     ratios, and spaghetti-meatball complexes,   spaghetti-meatball      assembles and spaghetti-like    structures,
connected with the semi-fused liposomes but also occurring ‘free’ in suspension at longer incubation        times and higher DNA-to-lipid     ratios.


spaghetti are marked by arrows) was approximately     7 nm. Both                  DNA (Fig. 3B). Measured and theoretical         diameters of the
convex DNA strands (shadow behind) as well as concave DNA                         spaghetti are in good agreement and support the hypothesis of
furrows (shadow in front, one of them is marked by an arrow                       a single bilayer tube coating the DNA.
in Fig. 3A) are found. These findings support the possibility of                     The strong charge interaction between the positively charged
a bilayer tubule covering the DNA strands. During freeze-                         DC-Chol and the negatively charged DNA may stabilize the
fracturing, the fracture plane usually follows the hydrophobic                    high curvature of the bilayer tubule around the DNA strand,
interior of a bilayer, whether it is surrounding   a cell or a li-                and the high content of DOPE may also assist in the stabiliza-
posome [26], or in this case, while surrounding  a DNA strand.                    tion of the spaghetti structure. Based on its wedge-shaped     mo-
This produces a theoretical diameter of 6.37 nm for the spa-                      lecular structure, DOPE can adopt highly curved structures
ghetti-like structure by the summing of 2 nm of each of the two                   such as H,, tubules, at excessive lipid and/or high temperatures
fluid bilayer halves and 2.37 nm of the diameter of the plasmid                   [27], or other non-bilayer structures [28]. Freeze-fracture   elec-




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Fig. 3. (A) Cut-out of the freeze-fracture electron micrograph of Fig. 1F showing enlarged convex DNA strands and a concave DNA furrow, marked
by an arrow. The bar represents 100 nm and the shadow direction is running from bottom to top. (B) Cross-fraction of a spaghetti.



tron microscopy is one of the best methods of distinguishing                      with very small radii (especially at their ending tips) and there-
between bilayer and non-bilayer structures [23] and to visualize                  fore are able to adhere and fuse to flat cells easily [31]. Addi-
hexagonal tubules [23,28]. However, no hexagonal tubules were                     tionally, spaghetti-like structures as well as spaghetti-meatball
visible at any time in our investigation             of DNAxationic         li-   complexes and assemblies, which were observed during our
posome systems, containing excess water, as observed in DNA-                      investigation,  may still bear residual positive charges on their
lipid systems with excess lipid [29].                                             surfaces. This may also lead to an interaction and fusion with
    Spaghetti-like     structures were found to be still connected to             cell- and probably nuclear membranes,      thereby promoting the
the liposomes (spaghetti-meatball           complex, Fig. 1D; spaghetti-          transfer of the DNA into the cytoplasm and eventually into the
meatball assemblies, Fig. 1F,G; scheme of Fig. 2), but were also                  nucleus of the cells.
found separated from the liposomes, ‘free’ in suspension (Figs.
 1E and 2). Possibly due to the residual positive charge at their                 Acknowledgements: We thank Mrs. I.-M. Hermann and Mrs. R. Kaiser
                                                                                  for technical assistance in freeze-fracturing, Mrs. G. Engelhardt and
surfaces, spaghetti-like        structures are often found in contact
                                                                                  Mrs. G. Viickler for their phototechnical work, and PhD student U.
with the metal foil of the sandwich which was used for the rapid                  Strohbach for designing Figs. 2 and 3B on the computer. We are
freezing of the samples (Fig. 1E).                                                grateful to Professor D. Papahadjopoulos for helpful discussions and
   With higher DNA concentrations                 and longer incubation           reading the manuscript. The original work in the laboratory of Leaf
times (beginning with 4 pg of DNA per 20 nmol DC-Chol                             Huang was supported by NIH Grants CA 59327, HL 50256, DK 44935,
                                                                                  and CA 64654. The work here is supported by the Deutsche
liposomes at 30 min) a proportion            of the DNA-liposome         com-
                                                                                  Forschungsgemeinschaft     under the grants Sonderforschungsbereich
plexes were observed as larger structures containing                  several     197/B8 and Ho-13877/1-l-896/92.
semi- or totally fused liposomes (spaghetti-meatball                  assem-
blies; Figs. lF,G and 2). Most of the liposomes involved in the
                                                                                  References
spaghetti-meatball         assemblies had grown in size in comparison
to the control liposomes (Fig. lA), presumably                by fusion of
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these liposomes (Figs. lF,G and 2). During the formation and                           1-17.
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branes of the liposomes appeared discontinuous,                allowing for            and Applications      of Direct   Gene   Transfer,   pp.  118-142,
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est to the diameter of the nuclear pores [30]. However, calculat-                 [121 Gao, X. and Huang, L. (1991) Biochem. Biophys. Res. Commun.
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the diameter of the nuclear pores (7 nm; [30]) even the spaghetti
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are too thick to pass these pores freely. On the other hand,                      1151 Zhou, X. and Huang, L. (1993) Biochim. Biophys. Acta 1189,
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Lipid nanoparticles for nucleic acid delivery: Current perspectives
Eleni Samaridou, James Heyes, Peter Lutwyche ⁎
Genevant Sciences Corp., 155 - 887 Great Northern Way, Vancouver, British Columbia V5T 4T5, Canada



a r t i c l e         i n f o                            a b s t r a c t

Article history:                                         Nucleic Acid (NA) based therapeutics are poised to disrupt modern medicine and augment traditional
Received 8 April 2020                                    pharmaceutics in a meaningful way. However, a key challenge to advancing NA therapies into the clinical setting
Received in revised form 21 May 2020                     and on to the market is the safe and effective delivery to the target tissue and cell. Lipid Nanoparticles (LNP) have
Accepted 3 June 2020
                                                         been extensively investigated and are currently the most advanced vector for the delivery of NA drugs, as evi-
Available online 8 June 2020
                                                         denced by the approval of Onpattro for treatment of Amyloidosis in the US and EU in 2018. This article provides
Keywords:
                                                         a comprehensive review of the state-of-the-art for LNP technology. We discuss key advances in the design and
Lipid nanoparticles                                      development of LNP, leading to a broad range of therapeutic applications. Finally, the current status of this tech-
Ionizable lipid                                          nology in clinical trials and its future prospects are discussed.
Nucleic acid                                                                                                                           © 2020 Elsevier B.V. All rights reserved.
RNA delivery
mRNA
siRNA
Gene therapy




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1. Introduction                                                                                             the ability to interact with the endosomal membrane as part of the fu-
                                                                                                            sion process to release NA into the cytosol of the cell), without the
    Lipid Nanoparticles (LNP) have been extensively investigated for the                                    drawbacks (rapid elimination and poor tolerability). These titratable
delivery of nucleic acid (NA) drugs, culminating with the approval of                                       aminolipids are most often combined with PEGylated lipids, which aid
Onpattro for treatment of Amyloidosis in the US and EU in 2018. This                                        in the formulation process leading to nanometer-scale structures
has provided strong validation for the use of LNP for systemic siRNA de-                                    (Fig. 1C), increase vial stability and help to mask the surface of the
livery, and LNP are increasingly being utilized in the burgeoning ﬁelds of                                  LNP from blood components to optimize the pharmacokinetics and
mRNA and replicon-based therapeutics – in oncology and infectious dis-                                      biodistribution of the product. PEGylation, however, interferes with cel-
ease vaccine contexts, for therapeutic protein replacement strategies,                                      lular uptake via endocytosis. Therefore, a critical design iteration that
and to enable gene editing approaches. These payloads are larger,                                           contributed to the success of the current generation of LNP is the use
more fragile and potentially more immunogenic than their oligonucleo-                                       of PEGylated lipids that diffuse out of the LNP on administration and en-
tide counterparts. They do not tolerate 2’-hydroxy chemical modiﬁca-                                        able cellular uptake.
tion to the same degree, and as such the delivery challenge is even
more acute. A wide range of LNP have been used for these purposes
by many groups, but general principles have emerged regarding the                                           2.1. Ionizable cationic lipids
properties of well-tolerated, potent LNP (and the NA “payload”). In par-
ticular, LNP for NA delivery have distinct, critical lipid components and                                       The ionizable lipid is a critical component of LNP, and a major deter-
proportions, specialized manufacturing and control techniques, and                                          minant of LNP potency. Their use for nucleic acid delivery was an impor-
complex morphology. This paper reviews the historical development                                           tant divergence from the permanently charged cationic lipids used
of LNP design for a variety of NA payloads and surveys the current clin-                                    previously. First reported for NA delivery by Semple et al. [4], the ioniz-
ical trial landscape for this class of pharmaceuticals.                                                     able nature promotes the formation of particles with an encapsulated
                                                                                                            payload, as opposed to complexation. The lack of substantial positive
                                                                                                            charge at physiological pH leads to improved pharmacokinetics, since
2. Lipid nanoparticles:              overview,     composition,         formation                           the particles are not cleared rapidly by the reticuloendothelial system
mechanism                                                                                                   (RES). This yields an appreciable half-life in the bloodstream (30 mi-
                                                                                                            nutes or greater, depending on other components used), permitting
    The advanced NA LNP delivery systems of today have evolved away                                         better accumulation in target tissues, such as liver and solid tumours.
from both liposomal systems and lipoplexes to become more efﬁcient                                          The ionizable nature further improves the tolerability proﬁle, since per-
and effective delivery vehicles of NA. Indeed, the LNP used today for                                       manently charged cationic lipids are prone to causing cellular toxicity,
NA delivery are quite different from classical liposomes. Perhaps one                                       and particles that contain them are more likely to stimulate the immune
of the most distinctive differences lies in the fact that LNP do not display                                system and/or aggregate in the blood, so depositing in ﬁne capillary
a lipid bilayer surrounding an aqueous core (Fig. 1A). Additionally, the                                    beds such as the lung.
current-day LNP do not form particles with nucleic acid payloads driven                                         There are many facets to the optimal design of ionizable lipids, and
by electrostatic complexation, nor do they need to balance the charges                                      following Semple et al.’s [4] disclosure of DODAP, several groups
of constituent compounds for effective and efﬁcient delivery into a cell.                                   began to explore this area. The next key advance was the discovery
    The ﬁrst reports of some NA encapsulation in liposomes originated                                       that increasing the degree of unsaturation in the hydrophobic domain
in the late 1970’s [1–3]; these systems suffered from poor encapsula-                                       of the ionizable lipid would dramatically increase potency [5]. DODAP,
tion, in part due to the use of neutral lipids and passive encapsulation                                    like many cationic lipids used to that point, employed oleyl groups – a
procedures. Similarly, lipoplexes have been extensively used in vitro                                       C18 carbon chain with a single cis-double bond. The double bond in-
for preclinical experimentation but have shown potency and tolerability                                     duces kinks in the chain, and Heyes et al. [5] showed that increasing
issues, thereby precluding their use in the clinic. The poor potency and                                    the number of double bonds more readily promoted the formation of
tolerability of lipoplexes is in part due to the use of constitutively                                      the fusogenic, HII hexagonal phase in the particle. By increasing the
charged cationic lipids that complex with the negatively charged NA.                                        number of double bonds to 2 in close proximity (linoleyl group),
When administered intravenously, this leads to rapid elimination from                                       endosomal fusion and delivery were improved substantially. The
the blood and activation of the immune system due to the charged na-                                        resulting lipid DLinDMA enabled the ﬁrst demonstration of RNAi in pri-
ture, propensity to aggregate, and unencapsulated, exposed position of                                      mates with a systemically administered LNP [6], and became the ﬁrst
the NA. Permanently-charged cationic lipids have also been employed                                         ionizable lipid to enter human clinical trials in an siRNA-LNP.
in earlier lipid formulations, leading to higher efﬁciency of NA encapsu-                                       Using DLinDMA as a starting point, Semple et al. embarked on a new
lation than in neutral systems, due to the charge interactions between                                      SAR study, publishing results that described several more key features
lipid and NA. Still, these formulations suffered from poor pharmaceutics                                    in ionizable lipid design, and the LNP platform in general [7]. First, the
and tolerability due to the introduction of a highly charged system into                                    means of connecting the linoleyl chains to the rest of the lipid was
the blood. A breakthrough in the development of pharmacologically ac-                                       highlighted. Esters, carbamates and thioethers were all found to be infe-
ceptable lipid formulations was the advent of ionizable cationic lipids                                     rior to DLinDMA’s ethers. However, a ketal ring, with a single carbon
[4]. These pH-titratable lipids are positively charged at acidic pH but                                     atom as the point of attachment for both chains, yielded a considerably
mostly uncharged at the pH of blood. This feature confers on the lipid/                                     improved potency. In the same study, the authors noted that the appar-
LNP the advantages of positive charge (the ability to complex NA and                                        ent acid dissociation constant (pKa) of the LNP could be adjusted by



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Fig. 1. (A) Schematic representation of Lipid nanoparticle (LNP) structure. (B) Principle and importance of pKa in the action mechanism of ionizable lipids. (C) Cryogenic electron
micrograph of LNPs at a magniﬁcation of 110,000x. Scale Bar: 100 nm.




changing the length of the carbon spacer between the ionizable lipid’s                      OnpattroTM, with no evidence of lipid-mediated toxicity. Biodegradabil-
head group and the rest of the molecule. The pKa is essentially a mea-                      ity is potentially more important for LNP applications that require more
sure of the pH at which ionizable lipid/LNP becomes positively charged,                     frequent administration, for example mRNA payloads encoding a thera-
and it was shown to have a strong effect on potency; a series of ketal an-                  peutic protein. Precise dosing frequency will be determined by the rate
alogs that differed only in the length of their carbon spacer (1 to 4 car-                  of transcript turnover and protein product half-life the protein product
bons) differed by more than 30-fold in potency. At the time, the best                       – but early reports indicate that for some important disease targets the
performing lipid was DLin-KC2-DMA (KC2 – Fig. 2). The precise pKa of                        dosing interval will be more frequent than siRNA [11,13]. As a major
the LNP is important since the particle’s surface must be essentially neu-                  component of most LNP products, ionizable lipids should be considered
tral at physiological pH (i.e. in the bloodstream) but become charged in-                   ﬁrst for redesigning with biodegradable properties. It is most often built
side the acidifying endosome after cellular uptake (Fig. 1B). Lastly, but                   into the lipid by means of carboxylic ester groups which can be cleaved
equally important, were the changes made to the LNP composition. By                         by esterases [14]. The strategy is effective, and these compounds are
reducing the PEG content from 10% to just 1.4 mol% and markedly in-                         metabolized and cleared in a matter of hours, although the precise loca-
creasing the ionizable lipid content to 57%, the authors gained a further                   tion of the carboxylic ester moiety is of utmost importance. L319 (Fig. 2)
5-fold increase in potency without changing the lipid components [7].                       shows rapid degradation in vivo, whereas the closely related L343
Similar compositions are still used today, including OnpattroTM and                         (Fig. 2) shows extended stability, presumed to be due to steric hin-
many mRNA-based compositions currently being evaluated in the                               drance protecting the ester from the action of the enzyme. Such biode-
clinic, which have molar ratios of 1.5% PEG-lipid and 50% ionizable                         gradable lipids have been reported to be even more potent than MC3,
lipid (Table 2).                                                                            with the compounds described by Sabnis et al. [11] furnishing as
    These structural features were further optimized in the elucidation                     much as 5-fold more protein expression.
of DLin-MC3-DMA (MC3 – Fig. 2). In yet another illuminating SAR                                 A subset of ionizable lipids called «lipidoids» were ﬁrst reported in
screen, Jayaraman et al. demonstrated very clearly that the pKa should                      2008 by Akinc et al. [15]. These dendrimer-like structures were de-
be between 6.2 and 6.5 for optimum activity in the hepatocyte [8].                          signed to be synthesized in a short number of steps, using straightfor-
They further showed that by maintaining KC2’s single carbon point of                        ward chemistry that would easily lend itself to a high throughput
attachment for the linoleyl chains, but exchanging the ketal linker for                     approach. In this way, large libraries of hundreds of compounds could
a carboxylic ester, further gains to potency could be realized. The                         quickly be made to study structure activity relationships. The ﬁrst
resulting lipid, MC3, is the ionizable lipid used in the Onpattro product                   lipidoid of note, 98N12-5 (aka ND98), was used to deliver siRNA to he-
[8,9].                                                                                      patocytes [15] and endothelial cells [16], and required relatively high
    Several groups have described “biodegradable” LNP, which comprise                       doses. But like canonical ionizable lipids, later generations of lipidoids
enzymatically-labile ionizable lipids [10,11]. MC3 is not biodegradable                     have improved in potency and general performance considerably,
and has a serum half-life of approximately 70h [12]; it has proven safe                     with examples such as C12-200, cKK-E12, OF-02 and 503-O13 being
and well-tolerated at doses of 0.3 mg kg-1 every three weeks in                             used at much lower doses [17–20]. Interestingly, they have been



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                                                                   Fig. 2. Ionizable lipids of note.




shown to be less dependent on ApoE for uptake, and screening suggests                 interferes with this step. Second, the endosomal escape, which must
that they are best suited to formulating with DOPE, rather than DSPC                  occur for successful intracellular delivery of the NA payload, is impeded
like other ionizable lipids [21].                                                     as the PEG layer prevents the close approach and fusion of the LNP with
                                                                                      the endosomal bilayer [25]. For these reasons, the PEG content is kept to
                                                                                      a minimum, and these concepts (along with increased ionizable con-
2.2. PEGylated lipid
                                                                                      tent) underpin the 5-fold potency improvement reported by Semple
                                                                                      et al. when decreasing the PEG content of the formulation from 10% to
    PEG-lipids are another important LNP component that plays several
                                                                                      ~ 1.5 mol% [7].
roles. Their structure consists of two domains: a hydrophilic PEG-
                                                                                          PEG-lipids can be engineered to diffuse away from the particle, and
polymer conjugated to a hydrophobic lipid anchor. They are situated
                                                                                      given the above, the rate at which they do so is clearly important. This
at the surface of lipid particles, with the lipid domain buried down
                                                                                      rate can be adjusted by changing the size of the PEG-lipid’s anchor, a
into the particle and the PEG domain extending out from the surface.
                                                                                      feature that was originally used in liposomal systems in an oncology set-
Historically, they were used in liposomal systems to extend circulation
                                                                                      ting to produce particles that circulated for a longer duration in the
time, since the PEG polymer represents a steric barrier preventing bind-
                                                                                      blood [22,23,26]. As outlined above, however, for hepatocytes, a shorter
ing of plasma proteins (opsonins) that would otherwise result in their
                                                                                      residence time is favored and thus smaller lipid anchors are used – two
rapid clearance by the reticuloendothelial system. A longer residence
                                                                                      C14 chains have been found optimal and commonly used since the ear-
time in the blood meant particles were more likely to accumulate in dis-
                                                                                      liest days of in vivo siRNA-LNP delivery [27]. PEG-lipid desorption rates
ease sites like solid tumours, due to the enhanced permeation and re-
                                                                                      were characterized in more detail by Mui et al, who used dual labeled
tention effect (EPR). They were used for similar reasons in stabilized
                                                                                      LNP containing 14C-MC3 and 3H-PEG-lipid to measure and correlate to
plasmid–lipid particles (SPLP), an earlier iteration of LNP that delivered
                                                                                      pharmacokinetics and biodistribution.
plasmid DNA for gene therapy applications [22–24].
                                                                                          PEG diffusion rates are also important for safety reasons. Perma-
    In present day LNP however, PEG-lipids have been further designed
                                                                                      nently bound PEG-lipids (and the resulting longer circulating particles)
to balance circulation time and cellular uptake, as well as appropriately
                                                                                      have been found to promote immunogenicity when used in conjunction
determine the particle size during manufacturing. Without a PEG-lipid
                                                                                      with nucleic acid payloads. A surprisingly robust, long-lived antibody
present, the low pH and ethanolic environment of the LNP manufactur-
                                                                                      response is generated against the surface chemistry (i.e. PEG) of such
ing process would promote particle fusion as the particles form. The ste-
                                                                                      particles, resulting in accelerated clearance from the blood and acute
ric barrier of the PEG-lipid prevents this and helps yield a homogenous
                                                                                      hypersensitivity upon repeat administration [28,29]. This is discussed
particle population with narrow polydispersity and small particle size –
                                                                                      in more detail in a later section.
typically 50 – 100 nm, depending on the exact amount of PEG-lipid
used.
    As with older lipid particle applications, PEG-lipids are helpful in              2.3. Phospholipids and cholesterol
preventing unwanted opsonization in the blood, but they also interfere
with important steps associated with successful payload delivery and                      Since the inception of LNP for siRNA and their more recent applica-
activity. First, LNP are well suited and often used for delivery to hepato-           tion to mRNA, LNP have employed phospholipids and cholesterol for
cytes - and the mechanism of uptake involves ApoE binding to the LNP                  their helpful contributions to the structural integrity and phase transi-
surface in the bloodstream [15]. A fully intact PEG surface layer                     tion behavior of the LNP. This in turn inﬂuences the fusogenicity of the



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particles. They are required to ensure appropriate encapsulation of the               and difﬁculties in scaling up due to the specialized equipment and high
NA payload and stability over time. Additionally, the presence of                     pressures required. Numerous alternatives to this method were
phospholipid aids in the work up of formulation via tangential ﬂow ul-                attempted using detergents to solubilize lipids [37,38] or by taking ad-
traﬁltration (TFU). Some studies have shown that the identity of phos-                vantage of the solubility of lipids in ethanol, a water-miscible solvent,
pholipid can have a strong impact on potency [21], although the                       culminating in the above-mentioned Spontaneous Vesicle Formation
outcome may depend on other lipids being used in the system.                          by Ethanol Dilution technique.
   A recently published SAR study on analogs of cholesterol showed                         The Ethanol Dilution technique is much more robust, reproducible
that incorporation of C-24 alkyl phytosterols into LNP enhanced gene                  and fully scalable, compared to the detergent dialysis technique. Brieﬂy,
transfection considerably [30]. The length of alkyl tail, ﬂexibility of sterol        this technique entails the dissolution of lipids in ethanol at the appropri-
ring and polarity due to -OH group were all found to be important. The                ate concentrations. This solution is then mixed under speciﬁc conditions
studies were performed in vitro.                                                      (i.e., temperature, ﬂow rate) with an aqueous solution containing
                                                                                      Nucleic Acid at an acidic pH, using a T-tube mixer. As these two solu-
2.4. Nucleic acid                                                                     tions are mixed, the ionizable lipid becomes positively charged and
                                                                                      complexes with the negatively charged NA at the same time as the over-
    Without a doubt, the development of LNP, with input from a number                 all lipid solubility is reduced by the dilution of ethanol. This results in the
of key research groups, has been critical in launching and realizing the              formation of the nascent lipid-NA particles which are unstable and sus-
era of RNA interference. In the clinic, they have been used to deliver                ceptible to particle size growth until a further dilution with neutral
siRNA and generate proof of concept in therapeutics areas such as oncol-              buffer is performed. This technique is applicable across a wide range
ogy, and infectious and rare diseases. As described above, LNP enabled                of formulation conditions and types of NA payload, resulting in high
the commercialization of the ﬁrst siRNA drug, Onpattro [31]. Since                    NA encapsulation efﬁciencies (>80%). Important parameters to opti-
then, a second siRNA product, Givlaari, has gained approval in the US                 mize through this process are the ionic strength and pH of the aqueous
for Acute Hepatic Porphyria [32]. Unlike Onpattro, this product does                  solution, as well as the lipidic content [36,39]. This technique is used for
not use LNP for delivery, instead relying on conjugation of the siRNA                 the production of Onpattro [9] and has been used for several other
to a triantennary GalNAc ligand which provides efﬁcient uptake by the                 clinical-stage LNP programs. Recently, a microﬂuidic mixing technique
ASGPR receptors on hepatocytes. For hepatocyte delivery of siRNA, the                 has been developed as an efﬁcient tool to make formulations quickly
ﬁeld has gravitated towards the use of these conjugates as they enable                at small scale in the laboratory, and which provides LNP with similar
subcutaneous administration (LNP require IV administration), steroid                  properties to those made by larger scale apparatuses [40–42]. As Cullis
co-medication is not required, and they result in very long duration of               and coworkers described in several morphological studies, LNP formu-
action (Givlaari is dosed every month, but other conjugates such as                   lated either by the T-mixing or microﬂuidics-mixing techniques exhibit
Inclisiran – a PCSK9-targeting product in clinical development – have                 similar structures with an electron-dense core – contrary to the aqueous
shown durations up to six months to enable twice yearly dosing                        core observed in the case of liposomes – owing to the conformation of
[33,34]). These conjugates lack the active endosomal release mecha-                   the ionizable lipid and its formed complexes with the NA payload
nism of ionizable LNP, thus requiring higher dosages, but are generally               [40,42,43]. The structure of the LNP core is dependent on the degree
safe with a wide therapeutic index. For these reasons we expect that                  of saturation and charge of the ionizable lipid used. This core is
GalNAc conjugate approaches will continue to dominate for delivery                    surrounded by a monolayer of structural lipids (i.e., phospholipids, cho-
of siRNA and other small oligonucleotides for hepatocyte targets. One                 lesterol) and surface-located PEG-lipids.
factor enabling the use of GalNAc with these NA is the ability to exten-
sively chemically modify the NA molecule, using modiﬁed bases such                    3. Hepatic delivery – mechanism of action
as 2’-Ome and 2’-F. These modiﬁcations, among others, confer consider-
able stability to the molecules. Unlike siRNA or antisense, it is difﬁcult to         3.1. Cellular uptake
extensively modify MRNA (including replicons), (with the exception of
Uridine modiﬁcations to abrogate immune stimulation) without im-                          The ﬁrst demonstration of hepatocyte-speciﬁc gene silencing
pairment of translation [35]. Therefore, LNP are the delivery vehicle of              through systemic administration of LNP was conducted in 2005, when
choice for mRNA, and this is reﬂected in the number of mRNA-LNP                       Morrissey et al. reported a >1.0 log10 reduction in serum hepatitis B
products in development (Table 2). Due to their modular nature, LNP re-               virus (HBV) DNA after three daily intravenous (i.v.) injections of 3 mg
tain utility for the delivery of siRNA and oligonucleotides beyond the he-            kg-1 in a mouse model of HBV replication [27]. The next year, Zimmer-
patocyte. LNP surface properties can be altered to change circulation                 mann et al. published the ﬁrst proof of concept in non-human primates
times and, thus, tissue tropism to provide access to other cells such as              (NHP), presenting up to 90% silencing of apolipoprotein B (ApoB) mRNA
the Hepatic Stellate Cells or tissues, such as various cancers, which is              by a single siRNA injection at a dose of 2.5 mg kg-1 [6]. Since then, sev-
discussed in more detail below.                                                       eral studies have established the potential of LNP for hepatic delivery
                                                                                      of either siRNA or mRNA in different animal models, as well as in
2.5. Formulation methods                                                              humans [13,18,44–51]. The mechanism behind the natural tendency
                                                                                      of LNP to accumulate in the liver lies on the adsorption of serum pro-
    An earlier review by MacLachlan in 2007 provided an excellent over-               teins, predominantly apolipoproteins, on the surface of the LNP follow-
view of historical methods of producing liposomes and lipid nanoparti-                ing their i.v. administration [52]. This “protein corona”, as it is called, has
cles for nucleic acid delivery [36]. Essentially, the ﬁeld was                        been reported to be the determining factor for the nanoparticle’s biolog-
revolutionized in the early 2000’s by the development of the spontane-                ical functions [53]. Speciﬁcally, it has been found that the LNP composi-
ous vesicle formation by ethanol dilution to produce “Stable Nucleic                  tion (i.e., the particle’s surface charge, the amount and lipid chain length
Acid Lipid Particles” (SNALP). Previously, the most common way to pro-                of the PEG-lipid, etc.) determines the enrichment of speciﬁc proteins on
duce NA loaded lipid formulations was passive encapsulation of payload                the nanoparticles’ surface, with crucial effect on their cellular uptake
by hydration of a lipid “thin ﬁlm” with buffer containing said NA. This               and in vivo localization [53,54]. As mentioned above, the pH-
produced a heterogeneous mix of lipid particles, which then had to be                 dependent charge of the ionizable LNP allows them to travel as essen-
made homogeneous (in terms of size) by some form of physical particle                 tially neutral particles in the blood, where they interact mainly with
sizing technique, commonly extrusion through polycarbonate ﬁlters.                    apolipoprotein E (ApoE), facilitating their endocytosis via the low-
There were many issues with this method of preparation, the principal                 density lipoprotein (LDL) receptor into the hepatocytes (Fig. 3). Akinc
two being low encapsulation of nucleic acid (a very expensive material)               et al. were the ﬁrst to describe this endogenous targeting mechanism



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Fig. 3. Mechanism of action of the LNP formulation following systemic administration. LNP protect the RNA payload from nuclease activity and potentiate cellular uptake via endocytosis.
Following the endocytic pathway, the pH of the maturing endosomes drops, triggering the LNP to fuse with the endosomal membrane and resulting in the release of the RNA payload into
the cytoplasm where it is either incorporated into the RNA silencing machinery (siRNA) or is decoded in a ribosome to produce a speciﬁc polypeptide that later folds into an active protein
(mRNA).




in 2010, after showing a 20-fold decrease in the cellular uptake of the i.v.                    through this mechanism [56,61,62]. Sahay et al. showed that 70% of
injected LNP in ApoE-deﬁcient mice, compared to wild type mice [55].                            the siRNA internalized into cells by LNP is exocytosed via a recycling
    Later studies further suggested the involvement of distinct uptake                          pathway regulated by a lysosomal surface protein, called Niemann
mechanisms in the case of lipidoid-based LNP in comparison to the ion-                          Pick type C1 (NPC1), known for its role in cholesterol trafﬁcking. The
izable LNP [56,57]. The authors described the involvement of clathrin-                          rest of the endocytosed siRNA is subject to lysosomal degradation or
mediated endocytosis (CME) and, subsequently, macropinocytosis in                               other non-productive pathways [57]. In the case of the mRNA delivery,
the cellular internalization of the ionizable (MC3 based) LNP, after                            the percentage of mRNA released from endosomes appears to be higher
reporting a 50-70% drop in LNP cellular uptake when they inhibited                              than in the case of siRNA, with studies reporting up to 15%, depending
the respective mechanisms in vitro in HeLa cells [56]. Further testing                          on the fusogenicity of the ionizable lipid used [11,63].
the involvement of these mechanisms in the ionizable LNP activity                                   In a different study, Patel et al. suggested that while siRNA requires
showed that both mechanisms contribute to gene silencing, with                                  endosomal escape at an early stage to achieve sufﬁcient silencing,
macropinocytosis being the main mechanism [17,56]. On the other                                 mRNA delivery and translation is favored by late endosome (LE) forma-
hand, the lipidoid-based LNP (i.e., C12-200-based LNP) employ only                              tion [61]. As a proof of that theory, a ~2-fold drop in protein expression
the macropinocytosis pathway to achieve cellular entry, followed by di-                         was observed when mRNA-loaded LNP transfected LE-deﬁcient versus
rect fusion with late endosomes, and subsequent escape to the cytosol                           wild-type cells. The authors pinpointed the issue to be the loss of
or exocytosis of the unreleased siRNA load [57].                                                mTORC1 (mechanistic target of rapamycin complex 1) signaling associ-
                                                                                                ated with late endosome formation, using mTORC1 inhibitors. Based on
3.2. Endosomal escape                                                                           these results, they introduced the idea of co-formulating LNP with bio-
                                                                                                active modulators of cellular signaling, like leukotriene inhibitors,
    Following cellular internalization of the LNP, their success still de-                      resulting in a 2-fold enhancement of mRNA delivery in mice.
pends on escaping the endosomal compartments to avoid enzymatic                                     Maugeri et al. explored another hypothesis that part of the remain-
degradation and releasing their RNA cargo into the cytoplasm (Fig. 3).                          ing RNA that wasn’t released intracellularly was instead loaded into
High-throughput confocal or electron microscopy techniques have                                 endosomal intra-luminal vesicles (ILVs), and released from the cells in-
allowed the visualization of LNP trafﬁcking in live cells with traceable                        side extracellular vesicles [64]. For this, human epithelial HTB-177 cells
siRNAs, providing evidence of this cytosolic release during an early                            were transfected with human erythropoietin (hEPO) mRNA-LNP, com-
stage in endosomal maturation [56,58,59]. The main hypothesis for                               prising either DLin-MC3-DMA or DLinDMA. The transfected cells pro-
this mechanism is that the ionizable lipid component becomes proton-                            duced exosomes carrying hEPO mRNA, and ionizable lipids at a molar
ated in the progressively acidic environment of the endosome, and asso-                         ratio of 1:1. The same was not observed when the exosomes were sim-
ciates with the negatively charged endosomal lipid bilayer. This leads to                       ply pre-incubated with the mRNA loaded LNP, implying a connection
its destabilization through the formation of non-bilayer lipid structures                       between the LNP endocytosis and the mRNA exocytosis. The authors
[56,59,60]. As discussed above, this is governed by properties such as                          further dosed the mRNA loaded exosomes intravenously in mice (at
the ionizable lipid’s pKa and structure of the hydrophobic domain [8]                           1.5 μg of hEPO mRNA/mouse) and studied the protein expression in
(Fig. 1B). However, only a small percentage of the total siRNA loaded                           plasma and different organs, in comparison to mRNA loaded LNP. This
into the internalized LNP is reported to actually reach the cytoplasm                           conﬁrmed that the mRNA loaded exosomes were able to deliver active



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mRNA, leading to hEPO protein production in different organs (mainly                 production of both pro- and anti-inﬂammatory cytokines. These were
in the liver) – still 6-8 times lower than the level of protein produced             primarily to the lipidic content of the LNP, and to a lesser degree, their
by LNP – while inducing signiﬁcantly lower inﬂammatory cytokine pro-                 payload [72]. In addition, the LNP may induce serum complement acti-
duction that the LNP, owing to the lower amount of ionizable lipids                  vation, leading to non-IgE-mediated hypersensitivity reactions, called
present (1/3 of the respective amount in LNP).                                       complement activation related pseudoallergy (CARPA), and eventually
                                                                                     to anaphylactic shock [74–76].
3.3. Effect of particle size                                                             Efforts have been made to mitigate the inﬂammatory responses as-
                                                                                     sociated with LNP and increase their therapeutic window. These include
    Another important factor that drives the in vivo fate and may dra-               pre-medication or co-administration with corticosteroids (e.g., dexa-
matically inﬂuence the potency of the LNP is their particle size. After              methasone) [45,72,77,78], use of pathway-speciﬁc inhibitors
the LNP are administered intravenously, they must pass through endo-                 (i.e., Janus kinase (Jak) inhibitor) [77], as well as the employment of re-
thelial fenestrae of the liver to reach the hepatocytes. Owing to the lim-           inforced polyethylene glycol (PEG) shielding [75].
iting size of these fenestrations (100-110 nm in humans, and up to                       Immunosuppressive drugs like dexamethasone, a glucocorticoid re-
160 nm in rodents), it is generally considered that LNP with sizes                   ceptor (GR) agonist, have been used to address immune stimulation in a
around 100 nm or less would have more chances of a successful RNA de-                large number of clinical and preclinical studies. Glucocorticoids affect
livery [65]. As a ﬁrst test of this hypothesis, Akinc et al. prepared siRNA          the production of several pro-inﬂammatory factors, including cytokines,
loaded LNP with varying sizes (50-150 nm), using extrusion through                   via the activation of the glucocorticoid receptor (GR) receptor in multi-
different pore-sized membranes, while maintaining the exact lipid com-               ple cell types [79]. In 2010, Abrams et al. reported a signiﬁcant reduction
position among the LNP, and dosed them systemically in mice at a dose                in the levels of at least six reported cytokines to near base levels, after
of 3 mg kg-1 [66]. Upon doing so, the authors showed a clear improve-                treating mice with increasing doses (0.5 to 8 mg kg-1) of dexametha-
ment in hepatocyte gene silencing as the size decreased from 150 nm                  sone intraperitoneally (i.p.) 1 hour prior to LNP dosing. No loss of
to 50 nm. Basha et al. came to the same conclusion when they tested                  gene silencing activity was observed [72]. Corticosteroid premedication
the gene silencing capacity of LNP sized between 80-360 nm in hepato-                has also been successfully applied in the clinic [45], however, it should
cytes and liver macrophages of mice. Delivery in the liver was favored               be noted that chronic steroid medication can been associated with
when using smaller particles, while the opposite was true for macro-                 undesirable side-effects. A more recent work has shown that instead
phages [59]. In a later study, this conclusion was contradicted; LNP                 of pre-dosing the corticoid drugs, co-encapsulation and co-
with sizes ranging from 27 to 117 nm were prepared by varying the                    administration of a hydrophobic derivative of dexamethasone in the
content of the PEG lipid (0.25 to 5 mol% lipid) and evaluated for liver              LNP allowed the suppression of the immune-stimulation at markedly
gene silencing activity following i.v. injection in mice [67]. All LNP               lower dexamethasone dose (0.5 mg kg-1), compared to the dose needed
showed similar accumulation to the liver, with the ~78 nm being the op-              when the corticosteroid was administered alone (5 or 20 mg kg-1) [78].
timal size in terms of silencing potency. Still, both the smallest (27 nm)           For this study, the authors prepared several hydrophobic derivatives of
and the largest particles (117 nm) exhibited poor efﬁcacy, owing to ei-              dexamethasone with single or multiple 18-carbon chains, with or with-
ther stability issues (rapid dissociation of lipid components), or their in-         out an ionizable amine, and studied their hydrophilicity/hydrophobic-
ability to penetrate the dense vasculature of the murine liver,                      ity, encapsulation efﬁciency, and biodegradability in LNP.
respectively. In a more recent study, the authors again varied the PEG                   Tao et al. further showed that inhibiting the Janus kinase-signal
lipid content (0.25-3%) of the LNP, resulting in hEPO mRNA loaded                    transducer and activator of transcription (JAK-STAT) pathway, an im-
LNP with sizes ranging from 45 to 135 nm [63]. However, only minor                   portant regulator of the immune system, can signiﬁcantly improve the
differences in the cellular uptake where reported in this last study, de-            immunostimulant proﬁle of the LNP [77,80]. The JAK-STAT pathway
pending on the size of the LNP, with the 65nm-LNP showing the highest                regulates the receptors for several cytokines that play a crucial role in
hEPO expression in hepatocytes and adipocytes in vitro. These studies                several inﬂammatory responses. By pre-treating rats subcutaneously
proved the importance of the particle’s size in terms of its efﬁcacy. How-           with 2 doses of a JAK inhibitor (6 hours apart) before the i.v. administra-
ever, as mentioned above, changing the mol% of the PEG lipid has a                   tion of the LNP (9 or 3 mg kg-1 ), the authors showed 100% rescue of
strong effect on the particle’s in vivo fate, introducing an additional var-         LNP-induced lethality, accompanied by a signiﬁcant suppression of all
iable to the screen. In general, these conﬂicting results with respect to            associated toxic responses (i.e., cytokine induction, ALT and AST eleva-
the optimal LNP size are an indication that multiple factors may contrib-            tion etc.). This approach may have beneﬁts over corticosteroids, which
ute to an efﬁcient LNP-mediated RNA delivery, such as LNP composition,               have multiple immuno-suppressive functions.
PEG lipid content etc. Thus, further mechanistic studies are required to                 Shielding the particles with polyethylene glycol (PEG) has been an-
elucidate this size-activity relationship.                                           other well established method to mediate these adverse effects and re-
                                                                                     duce the LNP interaction with serum proteins and complement [75].
3.4. Limitations                                                                     Kumar et al. showed that increasing the PEG lipid mol% of the LNP
                                                                                     from 1.5 to 10% reduced the production of cytokines, the complement
3.4.1. Immunotoxicity                                                                activation and the recognition of the LNP from the macrophages in a
    While the potency of a delivery system is important, safety is para-             murine in vivo model, but, as expected, also inhibited the LNP interac-
mount, dictating the course of development, clinical translation and, ul-            tion with the ApoE in the blood, and, subsequently, their gene silencing
timately, success. The identiﬁcation of synthetic modiﬁcations for                   efﬁcacy. Importantly, in this study, the authors introduced the PEG lipid
nucleic acid payloads has signiﬁcantly reduced RNA-associated                        after the initial LNP formation to ensure similar sizes for the screened
immune-stimulatory effects and considerably improved the immuno-                     nanoparticles, while obtaining the desired PEG surface density [75].
genic proﬁle of LNP [68–71]. Despite this, administration of NA above                These results showed that it is important to identify the PEG mol%
a certain dose threshold in LNP format with most ionizable lipids has                that allows for maximum LNP protection from the immune system
the potential to cause immune activation and cytotoxicity.                           without sacriﬁcing their activity.
    The innate immune system is activated when the phagocytic cells of
the reticuloendothelial system (RES) recognize the lipid components of               3.4.2. Potential for immunogenicity
the LNP. Once activated, toll-like surface receptors (TLR2 and TLR4) can                 In addition to the potential for surface PEG to inhibit the cellular up-
trigger the induction of high levels of cytokines, or cytokine release syn-          take of LNP and endosomal fusion, it has been widely reported that the
drome (CRS) [72,73]. Abrams et al. studied this phenomenon after the                 PEG-lipid structure plays a strong role in determining circulation half
systemic administration of LNP composed of CLinDMA, seeing                           life. Longer circulating particles can cause the production of anti-PEG



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immunoglobulin (Ig) M and G antibodies (anti-PEG IgM and IgG) from                   extracellular matrix (ECM) in the liver. However, upon liver injury
the B cells in the spleen, leading to a loss of potency upon repeated                they can become activated and differentiate into myoﬁbroblasts, lead-
LNP administration, due to the Accelerated Blood Clearance (ABC) effect              ing to the excessive production of ECM (mainly collagen type I) and
[29,81–84]. Dams et al. reported in 2000 a rapid blood clearance upon                proﬁbrogenic cytokines, eventually causing liver ﬁbrosis [89]. These
repeat dosing of empty PEGylated liposomes in rats and rhesus mon-                   cells are particularly hard to reach as they constitute only 5-8% of the
keys (but not mice), speciﬁcally when the second dose of liposomes                   resident cells in healthy liver, reaching around 15% in diseased liver
was administered between 5-21 days after the ﬁrst dose [81]. However,                [90]. To enable the targeting of these minority cells, several efforts
they claimed that nonantibody-soluble serum factors were responsible.                have been reported by either employing active targeting molecules on
Shortly thereafter, Semple et al. contradicted that conclusion by                    the surface of LNP, or using rationally designed ionizable lipids that in-
reporting for the ﬁrst time the production of IgM antibodies from B                  teract efﬁciently with HSCs among other hepatic cell types [91–95].
cells after weekly dosing of PEGylated liposomes or lipid nanoparticles                   Sato et al. ﬁrst attempted in 2008 to take advantage of the fact that
i.v. in mice [29]. Using different strains of naïve, T cell-deﬁcient, or B           HSCs are the main vitamin A storage site and used vitamin A (VitA) dec-
and T cell-deﬁcient mice, the authors showed that the rapid blood clear-             orated liposomes carrying siRNA against HSP-47, a collagen chaperone
ance was only seen in the naïve or T-cell deﬁcient mice. It was not seen             glycoprotein, to target activated HSCs in both acute and chronic rat
in the case of B and T-cell deﬁcient animals, leading to the conclusion              models of liver ﬁbrosis [91]. Treatment with 5 or 6 repeated i.v. injec-
that the mechanism is B-cell and immunoglobin related. This was con-                 tions of VitA functionalized liposomes at a dose of 0.75 mg kg-1 led to lo-
ﬁrmed in the same study by Elisa-based IgM studies and supported by                  calization of the liposomes in the liver, accompanied by signiﬁcant
other publications around the same time [82,84]. IgM is a well known                 ﬁbrosis suppression in all three different ﬁbrosis models employed in
opsonin, capable of complement activation upon recognition of foreign                this study (induced by either dimethylnitrosamine (DMN) or carbon
bodies, leading eventually to phagocytosis [85]. Later that year, Judge              tetrachloride (CCl4) treatment or bile duct ligation (BDL)). These results
et al. showed that these PEG-mediated antibody responses can be ame-                 revealed the potential of vitamin A to target both resting and activated
liorated by using “diffusible” PEG lipids with shorter dissociation times            HSCs. The mechanism behind this selective targeting was proven
from the particle’s surface, as discussed above [83]. To prove this hy-              in vitro to be receptor mediated via the retinol binding receptor (RBR)
pothesis, the authors prepared a series of PEGylated liposomes contain-              in HSCs, although the contribution of vitamin A’s hydrophobicity to
ing PEG lipids with alkyl chains of different lengths (C14, C16 and C18)             nonspeciﬁc cellular uptake has not been completely excluded.
and reported a 10-fold reduction in the anti-PEG antibodies production                    This targeting strategy was also employed in a recent study, where
at 7 days after their i.v. administration in mice, when a shorter alkyl              the authors employed VitA functionalized LNP comprised of hyperbr-
chain (C14) PEG lipid was used versus a more stably integrated (C16                  anched lipoids to deliver a dual siRNA strategy (against type I collagen
or C18) PEG lipid.                                                                   a-1 (Col1A1) and tissue inhibitor metalloproteinase-1 (TIMP1)) to
     In a more recent study, the contribution of an alternative mechanism            HSCs in order to attack both the collagen production and promote colla-
was proposed [86]. Results showed the effect to be driven initially by the           gen degradation in ﬁbrotic mice (CCl4 treated) [96]. The targeted LNP
activation of B-1 cells by the PC- containing LNP. This led to the produc-           showed clear superiority over the non targeted in terms of liver accu-
tion of anti-LNP (PC) IgMs and, eventually, to the production of anti-PEG            mulation, which was more profound in ﬁbrotic compared to naïve
IgM. Moreover, the authors demonstrated that by injecting the LNP with               mice. This localization led to signiﬁcant anti-ﬁbrotic effects after repeat
2-week intervals or wash out periods between the injections, the ABC                 i.v. dosing at 1 mg kg-1 of each siRNA, based on the staining of ﬁbrotic
effect can be signiﬁcantly reduced, owing possibly to the short biological           hepatic areas by Sirius Red. However, despite the high dose applied,
half-life of the IgM. This last ﬁnding has been reported in previous stud-           no information was provided in regard to the silencing capacity of the
ies as well, using PEGylated liposomes or polymeric nanoparticles in-                delivered siRNAs in vivo.
stead of lipid nanoparticles [87,88]. It is important to note these                       In a different approach, authors attempted to incorporate VitA
studies were performed in animal models with no prior exposure to                    modiﬁed lipids (substituting the alkyl chain of the lipids with vita-
PEG molecules. In contrast, humans are increasingly exposed to numer-                min A) in their LNP and compared them to myristic acid and vita-
ous marketed products containing PEG, resulting in pre-existing PEG                  min E containing LNP, in terms of silencing HSC speciﬁc ﬁbrosis
antibodies, which may present an extra hurdle when going to the clinic.              marker genes, like the Col1a1 in CCl4 treated mice [93]. As reported, at
                                                                                     an i.v. dose of 0.5 mg kg-1, only the VitA bearing LNP resulted in a reduc-
4. Going beyond the hepatocyte                                                       tion in COL1A1 levels in ﬁbrotic mice. However, the decrease was mod-
                                                                                     erate (~57%) and slow (72 h) possibly due to the long life of COL1A1 and
4.1. Systemic delivery                                                               the fact that vitamin A is incorporated in the LNP in this case and it is not
                                                                                     available on the surface of the LNP.
    The natural predisposition of LNP towards the liver has been shown                    As an alternative to Vitamin A, another study chose to explore a re-
to result in their accumulation in the hepatocytes, owing to mechanisms              ceptor that is overexpressed in activated HSC, the platelet-derived
described above. However, structure-function based LNP design, or the                growth factor receptor β (PDGFR-β), using a cyclic oligopeptide, called
use of active targeting ligands, can enhance delivery to a broad range of            pPB (C*SRNLIDC*) for the targeting of ﬁbrotic HSCs [95]. The same ap-
cells and/or tissues outside the liver. Apart from hepatocytes, which are            proach had been previously reported to successfully carry i.v. dosed,
the main type of hepatic cells, the liver microenvironment consists of               interferon-γ loaded liposomes in the HSCs of thioacetamide treated ﬁ-
other cell types, like Kupffer cells (liver macrophages), hepatic stellate           brotic rats [97]. In this study, LNP carrying siRNA against HSP-46 were
cells (HSCs), endothelial cells among others. RNA delivery to these                  functionalized with the targeting peptide via a maleimide reaction and
types of cells is of particular interest, owing to their involvement in              exhibited more than 2-fold higher accumulation in the liver compared
several liver diseases. Delivery to these other cell types remains some-             to non-targeted LNP based on ﬂuorescence tracking. Immunoﬂuores-
what challenging, given the propensity for LNP to gravitate to the                   cence staining analysis further revealed that the majority of the pPB-
hepatocytes.                                                                         LNP could be found in the HSCs contrary to non targeted LNP.
                                                                                          However, it is critical to mention here that despite the beneﬁts of se-
4.1.1. Hepatic stellate cells                                                        lective protein silencing, with reduced off target effects, the use of exog-
    There is considerable interest in hepatic stellate cells (HSC) owing to          enous targeting ligands introduces additional challenges with respect to
their strategic role in the regulation of liver damage and liver ﬁbrosis             manufacturing for use in the clinic. For that reason, studies have focused
[89]. Their physiologic function as liver pericytes lies mostly in the stor-         also on the use of ionizable lipids capable of interacting with HSCs
age of vitamin A, the regulation of blood ﬂow and turnover of                        without the need of exogenous HSC homing molecules. As an example,



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C12-200 based LNP loaded with siRNAs against Col1a1 have exhibited                    4.1.3. Leukocytes
signiﬁcant localization and retention in the liver of ﬁbrotic (CCl4                       In a follow up study, the same authors revealed that it is possible for
treated) versus nonﬁbrotic mice (i.v. dose of 3 mg kg-1) with a speciﬁc-              rationally designed LNP to deliver siRNA to T lymphocytes, without the
ity in non parenchymal cells and especially HSCs [92]. In a separate                  need for targeting ligands [106]. Leukocytes including macrophages,
study, four weekly i.v. doses (0.1, 0.2 or 0.4 mg kg-1) resulted in a signif-         monocytes, dendritic cells and lymphocytes are another major thera-
icant, dose-dependent reduction in ﬁbrosis (almost 50% decrease in col-               peutic target because of their central role in the immune system and
lagen production) and Col1a1 mRNA knockdown (KD) up to 90% in CCl4                    their involvement in several diseases, such as autoimmune disorders,
treated mice. Vollman et al., used C12-200 based LNP to identify novel                cancer, chronic inﬂammation etc. [107]. They can be found throughout
targets in liver ﬁbrosis [94]. By knocking-down genes that were upreg-                the body, mostly in organs like the spleen or the liver, and also in the
ulated during liver ﬁbrosis and exploring the effect in collagen accumu-              blood and lymphatic system. In this study, the authors screened 168 dif-
lation, the authors identiﬁed ﬁve genes that can act as therapeutic                   ferent LNP in vivo by varying i) the lipid head group (amines or boronic
targets. From these, they reported for the ﬁrst time that the early growth            acid), ii) the lipid alkyl chain length, number and saturation (2 linoleic
response 2 (Egr2), a protein with an essential role in peripheral nerve               acid tails, 3 lipid tails, or an adamantane containing tail) iii) the phos-
myelination and immune tolerance, had the most profound effect on ﬁ-                  pholipid (DSPC versus DOPE), iv) the molar ratio of the components
brosis markers. According to their results, 94% knockdown of Egr2,                    and v) the particle size (50-100 nm), in terms of their gene silencing ca-
using C12-200 based LNP (dosed i.v. on days 7 and 3 prior to CCl4 treat-              pacity in T cells. Adamantane containing-LNP with DSPC showed the
ment, and at days 2, and 6 after CCl4 treatment at 0.5 mg/kg), resulted in            highest GFP silencing in murine splenic T cells (around 50% at a i.v.
an equivalent reduction in Col1a1 mRNA levels, and a reduction by half                dose of 1.5 mg kg-1), irrespective of their head group or size, followed
in collagen accumulation in CCl4 mice, compared to control animals.                   by liver immune cells, and to a lesser extent splenic B cells. Interesting,
                                                                                      no silencing was observed in hepatocytes. The authors concluded that a
4.1.2. Other hepatic cell types                                                       more “constrained” lipid tail, like adamantane, was essential for the LNP
    Dalhman’s group has done extensive research in trying to under-                   to target splenic T cells.
stand the LNP interaction with the liver microenvironment [98–103].                       A previous study, however, had already discussed the possibility of
The group revolutionized the ﬁeld by developing high-throughput                       actively targeting CD4+ T lymphocytes, using surface functionalized
screening methods through the use of unique DNA barcodes in LNP,                      LNP with anti-CD4 monoclonal antibodies (anti-CD4 mAbs) [108]. The
allowing the parallel screen of hundreds of structurally-different LNP                antibody decorated LNP were capable of targeting CD4+ T cells in differ-
in terms of cellular biodistribution in a single experiment [100,104].                ent hematopoietic organs, not only in the spleen or blood circulation
The DNA barcodes were 50-60 nucleotides long, including primer bind-                  (i.e., lymph nodes and bone marrow). However, despite the impressive
ing sites, random oligonucleotides and 10-nucleotide “barcode region”                 CD4+ T cell afﬁnity and selectivity, the level of silencing was limited in
in the center of the sequence, and could be accurately identiﬁed at par-              blood-circulating CD4+ T cells, but signiﬁcantly higher in the CD4+ T
ticularly low concentrations in isolated tissues or cell types, using deep            cells isolated from the spleen of the treated animals.
sequencing. Moreover, loading the LNP with Cre recombinase (Cre)                          The same group expanded the use of targeting mAbs towards in-
mRNA in combination with the barcoding technique enabled the evalu-                   ﬂammatory leukocytes, in order to deliver a therapeutic anti-
ation of functional mRNA delivery to different cell types in Cre reporter             inﬂammatory protein encoding mRNA, interleukin 10 (IL10) mRNA,
mice [103]. This mouse model is genetically modiﬁed so that its cells                 against inﬂammatory bowel disease (IBD) in a mouse disease model
ﬂuoresce when Cre protein is expressed, allowing single cell resolution               [109]. For this, the authors employed a novel platform called Anchored
and increased sensitivity compared to other reporter mRNAs in regards                 Secondary scFv Enabling Targeting (ASSET) based on the incorporation
to the location and the delivery of an active mRNA [105]. These experi-               of an antibody-binding lipoprotein in the LNP, allowing the non-
ments provided a wealth of information to help elucidate the relation-                covalent coating of the LNP with the targeting antibody [110]. As a re-
ship between LNP structure and cell-speciﬁc interactions.                             sult, the authors reported a signiﬁcantly enhanced (20-fold) protein ex-
    Using this approach, the authors provided evidence that both MC3                  pression in the intestine and the spleen, accompanied by a 10-fold
and cKK-E12- based LNP interact with liver endothelial cells and macro-               decrease of the protein expression in the liver. This enhanced protein
phages in addition to hepatocytes [98]. Moreover, they were able to                   expression in inﬂammation sites translated into reduced levels of proin-
identify LNP formulations that delivered Cre mRNA preferentially to                   ﬂammatory cytokines and disease related symptoms.
liver endothelial cells and Kupffer cells rather than hepatocytes, follow-                Based on these encouraging results, Peer and colleagues decided
ing the i.v. administration of 125 cKK-E12 based LNP containing choles-               to explore the combination of lipid design and active targeting
terol variants in mice [103]. From this comparison, they concluded that               using mAbs to enhance the LNP-mediated delivery of siRNA to leuko-
incorporating oxidized cholesterol, modiﬁed in its tail rather than at the            cytes [111]. To do so, the authors designed a library of 14 structurally
sterol ring B, in LNP can alter the interaction of the LNP with serum pro-            different ionizable lipids by varying the linker backbone, head group
teins, affecting its biodistribution in preference to liver endothelial and           and alkyl chains of the lipids. Following their formulation character-
Kupffer cells (4-fold higher Cre expression than in hepatocytes). The                 ization and in vitro evaluation, the authors proceeded to inject them
exact mechanism however behind this preferential distribution remains                 systemically to mice in order to evaluate their biodistribution by
unclear. No relationship between LNP size and delivery was observed in                tracking the ﬂuorescently labelled siRNA in different tissues. By
this study.                                                                           doing so, they concluded that lipids with piperazine head group lo-
    In their latest study, however, they showed that the LNP biodistri-               calized preferably in the spleen (3-fold higher at 2 hours and 9-fold
bution can change under conditions of mild innate immune activation,                  higher at 24 hours post i.v. administration, compared to liver locali-
due to TRL4 activation caused by LPS pre-treatment in mice [101]. For                 zation) in contrast to lipids with tertiary amine head groups that
this study the authors ﬁrst employed cKK-E12 and MC3 based LNP,                       were found mostly in the liver. Decorating the surface of the
and showed a dramatic decrease in Cre protein expression in the he-                   spleen-targeting LNP with an anti-integrin β7 mAb, resulted in sig-
patic cell types previously discussed (hepatocytes, endothelial cells,                niﬁcant CD45 mRNA knockdown (up to 50%) in both CD4+ and
Kupffer cells) when the animals were pretreated with LPS causing                      CD8+ T lymphocytes in the spleen and the lymph nodes, while no
TRL4 activation. Following a high-throughput screen, they identiﬁed a                 effect was observed for the isotype decorated LNP control. In the
novel lipid, called cKK-E15 that exhibited speciﬁcity for liver macro-                same study, they saw that using ethanolamine or hydroxylamine
phages. However, they observed the same drop in protein expression                    linkers was more efﬁcacious in terms of gene silencing compared
under inﬂammatory conditions, leading to the conclusion that the par-                 to hydrazine linkers. However, the silencing reported in this study
ticles’ biodistribution can be signiﬁcantly altered under disease state.              remained limited, similar to previous studies using targeted LNP,



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leading again to the conclusion that only a small percentage of the                  neurons when ionizable lipids containing vitamin E (versus vitamin A
LNP are actually taken-up by these hard to transfect cells.                          or myristic acid) were used, yet gene expression was reported only in
    To avoid the possibility of increased clearance or immunogenicity                astrocytes. More recently, the same group employed the same SS-
associated with the use of full length antibodies, a different study                 cleavable lipid-based LNP to deliver eGFP or luciferase mRNA to the
employed a single chain antibody to target DLinDMA-based LNP to                      brain via ICV administration (1 μg of mRNA per mouse in 10 μL of vol-
surface-expressed receptors of murine dendritic cells, such as the                   ume dose) [117]. Through this study, the authors discovered that
DEC205 receptor [112]. By doing so, the authors achieved up to an al-                using a lower PEG density (1 versus 3 mol %) resulted in a higher
most 70% knockdown of speciﬁc costimulatory targets (CD40, CD80,                     activity. ICV administration of LNP bearing luciferase mRNA resulted
and CD86) individually or in combination, in splenic DC after the                    in 7-fold higher activity than the lipofectamine complexed luciferase
retro-orbital i.v. injection of the targeted LNP in LPS activated mice.              mRNA control, although it was accompanied by an elevation of IL-6
This lowered the required dose compared to non targeted LNP. Using                   cytokine levels in brain lysates. Next, the authors used eGFP mRNA
DEC205 deﬁcient mice as a control further conﬁrmed the receptor spe-                 and showed that the expression of the protein could be found both in
ciﬁc uptake. The authors showed that active targeting of DC could yield              neurons and astrocytes. On the contrary, in their previous study the ex-
effective gene modulation of immune cells in vivo. Interestingly when                pression of mCherry from encapsulated pDNA was seen only in astro-
the authors previously used full length DEC205 antibody as targeting                 cytes, possibly owing to the inability of the LNP to reach the nucleus of
molecule, they reported a signiﬁcant loss of targeting potency in den-               neurons needed for pDNA protein expression.
dritic cells.                                                                            The mechanism behind this preferential cellular localization in both
    Collectively, these results show the potential for active or passive             astrocytes and neurons is believed to be ApoE-dependent [114,117].
targeting to redirect LNP beyond the hepatocyte. While the doses re-                 The brain is rich in ApoE, which is produced mainly by astrocytes and
quired to mediate gene silencing in cells like leukocytes questions the              secreted into the cerebrospinal ﬂuid (CSF) [118]. In addition, astrocytes
readiness of these approaches to enter the clinic, the increasing research           and neurons in the brain are known to express low-density lipoprotein
and understanding of the underlying mechanisms behind the                            receptors (LDLR) involved in the transportation of cholesterol [119]. The
biodistribution forecasts signiﬁcant progress in the near future.                    contribution of ApoE in the uptake of LNP by astrocytes and neurons
                                                                                     was conﬁrmed when decreased neuronal uptake of the LNP was ob-
4.2. CNS delivery                                                                    served in vitro in the absence of ApoE [114].
                                                                                         The potential to treat neurodegenerative diseases has also been ex-
    Neurodegenerative disorders and brain cancer are among the most                  plored following the intrathecal administration of the frataxin mRNA
lethal and debilitating diseases worldwide, especially in senior popula-             loaded LNP for Friedreich’s ataxia (FRDA) [120]. FRDA is an inherited
tions. However, the development of effective therapeutics is signiﬁ-                 neurodegenerative movement disorder, caused mainly by the downreg-
cantly lacking in this ﬁeld, mainly due to complexity of the brain, and              ulation of a protein called frataxin (FXN). The authors achieved 3-fold
the lack of drug delivery technologies capable of crossing the imperme-              higher FXN expression in the dorsal root ganglia of mice, a major path-
able biological barriers associated to this area. The brain is tightly               ological site in the case of Friedreich’s ataxia, 24 h after they injected the
protected by the blood-brain barrier (BBB) that regulates the movement               LNP intrathecally into the lower lumbar region (L4-L5 or L5-L6) at a
of proteins, ions, and information molecules between the systemic cir-               dose of 0.2 mg kg-1, compared to the control group. Particles with
culation and the central nervous system (CNS) with a unique selectivity,             lower PEG content (2.5%) were more active than smaller particles
owing to its speciﬁc transporters and extensive tight junctions [113].               with higher PEG density (4%). Still no expression was observed in the
This makes the delivery of biomacromolecules from the blood to the                   spinal cord or the cerebellum. The therapeutic effect of this treatment
brain particularly challenging. Further, i.v. administration of LNP favors           was not shown in this study.
their accumulation in the liver, resulting in low brain bioavailability. To              Despite the inevitable hepatic accumulation following i.v. admin-
circumvent these challenges, scientiﬁc interest has turned towards al-               istration of LNP, several studies have attempted to reach the CNS
ternative administration routes that bypass the BBB, such as direct intra-           through the blood by targeting the receptors expressed on the BBB
cerebroventricular (ICV), intracortical (IC) or intrathecal (Ith)                    endothelium, without compromising the integrity of the BBB
administration. The ﬁrst attempt to deliver siRNA-LNP to the brain                   [121–123]. As an example, studies have employed oligopeptides,
was reported in 2013 via IC or ICV injection [114]. For this application,            like angiopep, to surface-functionalize the i.v. dosed LNP towards
the authors injected initially LNP loaded with siRNA against PTEN into               the low-density lipoprotein receptor-related protein-1 expressed
the cortex of rats (IC dose of 2.5 μg of siRNA per animal in 0.5 μL dose             on both healthy brain endothelial cells and potential glioblastoma
volume). They reported the co-localization of LNP with neurons at a                  [121]. This promising targeting approach, however, was only vali-
close distance from the injection point and ~90% silencing of PTEN in                dated in vitro. Around the same time, Conceição et al. proved for
the area (<1 mm from injection point) that lasted up to 15 days. No                  the ﬁrst time that using active targeting can allow for LNP-
immunotoxicity was observed. Knockdown of PTEN mRNA decreased                        mediated siRNA brain delivery upon i.v. administration in vivo
further away from the injection site. In order to achieve a more spread              [122]. In this integrated study, the authors used a rabies virus glyco-
distribution and knockdown, they proceeded to inject the LNP into the                protein derived peptide (RVG) to facilitate the uptake of LNP by the
lateral ventricles (ICV injection) of the rat and managed to get ~50%                BBB and deliver siRNA against the mutant ataxin-3 in two mouse
knockdown of PTEN in different brain areas (striatum and dorsal hippo-               models of Machado-Joseph disease (MJD). The edge of this approach
campus) at 4 times the distance from the injection site compared to IC               was that RVG presents high speciﬁcity towards BBB, possibly
injection. The therapeutic applicability of this administration route                through binding the nicotinic acetylcholine receptor, but can also fa-
was further explored following the ICV injection of LNP loaded with                  cilitate neural cell entry after crossing the BBB [124]. The study in-
siRNA against GRIN1 mRNA encoding for GluN1, an essential subunit                    deed showed signiﬁcant accumulation of the systemically
for the N-methyl-D-aspartate (NMDA) receptors in the brain. NMDA re-                 administered LNP in the brain 3 hours post injection, which trans-
ceptors play an essential role in the synaptic plasticity and memory, but            lated to around 32% silencing of mutant ataxin mRNA and protein
can be involved in several neuropathological conditions, thus their                  aggregate levels in the cerebellum after 3 i.v. doses of 2.5 mg kg-1
proper regulation is essential [115]. By doing so, the authors witnessed             of siRNA. That relatively moderate silencing resulted in more than
LNP localization 500 μm from the point of injection and almost 50% pro-              50% reduction of the pathological deﬁcits of the disease in mice
tein silencing 5 days post dosing. A later study used the same approach              [122]. Still, a high amount of the LNP was found in the liver. A com-
to deliver plasmid DNA (pDNA) encoding reporters like luciferase, or                 plementary study showed that the i.v. formulation was well toler-
mCherry [116]. Signiﬁcant LNP uptake was reported in astrocytes and                  ated since it did not induce the production of pro-inﬂammatory



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cytokines or microglia activation [125]. An increase in IL-6 was re-                4.4. Ocular delivery
ported 4 hours after dosing, although no increase was observed
upon repeated dosing.                                                                   Nanoparticle-mediated delivery of therapeutic biomacromolecules
   In a more recent study, the authors chose to target receptors                    to the eye has accelerated over the last decade, with respect to treating
overexpressed in inﬂamed BBB, such as the vascular cell adhesion                    both anterior and posterior segment ocular diseases. Recently the po-
molecule-1 (VCAM-1), in order to deliver thrombomodulin (TM)                        tential of LNP for nucleotide delivery was explored against posterior
mRNA encapsulated in i.v.-dosed LNP to the brain of a mouse                         eye diseases following their subretinal injection [129,130]. This presents
model of acute brain inﬂammation [123]. Using LNP surface-                          several challenges, such as anatomical constrains, the permeability and
conjugated with anti–VCAM-1 monoclonal antibodies resulted in                       diffusion in the vitreous humor or the interaction and uptake by tight
10-70–fold higher brain uptake (30 min post dosing of 8 μg of                       cellular membranes [131]. However, Patel et al. revealed in their study
mRNA per animal) in healthy and intrastriatal TNFα-injured mice                     that LNP can overcome these barriers and effectively deliver mRNA
respectively, compared to IgG control LNP. This approach offered a                  subretinally in mice, with preferable protein expression in the retinal
very selective targeting along with a signiﬁcant production of the                  pigment epithelium (RPE) layer and the Müller glia [129]. For this
TM protein, leading to ~ 84% alleviation of the brain vascular leakage.             study, the authors screened structurally-different ionizable or cationic
Taken together, these two studies highlight the importance of choos-                lipids with respect to their distribution and protein expression in the
ing targeting moieties with speciﬁcity towards receptors that are                   mouse retina and concluded that ionizable lipids (i.e., MC3 and KC2)
highly expressed in the BBB endothelium, instead of ubiquitously                    are the most potent in terms of protein expression 24 hours post-
expressed throughout the body (i.e., Transferrin receptor (TfR), in-                subretinal injection of 200 ng of luciferase mRNA per animal, possibly
sulin receptor (IR), and LDLR) but also receptors that are available                owing to their intrinsic endosomolytic properties. No signs of retinal
on the surface of the endothelial cells.                                            toxicity were observed. To further explore their cellular localization,
                                                                                    the authors employed mCherry mRNA LNP and proved a colocalization
                                                                                    of the mCherry signal with the immunostained RPE and Müller glia. The
4.3. Lung delivery                                                                  mechanism behind this preferential localization was again postulated to
                                                                                    be ApoE mediated; the Müller glia are responsible for the ApoE secre-
    The lung is also frequently targeted by nucleic acid therapeutic ap-            tion in the retina and both RPE and Müller glia express LDL receptors.
proaches, owing to both the many disease associated with it, and its                In a parallel study, Huang et al. studied the effect of the surface charge
seemingly accessible nature. However, the lung is a particularly well               of the LNP on their retention and uptake by the retinal cells [130]. To
protected tissue, owing to the presence of complex biological mecha-                maintain a constant particle size (~70 nm) while tuning their surface
nisms intended to remove exogenously inhaled particles, such as                     charge, the authors kept the same molar ratio of the cholesterol, PEG
mucociliary clearance and alveolar macrophages engulfment. In 2018,                 lipid and phospholipid contents, but varied the ratio of the cationic
Robinson et al. provided the ﬁrst proof that LNP carrying cystic ﬁbrosis            lipid (1,2-dioleoyl-3-trimethylammonium-propane, DOTAP) and the
transmembrane conductance regulator (CFTR) mRNA can circumvent                      cholesteryl hemisuccinate (CHEMS) to obtain charges between -30 to
these barriers and can be successfully applied for the treatment of cystic          +50 mV. By doing so, it was shown that positive LNP of around
ﬁbrosis following nasal administration in a mouse disease model [126].              +35 mV resulted in higher retention time and retinal distribution and
Two consecutive doses of LNP at a dose of 0.1 mg kg-1 mRNA per day led              were able to deliver ﬂuorescently labelled siRNA into the retina,
to the restoration of chloride response in the airway epithelium of CFTR-           highlighting the importance of the balance between enhanced retention
knockout mice, that lasted up to 2 weeks post-dosing.                               and facilitated diffusion in the retina. However, the authors did not pro-
    Alternatively, LNP could avoid the associated pulmonary barriers                vide any proof of active siRNA delivery and its silencing capacity. These
(i.e., mucosal barrier) and reach the lung endothelium through the                  studies represent proof-of-concept showing the potential of LNP for
blood by tuning the surface charge or through surface                               treatment of ocular diseases, though further work remains to fully elu-
functionalization using antibodies, peptides, or small-molecule li-                 cidate the underlying mechanisms.
gands [127,128]. An example of this active targeting approach was
reported by the University of Pennsylvania (UPenn, USA) in collab-                  4.5. Alternative delivery routes
oration with Acuitas therapeutics (British Columbia, Canada) who
used mRNA-LNP coupled with monoclonal antibodies speciﬁc to                             Exploring alternative routes of administration for LNP technology
the vascular cell adhesion molecule, PECAM-1 (platelet-endothelial                  will enable less invasive treatments, a vital aim for future research ef-
cell adhesion molecule-1) in the lung endothelial cells [127]. By                   forts. Oral delivery of NA, for example, could revolutionize how gastro-
doing so, the authors achieved 200 times higher localization and                    intestinal (GIT) diseases are treated. Until recently it was unclear if LNP
25 times higher luciferase expression in the lung with high speciﬁc-                could be employed for oral RNA delivery and survive the harsh GIT en-
ity to endothelial cells, following the i.v. injection of mAb-LNPs                  vironment, but now several nanoparticulate systems have been ad-
compared to non-targeted LNPs in mice. This impressive lung local-                  vanced towards that goal [132]. Whitehead and colleagues studied the
ization was further proven to be independent of ApoE mediated                       stability and silencing capacity of siRNA-loaded LNP in vitro in the pres-
mechanisms by reporting the same levels of lung targeting in                        ence of simulated biological media containing proteolytic enzymes and
ApoE-deﬁcient mice. An alternative targeting strategy was pre-                      mucin, the basic component of the intestinal mucus barrier [133]. They
sented recently by another group [128]. In this study, the authors                  observed that LNP could not withstand these harsh conditions. When
described an approach called Selective Organ Targeting (SORT), ac-                  their in vivo fate was explored following their oral or rectally gavaged
cording to which systemically dosed LNPs can be redirected to dif-                  administration in fasted mice at 0.5 mg kg-1 of GAPDH siRNA, LNP up-
ferent organs like the spleen and the lung, by introducing                          take was observed by the intestinal epithelium, based on the signal of
permanently charged (cationic or anionic) lipids (termed SORTs)                     ﬂuorescently labelled siRNA cargo, still no silencing was observed possi-
to the LNP formulation and modulating their molar percentage.                       bly due to the mechanisms studied in vitro (e.g., enzymatic hydrolysis,
Upon doing so, the authors showed an increasing accumulation                        mucin entanglement, bile salts etc.). These discouraging results don’t
and protein expression levels in the lung when increasing the                       necessarily prohibit the use of LNP for oral delivery of nucleotides but
molar percentage of permanently cationic lipid (DOTAP), without                     highlight the need to protect the LNP against the harsh GIT conditions
reporting signiﬁcant toxicity. More importantly, this approach                      with either the use of pH-sensitive polymeric materials or capsules.
could be applied to different classes of LNPs, such as DLin-MC3-                    This study is a good example of the importance of publishing negative
DMA- and C12-200- based LNPs.                                                       data to help advance the scientiﬁc research.



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    In a previously published report, the authors introduced a step-by-              back to 2000 from Curevac, a biopharmaceutical company from
step protocol approach for the use of LNP towards efﬁcient myocardial                Germany that focuses on mRNA therapeutics [140,141]. Protamine
delivery [134]. In this report, no results were disclosed, however the               was used to electrostatically complex and protect the mRNA cargo, lead-
possibility of intramyocardial or intracoronary administration of a                  ing to a speciﬁc immune response in vivo. Since then many more nano-
lipidoid-based LNP in rats was discussed. The importance of these alter-             structured systems have been tested for delivery of mRNA vaccines to
native routes is that an intracoronary administration of LNP could allow             the target cells (i.e., cationic liposomes, cationic nanoemulsions, cationic
for a non-invasive procedure in humans for the treatment of heart dis-               polymers, lipoplexes, etc.). Lipid nanoparticles gained increasing popu-
eases, although much work remains to be done to enable it.                           larity over the last years [138,142,143]. In 2012, Novartis published a
                                                                                     study describing the potential for a SAM-based LNP vaccine dosed i.m.
5. Pharmaceutical applications                                                       (1μg) to elicit immune responses comparable to viral systems, without
                                                                                     their risks and limitations [144]. A year later, they applied this mRNA
   The diverse biological roles of RNA have encouraged their use in a                vaccine technology encoding an inﬂuenza H1 hemagglutinin (HA) anti-
variety of therapeutic and preventative applications, many of which                  gen from the H1N1 virus and reported the production of protective ti-
are already in the development pipeline or under clinical assessment                 ters at 2 weeks after two immunizations (8 weeks interval) in mice, at
[13,48–51,135,136]. Table 1 summarizes some of the recent pharma-                    a RNA dose of 1 μg (80-fold lower than the dose required when using
ceutical applications of RNA loaded LNP that have been reported in vivo.             non-replicating mRNA vaccine) [145]. The ﬂexible manufacturing of
                                                                                     mRNA vaccines allowed the production of this SAM vaccine in just 8
5.1. mRNA vaccines – infectious diseases & cancer                                    days following the sharing of the hemagglutinin (HA) and neuramini-
                                                                                     dase (NA) genes data from the avian inﬂuenza A (H7N9) outbreak in
     Among these approaches, one particular ﬁeld stands out; the use of              China. Following that study, Pardi et al. demonstrated robust immu-
mRNA for cancer immunotherapies and the generation of prophylactic                   nity against Zika virus in non-human primates (NHPs) after intrader-
vaccines against infectious diseases. mRNA vaccines are generally                    mal (i.d.) vaccination of LNP encoding the pre-membrane and
assigned into two distinct subcategories: the non-replicating and the                envelope glycoproteins of a Zika virus strain (50 μg mRNA per animal).
self-amplifying mRNA (SAM) vaccines. Both encode antigen product                     This was the ﬁrst study to prove efﬁcient translation to NHPs [146].
(s), but SAM additionally encode viral RNA polymerase, effectively                   The protective efﬁcacy reported with the LNP system exceeded
allowing to the payload to make copies of itself. This leads to enhanced             50–100 times the effect seen when inactivated virus or DNA vaccines
duration, higher level of antigen expression and to a strong immune                  were used. The same year, Curevac showed that a single i.m. dose of
stimulation at a much lower dose than the non-replicating mRNA                       non-modiﬁed, non-replicating mRNA loaded LNP induced the produc-
[137]. However, for the same reason SAM vaccines are much bigger in                  tion of protective antibody titers against rabies and H1N1-HA in NHPs
size. Further, the copies of the payload made in situ in the cell will not           (separate single immunizations of 10 μg mRNA per animal) [147]. The
be chemically modiﬁed and together this leads to signiﬁcantly higher                 LNP were well tolerated and allowed for multiple administrations. Im-
immunogenicity than the non-replicating mRNA vaccines. This has to                   munity lasted up to 1 year and even exceeded the levels achieved with
be taken into account when testing in patients, especially when multi-               licensed conventional vaccines. Since then, Moderna has taken the lead
ple doses are required [138]. Both types of mRNA vaccines can be used                in the development of LNP-based mRNA vaccines for infectious diseases
to enhance immune stimulation in the case of infectious diseases, how-               with several studies both in clinical and preclinical stage over the past
ever only non-replicating mRNA vaccines are employed for cancer im-                  few years (i.e., against Zika virus, Inﬂuenza, Multiple Tick-Transmitted
munotherapies [139]. The cellular target for mRNA vaccines are                       Flavivirus Infections, COVID-19 (Coronavirus) among others)
immune cells, and speciﬁcally professional antigen presenting cells                  [148–152]. Recently, the same company published an interesting study
(APC) (i.e., dendritic cells, macrophages, B cells) due to their role in me-         where 30 proprietary, biodegradable ionizable lipids were screened in
diating immune responses [138].                                                      terms of the LNP tolerability and immunogenicity after their i.m. admin-
     mRNA vaccines are currently trending since they present distinct ad-            istration in mice (2 doses with 3 weeks interval at 0.001 mg kg-1 mRNA
vantages over conventional or DNA-based vaccines. The concept is to                  encoding inﬂuenza HA genes) [153]. In this study, the authors noted a
deliver an mRNA encoding the desired antigen to the cytoplasm of the                 divergence in hierarchies for the i.v. and i.m. administered LNP composi-
immune cells, in order to stimulate the immune system of the patient                 tions. They further noted that the compositions yielding the best expres-
to attack the actual disease. mRNA vaccines do not need to reach the                 sion did not necessarily yield the best immunogenicity [153]. They also
cell nucleus to induce protein expression, as DNA vaccines do, since                 showed that, contrary to some opinions, innate immune stimulation is
they are translated in the cytoplasm. Further, they provide more spe-                not a prerequisite for immunogenicity, implying that the tolerability of
ciﬁc, stronger and long-lasting immune stimulation. Safety is another                the LNP can be improved without losing potency. According to this
valuable facet of mRNA vaccines; they are not infectious or in risk of ge-           study, the pKa of the ionizable lipid appeared to be a determinant pa-
nome integration and mutagenesis. In parallel, their in vivo half life is            rameter for the behavior of the LNP following i.m. administration, with
relatively short, allowing for more control in case of adverse effects. Fi-          the optimal pKa range to be between 6.6 – 6.9 for immunogenicity
nally, their manufacturing is rapid, cost-effective, reproducible, scalable          (higher than the preferred pKa for i.v. dosing; 6.2 – 6.5). Size was also
and cell-free [139]. As an example of the ﬂexibility and swiftness around            a crucial factor with the most potent LNP showing sizes between 75-
the production of mRNA vaccines, Moderna, a Massachusetts-based bio-                 95 nm, after testing LNP with sizes from 50 to 140 nm. The 5 lead LNP
technology company, developed and manufactured a mRNA vaccine                        from this ﬁrst screen were then screened for potency in NHPs following
candidate (mRNA-1273) against COVID-19 during the 2020 pandemic                      2 i.m. doses of 5 μg modiﬁed mRNA encoding H10N8 inﬂuenza HA genes.
just 42 days after the release of the virus sequence. It entered Phase I             However, in contrast to the murine data, no clear superiority was seen
clinical trials just a few weeks later. Some reports claim that the inﬂam-           for these lipids in comparison to the benchmark, MC3.
matory potential of lipid particles containing a nucleic acid payload can                Generally, most studies have concluded that lipid structure and LNP
be beneﬁcial for this speciﬁc application up to a certain point, but it can          composition, particle size and surface characteristics greatly inﬂuence
still be modulated with chemical modiﬁcation [137]. These advantages                 their efﬁcacy as a vaccine. The route of administration is also important,
highlight the immense potential of mRNA to revolutionize the ﬁeld of                 with intramuscular (i.m.) and intradermal (i.d.) injection being used
immunotherapies with applications in cancer or infectious diseases.                  most frequently. To date, i.m. and i.d. routes have offered the highest
     As with most NA therapeutics, poor intracellular delivery and the               level of immunity and longest duration of effect, in addition to being
risk of enzymatic degradation is a challenging, which LNP readily                    straightforward. The intradermal route of administration is also favor-
solve. The earliest reports of formulation-based mRNA vaccines date                  able owing to the high frequency of antigen-presenting cells in the



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Table 1
Therapeutic and preventative applications of the lipid nanoparticle technology reported in literature in animal models.

  Therapeutic    Indication               Target                 LNP composition               Targeting moiety           Administration   Animal   Dose                Therapeutic outcome                Company/Academic      Reference
  modality                                                       (ionizable lipid)                                        route            Model                                                           institution

  siRNA          Hepatitis B virus        Two siRNA targeting    DSPC:Chol:                    -                          i.v.             Mice     3 daily doses of    >1.0 log10 reduction in serum      Protiva               [27]
                 (HBV)                    HBV RNA                PEG2000-C-DMA:                                                                     3 mg/kg/dose        HBV DNA                            Biotherapeutics
                                                                 DLinDMA (20:48:2:30
                                                                 molar %)
                 Hepatitis B virus        Trio of different      Proprietary LNP ARB-1740      -                          i.v.             Mice     3 bi-weekly         1.7-1.9 log10 reduction in serum   Arbutus Biopharma     [177]
                 (HBV)                    siRNAs targeting all                                                                                      escalating doses    HBV DNA and HBsAg
                                          four HBV transcripts                                                                                      (starting from
                                                                                                                                                    0.3, 1 and ﬁnally
                                                                                                                                                    3 mg/kg)
                 Hepatitis Delta Virus    Trio of different      Proprietary LNP ARB-1740      -                          i.v.             Mice     3 bi-weekly         >2 log10 and >1 log10 reduction Arbutus Biopharma [178]
                 (HDV)                    siRNAs targeting all                                                                                      doses of 3          in HBV and HDV viremia
                                          four HBV transcripts                                                                                      mg/kg/dose          respectively
                 Hepatitis B virus        Trio of siRNAs      YSK13-C3: Chol:                  Trivalent                  i.v.             Mice     Single dose of 5    >1 log10 reduction in serum HBV Hokkaido University [198]




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                 (HBV)                    against genotype A, PEG2000-DMG:                     N-acetyl-D-galactosamine                             mg/kg               DNA and HBsAg
                                          B, and C viruses    PEG2000-DSG -triGalNAc           (GalNAc)
                                                              (70:30:3:0.5 molar %)
                 Zaire Ebola virus        Polymerase (L) gene DSPC:Chol:                       -                          i.v.             Guinea   6 daily doses       100% survival and complete         Protiva               [190]
                 (ZEBOV)                  of ZEBOV            PEG2000-DMA: DLinDMA                                                         Pigs     0.75                protection from viremia            Biotherapeutics in
                                                              (20:48:2:30 molar %)                                                                  mg/kg/dose,                                            collaboration with
                                                                                                                                                    starting 24                                            UTMB
                                                                                                                                                    hours post
                                                                                                                                                    infection
                 Zaire Ebola virus        Trio of siRNAs         DSPC:Chol:                    -                          i.v.             NHP      7 daily doses 2     100% survival and complete         Tekmira               [191]
                 (ZEBOV, Kikwit)          targeting the viral    PEG2000-DMA: DLinDMA                                                               mg/kg/dose,         protection from viremia            Pharmaceuticals in
                                          protein (VP) 24,       (20:48:2:30 molar %)                                                               starting 30 min                                        collaboration with
                                          VP35 and L                                                                                                post infection                                         UTMB
                                          polymerase protein
                 Zaire Ebola virus        Two siRNAs adapted     Proprietary LNP               -                          i.v.             NHP      7 daily doses of    100% survival and 4                Tekmira               [192]
                 (ZEBOV, Makona)          to target the VP35     TKM-130803                                                                         0.5 mg/kg/dose      log-reduction in plasma viremia    Pharmaceuticals in
                                          and L polymerase                                                                                          starting 3 days                                        collaboration with
                                          protein                                                                                                   post infection                                         UTMB
                 Sudan Ebola virus        VP35                   Proprietary LNP               -                          i.v.             NHP      7 daily doses of    100% survival and 4                Arbutus Biopharma     [193]
                 (SUDV)                                          TKM-130803                                                                         0.5 mg/kg/dose      log-reduction in plasma viremia    in collaboration
                                                                                                                                                    starting 3 days                                        with UTMB
                                                                                                                                                    post infection
                 Marburg virus            Two different          Proprietary LNP               -                          i.v.             Guinea   7 daily doses of    100% postexposure protection       Tekmira               [195]
                 infection                siRNAs targeting the                                                                             pigs     0.5 mg/kg/dose      MARV-Ci67 and MARV-Angola:         Pharmaceuticals in
                 (MARV-Angola,            nucleoproteins (NP)                                                                                       starting 1 hour     NP-718 siRNA alone, MARV--         collaboration with
                 MARV-Ci67 or             NP-718 or NP-314                                                                                          post infection      Ravn: NP-718 and NP-314 siRNA      UTMB
                 MARV-Ravn
                 Marburg virus            NP-718                 Proprietary LNP               -                          i.v.             NHP      7 daily doses of    100% postexposure protection   Tekmira                   [196]
                 infection                                                                                                                          1 mg/kg/dose        and 4 log-reduction in plasma  Pharmaceuticals in
                 (MARV-Angola)                                                                                                                      starting 3 days     viremia                        collaboration with
                                                                                                                                                    post infection                                     UTMB
                 Marburg virus            NP-718                 Proprietary LNP               -                          i.v.             NHP      7 daily doses of    100% survival (LNP treatment:  Arbutus Biopharma         [197]
                 infection                                                                                                                          0.5 mg/kg/dose      MARV-Angola 4-days post infec- in collaboration
                 (MARV-Angola, or                                                                                                                   starting 4-6        tion and MARV-Ravn 6-days post with UTMB
                 MARV-Ravn)                                                                                                                         days post           infection)
                                                                                                                                                    infection

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Table 1 (continued)

 Therapeutic   Indication            Target                 LNP composition            Targeting moiety   Administration   Animal   Dose               Therapeutic outcome                Company/Academic        Reference
 modality                                                   (ionizable lipid)                             route            Model                                                          institution

               Hypercholesterolemia Apolipoprotein          DSPC:Chol:                 -                  i.v.             NHP      Single dose of     90% silencing of apolipoprotein B Protiva                  [6]
                                    (ApoB)                  PEG2000-C-DMA:                                                          2.5 mg/kg          (ApoB) mRNA                       Biotherapeutics in
                                                            DLinDMA (10:48:2:40                                                                                                          collaboration with
                                                            molar %)                                                                                                                     Alnylam
                                                                                                                                                                                         Pharmaceuticals
               Hypercholesterolemia Proprotein              Chol:                      -                  i.v.             Mice,    Single dose of 5   50–70% reduction in PCSK9         Alnylam                  [44]
                                    convertase              mPEG2000-DMG:98N12-5                                           Rats,    mg/kg              mRNA levels. Up to a 60%          Pharmaceuticals
                                    subtilisin/kexin type   (1)4HCl (48:10:42 molar                                        NHP                         reduction in plasma cholesterol
                                    9 (PCSK9)               %)                                                                                         concentrations
               Cancer               PCTAIRE1 kinase         DSPC:Chol:                 -                  i.v.             Mice     Four injections    Signiﬁcant decrease in tumor      Arcturus                 [165]
                                                            PEG2000-DMG:                                                            (2 per week) at    size and weight and a dramatic    Therapeutics
                                                            proprietary lipid                                                       a dose of 0.5      tumor apoptosis
                                                            (7:33.5:1.5:58 molar %)                                                 mg/kg/dose
               Leukemia              BCR-ABL oncogene       Proprietary LNP based on   -                  i.v.             Mice     3 doses of 5       Decrease in leukemia burden     Hannover Medical      [169]




                                                                                                                                                                                                                              E. Samaridou et al. / Advanced Drug Delivery Reviews 154–155 (2020) 37–63
                                                            SUB9KITS™ lipid                                                         mg/kg/dose         and 60% knockdown of the        School Precision
                                                                                                                                                       BCR-ABL oncogene                Nanosystems
                                                                                                                                                                                       University of British
                                                                                                                                                                                       Columbia
               Hepatic ﬁbrosis       Col1a1                 DOPE:Chol:                 VitA               i.v.             Mice     0.5 mg/kg          Reduction ~60% in COL1A1 levels Hokkaido University [93]
                                                            PEG2000-DMG:ssPalmX
                                                            (X = Vit A) (30:40:3:30
                                                            molar %)
               Hepatic ﬁbrosis       Egr2                   DSPC:Chol:C12-200:         -                  i.v.             Mice     0.5 mg/kg on       94% knockdown of Egr2,             Biogen, Inc. & David    [94]
                                                            PEG2000-DMG                                                             days 7 and 3       equivalent reduction in Col1a1     H. Koch Institute for
                                                            (10:38.5:1.5:50 molar%)                                                 prior to CCl4      mRNA levels, and a reduction by    Integrative Cancer
                                                                                                                                    treatment, and     half in collagen accumulation      Research
                                                                                                                                    at days 2, and 6
                                                                                                                                    after CCl4
                                                                                                                                    treatment
               Hepatic ﬁbrosis       HSP-46                 DSPC:Chol:                 pPB                i.v.             Mice     Dose of 0.023      2-fold increase in liver           East China Normal       [95]
                                                            pPB-PEG-DSPE:                                                           mg/kg every        biodistribution and HSP-46         University
                                                            PEG2000-DMG:DlinMC3                                                     other day for 2    silencing compared to
                                                            (10:48:1:1:40 molar %)                                                  weeks              non-targeted LNP.
                                                                                                                                                       ~40% KD of HSP-46 mRNA
               Hepatic ﬁbrosis       Two siRNAs against     C15-PA based LNP           VitA               i.v.             Mice     1 mg/kg per        Signiﬁcant anti-ﬁbrotic effects    China Pharmaceuti-      [96]
                                     Col1A1 and TIMP1                                                                               siRNA every        based on the staining of ﬁbrotic   cal University
                                                                                                                                    other day for a    hepatic areas by Sirius Red
                                                                                                                                    total of 4 weeks
               Machado-Joseph        Mutant ataxin          DSPC:Chol:C16-             RVG                i.v.             Mice     3 doses of 2.5     Accumulation in brain 3 hours    University of             [122]
               disease                                      PEG2000-Ceramide:                                                       mg/kg/dose         post injection, 32% silencing of Coimbra, Portugal
                                                            DODAP (22:45:8:25 molar                                                                    mutant ataxin mRNA and protein
                                                            %)                                                                                         aggregate levels in the
                                                                                                                                                       cerebellum




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mRNA   Respiratory syncytial   SAM encoding          DSPC:Chol:                 -   i.m.        Mice       1 μg/animal          Immune responses comparable          Novartis Vaccines     [144]
       virus                   Respiratory           PEG2000-DMG:DLinDMA                                                        to viral systems, without the        and Diagnostics
                               Syncytial Virus       (10:48:2:40 molar %)                                                       risks of the viral vectors
                               Fusion Glycoprotien
                               (RSV-F)
       H7N9 inﬂuenza virus     SAM encoding          DSPC:Chol:                 -   i.m.        Mice       Two                  production of protective titers at   Novartis Vaccines     [145]
                               inﬂuenza H1           PEG2000-DMG:DLinDMA                                   immunizations        2 weeks at a RNA dose 80-fold        and Diagnostics
                               hemagglutinin (HA)    (10:48:2:40 molar %)                                  (8 weeks             lower than when using
                               antigen from the                                                            interval) of 1       non-replicating mRNA vaccine
                               H1N1 virus                                                                  μg/animal
       Toxoplasma gondii       SAM encoding          DSPC:Chol:                 -   i.m.        Mice       Two                  5-fold higher NTPase-II-speciﬁc      Wenzhou Medical       [199]
       infection               NTPase-II antigen     PEG2000-DMG:DLinDMA                                   immunizations        IgG titers. Highest survival rate    University,
                                                     (10:48:2:40 molar %)                                  (3 weeks             and signiﬁcantly prolonged           Wenzhou, China
                                                                                                           interval) of 10      survival time than control group
                                                                                                           μg/animal




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       H10N8 and H7N9          SAM encoding          DSPC:Chol: PEG-lipid:      -   i.m./i.d.   Mice,      Mice: i.d. with      100% protection form virus,      Valera, A Moderna         [148]
       Inﬂuenza Virus          hemagglutinin (HA)    proprietary lipid                          Ferrets,   10, 2, or 4          increased survival rate and      Venture
                               proteins of H10N8     (10:38.5:1.5:50 molar %)                   NHP        μg/animal            Strong hemagglutination
                               or H7N9                                                                     Ferrets: i.d. with   inhibition (HAI) Titers compared
                                                                                                           50 or 100            to control
                                                                                                           μg/animal
                                                                                                           NHP: IM or i.d.
                                                                                                           with 200 or 400
                                                                                                           μg/animal
       Zika virus infection    ZIKV prM-E proteins   DSPC:Chol: PEG-lipid:      -   i.m.        Mice       One (prime) or       Neutralizing antibodies (nAb)        Valera, A Moderna     [149]
                                                     proprietary lipid                                     two                  protected several mouse strains      Venture
                                                     (10:38.5:1.5:50 molar %)                              (prime-boost)        (100% survival). 50%
                                                                                                           doses of 2 or 10     neutralization titer of
                                                                                                           μg/animal            ~1/10,000). Effect even 14 weeks
                                                                                                                                post dosing
       Zika virus infection    ZIKV prM-E proteins   DSPC:Chol: PEG-lipid:      -   i.d.        Mice,      Mice: 30             Higher nAb responses than viral      UPenn in              [200]
                                                     proprietary lipid                          NHP        μg/animal            or DNA vaccines                      collaboration with
                                                     (10:38.5:1.5:50 molar %)                              NHP: 50              Protection from virus for at least   Acuitas
                                                                                                           μg/animal            5 months in mice and 5 weeks in      Therapeutics and
                                                                                                                                NHP post vaccination                 BioNTech
       Inﬂuenza virus          Full-length HA of     DSPC:Chol: PEG-lipid:      -   i.m./i.d.   NHP        50 μg/animal i.      Robust germinal centers and B        Moderna               [151]
                               H10N8                 proprietary lipid:GLA                                 m./i.d.              cell responses, including plasma     Therapeutics
                                                     (9.83:38.5:1.5:50:0.17                                (additional          cells seeding into the bone
                                                     molar%)                                               boost at week        marrow
                                                                                                           15) or 5 μg
                                                                                                           mRNA-LNP
                                                                                                           co-formulated
                                                                                                           with GLA per
                                                                                                           animal only i.m.
       Inﬂuenza virus          H10 hemagglutinin     DSPC:Chol: PEG-lipid:      -   i.m./i.d.   NHP        50 μg/animal i.      Antibody titers > protective level Moderna                 [150]
                               (HA)                  proprietary lipid                                     m./i.d.              for seasonal inﬂuenza              Therapeutics
                                                     (10:38.5:1.5:50 molar%)                               (additional          transmission during the study
                                                                                                           boost at week        period of 25 weeks. High protein
                                                                                                           15)                  expression in monocytes and
                                                                                                                                MDCs

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Table 1 (continued)

 Therapeutic   Indication             Target                  LNP composition             Targeting moiety   Administration   Animal     Dose                Therapeutic outcome                   Company/Academic     Reference
 modality                                                     (ionizable lipid)                              route            Model                                                                institution

               Inﬂuenza virus         Full-length HA          DSPC:Chol: PEG-lipid:       -                  i.m./i.d.        Mice,      Mice: two i.d.      High levels of nAbs in all species.   UPenn in             [201]
                                                              proprietary lipid                                               Rabbits,   doses (3, 10, or    Mice: Single immunization ➔           collaboration with
                                                              (10:38.5:1.5:50 molar %)                                        Ferrets    30 μg) or i.m.      Protection against H1N1 viral         Acuitas
                                                                                                                                         (10, 30, or         challenge at 5 weeks post             Therapeutics and
                                                                                                                                         90 μg) or single    immunization and two                  BioNTech
                                                                                                                                         i.m. dose of 30     immunizations➔ against H5N1
                                                                                                                                         Rabbits: two i.d.   virus challenge at 4 weeks post
                                                                                                                                         at 50 μg/animal     immunization
                                                                                                                                         Ferrets: two i.d.
                                                                                                                                         at 60 μg/animal
               Human                  Light and heavy         DSPC:Chol: PEG-lipid:       -                  i.v.             Mice       1.4 mg/kg           ~170 μg/mL VRC01 antibody             UPenn in             [146]
               immunodeﬁciency        chains of the broadly   proprietary lipid                                                                              concentrations in the plasma          collaboration with
               virus type 1 (HIV 1)   neutralizing            (10:38.5:1.5:50 molar %)                                                                       24 h post injection, exceeding        Acuitas
                                      anti-HIV-1 antibody                                                                                                    the IC50 of VRC01 Ab against a        Therapeutics




                                                                                                                                                                                                                                    E. Samaridou et al. / Advanced Drug Delivery Reviews 154–155 (2020) 37–63
                                      VRC01                                                                                                                  variety of HIV-1 isolates
               Chikungunya            Human antibody          DSPC:Chol: PEG-lipid:       -                  i.v.             Mice,      Mice: 2-10          High level of mAbs expression in      Moderna              [152]
               infection              CHKV-24                 proprietary lipid                                               NHP        mg/kg               both mice and NHP 100%                Therapeutics
                                                              (10:38.5:1.5:50 molar %)                                                   NHP: 0.5 mg/kg      protection against virus and
                                                                                                                                                             arthritis and elimination of
                                                                                                                                                             viremia in mice
               Cancer                 Ovalbumin (OVA) or      DOPE:Chol: PEG-lipid:       -                  s.c.             Mice       10 μg/animal        Uptake in different immune cell       David H. Koch        [157]
                                      tumor associated        cKK-E12:SLS                                                                                    populations (dendritic cells,         Institute for
                                      antigens TRP2 and       (26:40.5:2.5:15:16 molar                                                                       macrophages, neutrophils, and B       Integrative Cancer
                                      gp100                   %)                                                                                             cells). Tumor shrinkage and           Research
                                                                                                                                                             prolonged survival beneﬁt
               Cancer                 Caspase or PUMA         DSPC:Chol:                  -                  i.v.             Mice,      Mice: 2 mg/kg       Increased tumor targeting and         Moderna              [161]
                                                              PEG2000-DMG:                                                    NHP        NHP:                apoptosis, while decreasing liver     Therapeutics
                                                              DLin-MC3-DMA                                                               0.05mg/kg           toxicity
                                                              (10:38.5:1.5:50 molar %)
               Cancer                 Anti-HER2 Antibody      cKK-E12 based LNP           -                  i.v.             Mice       2 mg/kg             Production of antibody levels in      David H. Koch        [162]
                                                                                                                                                             the blood equivalent to the ones      Institute for
                                                                                                                                                             obtained with 4 times higher          Integrative Cancer
                                                                                                                                                             dose of the actual protein.           Research and
                                                                                                                                                             Improved pharmacokinetics and         Translate Bio
                                                                                                                                                             longer duration of effect. 4
                                                                                                                                                             weekly doses LNP ➔ signiﬁcant
                                                                                                                                                             suppression of tumor growth
                                                                                                                                                             and increased survival
               Cancer                 Ovalbumin (OVA)         DOPE:Chol: PEG-lipid:       -                  i.m.             Mice       2 injections of     Enhanced cellular immune              Ewha Womans          [159]
                                                              proprietary lipid: Pam3                                                    20 μg/animal        responses and a staggering delay      University, Seoul
                                                                                                                                         (1-week             of tumor growth, compared to
                                                                                                                                         interval)           LNP alone
               Hemophilia B           Human Factor IX         DSPC:Chol: PEG-lipid: ATX   -                  i.v.             Mice       Single dose of 2    LNP were well-tolerated. 2-fold       Arcturus             [47]
                                                              (7:40:3:50 molar %)                                                        mg/kg or three      increase in protein expression        Therapeutics
                                                                                                                                         repeat doses at     compared to MC3-based LNP.
                                                                                                                                         4 mg/kg             Higher and longer therapeutic
                                                                                                                                         (10-day             levels compared to the current
                                                                                                                                         intervals)          standard of care. Repeated
                                                                                                                                                             administrations led to consistent
                                                                                                                                                             protein expression.




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                 Methylmalonic              Human                   DSPC:Chol: PEG-lipid:           -                              i.v.               Mice       Single dose at      75%–85% reduction in plasma           Moderna                  [13,135]
                 Acidemia                   methylmalonyl-CoA       proprietary lipid                                                                            0.5 mg/kg or 5      methylmalonic acid, increased         Therapeutics
                                            mutase (hMUT)           (10:38.5:1.5:50 molar %)                                                                     weekly doses of     hMUT protein expression and
                                                                                                                                                                 0.2 mg/kg           activity in liver. Repeat dosing
                                                                                                                                                                                     reduced circulating metabolites
                                                                                                                                                                                     and dramatically improved
                                                                                                                                                                                     survival and weight gain.
                 Acute intermittent         Porphobilinogen         DSPC:Chol: PEG-lipid:     -                                    i.v.               Mice,      Mice: 0.5, 0.2,     Dose dependent protein                Moderna                  [48]
                 porphyria                  deaminase (PBGD)        heptadecan-9-yl                                                                   Rabbits,   0.1, 0.05 mg/kg     expression in liver. Protection       Therapeutics
                                                                    8-((2-hydroxyethyl)                                                               NHP        Rabbit: 0.5         against mitochondrial
                                                                    (8-(nonyloxy)-8-oxooctyl)                                                                    mg/kg               dysfunction, hypertension, pain
                                                                    amino)octanoate                                                                              NHPs: 0.5           and motor impairment
                                                                    (10:38.5:1.5:50 molar %)                                                                     mg/kg
                 Fabry disease              Human                   DOPE:Chol:                -                                    i.v.               Mice,      Mice: 1.0 mg/kg   ~1,330-fold increase in serum           Translate Bio            [136]
                                            a-galactosidase         PEG2000-DMG:C12-200                                                               NHP        NHPs: 0.1         GLA protein levels over normal
                                            protein                                                                                                              mg/kg             physiological values
                 Ornithine                  OTC protein             Chol:PEG2000-                   -                              i.v.               Mice       3 mg/kg mRNA      4-fold higher OTC expression            PhaseRx                  [49]
                 transcarbamylase                                   DMPE-DOTAP:CHEMS                                                                             + 25 mg/kg        than control group (maintained




                                                                                                                                                                                                                                                                    E. Samaridou et al. / Advanced Drug Delivery Reviews 154–155 (2020) 37–63
                 (OTC) deﬁciency                                    (20:2.0:50:28 molar %) +                                                                     polymer           up to 10 days post dosing)
                                                                    GalNAc-targeted polymer                                                                                        Repeat dosing for 12 weeks led
                                                                                                                                                                                   to steadily high levels of protein
                                                                                                                                                                                   expression
                 Arginase deﬁciency         Arginase 1              Proprietary LNP                 -                              i.v.               Mice       Repeat dosing     100% survival, no signs of              Moderna                  [51]
                                                                                                                                                                 of 2 mg/kg up to hyperammonemia or weight loss            Therapeutics
                                                                                                                                                                 11 wk (3 days     to beyond 11 wk, compared with
                                                                                                                                                                 intervals)        control groups that succumbed
                                                                                                                                                                                   to the disease on day 22.
                                                                                                                                                                                   Restoration of urea cycle activity.
                                                                                                                                                                                   No hepatotoxicity
                 Classic Galactosemia       Human galactose-1       DSPC:Chol: PEG-lipid:           -                              i.v/i.p.           Mice       i.v.: 0.5 mg/kg   Single dose ➔ 84 % protein              Moderna                  [50]
                                            phosphate Uridylyl      proprietary lipid                                                                            Single or repeat expression and activity                  Therapeutics
                                            transferase (GALT)      (10:38.5:1.5:50 molar %)                                                                     doses (biweekly compared to wild type.
                                                                                                                                                                 for 8 weeks)      Repeated dosing ➔ >60%
                                                                                                                                                                 i.p (neonatal): 1 reduction in plasma and liver
                                                                                                                                                                 mg/kg             galactose (maintained through 4
                                                                                                                                                                                   doses)
                                                                                                                                                                                   Increased survival rate after i.p.
                                                                                                                                                                                   dosing in neonatal pups
                 Cystic Fibrosis            CFTR                    DSPC:Chol:                      -                              inhalation         Mice       Two daily doses Restoration 1/3 of normal                 Oregon State             [126]
                                                                    PEG2000-DMG:                                                                                 at a dose of 0.1  chloride response in the airway         University, Portland
                                                                    DLin-MC3-DMA                                                                                 mg/kg             epithelium, that lasted up to 2
                                                                    (10:38.5:1.5:50 molar %)                                                                                       weeks post-dosing
                 Friedreich’s ataxia        Frataxin (FXN)          DSPC:Chol:                      -                              i.th.              Mice       0.2 mg/kg         3-fold higher FXN expression in         Pﬁzer                    [120]
                                            protein                 PEG2000-DMG:                                                                                                   the dorsal root ganglia compared
                                                                    DLin-MC3-DMA                                                                                                   to the control group
                                                                    (10:32.5:2.5:55 molar %)
                 Acute brain                thrombomodulin          LNP based on proprietary        anti–VCAM-1 monoclonal         i.v.               Mice       8 μg/animal         70-fold higher brain uptake           Acuitas                  [123]
                 inﬂammation                (TM) mRNA               ionizable cationic lipid        antibody                                                                         (30 min post dosing) compared         Therapeutics
                                                                    A-L01                                                                                                            to IgG control LNP. ~ 84%
                                                                                                                                                                                     alleviation of the brain vascular
                                                                                                                                                                                     leakage

Abbreviations: DSPC: 1,2-distearoyl-sn-glycero-3-phosphocholine, DOPE: 1,2-dioleoyl-sn-glycero-3-phosphoethanolamine, Chol: cholesterol, PEG2000-DMA: 3-N-[(q-methoxy poly(ethylene glycol)2000)carbamoyl]-1,2-dimyrestyloxy-
propylamine, PEG2000-DMG: 1,2-Dimyristoyl-sn-glycerol, methoxypolyethylene glycol, PEG2000-DSPE: 1,2-distearoyl-sn-glycero-3-phosphoethanolamine-N-[amino(polyethylene glycol)-2000], DLinDMA: 1,2-dilinoleyloxy-3-N,N-
dimethylaminopropane, DLin-MC3-DMA: (6 Z, 9 Z, 28 Z, 31 Z)-heptatriaconta-6,9,28,31-tetraen-19-yl 4-(dimethylamino) butanoate,C15-PA: 15-carbon-chain derivative of polyamidoamine, NHP: non human primates, VitA: Vitamin A, i.v.:
intravenous injection, i.m.: intramuscular injection, i.d.: intradermal injection, I.th: intrathecal injection, s.c.: subcutaneous injection, i.p.: intraperitoneal injection, HBsAg: surface antigen of the hepatitis B virus, Col1a1: Collagen, type I, alpha 1
gene, HSP-46: heat shock protein (HSP) 46,TIMP1: tissue inhibitor of metalloproteinases 1, Egr2: early growth response 2, RVG: rabies virus glycoprotein , VCAM-1: vascular cell adhesion molecule-1, SAM: self-amplifying mRNA vaccine, IC50:
half maximal inhibitory concentration , GLA: glucopyranosyl lipid adjuvant, HA: Hemagglutination, MDCs: myeloid dendritic cells, CFTR: cystic ﬁbrosis transmembrane conductance regulator, SLS: Sodium Lauryl Sulfate, gp100: glycoprotein 100,
TRP2: tyrosinase-related proteins 2, HER2: humanized epidermal growth factor receptor 2, Pam3: tri-palmitoyl-S-glyceryl cysteine, ATX: Arcturus proprietary ionizable amino lipid, UTMB: University of Texas Medical Branch at Galveston,
UPenn: University of Pennsylvania, Philadelphia.




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skin, compared to the muscle [148,151,154]. Moderna scientists com-                  monophosphoryl lipid A (MPLA), inside DOTAP-based lipoplexes
pared i.m. and i.d. routes for LNP dosing in mice at different dose levels           could induce innate immune activation without losing potency [158].
and saw no signiﬁcant differences in immunogenicity [148]. Similar                   This approach has also been applied with LNP [157,159]. Oberli et al. in-
protective titers were reported in NHPs even when different APC sub-                 corporated the TLR4 agonist lipopolysaccharide (LPS) in LNP, by
sets were targeted [150,151]. Still in NHPs, i.d. delivery showed more               substituting 1% of the molar ratio of the PEG lipid. They showed slower
rapid response [151]. Intravenous (i.v.) administration is less preferable,          tumor growth and longer survival in B16F10 tumor mouse model after
since it is associated with liver accumulation and is much less conve-               six s.c. doses of 10 μg of mRNA per mouse, with 3-day intervals [157].
nient. The systemic route is only selected when the goal is the slightly             More recently, a TLR1 and TLR2 agonist, the lipopeptide tri-palmitoyl-
different approach of expressing an antibody in the liver [146,152]. In              S-glyceryl cysteine (Pam3C) SK4, was introduced in OVA mRNA loaded
2016, the University of Pennsylvania (UPenn, USA) in collaboration                   LNP. It led to enhanced cellular immune responses and a signiﬁcant
with Acuitas therapeutics (British Columbia, Canada), used this tactic               delay of tumor growth, compared to LNP alone, after two intramuscular
to generate signiﬁcant levels of an antibody against HIV-1, VRC01.                   injections of 20 μg mRNA per mouse with1 week interval [159].
They reported efﬁcient immunity in mice against intravenous HIV-1                        Besides their contribution in mRNA cancer vaccines, LNP have
challenge, after the mRNA-LNP was dosed at 30 μg of mRNA per animal                  allowed the non-toxic treatment and delivery of mRNAs encoding for
(approx. 1 mg kg-1) [146]. Moderna scientists followed the same ap-                  cyto- or immuno-toxic proteins to the tumor site, while reducing off-
proach, using systemically dosed mRNA-LNP in order to achieve hepatic                target toxicity and side-effects. Cytokines can be used to activate im-
expression of a neutralizing human monoclonal antibody (CHKV-24)                     mune cells to kill the tumor, but at the same time they can be extremely
against the chikungunya virus (CHIKV), leading to high mAb expression                toxic when administered to the entire body. To tackle this issue, sys-
levels in both mice and NHP, and showed complete protection against                  temic administration of mRNA-LNP encoding Interleukin-12 (IL-12), a
lethal disease and arthritis, and elimination of viremia in mice [152].              cytokine with known anti-cancer efﬁcacy, resulted in the reduction of
    Apart from infectious diseases, the other most discussed research                the liver tumor growth (after 3 weekly i.v. doses of 0.025 mg kg-1
area for mRNA vaccines, with multiple clinical studies ongoing, is can-              mRNA) and the increase of the survival rate (after 9 weekly i.v. doses
cer. Owing to genetic and epigenetic changes, tumor cells upregulate                 of 0.025 mg kg-1 mRNA) in a mouse model of refractory MYC-driven he-
expression of various proteins that are speciﬁc to this type of cells and            patocellular carcinoma (HCC). It seemingly avoided toxicity in healthy
can be used as tumor antigens. Taking advantage of this distinct behav-              tissues for the ﬁrst time [160]. Moderna scientists tried a different ap-
ior, mRNA cancer vaccines are designed to encode cancer-speciﬁc anti-                proach, developing an mRNA coding for a toxic protein (i.e., p53 upreg-
gens in order to elicit a speciﬁc immune response by host T cells                    ulated modulator of apoptosis (PUMA)) with a strong pro-apoptotic
towards the tumor cells. Before mRNA vaccines, cancer treatment was                  role through mitochondrial dysfunction. To ensure that the protein
dictated by the use of antibodies, cellular, viral or DNA vaccines and               would only be expressed in tumor cells in order to cause their self-
small anti-cancer molecules with limited success and long term side-                 destruction and not in healthy cells, they incorporated a microRNA
effects [155]. More recently, several biotech companies have developed               (miRNA) strategy that enabled the recognition and degradation of the
personalized mRNA cancer vaccines by sequencing the patients’ tumor                  toxic mRNA in healthy cells [161]. The authors took advantage of the
genome and using proprietary algorithms that can detect the relevant                 cell/disease-speciﬁcity of the endogenous miRNA expression and
cancer mutations and protein markers. These can then be encoded by                   inserted perfectly complementary miRNA binding sites to the modiﬁed
an mRNA payload that is delivered by LNP. The successful application                 mRNA, in order to target miRNAs, like miR122, which is present only in
of this approach in humans was recently described by BioNTech, a lead-               healthy hepatocytes. The miRNA-mRNA combined sequences were
ing company in the ﬁeld of cancer immunotherapies from Germany                       loaded in LNP and administered intratumorally in mice. The insertion
[156]. Although most of these approaches rely either on the direct                   of the miRNAs sequences did not affect the mRNA efﬁcacy, or the endog-
local injection of naked mRNAs or the employment of ex vivo loaded                   enous levels of the miRNAs. Endogenous miRNAs recognized the com-
DC precursor cells, several nanocarriers have been employed to opti-                 plementary sequences and suppressed the toxic mRNA translation in
mize mRNA delivery and protection and already reached the clinic                     healthy hepatocytes, but not when taken up by tumor cells. This strat-
[NCT03323398, NCT03313778] [139]. Attempting to identify the opti-                   egy can signiﬁcantly increase the speciﬁcity of tumor targeted delivery
mal LNP composition for a high T cell response, Oberli et al. designed a             and apoptosis, while decreasing liver toxicity. It can be also combined
library of ionizable lipids and developed LNP loaded with mRNA                       with multiple miRNA binding sites, broadening the number of tissues/
encoding for ovalbumin (OVA), by varying the components                              cell-types that can be protected from the delivery of mRNA inducing
(i.e., phospholipid, cholesterol and PEG-lipid type) and the molar ratios            cell self-destruction.
used [157]. Interestingly, sodium lauryl sulfate (SLS) was used as addi-                 Following a different strategy, a recent study showed for the ﬁrst
tive, since it provided optimized particle characteristics. After the sub-           time the potential of mRNA loaded LNP to express full-size antibodies
cutaneous injection of 10 μg mRNA per mouse, the authors selected                    with anti-cancer activity in the liver, like the humanized epidermal
the cKK-E12 lipid from this screen, and they saw that decreasing its                 growth factor receptor 2 (anti-HER2) antibody (known as
molar ratio from 35% to 10% led to a moderate increase of the mediated               trastuzumab). This surpasses the challenges associated with therapeutic
T cell response. The ﬁnal LNP composed of DOPE:Chol:PEG2000-C14:                     monoclonal antibody delivery [162]. Systemic injection of the mRNA-
cKK-E12:SLS at 26:40.5:2.5:15:16 molar percent and was formulated                    LNP at a dose of 2 mg kg-1 in mice resulted in the production of antibody
at a lipidoid to drug ratio of 10:1. The formulation was efﬁciently                  levels in the blood equivalent to the ones obtained with 4 times higher
taken up by different immune cells in vivo, as proven by using mRNA                  dose of the protein, accompanied with improved pharmacokinetics and
coding for Cre-recombinase in Ai14D reporter mice. The therapeutic ef-               longer duration of effect. Furthermore, 4 weekly doses LNP at 2 mg kg-1
ﬁcacy of this formulation was then proven in two mouse tumor models                  of mRNA resulted in signiﬁcant suppression of tumor growth and in-
(i.e., transgenic OVA-expressing and aggressive B16F10 tumor model)                  creased survival of xenograft-bearing mice.
using mRNA encoding different antigens depending on the model,
resulting in tumor shrinkage and prolonged survival beneﬁt.                          5.2. siRNA therapeutics – cancer
    As brieﬂy touched on above, there are several ways to enhance the
potency of the LNP, such as decorating the surface of the LNP with moi-                 siRNA therapeutics have also been successfully applied in the battle
eties that target surface-expressed receptors in immune cells, or co-                against cancer by targeting cancer-causing gene mutations and the
administering the LNP with adjuvants, capable of enhancing the im-                   pathogenic mechanisms involved [163]. The potential of this approach
mune stimulation [138,158,159]. As an example, Verbeke et al. showed                 has been proven by a number of siRNA-LNP-based treatments in com-
that co-delivering mRNA with a clinically approved TLR4 agonist, the                 pleted clinical trials (Table 2). Alnylam and Tekmira jointly



                                                                                                                                        JA00969
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Table 2
Clinical trials employing lipid nanoparticle technology for nucleotide delivery

  Therapeutic    Name                 Indication                                  Target                          Administration route    Sponsor                      Phase Start Year   Status        NCT ID
  modality

  siRNA          ALN-VSP02            Solid tumors                                KSP/VEGF-A mRNA                 Intravenous             Alnylam Pharmaceuticals      I       2009       Completed     NCT00882180
                 PRO-040201           Hypercholesterolemia                        ApoB                            Intravenous             Arbutus Biopharma (as        I       2009       Terminated    NCT00927459
                                                                                                                                          Tekmira Pharmaceuticals)
                 ALN-TTR01            Transthyretin (TTR) Amyloidosis             Transthyretin (TTR)             Intravenous             Alnylam Pharmaceuticals      I       2010       Completed     NCT01148953
                 TKM-080301           Neuroendocrine Tumors (NET) and             PLK1                            Intravenous             Arbutus Biopharma (as        I/II    2010       Completed     NCT01262235
                                      Adrenocortical Carcinoma (ACC)                                                                      Tekmira Pharmaceuticals)
                 ALN-PCS02            Hypercholesterolemia                        PCSK9                           Intravenous             Alnylam Pharmaceuticals      I       2011       Completed     NCT01437059
                 ALN-TTR02            Transthyretin (TTR) Amyloidosis             Transthyretin (TTR)             Intravenous             Alnylam Pharmaceuticals      I       2012       Completed     NCT01559077
                 TKM-100201           Ebola-virus infection                       VP24, VP35, L-polymerase        Intravenous             Arbutus Biopharma (as        I       2012       Terminated    NCT01518881
                                                                                                                                          Tekmira Pharmaceuticals)




                                                                                                                                                                                                                                   E. Samaridou et al. / Advanced Drug Delivery Reviews 154–155 (2020) 37–63
                 ALN-TTR02            Transthyretin (TTR) Amyloidosis             Transthyretin (TTR)             Intravenous             Alnylam Pharmaceuticals      II      2012       Completed     NCT01617967
                 Patisiran            TTR amyloidosis                             TTR                             Intravenous             Alnylam Pharmaceuticals      III     2013       Completed     NCT01960348
                 (ALN-TTR02)
                 TKM-080301           Advanced Hepatocellular Carcinoma           PLK1                            Intravenous             Arbutus Biopharma (as        I/II    2014       Completed     NCT02191878
                 (TKM-PLK1)                                                                                                               Tekmira Pharmaceuticals)
                 TKM-100802           Ebola-virus infection                       VP24, VP35, L-polymerase        Intravenous             Arbutus Biopharma (as        I       2014       Terminated    NCT02041715
                                                                                                                                          Tekmira Pharmaceuticals)
                 ALN-TTR02            Transthyretin (TTR) Amyloidosis             Transthyretin (TTR)             Intravenous             Alnylam Pharmaceuticals      III     2015       Active, not   NCT02510261
                                                                                                                                                                                          recruiting
                 ARB-1467             Chronic Hepatitis B infection               HBV transcripts                 Intravenous             Arbutus Biopharma            II      2015       Completed     NCT02631096
                 TKM-130803           Ebola-virus infection                       VP35, L-polymerase              Intravenous             Arbutus Biopharma (as        II      2015       Completed     PACTR201501000997429
                                                                                                                                          Tekmira Pharmaceuticals)
                 DCR-PH1              Primary Hyperoxaluria Type 1 (PH1)          -                               Intravenous             Dicerna pharmaceuticals      I       2016       Terminated    NCT02795325
                 DCR-MYC              Hepatocellular Carcinoma                    -                               Intravenous             Dicerna pharmaceuticals      I/II    2016       Terminated    NCT02314052
                 ARB-1740             Chronic Hepatitis B infection               HBV transcripts                 Intravenous             Arbutus Biopharma            Ia/Ib   2017       Terminated    ACTRN12617000557336
                 ND-L02-s0201         Idiopathic pulmonary ﬁbrosis                HSP47                           Intravenous             Bristol-Myers Squibb         II      2018       Active,       NCT03538301
                                                                                                                                                                                          recruiting
                 ALN-TTR02            Transthyretin (TTR) Amyloidosis             Transthyretin (TTR)             Intravenous             Alnylam Pharmaceuticals      III     2019       Active, not   NCT03862807
                                                                                                                                                                                          recruiting
                 ALN-TTR02            Transthyretin (TTR) Amyloidosis             Transthyretin (TTR)             Intravenous             Alnylam Pharmaceuticals      III     2019       Active,       NCT03997383
                                                                                                                                                                                          recruiting
  mRNA           VAL-506440           Inﬂuenza                                    H10N8 Antigen                   Intramuscular           Moderna Therapeutics         I       2015       Completed     NCT03076385
                 mRNA-1325            Zika virus                                  Zika virus antigenic proteins   Intramuscular           Moderna Therapeutics         I/      2016       Completed     NCT03014089
                                                                                                                                                                       II
                 VAL-339851           Inﬂuenza                                    H7 antigen                      Intramuscular           Moderna Therapeutics         I       2016       Active, not   NCT03345043
                                                                                                                                                                                          recruiting
                 mRNA-2416            Advanced/metastatic solid tumors or         OX40L                           Intratumoral            Moderna Therapeutics         I       2017       Recruiting    NCT03323398
                                      lymphoma
                 mRNA-1647 and        Cytomegalovirus Infection                   CMV proteins                    Intramuscular           Moderna Therapeutics         I       2017       Active, not   NCT03382405
                 mRNA-1443                                                                                                                                                                recruiting
                 VAL-181388           Chikungunya virus                           Viral antigens                  Intratumoral            Moderna Therapeutics         I       2017       Completed     NCT03325075
                 mRNA-1653            Human Metapneumovirus and Human             Viral antigens                  Intramuscular           Moderna Therapeutics         I       2017       Completed     NCT03392389
                                      Parainﬂuenza Infection
                 mRNA-4157            Solid Tumors                                personalized neoantigens        Intramuscular           Moderna Therapeutics/Merck   I       2017      Active,        NCT03313778
                                                                                                                                                                                         recruiting
                 MRT5005              Cystic Fibrosis                             CFTR                            Inhalation/nebulization Translate Bio                I/II    2017/2018 Active,        NCT03375047
                                                                                                                                                                                         recruiting

                                                                                                                                                                                                        (continued on next page)




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56                                                                                                                                              E. Samaridou et al. / Advanced Drug Delivery Reviews 154–155 (2020) 37–63


                                                                                                                                                                                       demonstrated the safety of siRNA loaded LNP targeting the vascular en-
                                                                                                                                                                                       dothelial growth factor (VEGF), a regulator of tumor angiogenesis, and
                                                                                                                                                                                       kinesin spindle protein (KSP), a metastasis mediator, in a Phase I
                                                                                                                                                                                       study involving 40 patients that received doses as high as 1.5 mg kg-1.
                                              NCT03767270

                                                                     NCT03829384

                                                                                            NCT03810690
                                                                                            NCT04159103

                                                                                                                         NCT04283461
                                                                                                                                                                                       Tekmira also tested LNP loaded with siRNA against PLK1 (Polo Like Ki-
                                                                                                                                                                                       nase 1), a promoter of tumor cell proliferation, and showed good toler-
                       NCT ID




                                                                                                                                                                                       ance and antitumor activity in 44% of the enrolled patients with
                                                                                                                                                                                       advanced solid tumors at doses up to 0.75 mg kg-1 [NCT01262235,
                                                                                                                                                                                       NCT02191878] [164]. In a different study, the authors chose to target
                                              2018/2019 Withdrawn



                                                                     recruiting




                                                                                                                         recruiting
                                                                                                                                                                                       PCTAIRE1, a kinase that is overexpressed in several human cancers
                                                                     Active,




                                                                                                                         Active,
                                                                     Active
                                                                     Active
                       Status




                                                                                                                                                                                       and its downregulation has been associated with apoptotic pathways
                                                                                                                                                                                       [165]. Four i.v. injections (2 per week) of LNP loaded with siRNA against
                                                                                                                                                                                       PCTAIRE1 at a dose of 0.5 mg kg-1 in tumor bearing mice led to a signif-
                       Phase Start Year




                                                                                                                                                                                       icant decrease in tumor size and weight and induced dramatic tumor
                                                                     2019

                                                                                            2019
                                                                                            2020

                                                                                                                         2020




                                                                                                                                                                                       apoptosis. Other approaches have included targeting ligands
                                                                                                                                                                                       (e.g., transferrin, hyaluronic acid) and cell permeating peptides, like
                                                                                                                                                                                       oleoyl-octaarginine (OA-R8) and protamine, to increase LNP potency
                                              I/II




                                                                                            I/II
                                                                                            I/II
                                                                     I




                                                                                                                         I




                                                                                                                                                                                       [166–168]. Harashima’s group used Random non-standard Peptides In-
                                                                                                                                                                                       tegrated Discovery (RaPID) system to identify a non-standard macrocy-
                                                                                                                                                                                       clic peptide with great afﬁnity for the epithelial cell adhesion molecule
                                                                     Moderna Therapeutics

                                                                                            Moderna Therapeutics
                                                                                            Moderna Therapeutics

                                                                                                                         Moderna Therapeutics




                                                                                                                                                                                       (EpCAM), a transmembrane glycoprotein that is overexpressed in dif-
                                                                                                                                                                                       ferent types of cancer, and showed a 100-fold increase in cellular uptake
                                                                                                                                                                                       and an improved silencing efﬁcacy by functionalizing PLK1 siRNA LNP
                                              Translate Bio




                                                                                                                                                                                       surface with it (i.v. dose of 0.5 mg kg-1 siRNA) [167]. Cullis and col-
                       Sponsor




                                                                                                                                                                                       leagues recently reported that passively targeted LNP could be
                                                                                                                                                                                       redirected to target human chronic myeloid leukemia (CML) cells
                                                                                                                                                                                       in vivo [169]. The authors developed LNP comprised of a proprietary
                                                                                                                                                                                       mix of lipids, including the SUB9KITS™ ionizable lipid, which is devel-
                       Administration route




                                                                                                                                                                                       oped and supplied by Precision Nanosystems and loaded them with a
                                                                                                                                                                                       leukemia-speciﬁc siRNA targeting a fusion oncogene. After administer-
                                                                     Intramuscular




                                                                                                                         Intramuscular
                                              Intravenous




                                                                                            Intravenous
                                                                                            Intravenous




                                                                                                                                                                                       ing 3 doses of 5 mg kg-1 i.v. in mouse xenograft model, they authors
                                                                                                                                                                                       reported a decrease in leukemia burden and 60% knockdown of the
                                                                                                                                                                                       BCR-ABL oncogene.

                                                                                                                                                                                       5.3. siRNA therapeutics – viral infections
                                                                                                           propionyl-CoA carboxylase (PCC)
                                                                                                           full-length, prefusion stabilized




                                                                                                                                                                                           Harnessing siRNA therapeutics to battle viral infections, like hepati-
                                                                                                           alpha and beta subunits of
                                                                                                           Anti-Chikungunya Virus




                                                                                                                                                                                       tis B (HBV) and hemorrhagic fever viruses, has also been a promising
                                                                                                           Monoclonal Antibody




                                                                                                                                                                                       therapeutic application of LNP. Treating these viruses is a global priority
                                                                                                           spike (S) protein




                                                                                                                                                                                       owing to their high lethality and/or transmissibility. HBV is a DNA virus
                                                                                                                                                                                       of the hepadnavirus family and it can transmitted via infected blood,
                                                                     isolated methylmalonic acidemia (MMA) human MUT




                                                                                                                                                                                       open sores, or body ﬂuids [170]. It primarily attacks the liver and repli-
                       Target




                                                                                                                                                                                       cates in hepatocytes, causing chronic or acute disease [171]. According
                                              OTC




                                                                                                                                                                                       to World Health Organization (WHO), around 6% of the global popula-
                                                                                                                                                                                       tion is living with chronic HBV and are at risk of serious liver infection,
                                                                                                                                                                                       and, eventually, death caused by cirrhosis and hepatocellular carci-
                                              Ornithine Transcarbamylase (OTC)




                                                                                                                                                                                       noma, the main outcomes of this disease [172]. siRNA can be used to tar-
                                                                     COVID-19 (Coronavirus) Infection




                                                                                                                                                                                       get HBV DNA transcripts and interfere with HBV RNA production.
                                                                                                                                                                                       However, this approach has to address multiple parameters involved
                                                                                                                                                                                       in viral persistence and will likely require targeting more than one pro-
                                                                                                                                                                                       tein of the virus. The ﬁrst demonstration that LNP-mediated siRNA de-
                                                                     Propionic Acidemia
                                              Chikungunya virus




                                                                                                                                                                                       livery could be effective against HBV was published in 2005 by Protiva
                                                                                                                                                                                       Biotherapeutics scientists in collaboration with Sirna therapeutics [27].
                                              Deﬁciency
                       Indication




                                                                                                                                                                                       The authors encapsulated two HBV targeted siRNA molecules
                                                                                                                                                                                       (i.e., HBV263 and HBV1583 siRNA) in DLinDMA-based LNP and re-
                                                                                                                                                                                       ported a more than 1.0 log10 reduction in serum hepatitis B virus
                                                                                                                                                                                       (HBV) DNA after three daily i.v. injections of 3 mg kg-1 in a murine hy-
                                                                                                                                                                                       drodynamic injection (MHI) model of transient HBV replication, with
                                                                     mRNA-1944

                                                                                            mRNA-3704
                                                                                            mRNA-3927

                                                                                                                         mRNA-1273




                                                                                                                                                                                       no immune stimulation detected [27]. The therapeutic effect lasted up
                                              MRT5201




                                                                                                                                                                                       to 7 days after dosing and could be extended to 6 weeks post-dose fol-
                       Name




                                                                                                                                                                                       lowing weekly dosing showing the viability of the approach [173]. A few
 Table 2 (continued)




                                                                                                                                                                                       years later, Protiva Biotherapeutics and Tekmira Pharmaceuticals
                       Therapeutic




                                                                                                                                                                                       merged, subsequently merging again to form Arbutus Biopharma, a
                       modality




                                                                                                                                                                                       HBV solutions company [174,175]. In 2015, Arbutus proceeded to clini-
                                                                                                                                                                                       cal trials with ARB-1467, a LNP loaded with three siRNAs targeting all
                                                                                                                                                                                       four HBV transcripts. In 2017, they reported up to 2.7 log reduction of



                                                                                                                                                                                                                                           JA00971
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hepatitis B surface antigens (HBsAg) in chronic HBV patients with                    resulted in complete protection of the infected NHPs from death and
favorable safety proﬁle [176]. Arbutus scientists also developed a second            base levels of viremia. Tekmira continued to optimize this formulation,
generation product with the same LNP composition but a different                     improving the lipid composition with a more potent ionizable lipid
siRNA payload (ARB-1740) [177]. The siRNAs were designed based on                    and removing the VP24-targeting siRNA [180].
6000 publicly available HBV genome sequences, queried against                            The group later adapted this LNP to target the Makona strain of Zaire
human and NHP transcriptome and selected in order to broaden their                   Ebola, which was responsible for the 2013-2016 Ebola Outbreak in West
therapeutic range against the diverse HBV variants present worldwide.                Africa. This product, TKM-130803, demonstrated the versatility and
This system led to a strong and dose dependent serum and liver HBV                   rapid adaptability of the siRNA-LNP platform as mismatches in the orig-
DNA and HBsAg inhibition (up to 3 log10) after a single i.v. dose (0.03-             inal siRNA payload for the new strain of virus were quickly corrected.
1 mg kg-1) in a vector-based mouse model [177]. Repeat dosing of                     TKM-130803 was proven effective in NHP infected with EBOV Makona,
ARB-1740 was tested in a human chimeric mouse model of HBV, with                     conferring 100% survival against lethal challenge of the virus, even
3 biweekly escalating doses (starting from 0.3 mg kg-1, then 1 mg kg-1               when dosed 3 days post infection [192]. Treatment with TKM-130803
and ﬁnally 3 mg kg-1), leading to 1.7-1.9 log10 reduction in serum HBV               (7 daily i.v. doses of 0.5 mg kg-1 of siRNA) resulted in 4 log-reductions
DNA and HBsAg. This effect was enhanced when combined with the                       in plasma viremia of the infected animals when compared to non
current standard-of-care treatment for HBV patients (i.e., a capsid inhib-           treated animals that succumbed to the disease 8 days post infection.
itor and pegylated interferon-alpha) and led to a more robust induction              This study provided the ﬁrst proof of the LNP therapeutic efﬁcacy
of innate immune responses in a human chimeric mouse model of HBV.                   against this highly lethal disease in NHPs, but also the applicability of
    In a follow-up study, the same group demonstrated the applicability              this technology against different strains of the virus. Other studies con-
of the ARB-1740 agent against both HBV and hepatitis delta virus (HDV)               tinued to support the utility of the platform; LNP loaded with VP35-
viremia (2.3 log10 and 1.6 log10 reduction, respectively) when injected i.           siRNA alone were injected in NHPs infected with the Sudan species of
v. at 3 mg kg-1 per dose, for 3 bi-weekly doses, in dually-infected hu-              Ebola virus (SUDV), following the same dosing schedule, again proved
manized mice (HBV and HDV) [178]. HDV is an incomplete virus that                    100% effective [193].
needs the HBV machinery to replicate and it is usually a co-infection                    Unfortunately human trials with TKM-130803 didn’t show the same
or a super-infection in HBV carriers, leading to a higher risk of liver can-         signiﬁcant efﬁcacy, quite possibly due to the lack of a proper study de-
cer and death compared to HBV mono-infection [179]. Having proven                    sign during the dire virus outbreak [180,194]. In 2015, a single-arm
the potential of LNP in a highly unmet medical need, further efforts                 phase II trial was conducted in Sierra Leone, where the TKM-130803
can be focused to study the combination of HBV- and HDV- targeting                   was administered i.v. at 0.3 mg kg-1 in 12 EBOV patients for 7 consecu-
siRNA LNP or the synergistic use of LNP with agents such as pegylated                tive days [194]. Unfortunately, though, only 3 patients survived, a sur-
interferon (IFN)-alpha, and nucleoside analogues.                                    vival rate deemed insigniﬁcant from untreated patients. The LNP were
    The same company had previously applied its LNP technology                       well tolerated in all cases. It should also be noted that the patients cho-
against Ebola virus in collaboration with University of Texas Medical                sen for the study already had extremely high viral loads, advanced ill-
Branch [180]. Ebola (EBOV) and Marburg (MARV) virus are both mem-                    ness (compared to other post-treatment therapeutics clinical trials)
bers of the Filoviridae family [181]. Ebola has ﬁve known subtypes                   and irreversible organ damage. These circumstances possible concealed
(i.e., Zaire, Sudan, Bundibugyo, Tai Forest and Reston) with several var-            the potential of the LNP, and a more controlled and carefully designed
iants (e.g., Zaire Ebola Kikwit or Makona variants), while Marburg virus             study would be required to draw ﬁrm conclusions.
has one type with 2 lineages and several strains (i.e., Angola, Ci67,                    In parallel, the same group developed a siRNA-LNP against Marburg
Musoke, Ozolins, and Popp or Ravn) [181–183]. Although distinct vi-                  virus infection (MARV) and tested its potency in guinea pigs infected
ruses, they present clinical similarities with symptoms like severe                  with a lethal dose of either MARV-Angola, MARV-Ci67 or MARV-Ravn
haemorrhagic manifestations, fever, body aches, neurological and gas-                virus [195]. 2 different siRNAs targeting the nucleoproteins (NP) that
trointestinal implications, which usually lead to death 8-9 days after               form the viral capsid (i.e., NP-718 or NP-314) were encapsulated either
symptom onset [184]. They can be transmitted through direct contact                  separately or in combination (1:1) in the LNP, in an attempt to provide
with infected biological ﬂuids [185]. Both viruses have caused dramatic              broader-spectrum antiviral activity. The siRNAs were designed to target
outbreaks in the past with mortality rates up to 90% [186]. Because of               regions conserved across all major MARV strains. Interestingly, the LNP
their high lethality and transmissible nature, they are at risk of being             treatment (0.5 mg kg-1 per dose, 7 daily i.v. doses starting 1 h post infec-
weaponized, and in fact this has already been documented for Ebola                   tion) conferred 100% postexposure protection when the NP-718 siRNA
[187,188]. However, no effective vaccines and no approved post-                      was delivered alone in the case of MARV-Ci67 or the most pathogenic
exposure treatments exist today against ﬁloviruses. According to                     strain, MARV-Angola, whereas in the case of MARV-Ravn 100% survival
Geisbert and coworkers, macrophages and dendritic cells appear to                    was only obtained when the cocktail of the 2 siRNAs was used, despite
play a key role in virus replication and dissemination to the lymph                  one of them being less efﬁcacious when used alone. This was the ﬁrst
nodes [189]. The virus replicates rapidly in different organs, with one              time that complete protection against the most lethal strain of MARV
of the early and primary sites being the liver [184,190].                            (Angola) was reported in guinea pigs. Using the NP-718 siRNA–LNP,
    In 2006 Geisbert’s UTMB group, internationally recognized for its                they also showed that results translated to the stringent NHP model of
contribution to the ﬁlovirus battle, designed four siRNAs that targeted              MARV-Angola infection, even when treatment began up to 3 days
the replication machinery of the Zaire Ebola virus (ZEBOV), and specif-              after infection [196]. The importance of this post-exposure timepoint
ically the polymerase (L) gene of ZEBOV. In collaboration with Protiva               (72 h) is that this is the earliest time point that the viral RNA can be de-
Biotherapeutics, they encapsulated them in cocktails or individually in              tected in the blood, allowing diagnosis. Following the same experimen-
DLinDMA-based LNP, and showed complete protection from viremia                       tal design (0.5 mg/kg of NP-718 siRNA per LNP dose, 7 daily i.v. doses),
and 100% survival, when injecting the LNP in ZEBOV guinea pig (GP)                   the authors reported 100% survival of rhesus monkeys infected with le-
model (0.75 mg kg-1 per dose, 6 daily i.v. doses), starting treatment at             thal doses MARV-Angola and MARV-Ravn, even when treatment began
24 hours post infection [190]. A few years later, the same collaboration             on days 4 and 6 post-infection, respectively [197]. This study
demonstrated the ﬁrst proof of siRNA-LNP potential in a more rigorous                highlighted the excellent potential of siRNA-LNP to confer complete
NHP model of the Zaire Ebola (Kikwit strain). Here, they used a pool of              protection against MARV-Ravn in NHPs even when dosed just 1 day
three siRNAs targeting the viral protein (VP) 24, VP35 and L polymerase              prior to when the control animals began to succumb to disease. To-
protein, interfering with both the replication machinery of the virus and            gether, the results summarized here strongly support the potential of
the ability of VPs to inhibit the host immune response [191]. 7 daily i.v.           siRNA-LNP as a post-exposure prophylaxis or anti-viral treatment,
doses of 2 mg kg-1 siRNA starting 30 min after the virus challenge                   even when dosed later in the course of the disease.



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6. From bench to bedside - current status of clinical trials                          built upon, to further enhance the potency and tolerability of NA-LNP
                                                                                      products and unlock applications outside the hepatocyte.
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                   JOINT APPENDIX 36
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On the Formation and Morphology of Lipid
Nanoparticles Containing Ionizable Cationic
Lipids and siRNA
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    S Supporting Information



    ABSTRACT: Lipid nanoparticles (LNPs) containing short inter-
    fering RNA (LNP-siRNA) and optimized ionizable cationic lipids
    are now clinically validated systems for silencing disease-causing
    genes in hepatocytes following intravenous administration. How-
    ever, the mechanism of formation and certain structural features
    of LNP-siRNA remain obscure. These systems are formed from
    lipid mixtures (cationic lipid, distearoylphosphatidylcholine,
    cholesterol, and PEG-lipid) dissolved in ethanol that is rapidly
    mixed with siRNA in aqueous buﬀer at a pH (pH 4) where the
    ionizable lipid is positively charged. The resulting dispersion is
    then dialyzed against a normal saline buﬀer to remove residual
    ethanol and raise the pH to 7.4 (above the pKa of the cationic lipid) to produce the ﬁnished LNP-siRNA systems. Here we
    provide cryogenic transmission electron microscopy (cryo-TEM) and X-ray evidence that the complexes formed between
    siRNA and ionizable lipid at pH 4 correspond to tightly packed bilayer structures with siRNA sandwiched between closely
    apposed monolayers. Further, it is shown that ionizable lipid not complexed to siRNA promotes formation of very small
    vesicular structures at pH 4 that coalesce to form larger LNP structures with amorphous electron dense cores at pH 7.4.
    A mechanism of formation of LNP-siRNA systems is proposed whereby siRNA is ﬁrst sandwiched between closely apposed
    lipid monolayers at pH 4 and subsequently trapped in these structures as the pH is raised to 7.4, whereas ionizable lipid not
    interacting with siRNA moves from bilayer structure to adopt an amorphous oil phase located in the center of the LNP as
    the pH is raised. This model is discussed in terms of previous hypotheses and potential relevance to the design of LNP-
    siRNA systems.
    KEYWORDS: lipid nanoparticles, gene therapy, lipid biophysics, cryo-TEM, nanomedicine




I    n recent years the mantra surrounding gene therapy has
     been “delivery, delivery, delivery”,1−3 meaning that intra-
     cellular delivery of macromolecular RNA and DNA constructs
into target cells was the primary impediment to practicing gene
therapy in vivo. Viral vectors suﬀer from immunogenicity, man-
                                                                                and 2,2-dilinoleyl-4-(2-dimethylaminoethyl)-[1,3]-dioxolane
                                                                                (DLin-KC2-DMA or KC2).5,6 These lipids exhibit acid-dissociation
                                                                                constants (pKa) below 7, ensuring a near neutral surface charge
                                                                                in the circulation upon intravenous administration, yet a strong
                                                                                positive charge at acidic pH to allow entrapment of nucleic acid
ufacturing, and other concerns, whereas nonviral vectors have                   polymers. Lipids such as MC3 and KC2 have been optimized
toxicity and potency issues. However, the recent successful
                                                                                for in vivo gene silencing in hepatocytes following intrave-
Phase III trial of a lipid nanoparticle (LNP) formulation of
siRNA to treat transthyretin (TTR)-induced amyloidosis sug-                     nous (i.v.) administration and exhibit pKa values in the range
gests that nonviral vectors are starting to overcome the delivery               6.2−6.7.5
barrier.4 A key advance has been identiﬁcation and incorporation of
an optimized ionizable cationic lipid in the LNP-siRNA systems.                 Received: February 26, 2018
Examples of such lipids are heptatriaconta-6,9,28,31-tetraen-                   Accepted: April 3, 2018
19-yl 4-(dimethylamino)butanoate (DLin-MC3-DMA or MC3)                          Published: April 3, 2018

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Figure 1. LNPs prepared in the absence of siRNA exhibit lamellar, vesicular structure at pH 4 and lamellar-solid core structures at pH 7.4,
where the proportion of solid core increases as the KC2 content increases. LNPs composed of KC2, DSPC, Chol, PEG-lipid at a molar
composition of 20−50/10−31.5/38.5−47.5/1.0−1.5,respectively, were formulated in the absence of siRNA. (A) Cryo-TEM was performed
following dialysis to remove ethanol (pH 4), or dialysis against PBS to raise the pH and neutralize the KC2 (pH 7.4). Scale bar = 100 nm.
(B) Particle sizing data for the respective formulations at pH 4 and pH 7.4. Results indicate mean ± s.d. (C) SAXS data for POPC/triolein/
PEG-lipid LNPs (27/72/1 mol %) and “empty” LNPs composed of KC2/DSPC/cholesterol/PEG-lipid (50/10/38.5/1.5 mol %). In order to
accommodate the SAXS data, each set was given an oﬀset (Empty: 0.2, and POPC-TO: 1 units).

   The physical processes by which these lipids enable entrap-               formed using ethanol dilution/rapid-mixing techniques displays
ment and intracellular delivery of negatively charged polymers,              a small multilamellar structure at high siRNA contents, where
and the structures formed, remain poorly characterized. LNP-                 the nucleic acid is trapped between closely apposed lipid bilay-
siRNA systems are generated by rapid mixing of lipids in                     ers. At lower (clinically relevant) siRNA contents, LNP-siRNA
ethanol with siRNA in aqueous buﬀer (pH 4.0), followed by                    systems exhibit a combination of siRNA-bilayer structure and
dialysis to remove ethanol and to raise the pH to 7.4.7 The result-          an amorphous electron dense core, likely arising from an oil
ing structures display an electron-dense core as observed by cryo-           droplet consisting primarily of the neutral form of the ionizable
TEM.8 We have suggested that this core structure is generated                cationic lipid.
through the initial association of ionizable cationic lipid with
siRNA to form inverted micellar structures, followed by associ-              RESULTS AND DISCUSSION
ation with “empty” inverted micelles (formed from excess ionizable              LNP Systems Containing KC2 Adopt Bilayer Structure
lipid) to form a hydrophobic core which is subsequently coated               at pH 4 and Amorphous “Solid Core” Structures at pH 7.4.
with more polar lipids (DSPC, PEG-lipids) as the polarity is                 Initial experiments focused on characterizing the morphology
increased.2,7−10 However, this hypothesis does not account for               of LNP systems containing KC2 formulated in the absence of
certain features such as the fact that LNP-siRNA suspensions                 siRNA. When formulated using rapid mixing methods,7,8,12,13 LNPs
formed by rapid-mixing methods are initially transparent at pH 4             formed from lipid mixtures consisting of KC2, DSPC, choles-
(indicating the presence of structures smaller than 30 nm diam-              terol, and PEG-lipid (20−50/10−31.5/39−47.5/1.0−1.5 mol %)
eter) and only become translucent upon dialysis, indicating the              at pH 4 display bilayer vesicular structures (Figure 1A) ,where
presence of larger structures. Moreover, alternative hypotheses              the size decreased as the KC2 content increased (Figure 1B).
of LNP structure11 also do not necessarily consider these obser-             LNPs formed with 20 mol % KC2 exhibited a diameter of
vations or reconcile all of the collected data.                              30 ± 8 nm, whereas LNPs containing 50 mol % KC2 had a diam-
   Here, we re-examine the mechanism of LNP formation and the                eter of 11 ± 4 nm. When these formulations were dialyzed against
nature of the electron-dense structures formed using cryo-TEM                phosphate-buﬀered saline (PBS) to bring the pH to 7.4, a pro-
and small-angle X-ray approaches. We show that LNP-siRNA                     gressive transformation to an electron-dense amorphous core
                                                                      4788                                               DOI: 10.1021/acsnano.8b01516
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structure was observed as the KC2 content increased to 50 mol %.              LNP Systems Containing Permanently Cationic Lipids
The observation that ionizable cationic lipids transform from              Do Not Exhibit Solid Core Structure. In order to demon-
small vesicular structures at pH 4.0 into much larger elec-                strate that the amorphous core is consistent with the presence
tron-dense core structures as the pH is neutralized suggests               of KC2 in the neutral form, the morphology of LNP formed
large-scale fusion of the small vesicles as the ionizable lipids           when DOTMA (a permanently positively charged analogue of
adopt a neutral form. For the LNP systems containing 50 mol %              DODMA) was substituted for KC2, was investigated. As shown
KC2 (diameter 10.5 nm at pH 4, 35.1 nm at pH 7.4, see                      in Figure 2A, the behavior of LNP containing DOTMA at pH 4
Figure 1B), assuming the cross-sectional surface area of a
charged ionizable lipid is 0.7 nm2, a lipid density of 0.9 g/mL,
and a molecular weight of 590 g/mol, the “solid core” particles
observed at pH 7.4 reﬂect fusion of some 36 vesicles observed
at pH 4.
   The solid core structure likely reﬂects an oil droplet phase
formed from the neutral ionizable lipid as free-base KC2 adopts
a liquid oil phase at room temperature. Previous work14 using the
rapid-mixing formulation process has shown that oil-in-water
emulsions composed of POPC and triolein form “limit-size”
solid core structures with similar morphology as the LNP sys-
tems containing 40 mol % KC2 at pH 7.4. The size of the POPC-
triolein LNP increases as the core (triolein) to surface (POPC)
lipid ratio is raised.14,15 Similar behavior is observed for the
KC2-containing LNP at pH 7.4. As shown in Supporting Figure 1,
as the proportion of KC2 is raised from 40 mol % to 90 mol %,
the LNPs (pH 7.4) increase in size from 30 to 90 nm, consis-
tent with an increase in core lipid to surface (PEG-lipid, DSPC)
lipid. Interestingly, small-angle X-ray scattering (SAXS) data of
empty LNPs composed of KC2/DSPC/cholesterol/PEG-lipid
(50/10/38.5/1.5 mol %) showed a similar scattering proﬁle as
POPC-triolein LNPs (Figure 1C), suggesting that no structured
features are found within the nanoparticle.
   Factors that could inﬂuence the structure of the amorphous
core lipid structures observed at pH 7.4 include the unsaturation
of the acyl chains of the ionizable cationic lipid and the charge
on the cationic lipid. Increased unsaturation of the acyl chains
has been shown to lead to higher levels of transfection16 and
increased propensity for formation of electron-dense core struc-
ture.10 In order to determine whether reducing acyl chain unsat-
uration aﬀected LNP structure, DODMA, which contains one
unsaturated bond per acyl chain compared to two for KC2, was
employed. LNPs were formulated with DODMA/DSPC/Chol/
PEG-lipid over the range 20−40 mol % DODMA. As shown in
Supporting Figure 2 broadly similar morphology was observed
as for the KC2-containing systems, although it should be noted
that DODMA has a higher apparent pKa than KC2,16 and thus
at pH 7.4 is deprotonated to a lesser extent than KC2.
   The lipid composition of the amorphous core structure is of
interest. The dominant component is clearly KC2 as the pro-
portion of the LNP adopting the core structure increases as the
KC2 content increases (Figure 1A). The question is whether it
is purely KC2 or whether other lipid components are present.
Computer modeling places the PEG-lipid on the LNP surface8                 Figure 2. LNPs containing permanently positively charged lipid do
as does the direct inﬂuence of PEG-content on LNP size.7,8,17              not exhibit electron-dense core structure. LNPs composed of DOTMA,
DSPC is likely preferentially located in the LNP surface mono-             DSPC, Chol, PEG-DSPE at a molar composition of 20−40/11.5−31.5/
layer as well given its amphipathic structure and is unlikely to           47.5/1.0, respectively, were formulated in the absence of siRNA.
                                                                           (A) Cryo-TEM was performed following dialysis to remove solvent
be signiﬁcantly soluble in a KC2 oil phase given the insolubility
                                                                           (while still at pH 4), or to neutralize the pH (PBS pH 7.4). Another
of diglycerides and triglycerides in bilayer membranes.18 How-             set of formulations was generated in PBS pH 7.4 and dialyzed into
ever, the solubility of cholesterol in a KC2 oil phase is not              PBS pH 7.4 to remove ethanol (labeled pH 7.4 in/out). Scale bar =
known and was therefore measured as indicated in Supporting                100 nm. (B) Particle sizing data for the respective formulations at
Figure 3, leading to the ﬁnding that cholesterol has limited               pH 4 and pH 7.4. Results indicate mean ± s.d.
solubility in KC2. A solution of KC2 saturated with cholesterol
at room temperature contains approximately 8 mol % of choles-              was similar to that observed for KC2-containing LNP, with
terol. The amorphous core structure is therefore ascribed to the           smaller vesicular structures observed as the DOTMA content
neutral form of KC2 containing a small amount of cholesterol.              was raised from 20 to 40 mol %. The morphology observed on
                                                                    4789                                                 DOI: 10.1021/acsnano.8b01516
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Figure 3. LNP prepared in the presence of siRNA exhibit stacked bilayer structure at high siRNA contents, where the proportion of stacked
structures decreases as the siRNA content decreases. LNPs composed of KC2, DSPC, Chol, PEG-lipid at a molar composition of 50/10/38.5/
1.5 were formulated at various charge ratios (N/P = 1, 3, or 6). (A) Cryo-TEM was performed following dialysis to remove ethanol (pH 4), or
dialysis against PBS to raise the pH and neutralize the KC2. Scale bar = 100 nm. (B) Particle sizing data for the respective formulations at pH
4 and pH 7.4. Results indicate mean ± s.d. (C) Small-angle X-ray scattering data for LNP-siRNA formulations at pH 7.4. Formulations were
generated at N/P = 1−6. A mixture of LNP-siRNA (N/P = 1) and empty LNPs was also analyzed. LNP-siRNA at N/P = 1 displays a scattering
pattern characteristic of a bilayer structure closely supporting the cryo-TEM data. For the full scattering pattern (q = 0.012−0.3 Å−1), refer to
Supporting Figure 5.

dialysis against PBS pH 7.4 was, however, very diﬀerent. In all cases          This morphological change is clearly not due to the charge on
a conversion from unilamellar vesicular structures to primarily                the cationic lipid species, as it is observed for both ionizable and
bilamellar systems and an increase in particle size (Figure 2B)                permanently positively charged lipids. In an attempt to deter-
were observed, with no evidence for amorphous electron-dense                   mine whether the change in osmotic strength going from 25 mM
core structures.                                                               at pH 4 to 160 mM in PBS could be driving the structural
   The results of this section lead to three conclusions. First,               change, LNPs formed from DSPC/Cholesterol/PEG-lipid (55/
and most importantly, the amorphous “solid core” structure                     44/1 mol %) were characterized. As shown in Supporting Figure 4a
associated with LNP systems at pH 7.4 containing ionizable                     transition from unilamellar to bilamellar systems was observed
cationic lipids such as KC2 and DODMA at 20 mol % or higher                    for all cases where the exterior medium was of signiﬁcantly
is consistent with formation of oil droplets in the LNP interior               higher osmolarity. The change in morphology appears to arise
consisting of the neutral (deprotonated) form of the ionizable                 due to a fusion event and not deformation of vesicles due to
lipid with a small proportion (8 mol %) of cholesterol. The sec-               osmotic eﬀects, as the LNPs achieved following exposure to
ond conclusion is that positively charged ionizable lipids, whether            media of higher osmolarity are uniformly bigger than the initial
ionizable or permanently positively charged, adopt extremely                   structures.
small vesicular structures (diameter 15 nm or less) when dis-                     LNP Systems Containing siRNA Contain a Proportion
persed from ethanol in aqueous buﬀer by rapid mixing. The                      of Bilayer Structures. We next proceeded to characterize the
reasons for the small size are not clear, but could be due to the              inﬂuence of encapsulated siRNA on LNP structure. As shown
relatively small headgroup of these lipids that leads to an                    in Figure 3A, at high levels of encapsulated siRNA (amino lipid
inverted cone shape that is more readily accommodated in the                   nitrogen-to-siRNA phosphate (N/P) ratios of 1) where all of
inner monolayer of a membrane. A ﬁnal ﬁnding concerns the                      the positively charged ionizable lipid is complexed to an RNA
conversion of unilamellar systems at pH 4 containing 20 mol %                  phosphate, small multilamellar systems are observed. Such
cationic lipid (either ionizable or permanently charged) to pre-               systems (albeit somewhat larger) have been reported previously
dominantly bilamellar systems when dialyzed against PBS.                       for LNP containing ionizable cationic lipids and high levels of
                                                                        4790                                                 DOI: 10.1021/acsnano.8b01516
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antisense oligonucleotides, where the oligonucleotides reside at              structures are observed at pH 4, while at pH 7.4, amorphous
the interface between closely apposed bilayers.19,20 It should                electron-dense structures are seen with no entrapment of siRNA.
be noted that in the present study, the formulations generated                This observation suggests a need for a certain amount of amphi-
at N/P = 1 do not increase in size when the pH is neutralized                 pathic, bilayer-forming lipid such as DSPC to provide the outer
(Figure 3B), whereas empty formulations or those at N/P = 3 or 6              monolayer of the LNP-siRNA particle to stabilize the system
increase in size when dialyzed into pH 7.4 buﬀer.                             and maintain internal siRNA-ionizable lipid stacked bilayer
   In an attempt to determine whether the LNP-associated                      structure.
siRNA remains complexed in bilayer structures at N/P values of                   During the later stages of this study, an improved cryo-TEM
3 and 6 (where maximum in vivo gene silencing activity is real-               instrument with higher acceleration voltages (300 kV) and bet-
ized),7,17 SAXS studies were performed. As shown in Figure 3C                 ter detection (direct electron detectors rather than CCD) became
for LNP-siRNA (pH 7.4) systems formulated at an N/P value                     available. The higher acceleration voltage leads to decreased elec-
of 1, scattering curves characteristic of the presence of closely             tron attenuation and improved sample penetration, thus improved
apposed lipid bilayers with a repeat distance of 5.8 nm are                   imaging of the LNP core. It should be noted that the “solid-core”
observed. It should be noted that previous work21 has shown                   nature of lipid nanoparticles, as described in previous stud-
that the complexes formed between cationic lipids and plasmid                 ies,7,8,10,17 is inﬂuenced by the lower acceleration voltage (200 kV)
DNA generate lamellar structures with peaks in the range of                   and the amount of under-focus employed in those studies.
q = 0.1 Å−1. Comparatively, the presence of cubic phases in                   Cryo-TEM imaging relies on defocus-enhanced contrast (i.e.,
nanoparticles is observed at low q values (and visualized by cryo-            contrast is increased at the expense of resolution). Thus, the
TEM),22 which is not observed here (Supporting Figure 5). This                core of LNP-siRNA, as imaged by a 300 kV instrument, is
bilayer signature is also present for LNP-siRNA systems formu-                observed as signiﬁcantly less electron-dense than when imaged
lated at N/P values of 2, 3, and 6, albeit broadened with a                   by a 200 kV instrument. The improved resolution possible with
decreased intensity. In order to show that the bilayer signatures             the 300 kV instrument clearly reveals that empty LNPs at pH 4
at higher N/P values do not arise from a mixture of bilayer                   exhibit only bilayer structures, while those containing siRNA
siRNA-containing LNP with empty LNP, the SAXS behavior of                     (N/P = 3) display lamellar phase within the electron-dense
a mixture of LNP-siRNA systems (at N/P = 1) and empty                         particles (Supporting Figure 7). At pH 7.4, however, the empty
LNPs at a ratio of 1:2 (w/w) was characterized. As shown in                   LNPs display surface bilayer structure with an amorphous core.
Figure 3C, while the resulting spectrum showed a decreased                    Note that this surface bilayer morphology is not observed for
signal intensity relative to N/P = 1 formulations, there was no               LNPs that do not contain DSPC (Figure 5). LNP-siRNA sys-
peak broadening.                                                              tems with high siRNA contents (N/P ∼ 1) exhibit concentric
   As the siRNA content is reduced to N/P values of 3 and 6,                  bilayer ring structures consistent with the structures observed
the presence of lamellar structure induced by siRNA as detected               using the 200 kV instrument. Slightly higher N/P ratios (1.1−
by cryo-TEM is less deﬁnitive. In order to achieve improved                   1.5) result in a combination of concentric ring structure and an
resolution, LNP-siRNA systems were formulated and charac-                     amorphous core.
terized for N/P values of 1.1 and 1.5, as shown in Figure 4                      In summary, the results of this section indicate that at pH 7.4,
                                                                              LNP-siRNA systems formulated using the ethanol dilution rapid-
                                                                              mixing process consist of siRNA sandwiched between closely
                                                                              apposed bilayer structures preferentially located in outer layers
                                                                              of the LNP and that cationic lipid that is not associated with
                                                                              siRNA adopts amorphous solid core morphology in the center
                                                                              of the LNP-siRNA particle. These data also indicate that the
                                                                              DSPC-lipid preferentially resides on the surface of the LNP.
                                                                                 Implications for LNP-siRNA Structure and Design. The
                                                                              results of this investigation demonstrate that at high siRNA
                                                                              contents (N/P = 1), the LNP-siRNA systems formed at both
                                                                              pH 4 and 7.4 adopt a small multilamellar vesicle structure con-
                                                                              sisting of siRNA sandwiched between closely apposed concen-
                                                                              tric lipid bilayers. Conversely, LNPs formed in the absence of
Figure 4. LNP-siRNA formulations generated at N/P values of 1.1               siRNA at pH 7.4 exhibit an amorphous hydrophobic lipid core
and 1.5 at pH 7.4 display stacked bilayer structures on the                   consistent with an oil-in-water dispersion. At N/P values of
perimeter of the LNP. LNPs composed of KC2/DSPC/Chol/PEG-                     3 and 6 (which correspond to formulations used clinically) where
DMG (50/10/38.5/1.5 mol %) generated with siRNA at N/P = 1.1
                                                                              there is an excess of ionizable cationic lipid, siRNA remains
and 1.5 were imaged by cryo-TEM. The resulting structures are
multilamellar vesicles, with the number of resolved concentric rings          sandwiched within bilayer lipid assemblies (as indicated by small-
decreasing at higher N/P ratios. Scale bar = 100 nm.                          angle X-ray studies), whereas the LNP core displays amorphous
                                                                              structure consistent with the presence of oil-phase lipid. For
where bilayer structures are observable by cryo-TEM with pro-                 systems where there is only a slight excess of ionizable cationic
gressively increased amounts of amorphous structure toward                    lipid (N/P of 1.5), outer regions of the LNP display concentric
the center of the LNP. It is interesting to note that while siRNA             ring structure, whereas the LNP center displays amorphous struc-
induces bilayer structure (at pH 4) in LNP systems containing                 ture. On the basis of these observations we propose a revised
very high levels of KC2 and no bilayer forming lipid DSPC,                    model of LNP-siRNA structure for therapeutically active for-
such systems do not maintain bilayer structure at pH 7.4 and                  mulations, as shown in Figure 6, where the bulk of the ionizable
release all the associated siRNA as the pH is raised. This is                 cationic lipid segregates into a central oil phase and stacked
shown in Supporting Figure 6 where, for LNPs composed of                      bilayers of lipid-siRNA aggregates are located toward the periph-
98.5% KC2 and 1.5 mol % PEG-lipid, large stacked bilayer                      ery of the LNP.
                                                                       4791                                                  DOI: 10.1021/acsnano.8b01516
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                                                                             monolayer, only 14 mol % of the total cholesterol is accounted
                                                                             for. The remaining 24.5 mol % cholesterol could potentially
                                                                             form crystalline structures and introduce particle instability.
                                                                             Similarly, if DSPC is primarily located in the outer monolayer
                                                                             in equimolar concentrations with cholesterol, an equilibrium size
                                                                             for an LNP containing 10 mol % DSPC would be ∼80 nm diam-
                                                                             eter. Previous work has shown that LNP-siRNA systems contain-
                                                                             ing 10 mol % DSPC exhibit maximum activity for a size of 80 nm
                                                                             diameter.17 This suggests that to obtain smaller systems with
                                                                             optimized activity, higher levels of DSPC should be incorporated.
                                                                                It should be noted that while the size of LNP-siRNA systems
                                                                             is controlled by the PEG-lipid content,7,23 LNP systems that do
                                                                             not contain suﬃcient DSPC to cover an external surface mono-
                                                                             layer will, of necessity, incorporate additional cholesterol and/
                                                                             or ionizable lipid in that monolayer. The PEG-lipid content
                                                                             determines the size of the LNP by virtue of its ability to inhibit
                                                                             further LNP fusion at some critical concentration as the small
                                                                             particles generated at pH 4 coalesce to form the larger LNP
                                                                             observed at pH 7.4. If the particle does not contain suﬃcient
                                                                             amphipathic lipid to cover the outer surface, it will exist in a
                                                                             metastable state stabilized by the PEG-lipid coat. In the absence
                                                                             of PEG-lipid, further rounds of fusion would be expected to
                                                                             occur until the exterior monolayer contains suﬃcient amphi-
                                                                             pathic lipid that additional fusion is inhibited. When the dif-
                                                                             fusible PEG-lipid dissociates from the LNP following i.v. admin-
                                                                             istration, such nonequilibrium surface lipid compositions may
                                                                             be expected to inﬂuence serum protein adsorption to the par-
                                                                             ticle surface, possibly inﬂuencing tissue speciﬁcity.

                                                                             CONCLUSIONS
                                                                             The major ﬁnding of this investigation is that LNP-siRNA sys-
                                                                             tems formed by rapid mixing-ethanol dilution processes do not
Figure 5. Cryo-TEM imaging with improved resolution supports                 show evidence of inverted micellar structures containing siRNA
the presence of DSPC-lipid on the surface of the LNP. All                    dispersed in a “currant bun” pattern in the LNP interior.
formulations, at pH 7.4, were vitriﬁed and subjected to cyro-TEM
using a 300 kV instrument with direct electron detectors. (A) LNPs
                                                                             Rather, the siRNA is associated with closely apposed lipid bilay-
composed of KC2/DSPC/cholesterol/PEG-DMG (50/10/38.5/                        ers sandwiching siRNA molecules that segregate toward the
1.5 mol %) generated without siRNA. LNPs of a similar composition            periphery of the LNP. Excess ionizable cationic lipid forms an
were also formulated with siRNA at N/P = 1 (B), 1.1 (C), 1.5 (D),            amorphous lipid core that likely corresponds to an oil-droplet
and 6 (E). (F) LNPs composed of KC2/PEG-DMG (98.5/1.5 mol %)                 phase that contains a limited amount of cholesterol. These
were generated without siRNA. Scale bar = 100 nm.                            ﬁndings suggest that the proportions of diﬀerent lipid species in
                                                                             optimized LNP-siRNA systems may vary according to the par-
   The structure presented in Figure 6 diﬀers signiﬁcantly from              ticular ionizable cationic lipid employed. For example, for the
the structure proposed previously indicating a nanostructured                KC2 lipid employed here, the limited solubility of cholesterol in
core of LNP-siRNA systems, where siRNA is encapsulated in                    the hydrophobic core suggests that the cholesterol content should
inverted micelles in the LNP interior in a “currant bun” conﬁg-              be reduced to achieve more stable systems. Alternatively, increasing
uration and excess ionizable cationic lipid that is not complexed            the amount of DSPC may be expected to result in enhanced
to siRNA displays inverted micellar structure.7,8 This structure             stability and possibly enhanced activity of smaller LNP systems.
was suggested largely by molecular-modeling approaches. All                  Previous work has shown that smaller LNP-siRNA systems are
other experimental data presented by Leung et al.8,10 is fully               less potent than larger systems.17
consistent with the model presented here.
   The revised structure suggests a number of ways to optimize               MATERIALS AND METHODS
LNP stability and possibly performance. First, the proportions                  Materials. The lipid 1,2-distearoyl-sn-glycero-3-phosphorylcholine
of DSPC, cholesterol, and ionizable cationic lipids in LNP-siRNA             (DSPC), 1-palmitoyl,2-oleoyl-sn-glycero-3-phosphorylcholine (POPC),
systems have previously been developed through phenomeno-                    1,2-distearoyl-sn-glycero-3-phosphoethanolamine-N-[methoxy-
logical approaches to optimize FVII gene silencing potency                   (polyethylene glycol)-2000] (ammonium salt) (PEG-DSPE), and 1,2-di-
in vivo. The results presented here suggest that optimized ratios            O-octadecenyl-3-trimethylammonium propane (chloride salt) (DOTMA)
derived from these studies should be reﬁned on the basis of the              were purchased from Avanti Polar Lipids (Alabaster, AL). The ionizable
solubility of the lipid components with one another. For exam-               cationic lipid 2,2-dilinoleyl-4-(2-dimethylaminoethyl)-[1,3]-dioxolane
                                                                             (DLin-KC2-DMA) was synthesized by Bioﬁne International (Vancouver,
ple, the optimized ratios for maximum gene silencing potency                 BC). The ionizable cationic lipid 1,2-dioleyloxy-3-dimethylamino-propane
in hepatocytes in a mouse model are ionizable cationic lipid/                (DODMA) was purchased from Cayman Chemical (Ann Arbor, MI).
DSPC/cholesterol/PEG-lipid (50/10/38.5/1.5 mol %).5 How-                     Cholesterol and glyceryl trioleate (triolein) were purchased from
ever, if cholesterol is only 8 mol % soluble in the ionizable lipid          Sigma-Aldrich (St. Louis, MO). (R)-2,3-bis(tetradecyloxy)propyl-1-
oil phase and present at equimolar levels in the DSPC surface                (methoxy polyethylene glycol 2000) carbamate (PEG-DMG) was

                                                                      4792                                                    DOI: 10.1021/acsnano.8b01516
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Figure 6. Proposed mechanism of formation and structure of LNP prepared in the absence and presence of siRNA. (A) In the absence of siRNA,
the LNP lipid dispersions form small unilamellar vesicles on rapid mixing at pH 4. As the pH is raised (dialysis against PBS pH 7.4), an
increasing proportion of the ionizable cationic lipids adopts a neutral form, thus decreasing intervesicle electrostatic repulsion, destabilizing the
bilayer structure, and engendering vesicle fusion. As the vesicles fuse, PEG-lipid, DSPC, and cholesterol (equimolar with DSPC) partition to the
outer monolayer of the increasingly large LNP, whereas neutral KC2 partitions to the LNP interior forming an oil droplet phase in the center of
the LNP. Equilibrium is achieved when the concentration of PEG-lipid in the outer monolayer is suﬃciently high to inhibit further inter-LNP
fusion. Note that this equilibrium size may well be considerably smaller than the equilibrium size dictated by the DSPC-cholesterol content.
(B) In the presence of siRNA, the initial event is formation of small vesicles which contain siRNA between closely apposed lipid monolayers.
As the pH is raised, neutralization of the ionizable lipid induces fusion between various particles similar to the case of empty LNPs. This process
is limited by phase separation of PEG-lipid, and possibly DSPC/cholesterol, from the complexes. It is proposed that these lipids are deposited in
a surface monolayer that inhibits further fusion. It should be noted that the presence of high levels of ethanol (at least 25% by volume) results in
high exchange rates for individual lipid molecules (with the exception of the cationic lipid complexed to siRNA), resulting in rapid formation of
equilibrium structures. Note also that the DSPC/cholesterol must sequester, at least in part, to the outer monolayer and stabilize smaller
structures at pH 4, as very large micron-size systems are observed for systems containing 1.5 mol % PEG-lipid and no DSPC or cholesterol (see
Supporting Figure 6C). As the pH is raised, the situation is much the same as for the LNP in the absence of siRNA; the increasing conversion of
the ionizable lipid to the neutral form favors further fusion and deposition in the interior core of the LNP.

synthesized as previously described.24 The structures of the lipids used           2−4 μL of LNP suspension was added to glow-discharged copper grids
are shown in Supporting Figure 8. TEM grids were purchased from                    and plunge-frozen using a FEI Mark IV Vitrobot (FEI, Hillsboro, OR)
Ted Pella, Inc. (Redding, CA). siRNA against ﬁreﬂy luciferase25 was                to generate vitreous ice. Grids were stored in liquid nitrogen until
purchased from IDT (Coralville, IA).                                               imaged. All samples were imaged with a 200 kV instrument unless
   Preparation of Empty LNPs. Previous studies on the morphology                   otherwise speciﬁed.
of LNP-siRNA systems were conducted with particles generated using                     For 200 kV Imaging. Grids were moved into a Gatan 70° cryo-
a staggered herringbone micromixer (SHM) made of polydimethylsiloxane              tilt transfer system pre-equilibrated to at least −180 °C and
(PDMS) provided by Precision Nanosystems Inc. (Vancouver, BC).7,8,10               subsequently inserted into the microscope. An FEI LaB6 G2 TEM
Here we show both mixing techniques (T-junction mixer12,13,15 and SHM)             (FEI, Hillsboro, OR) operating at 200 kV under low-dose conditions
generated empty LNPs and LNP-siRNA with similar morphology as                      was used to image all samples. A bottom-mount FEI Eagle 4K CCD
observed by cryo-TEM (Supporting Figure 9). Brieﬂy, component                      camera was used to capture all images. All samples (unless other-
lipids (ionizable cationic lipids, DSPC, cholesterol, and PEG-DMG or               wise stated) were imaged at a 55,000× magniﬁcation with a nominal
PEG-DSPE) or emulsion lipids (POPC, triolein) were dissolved in                    under-focus of 1−2 μm to enhance contrast. Sample preparation
ethanol at appropriate ratios to a ﬁnal concentration of 15 mM total               and imaging were performed at the UBC Bioimaging Facility
lipid. The appropriate aqueous and organic solutions were mixed using              (Vancouver, BC).
a T-junction mixer12,13,15 at a ﬂow rate ratio of 3:1 (v/v; respectively)              For 300 kV Imaging. Grids were transferred to an autoloader-
and a total ﬂow rate of 20 mL/min. The resultant mixture was dialyzed              equipped FEI Titan Krios (FEI, Hillsboro, OR) operating at 300 kV
directly against 1000-fold volume of appropriate buﬀer.                            with a Falcon III direct electron detector. All samples (unless
   Preparation of LNPs Containing siRNA. LNPs containing siRNA                     otherwise stated) were imaged at a 47,000× magniﬁcation with a
were prepared as previously described.13 Brieﬂy, component lipids                  nominal under-focus of 1−2 μm to enhance contrast. Sample imaging
(ionizable cationic lipids, DSPC, cholesterol, and PEG-DMG) were dis-              was performed at the UBC Life Sciences Centre (Vancouver, BC).
solved in ethanol at appropriate ratios to a ﬁnal concentration of 15 mM               Analysis of LNPs. Particle size analysis of LNPs in PBS was carried
total lipid. Nucleic acids were dissolved in 25 mM sodium acetate pH 4             out using a Malvern Zetasizer (Worcestershire, UK). Cryo-TEM
buﬀer. The aqueous and organic solutions were mixed using a T-junction             micrographs obtained for each sample were characterized for particle
mixer12,13,15 at a ﬂow rate ratio of 3:1 (v/v; respectively) and a total           size (as compared by diameter to the scale bar), performed by manual
ﬂow rate of 20 mL/min. The resultant mixture was dialyzed directly                 counting of 150 LNPs. Such an approach has been shown to closely
against 1000-fold volume of sodium acetate pH 4 buﬀer or PBS                       correlate with the number-weighted average produced by dynamic
(pH 7.4) overnight.                                                                light scattering.8,23 Similarly, morphology of LNPs was quantiﬁed
   Cryogenic Transmission Electron Microscopy. LNPs were                           manually. Lipid concentrations were measured using the Cholesterol E
concentrated to a ﬁnal concentration of 15−25 mg/mL of total lipid.                Total-Cholesterol assay (Wako Diagnostics, Richmond, VA).

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   Solubility of Cholesterol in KC2 oil. Cholesterol (40 mg) was                  and a British Columbia Innovation Council Ignite grant.
transferred to a glass vial containing 200 mg of KC2 oil. The vials were          Dr. Roy van der Meel is supported by a VENI Fellowship
then sonicated in a bath sonicator for 60 min at room temperature                 (no. 14385) from The Netherlands Organization for Scien-
with intermittent vortex-mixing. The resulting mixture was then                   tiﬁc Research (NWO). The authors would like to thank
centrifuged for 30 min at 17,000×g at room temperature. The
supernatant was collected, and 10.6 mg was suspended in a 1 mL of                 Dr. Miranda Schmidt for technical assistance with the SAXS
isopropanol:methanol (1:1 v/v). The concentration of cholesterol was              instrumentation.
determined by ultrahigh-pressure liquid chromatography (UPLC) on a
Waters Acquity H-Class UPLC System equipped with a BEH C18                        REFERENCES
column (1.7 μm, 2.1 Å, ∼100 mm) and a photodiode array detector.
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acetonitrile mixture) and B (water) from 30:70 to 100:0, respectively,            Genome Med. 2017, 9, 60.
over 6 min at a column temperature of 55 °C. The absorbance at 207 nm              (2) Cullis, P. R.; Hope, M. J. Lipid Nanoparticle Systems for Enabling
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300XL SAXS system at 4D Laboratories (SFU, Burnaby, BC). The                       (4) Alnylam and Sanoﬁ Report Positive Topline Results from Apollo
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                   JOINT APPENDIX 37
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Review
Nanomaterial Delivery Systems for mRNA Vaccines
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Mohamad Gabriel Alameh 3 and Drew Weissman 4

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                                            Abstract: The recent success of mRNA vaccines in SARS-CoV-2 clinical trials is in part due to the
                                            development of lipid nanoparticle delivery systems that not only efficiently express the mRNA-
                                            encoded immunogen after intramuscular injection, but also play roles as adjuvants and in vaccine
                                            reactogenicity. We present an overview of mRNA delivery systems and then focus on the lipid
                                            nanoparticles used in the current SARS-CoV-2 vaccine clinical trials. The review concludes with an
                                            analysis of the determinants of the performance of lipid nanoparticles in mRNA vaccines.

                                            Keywords: mRNA; lipid nanoparticle; ionizable lipid; vaccine; SARS-CoV-2


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Citation: Buschmann, M.D.;                  1. Introduction
Carrasco, M.J.; Alishetty, S.; Paige, M.;         mRNA vaccines have been propelled to the center stage of the biotechnology and
Alameh, M.G.; Weissman, D.                  pharmaceutical industry by the COVID-19 pandemic. There are eight ongoing human trials
Nanomaterial Delivery Systems for           for mRNA vaccines led by BioNTech/Pfizer, Moderna, CureVac, Sanofi/TranslateBio,
mRNA Vaccines. Vaccines 2021, 9, 65.        Arcturus/Duke-NUS Medical School in Singapore, Imperial College London, Chula-
https://doi.org/10.3390/vaccines            longkorn University in Thailand, and Providence Therapeutics [1]. Remarkably, two of
9010065
                                            these trials have announced interim phase 3 trial results that report an efficacy providing a
                                            greater than 94% reduction in SARS-CoV-2 infection after 2 doses of 30 µg or 100 µg of an
Received: 27 December 2020
                                            mRNA sequence encoding for a spike protein immunogen, delivered in a lipid nanoparti-
Accepted: 14 January 2021
                                            cle [2,3]. The rapidity of vaccine development also exceeded expectations, with these results
Published: 19 January 2021
                                            occurring only 10 months after the SARS-CoV-2 sequence was made publicly available.
                                            This success is a testament not only to the ability of the biotech and pharmaceutical industry
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                                            to respond to an urgent and unmet global need, but also to the inherent capabilities of
with regard to jurisdictional claims in
                                            mRNA as a pharmaceutical modality, in this case a prophylactic vaccine. The purpose of
published maps and institutional affil-
iations.
                                            this review is to overview the development of delivery systems for mRNA and then to
                                            summarize the preclinical and clinical findings of the SARS-CoV-2 mRNA vaccines and
                                            relate them to characteristics of the delivery system that contribute to their success. Several
                                            excellent reviews of mRNA delivery systems for vaccines and therapeutics that predate
                                            COVID-19 have been recently published [4–16].
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                                                  Messenger RNA therapeutics have many advantages and several challenges compared
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                                            to other pharmaceutical modalities, including small molecules, DNA, oligonucleotides,
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                                            viral systems and proteins, including antibodies. The ability to mediate both stimulatory
distributed under the terms and
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                                            and inhibitory modes of action compared to oligonucleotides and most small molecule
Attribution (CC BY) license (https://
                                            drug targets, and to express or replace defective proteins, expands the scope of potential
creativecommons.org/licenses/by/
                                            indications for their use. Compared to DNA, mRNA only needs access to the cytoplasmic
4.0/).




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                       ribosomal translation machinery rather than the nucleus and does not risk genomic inte-
                       gration. Compared to both proteins and viral systems, mRNA manufacturing is cell-free,
                       faster, and the protein product bears native glycosylation and conformational proper-
                       ties. When combined with a lipid nanoparticle (LNP) delivery system, the nanostructural
                       properties of the mRNA LNP also bear a resemblance to viral systems and circulating en-
                       dogenous, lipid-containing chylomicrons in terms of their size, lipid envelope and, for viral
                       systems, the internal genomic material that contributes to their application as delivery
                       vehicles for vaccines and other therapeutics [17].
                             The challenges inherent to the mRNA platform are its intrinsic immunogenicity, sus-
                       ceptibility to enzymatic degradation, and almost negligible levels of cell uptake of naked
                       mRNA. The innate immunogenicity of mRNA is due to the cellular detection of single- and
                       double-stranded RNA by toll like receptors (TLRs)), helicase receptors, including retinoic
                       acid-inducible gene I (RIG-I)-like receptors (RLRs), and others [18,19], which then signal
                       through NF-κB and interferon (IFN) regulatory factors IRF3 and IRF7, which translocate to
                       the nucleus to bind to the type I IFN gene promoter, inducing expression of type I IFNs
                       (IFN-α and IFN-β), accompanied by proinflammatory cytokines, such as tumor necrosis
                       factor-a (TNF-α), IL-6 and IL-12 [20]. The secreted interferons signal through their recep-
                       tors and the JAK/STAT pathway in the same cell and adjacent cells to activate more than
                       300 IFN-stimulated genes, including the protein kinase PKR, as a general viral defense
                       mechanism. Although this activation could be beneficial for mounting an immune response
                       to mRNA vaccines, one immediate effect is the downregulation of translation through
                       PKR phosphorylation of eIF2a, which impairs eIF2 activity, inhibiting mRNA translation
                       and thus the protein synthesis of the immunogen [21]. The primary means of abrogating
                       this innate immune response is by substituting naturally occurring nucleosides such as
                       1-methylpseudouridine [22] and other nucleosides present in transfer and ribosomal RNA
                       (but not typically in mRNA) into the mRNA sequence, which then renders it undetectable
                       via these innate immune sensors [23,24]. This nucleoside-modified immunosilencing
                       mRNA platform is the basis of the mRNA technologies that have recently shown >94%
                       efficacy in the BioNTech/Pfizer and Moderna SARS-CoV-2 vaccine trials, building upon
                       previous trials for other pathogens, which are described in detail below. A second approach
                       pursued by CureVac is sequence engineering involving codon optimization and uridine
                       depletion [25] since TLR7 and TLR8 primarily recognize GU-rich single-stranded RNA se-
                       quences [26]. The second challenge for mRNA therapeutics is its susceptibility to nucleases,
                       exemplified by a half-life in serum <5 min [27]. Although chemical modifications of siRNA
                       are highly successful in improving stability and lowering immunogenicity [28], to date,
                       they have not been successful for mRNA due to the sensitivity of the translation machinery
                       to these modifications [29]. The third challenge for mRNA is the lack of cell uptake of
                       naked mRNA in most cell types [30], with the exception of immature dendritic cells [31].
                       These last two challenges are addressed by the incorporation of a nucleoside-modified or
                       sequence-engineered mRNA into a delivery system that both protects the mRNA from
                       enzymatic attack and facilitates cellular uptake. For example, incorporation into lipid
                       nanoparticles protects the mRNA from enzymatic attack and enhances cell uptake and
                       expression by up to 1000-fold compared to naked mRNA when administered in animal
                       models [32,33].
                             Therapeutic mRNA is produced by in vitro transcription (IVT) from a plasmid DNA
                       backbone to produce a full length message bearing a 50 cap, a 50 untranslated sequence
                       (UTR), the open reading frame coding for the protein of interest, the 30 UTR and a polyA
                       tail [4]. The natural eukaryotic 50 cap (cap0) is an inverted 7-methyl guanosine (m7G)
                       linked to the first nucleotide of the mRNA by a 50 to 50 triphosphate. Cap0 protects endoge-
                       nous mRNA from nuclease attack, is involved in nuclear export and binds to translation
                       initiation factor 4 to start protein translation. Two additional 50 caps have been identified
                       (cap1 and cap2) that contain additional methyl groups on the second or third ribonucleotide
                       and are less immunogenic than cap0 (and therefore preferred) [34]. A commonly used
                       current capping method involves a co-transcriptional capping process resulting in cap1,




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                                    which possesses high translation and low immunogenicity [35]. The 50 UTR is involved in
                                    translation initiation and can contain a Kozak sequence as well as an internal ribosomal
                                    entry site for cap-independent translation [36]. The open reading frame is followed by the
                                    30 UTR, which influences mRNA stability and durability of protein expression. The polyA
                                    tail is encoded at around 100 residues and helps initiate translation and delay degradation.
                                    IVT production of mRNA needs to be followed by careful purification to remove DNA
                                    and double-stranded RNA contaminants, which are immunogenic [37,38]. The mRNAs
                                    described above can be nucleoside modified or sequence engineered without nucleoside
                                    modification, but are not capable of self-replication. Self-amplifying mRNA (samRNA)
                                    capable of replication are also being tested in clinical trials for SARS-CoV-2 and are longer
                                    ~10 kb sequences since they contain four additionally encoded nonstructural genes, includ-
                                    ing an RNA-dependent RNA polymerase, which result in self-replication inside cells but
                                    do not produce an infectious particle since they lack structural genes [39]. samRNAs cannot
                                    be nucleoside modified since these modifications interfere with self-amplification. Due to
                                    the amplification process, samRNAs typically use lower doses (1–10 µg) in the current
                                    COVID-19 clinical trials compared to 30–100 µg for non-amplifying mRNA. Interestingly,
                                    all of the above categories of mRNA vaccines are currently being tested in human clinical
                                    trials for SARS-CoV-2 and are summarized in Table 1. All mRNA delivery systems in
                                    these clinical trials are lipid nanoparticles. The exact composition of the Pfizer-BioNTech
                                    LNP [40] and Moderna LNP [41] have been publicly disclosed, while some others have not.
                                    The others are all most likely similar to the Alnylam Onpattro™ product (described further
                                    below) but with a proprietary ionizable lipid, as is the case for those that are disclosed.
                                    Although the specific ionizable lipid used may not be known in all cases, its general class
                                    can be understood from journal and patent publications and is indicated in Table 1.

      Table 1. Current human trials for SARS-CoV-2 using mRNA lipid nanoparticles. All mRNA vaccines in SARS-CoV-2 clinical
      trials use a lipid nanoparticle for delivery. The identity and composition of each has not been publicly disclosed, so their
      probable class (shown below) is based on the available literature and patent citations.

 Company               mRNA Type             Immunogen                                      Confirmed or Probable
                                                                          mRNA Dose (µg)                                  Publications
                                                                                            LNP Class
                       nucleoside modified   membrane bound                                 Lipid H [42]
 Moderna                                                                  100                                             [43–46]
                       mRNA                  prefusion stabilized spike                     confirmed in [41]
 BioNTech              nucleoside modified   membrane bound               30                Acuitas ALC-0315 [47]
                                                                                                                          [48–51]
 Pfizer                mRNA                  prefusion stabilized spike                     confirmed in [40]

 CureVac                                     membrane bound               12
                       unmodified mRNA                                                      Acuitas ALC-0315 [47]         [52,53]
                                             prefusion stabilized spike
 TranslateBio                                prefusion stabilized
                       unmodified mRNA                                    7.5               ICE [54] or Cysteine [55]     [56]
 Sanofi                                      double mutant spike

 Arcturus              self-amplifying                                    1–10
                       mRNA                  full length spike                              Lipid 2,2 (8,8) 4C CH3 [57]   [58]

                       self-amplifying       membrane bound               1–10
 Imperial College                                                                           Acuitas A9 [59]               [60]
                       mRNA                  prefusion stabilized spike
                       nucleoside modified                                                                                NA
 Chulalongkorn                               secreted wild type spike     Not available     Genevant CL1 [61]
                       mRNA


                                         Prior to COVID-19, mRNA vaccines were used in preclinical and clinical studies for
                                    infectious diseases including influenza, zika, HIV, Ebola, rabies, chikungunya, malaria,
                                    genital herpes, toxoplasma gondii, and others. These studies are summarized in a number
                                    of excellent recent reviews [4,6,16,39].

                                    2. Early Delivery Systems for mRNA Vaccines
                                         Protamine, a mixture of small arginine-rich cationic proteins, has been used to form
                                    complexes with mRNA that improved transfection compared to naked mRNA [62]. Later,
                                    a mixture of free mRNA with protamine-complexed mRNA was introduced [63] since
                                    protamine-complexed mRNA partly inhibited protein expression [64]. Dynamic light
                                    scattering indicated that free mRNA have a size near 50 nm, while the protamine/mRNA




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                       complexes were in the 250–350 nm range [63]. This approach was pursued by CureVac for
                       a rabies vaccine candidate, CV7201, a lyophilized, temperature-stable non-modified mRNA
                       composed of free and protamine-complexed mRNA encoding the rabies virus glycoprotein
                       (RABV-G) [65]. In Balb/c mice, two doses of 10 µg and higher induced neutralizing titers
                       greater than the WHO threshold of protection and administration of an 80 µg dose twice
                       was protective against a lethal intracerebral challenge [66]. In a phase 1 human trial using
                       doses 80–640 µg applied through intradermal and intramuscular routes, only a subgroup
                       of participants who received three 80–400 ug doses using a particular injector device
                       achieved the WHO neutralization titer threshold [67]. A serious adverse event (Bell’s Palsy)
                       occurred for one participant out of 101 at the highest dose and 5% of all participants
                       experienced a solicited severe adverse event. The overall rate of all adverse events was
                       high, with 97% experiencing injection site reactions and 78% a systemic adverse event.
                       Given this suboptimal delivery with protamine complexed mRNA, CureVac adopted a lipid
                       nanoparticle delivery system from Acuitas [47,68] and demonstrated greatly improved
                       neutralizing titers at a 20-fold lower dose of 0.5 µg (vs. 10 µg for protamine complexed
                       mRNA) in Balb/c mice and at a 10 µg dose in non-human primates [69]. Activation of T
                       cell responses and the presence of IL-6 and TNF in the draining lymph nodes and injection
                       sites indicated the role of the LNP in mediating the positive immune response. A clinical
                       trial has been initiated (NCT03713086), with interim results expected to be reported in 2021.
                             A cationic nanoemulsion (CNE) was developed for mRNA delivery by combining the
                       cationic lipid DOTAP with a commercial adjuvant (MF59) containing squalene, sorbitan
                       trioleate, and polysorbate 80 in a citrate buffer of pH 6.5 [70]. The combined use of a
                       self-amplifying mRNA encoding for respiratory syncytial virus glycoprotein (RSV-f) with
                       an NP amine (from DOTAP) to phosphate ratio (of mRNA) of 7 resulted in an average
                       129-nm sized nanoparticle. One advantage of this approach is the ability to store CNE and
                       mRNA separately and combine them only at the time of use. A 15-µg dose administered
                       twice in Balb/c mice elicited neutralizing titers above that of an adjuvanted subunit
                       vaccine. Detectable neutralization titers and T cell responses in non-human primates were
                       achieved with two doses of 75 µg. Building on this concept, a separate group created
                       a Nanostructured Lipid Carrier (NLC), which is a hybrid between a CNE and a lipid
                       nanoparticle, consisting of a liquid oil phase, such as squalene, with a solid-phase lipid
                       composed of a saturated triglyceride [71]. NLCs containing a self-amplifying mRNA
                       encoding for a sika immunogen had a particle size of 40 nm and an NP ratio of 15 and were
                       capable of generating protective neutralizing titers in C57BL/6 mice after a single injection
                       of a dose as low as 0.1 µg or 0.01 µg.

                       3. Polymers for mRNA Delivery
                             Cationic polymers have been widely used for nucleic acid delivery for several decades,
                       including for example poly(L-lysine), polyethylenimine (PEI), DEAE-dextran, poly(β-
                       amino esters) (PBAE) and chitosan. In their simplest format, cationic polymers are mixed
                       in excess with nucleic acid to form electrostatically bound cationic polyplexes. Although
                       many polymers have been developed, they are not as advanced as lipid nanoparticles
                       for nucleic acid delivery and the number of animal studies applying them successfully to
                       vaccines is limited. PBAEs were co-formulated with polyethylene glycol (PEG)-lipids to
                       form mRNA/PBAE/PEG–lipid nanoparticles that were capable of the functional delivery
                       of mRNA to the lungs after intravenous administration in mice [72]. A biodegradable
                       polymer, poly(amine-co-ester) (PACE) terpolymer, has been examined for mRNA delivery
                       using erythropoietin as a reporter post-IV administration for gene delivery [73]. By control-
                       ling the molecular weight and end group chemistry, a 10 kDa member of the PACE family
                       achieved the same in vitro transfection efficiency as TransIT, a potent but toxic colloidally
                       unstable and large-sized commercial reference. In vivo expression of EPO at 20 µg IV was
                       fivefold more potent than TransIT. Hyperbranched poly (beta amino esters) (hPBAEs) were
                       synthesized for mRNA delivery to the lung by inhalation. hPBAE mRNA polyplexes were
                       137 nm in size and were able to transfect 25% of the lung endothelium when nebulized and




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                       inhaled in mice without evident toxicity and with expression levels 10-fold that of branched
                       PEI [74]. A disulfide-linked poly(amido amine), pABOL, was synthesized at molecular
                       weights ranging from 8 kDa to 167 kDa and was able to form polydisperse nanocomplexes
                       near 100 nm in size [75]. In vivo luciferase expression of these polyplexes using a self-
                       amplifying mRNA reporter was similar to that of PEI after intramuscular administration.
                       When delivered to mice with a hemagglutinin (HA) influenza immunogen in a prime-boost
                       design, neutralizing titers were highest for the low molecular weight 8 kDa pABOL and
                       exceeded those of PEI. The 8 kDa pABOL delivering 1 µg HA of self-amplifying mRNA
                       was also partly protective against a lethal influenza challenge, preventing death but not
                       preventing significant weight loss. This pABOL system was considered for the delivery of
                       a self-amplifying mRNA immunogen for SARS-CoV-2 by the group at Imperial College
                       London; however, delivery of a SARS-CoV-2 immunogen with pABOL was 1000X less
                       potent than delivery of the same immunogen with an optimized lipid nanoparticle from
                       Acuitas [59]. In total, 1µg of self-amplifying RNA in pABOL generated the same binding
                       antibody and neutralization titers as 0.001 µg in an optimized lipid nanoparticle (Dr. Anna
                       Blakney, personal communication). Many other polymer systems are capable of delivering
                       mRNA in vitro or in vivo but remain to be tested in a vaccine context [76–84].

                       4. Development of Lipid Nanoparticles for the Current SARS-CoV-2 Clinical Trials
                            The earliest transfection reagent for mRNA was the quaternized cationic DOTAP
                       combined with ionizable and fusogenic DOPE, adopted from DNA transfection [85] for the
                       transfection of mRNA in numerous cell types [86]. Although effective in vitro, the perma-
                       nently cationic quaternized ammonium group renders these large-sized lipoplexes rapidly
                       cleared from circulation and from generally targeting lungs, as well as exhibiting toxicity.
                       The forerunner of today’s LNP was the stabilized plasmid–lipid particle (SPLP) that was
                       formed by combining the fusogenic ionizable DOPE with a quaternized cationic lipid,
                       DODAC, which electrostatically bound and encapsulated plasmid DNA, which was then
                       coated with hydrophilic PEG to stabilize it in aqueous media and limit protein and cell
                       interactions upon administration in vivo [87]. DOPE can be protonated in the endosome
                       after cell uptake and, since it is cone-shaped, it can form an endosomolytic ion pair with
                       endosomal phospholipids to facilitate endosomal release, a critical event for successful
                       delivery [17]. The SPLP was then further developed as a Stabilized Nucleic Acid Lipid
                       Particle (SNALP) containing siRNA that included four lipids: an ionizable rather than quat-
                       ernized cationic lipid, a saturated bilayer forming quaternized zwitterionic lipid, DSPC,
                       cholesterol and a PEG–lipid [88]. In addition to electrostatically binding to the nucleic
                       acid, the ionizable lipid in the SNALPs played the role of the fusogenic lipid and became
                       protonated in the endosome to form a membrane-destabilizing ion pair with an endosomal
                       phospholipid. It is now known that DSPC helps form a stable bilayer underneath the PEG
                       surface [89]. Cholesterol plays several roles, including filling gaps in the particle, limiting
                       LNP–protein interactions and possibly promoting membrane fusion [90]. The ionizable
                       lipid plays a central role by being neutral at physiological pH, thus eliminating any cationic
                       charge in circulation, but becoming protonated in the endosome at pH ~6.5 to facilitate en-
                       dosomal release. The development of the first siRNA product that was clinically approved
                       in 2018 primarily focused on optimizing the ionizable lipid and, secondarily, the PEG–lipid
                       and the ratios of the four lipids used in the LNP, as well as the LNP assembly and manufac-
                       turing procedure. An optimal number of unsaturated bonds in the C18 tail were found
                       to be providing a dilinoleic acid tail linked by ethers to a dimethylamine headgroup [88],
                       in accordance with the molecular shape hypothesis [12,91]. However, the introduction
                       of a single linker to the dilinoleic acid tail, which had an optimized number of carbons
                       from the dimethylamine head group to the linker, resulted in the pKa of the ionizable
                       lipid in the LNP being near 6.4 for the ionizable lipid DLin-MC3-DMA [92,93]. The last
                       step in the optimization was to tune the mole ratios of these lipids to 50/10/38.5/1.5 for
                       MC3/DSPC/Cholesterol/PEG–lipid. Overall, this optimization process from DLin-DMA
                       to DLin-MC3-DMA required more than 300 ionizable lipids to be screened in thousands of




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                       formulations and resulted in a 200-fold increase in potency and a corresponding reduction
                       in the effective dose in order to achieve durable suppression of the target gene >80% and
                       a therapeutic window that permitted the clinical approval of Onpattro™ in 2018 [94,95].
                       This MC3 formulation developed for siRNA is the basis for the subsequent development
                       of LNPs described below (Figure 1), which are now under emergency use after being
                       approved for the delivery of SARS-CoV-2 mRNA vaccines.




                       Figure 1. mRNA lipid nanoparticle structure. Recent studies using cryoelectron microscopy [96],
                       small-angle neutron scattering and small-angle X-ray scattering [89] have shown that the mRNA
                       Lipid nanoparticle includes low copy numbers of mRNA (1–10) and that the mRNA is bound by the
                       ionizable lipid that occupies the central core of the LNP. The polyethylene glycol (PEG) lipid forms
                       the surface of the lipid nanoparticle (LNP), along with DSPC, which is bilayer forming. Cholesterol
                       and the ionizable lipid in charged and uncharged forms can be distributed throughout the LNP.
                       Structural schematics of other delivery systems are available in a recent review [14].

                            Moderna carried out several preclinical [97–99] and clinical studies [97,100] using
                       MC3 in the Onpattro formulation described above in order to deliver nucleoside-modified
                       mRNA-encoded immunogens. MC3 was later identified [42,101] as the ionizable lipid in
                       these studies comparing a new class of ionizable lipids to MC3. This new class includes
                       Lipid H [42], which is the ionizable lipid SM-102 [41] in Moderna’s SARS-CoV-2 product
                       mRNA-1273 (Table 2). Using a nucleoside-modified mRNA-encoded immunogen for the
                       Zika virus, the MC3 LNP was capable of protecting immunocompromised mice lacking
                       type I and II interferon (IFN) signaling against a lethal challenge with one 10 µg dose or two
                       2 µg doses in a prime-boost design [99]. Similar results were obtained in immunocompetent
                       mice pre-administered with an anti-ifnar1 blocking antibody to create a lethal model. In a
                       series of influenza studies delivering nucleoside-modified mRNA-encoding hemagglutinin
                       (HA) immunogens, the MC3 LNP delivered intradermally was capable of fully protecting
                       mice against a lethal challenge with a single dose as low 0.4 µg, although post-challenge
                       weight loss occurred even when up to 10 µg of a single dose was administered [97]. A single
                       dose of 50 µg or 100 µg produced high HAI (hemagglutination inhibition assay) titers
                       in ferrets, as did two doses of 200 or 400 µg in non-human primates. In a small number
                       (23) of human subjects who received 100 µg doses, all had HAI titers >40 (the WHO
                       correlate of protection) that were more than fourfold above the baseline at the beginning
                       of the study. In a larger phase 1 trial using these same MC3 LNPs delivering two distinct
                       nucleoside-modified mRNA-encoded HA immunogens, intramuscular injection of 100 µg
                       of the H10N8 immunogen resulted in 100% of the 23 subjects having HAI titers >40 [100].
                       Although no life-threatening adverse events occurred, 3 of these 23 subjects experienced
                       severe grade 3 adverse events. A planned 400 µg dose was discontinued after two of three



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                                  subjects experienced grade 3 adverse events, which met the study pause rules. At lower
                                  doses, the frequency and severity of adverse events diminished, although nearly every
                                  subject experienced at least one adverse event. These studies were promising, but also
                                  highlighted the relatively narrow therapeutic window to obtain protective immunizations
                                  at doses that do not cause a problematic number of adverse events. This is reminiscent
                                  of the narrow therapeutic window of the MC3 precursor, DLin-DMA, which needed an
                                  improved potency in order to lower the dose and still achieve efficacious gene knockdown.

      Table 2. Ionizable lipids used in lipid nanoparticles. A key feature of the ionizable lipids used in lipid nanoparticles is
      that the pKa of the ionizable lipid in the LNP, as measured by the TNS dye-binding assay, should be in the range of 6–7.
      The theoretically calculated pKa of most of the ionizable groups is in the range of 8–9.5, as shown below on the nitrogen
      atoms, using commercial software that theoretically estimates these values in aqueous media. The 2–3 point drop in pKa
      from the theoretical value to the TNS value is due to the much higher energy of solvation of protons in the lipid phase,
      creating a pH increase of 2–3 points in the lipid compared to the aqueous phase, where pH is measured during the TNS
      assay [102].

 Name                                  Ionizable Lipid Structure and Theoretical pKas                                   TNS pKa

 MC3 [92]                                                                                                               6.4



 Lipid 319 [68]                                                                                                         6.38




 C12-200 [103]                                                                                                          6.96




 5A2-SC8 [104]                                                                                                          6.67




 306Oi10 [105]                                                                                                          6.4




 Moderna Lipid 5 [101]                                                                                                  6.56




 Moderna Lipid H, SM-102 [42]                                                                                           6.75




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                                                    Table 2. Cont.

 Name                            Ionizable Lipid Structure and Theoretical pKas                              TNS pKa



 Acuitas A9 [59]                                                                                             6.27




 Acuitas
                                                                                                             6.09
 ALC-0315 [47]




 Arcturus Lipid 2,2 (8,8)
                                                                                                             6.69
 4C CH3 [57]




 Genevant CL1[61]                                                                                            NA



                                  Since siRNA products require repeated dosing for chronic diseases, there was a con-
                            cern that the slow degradability of the dilinoleic alkyl tail in MC3 would cause accumulation
                            and potential toxicity with repeated dosing. A biodegradable version of MC3, Lipid 319
                            (Table 2), was generated by replacing one of the two double bonds in each alkyl chain with
                            a primary ester that can be easily degraded by esterases in vivo [68]. A half-life of less than
                            an hour in the liver was noted for Lipid 319, while it maintained a gene silencing efficiency
                            in the liver that was similar to MC3. The degradation products were confirmed in vivo,
                            as well as their secretion and the nontoxic nature of Lipid 319. This study of Lipid 319 is
                            cited in the preclinical and clinical studies for SARS-CoV-2 as representing the Acuitas
                            LNP class used in the BioNTech [49] and CureVac [53,69] products, although the Acuitas
                            LNP delivering the self-amplifying RNA in the Imperial College London trial [60] is cited
                            as having been contained in a more recent patent application [59], represented here by
                            Lipid A9 from Acuitas (Table 2). Recently, the identity of the Acuitas ionizable lipid in
                            BioNTech’s approved BNT162b2 was disclosed [40] as ALC-0315 (Table 2). An important
                            aspect of these LNPs is that they were developed by screening mRNA expression in the
                            liver following IV administration and may not yet be fully optimized for the intramuscular
                            administration of mRNA-based vaccines.
                                  Moderna recently developed a new class of ionizable lipids to replace MC3, primarily
                            due to the above-mentioned concerns related to the slow degradability of MC3, but also
                            with the effort of increasing their potency by enabling greater branching than the dilinoleic
                            MC3 alkyl tail [42,101]. This new class of lipids has an ethanolamine ionizable head
                            group, connected to both a single saturated tail containing a primary degradable ester—
                            like that of Maier 2013—and a second saturated tail that branches after seven carbons
                            into two saturated C8 tails using a less degradable secondary ester, as in Lipid 5 [101]
                            (Table 2), optimized for IV administration to the liver, and a similar Lipid H [42] or SM-102,
                            found to be optimal for the intramuscular (IM) administration of vaccines. Increased
                            branching is a common feature pursued by Acuitas, as Lipid A9 has a total of five branched
                            chains [59] (Table 2) vs. three for the Moderna LNPs. Increased branching is believed
                            to create an ionizable lipid with a more cone-shaped structure, so that—when paired
                            with the anionic phospholipid in the endosome—a greater membrane-disrupting ability
                            will occur, following the molecular shape hypothesis outlined several decades ago [12,91].
                            When administered IV, Lipid 5 was not detectable in the liver at 24 h, while MC3 was present



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                       in the liver at 71% of its initial dose, verifying the degradability of Lipid 5. Lipid 5 was
                       three-fold more potent than MC3 in mice for luciferase expression and five-fold more potent
                       in non-human primates for hEPO after IV administration. These increases in potency were
                       consistent with and possibly caused by an increase in endosomal release, with up to 15% of
                       the mRNA in the cell being released from the endosome for Lipid 5 versus 2.5% for MC3,
                       the latter being similar to that previously measured for MC3 using siRNA [106]. However,
                       cell uptake in these endosomal release experiments was fourfold higher for MC3 vs. Lipid
                       5 so that absolute amounts of released mRNA in the cytoplasm were similar for these two
                       LNPs. The same ionizable lipid library was examined in intramuscular administration
                       for vaccines and was similarly found to be degradable and quickly eliminated due to the
                       primary ester and generally to have a 3–6 fold increase in potency in terms of protein
                       expression or immunogenicity compared to MC3 for an influenza nucleoside-modified
                       mRNA encoded immunogen in mice, although immunogenicity in non-human primates
                       was identical to MC3 at a 5 µg prime-boost dose [42]. Lipid H or SM-102 (Table 2) was
                       identified as the optimal candidate and structurally only differs from Lipid 5, identified as
                       optimal for IV administration, by a two-carbon displacement of the primary ester. The pKa
                       of Lipid 5 LNP was 6.56, while that of the Lipid H LNP was 6.68, suggesting that a slight
                       increase in pKa may be beneficial for IM vs. IV administration, although this difference
                       is within the variability of the assay. Histological examination of muscle injection sites in
                       rats indicated that Lipid H LNPs attracted less of a neutrophil- and macrophage-enriched
                       inflammatory infiltrate compared to MC3, which may reduce injection site reactogenicity
                       in human trials [42].

                       5. mRNA Lipid Nanoparticles in the Current SARS-CoV-2 Clinical Trials
                       5.1. BioNTech/Pfizer
                             Acuitas ALC-0315 (Table 2) combined with DSPC, cholesterol and a PEG–lipid is
                       the delivery system in the SARS-COV-2 trials of BioNTech [40]. CureVac and Imperial
                       College London may also use ALC-0315, or possibly A9 (Table 2). BioNTech began devel-
                       oping its SARS-CoV-2 vaccine with four mRNA-encoded immunogens, two of which were
                       nucleoside modified, one unmodified and one self-amplifying. Reports are available for
                       the two nucleoside-modified mRNAs: BNT162b1 is a short ~1 kb sequence encoding the
                       receptor-binding domain of the spike protein, modified by a foldon trimerization domain
                       to increase immunogenicity by multivalent display. The longer 4.3 kb BNT162b2 encodes a
                       diproline-stabilized, full-length, membrane-bound spike protein. BNT162b2 received EU
                       and US emergency approval recently. In a preclinical study, binding antibodies and neu-
                       tralization titers in mice were detectable after a single dose of 0.2, 1, and 5µg of BNT162b2,
                       increasing by an order of magnitude from the lowest to the highest dose and eliciting
                       strong antigen-specific Th1 IFNγ and IL-2 responses in CD4+ and CD8+ splenocytes with
                       very low levels of Th2 cytokines [49]. Draining lymph nodes also contained high numbers
                       of germinal center B cells and elevated counts of CD4+ and CD8+ T follicular helper (Tfh)
                       cells, which were previously identified as partly induced by the LNP alone in mRNA
                       LNP vaccines [33]. In non-human primates, prime-boost doses of either 30 µg or 100 µg
                       elicited binding antibody and neutralization titers that were more than 10 fold those of
                       a human convalescent panel and a strongly Th1-biased T cell response that is believed
                       to be important to protect against vaccine-associated enhanced respiratory disease [107].
                       In a limited number (6) of challenged rhesus macaques, two doses of 100 µg rendered
                       undetectable viral titers in bronchoalveolar lavage and from nasal swabs. A phase 1 clinical
                       trial for the smaller mRNA-encoded immunogen BNT162b1 planned 10, 30 and 100 µg
                       doses on day 1 and day 21. The intermediate dose of 30 µg induced antibody binding
                       and neutralization titers that were 30-fold and threefold higher than those of a human
                       convalescent panel, respectively. The 100 µg dose was not administered for the boost
                       due to the presence of severe injection site pain after the first dose. Injection site pain
                       was reported by 100% of subjects with the 30 µg boost, but at mild or moderate severity.
                       Following the second vaccination at the 30 µg dose, nearly all subjects experienced mild or




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                       moderate systemic adverse events of fever, chills or fatigue. This trial also demonstrated
                       strong Th1-biased T cell responses from peripheral blood mononuclear cells [50]. A phase
                       2 trial compared both BNT162b1 and BNT162b2 in groups of younger (18–55 y) and older
                       (65–85 y) subjects [51]. Binding and neutralizing antibody titers were slightly lower in the
                       older subjects, but still exceeded those in a convalescent panel. The severity of adverse
                       reactions was also reduced in the older versus younger subjects. A significant reduction
                       by ~twofold in the frequency of systemic adverse events (fever, chills, fatigue) was found
                       in BNT162b2 versus BNT162b1. It was this increase in the tolerability of BNT162b2 that
                       drove its selection for the phase 3 trial, where a 94% effectiveness was recently announced,
                       since 162 COVID-19 cases occurred in the placebo arm, while only 8 cases were found in
                       the vaccinated group that received two 30 µg doses of BNT162b2 [3].

                       5.2. Moderna
                             The nucleoside-modified mRNA encoded immunogen in Moderna’s studies is a
                       transmembrane-anchored diproline-stabilized prefusion spike with a native furin cleavage
                       site and is delivered in an LNP that follows the prototype MC3 LNP, but replaces MC3 with
                       Lipid H (SM-102) [41,42]. This mRNA LNP (mRNA-1273) induced neutralizing antibodies
                       in several mouse species when injected at 1 and 21 days with a 1µg dose, but not at a
                       0.1 µg dose [44]. The T cell response appeared to be a balanced Th1/Th2 response and
                       viral titers in mice lungs and nasal turbinates in a mouse-adapted virus challenge model
                       were reduced to baseline with two doses of 1 µg, but not with 0.1 µg. In rhesus macaques,
                       2 doses of 100 µg produced high binding and neutralizing titers and a Th1-biased response
                       in peripheral blood that also involved a strong Tfh response [45]. Titers and T cell responses
                       were significantly lower with two 10 µg doses. Similarly, the 100 µg dose was capable of
                       reducing viral titers in bronchoalveolar lavages and nasal swabs to baseline, while 10 µg
                       only did so in the lungs. In a phase 1 study with 15 patients per group receiving 2 doses of
                       25, 100 or 250 µg, separated by 4 weeks, binding and neutralization titers were ~10-fold
                       higher than convalescent for the 100 µg dose, and about equivalent to convalescent at
                       25 µg [46]. Solicited adverse events were report by all subjects at the 100 µg and 250 µg
                       doses and 3 of 14 in the 250 µg group reported severe adverse events and were discontinued.
                       In a subsequent phase 1 study in older patients (56–71 y and above 71 y), the 25 µg and
                       100 µg doses were found to produce binding antibody titers above those of convalescent
                       plasma, while neutralizing titers were equivalent at 100 µg, but lower than convalescent
                       at 25 µg [43]. Most patients (~80%) still experienced adverse events after the second
                       vaccination, even in the older age group. Analyses of peripheral blood showed a CD4 T cell
                       response that was Th1 biased. The higher neutralization titers for the 100 µg dose vs. the
                       25 µg dose resulted in its selection for the phase 3 trial, where interim results announced a
                       94.5% efficacy with 90 cases of COVID-19 in the placebo group versus five in the vaccinated
                       group [2]. An independent board conducted an interim analysis of Moderna’s phase 3 trial
                       and found that severe adverse events included fatigue in 9.7% of participants, muscle pain
                       in 8.9%, joint pain in 5.2%, and headache in 4.5%, while, in the Pfizer/BioNTech phase
                       3 trial, the frequency was lower with fatigue at 3.8% and headache 2% [108].

                       5.3. CureVac
                            The CureVac mRNA LNP (CVnCoV) is a non-chemically modified, sequence-engineered
                       mRNA encoding a diproline stabilized full-length S protein delivered in an Acuitas LNP,
                       possibly using the ionizable lipid ALC-0315. The number of weeks between two doses was
                       examined ranging, from 1 to 4 when using 2 µg doses in mice, where it was found that
                       the longer intervals produced higher titers and T cell responses and a balanced Th1/Th2
                       response in Balb/c mice [53]. The second dose was required to produce neutralizing
                       antibodies and two doses of 0.25 µg were insufficient to produce neutralizing antibodies.
                       In Syrian golden hamsters, two 10 µg doses (but not 2 µg) were able to reduce viral titers in
                       the lungs (but not nasal turbinates) to baseline. In a phase 1 clinical trial examining 2–12 µg
                       doses, neutralizing titers reaching the levels of convalescent sera were only found at the




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                       highest 12 µg dose, resulting in higher doses of 16 and 20 µg being included in the ongoing
                       phase 2 trial [52]. All patients at the 12 µg dose experienced systemic adverse events after
                       each dose, the majority being moderate and severe, while >80% experienced local injection
                       site pain at the mild and moderate levels.

                       5.4. TranslateBio
                            Translate Bio uses a non-modified mRNA encoding a double mutant form of the
                       diproline stabilized spike protein delivered in an LNP that is cited as being based on the
                       ionizable lipid C12-200 [109], but may be a more recently synthesized candidate from the
                       ICE- [110] or cysteine-based [55] ionizable lipid families. In Balb/c mice, two doses in the
                       range of 0.2–10 µg resulted in binding and neutralization titers well above convalescent
                       levels. In non-human primates 15, 45 and 135 µg doses all generated titers exceeding the
                       human convalescent panel [56]. The immune response was also Th1 biased.

                       5.5. Arcturus
                             Arcturus uses a self-amplifying, full-length, unmodified mRNA encoding a pre-fusion
                       SARS-CoV-2 full-length spike protein in an LNP that uses an ionizable lipid with a thioester
                       to link the amine-bearing headgroup to lipid tails via two additional ester groups. Two pos-
                       sible ionizable lipids in this family are Lipid 10a (in Table 4 of [111]) or Lipid 2,2 (8,8) 4C
                       CH3 (on p. 33 of [57]) (Table 2). The latter has three branches, resembling the Moderna Lipid
                       H, but with a degradable thioester linked to the headgroup. A feature of self-amplifying
                       mRNA was observed where luciferase reporter expression was maintained at a fairly con-
                       stant level beyond one week of IM administration, while conventional mRNA expression
                       fell quickly [58]. The vaccination alone surprisingly produced weight loss and increased
                       clinical scores in C57BL/6 mice. Only a single dose at 2 µg or 10 µg (but not 0.2 µg) in
                       mice was required to reach neutralization titers above 100 in a Th1-biased response with
                       high levels of antigen-specific T cell responses. A single dose of 2 µg or 10 µg was also
                       100% protective in the K18-hACE2 lethal mouse challenge model, generating 100% survival
                       with no weight loss and a reduction in lung and brain viral titers to baseline. Arcturus has
                       completed a phase 1 clinical trial with doses from 1–10 µg and has chosen 7.5 µg for its
                       phase 3 trial [112].

                       5.6. Imperial College London
                             Imperial College London uses a self-amplifying mRNA-encoded prefusion-stabilized
                       spike protein delivered in an Acuitas LNP, which is described in the patent [59] represented
                       by Lipid A9 [60] (Table 2). Remarkably high and dose-dependent antibody and neutralizing
                       titers were obtained after two injections of doses in the range 0.01 µg to 10 µg in Balb/c
                       mice. The response was strongly Th1 biased and the 10 and 1 µg doses produced threefold
                       higher antigen-specific splenocyte responses compared to the lower 0.1 and 0.01 µg doses.
                       A phase 1 clinical trial is about to start for this vaccine.

                       5.7. Chulalongkorn University, University of Pennsylvania
                           Chulalongkorn University, in collaboration with the University of Pennsylvania, is
                       developing a native spike immunogen nucleoside-modified mRNA LNP using a Genevant
                       LNP, likely CL1 Lipid [61]. They aim to begin phase 1 clinical trials in Q1 of 2021 and
                       begin distribution of the vaccine in Q4 of 2021 to Thailand and seven surrounding low to
                       moderate income countries.




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                       5.8. Providence Therapeutics
                            Providence therapeutics was granted a Health Canada notice of authorization to
                       pursue human clinical trials for the PTX-COVID-19B mRNA LNP vaccine [113]. Preclinical
                       studies of three mRNA candidates encoding the receptor-binding domain, the full-length
                       spike with or without a mutation in the furin cleavage site, were administered at a dose
                       of 20 µg in C57BL6 mice following a prime-boost regimen [114]. Preclinical data using
                       an undisclosed lipid from Genevant, possibly similar to CL1 In Table 2, showed robust
                       neutralization titers for the full length and the furin-mutated payloads, reminiscent of
                       the data observed in [115]. Phase 1 clinical trials are scheduled to begin in Q1 of 2021,
                       with manufacturing and distribution of the vaccine—pending regulatory approval—in the
                       same year.

                       5.9. Storage and Distribution
                            Most RNA LNPs made in the laboratory are stable at 4 ◦ C for several days, but then
                       exhibit size increases and a gradual loss of bioactivity, such as luciferase expression [116].
                       A size increase over time from LNP aggregation has been commonly observed in previous
                       siRNA LNP formulations [117]. In order to stabilize mRNA LNP vaccines for storage and
                       distribution, a frozen format has been required to date. The Moderna COVID-19 vaccine
                       needs to be stored from −25 ◦ C to −15 ◦ C, but is also stable between 2 ◦ C and 8 ◦ C for
                       up to 30 days and between 8 ◦ C and 25 ◦ C for up to 12 h [118]. The Pfizer/BioNTech
                       COVID-19 vaccine needs to be stored from −80 ◦ C to −60 ◦ C and then thawed and stored
                       from 2 ◦ C to 8 ◦ C for up to 5 days prior to dilution with saline before injection [119].
                       The dry ice temperatures required for the Pfizer vaccine are more difficult to achieve during
                       distribution and storage than the regular freezer temperature required by the Moderna
                       vaccine. The reasons behind these temperature differences are not obvious since both
                       vaccines contain similar high concentrations of sucrose as a cryoprotectant. The Moderna
                       mRNA LNPs are frozen in two buffers, Tris and acetate [41], while the Pfizer/BioNTech
                       vaccine only uses a phosphate buffer [40]. Phosphate buffers are known to be suboptimal
                       for freezing due to their propensity to precipitate and cause abrupt pH changes upon
                       the onset of ice crystallization [120,121]. Lyophilization has been challenging for mRNA
                       LNPs [116]. However, Arcturus has stated that their COVID-19 mRNA vaccine is stable in
                       a lyophilized format, which would presumably greatly simplify distribution, although the
                       temperature stability of this lyophilized formulation has not yet been disclosed [122].

                       6. Lipidoid Nanoparticles
                            A number of lipid-like entities, termed lipidoids, were initially developed for siRNA
                       delivery and subsequently used for mRNA delivery. One example is C12-200 (Table 2),
                       which was selected from a large lipidoid family due to its high efficiency in hepatocyte gene
                       silencing via IV administration [123]. For efficient liver-directed gene silencing, C12-200
                       was combined with the same lipids as the MC3 Onpattro prototype, namely 50% ionizable
                       lipid, 10% DSPC, 38.5% cholesterol and 1.5% PEG–lipid. A later study found that the
                       C12-200 delivery efficiency for mRNA to the same liver target could be increased sevenfold
                       by reducing the percentage of ionizable lipid to 35%, but increasing the weight ratio of
                       ionizable lipid to nucleic acid from 5 to 10 and replacing DSPC with the fusogenic unsatu-
                       rated DOPE [103]. Interestingly, this optimized formulation increased mRNA expression
                       sevenfold, but did not change the silencing efficiency for siRNA. C12-200, in this formu-
                       lation, has also been studied for mRNA-mediated protein replacement therapy in mice
                       and nonhuman primates [124], but was seen to generate a strong inflammatory response
                       by histology when injected subcutaneously [109]. C12-200 is a small molecule dendrimer
                       with five alkyl chains and five nitrogen atoms, three of which appear to be protonatable,
                       according to ionization analyses that can be performed with commercial software such
                       as ACDLabs Percepta (Table 2). Another dendrimer lipidoid, 5A2-SC8, was identified
                       for high siRNA delivery efficiency to the liver in a separate screening process, and also
                       has five nitrogen atoms and five short alkyl chains [125] (Table 2). The 5A2-SC8 lipidoid




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                       had poor efficiency for mRNA delivery unless its formulation parameters were similarly
                       changed by lowering the ionizable lipid mole fraction to 24%, using DOPE instead of DSPC,
                       and increasing the other lipid proportions, but, at the same time, increasing the weight ratio
                       of 5A2-SC8 to mRNA to 20 [104]. These formulation changes appear to be needed for these
                       dendrimer-type lipidoids to be effective mRNA delivery vehicles, possibly since they have
                       multiprotic head groups and a dendrimer structure. Another very high molecular weight
                       modified dendrimer was used to deliver self-amplifying mRNA encoding immunogens for
                       influenza, Ebola and toxoplasma gondii and was shown to be protective against all three
                       pathogens in mice after a single, very high dose of 40 µg or prime-boost 4 µg injections,
                       which is also a high dose for replicating RNA [126]. An interesting recent finding for a
                       series of lipidoids was that an additional single carbon branch at the terminus of each of
                       the four alkyl chains of this small, three-nitrogen dendrimer increased the potency of liver
                       expression more than 10-fold compared to other lipidoids in this class [105]. There was no
                       correlation of this increased potency with the LNP pKa, but there was a correlation with
                       the absolute fluorescence of the TNS dye at pH 5, which indicates that the amplitude of
                       protonation in the endosome correlates to mRNA expression, presumably by facilitating
                       endosomal release. The additional carbon branch could also be expected to produce a more
                       cone-shaped structure and thereby more membrane disruption according to the molecular
                       shape hypothesis [12,91].

                       7. Intranasal Delivery of mRNA Lipid Nanoparticles
                             For mRNA vaccines, the vast majority of studies and all current clinical trials have
                       used intramuscular administration, while intradermal administration has also been stud-
                       ied, usually in parallel with the intramuscular route. Although not highly developed to
                       date, intranasal administration of vaccines presents advantages such as the activation
                       of mucosal immunity, which is very relevant for respiratory pathogens, and a reduced
                       reliance on needle-based immunizations. The MC3 LNP has been used to deliver a 4.5 kb
                       nucleoside-modified sequence encoding the cystic fibrosis transmembrane conductance
                       regulator (CFTR) to mice [127]. A luciferase reporter was successfully expressed in the
                       lungs by pipetting a 12 µg dose into the nostrils for spontaneous inhalation. Then, in a trans-
                       genic CFTR knockout mouse, application of CFTR mRNA LNPs restored CFTR-mediated
                       chloride secretion to conductive airway epithelia for at least 14 days. MC3 LNPs were
                       used again in a subsequent study of delivery to the nasal epithelium by using a luciferase
                       reporter. Here, the use of a nebulizer to create an aerosol using the LNPs was examined;
                       however, aerosolization resulted in LNP aggregation, doubling their size to 170 nm and
                       resulting in a loss of transfection activity in vitro [128]. As a result, the researchers decided
                       to instill the LNPs into the nostrils and found the luciferase reporter mainly expressed in
                       nasal epithelia, with some additional transfection in lung epithelia. This study highlighted
                       the delivery challenges of obtaining uniform and high levels of mRNA transfection in
                       nasal and lung epithelia. Intranasal delivery of mRNA LNPs was also achieved using the
                       older DOTAP/cholesterol/PEG–lipid system combined with protamine to encapsulate
                       non-modified mRNA-expressing cytokeratin 19 in order to provoke a cellular immune
                       response and slow tumor growth in a Lewis lung cancer xenograft model in mice [129].
                       These LNPs were large, 170 nm in size, and cationic, with 10 mV zeta potential and the
                       ability to transfect 30% of DC2.4 dendritic cells in vitro. Once the xenograft tumor was
                       established, 10 µg of cytokeratin 14-encoding mRNA LNPs was intranasally instilled in
                       100 µL PBS once per week for 3 weeks, resulting in a very significant reduction in tumor
                       volume growth compared to the PBS control. A nucleoside-modified mRNA encoding the
                       influenza antigen H3N2-HA was delivered in another study using DOTAP/DOPE/PEG–
                       lipid LNPs, as well as in the same LNP-bearing mannose as a ligand to facilitate uptake by
                       macrophages and dendritic cells [130]. These LNPs were also large, at 200 nm, positively
                       charged, at 15 mV zeta potential, and able to express luciferase in the lungs following
                       intranasal instillation of a 12 µg dose. Two 12 µg doses of the H3N2-HA LNPs were instilled
                       intranasally at weeks 0 and 3 in C57BL/6 mice that were subsequently challenged with a




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                       lethal dose of H1N1. Both LNPs containing the mRNA-encoded immunogen were capable
                       of complete protection, while the mannose-coated LNP appeared more able to also block
                       weight loss. Intranasal administration of LNPs appears feasible, although the doses were
                       higher than those reported for intramuscular administration and the method of installation
                       or aerosolization still requires further development.

                       8. Delivery of mRNA LNPs Encoding Antibodies
                             More than 70 monoclonal antibodies (mAbs) are currently on the market, with global
                       sales of 125 billion USD. The possibility of using mRNA-encoded antibodies may bring
                       some advantages, including endogenous protein synthesis benefiting from native post-
                       translation modifications and a simplified manufacturing method that does not require
                       cell culture and extensive purification and characterization of the protein product [8].
                       The feasibility of delivering mRNA-encoded mAbs for passive immunization was shown
                       by the encapsulation of purified nucleoside-modified mRNAs encoding the light and heavy
                       chains of VRC01, a broadly neutralizing antibody against HIV-1, into Acuitas LNPs [131].
                       Balb/c mice receiving a 30 µg dose IV that would target hepatocytes expressed the mAbs
                       for more than a week, with serum levels reaching 150 µg/mL, which was higher than
                       that obtained by direct injection of 600 µg of the mAb, with weekly injections capable of
                       maintaining a constant serum level above 40 µg/mL. Both a 30 µg and a 15 µg injection
                       of the mRNA LNP could protect CD34-NSG humanized mice from an HIV-1 challenge
                       given 24 h later, as indicated by analyses of serum for viral RNA copies 2 weeks post
                       challenge. The feasibility of therapeutic non-modified mRNA-encoded antibodies was
                       confirmed in a study by CureVac, also using Acuitas LNPs [25], where an IgG mAb
                       with broad neutralization ability for a variety of rabies strains was chosen, as well as
                       a heavy chain-only Vh domain-based (VHH) neutralizing agent against the botulinum
                       toxin [132]. An mRNA-encoded rituximab, targeting CD20, the gold standard for treating
                       non-Hodgkin’s lymphoma, was also produced. The animal studies here used an Acuitas
                       LNP that targeted hepatocytes by IV administration. A single administration of 40 µg
                       in mice produced serum levels of IgG just above 10 µg/mL, which gradually declined
                       to 1 µg/mL after 1 month. The same dose of the VHH single-domain neutralizing agent
                       produced 10-fold higher levels, but with a much shorter half-life of several days due to
                       the absence of the Fc region. Single IV administration of 40 µg in mice was also able to
                       entirely protect mice when administered either 1 day before or 2 h after a lethal challenge
                       of the rabies virus. Similarly, a 40 µg dose 6 h after a lethal botulinum toxin challenge
                       entirely protected the animals. A third challenge model, where Raji-luc2 B-cell lymphoma
                       cells were engrafted intravenously and allowed to grow for 4 days and then 10 or 50 µg of
                       mRNA-encoded rituximab in the Acuitas LNP was administered five times over 18 days,
                       resulted in all animals surviving this lethal tumor challenge and the 50 µg dose was able to
                       entirely abrogate tumor growth.
                             Bispecific antibodies that recruit T cells to tumor cells were also encoded in modified
                       mRNA constructs and delivered in vivo using a commercial transfection reagent, TransIT,
                       which is not as efficient as current LNPs for liver delivery [133]. The mRNA construct
                       could sustain circulating and bioactive bispecific antibodies for more than 6 days, while the
                       same 5 µg dose of the protein-bispecific antibody was reduced to near baseline after one
                       day. A second study was also carried out using bispecific antibodies in the VHH format,
                       where one VHH that binds the conserved influenza A matrix protein 2 ectodomain (M2e)
                       was genetically linked to a second VHH that specifically binds to the mouse Fcγ receptor
                       IV (FcγRIV) in order to recruit innate immune cells expressing FcγRIV to influenza infected
                       cells expressing M2e [134]. These nucleoside-modified mRNA constructs were delivered
                       using DOTAP/cholesterol LNPs by intratracheal instillation into the mouse lung and,
                       4 h later, challenged with a lethal influenza virus dose. Most of the mice (80%) were
                       protected from the lethal dose, although they did experience significant weight loss and the
                       DOTAP/cholesterol mRNA nanoparticles resulted in a temporary influx of granulocytes
                       in the lungs, combined with an increase in serum IL-6 cytokine levels. Finally, a potent




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                       neutralizing antibody identified in the B cells of a survivor of chikungunya infection
                       was encoded in a nucleoside-modified mRNA construct delivered in an LNP possibly
                       containing MC3 or Lipid 5 [135]. Protection against viral challenge administrated 24 h
                       pre-infusion in mice was achieved at 0.5 mg/kg (10 µg) IV for the mRNA-encoded mAb,
                       while 2 mg/kg of the protein mAb was needed. Therapeutic protection by infusion at 4 h
                       post infection was obtained at very high doses of 10 mg/kg (200 µg) in mice. Non-human
                       primate studies found that very high doses up to 3 mg/kg (9 mg) produced minimal
                       transient toxicity involving splenic enlargement and increased CCL2 serum levels, and the
                       antibody was detectable for several months post infusion. Based on these results, Moderna
                       initiated a phase 1 human trial and announced positive results where infusions of 0.1 and
                       0.3 mg/kg were well tolerated and resulted in serum levels of the mAb in the 1–14 µg/mL
                       range that are expected to be protective against chikungunya virus for up to 16 weeks after
                       a single dose [136].

                       9. Assembly and Structure of Lipid Nanoparticles
                             The current methods of mRNA lipid nanoparticle production utilize microfluidic or
                       T-junction mixing to rapidly combine an ethanol phase containing the hydrophobic lipids
                       and an aqueous phase that contains the mRNA in a buffer, such as acetic acid, at pH 4
                       (Figure 2). Prior methods, such as thin film hydration and ethanol injection, are generally
                       not used since they result in heterogeneous larger-sized nanoparticles with lower mRNA
                       encapsulation efficiency, which are difficult to scale up [95]. Microfluidic mixing has the
                       advantage of being able to mix very small volumes of lipids in ethanol with mRNA in
                       aqueous solutions (tens of µL) so that the screening of many components and formulation
                       parameters is possible. T-mixing, on the other hand, is the general method of choice for the
                       commercial production of large batches of mRNA LNPs, such as those in current clinical
                       trials. A recent publication demonstrated that both methods result in LNPs of similar sizes
                       and morphologies [96]. The rapid mixing of the two solutions is key in order to limit the
                       resultant particle size to <100 nm, thus obviating the need for the size reduction methods
                       (extrusion, sonication) required by other production methods [137]. The assembly and
                       formation of the LNPs from these solutions is driven by both hydrophobic and electro-
                       static forces, as depicted in Figure 2. The four lipids (ionizable lipid, DSPC, cholesterol,
                       PEG–lipid) are initially soluble in ethanol without any counterions present so that the
                       ionizable lipid is unprotonated and electrically neutral (Figure 2A). One volume of the
                       lipid-containing ethanol solution is typically mixed with three volumes of mRNA in a pH
                       = 4 aqueous acetate buffer so that when the lipids contact the aqueous buffer they become
                       insoluble in a 3:1 water/ethanol solvent and the ionizable lipid becomes protonated and
                       positively charged, which then drives it to electrostatically bind to the negatively charged
                       phosphate backbone of the mRNA (Figure 2B), while the lipids become insoluble, forming
                       a lipid particle encapsulating the mRNA in a primarily aqueous suspension. A key compo-
                       nent in this process is the PEG–lipid, since the PEG chain is hydrophilic and thereby coats
                       the particle and also determines its final thermodynamically stable size. By changing the
                       mole fraction of PEG, the LNP size can be predictably controlled, for example, from 100 nm
                       at a 0.5% mole fraction to 43 nm at a 3% mole fraction of PEG–lipid [89]. A recent critically
                       important observation was that LNP structure and size continue to evolve post-mixing
                       when the mRNA LNP suspension is either diluted in aqueous buffer or dialyzed against
                       an aqueous buffer to both raise the pH and eliminate ethanol [96]. The initial mixing of
                       aqueous and lipid phases produces a pH near 5.5, protonating the ionizable lipid, which
                       has an LNP pKa of near 6.5 and allows mRNA binding and encapsulation (Figure 2B,C).
                       Subsequent raising of the pH by dilution, dialysis or tangential flow filtration neutralizes
                       the ionizable lipid until it is mainly uncharged at pH 7.4 (Figure 2D). As the ionizable lipid
                       becomes neutral, it also becomes less soluble, resulting in the formation of larger hydropho-
                       bic lipid domains that drive the fusion process of the LNPs so that their size increases and
                       the core of the LNP becomes an amorphous electron-dense phase, mainly containing the
                       ionizable lipid bound to the mRNA. It was estimated that as many as 36 vesicles could fuse




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                                   to form just one final LNP during this process (Figure 2C,D). The fusion was demonstrated
                                   using FRET pairs and the role of the PEG–lipid was further seen to occur during this
                                   process since adding the PEG–lipid after mixing controlled the final LNP size in the same
                                   way as adding the PEG–lipid before mixing [138]. This study and another study using
                                   neutron scattering methods have also shown that DSPC forms a bilayer just underneath the
                                   peripheral PEG layer in the LNP, whose central core is primarily the ionizable lipid bound
                                   to mRNA (Figure 2D). Cholesterol is thought to be distributed throughout the LNP [89].




      Figure 2. mRNA lipid nanoparticle assembly is achieved by (A) rapid mixing in a microfluidic or T-junction mixer of four
      lipids (ionizable lipid, DSPC, cholesterol, PEG–lipid) in ethanol with mRNA in an aqueous buffer near pH4. (B) When the
      ionizable lipid meets the aqueous phase, it becomes protonated at a pH ~5.5, which is intermediate between the pKa of the
      buffer and that of the ionizable lipid. (C) The ionizable lipid then electrostatically binds the anionic phosphate backbone of
      the mRNA while it experiences hydrophobicity in the aqueous phase, driving vesicle formation and mRNA encapsulation.
      (D) After initial vesicle formation, the pH is raised by dilution, dialysis or filtration, which results in the neutralization of
      the ionizable lipid, rendering it more hydrophobic and thereby driving vesicles to fuse and causing the further sequestration
      of the ionizable lipid with mRNA into the interior of the solid lipid nanoparticles. The PEG–lipid content stops the fusion
      process by providing the LNP with a hydrophilic exterior, determining its thermodynamically stable size, and the bilayer
      forming DSPC is present just underneath this PEG–lipid layer.




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                       10. Determinants of Performance of mRNA Delivery Systems for Vaccines
                             The determinants of performance for mRNA delivery systems are multifactorial and
                       interacting and include: (1) their potency or ability to deliver to the appropriate cell and
                       efficiently release mRNA to the cytoplasmic translational machinery; (2) their adjuvanticity,
                       which can boost the immune response; and (3) the minimization of any contribution to
                       adverse events or toxicity that could arise from excessive inflammation at the injection site
                       or systemic distribution and off-target expression.

                       10.1. Dose
                            The potency of mRNA delivery systems is most easily appreciated by the large range
                       of doses that are currently being pursued in SARS-CoV-2 clinical trials, from 1 to 100 µg
                       (Table 1). Doses in human trials are clearly grouped into the higher 30–100 µg doses for
                       nucleoside-modified RNA (Moderna, BioNTech), lower 7.5–20 µg doses for unmodified
                       RNA (CureVac, Translate Bio), and even lower 1–10 µg doses for self-amplifying RNA
                       (Arcturus, Imperial College of London). Two factors are at play in determining these
                       doses: the level of neutralizing antibody titers and T cell responses achieved versus
                       convalescent plasma, and the frequency and severity of adverse events incurred at each
                       dose. There appears to be a fairly narrow window of acceptance where the doses required
                       to achieve protection are also close to generating an unacceptable frequency and severity
                       of adverse events, as evidenced by the discontinuation of the highest doses tested in
                       all phase 1 clinical trials. Both modified nucleoside constructs tested in the BioNTech
                       phase 1 trials had high neutralizing titers versus convalescent plasma, while the larger
                       construct encoding the membrane-bound full-length spike protein had a lower frequency
                       and severity of adverse events, leading to its selection for the phase 3 study. Notably, dose is
                       represented as mass, while the molar dose is dependent on the length of the construct and,
                       furthermore, the amount of mRNA actually being translated is a small fraction of either,
                       depending on the efficiency and targeting properties of the delivery system.
                            In animal studies of prophylactic mRNA vaccines for infectious diseases, the initial
                       doses capable of producing neutralizing antibodies or protection against viral challenge
                       were quite high in the 10–80 µg range for mice when using protamine, dendrimers and
                       early cationic lipid systems (Table 3). When the more recent LNPs were subsequently
                       used, the dose required for neutralization in mice was considerably reduced to near the
                       1 µg level when given twice, while for non-modified mRNA the dose appears to be lower,
                       near 0.25 µg. The dose can be lower again for self-amplifying mRNA, such as 0.1 µg given
                       twice or 2 µg given once. In larger animal models (hamster, ferret and non-human primate),
                       fewer studies are available and the doses fall into a wide range of 5 µg to 200 µg with no
                       apparent pattern. Interestingly, when using body surface area to convert human doses to
                       animal doses, a 100 µg dose for a 60 kg human would be equivalent to a 15 µg dose in a
                       3 kg rhesus macaque and to a 0.4 µg dose in a 20 g mouse [139], numbers that approximate
                       those of LNPs in Tables 1 and 3. The delivery system clearly plays an important role in
                       determining the effective dose. There is a strong desire to improve delivery efficiency in
                       order to reduce dose and maintain potency since this is expected to reduce adverse event
                       frequency and severity by reducing the local reactions and off-target effects of the mRNA
                       and of the delivery vehicle. Reducing the dose will also lower the amount of raw material
                       needed and the cost associated with vaccinating each individual. In particular, the current
                       COVID-19 pandemic has brought into focus some significant supply chain and production
                       capacity limitations of mRNA LNP vaccines that could be improved with more efficient
                       delivery systems.




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      Table 3. mRNA doses in in vivo prophylactic vaccination. The mRNA dose required to induce neutralizing antibody titers,
      or the dose that provides protection against viral challenge, is shown for different mRNA delivery systems and in different
      species. The advent of lipid nanoparticles (LNPs) for mRNA delivery reduced the required doses by ~10-fold compared to
      earlier delivery systems.

 Delivery System             mRNA Type                 Species                Dose                  Readout               Reference
 Naked mRNA                  non-modified              mouse                  80 µg twice           protection            [140]
 Naked mRNA                  self-amplifying           mouse                  1.25 µg twice         protection            [140]
 Protamine                   non-modified              mouse                  10 µg twice           neutralizing titers   [66]
 Protamine                   non-modified              mouse                  80 µg twice           protection            [66]

                                                       mouse                  40 µg once or
 Modified Dendrimer          self-amplifying                                  4 µg twice            neutralizing titers   [126]

                                                                              12 µg twice           neutralizing titers
 DOTAP/DOPE/PEG              nucleoside modified       mouse                                                              [130]
                                                                              intranasal            and protection
 Cationic Nanoemulsion       self-amplifying           mouse                  15 µg twice           neutralizing titers   [70]
 Nanostructured              self-amplifying           mouse                  0.1 µg once           neutralizing titers   [71]
 Lipid Carrier
 LNP (Acuitas)               non-modified              mouse                  0.5 µg twice          neutralizing titer    [69]
                                                                              10 µg once or 2 µg
 LNP (MC3)                   nucleoside-modified       mouse                                        protection            [99]
                                                                              twice
 LNP (MC3)                   nucleoside-modified       mouse                  0.4 µg once           protection            [97]
 LNP (Acuitas)               nucleoside-modified       mouse                  0.5 µg once           protection            [141]
 LNP (Acuitas)               nucleoside-modified       mouse                  1 µg twice            neutralizing titers   [49]
                                                                                                    neutralizing titers
 LNP (Moderna)               nucleoside-modified       mouse                  1 µg twice                                  [45]
                                                                                                    and protection
 LNP (Acuitas)               non-modified              mouse                  0.25 µg twice         neutralizing titers   [53]
 LNP (Translate Bio)         non-modified              mouse                  0.2 µg twice          neutralizing titers   [56]
                                                                                                    neutralizing titers
 LNP (Arcturus)              self-amplifying           mouse                  2 µg once                                   [58]
                                                                                                    and protection
 LNP (Acuitas)               self-amplifying           mouse                  0.1 µg twice          neutralizing titers   [60]
 LNP (Acuitas)               non-modified              Syrian Hamster         10 µg twice           protection            [53]
 LNP (MC3)                   nucleoside-modified       ferret                 50 µg once            neutralizing titers   [97]

 Cationic Nanoemulsion       self-amplifying           non-human              75 µg twice           neutralizing titers   [70]
                                                       primate

 LNP (MC3)                   nucleoside-modified       non-human              200 µg twice          neutralizing titers   [97]
                                                       primate
 LNP (MC3 or Moderna                                   non-human              5 µg twice
                             nucleoside-modified                                                    neutralizing titers   [42]
 Lipid H)                                              primate
                                                       non-human              30 µg twice
 LNP (Acuitas)               nucleoside-modified       primate                                      neutralizing titers   [49]

 LNP (Moderna)               nucleoside-modified       non-human              100 µg twice          neutralizing titers   [45]
                                                       primate

 LNP (Translate Bio)         non-modified              non-human              15 µg twice           neutralizing titers   [56]
                                                       primate


                                  10.2. Potency and Delivery Efficiency
                                        There have been many studies that have attempted to identify structure–function
                                  relationships for LNP and other nucleic acid delivery systems. The most commonly cited
                                  feature of the LNP that determines its potency or delivery efficiency is its pKa. The pKa
                                  is the pH at which 50% of the ionizable lipid in the LNP is protonated. To date, the LNP
                                  pKa has only been measured with a dye-binding assay called TNS, which is negatively
                                  charged and experiences fluorescence enhancement upon binding a positively charged
                                  LNP [88]. Fluorescence measurement of LNPs incubated with TNS in buffers covering
                                  a wide range of pH values is used to deduce dye binding to surface charge and the pKa




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                       estimated, where half of the maximal fluorescence is attained. It was well established that
                       the MC3-based Onpattro LNP had an optimal pKa of 6.4 for silencing hepatocytes after IV
                       administration [92]. There was a very sharp optimum in TNS pKa in the range of 6.2–6.8
                       for any LNP to effect hepatocyte silencing. An excellent model for explaining this pKa
                       dependence was based on the ionizable lipid in the LNP being near neutral at pH 7.4 while,
                       after internalization into a cell, the pH of the endosome will begin to drop as it evolves
                       through the endolysosomal pathway, thereby progressively protonating the ionizable lipid,
                       which will then bind to an anionic endogenous phospholipid of the endosome and disrupt
                       its bilayer structure to release the mRNA into the cytoplasm for ribosomal loading [17].
                       Endosomal disruption requires an additional feature of the ionizable lipid, namely a cone-
                       shaped morphology where the cross-section of the lipid tails is larger than that of its head
                       group. This renders the ionizable lipid/endosomal phospholipid ion pair incompatible
                       with a bilayer and more likely to form structures such as inverted hexagonal phases that can
                       disrupt the endosomal membrane. This has been called the molecular shape hypothesis [91]
                       and is the mechanism explaining why the introduction of one or two double bonds into a
                       saturated C18 alkyl chain generates a more cone-shaped and less cylindrical morphology
                       that is membrane disrupting and endosomolytic [88]. These two C18 linoleic acid tails,
                       combined with an appropriately tuned pKa of the dimethylamine headgroup, are the
                       defining features of the MC3 ionizable lipid. The ionizable lipids that have replaced MC3
                       for mRNA delivery conserve the pKa requirement, but pursue greater endosomolytic
                       character by introducing more branching into the alkyl tails. Lipid H and Lipid 5 from
                       Moderna, for example, have three alkyl tails, as does Lipid 2,2 (8,8) 4C CH3 from Arcturus,
                       while Acuitas ALC-0315 has four and A9 has five alkyl tails (Table 2). This augmented cone-
                       shaped morphology is presumably the reason why LNPs that incorporate these ionizable
                       lipids are more efficient delivery vehicles with greater endosomal release.
                             Although LNP pKa and the molecular shape hypothesis are well established as
                       contributing to LNP delivery efficiency, other factors are important as well, such as the
                       stability of the PEG–lipid on the LNP surface, and the proportions of the four lipids in
                       the ethanol solution, which ultimately determine the LNP ultrastructure. The PEG–lipid
                       controls LNP size, as mentioned above, by providing a hydrophilic shell that limits vesicle
                       fusion during assembly so that higher PEG–lipid concentrations produce smaller LNPs.
                       For example, one study showed that varying the mole fraction of the PEG–lipid from 0.25%
                       to 5% reduced the LNP size from 117 nm to 25 nm and that the optimal size for hepatocyte
                       silencing was 78 nm, generated with 2.5% PEG–lipid [142]. Since the alkyl tail of the PEG–
                       lipid had 14 carbons, it was not stably anchored to the LNP surface and was found to be
                       gradually shed from the LNP in circulation, along with the shedding of the ionizable lipid
                       MC3 and DSPC. This PEG shedding is thought to render the LNP transfection competent
                       at some point, but, if too extreme, results in the rapid loss of the ionizable lipid and DSPC,
                       which will negatively impact endosomal release. For example, by extending the alkyl tail
                       to 18 carbons, the PEG–lipid did not shed, but was also not silenced in hepatocytes. On the
                       other hand, adding higher concentrations of PEG to make smaller particles resulted in
                       faster shedding, loss of the ionizable lipid and reduced silencing. The labile and dynamic
                       nature of the LNP is currently only partly understood. Another study also found that an
                       intermediate sized 64 nm diameter LNP made with 1.5% PEG–lipid was more efficient for
                       mRNA delivery than a larger one at 100 nm (0.5% PEG–lipid), as well as a smaller LNP at
                       48 nm (3% PEG–lipid), similar to the study mentioned above [89]. However, by changing
                       the mole ratios of the four lipids in order to conserve a calculated density of DSPC under
                       the PEG layer of the LNP at the optimal value found in the 64 nm 1.5% PEG–lipid LNP,
                       these authors were able to make larger 100 nm LNPs with a twofold increase in mRNA
                       expression compared to the 64 nm-sized LNPs. Thus, in addition to the LNP pKa, ionizable
                       lipid molecular shape and the dynamics of the PEG–lipid, more detailed features of the LNP
                       ultrastructure and the state of each component are also important in determining potency.




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                       10.3. Endosomal Release
                            Cell uptake and endosomal trafficking of siRNA-LNPs were studied in detail and are
                       assumed to be similar to the uptake and endosomal trafficking of mRNA LNPs. With the
                       MC3 LNP, a quantitative study using colloidal gold particle counting in electron mi-
                       croscopy showed that only 2% of siRNA that were in endosomes actually escaped from
                       endosomes into the cytosol, resulting in a few thousand siRNA molecules per cell that
                       were available for silencing [106]. This number was, however, in the same range as the
                       estimated levels of functionally active siRNAs interacting with RISC per cell at therapeuti-
                       cally relevant concentrations. Thus, the vast majority of siRNA was destined for lysosomal
                       degradation or recycling through multivesicular bodies (late endosomes) for release in
                       the exosomes [143,144]. Increasing the endosomolytic behavior of LNPs is the central ap-
                       proach to improving delivery efficiency, mainly through pKa adjustment of the LNP and by
                       increasing the cone-shaped morphology of the ionizable lipid. For the latter, Lipid H [42]
                       and Lipid 5 [101], which contain three branches versus two in MC3, but with similar pKa,
                       increased endosomal release fourfold compared to MC3. Endosomal release has not been
                       reported for Acuitas ALC-0315; however, its hepatocyte silencing efficiency was 10-fold
                       higher than MC3 [47], suggesting its more cone-shaped four-branch structure also had
                       higher endosomal release. These newer generation ionizable lipids therefore appear to
                       achieve a endosomal release, closer to 15% or higher compared to the 2–5% found for
                       MC3 siRNA-LNPs. One of the challenges in this area is the lack of a reliable standardized
                       endosomal release method that can be implemented broadly. Many methods have been
                       developed, but are usually specific to only one lab group [42,101,145–149]. mRNA was also
                       recently shown to undergo exocytosis in an amount that is similar to the amount released
                       into the cytosol [150]. MC3 LNPs disassembled in late endosomes and NP 1 complexes
                       of MC3 and the mRNA were repackaged into exosomes that were exported from the cell.
                       These endo–exosomes maintained an mRNA delivery capacity that was similar to the
                       original MC3 LNPs from which they were derived, but could traffic to different tissues
                       and appeared to be less immune activating. The potential significance of this exosomal
                       redistribution of mRNA delivered by LNPs remains to be explored.

                       10.4. Charge and Ligand Mediated Targeting
                            The early lipid nanoparticles using permanently charged cationic nonionizable lipids
                       were large and, due to their permanent positive charge, were quickly opsonized and
                       generally targeted the lung. The group at BioNTech reduced the amount of cationic DOTMA
                       in DOTMA/DOPE mRNA LNPs until the net charge was negative due to an excess of
                       anionic mRNA at NP ratios of less than one. Injecting these negatively charged and large
                       300 nm mRNA LNPs intravenously led to spleen targeting and mRNA expression in
                       dendritic cells and they were able to mediate adaptive as well as type I IFN-mediated
                       innate immune mechanisms for cancer immunotherapy [151]. Similarly, spleen-targeting
                       mRNA LNPs were produced using the C12-200 prototype LNP, but replacing C12-200 with
                       the small dendritic ionizable lipid Cf-Deg-Lin, which has four linoleic acid alkyl chains and
                       four nitrogen atoms with a TNS pKa of 5.7. This very low pKa of the LNP would ensure that
                       the ionizable lipid was not protonated until it reached a pH below 7, creating an LNP that
                       would bear a net negative charge from the mRNA until quite late in the endosomal pathway
                       and therefore similarly traffic to the spleen [152]. They found that the major cell population
                       in the spleen to express the mRNA were B lymphocytes, where 7% of B lymphocytes
                       were expressed the mRNA according to flow cytometric analyses. More recently, charge-
                       mediated targeting was achieved using three different basic LNPs with MC3, C12-200,
                       or 5A2-SC8 as ionizable lipids mixed in a certain mole fraction of a permanently cationic
                       lipid (DOTAP) or a permanently anionic lipid (18PA) to endow the LNPs with a net positive,
                       net negative or an intermediate near-neutral net charge [153]. Consistent with the above
                       findings, highly positive LNPs targeted the lungs and highly negative LNPs targeted the
                       spleen, while intermediate charge levels predominantly targeted the liver. Liver targeting




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                       has been shown to depend on Apo-E binding to near-neutral liposomes or LNPs [154],
                       which does not occur for negatively charged liposomes [155].
                             Notably, all of the above charge-mediated targeting studies have been done using IV
                       administration and the routes typically used for vaccination, such as the intramuscular
                       or intradermal routes, have not been examined. Most studies that analyze expression
                       after intramuscular injection do, however, detect the systemic trafficking of mRNA LNPs,
                       which are rapidly and strongly expressed in the liver, at the same time as they are expressed
                       in muscle and draining lymph nodes [97,156,157]. These particular LNPs therefore seem to
                       enter the vasculature and are subsequently expressed in liver hepatocytes due to passive
                       ApoE-mediated targeting, which is not surprising since they were designed for hepatocyte
                       targeting. This systemic distribution and expression of immunogens could, however,
                       generate systemic cytokines, complement activation and lead to other potential undesirable
                       effects that could amplify the frequency or severity of adverse events and/or impair
                       immune response generation. Finally, only a limited number of studies have been carried
                       out with ligand-mediated targeting of LNPs. Lung endothelial cell targeting was achieved
                       by conjugating CD31 (PECAM) antibodies to the LNP and injecting intravascularly [158].
                       The liver hepatocyte-directed LNP then became largely redirected to the lung. A similar
                       approach using a VCAM ligand successfully targeted LNPs to inflamed regions of the brain
                       and alleviated TNF-α-induced brain edema [159]. Dendritic cells in vitro were also more
                       efficiently transfected using a mannosylated liposome, which may be a strategy applicable
                       to vaccination [160]. Higher throughput screening methods to identify ligands targeting
                       specific cell types have also been developed and may be applicable for the targeting of
                       specific dendritic cell subsets [161,162].

                       10.5. Adjuvanticity of the Lipid Nanoparticle
                             The lipid nanoparticle is known to have its own adjuvant activity. A study in mice
                       at a 10 µg dose and nonhuman primates at a 100 µg dose of nucleoside-modified mRNA
                       LNPs (from Acuitas) encoding various immunogens showed increased numbers of antigen-
                       specific T follicular helper (Tfh) cells and germinal center B (GC B) cells compared to an
                       inactivated virus [33]. Tfh cells drive immunoglobulin class switch, affinity maturation,
                       and long-term B cell memory and plasma cells. An adjuvant property of the LNP itself
                       was found when an FLuc mRNA LNP was co-administered with a protein subunit HA
                       immunogen and increased germinal center B cell numbers fourfold, although the number
                       of Tfh cells was not increased compared to the protein alone. The LNP thus appears to be
                       amplifying GC B cell responses, in particular to a nucleoside-modified mRNA LNP. Another
                       study using an asymmetric ionizable lipid from Merck investigated the use of LNPs as
                       adjuvants for Hepatitis B protein subunit vaccines [163]. Co-administering LNPs with the
                       protein subunit vaccine enhanced B cell responses to levels comparable to known vaccine
                       adjuvants, including aluminum-based adjuvant, an oligonucleotide and a TLR4 agonist,
                       3-O-deactytaledmonophosphoryl lipid A (MPL). The LNPs elicited potent antigen-specific
                       CD4+ and CD8+ T cell responses and the Th1 vs. Th2 bias could be further influenced by
                       the inclusion of additional adjuvants within the LNP. A follow-up study by this group
                       using a Dengue virus immunogen found a similarly strong adjuvant activity in the LNP
                       and that this activity depended on the presence of the ionizable lipid [164]. The lipid
                       components in liposomes have also been previously recognized as having adjuvant activity
                       in mucosal vaccines [165,166].

                       10.6. Injection Site Reactions, Safety, Tolerability, Reactogenicity of mRNA LNPs
                            A general safety study for MC3 nucleoside-modified mRNA LNPs expressing hEPO
                       via IV administration to liver in rats and non-human primates found mild toxicological
                       events up to 0.3 mg/kg, which is more than 10-fold the expected therapeutic dose [167].
                       The main findings in the rats were increased white blood cell counts, changes in the coagu-
                       lation parameters at all doses, as well as liver injury. Non-human primates showed lympho-
                       cyte depletion accompanied by mild and reversible complement activation. These results




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                       were in line with an earlier toxicological study of the same LNPs for siRNA delivery [168],
                       where rat mortality was noted at 6 mg/kg, while the no observable adverse effect level
                       (NOAEL) was determined to be 1 mg/kg. Above 3 mg/kg elevations to serum chemistry
                       parameters (ALT, AST, and TBIL), hematuria, and microscopic findings in the liver (vac-
                       uolation, inflammatory cell infiltrate, fibrosis, hemorrhage, and hepatocellular necrosis),
                       spleen (lymphoid atrophy and necrosis) and kidney (tubular degeneration/regeneration)
                       were noted. Safety findings in patients included infusion-related reactions (15% of pa-
                       tients, presumably complement mediated) and transient elevations of pro-inflammatory
                       cytokines. Notably, the above doses administered IV, such as 0.3 mg/kg, are more than
                       10-fold higher than those in the current SARS-CoV-2 clinical trials that use IM adminis-
                       tration. Nonetheless, these lower doses in the current human trials still induce a high
                       frequency and sometimes moderate severity of both local injection site reactions and sys-
                       temic adverse events. Currently, there is a paucity of published animal studies regarding
                       correlates of these human adverse events in animals.
                             An extensive rhesus macaque study looking at the injection sites and trafficking of
                       mRNA expression was performed using the MC3 LNP, delivering a nucleoside-modified
                       mRNA encoding the influenza immunogen H10 mRNA intramuscularly or intradermally
                       at a 50 µg dose [98]. They found a rapid cell infiltrate to the injection site within 4–24 h that
                       could be driven by the LNP alone and was mainly composed of neutrophils and monocytes.
                       The main cell types expressing mRNA were multiple monocyte and dendritic cell subsets
                       at the injection sites and in the draining lymph nodes. Priming of T cell responses was
                       restricted to the draining lymph nodes and the LNP alone did not induce CD80 in antigen-
                       presenting cells. Ongoing generation of vaccine-specific CD4+ T cells occurred only in
                       the vaccine-draining lymph nodes, where detection of mRNA-encoded antigens peaked
                       at 24 h, whereas the antibody responses were sustained for weeks. Results consistent
                       with the above were also reported using a non-modified mRNA encoding rabies virus
                       glycoprotein G (RABV-G), delivered in an Acuitas LNP to mice with 0.5–10 µg doses and
                       to non-human primates at 10 µg and 100 µg doses [69]. They also found that the LNP
                       alone mediated cytokine generation in the muscle injection site and draining lymph nodes,
                       but recognized that systemic detection of IL6 could occur due to trafficking through the
                       blood and expression in the liver. Injection site erythema and edema were noted in the non-
                       human primates at both 10 µg and 100 µg doses. It is also interesting to note that the LNPs
                       used in mRNA delivery systems have a size with the range of 10–100 nm, which is known
                       to be optimal for uptake into lymphatics, and that pegylation of lipids improves retention
                       in lymphatics [169] and can reduce complement activation [109]. Since the emergency
                       use approval of the Pfizer/BioNTech vaccine, there has been several observed incidences
                       of acute anaphylaxis corresponding to 1 case in 100,000 vaccinations, which is about
                       10-fold the rate seen with other vaccines [170]. One possible source of this anaphylaxis
                       is the prevalence of anti-PEG antibodies in the general population, which could trigger
                       anaphylaxis in a patient subset due to the use of the PEG–lipid in LNPs. PEG-mediated
                       anaphylaxis has been noted, for example, in a clinical contrast agent [171] and in a liposomal
                       formulation of doxorubicin [172]. Nonetheless, the doses administered for the current
                       SARS-CoV-2 vaccines correspond to a total PEG dose that is at least 15-fold lower than that
                       found in those products, which seems to diminish this possibility. Another possibility is that
                       the reactions are anaphylactoid in nature, but are non-specific responses to inflammation
                       and other factors. A clinical study is underway to further elucidate this issue [173].

                       11. Conclusions
                             The progress of mRNA therapeutics has been extraordinary over the past two decades,
                       beginning with the identification of means to control mRNA innate immunogenicity
                       using modified nucleosides and sequence engineering, and the application of mRNA in
                       vaccines and other therapeutic indications. The adoption of the lipid nanoparticle prototype
                       from that used in siRNA delivery led to an order of magnitude improvement in delivery
                       efficiency compared to previous systems and is continually improving, mainly due to the




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                                   design of new classes of ionizable lipids. Many aspects of mRNA LNP structure, function,
                                   potency, targeting and biological features, such as adjuvanticity, remain to be explored
                                   in order to fully exploit the potential of this powerful and transformative therapeutic
                                   modality.

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Case 1:22-cv-00252-MSG Document 181-2 Filed 01/03/24 Page 372 of 820 PageID #: 7858
  Preface to the Twentieth Edition

      At this writing, Remington, as it is commonly known in the of pharmacy practice, without sacrificing the scientific concepts.
  profession, is at a point midway through the second decade of its The intention was to focus on the textbook features of the
  second century. One hundred and fifteen years of service to publication. This is a departure from the traditional role of a
  students and practitioners, Remington is now poised on the complete reference medium, to one that emphasizes teaching
  brink of a new millenium. The 5 years that have elapsed since the and learning principles while still retaining essential source
  publication of the previous edition have witnessed substantial material.
  and far-reaching changes in practically every field of human           A number of previous authors have gone on to other interests
  endeavor. Pharmacy-both the science and practice-perhaps and have transferred their tasks to new members of the team.
  has enjoyed more than its share. It is not so peculiar that a This has exposed many areas to fresh ideas and alternative
  comment quite similar to the previous sentence has been incor- perspectives. The 143 authors/editors, of which 52 are first-time
  porated in the first paragraph of practically every Preface of the
                                                                      contributors, represent 34 universities, 17 pharmaceutical firms,
  previous 19 editions, including the first.
                                                                      16 private practices, and 3 associated government agencies.
      The impact of current information-exchange technology, with
                                                                      Thus, practically every facet of the profession is encompassed.
  enormous quantities of data available at the touch of a key,
  engendered much consideration in the planning stages of this            Several members of the Editorial Board, who have served for
  publication. At one time, a book of 2000 pages could be created a number of editions-Drs Hussar, Rippie, and Zink-have de-
  using an all-inclusive approach: a tome with rather complete cided to relinquish their responsibilities. Their extensive contri-
  coverage of a field, in which one could find a wealth of informa- bution of time and effort is duly appreciated. A new member, Dr
  tion on practically every relevant subject. Without question, this Nicholas Popovich, assumed the onus of a greatly expanded Part
  approach is now beyond consideration. It was obvious that · 8, Pharmacy Practice, and has completed the task superbly.
  Remington 20 must address the newer concepts of information            Mr John Hoover, associated with Remington for eight edi-
  exchange. With modem technology, current information is pro- tions and currently as Managing Editor, has again done an ex-
  cessed and updated so rapidly that it may quickly become stale emplary job of coordination, especially at the early stages of
  and, sometimes, of questionable value.                              manuscript preparation when all seems a clutter and disarray of
      A wholesale transformation of the book was not envisioned, paper (even in the "paperless" computer age!). Ms Bonnie
  but rather a judicious and planned metamorphosis. Thus, anum- Packer, our inveterate reader, critic, and editorial assistant, has
  ber of areas have been digested, reorganized, and pruned or untangled numerous word snarls, which are usually the product
  amplified. Monographs for drugs have been culled, and most of of overzealous authors and editors who have become immersed
  the dosing and dosage form information has been deleted from in their own disciplines and overlooked the fact that their words
  individual drug monographs. This type of changeable informa- will also be read, and hopefully understood, by the novice.
  tion is impossible to keep current considering a 5-year publica-       It has been said that everything comes full circle or, in mod-
  tion cycle and the availability of the Internet. The general state- em parlance, "What goes around comes around." In 1885, with
  ments preceding individual classes of drugs have been expanded the first edition of Remington, the publisher of this book was the
  to provide comprehensive coverage of each class. Thus, useful
                                                                      well-established Philadelphia firm of JB Lippincott Co. This ar-
  information for the drug specialist is presented in an expanded
                                                                      rangement survived through eight editions, ending in 1936. With
  format, rather than offered as overwhelming masses of data,
  which, if simply learned by rote, may easily be confused or the intervention of the Second World War, the ninth edition did
  forgotten.                                  .                       not appear until 1948 under the banner of the Mack Publishing
      The listing of names of manufacturers for each drug (official Co, and this relationship has been sustained through the 19th
  and/or generic) has been dropped. With the publication of the · edition in 1995. Mack has foregone the publishing role but will
  previous edition, it was evident that due to the dynamic situation continue to print the boqk. The new publisher is, in reality, not
  in the drug industry, almost 25% of the pharmaceutical houses so new, as. the book is now in the hands of Lippincott Williams
  either had changed names or merged during the interval between & Wilkins-the ring has been closed.
  completion of the manuscript and the publication date. Thus,           A volume of 2000 pages requires the cooperation of authors,
  this information often was either of little value or misleading.    editors, and the publisher and their associates in order to com-
      One chapter (Calculus) has been deleted, and two chapters plete a tedious and time-consuming task. All who have contrib-
  (ImmlJilizing Agents and Diagnostic Skin Antigens [81] and Al- uted are to be; commended for their efforts and time. However,
  lergenic Extracts [82]) were consolidated into a single chapter having read the text at least twice in its entirety, the responsi-
  [89] bearing the combined titles. Many chapters were trimmed in bility for errors, of any kind, ultimately resides with the editor.
  order to recover space for 10 new chapters, all within the realm One can only work and strive to ensure that the book is free of
  of Pharmacy Practice. Several areas (such as Alternative Medi- flaws, blunders, and errors, but if this were the case, it probably
  cines and Treatment), which have enjoyed a resurgence of ac- would be a first.
  tivity, have been expanded.
      Essentially, the goal has been to reduce the clutter of exces-                                      Philadelphia, January 2000
  sive, easily attainable reference material and elaborate the area                                                                ARG




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  Preface to the First Edition

      The rapid and substantial progress made in Pharmacy within          type near the margin, and arranged so as to fit them for quick and
  the last decade has created a necessity for a work treating of the      accurate reference.
  improved apparatus, the revised processes, and the recently                 Part III treats of Inorganic Chemical Substances.Precedence is
  introduced preparations of the age.                                     of course given to official preparation in these.The descriptions,
      The vast advances made in 'theoretical and applied chemistry        solubilities, and tests for identity and impurities of each substance
  and physics have much to do with the development of pharma-             are systematically tabulated under its proper title.It is confidently
  ceutical science, and these have been reflected in all the revised      believed that by this method of arrangement the valuable descrip-
  editions of the Pharmacopoeias which have been recently pub-            tive features of the Pharmacopoeia will be more prominently de-
  lished. When the author was elected in 1874 to the chair of             veloped, ready reference facilitated, and close study of the details
  Theory and Practice of Pharmacy in the Philadelphia College of          rendered easy. Each chemical operation is accompanied. by equa-
  Pharmacy, the outlines of study which had been so carefully             tions, whilst the reaction is, in addition, explained in words.
  prepared for the classes by his eminent predecessors, Professor             The Carbon Compounds, or Organic Chemical Substances,
  William Proctor, Jr, and Professor Edward Parrish, were found           are considered in Part IV.These are naturally grouped according
  to be not strictly in accord, either in their arrangement of the        to the physical and medical properties of their principal constit-
  subjects or in their method of treatment.Desiring to preserve the       uents, beginning with simple bodies like cellulin, gum; etc, and
  distinctive characteristics of each, an effort was at once made to      progressing to the most highly organized alkaloids, etc.
  frame a system which should embody their valuable features,                 Part V is devoted to Extemporaneous Pharmacy.Care has
  embrace new subjects, and still retain that harmony of plan and         been taken to treat of the practice which would be best adapted
  proper sequence which are absolutely essential to the success of        for the needs of the many pharmacists who conduct operations
  any system.                                                             upon a moderate scale, rather than for those of the few who
      The strictly alphabetical classification of subjects which is       manage very large establishments.In this, as well as in other
  now universally adopted by pharmacopoeias and dispensatories,           parts of the work, operations are illustrated which are conducted
  although admirable in works of reference, presents an effectual         by manufacturing pharmacists.
  stumbling block to the acquisition of pharmaceutical knowledge              Part VI contains a formulary of Pharmaceutical Preparations
  through systematic study; the vast accumulation of facts col-           which have not been recognized by the Pharmacopoeia. The rec-
  lected under each head arranged lexically, they necessarily have        ipes selected are chiefly those which have been heretofore rather
  no connection with one another, and thus the saving of labor            difficult of access to most pharmacists, yet such as are likely to
  effected by considering similar groups together, and the value of       be in request.Many private formulas are embraced in the collec-
  the association of kindred subjects, are lost to the student.In the     tion; and such of the preparations of the old Pharmacopoeias as
  method of grouping the subjects which is herein adopted, the            have not been included in the new edition, but are still in use,
  constant aim has been to arrange the latter in such a manner that       have been inserted.
  the reader shall be gradually led from the consideration of ele-            In conclusion, the author ventures to express the hope that
  mentary subjects to those which involve more advanced knowl-            the work will prove an efficient help to the pharmaceutical
  edge, whilst the groups themselves are so placed as to follow one       student as well as to the pharmacist and the physician.
  another in a natural sequence.                                          Although the labor has been mainly performed amidst the ha-
      The work is divided into six parts.Part I is devoted to detailed    rassing cares of active professional duties, and perfection is
  descriptions of apparatus and definitions and comments on gen-          known to be unattainable, no pains have been ~pared to discover
  eral pharmaceutical processes.                                          and correct errors and omissions in the text. The author's warm-
      The Official Preparations alone are considered in Part II.         .est acknowledgments, are tendered to Mr A B Taylor, Mr Joseph
  Due weight and prominence are thus given to the Pharma-                 McCreery, and Mr George M Smith for their valuable assistance
  copoeia, the National authority, which is now so thoroughly             in revising the proof sheets, and to the latter especially for his
  recognized.                                                             work on the index. The outline illustrations, by Mr John Collins,
      In order to suit the convenience of pharmacists who prefer to       were drawn either from the actual objects or from photographs
  weigh solids and measure liquids, the official formulas are             taken by the author.
  expressed, in addition to parts by weight, in avoirdupois weight
  and apothecaries' measure. These equivalents are printed in bold          Philadelphia, October, 1885                                  JPR.




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 98 Extemporaneous Prescription Compounding ..... .                            1706        114 Patient Communication .................... .                             1957
 99 Poison Control . . . . . . . . . . . . . . . . . . . . . . . . . . .       1716        115 Patient Compliance ...................... .                              1966
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                                                                                                                         C HAP T E R 11
Pharmaceutical Calculations

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The first technical operation that the student of pharmacy                    practical equivalents. The relationships among the various
must learn is the manipulation of balances, weights, and mea-                 systems of weights and measures are clarified.
sures of volume. This entails a study of the various systems of               Weighing and Measuring~A discussion of the various types of
weights and measures, their relationships, and a mastery of                   balances, particularly prescription balances and methods of using,
the mathematics involved. This chapter considers the funda-                   testing, and protecting them; also of various devices and methods
                                                                              of their use for measuring large or small volumes of fluids.
mental principles of metrology underlying the testing, manu-
                                                                              Density and Specific Gravity-A consideration of the mass/
facturing, and compounding of pharmaceutical preparations:                    volume ratio of a substance (density), and the ratio of the weight
   Weights and Measures-An accumulation of facts concerning                   (mass) of one substance to the weight (mass) of another substance
   the various systems, with tables of conversion factors and                 taken as the standard (specific gravity).




Weight is a measure of the gravitational force acting on a body;         1. The Ancient period, during which the old classical standards orig-
weight is directly proportional to the body's mass. The latter,             inated, terminated with the decline of the Roman Empire. The unit
being a constant based on inertia, never varies, whereas weight             of distance used by all nations for maritime measurements, the
varies slightly with latitude, altitude, temperature, and pres-             nautical or meridian mile (1/60 of a degree of the earth's equatorial
                                                                            circumference) is exactly equal to 1000 Egyptian fathoms or 4000
sure. The effect of these factors usually is not considered unless          Egyptian cubits. These Egyptian measurements, which have per-
very precise weighings and large quantities are involved.                   sisted for more than 4000 years,. were based on astronomical or
   Measure is the determination of the volume or extent of a                meridian measurements that were recorded imperishably in the
body. Temperature and pressure have a pronounced effect,                    great Pyramid at Ghizeh, whose perimeter is exactly 500 of these
especially on gases or liquids. These factors, therefore, are               fathoms, or V2 nautical mile.
considered when making precise measurements.                            ·2. The Medieval period extended to the 16th century. During this
   All standard weights and measures in the US are derived from             period the old standards were lost, but their names were preserved,
or based on the United States National Prototype Standards of               and European nations adopted various independent standards.
                                                                         3. The Modern period extends from the 16th century to the present.
the Meter and the Kilogram. The standards are made of plati-                Since the 17th century, the efforts of most enlightened nations have
num-iridium, and are in the custody of the National Institute of            been directed toward scientific accuracy and simplicity, and during
Standards and Technology (NIST) in Washington, DC.                          the present century toward international uniformity.
                                                                         Historical metrology, also referred to as documentary metrol-
Histo..Y                                                                 ogy, is concerned with the study of monuments and records of
                                                                         ancient periods. Inductive metrology is concerned with the ac-
                                                                         cumulation of data concerning the measurement of large num-
A brief outline of the origin of the many systems of weights and
                                                                         bers of objects that have been referred to as standards but
measures may help clarify the essential distinctions between
                                                                         which have no exact measure except by statutory regulation.
them. The sense of the weight of a body cannot be conveyed
                                                                            THE ENGLISH SYSTEMS-In Great Britain, in 1266, the
intelligibly to the mind unless a means of comparison is chosen.
                                                                         51st Act of the reign of Henry III declared
As weight is the measure of the gravitational force of a body,
this force is expressed in terms of standards of resistance,                  "that by the consent of the whole realm of England the measure
which exactly balance the body and keep it in equilibrium when                of the King was made-that is to say, that an English silver
used with a mechanical device constructed for this specific                   penny called the sterling, round and without clipping, shall
purpose. Such standards are termed weights and the mechan-                    weigh thirty-two grains of wheat, well dried and gathered out of
ical devices are called balances or scales.                                   the middle of the ear; and twenty pence (pennyweights) do make
   The standards that have been chosen by various nations are                 an ounce and twelve ounces a pound, and eight pounds do make
arbitrary, and instances are common where different standards                 a gallon of wine, and eight wine gallons do make a bushel, which
are in use at the same time in the same country. Many of the                  is the eighth of a quarter."-
ancient standards clearly are referable to variable parts of the
human body, such as nail, foot, span, pace, cubit (length of             The 16-ounce pound (avoirdupois pound), undoubtedly of Ro-
the forearm), and fathom or faethm (stretch of the arms). In             man origin, was introduced at the time of the first civilization
the history of metrology three periods may be traced:                    of the British island. However, according to Gray, the word


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~"-."W' r-,.,, <t~·~:.ztt::.~·~-,.,..,'""-""-"-~--"'~"'" ~---·~-""       -~........_..          ,                                                                              ~"~,'

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                        92                 CHAPTER 11

                       haberdepois was first used in English laws in 1303. A statute of             Treasury was directed by Congress to furnish each state in the
                       Edward I (1304 AD) states "that every pound of money or of                   Union with a complete set of the revised standards, and thus
                       medicines is of twenty shillings weight, but the pound of all other          the troy pound (5760 gr), the avoirdupois pound (7000 gr), and
                       things is twenty-five shillings weight. The ounce .of medicines              the yard (36 inches) are all identical with the British stan-
                       consists of twenty pence, and the pound contains twelve ounces               dards. However, the US gallon is quite different; the old wine
                        [the Troy Pound], but in other things the pound contains fifteen            gallon of 231 cu inches-containing 58,372.2 gr of distilled
                       ounces, in both cases the ounce weighing twenty pence."                      water at its maximum density, weighed in air at 62°F, the
                           These laws unfold the theory of the ancient weights and                  barometer standing at 30 inches-was retained. The bushel
                       measures of Great Britain, and reveal the standards, ie, a                   contained 77.27 4 lb of water under the same conditions, thus
                       natural object, grains of wheat. A difference existed then be-               making the dry quart about 16% greater in volume than the
                       tween the Troy and the avoirdupois pound, but the weights now                liquid quart.
                       in use are 1/16 heavier than those of Edward I, due to the                       In 1864 the use of the metric measures was legalized in
                       change subsequently made in the value of the coin by the                     Great Britain, but was not made compulsory, and in 1866 the
                       sovereign. In addition, the true pennyweight standard was lost,              US followed the same course. By the US law of July 28, 1866,
                       and, in the next revision of the weights and measures, the                   all lengths, areas, and cubic measures are derived from the
                       present troy and avoirdupois standards were adopted.                         international meter equivalent to 39.37 inches. Since 1893 the
                           The troy weight is of still earlier origin. The great fairs of the       US Office of Standard Weights and Measures has been autho-
                       8th and 9th centuries were held at several French cities, in-                rized to derive the yard from the meter: 1 yard equals 3600/
                       cluding Troyes, the gathering place of traders from all coun-                3937 m, and the customary weights are referred to the kilo-
                       tries. Coins frequently were mutilated, so they were sold by                 gram by an Executive order approved April 5, 1893. Capacities
                       weight, and the standard weight of Troyes for selling coin was               were to be based on the equivalent; 1 dm 3 equals lliter, the
                       adopted for precious metals and medicines in all parts of Eu-                decimeter being equal to 3.937 inches. The gallon still remains
                       rope. The troy ounce and the avoirdupois ounce originally were               at 231 inch 3 and the bushel contains 2150.42 inch 3 • TP,is makes
                       intended to have the same weight, but after the revision it was              the liquid quart equal to 0.946liter and the dry quart equal to
                       found that the avoirdupois ounce was lighter by 42V2 gr                      1.1013 liter, whereas the imperial quart is 1.1359 liter. The
                       (grains) than the troy ounce. The subsequent adoption of troy                customary weights are derived from the international kilo-
                       weight by the London College of Physicians in 1618, on the                   gram, based on the value that 1 avoir lb equals 453.5924277 g
                       recommendation of Sir Theodore Turquet de la Mayerne who                     and that 5760/7000 avoir lb equals 1 troy lb.
                       compiled their first pharmacopoeia, has entailed upon all                       Avoirdupois weight is used in general in the US for com-
                       apothecaries who are governed by British customs to this day                 mercial purposes, including the buying and selling of drugs on
                       the very great inconvenience of buying and selling medicines by.             a large scale and occasionally on prescription orders.
                       one system of weights (the avoirdupois) and compounding them                    THE METRIC SYSTEM-The idea of adopting a scientific
                       by another (the apothecary or troy).                                         standard for the basis of metrology that could be reverified
                           In the next century efforts were made toward reforming the               accurately was suggested by a number of individuals after the
                       standards, and in 1736 the Royal Society began the work that                 Renaissance. Jean Picard, the 17th-century French astrono-
                       ended in the preparation, by Mr Bird under the direction of the              mer, proposed to take as a unit the length of a pendulum
                       House of Commons, of the standard yard and standard pound                    beating 1 sec of time at sea level, at latitude 45°.
                       troy in 1760. Copies of these were prepared and no intentional                  In 1783, the English inventor James Watt first suggested
                       deviation has been made since.                                               the application of decimal notation, and the commensurability
                           The growing popularity of the French metric system-and                   of weight, length, and volume. The French National Assembly
                       the desirability of securing a standard that could be recovered              in 1790 appointed a committee to decide the preferability of the
                       easily in case of loss or destruction, and that should be com-               pendulum standard or a terrestrial measure of some kind as a
                       mensurable with a simple unit-prompted steps in England to
                                                                                                    basis for the new system. The committee reported in 1791 in
                       secure these advantages in 1816. The labors of English scien-                favor of the latter, and commissions were appointed to measure
                       tists led to the adoption of the imperial measures and stan-                 an arc of meridian and to perfect the details of the commensu-
                       dards, which were legalized January 1, 1826; imperial stan-
                                                                                                    rability of the units and of nomenclature. However, certain
                       dards are now in use in Great Britain, thus introducing
                                                                                                    inaccuracies were inherent in.the early standards, so they do
                       another element of confusion into an already complicated sub-
                                                                                                    not bear to each other the intended exact relationships. The
                       ject. In this system the yard is equivalent to 36 inches, and its
                       length was determined by comparison with·a pendulum beat-                    present accepted standards are defined in publications of the
                       ing seconds of mean time, in a vacuum, at the temperature of                 NIST.
                       62°F at the level of the sea in the latitude of London, a length             In its original conception the meter was the fundamental unit of the
                       that was found to be 39.1393 inches. The pound troy (contain-                metric system, and all units of length and capacity were to be derived
                       ing 5760 gr) was determined by comparison with a given mea-                  directly from the meter, which was intended to be equal to one ten-
                       sure of distilled water under specified conditions. Thus, a cubic            millionth of the earth's quadrant. Furthermore, it originally was
                       inch of distilled water was weighed with brass weights in air at             planned that the unit of mass, the kilogram, should be identical with
                       62°F, the barometer at 30 inches, and it weighed 252.458 gr.                 the mass of a cubic decimeter of water at its maximum density. At
                                                                                                    present, however, the units of length and mass are defined indepen-
                       The standard for measures of capacity in Great Britain (either               dently of these conceptions.
                       dry or liquid) is the imperial gallon, which contains 10 lb avoir                For all practical purposes calibration of length standards in indus-
                       (each 7000 gr) of distilled water weighed in air at 62°F, the                try and scientific laboratories is accomplished by comparison with the
                       barometer standing at 30 inches. The bushel contains 8 such                  material standard of length: the distance between two engraved lines
                       gallons.                                                                     on a platinum-iridium bar, the international prototype meter, which is
                           Washington, in his first annual message to Congress, Jan-                kept at the International Bureau of Weights and Measures.
                       uary 1790, recommended the establishment of uniformity in                        The kilogram is defined independently as the mass of a definite
                       currency, weights, and measures. Action was taken with refer-                platinum-iridium standard, the International Prototype Kilogram,
                       ence to the currency, and recommendations were made by                       which also is kept at the International Bureau of Weights and Mea-
                                                                                                    sures. The liter is defined as the volume of a kilogram of water, at
                       Jefferson, then the Secretary of State, for the adoption of either
                                                                                                    standard atmospheric pressure, and at the temperature of its maximum
                       the currently used English systems or a decimal system. How-                 density, approximately 4°C. The meter is thus the fundamental unit on
                       ever, nothing was accomplished until 1819 to 1820, when ef-                  which are based all metric standards and measurements of length and
                       forts again were made in the US to secure uniformity in the                  area and of volumes derived from linear measurements.
                       standards that were in use by the several states. Finally, after                 Of basic scientific interest is that on October 14, 1960, the 11th
                       a lengthy investigation, on June 14, 1836, the Secretary of the              General Conference on Weights and Measures, meeting in Paris,


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 adopted a new international definition for the standard of length: the      gram. For three decades after the original adoption of the
 meter is now defined as the length equal to 1,650,763.73 wavelengths of     metric system, the USP and NF adopted meter and liter, but
 the orange-red light of the krypton-86 isotope. This standard will be       used the French gramme. Now these official compendia use the
 used in actual measurements only when extreme accuracy is needed.           spelling gram.
     'l'he kilogram is the fundamental unit on which are based all met-
 ric standards of mass. The liter is a secondary or derived unit of capac-       READING-Some difficulty usually is experienced by those
 ity or volume. The liter is larger by about 27 ppm (parts per million)      unfamiliar with the metric system in reading the quantities. In
 than the cube of the tenth of the meter (the cubic decimeter): 1 liter      the linear measures in pharmacy, centimeters and millimeters
 = 1.000027 dm 3 .                                                           are used almost exclusively; thus, 0.05 m would not be read five
     The conversion tables in this publication that involve the relative     hundredths of a meter, but rather 5 centimeters (5 em); if the
 length of the yard and meter are based upon the relation: 1m = 39.37        millimeter column contains a unit, as in 0.055 m, it is read 55
 inch, contained in the act of Congress of 1866. From this relation it       millimeters (55 mm) in preference to fifty-five thousandths of a
 follows that 1 inch = 25.40005 mm (nearly).                                 meter.
     In recent years engineering and industrial interests tlie world over
 have urged the adoption of the simpler relation, 1 inch = 25.4 mm               Fractions of a millimeter must be read decimally, as 0.0555
 exactly, which differs from the preceding value by only 2 ppm. This         m, fifty-five and five-tenths millimeter (55.5 mm). In measures
 simpler relation has not as yet been adopted officially by either Great     of capacity, cubic centimeters (cc) or milliliters (mL) are used
 Britain or the US but is in wide industrial use.                            exclusively for quantities of less than a liter. The terms half-
                                                                             liter, quarter-liter, 100 milliliters, and 1 milliliter are denoted
     In the US, the abbreviation cc (for cubic centimeter) still             by 500 mL, 250 mL, 100 mL, and 1 mL; with water the milli-
 persists in general use and is taken as synonymous for the                  liter is considered equivalent to a gram.
 more correct milliliter. The US Pharmacopeia (USP) IX and                       In weight, when the quantity is relatively large and in
 National Formulary (NF) IV adopted the term milliliter with .               commercial transactions, the hilogram is abbreviated to kilo.
 its abbreviated form mil, but it proved so unpopular in practice            When less than a kilogram and not less than a gram, the
 that the following pharmacopeia! convention directed the re-                quantity is read with the gram for the unit. Thus, 2000 g would
 turn to the older term cubic centimeter (cc). However, in 1955,             be read either as 2000 grams or as 2 kilos, and 543 g would be
 USP XV and NF X once again adopted the term milliliter with                 read 543 grams; 2543 g is sometimes read 2 kilos and 543
 the abbreviation mL.                                                        grams, although 2543 grams usually is preferred.
     National jealousies and the natural antipathy to changing                   For quantities below the gram, decigram and centigram
 established customs interfered greatly with the adoption of the             usually are not used, but rather milligram has been regarded
 metric system during the early part of the 19th century. At                 as the most convenient unit. With the increase in the use of
 present the metric system is in use in every major country of               extremely small doses of very potent drugs and the wide ap-
 the world. In the US and Great Britain it is legalized for                  plication of more delicate analytical procedures, the term mi-
 reference to and definition of other standards, and it is in                crogram (meg, p.g, or "Y), for thousandths of a milligram, is
 exclusive use by nearly all scientists and by increasing seg-               used frequently to designate quantities up to 999 p.g (less than
 ments of industry and the public. In the US the metric system               1.000 mg).
 was legalized in 1866, but not made compulsory; in the same                     Both the metric and English systems of weights and mea-
 year the international prototype meter and kilogram were                    sures are in use in the US. Even though the metric system
 adopted as fundamental standards. The US silver coinage was                 nearly has replaced the English system, the pharmacist must
 based upon the metric system, the half dollar being exactly 12              have a practical knowledge of both.                                 ·
 V2 g and the quarter and the dime being of the proportionate
 weights.
     As corporations become more international, the need for a
 universal standard increased. Since 1875 there has been estab-
 lished and maintained an International Bureau of Weights and                WEIGHTS
 Measures, with headquarters at Paris. This Bureau is man-
 aged by an international committee that enjoys universal rep-
 resentation. One object of the committee is to make and provide
 prototypes of the meter and kilogram for the subscribing na-                The Metric System
 tions; approximately 40 such copies have been prepared.
     The US prototype standards of both the meter and the                    The USP of 1890 adopted the metric system of weights and
 kilogram mass, constructed of a platinum-iridium alloy, were                measures to the exclusion of all others except for equivalent
 brought from Paris in 1890 and are now in the custody of the                dosage statements, and the British Pharmacopoeia of 1914 did
 National Institute of Standards and Technology (NIST) in                    likewise. In 1944 the Council on Pharmacy and Chemistry of
 Washington, DC: They have been reproduced and distributed                   the American Medical Association adopted the metric system
 by our own government to the various states having bureaus                  exclusively. The advantages of the metric or decimal system,
 needing such replicas. The original US prototype meter was                  and its simplicity, brevity, and adaptability to everyday needs
 taken back to Paris in 1957 for reverification and was found to             are now conceded universally.
 have altered only 3 parts in 100,000,000 after 67 years of use.                 FRACTIONAL AND MULTIPLE PREFIXES-In many
 Thus, there was no demonstrable change within the limits of                 experimental procedures, including some in the pharmaceuti-
 experimental error.                                                         cal sciences, very small (and occasionally very large) quantities
     Adoption of the krypton-86 wavelength oflight definition for            of weight, length, volume, time, or radioactivity are measured.
 the meter gives the different countries the means to check their            To avoid the use of numbers with many zeros in such cases, the
 prototype meter bars without returning them to Paris at peri-               NIST recognizes prefixes to be used to express fractions or
 odic intervals for comparison with the international meter bar.             multiples of the International System of Units (Sl), which was
                                                                             established in 1960 by the General Conference on Weights and
                                                                             Measures (see the foregoing discussion). The recognized pre-
                                                                             fixes, which in use are adjoined to an appropriate unit (as, for
 Orthography and Reading                                                     example, in such quantities as nanogram, picomole, microcurie,
                                                                             microsecond, or megavolt) are defined in Table 11-1.
     ORTHOGRAPHY-There are two methods of orthography                            Table 11-2 lists some metric weights. The prefixes, which
 of the metric units in use. In the original French, the units are           indicate multiples, are of Greek derivation: deka, 10; hecto,
 spelled metre, litre, gramme; in the method proposed by the                 100; kilo, 1000. Fractions of the units are expressed by Latin
 American Metric Bureau, the units are spelled meter, liter, and             prefixes: deci, 1/10; centi, 1/100; milli, 1/1000.



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 94         CHAPTER 11

 Table 11-1. Prefixes for Fractions and Multiples of 51                             Jewelers evaluate precious stones with troy weight, which is
 Units                                                                          very similar to apothecary weight. The apothecary and troy
 FRACTION       PREFIX      SYMBOL      MULTIPLE        PREFIX.    SYMBOL       grain, ounce, and pound are identical, but the ounces are sub-
 10-1           deci        d           10              deka       da           divided differently. The carat, used by jewelers, is equal to
 10-2           centi       c           10 2            hecto      h            3.168 troy grains or 4 carat grains. When used to express the
 10-3           milli       m           10 3            kilo       k            fineness of gold, 1 carat signifies 1/24 part. A 14-carat ring is
 1o·- 6         micro       p..         10 6            mega       M            14/24 pure gold.
 10-9           nano        n           109             gig a      G                As indicated in the footnote to Table 11-6, a number of
 10-12          pica        p           1012            tera       T            special metric system units are used in various pharmacopeia!
 10-15          femto       f           1015            pet a      p
 10-18
                                                                                and nonofficial descriptions, tests, and assays of drugs and
                atto        a           1018            exa        E            other substances to express linear measurements of very small
                                                                                dimension. These units and their symbols or abbreviations are
                                                                                listed in Table 11-7, together with their equivalents in terms of
                                                                                the other metric units and the inch.
Table 11-2. Metric Weight
1 microgram              p..g                         0.000,001             g
1 milligram              mg                           0.001                 g
1 centigram              cg                           0.01                  g
1 decigram               dg                           0.1                   g   Table 11-3. Avoirdupois Weight
1 gram                   g                            1.0                   g   POUNDS                             OUNCES                             GRAINS
1 dekagram               dag                         10.0                   g
1 hectogram              hg                         100.0                   g   1=                                 16 =                               7000
1 kilogram               kg                        1000.0                   g                                       1=                                 437.5
Note: The abbreviation p,g or meg is used for microgram in pharmacy, rather     Note: 2000 lb = 1 ton, and 2240 lb = 1 long ton.
than gamma (y) as in biology.

                                                                                Table 11-4. Apothecary Weight
     Only a few of the most convenient denominations are em-                    POUNDS           OUNCES            DRAMS            SCRUPLES          GRAINS

  ployed in practical work. Whole numbers from 1 to 1000 usu-                   1=               12 =              96 =             288 =              5760
  ally are expressed in terms of grams, while the kilogram is used                                1=                8=               24 =               480
  as the unit for larger quantities. Quantities between 1 milli-                                                    1=                3=                 60
. gram and 1 gram usually are referred to in terms of milligrams;                                                                     1=                 20
  microgram (!Lg or meg) is used in quantitative analysis, biolog-
  ical studies, and for minute dosage statements.
                                                                                Table 11-5. Troy Weight
                                                                                POUNDS               OUNCES                 PENNYWEIGHTS              GRAINS
The English Systems
                                                                                1=                   12 =                   240 =                     5760
                                                                                                      1=                     20 =                      480
In the US, both the avoirdupois and apothecary systems of                                                                     1=                        24
weight measurement sometimes are used in handling medi-
cines. It must be emphasized that pharmacists may buy their
drugs by avoirdupois weight. These two systems differ:
      1 pound avoirdupois = 7000 gr and is abbreviated lb.                      Table 11-6. Metric Linear Measure
      1 pound apothecary = 5760 gr and is abbreviated .lb.                      1 nanometer (nm)            0.000,000,001 m (0.001 p..m: 10 9 m: 10 A)
      1 ounce avoirdupois = 437.5 grand is abbreviated oz.
                                                                                1 micrometer (p..m)         0.000,001 m (0.001 mm: 10- 6 m: 10,000 A)
      1 ounce apothecary = 480 gr and is abbreviated :5.
                                                                                1 millimeter (mm)           0.001 m
The grain avoirdupois is exactly the same as the grain apoth-                   1 centimeter (em)           0.01 m
ecary. The apothecary pound is therefore 1240 gr lighter than                   1 decimeter (dm)            0.1 m
the avoirdupois pound, and the apothecary ounce is therefore                    1 meter      (m}            1.0 m
42:5 gr heavier than the avoirdupois ounce.                                     1 dekameter (dam)           10.0 m
   The abbreviations of the denominations of apothecary                         1 hectometer (hm)           100.0 m
weight are represented by the signs :5, ounce; 3, dram; 3,                      1 kilometer (km)            1000.0 m
scruple; and gr, grain. These long have been in use but possibly                Note: Although the meter (m) is observed to be the initial unit, it is seldom
may be mistaken for one another in rapid or careless writing.                   necessary to use it in pharmaceutical practice, and the same holds true for a
The abbreviations or signs of avoirdupois weight differ from                    number of the above measures. The micrometer (p,m), millimeter (mm), and
                                                                                centimeter (em) are employed in the description of many official drugs.
those of apothecary weight, and care should be used not to                      Measurements pertaining to spectrometric and colorimetric tests and assays
confound them; they are lb (sometimes written #), pound: oz,                    of many official drugs are recorded in micrometers (p,m) or reciprocal centi-
ounce: gr, grain. Tables 11-3, 11-4, and 11-5 show three English                meters (cm- 1) for infrared and in nanometers (nm) for ultraviolet and visible
systems of weight.                                                              wavelengths of light, respectively.




Table 11-7. Equivalent Linear Measurements
UNIT                                   INCHES                          mm                 I-'m                     nm                            A
1 inch                                1                                25.4               25.400                   2.54 X 10 7                   2.54 X 10 8
1 'mm (millimeter)                    0.0394                           1                  1000                     10 6                          10 7
1 p..m (micrometer)                   3.94 X 10- 5                     10-3               1                        1000                          10,000
1 nm (nanometer)                      3.94 X 10-8                      10-6               10-3                     1                             10              I
1 A (angstrom unit)                   3.94 X 10- 9                     o-7                10-4                     0.1                           1
                                                                                                                                                                 II
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                                                                                                                                                                 L.
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    MEASURES                                                                           GALLON

                                                                                       Cong 1 =
                                                                                                          PINTS

                                                                                                          8
                                                                                                          1
                                                                                                                  PHARMACEUTICAL CALCULATIONS


                                                                                       Table 11-9. Apothecary or Wine Measure. (US)
                                                                                                                         FLUIDOUNCES

                                                                                                                         128
                                                                                                                          16
                                                                                                                                            FLUIDRAMS

                                                                                                                                            1024
                                                                                                                                             128
                                                                                                                                                                   95



                                                                                                                                                              MINIMS

                                                                                                                                                              61,440
                                                                                                                                                               7,680
    Systems                                                                                                              f51                   8                 480
                                                                                                                                             f31                np6o
    Two systems oflinear measure are used in the US: English and                       Note: Cong is the abbreviation for the Latin word congius.
    metric. Two systems of liquid measure are used: apothecary
    (also called the wine measure or US liquid measure) and met-
    ric. The units of the English system of linear measure (inch,                      Table 11-10. Imperial Measure (British)
    foot, yard, mile) are well-known, and needn't be described here.                   GALLON             PINTS          FLUIDOUNCES        FLUIDRAMS         MINIMS
    The units of the metric systems of linear and liquid measure,                      Cong 1 =           8               160               1280              76,800
    and of the apothecary (wine, US liquid) system of liquid mea-                                         1                20                160               9,600
    sure, with their respective equivalents, are given in Tables                                                         fl51                   8                 480
    11-6, 11-8, and 11-9.                                                                                                                   flj 1               ll)J60
        Pharmacists who fill Canadian or British prescriptions
                                                                                       Note: Cong is the abbreviation for the Latin word congius. The gill, which is
    should also be familiar with the substantially different British                   v.pint, is obsolete but is found occasionally in old family recipes. Thirty-one
    imperial liquid measure system; the units, with their equiva-                      US gallons equal 1 barrel.
    lents, are given in Table 11-10.
        The following facts concerning the US system of liquid mea-
    sure (see Table 11-9) should be noted:
    1.   The apothecary fluidounce (f5) of distilled water weighs 454.6 gr at
                                                                                       THE RELATIONSHIPS OF WEIGHTS
         25°C (77.F).                                                                  AND MEASURES
    2.   The apothecary pint contains 16 f5.
    3.   The US gallon contains 128 f5 or 231 inch 3 . One gallon of distilled         When the systems of weights and measures in use in the US
         water weighs 8.337 avoir lb at 62°F. The US pint therefore weighs             are examined, the lack of close relation between the different
         1.04 avoir lb and the pound of distilled water measures only 0.96 pt.         units is appreciated at once. Nevertheless,. if the following
         One pound does not measure 1 pt.
                                                                                       points are used carefully, many pharmaceutical problems will
                                                                                       be greatly simplified.
    The following facts concerning the imperial system (see Table
    11-10) should be noted:                                                            1. Pharmacists may weigh themselves, buy merchandise, sell over the
                                                                                          counter, calculate postage, and so on using avoirdupois weight,
    1. The imperial fluidounce of distilled water weighs 437.5 gr at 15.6•C               which contains 437.5 gr in 1 oz.
       (60°F). It therefore weighs 1 avoir oz.                                         2. Pharmacists may compound formulas by apothecary weight, which
    2. The imperial pint contains 20 f5.                                                  contains 480 gr in 1 5.
    3. The imperial gallon contains 160 f5. One gal of distilled water                 3. One apothecary fluidounce of water weighs 455 gr at 25•c. Since
       weighs 10 avoir lb; 16 f5 in this system therefore weighs 1 avoir lb.              480 rtP weigh 455 gr, 1 rtP weighs 455/480 = 0.95 gr.
                                                                                            1 rtP does not weigh 1 gr.
    From the above, one can deduce the following:                                           1 f5 does not weigh 15
    1.   The US fluidounce and minim are larger than the imperial fluid-
         ounce and minim (ytp). One US minim or fluidounce equals 1.04
         imperial minims or fluidounces.                                               Practical Equivalents
    2.   The imperial pint and gallon are much larger than the US pint and
         gallon.
                                                                                       Tables of weights and measures and a table of practical equiv-
    It is, therefore, inaccurate to use measuring devices calibrated
                                                                                       alents should be kept in a conspicuous and convenient place in
    in the US system in measuring quantities directed in English                       the prescription department, and the following equivalents,
    prescriptions when the imperial measure is intended. Con-                          which are given with practical accuracy, should be committed
                                                                                       to memory. Other equivalents may be calculated from these.
    versely, devices calibrated in the imperial system should not be
    used to measure quantities directed in US prescriptions when                                                    Linear Measure
    the US measure is intended. For example, Canadian pharma-                                      1 meter      = 39.4 inches
    cists using American graduated cylinders should calculate per-                                 1 inch       = 2.54 em = 25.4 mm
    centage solutions on the basis of 454.6 gr of distilled water to                               1 micrometer = 1/1000 mm = 10-6 m = 1/25,400 inch
    the fluidounce. This is one more argument in favor of adoption
    internationally by all pharmacists of the metric system of                                                      Liquid Measure
    weights and measures.                                                                                         1 milliliter = 16.2 1lP
                                                                                                                  1 fluidounce = 29.6 mL
                                                                                                                  1 pint       = 473 mL
                                                                                                                  1 gallon     = 3790 mL
    Table 11-8. MetriC Liquid Measure
    1 microliter              (j.tL)                        0.000001              L                                        Weight
    1 milliliter             (mL)                           0.001                 L                        1 kilogram         = 2.20 lb avoir
    1 centiliter               (cL)                         0.01                  L                        1 pound avoir      = 454 g
    1 deciliter               (dL)                          0.1                   L                        1 ounce avoir      = 28.4 g
    1 liter                      (L)                        1.0                   L                        1 ounce apothecary = 31.1 g
    1 dekaliter             (daL)                          10.0                   L                        1 pound apothecary = 373 g
    1 hectoliter              (hL)                        100.0                   L                        1 gram             = 15.4 gr
    1 kiloliter               (kL)                       1000.0                   L                        1 grain            = 64.8 mg

    Note: The standard of capacity is the liter, which is the volume of 1 kg of
    distilled water at its maximum density (approx 4•(). Microliters (j.tL) are used
                                                                                       The USP Table of Metric Doses with Approximate Apothecary
    to measure volumes of solutions used in chromatographic procedures for the         Equivalents is reproduced in the Appendix, along with infor-
    separation and quantitative determination of some official drugs.                  mation concerning its permissible uses.




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                                 Approximate Measures                                                                                                                       Col ibro ted
li                                                                                                                             Medicinal Glosses                             Droppers
                                 In apportioning doses for a patient, the practitioner usually is
                                 compelled to order the liquid medicine to be administered in
                                 certain quantities ·that have been established by custom, and
                                 estimated as:
                                 HOUSEHOLD                                  APOTHECARY        METRIC
                                 MEASUREMENT                                NOTATION          VOLUME
                                 1 tumblerful                               f5viii            240mL
 :!                              1 teacupful                                f5iv              120mL
                                 1 wineglassful                             f;5ii              60mL                                                                          cc            I.Occ
                                 2 tablespoonfuls                           f5i                30mL
                                                                                                                                                                             0.5           0.8
                                 1 tablespoonful                            f;5iii             15mL
II                               1 dessertspoonful                          f;5ii               SmL                                                                                        0.6
                                                                                                                                                                                           0.4
                                 1 teaspoonful                              f;5i                5mL                             ~.l.ts./
                                                                                                                                ~--~
                                 lf2 teaspoonful                                                2.5mL
  I                              Note: 1 drop is often considered to be 1 minim, but this is incorrect, as drops
                                 a~e variable.
                                                                                                                                     Medicinal Teaspoon
                                                                                                                                                     Figure 11-1.

  I                                 In almost all cases, careful tests have found the modern
                                 teacups, tablespoons, dessertspoons, and teaspoons to average
                                 25% greater capacity than the theoretical quantities just given.                      late these apothecary doses into relatively exact amounts when
II                               The physician and the pharmacist therefore should recommend                           the metric equivalents were mentioned. Today, however, a united
il                               the use of accurately graduated medicine droppers, teaspoons,                         effort is being made to establish doses primarily in the metric
                                 and calibrated measuring devices, which may be procured at a
!I                               small cost (Fig 11-1).
                                                                                                                       system and to select for these doses the metric quantities that
i!Il                                                                                                                   produce the desired therapeutic effect, without considering the
                                                                                                                       relation of these metric figures to the corresponding quantities in
I'
                                                                                                                       any other system of weights and measures.
                                 Approximate Dose Equivalents                                                             It should be emphasized that exact alternative formulas in
I!                               For many years the apothecaries' system of weights and measures
                                                                                                                       the avoirdupois system of weights and measures are not ob-
                                                                                                                       tained by using approximate equivalents but, for the purpose of
!                                was used widely by physicians and pharmacists when considering.                       compounding, should be calculated with the use of practical
                                 the doses of medicinal substances, and it was customary to trans-                     equivalents.
II
'!

I                                Having studied the several systems of weights and measures,
                                 students may now learn to apply their knowledge to the weigh-
                                                                                                                          The balance may be defined as an instrument for determin-
                                                                                                                       ing the relative weights of substances. It should be selected
                                 ing and measuring of pharmaceuticals. The former process                              correctly for the specific task at hand, used skillfully, protected
                                 requires the use of the balance, or, for manufacturing purposes,                      from damage, and checked periodically, if accurate results are
                                 scales, and the latter process requires the use of the measure,                       to be obtained. Of even greater importance is its construction.
                                 the graduate, and the pipet. The successful performance of                            Standards for balances are given by the NIST. 1
                                 many of the operations in pharmacy depends on a thorough
                                 knowledge of the principles of the balance and a correct under-
                                 standing of its care and use; because weighing is nearly always
                                 the preliminary step in any compounding, it will be discussed                         Construction of the Balance
                                 first.
                                     There is a relativity of accuracy in weighing (or measuring)
                                 must not be overlooked, as illustrated by the following graded                        For systematic consideration pharmaceutical balances may be
                                 list: coal, salt, sugar, epsom salt, penicillin G, morphine,                          classified as follows: single-beam, equal-arm, unequal arm,
                                 digoxin, vitamin B 12 , and radium. One of the most important                         compound lever, and torsion.
                                 things for the pharmacist to learn is the degree of tolerance or                          SINGLE-BEAM EQUAL-ARM BALANCES-The princi-
                                 error permissible in weighing or measuring any particular                             ple on which single-beam equal-arm balances (or scales) oper-
                                 ingredient. Obviously, the final item on the list, radium, must                       ate is clearly evident in the construction of the classical two-
                                 be measured with much greater precision and accuracy than                             pan analytical balance. This type has a metallic lever or beam,
                                 coal, the first item.                                                                 divided into two equal arms at the center by a knife-edge, on
                                     The empiric weighing and measuring methods of the                                 which it is supported. At exactly equal distances from this point
                                 kitchen, embodied in such concepts as a handful, a pinch, or                          of support, and situated in the same plane, are placed the end
                                 "sweeten to suit your taste," have no place in pharmacy. Ac-                          knife-edges; these suspend the pans, which carry the sub-
                                 curate work can be acccmplished only by means of suitable                             stances to be weighed. A properly constructed balance of this
                                 apparatus.                                                                            type should meet the following requirements:
                                                                                                                           1. When the beam is in a horizontal position, the center of
                                                                                                                       gravity should be slightly below the point of support, or central
                                                                                                                       knife-edge, and perpendicular to it.

                                 WEIGHING                                                                              The relative sensitivity of the balance depends on the fulfillment of this
                                                                                                                       principle, which may be illustrated roughly by forcing a pin through the
                                                                                                                       center of a circular piece of pasteboard. If the edge of the pasteboard is
                                 In pharmacy, weighing usually refers to ascertaining a definite                       touched slightly, it does not oscillate at all, but rather revolves around
                                 weight of material to be used in compounding a prescription or                        the center to a degree corresponding to the impulse given it. In this
                                 manufacturing a dosage form.                                                          position it illustrates neutral equilibrium. If the pin is removed and

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inserted at a very short distance above the center, and the edge of the
pasteboard touched as before, it will oscillate slowly, corresponding to a
very sensitive beam, the point of support being slightly above the center
of gravity as in the balance. If the pin is removed again and inserted far
above the center, and the same impulse imparted to the edge, it will
oscillate quickly, illustrating stable equilibrium characteristic of a
beam which comes to rest quickly and is not particularly sensitive.
Unstable equilibrium may be illustrated by balancing the disc so that
the point of support is below the center. The slightest touch then causes
it to reverse its position completely and finally come to rest with the
center of gravity below the point of support.

2. The end knife-edges must be exactly equal distances from the
central knife-edge; they all must be in the same plane, and the               Figure 11-3. Manufacturing laboratory scale and weights (courtesy
edges absolutely parallel to each other.                                      Ohaus).
It is very apparent that the conditions of a good prescription balance
cannot be satisfied ifthere is inequality in the length of the arms of the
beam. The distance from the central knife-edge to the one on the left          length of the other arm. The inequality in the length of the
must be exactly the same as the distance from the central knife-edge to
the one on the right, otherwise unequal weights would be required to           arms of this beam permits the convenient use of movable
establish equilibrium. If the central knife-edge is placed either above or     weights upon the graduated longer arm of the beam, thus
below a line drawn so that it connects the end knife-edges, the loading        dispensing with the use of small weights, which are liable to be
of the pans either will cause the beam to cease oscillating or diminish        lost. This scale is of great advantage in laboratory or manufac-
the sensitivity in proportion to the load. If the knife-edges are not          turing work because it is particularly adapted for weighing
parallel, the weight of a body will not be constant upon every part of the     liquids; a sliding tare is set on one beam for the weight of the
pan, but will be greater if placed near the edge on one side, and
correspondingly less at a point directly opposite.                             container, and other sliding weights can be adjusted to the
                                                                               weight of liquid desired. These are available with the beams
3. The beam should be inflexible, but as light in weight as                    graduated either in the avoirdupois or metric system.
possible, and the knife-edges in fine balances should bear upon                    COMPOUND-LEVER BALANCES-The principle of the
agate plates.                                                                  compound lever was first applied in the construction of bal-
The rigidity of the beam is necessary because any serious deflection           ances by Robervahl of Paris, in about 1660 AD. It was skillfully
caused by a loading of the pans would lower the end knife-edges and            adapted for both prescription balances and the general counter
thus accuracy in weighing would be impossible. The beam should not be          and platform scales. The principal objection to this type of
heavier than necessary because the sensitiveness of the balance thereby        scale, when compared with single-beam balances, consists in
would be lessened; to diminish friction, which constantly increases with       the multiplicity of points of contact and suspension, thus nec-
the age and use of a balance, the bearings of the knife-edges should be        essarily increasing friction and the liability to disarrangement;
agate plates, which are polished flat pieces of the very hard mineral
called agate.                                                                  however, their general convenience has made them popular.
                                                                                   TORSION BALANCES-A simple illustration of the prin-
A single-beam equal-arm balance with two rider beams, one                      ciple of torsion is afforded by tying a stout piece of cord to a firm ·
graduated to 10 gin increments of 0.1 g, and the other to 200 g                support and inserting a lead pencil in the middle of the cord
in increments of 10 g, is shown in Figure i1-2.                              . between the strands, at right angles to it. If the free end of the
    UNEQUAL-ARM BALANCES-The unequal-arm balance                               cord is stretched tightly, resistance is offered to any effort to
is the type is preferred for laboratory work when large amounts                turn the lead pencil over; if the pencil is released, it at once flies
are to be weighed (Fig 11-3). The lever principle.on which these               back to its original position. Torsion is the term applied to this
scales are constructed is based on the law of physics that at                  method of twisting. The principle of supporting the beam of a·
equilibrium the force applied at one end of the lever multiplied               balance on a tightly stretched wire, with the view of doing away
by the length of the arm (distance from the fulcrum to the point               with knife-edges and diminishing friction, occupied the atten-
where the force is applied) must be equal to the product of the                tion of inventors for years.
force ac.ting at the opposite end of the lever and the                             In 1882 Prof Roeder and Dr Springer contrived an ingenious
                                                                               torsion balance that gave promise of valuable results. Two
                                                                               illustrations of this original balance were shown on page 54 of
                                                                               the first edition of Remington's Practice of Pharmacy in 1885.
                                                                               Improvements have increased its efficiency greatly. The most
                                                                               important difficulty in applying the principle of torsion resis-
                                                                               tance was overcome by placing a weight just above the center of
                                                                               gravity. Torsional resistance tends to keep the beam in a hor-
                                                                               izontal position, while the elevation of a weight above the
                                                                               center of gravity, by its tendency to produce unstable equilib-
                                                                               rium, exercises an opposite effect-the beam is inclined to be
                                                                               top heavy and, therefore, to tip on either side. If now the weight
                                                                               is made adjustable by mounting it upon a perpendicular screw
                                                                               so that it can be raised or lowered, it is possible to arrange
                                                                               these opposite forces so that one exactly neutralizes the other.
                                                                               In this manner sensitivity is obtained.
                                                                                   The torsion principle has been applied to prescription bal-
                                                                               ances, as well as analytical balances and· scales designed to
                                                                               carry heavi.er loads. In the torsion prescription balance two
                                                                               beams are used, supported on three frames, each of the latter
                                                                               having a flattened metallic band stretched tightly over its edge.
                                                                                   The torsion balance, which has a rider beam graduated
  Figure 11·2. Single-beam equal-arm balance (courtesy Ohaus).                 upon the upper edge from Ys to 15 grand on its lower edge from




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0.01-1.0 g, furnishes a very convenient means of weighing                        operator will be exactly in line with the indicator and the division
small quantities without having to use small weights. Most                       on the index plate. The indicating elements as well as the lever
modern balances have a direct-reading dial instead of a rider                    system of the balance should be protected against drafts. The bal-
beam, with the metric scale on the upper scale and the apoth-                    ance should have a lid that allows a weighing to be made when the
                                                                                 lid is closed.
ecary scale on the lower.
                                                                            6.   A prescription balance must have a mechanical means for arresting
   The prescription balance may be placed upon a base con-                       the oscillation of the mechanism.
taining a drawer that can be used for holding weights or pow-
der papers.                                                                    TESTING-Certain tests may be used to satisfy the user
                                                                            regarding the construction and character of a balance when its
                                                                            origin, history, or condition is in doubt. Additional tests are
Prescription Balances                                                       carried out by the NIST, manufacturers, and local and state
                                                                            testing agencies.
                                                                               A Class III prescription balance meets the following basic
The modern type of prescription balance uses the taut-wire                  tests. Use a set oftest weights and keep the rider or graduated
frame or torsion principle (Fig 11-4). Such balances, manufac-              dial at zero unless directed to change its position.
tured to meet the requirements of the NIST Class III balances,
have a maximum maintenance sensitivity of 6 mg with no load                 1. Sensitivity Requirement-Level the balance, determine the rest
                                                                               point, place a 6-mg weight on one of the empty pans, and again
and with full load; ie, addition of the 6 mg weight to one pan
                                                                               determine the rest point. Repeat the operation with a 10-mg weight
causes the indicator or the rest point to be shifted not less than             in the center of each pan. The rest point is shifted not less than one
one division on the index plate. The Class III balance is used to              division of the index plate each time the 6-mg weight is added.
weigh quantities up to 60 g, depending on the stated capacity               2. Arm Ratio Test-This test is designed to check the equality of
and subject to the physical limit of the amount of the material                length of both arms of the balance. Determine the rest point of the
that can be placed on the pan. All prescription departments                    balance with no weight on the pans. Place 30 g of test weights in the
must have a Class III balance.                                                 center of each pan and determine the rest point. If the second rest
   REQUIREMENTS-A prescription balance should meet                             point is not the same as the first, place a 20-mg weight on the
the following general requirements:                                            lighter side; the rest point should move back to the original place on
                                                                               the index plate scale or farther.
1.   It should be constructed so as to support its full capacity without    3. Shift Tests-These tests are designed to check the arm and lever
   developing undue stresses, and should not be thrown out of adjust-          components of the balance.
   ment by repeated weighings of the capacity load. (The capacity of
   the balance will be seen on the metal plate attached to it.) If the      a. Determine the rest point of the indicator without any weights on the
   capacity is not stated, it is assumed to be at least 15 g (% oz). The       pans.
   Class III balances usually have a capacity of 60 g (2 oz).               b. Place one of the 10-g weights in the center of the left pan, and place
2. The removable pans of a prescription balance should be of equal             the other 10-g weight successively toward the right, left, front, and
   weight. If the pans show any difference in weight, they should be           back side of the right pan, noting the rest point in each case. If in any
   adjusted by leveling the balance or using small pieces of paper.            case the rest point differs from the rest point determined in (a), add
   Pans with any appreciable corrosion or wear should be refinished or
                                                                               the 6-mg weight to the lighter side; this should cause the rest point
   replaced.
                                                                               to shift back to the rest point determined in (a) or farther.
3. A prescription balance should have a leveling device, usually level-
                                                                            c. Place a 10-g weight in the center of the right pan, and place a 10-g
   ing feet or screws, so that the balance can be adjusted to a level
                                                                               weight successively toward the right, left, front, and back sides of the
   position. A balance that does not have these is not entitled to be
                                                                               left pan, noting the rest point in each case. If in any case the rest
   designated as a prescription balance.
                                                                               point is different from that obtained with no weights on the pans,
4. The balance that has a rider or graduated dial should have, at the
                                                                               this difference should be overcome by addition of the 6-mg weight to
   end of the graduation, a stop that halts the rider or dial at the zero
                                                                               the lighter side.
   reading. The reading edge of the rider should be parallel to the
   graduations on the beam.                                                 A balance that does not measure up to these tests must be corrected.
5. The indicator points, when there are two on the balance, should be
   sharp, and their ends should not be separated by more than 1 mm          4.   Rider- and Graduated-Dial Tests-Determine the rest point for
   (0.04 inch) when the scale is in balance. The distance from the face          the balance with no weight on the pans. Now place on the left pan
   of the index plate to the indicator pointer or pointers should be             the 500-mg test weight and move the rider to the 500-mg point on
   small (1 mm or less) to protect the operator against making errors            the beam. Now determine the rest point. If it is different from the
   resulting from parallax, because it is unlikely that the eye of the           zero rest point, add a 6-mg weight to the lighter side. This should
                                                                                 bring the rest point back to its original position or farther. Repeat
                                                                                 this test, using the 1-g test weight and moving the rider or gradu-
                                                                                 ated dial to the 1-g division. If the rest point is different it should be
                                                                                 brought back at least to the zero rest point position by the addition
                                                                                 of 6 mg to the lighter pan. If the balance does not meet this test, the
                                                                                 graduated beam or the rider must be corrected. For balances
                                                                                 equipped with a dial scale, the dial must be corrected.
                                                                                PROTECTION-The necessity for protecting the delicate
                                                                            mechanism of a balance is overlooked frequently, notwith-
                                                                            standing the possibility of having a precision apparatus irre-
                                                                            trievably ruined by lack of care in using or cleaning it or in
                                                                            protecting it while at rest. The position chosen for the balance
                                                                            or scales should be on a level and firm counter, desk, or table,
                                                                            where it will be subjected to little risk of damage from damp-
                                                                            ness, dust, or corrosive vapors and where the knife-edges will
                                                                            not be liable to become dulled by jarring or other vibrations.
                                                                                In the analytical class of balances, protection is afforded by
                                                                            enclosing them in glass cases having sash doors in the front,
                                                                            sides, or back. They are protected against damage from vibra-
                                                                            tion by a lever for elevating or locking the beam, so that the
                                                                            knife-edges are not in contact with any surface when not in use.
                                                                            To prevent damage from jarring while the balance is in use,
                                                                            from a weight falling on the pan, or other accident, the finest
Figure 11-4. Troemner/800 prescription balance (courtesy Troemner).         balances are provided with pan supports, which break the fall

                                                                                                                                   JA001040
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and serve the additional purpose of quickly arresting the beam,
thus saving time while weighing.
    In using a prescription balance, neither the weights nor the
substance that is to be weighed should be placed on the balance
pans while the beam is free to oscillate. The desired weight
should be placed upon one pan (usually the one on the right-
hand side) and an amount of the substance to be weighed,
approximately the desired weight, upon the opposite pan. The
beam should be released by means of the lever, and if the
substance is in excess, the beam should be locked and a small
portion removed and the beam again released and the oscilla-
tions observed. This procedure should be repeated until the
correct amount is obtained. In case of a deficiency of the sub-
stance to be weighed, the reverse procedure is followed until
the correct amount is obtained. With practice this can be done
very deftly and very quickly and the sensitivity of the balance
retained for years.
    Substanc~s that react with metals, such as iodine, and those       Figure 11-5. Metric and apothecary weight set (courtesy Troemner).
that are adhesive, such as the extracts, should not be weighed
directly upon the pans, but rather upon counterpoised watch
crystals, or upon glazed paper, care being taken to balance the
papers before weighing the substance. In cleaning the bal-              The weights from 1 g upward are of finely lacquered brass or of
ances, great care should be exercised; polishing powders should         nonmagnetic stainless steel or rhodium-plated bronze. The
be used sparingly, as a portion is very apt to find its way into        smaller weights are made of squares of platinum or aluminum
crevices and elude detection until an attempt is made to adjust         foil, with one edge turned up to permit them to be handled
the balances, when the increased weight of one of the sides of          easily with the forceps. Fractions of a milligram are weighed by
the beam leads to its discovery. Frequent cleaning with soft            means of the rider on the graduated beam of the balance.
leather generally is sufficient to keep a balance in good order,            In analytical work and in using the Class III balance in
but once neglect makes it necessary to use more active mea-             prescription work, the weights should never be handled with
sures, some simple polishing powder for the metal work, soap-           the fingers but always with the forceps, which accompany an
suds for the nickel plate, and simple brushing for the lacquered        accurate set of weights. In the more expensive sets of weights
brass are all that is necessary.                                        the forceps are tipped with bone, ivory, or plastic to prevent the
   As the pans are subjected to more wear and tear than any             wearing away of the weights during handling. With proper care
other part of the balance, it is economical to use solid rather         the accuracy of a fine set of weights may be maintained for
than plated pans because constant friction wears off the plating        years.
and the additional cost for replating soon absorbs the difference           COMMON AVOIRDUPOIS WEIGHTS-Avoirdupois
in price. Equipped in this way, and with agate bearings, a              weights usually are made of iron, and they are flat and circular
prescription balance is durable and really inexpensive because          and japanned to prevent rusting. These weights form a pyra-
it will remain fully equal to the most exacting demands for a           midal pile, and range from 1f2 oz to 4lb; if found to be incorrect,
long time.                                                            . they may be adjusted by adding to or diminishing the amount
                                                                        of lead that is hammered into a depression in the base of each
                                                                       weight. They sometimes are made of brass in this form, and
Weights Used in Pharmacy                                                sometimes of zinc (the latter, however, are brittle and unser-
                                                                       viceable). For general use in the pharmacy, the cylindrical
The weights used by the pharmacist are very important, and             weights, known technically as block weights, are preferable.
care in their selection and examination is necessary. False            The advantages of block weights are that the gaps left by
economy must be avoided, as the use of cheap, inaccurate                missing weights are readily noticeable, and the greater part of
weights ultimately leads to serious consequences. Official in-          the surface of the weight is protected from the action of corro-
spectors have found pharmacies using prescription weights              sive vapors when the weights are not in use.
that were so worn that the characters on their faces had dis-               APOTHECARY WEIGHTS-Apothecary weights may be
appeared; also, weights have been found with bits of hardened          obtained either as block weights or in the less-desirable flat
extract and dirt almost entirely obscuring their characters. An        forms. The round, flat, brass di·am weights, which have the
unused set of standard weights should be kept on hand so that          denomination stamped on their faces in raised characters, still
at least once a year the weights in daily use can be tested and        are used but should be replaced. With flat weights, the denom-
adjusted or rejected if necessary. The standard weights should         ination is often only faintly stamped on the face and thus is
be used also when the balance is tested. The set should contain        liable to be obliterated by constant use or by corrosive contact.
the following weights in a well-fitted box with forceps: two 20-g           Undoubtedly, the best grain weights are the aluminum wire
or two 30-g, two 10-g, one 5-g, two 2-g, one 1-g, one 500-mg, one      weights. The wire weights are less susceptible to corrosive
20-mg, and one 10-mg, all adjusted to NIST tolerances for              action than are the brass weights. Also, the wire weights are
analytical or Class P weights.                                         more easily and quickly distinguished from one another than
    METRIC WEIGHTS-For weighing larger quantities, ja-
                                                                       are other weight forms, so there is less likelihood of dangerous
panned iron metric weights are available. They are preferably
                                                                       mistakes: the number of sides in the wire weights at once gives
hexagonal, to distinguish them from the round avoirdupois
                                                                       the denomination (Fig 11-6).
weights. Sets of brass weights, usually in the range of 10 g to
1000 g, fitted into holes of appropriate size in a block of plastic
(block weights), are especially convenient for many weighing
operations. For prescription compounding, accurate sets of
weights ranging from 10 mg to 50 g are available. A set con-
taining both metric and apothecary weights is shown in Fig-
ure 11-5.
    For analytical purposes, metric weights are used exclu-
sively; usually, the highest weight is 100 g, the lowest 1 mg.                       Figure 11-6. Aluminum wire weights.




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                                                                           3.   Raise the graduate and hold it so that the graduation point to be
                                                                                read is on a level with the eye, and measure the liquid. (The
                                                                                extension of the graduating mark into a circle that passes entirely
                                                                                around the graduate is an improvement that obviates the necessity
                                                                                of placing the graduate upon a level place, as the corresponding
               Figure 11-7. Aluminum grain weights.                             mark upon the opposite side may be seen through the glass and the
                                                                                graduate easily leveled even when held in the hand.)
                                                                           4.   Replace the cap, and return the bottle to the counter or shelf.
   Aluminum grain weights, which are cut out of aluminum                   5.   Pour the liquid into the bottle or mortar for dispensing or compounding.
plates, are also less liable to be corroded. They usually can be               METALLIC MEASURES-Metallic measures are nearly
more accurately adjusted than brass weights. The corners of                cylindrical in shape, but are slightly wider at the bottom. These
the aluminum weights are clipped, and each weight usually is               are generally used for measuring liquids when the quantity is
pressed into a curved form so that it may be picked up easily              over a pint. A set usually consists of five (gallon, half-gallon,
(Fig 11-7).
                                                                           quart, pint, and half-pint) of these measures. Measures made of
                                                                           tinned iron, or of the enameled sheet iron called agateware, are
                                                                           greatly inferior to those made oftinned copper or stainless steel;
MEASURING                                                                  tinned-iron measures soon become rusty, and particles of
                                                                           enameling can chip off, leaving the exposed iron to contaminate
In pharmacy, measuring usually refers to the exact determina-              the measured liquids.
tion of a definite volume of liquid. Many types of apparatus are               The initial cost of copper or stainless-steel measures is
used in this operation, depending on the kind and quantity of              greater than tinned iron, but they are far more durable. Care
liquid to be measured and the degree of accuracy required. (The            must be taken to protect them from blows that will cause dents
NIST has requirements for graduates. 2 )                                   as these may be serious enough to detract from their accuracy.
                                                                           Cylindrical metric measures, usually made of monel metal or
                                                                           stainless steel and having a diameter just half their height, are
          Quantities                                                       available in various sizes. Such containers are relatively ex-
                                                                           pensive, but their resistance to corrosion and wear is a tremen-
Glass measures are preferred for measuring liquids. Although               dous advantage. Copper, of course, should not be used where it
glass measures are subject to breakage, they can indicate vol-             is likely to catalyze oxidation.
ume more accurately because of the transparency of glass.                      GRADUATED GLASS MEASURES-Graduated glass
    THE MENISCUS-\Vhen an aqueous or alcoholic liquid is                   measures nearly always are used for quantities of 500 mL or 1
poured into a graduate, surface forces cause its surface to                pt or less. There are of two forms, conical and cylindrical (Fig
become concave-the portion in contact with the vessel is                   11-9, 11-10). The conical graduate is suitable for some mea-
drawn upward. This phenomenon is known as the formation of                 surements because of the greater ease with which it can be
a meniscus (Fig 11-8), and in determining the volume of a liquid
                                                                           handled, but cylindrical measures are more accurate because of
the reading must be made at the bottom of this meniscus. This
                                                                           their uniform and smaller average diameter. In a graduated
regulation has been established by the NIST, and all glass
measuring vessels are graduated on this basis. Liquids with                cylinder, the error in volume caused by a deviation of± 1mm in
large contact angles, such as mercury, form an inverted menis-             reading the meniscus remains constant along the height of the
cus, and the reading then is made at the top of the curved
surface.
    PROCEDURE-Pharmaceutical manufacturers package
liquid preparations in glass or plastic containers equipped with
a plastic screwcap. These containers serve as a stock bottle
from which liquids may be poured directly into a graduate. The
procedure for pouring liquid from screwcapped containers is as
follows:
1. Remove the cap and place it on the counter while the transfer of
   liquid is made.
2. While holding the graduate in the left hand, grasp the original
   container with the label in such a position that any excess ofliquid
   will not soil the label if it should run down the side of the bottle.

                                                                                Figure 11-9. Glass conical graduate (courtesy Kimble Glass).




        Figure 11-8. Error of measurement due to parallax.                  Figure 11-10. Glass cylindrical graduate (courtesy Kimble Glass).

                                                                                                                                 JA001042
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 uniform column; the same deviation causes a progressively               permits greater distances between the graduations on the ap-
 larger error in a conical graduate because the diameter, and            paratus, thus allowing greater accuracy in making the reading.
 thus the volume of the 1-mm column, increases along its ver-            For example, with a buret the pharmaceutical chemist can
 tical axis. It is safe to assume that practically all good-grade        estimate volumes to the nearest 1/100 mL.
 modern graduates comply with the NIST requirements for                      Pipets and similar apparatus are more accurate and conve-
 internal diameters at stated volumes.                                   nient than very small graduates. The graduations on very
    A study has indicated that, to improve accuracy, the lower           small graduates are necessarily in the very small, lowest por-
 portions of graduates should not be used, and therefore should          tion of a comparatively tall measure. To measure 1mL or 10 n:p
 not be marked. 2 A composite tabulation (Table 11-11) shows             of a volatile oil in a graduate, the surface that the oil must
 the calculated and the assigned blank portions of graduates.            traverse when this measure is inverted is so great that proba-
 The elimination of the lower markings on graduates was sug-             bly 20% of the oil will be left adhering to the measure. In liquid
 gested, and in 1955 the NIST specifications for graduates used          preparations in which the smaller liquid is miscible with the
 this principle. 1 The NIST Handbook states, "A graduate shall           larger quantity of diluting liquid, the graduate may be rinsed
 have an initial interval that is not subdivided, equal to not less      and this loss recovered, but inconveniences are largely over-
 than one-fifth and not more than one-fourth of the capacity of          come and greater accuracy secured by using a pipet.
the graduate." For accurate measurement of volumes less than                 In administering small quantities of liquids, the very con-
 1.5 mL, a graduated pipet or a graduated dropper could be               venient drop is almost always used. It should be emphasized
used.                                                                    that 1 drop is not equiualent to 1 11P and that 60 drops are not
    EFFECT OF LIQUID AND CONTAINER-It is difficult                       equiualent to 1 {3. This impression doubtlessly arose because 60
to measure accurately when pouring from a completely filled              ordinary drops of water are about equal to 1 f3, but the volume
bottle because of the uneven flow of the liquid. Mter the first          of a drop of fluid depends on many factors, including density,
portion of the liquid is removed, the shape of the bottle does not       temperature, viscosity, surface tension, and the size and nature
influence the ease of pouring to any appreciable extent unless           of the orifice from which it is dropped. Thick, viscous liquids,
the neck is extremely narrow.                                            such as the mucilages and the syrups, necessarily produce
    Viscous liquids pour slowly, but their accurate measure-             large drops because the drop adheres to the surface of the glass
ment is not difficult. Experiments showed that when glycerin is          as long as its weight does not overcome its power of adhesion,
poured into a graduate without letting the liquid run down the           whereas chloroform, a mobile liquid that has very little adhe-
inside surface, the precision of measurement can be very high.           sion to the dropping surface, produces very small drops. The
Naturally, the chance of hitting the inner surface is greater            greater the surface tension, the larger the drop, and the greater
with smaller than with larger graduates. The increase in pos-            the extent of surface to which the drop adheres, the larger,
sible deviation then is caused by the slow movement of the               proportionally, the drop.
viscous liquid to the desired mark.                                         A normal or standard drop measure was recommended by
    Viscous liquids introduce another factor: drainage time.             the Brussels Conference of 1902 for international adoption.
Graduates are calibrated to contain or deliver indicated vol-            This dropper is recognized in the USP.
umes within specified limits. Aqueous, alcoholic, and hydroal-
coholic liquids can be drained from a graduate in 0.5 min so             MEDICINE DROPPER 3
completely that the delivered and contained volumes are fairly           The Pharmacopeia! medicine dropper consists of a tube made of glass or
close. When 25 mL of glycerin was measured in the same                   other suitable transparent material that generally is fitted with a
cleaned and dried cylinders, the received volume measured                collapsible bulb and, while varying in capacity, is constricted at the
                                                                         delivery end to a round opening having an external diameter of about 3
23.7 mL after the same time period. Silicone-treated glassware,
                                                                         mm. The dropper, when held vertically, delivers water in drops each of
which now is used frequently, drains completely in a few                 which weighs between 45 mg and 55 mg.
seconds.
    The viscosity factor might be altered when another liquid is            When drops are specified on a prescription, the usual cus-
to be mixed with the glycerin by measuring and mixing both               tom has been to employ an eyedropper, but now the standard
liquids in a suitable graduate.                                          dropper should be supplied. When accuracy is required, it is
                                                                         particularly important to use the standard or a specially cali-
                                                                         brated dropper for administering potent medicines. The volume
                                                                         error incurred in measuring any liquid by means of a calibrated
Small Quantities                                                         dropper should not exceed 15%, under normal conditionsY
                                                                            A standard teaspoon has not yet received universal accep-
                                                                         tance; however, it is generally accepted to be equivalent to
For measuring smaller quantities of liquids, graduated glass             5 mL.
tubes of small diameter should be used. The narrower bore
                                                                         TEASPOON
                                                                             Agreement has not been reached on a standard official teaspoon, in
Table 11-11. Unmarked (Unreliable) Portions                              spite of the need for such a standard measure in connection with
of Graduates                                                             compounding and labeling liquid medicines. For household purposes,
                                                                         an American Standard Teaspoon has been established by the American
                            CALCULATED BLANKS (1951)                     National Standards Institute (1430 Broadway, New York, l\i'Y 10018) as
CAPACITY OF         2.5%' ALLOWED           5%' ALLOWED    NBS BLANKS    containing 4.93 ± 0.24 mL. In view of the almost universal practice of
GRADUATE (mL)       (ml)                    (mL)           (1965) (mL)   employing teaspoons ordinarily available in the household for the ad-
                                                                         ministration of medicine, the teaspoon may be regarded as representing
   5                  3.0                    1.5             1
                                                                         5 mL.
  10                  4.4                    2.2             2               It must be kept in mind that the actual volume delivered by a
  25                11.8                     5.9             5           teaspoon of any given liquid is related to the latter's viscosity and
  50                15.8                     7.9            10           surface tension, among other influencing factors.
 100                20.9                    10.5            20
 250                36.3                    18.2            50               THE HUMAN FACTOR-The human factor of carefldness
 500                66.5                    33.2           100           is of paramount importance in every pharmaceutical operation
1000                                                       200           in which accuracy is essential. Accurate measurement of liq-
             by Goldstein and Mattocks 2 based on deviation of ± 1 mm
a Calculations                                                           uids requires accurate equipment, careful manipulation, good
from graduation mark and allowable errors of 2.5 and 5%.                 vision, and a steady hand.



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Several terms are used to express the mass (weight) of equal           weights also should be indicated (as the buoyant effect of air on
volumes of different substances.                                       weights depends on their volume).
   Absolute density is the ratio of the mass of an object,
determined in or referred to a vacuum, at a specified temper-
ature, to the volume of the object at the same temperature. This       Calculations
relationship is expressed mathematically as:
                                                                       The principle underlying the determination of the specific grav-
          Mass in grams (in a vacuum)
             Volume in millimeters    = Absolute density               ity of either a liquid or a solid is the same: to find the ratio of the
                                                                       mass (weight) of the substance to that of an equal volume of
                                                                       water. This may be expressed by a simple relationship:
    Apparent density differs from absolute density only in
 that the mass of the object is determined in air; the mass is                                                      w,
influenced by the difference in the buoyant effect of air on the                               Speel"fi c gravity
                                                                                                              .
                                                                                                                  = W,
object being weighed, and on the standard masses (weights)
 used for comparison. If the object and masses are made of the         where Ws is the weight of the substance, and Ww the weight of
 same material, or have the same density, there will be no             an equal volume of water.
 difference in the buoyant effect, and the apparent density will
be identical with the absolute density.
    Relative density is an expression sometimes employed to
indicate the mass of 1 mL (not cc, which is very slightly differ-      DENSITY
ent) of a standard substance, such as water, at a specified
temperature, relative to water at 4°C taken as unity. Thus, at         Density is defined as the mass of a substance per unit volume.
4°C the relative density of water is 1.0000, whereas its absolute      It has the units of mass over volume. Specific gravity is the
density at the same temperature is 0.999973. Water attains its         ratio of the weight of a substance in air to that of an equal
maximum absolute density of0.999973 at 3.98°C. To convert a            volume of water. In the metric system both density and specific
relative density of water to absolute density, the former should       gravity may be numerically equal, although the density figure
be multiplied by 0.999973.                                             has units. In the English system, density and specific gravity
    Specific gravity may be defined as the ratio of the mass of        are not numerically equal; for example, the density of water is
a substance to the mass of an equal volume of another sub-             62.4 lb/ft 3 and the specific gravity is 1. This shows the conve-
stance taken as the standard. For gases, the standard may be           nience of the metric system. The equations for calculating
hydrogen or air; for liquids and solids, it is water.                  density, weight, and volume are
    From what has been stated, it is obvious that in a determi-
nation of specific gravity there will be, in general, a difference                                      Weight
                                                                                            Density
in the result if the masses (weights) are determined in air or in                                       Volume
vacuum. If the masses are determined in, or referred to, a                                  Weight= Density x Volume
vacuum, the result is a true specific gravity (sometimes called
absolute specific gravity); if the masses are determined in air,                                   Weight
                                                                                           Volume =D--.-
the calculated result is an apparent specific gravity. The differ-                                  enslty
ence between these specific gravities is, as a rule, very small.
    A very important variable in specific gravity determinations is    Given any two variables, the third one can be calculated.
temperature, and this is doubly important because both the tem-
perature of the substance under examination and the tempera-
ture of the standard may be different. The temperatures are            Examples
commonly shown as a ratio, with the temperature of the water
always being indicated in the denominator. The common practice         1. A pharmacist weighs out 2 kg of glycerin (density, 1.25
with regard to the determination of specific gravity is that defined   g/mL). What is the volume of the glycerin?
by the USP: "Unless otherwise stated, the specific gravity basis is
25°/25°, ie, the ratio of the weight of a substance in air at 25° to                                2000g
                                                                                                     "' I m 1
                                                                                        Volume= 1 .2 og           1600 mL
that of an equal volume of water at the same temperature."
    But it is not always convenient, or desirable, to determine the
weight of both the substance and the water at 25°, or even to          2. What is the weight of 60 mL of an oil whose density is
determine the weight of the substance at the same temperature          0.9624 g/mL?
as that at which the water is weighed. Thus, the substance may be
                                                                                         Weight = 60 mL x 0.9624 g/mL
weighed at 25°, and compared with the weight of an equal volume
of water at 4°, in which case the specific gravity is reported as                                =    57.7 g
being on a 25°/4° basis. In the case oftheobroma oil, which is solid
at 25°, the specific gravity is determined on a 100°/25° basis; for    3. Calculate the weight of 30 mL of sulfuric acid (density,
alcohol, it is determined on a 15.56°/15.56° basis because many        1.8 g/mL).
years ago the US government adopted 60°F (15.56°C) as the                              Weight = 1.8 g/mL x 30 mL = 54 g
temperature at which alcoholometric measurements are to be
made for government control of alcoholic liquids.
    It is apparent that a completely informative statement of          4. If a prescription order requires 25 g of concentrated hydro-
specific gravity must indicate the temperature of the substance        chloric acid (density, 1.18 g/mL), what volume should the phar-
under examination, as well as that of the equal volume of              macist measure?
water. Furthermore, it should be stated whether the determi-
                                                                                                     25 g
nations of mass (weight) were made on an in-vacuum or in-air                             Volume= l.l 8 g/mL = 21.2 mL
basis; the latter case, the material of construction of the

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Problems (Answers on                       122)                         2. What is the volume (mL) of 1 lb (a voir) of glycerin (den-
                                                                    sity, 1.25 g/mL)?
1. What is the weight in grams of 1 L of alcohol (density,              3. What is the volume (mL) of 65 g of an acid whose density
0.816 g/mLl?                                                        is 1.2 g/mL?




Pharmaceutical dispensing and compounding calculations use          Pharmacists must achieve the greatest accuracy possible with
simple arithmetic. The errors that may arise often are due to       their equipment, but it would be erroneous to claim that they
carelessness, as in improper placing of decimal points, incorrect   have weighed 1 mg of a solid on a Class III prescription bal-
conversion from one system of measurement to another, or            ance, which has a sensibility reciprocal of 10 mg, or that they
uncertainty over the system of measurement to be used. Before       have measured 76.32 mL of a liquid in a 100-mL graduate,
proceeding with any calculation it is imperative that the prob-     which can be read only to 1 mL. 'When quantities are written,
lem presented (in a prescription, chart order, formula, etc) be     the numbers should contain only those digits that are signifi-
read carefully, that the information given and required be          cant within the precision of the instrument.
identified, and that the procedure to be used in the calculation       Significant figures are digits that have practical meaning. In
be selected.                                                        some instances zeros are significant; in other instances they
   Before students read this part of the chapter and attempt to     merely indicate the order of magnitude of the other digits by
solve the problems, the information in the preceding part of        locating the decimal point. For example, in the measurement
this chapter must be understood thoroughly. Often, several          473 mL all the digits are significant, but in the measurement
steps are necessary to solve problems. Shortcuts should not be      4730 mL the zero may or may not be significant. In the weight
taken unless one is certain they are proper. Many problems can      0.0316 g the zeros are not significant but only locate the deci-
be solved by more than one procedure, such as by ratio and          mal point. In any result the last significant figure is only
proportion or by dimensional analysis. If students find a pro-      approximate, but all preceding figures are accurate. When 4 73
cedure that is more logical to them and gives the correct an-       mL is recorded, it is understood that the measurement had
swer, it should be used. Thus, the solutions to sample problems     been made within :+: 0.5 mL or somewhere between 472.5 and
used here generally should be considered suggestions, rather        473.5 mL. The student should stop to consider the full impli-
than the only way to solve a given type of problem.                 cations of this, specifically that the measurement is subject to
                                                                    a maximum error of:

                                                                                 0.5
A few mathematical principles (eg, common decimal fractions,                      Tl x 100 = (approx) 0.1% or 1 pari in 1000
                                                                                4
exponents, powers and roots, significant figures, and loga-
rithms) will be reviewed, as these are areas where students
                                                                    A zero in a quantity such as 473.0 mL is a significant figure and
often become careless or have forgotten skills. Following this,
                                                                    implies that the measurement has been made within the limits
various types of practical pharmaceutical problems that the
                                                                    472.95 mL and 473.05 mL or with a possible error of:
pharmacist may be required to solve are discussed and solu-
tions are given. Where practical, rules for solving these prob-                     0.05
lems are given. No attempt is made to elaborate on any math-                           ; x 100 = O.Olo/oor 1 part in 10,000
                                                                                    47 3
ematical theory.
   The problems generally consist of determining the quantity
                                                                    Thus, 473 is correct to the nearest mL, and 473.0 is correct to
or quantities ofmaterial(s) required to compound prescriptions
                                                                    the nearest 0.1mL.
properly and make products used to aid the compounding of
prescriptions. The materials used to compound prescription
orders may be pure or mixtures of substances in varying
strengths. The strengths of mixtures may be denoted in differ-      Rules
ent ways: Conversions may be necessary between systems of
varying strengths or between different measuring systems. At
the end of each section, sample problems are given for the          1. When adding or subtracting, retain in the sum or remainder
student to solve, the answers to which appear on page 119.          no more decimal places than the least number entering into the
   Because of the decreasing importance of the apothecary           calculations. For example,
system, the metric system is emphasized here. Chemicals and                               11.5 g                                      11.50 g
preparations most likely will be purchased using the avoirdu-                              2.65 g                                      2.65 g
pois or metric systems. Prescription orders are filled in the                              3.49g                                       3.49 g
system indicated on the order, usually the apothecary or metric                           17.64 g                                     17.64 g
systems.                                                            Answer:               17.6 g               Answer:                17.64 g
   The student should become familiar with the terminology
used in writing prescription orders, such as Latin words and        In the first column 11.5 g was weighed to 0.1 g or with an accuracy of
                                                                    :+:0.05 g. Although the other two weighings were made with an accuracy
abbreviations used in giving directions to the pharmacist and
                                                                    of :+:0.005 g, the sum can be expressed properly only to one decimal
patient (see Chapter 97). The prescriber occasionally may use       place.
Roman numerals instead of Arabic numerals, so students must             In the second column 11.50 g was weighed to the nearest 0.10 g or
be familiar with these (even if the practice is declining).         with an accuracy of :+:0.005 g. Since all weighings were made with this
                                                                    degree of accuracy, the sum may be stated as in the example, 17.64 g.
                                                                        Retain all figures possible until all the calculations are completed
SIGNIFICANT FIGURES                                                 and then retain only the significant figures for the answer. Additions or
                                                                    subtractions involving both large and small quantities, each expressed
                                                                    with maximun1 significance, are often useless. For example, if one were
Weighing and measuring can be carried out with only a certain       to add 1.2 and 0.041 g, the physical sum would be 1.2 g, regardless of the
maximum degree of accuracy; the result always is approximate        fact that the two numbers add numerically to 1.241. To express the
due to the many sources of error such as temperature, limita-       physical sum as 1.241 g would convey an erroneous degree of accuracy
tions of the instruments employed, personal factors, and so on.     with which the qnantity was known.




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 Table 11-12.                                                                  4. When converting a common fraction into a decimal fraction, divide
                     EQUIVALENT               EQUIVALENT
                                                                                  the numerator by the denominator and place the decimal point in
                                                                 SIGNIFICANT
 WEIGHT              WEIGHT (gr/g)            WEIGHT (gr)        FIGURES          the correct place.
                                                                               5. When converting a decimal fraction into a common fraction, place
4.522         X      15.432                   69.78             4                 the entire number, as the numerator, over the power of 10 contain-
4.522         X      15.43                    69.77             4                 ing the same number of ciphers of 10 as there are decimal places.
4.522         X      15.4                     69.6              3                 Cancel, if possible, to simplify.
4.522         X      15                       68                 2



                                                                               EXPONENTS, POWERS, AND ROOTS
2. When multiplying or dividing, retain in the answer no more
significant figures than the least number entering into the                    In the expression 2 4 = 16, the following names are given to the
calculation.                                                                   terms: 16 is called the power of the base 2, and 4 is the exponent
The meaning of this rule may be illustrated by the use of equivalents          of the power. If the exponent is 1, it usually is omitted. The
during conversions from one measuring system to another. Table 11-12           following laws should be recalled:
gives different equivalent values and the number of significant figures        1. The product of two or more powers of the same base is equal to that
to which the answer is correct. Always use an equivalent which will give          base with an exponent equal to the sum of the exponents of the
the desired degree of accuracy. Repeated multiplication of an approxi-            powers; eg, 2 5 X 2" = 28 •
mation increases the error progressively; therefore, retain all figures        2. The quotient of two powers of the same base is equal to that base
during calculations and drop insignificant figures as the final step.             with an exponent equal to the exponent of the dividend minus the
                                                                                  exponent of the divisor; eg, 28 ~ 2" = 2 5 .
                                                                               3. The power of a power is found by multiplying the exponents; eg,
                                                                                    (28)" =   22<!.

fRACTIONS                                                                      4. The power of a product equals the product of the powers of the
                                                                                  factors; eg, (2 X 3 X 4) 2 = 22 x 32 X 4 2 •
                                                                               5. The power of a fraction equals the power of the numerator divided
                                                                                  by the power of the denominator; eg,
Common fractions

An example of a common fraction is 3/8. It is read as "three-
eighths" and indicates three parts divided by eight parts of the
same thing. The units with both numbers must be the same.                        The root of a power is found by dividing the exponent of the
Pharmacists measure 3/8 of a fluidounce into a graduate, they                  power by the index of the root; eg,
measure 3 fluidrams, out of 8 fluidrams (a fluidounce contains
8 fluidrams).
   The following principles should be applied when using com-
mon fractions:
1.   The value of a fraction is not altered by multiplying or dividing both       Any number other than 0 with an exponent 0 equals 1; eg,
     numerator and denominator by the same number.                             2° = 1. A number with a negative exponent equals 1 divided by
2.   Multiplying the numerator or dividing the denominator by anum-            the number with a positive exponent equal in numerical value
     ber, multiplies the fraction by that number.                              to the negative exponent; for example,
3.   Dividing the numerator or multiplying the denominator by a num-
     ber divides the fraction by that number.
4.   To add or subtract fractions, form fractions with the lowest common                                                2'
     denominator, perform the arithmetical operation, and reduce to the
     lowest common denominator.
5.   To multiply fractions, multiply all numbers above the line to form
     the new numerator and multiply all numbers below the line to form
     the new denominator. Cancel if possible to simplify and reduce to         To facilitate the solution of involved and lengthy problems,
     the lowest common denominator.
                                                                               logarithms (logs) were invented. Many calculations that are
6.   To divide by a fraction, multiply by the reciprocal of the fraction.
                                                                               difficult by ordinary arithmetical processes are performed rap-
                                                                               idly and easily with the aid of logs. The log of a number is the
                                                                               exponent of the power to which a given base must be raised in
Decimal fractions                                                              order to equal that number.

Fractions with the power of 10 as the denominator are known                                                         Y= a'
as decimal fractions and are written by omitting the denomi-
nator and inserting a decimal point in the numerator as many
places from the last number on the right as there are ciphers of
10 in the denominator.                                                            John Napier, of Scotland, who discovered logs over three
   The following principles should be applied when using dec-                  centuries ago, used the Natural Log Number, 2.71828+, as the
imal fractions:                                                                base. Henry Briggs, using Napier's discovery a few years later,
                                                                               introduced 10 as the base, which is the most convenient for
1. When adding or subtracting decimals, align the decimal points
   under each other.                                                           practical purposes. Napier's system is called natural logs and
2. When multiplying decimals, proceed as with whole numbers, then              Briggs' system is called common logs. In this latter system the
   place the decimal point in the product as many places from the first        natural numbers are regarded as powers ofthe base 10 and the
   number on the right as the sum of the decimal places in the                 corresponding exponents are the logs; eg,
   multiplier and the multiplicand.
3. When dividing by a decimal fraction, move the decimal point to the                                  100 = 10 2
   right, in both divisor and dividend, as many places as it is to the left
   in the divisor to form a whole number in the divisor; proceed as with                          log 10 100 = 2
   whole numbers. The decimal point in the quotient should be placed
   immediately above the decimal point in the dividend.                                                   2 = lOO:JO!OorJog 10 2 = 0.:3010


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                                                                                                    PHARMACEUTICAL CALCULATIONS                     105


 For natural logs,                                                           1. The characteristic of a number greater than 1 is one unit less than
                                                                                the number of figures to the left of the decimal point; eg, for 1000
                                                                                the characteristic is 3.
                                                                             2. The characteristic of a number less than 1 is one unit more than the
                                                                                number of ciphers between the decimal point and the first signifi-
                                                                                cant figure; eg, for 0.001 the characteristic is -3.
                                                                             3. If the characteristic of a log is positive, the integral part of the
                                                                                corresponding number contains one more figure than the number of
                                                                                units in the characteristic; eg, if the characteristic equals 2, the
 lAWS AND RUlES                                                                 corresponding number lies between 100 and 1000.
                                                                             4. If the characteristic of a log is negative, the number of zeros be-
 The following laws, governing the use of logs, are based on the                tween the decimal point and the first siguificant figure is one less
 laws of exponents, and hence hold for any log system.                          than the number of units in the characteristic; eg, if the character-
 1.   The log of a product equals the sum of the log of the component           istic is -2, the corresponding number lies between 0.01 and 0.001.
      numbers; for example, for 25 X 2:                                      5. Numbers that are related to each other by some power of 10 possess
                                                                                logs with the same mantissa; eg, log 760 = 2.8808 and log 76 =
                Jog (25 x 2) = Jog 25 + log 2                                   1.8808.

                              =Jog 10I:HJ7H +Jog 10o:lOJO
                                                                             The log of a Number
                              = 1.3979 + 0.3010 = 1.6989

 2. The log of a quotient equals the log of the numerator minus the log of   The characteristic of a log is determined readily by inspection
 the denominator; for example, for 25 ~ 2:                                   of the natural number, but to obtain the mantissa a table of
                                                                             logs must be used. These tables vary in accuracy according to
         Jog (25 + 2) = Jog 25 - Jog 2 = Jog 10 1 '1°7° -Jog lQO:JOJO        the number of decimal places to which the mantissa is ex-
                                                                             panded. For most calculations four places are satisfactory.
                      = 1.3979     0.3010 = 1.0969                               Under the heading Natural Numbers (N) in the Table of
                                                                             Logarithms (see Appendix), the first two figures of the number
 3. The log of a power of a number equals the log of the number
 multiplied by the exponent of the power; for example, for (25) 12 :         are given down the column on the left, while the third figure
                                                                             (from 0 to 9) is given across the top. The mantissa for large
              Jog(25) 12 = 12log25 = 12 x !.3979 = 16.7748                   numbers or numbers falling between three-place ones may be
                                                                             found by the process of interpolation; eg,
4. The log of a root of a number equals the log of the number divided by
                                                                                 1. Find the log of 273.
the index of the root; for example, for V25                                  Under N find 27 and along the top line find the third number, 3. Across
                                                                             from 27 and under 3 the mantissa for 273 (4362) is found. No interpo-
                  _                  log 25 1.3979
             log {25 = log 25 11 2 = - - = - -- = 0.6990                     lation is necessary. By inspection (see rule 1) the characteristic is 2.
                                        2      2                             Then log 273 = 2 + 0.4362 = 2.4362.
5. The log of a negative power of a number equals the reciprocal of the           2. Find the log of 0.08206.
number multiplied by the exponent of the power; for example, (5)- 2 :
                                                                             Under N find 82 and along the top find the next number, 0. Now 8206
             log (5)- 2 = -2 log 5 = -2 x 0.6990 = -1.398                    falls between 820 and 821 (6/10 of the difference). The mantissa for 820
                                                                             is 9138 and the mantissa for 821 is 9143. The difference between these
                                                                             two mantissas is 5, and 6/10 of 5 is 3. The mantissa for 8206 is therefore
   The logs of 1, 10, 0.01, and so on are integers, but for                  9138 + 3 = 9141. By inspection (see rule 2) the characteristic is -2.
numbers between these the logs will consist of two parts: an                 Then log 0.08206 = -2 + 0.9141 = 8.9141 - 10 or 2.9141.
integral part called the characteristic and a fractional part
called the mantissa. Thus,                                                      The process of finding a number between two other numbers
                      2
                                                                             is known as interpolation. It is based on the assumption that
                    10 = 100                 log 100 = 2                     the mantissa varies directly with the number, but this is not
                    10 1 = 10                  log 10 = 1
                    10° = 1                      log 1 = 0                   quite true. Many log tables supply the proportionate parts to
                   10- 1 = 0.1                log 0.1 = -1                   facilitate interpolation.
                   10-2 = 0.01              log 0.01 = -2
The log of a number between 100 and 1000 has 2 for a charac-
teristic plus a fraction, the log of a number between 0.1 and
0.01 has -2 for a characteristic plus a decimal, and so on. The              The Antilog of a Number
mantissa of a log always must be positive, whereas the char-
acteristic may be either positive or negative.                               To find the number corresponding to a given log, the reverse
   Every number may be regarded as the product of two num-                   procedure of that discussed above is employed. The first step is
bers, one being 10 with a positive or negative exponent and the              to find figures corresponding to the mantissa (interpolation
other being some number between 1 and 10; eg,                                may be necessary). The last step is to place the decimal point in
                                                                             the correct position, following rules 3 and 4; eg,
                     760 = 102 X 7.6 = ]02 X J00.8808
                                                                                1. Find the number corresponding to the log 3.8357.
               :.log 760 =log 10 2 +log 10° 8808 = 2.8808
                                                                             In the log table, 8357 is found across from 68 and under 5. The figures
                                                                             required are therefore 685. Since the characteristic is 3 (rule 3), the log
                  0.076 = J0-2 X 7.6 = J0-2 X J00.8808                       3.8357 is the number 6850.

            :.log 0.076 =log w- 2 +log 7.6        -2 + 0.8808                     2. Find the number corresponding to the log 0.4351.
                                                                             In the log table, 4351 is found to fall between 4346 and 4362, the
This is written 2.8808 (or 8.8808- 10).                                      difference being 16.4351 is 5 units more than 4346, or 5/16 of the
   The characteristic is made a positive number by subtracting               difference between the two mantissas. The log table gives 272 as the
the -2 from 10 to give a characteristic of 8 ... -10. The -10 is             antilog of 4346, to which 5/16 or 0.31 must be added. Adding on the 0.3
put after the mantissa. From the above explanation the follow-               to the fourth place, the required figures are 2723. Since the character-
ing rules are derived:                                                       istic is zero, the required number is 2.723.




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The Antilog of a Negative Number                                                 Log value: 23.7826- 7.2619 = 16.5207.
                                                                                    Answer: antilog 16.5207 = 3.32 X lOw.

Finding the antilog of a negative number is easy wher+ you remem-                   4. The pH of a solution is the log of the reciprocal of the
ber that the mantissa is always positive. Thus, the first step is to             hydrogen-ion concentration. If the concentration of H ·· ions in
convert the negative mantissa to a positive one; eg, log X = -3.523.             a solution is 2.57 X 10- 4 g-ion/L, what is the pH?
   1. Add -1 to the characteristic so that it becomes -4.
   2. Add+ 1 to the mantissa so that it becomes 0.477 ( + 1.0000                                           1                      1       10 1
- 0.523 = +0.477).                                                                             pH= log--= log                         =log--
                                                                                                         [W]          2.57 X 10- 1       2.57
   1. The result is
                                 logX= 4.477                                     Taking logs

                                                                                               pH= log 10 1 - log 2.57 = 4- 0.4099        3.59
   From the log table the antilog of0.4 77 is 3.0, so that the antilog
of4.477 is 3.0 X 10- 4 Hence, iflogX = -3.523,X = 3.0 X 10- 4 ; eg,
    1. Using the Henderson-Hasselbalch equation for an acidic
substance, find the ratio of ionized to un-ionized drug at a pH                  Problems
of 3.0. The pKa of the drug is 7.4.
                                          [Salt]                                    1. The rate of creaming of an emulsion may be calculated by
                  pH = pKa + log [Acid]                                          Stokes' law:
                                          [Salt]
                                                                                                                   2gr2 (cl., -
                  pll - pKa = log [Acid]                                                                    -v =            -
                                                                                                                          fll,7
                                      =         [Salt]
                  ;J.O- 7.4 = -4.•1 = 0.6 = l o g - -
                                               [Acid]                            If d 1 = 0.88 g/mL, d 2 = 1.32 g/mL, g = 980.6 em/sec", r = 10·" em, and
                                                                                 1J = 1.14 poise, find the rate, V.
                          _ [Salt]
                 :3.D8x 1 0 ' = - -
                              [Acid]                                               2. The surface tension (8) of a liquid may be found by the
                                                                                 Capillary Rise Method using the formula

                                                                                                                S = 'hhdyr
LOGARITHMIC CALCULATIONS
                                                                                 where his the height of the liquid in the capillary, dis the density of the
                                                                                 liquid, g is the acceleration of gravity, and r is the radius of the
Representative problems illustrated below show the rapidity
                                                                                 capillary. FindS when h = 2.62 em, d = 2.43 g/mL, g = 980.6 em/sec",
and simplicity of calculations with logs.                                        and r = 0.021 em.
   1. Find the value of 8.52 X 36.4 X 0.0056.
                                                                                     3. Using the Henderson-Hasselbalch equation, find the ratio
To multiply, add logs of the numbers.
                                                                                 of un-ionized to ionized drug at a pH of 1.5. The pKa of the basic
                                             = 0.9:304                           drug is 9.6.
                                             =    1.5611
                                                  3.7482
                           log number = 0.2:397                                  The student who knows algebra, has studied the previous sections
                                                                                 of this chapter, and recognizes the Roman numerals and Latin
To find the natural number corresponding to log number 0.2397, take              abbreviations used on prescription orders (for directions to the
the antilog.                                                                     pharmacist and patient by the prescriber) should have sufficient
   Answer: antilog 0.2397 = 1.737.                                               knowledge to solve the routine problems encountered in a phar-
                                                                                 macy. The various symbols and abbreviations and their meanings
   2. Find the fifth root of 0.00475.
                                                                                 must be well understood. Explanation of practical problems, rep-
To find the nth root of a number, divide the log of the number by the            resentative of those faced in practice, are presented below. Prac-
index of the root.                                                               tice problems follow each section and the answers to these prob-
                                                                                 lems are found at the end of this chapter (page 122).
 log (~0.00475) = 1/, log 0.00475          1/,   (3.6767)                            To solve each problem properly, the following procedure is
                             =    1/;   (7.6767- 10) = 1.5%:3- 2 or T.5:l5:l
                                                                                 suggested:

To find the natural number corresponding to the log number 1.5353,               1.   Analyze the problem carefully so that all data are clearly fixed in
take the antilog.                                                                     the mind; determine what is given and what is asked for.
   Answer: antilog 1.5353 = 0.343.                                               2.   Select the most direct method of solving the problem. Not all prob-
   3. Find the value of                                                               lems can be solved properly in one step. Look up closes, equivalents,
                                                                                      and abbreviations when you are not sure.
                                 6.062 X J0 2 l                                  3.   Prove or check the result.
                      0.08206 X 29:3.1 X 7()0,000

Remember: To multiply, add the logs of the numbers; to divide, subtract          ADDITION
the logs of the numbers:
                                                                                 Review weighing and measuring systems discussed earlier in
   log li.OG2     =   0.782()                       log 0.08206     = 2.9141     this chapter. The expression "weighable or measurable quan-
   log IO"l       = 2:l.                            log 2>J:l.l     = 2.'!670    tities" means pounds, ounces, drams, quarts, pints, fluid-
                                                                                 ounces, and so on. For example, it is not practical to weigh 300
   log numerator = 2:l. 7826                         log 7GO.OOO    = 5.8808
                                                                                 gr or measure 50 fl. oz, because neither a 300-gr weight nor a
                                                    log denomina( or = 7.26 1n   50-fl oz graduate is commonly available. These are converted to


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  5 drams, and 1 qt, 1 pt, 2 fl oz, respectively, which are weigh-                    Problems
  able and measurable quantities.

                                                                                          1. Add 25 mg, 25 g, 210 mg, 2 kg, 1.75 g, 215 mg, 454 g, and
                                                                                     30 mg.
  Rules                                                                                   2. The following quantities of a drug were removed from a
                                                                                     container: 31 g, 225 g, 855.6 g, and 45.4 g. What is the total
       1. Add like quantities. Using the metric system, if the quanti-               weight removed from the container?
   ties are not alike, change them to a common unit. Using the                            3. What is the weight of powder formed by mixing together
  apothecary or avoirdupois systems, create columns of like quan-                    1 ;,, 175 gr of Drug A, 87.5 gr of Drug B, and 6 3, 55 gr of Drug
  tities arranged in descending order of magnitude toward the                        C? Give the answer in weighable quantities.
  right.                                                                                 4. Add ;oxi, 3vi, 3ii, gr xiv and ;ovii, 3v, 3ii, gr x. Give the
       2. In the apothecary or avoirdupois systems, add together the                 answer in weighable quantities.
  smaller quantities first, then advance to the next higher units.                       5. Each unit of a mixture contains the following drugs: 1/5 gr
       3. Always extract the next higher unit, wherever possible, to                 of Drug M, 1/90 gr of Drug N, 1/6 gr of Drug P, and 2V2 gr of
  simplify the answer, which should be stated in weighable or                        Drug Q. What is the total weight of each unit?
  measurable quantities.                                                                 6. The inventory card shows the following amounts of a
      4. When adding decimals, keep the decimal points directly                      syrup: 3 gal, 2% qt, 6 pt, 8 fl oz, 19 fl oz. What is the total
  under each other.                                                                  volume in stock (in measurable quantities)?
      5. When adding fractions, reduce to the lowest common
  denominator (LCD), add the resulting numerators, and reduce
  the fraction, if possible, by canceling.
                                                                                     SUBTRACTION

  Examples
                                                                                     Rules
     1. Add 3 kg, 33 g, and 433 mg.
                                                                                        1. Subtract only like quantities. If the quantities are not
 Convert to a common unit. The gram is convenient because it is the unit            alike, change to a common unit (metric system) or place in
 of weight.                                                                         columns of like quantities or units arranged in descending
                                                                                    order of magnitude toward the right (avoirdupois and apothe-
                        3 kg           3 X 1000 g         = 3000    g               cary systems).
                       33 g                                  :33     g                 2. In the apothecary and avoirdupois systems, begin with
                     433 mg = 433 mg c- 1000                  0.433 g               the smallest quantities and advance to the largest.
                                                                                       3. \Vhen necessary, reduce larger quantities to smaller ones
                                                           3033.433 g               and place in the proper column.
                                                                                       4. Treat common and decimal fractions as indicated in the
    2. Add 4 pounds, 3 ounces, 1 dram, 59 grains and 5 pounds,                      section on addition.
 10 ounces, 7 drams, 2 grains (apoth).

                  lb                   ~             3             gr               Examples
                  4                    3                           59
                  5                   10             7
                  9                   13             8             61                   1. Subtract 1 pt, 4 fl oz, and 6 fl dr from 2 gal.
                                                                                    The problem may be solved as follows: divide 1 gal into 4 qt, leaving 1
Explanation:
                                                                                    gal in its column; divide 1 of the 4 qt into 2 pt, leaving 3 qt; divide 1 pt
                                                                                    into 16 fl oz, leaving 1 pt; divide 1 fl oz into 8 fl dr, leaving 15 fl oz.
          6~ grains =          1 dram + 1 grain (60 grains                 1 3)
                                                                                                gal          qt         pt          f1 oz      f1 dr
Add 1 dram to the next column:                                                                   I           a           1          15           8
                                                                                                                         I
       8 + 1 = 9 drams = 1 ounce + 1 dram (8 3                              1 :))                                        0                       2
Add 1 ounce to the next column:                                                     Answer: 1 gal, 3 qt, 0 pt, 11 fl oz, 2 fl dr.
    13 + 1 = 14 ounces             =       1 pound + 2 ounces (12 :) = 1 fb)            2. Subtract 285 mL from 1 L. Convert to a common unit.

Add 1 pound to the next column:                                                                                       1000 mL
                                                                                                                     -285 mL
                               9 + 1          10 pounds.                                                               715 mL
Answer: 10 l:b, 2 :) , 1 3, 1 gr.                                                   Answer: 715 mL.
3. Add the following volumes: 5 gal, 3 pt, 2 fl oz; and 2 pt, 3 fl oz, 4 fl dr.
Write out in proper sequence of the units in the measuring system and               Problems
arrange the numbers given in the problem under each other. Thus,

               gal                pt              f1 oz            f1 dr               1. How much is left in a 5-L container after the removal of
                5                 3                  2                              895 mL?
                                  2                                                    2. A pharmacist buys 1 oz of Drug C. At intervals she uses
                                  5                                 4               the following quantities to compound prescription orders: 3ii,
                                                                                    3ss, 3ii, 56 gr, and 48 gr. How much of Drug C remains?
Note: 5 pt = 2 qt + 1 pt (2 pt = 1 qt).                                                3. A bottle contains 1 pt of a liquid; 8 fl oz and 6 fl dr were
Answer: 5 gal, 2 qt, 1 pt, 5 fl oz, 4 fl dr.                                        removed. How much of the liquid remains?



                                                                                                                                            JA001049
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   4. A pharmacist buys 5 g of a potent drug and at different
times dispenses 0.2 g, 0.85 g, 90 mg, and 150 mg on prescrip-                  DIVISION
tion orders. How much of the drug remains?

                                                                              Rules
MUlTIPliCATION
                                                                                  1. The quotient always has the same denomination as the
                                                                              dividend.
                                                                                  2. If the dividend is composed of different denominations,
Rules                                                                         form a common unit in the metric system before dividing and
                                                                              reduce the quotient to weighable or measurable quantities. In
   1. The product has the same denomination as the multipli-                  the apothecary or avoirdupois systems, arrange as explained in
cand.                                                                         the multiplication section; begin division with the largest quan-
   2. If the multiplicand is composed of different denomina-                  tity at the left, convert the remainder, if any, into the next
tions in the metric system, form a common unit before multi-                  lower units, and add to the next column before proceeding with
plying and reduce the product to measurable units. In the                     the division.
apothecary or avoirdupois systems, arrange the quantities in                      3. Treat fractions, and decimals as explained in the multi-
descending order of magnitude toward the right, and multiply.                 plication section.
Extract the next higher units, beginning with the smallest
unit, and place in the proper columns, proceeding to the left.
   3. Multiply fractions and decimals as in any arithmetic                    Examples
problem, and reduce fractional quantities to measurable or
weighable units.
                                                                                  1. Divide 3 L by 25.
                                                                                                                   3L         :3000 mL
                                                                                                              3000 mL
                                                                                                                          = 120       mL
    1. Multiply 4 pt, 7 f! oz and 3 f! dr by 4.
Begin with the smallest unit, working from right to left. When it                 2. Divide 10 gal, 3 pt, 8 fi oz by 8.
becomes necessary, change the product to the next higher unit, writing
only the remainder, if there is any, under the unit multiplied as                                              gal       pt          fl oz
                                                                                                             8)10         3           8
                           pt            tl oz        tl dr
                            ,j              7          :l                                           10 gal
                                                      X4                                                          I gal + 2 gal remainder
                                                                                                      8
                           16            28            12
                                                                                                                  2 gal = 16 pt
               12 f1 clr         1 f1 oz + 4 f1 dr remainder
                                                                              Place 16 pt in the next column.
   28 f! oz + 1 f1 oz            29 f1 oz     =   1 pt + 13 f1 oz remainder
                                                                                                             16 pt + a pt = 19 pt
         16 pt + 1 pt            17 pt = 2 gal + 1 pt remainder                                      19
                                                                                                              =   2 pt    :l pt remainder
Answer: 2 gal, 1 pt, 4 fl dr.                                                                          8
                                                                                                                  ;) pt = 48 fl oz
   2. What will be the total weight of the ingredients in a
prescription order for 25 units, each unit containing 0.4 g of
                                                                              Place 48 fl oz in the next column.
Solid F, 0.01 g of Solid G, and 5 mg of Solid H? First, convert to
a common unit such as grams.                                                                           48 n oz + 8 n oz = 5G n oz

   0.4 g + 0.01 g + 0.005 g = 0.415 g total weight of 1 unit                                                  56 fl oz
                                                                                                              - -- = 7floz
                                                                                                                 8
  0.415 g/unit x 25 units = 10.375 g total weight of all units
                                                                              Answer: 1 gal, 2 pt, 7 fl oz or 1 gal, 1 qt, 7 fl oz.
   3. Multiply 22.4 mL by 2.65.
                                                                                The alternative method is to reduce all quantities to a small
                                        22.4 mL
                                                                              unit such as f! oz, then divide and convert to measurable
                                    X    2.65
                                                                              quantities.
                                                                                (10 gal x 128 fl oz/gal) + (:3 pt x 16 fl oz/pt) + 8 fl oz = 133() fl oz
                                                                                                           1:3:31 fl oz
Problems                                                                                                        8       = 167 fl oz


    1. Multiply 48.5 mL by 3.24.                                              Extract the largest units possible (convert to measurable quantities).
    2. A certain preparation is to contain 0.0325 g of a chemical
                                                                                         1(17 fl oz                               :l() tl oz
in each mL of solution. How much must be weighed out to make
                                                                                       - 128 tl oz    I gal                     -:32 fl oz = 2 pt = l qt
5 L of the solution?                                                                      :39 fl oz remainder                  ~rcmaind<'r
   3. How much cod liver oil is necessary to make 2500 cap-
sules, each containing 0.33 mL?                                               Answer: 1 gal, 1 qt, 7 fl oz.
   4. A formula calls for 1 pt, 3 f! oz, 4 f! dr of an oil. How much
is required to make 15 times the formula quantity? Give                          3. A pharmacist buys an 8-oz container of a drug. How many
amounts in measurable quantities.                                             5-gr capsules can be made from the contents?
   5. How many mg are used to make 1500 units, each of which                  a. The pharmacist usually purchases by the avoirdupois system. The
contains 250 J.Lg of a drug?                                                     first step is to convert ounces to grains.

                                                                                                                                             JA001050
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                                                                                                          PHARMACEUTICAL CALCULATIONS                  109


                    437.5 gr/oz X 8 oz = 3500 gr                                3. Conversions in the metric system are made in the same
 b. Since 3500 gr are available and each capsule contains 5 gr, divide the    manner.
    total amount by 5 gr.                                                     Convert 1 g to mg.

                              3500                                                                          1000mg
                                      =   700                                                             1gx---               1000 mg.
                               5 gr                                                                                 g

 Therefore, 700 5-gr capsules can be made.                                    Convert 1 g to kg.
                                                                                                                  1 kg
                                                                                                           1 g x IOOOg = 0.001 kg
 Problems
                                                                                 The same procedure is valid for volume measurements in
    1. How many 65-mg capsules can be made from 50 g of a                     the metric system.
 drug?                                                                           4. Conversions between the apothecary and metric weight
    2. How many 15-minim capsules can be filled from 5 fl oz of an oil?       systems are based on the fact that 15.4 gr = 1 g, which may be
    3. The dose of a drug is 0.1 mg. How many doses are                       restated as 15.4 gr/g or 1 g/15.4 gr.
 contained in 15 mg of the drug?                                              a. How many mg equal 1 gr?
    4. The dose of a drug is 11150 gr. How many doses are
 obtainable from 1 gr of the drug?                                                    1.000 g
    5. How many 325-mg capsules of a drug can be filled from a                                       0.0648 g/gr = 64.8 mg/gr or 64.8 mg        1 gr
                                                                                      15.4 g
 454-g amount?
                                                                              Cancel units.
                                                                              b. How many grams are in 13?

 CONVERSION                                                                                            1.000 g            -
                                                                                                       15 .1 gr x 480 gr/:;        31.1 g/5
As long as the student knows the interrelationships of the
                                                                              c. How many grams are in 1 oz (avoir)? Remember: 1 gr (apoth) = 1 gr
various units within the different weighing and measuring                        (avoir).
systems (eg, 20 gr 1 3, 3 3 = 1 3; 1000 mg 1 g), there are
only three conversions necessary to memorize in order to con-                                        1.000
vert between the apoth, avoir, and metric systems. These are                                          -       x 437.5 gr/oz        28.1 g/oz
                                                                                                     1D.'1 gr
                      1 gr (avoir) = 1 gr (apoth)                            d. Other weight conversions are then found in a similar manner.
                             15.4 gr = 1 g                                      5. Conversions between the apothecary and metric measur-
                                                                             ing systems are based on the fact that 16.2TtP = 1 mL, which
                            16.2 TIP = 1 mL                                  may be restated as 16.2 TtP/mL or 1 mU16.2 TtP.
Learn them!                                                                  a. How many mL are in 1 fl oz?
   With these three conversions the student is able to derive all                             60 lll'/fl dr x 8 fl dr/fl oz = 480 np/fl oz
other necessary conversions.
                                                                                                                     1 mL
                                                                                                 480 llf /fl oz X     . lll'    29.6 mL/fl oz
                                                                                                                    16 2
Apothecary Conversions                                                                          or 29.6 mL = 1 fl oz

Various equalities within the apothecary system may be calcu-
lated. The number of grains in a dram, grains in a pound, and                Rules
so on may be calculated using the following steps.
   1.                                                                           1. The USP states that for prescription compounding one
                                                                             uses exact equivalents rounded to three (3) significant. figures.
                      20 gr/3 x 33/3        60 gr/3                             2. To calculate quantities required in pharmaceutical for-
                                                                             mulas, the USP directs the use of exact equivalents.
              60 gr/3 x 83/5 x 125/lb = 5760 grllb
                                                                                3. In converting doses the USP uses approximate equiva-
Cancel the units. If they do not cancel properly, something has been         lents. Use USP tables wherever possible.
omitted.
    2.                                                                       Examples
                     1 gr (apoth)      1 gr (avoir)
                                                                                1. Convert 1 pt, 4 fs into mL.
Since 1 gr (apoth) = 1 gr (avoir), the number of grains in one system        First, convert into fs.
equals the number of grains in the other system; eg, 480 gr (apoth) =
480 gr (avoir).                                                                                        16 fslpt + 4 fs             20 fs
   Convert 1 5 (apoth) to weighable quantities in the avoir system
                                                                             Second, convert fs to mL.
           20 gr/3 x 33/3 x 83/s = 480 gr/5 (apoth)
                                                                                              1 fs    =   29.6 mL (as calculated above)
                  480 gr (apoth) = 480 gr (avoir)
                                                                                                 20 f5     X   29.6 mL/f5      =    592 mL
                        437.5 gr = 1 oz avoir
                                                                             Answer: 1 pt, 4 fl oz = 592 mL.
                                480.0 gr
                               -437.5 gr                                        2. What is the weight of 1200 gin the apothecary system?
                                 42.5 gr                                                                       1g       15.4 gr
Answer: 1 5 (apoth) = 1 oz, 42.5 gr (avoir).                                                    1200 g x 15.4 gr/g = 18,516 gr



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~<=!t:."lll-•<:>~'!!:"lT'-"'-"~=·="---~   "~   ,_,..-._~,   "'-                                     ~   I

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                     Convert to weighable quantities.
                                                                                                            HOUSEHOLD EQUIVALENTS
                                                                       480 gr = 13
                                                                                                            Common household equivalents are found on page 96. These
                                                     480 gr/3             X    38 3   =   18,240 gr         are used to interpret the prescriber's instructions to the pa-
                                                                                                            tient. The teaspoonful usually is indicated by the symbol f.3 or
                                            18,516 gr                                                       5 mL, although 1 f.3 does not equal 5 mL. The problem of "the
                                          -18,240 gr (38 5), 38 5 ~ 3!D, 2 5 (12 5 =ltD)                    teaspoonful" has been discussed by Morrell and Ordway. 4 For
                                               276 gr                                                       practical purposes, a teaspoonful is equal to 5 mL, and 1 f.3 in
                                               -240 gr (60 gr = I 5), (4 5)                                 the directions to the patient on the prescription means 1 tea-
                                                 36 gr                                                      spoonful; therefore there are 6 teaspoonful quantities in 1
                                                                                                            fluidounce (5 mL X 6 = 30 mL).
                    Answer: 3 lb, 2 5, 4 3, 36 gr (apoth).                                                      For purposes of solving most compounding and dispensing
                                                                                                            problems, the exact equivalents rounded to three significant
                          3. Convert 1 pound (apoth) into grams.                                            places should be used.


                                                       15~ 4ggr 480 gr/5 31.1 g/5
                                                                      X               =
                                                                                                            DOSAGE CALCULATIONS
                                                                          1 lb = 12 5
                                                        12 5 X 31.1 g/5 = 373.3 g/lb                        Over the past years various rules for calculating infants' and
                                                                                                            children's dosages have been devised. All of them give only
                          4. Convert 25 gr to grams.                                                        approximate dosages because they erroneously assume that
                                                                                                            the child is a small adult; some of them are still used because
                                                                               1g                           as yet no absolute method of calculating an infant's or child's
                                                                  25 gr x      .4 gr = 1.62 g               dose has been found. Children are sometimes more susceptible
                                                                              15
                                                                                                            than adults to certain drugs. Doses for infants and children,
                          5. Convert 50 grams to grains.                                                    where they are known, may be found in the USP, and APhA
                                                                                                            booklet entitled Pediatric Dosage Handbook and textbooks on
                                                            50 g X 15.4 gr/g               770 gr           pediatrics. 5-7 Doses should not be calculated when it is possible
                                                                                                            to obtain the actual infant's or child's dose.

                    Problems
                                                                                                            Rules for Approximate Doses for Infants
                          1. Convert:                                                                       and Children
                    a. 6.50 grains into milligrams.                                                            1. Young's Rule (for children 2 years old and older).
                    b. 3/10 grain into milligrams.
                    c. 3\12 apoth ounces into grams.                                                                   Age (years)
                    d. 2 3 into mg.                                                                                                      x Adult dose = Child's dose (approx)
                                                                                                                    Age (years) + 12
                    e. 3\12 avoir ounces into grams.
                    f. 1 lb avoir into grams.                                                                  2. Clark's Rule.
                          2. Convert:                                                                                 Weight (!b)
                                                                                                                                      x Adult dose = Child's dose (approx)
                    a. 550 g into weighable quantities in the avoir system.                                                150
                    b. 450 mg into grains.
                    c. 550 g into weighable quantities in the apoth system.                                    3. Fried's Rule (for infants up to 2 years old).
                    d. 100 p.g into grains.                                                                         Age (months)
                    e. 1 kg into lb (avoir).                                                                                            x Adult dose = Infant's dose (approx)
                                                                                                                           150
                         3. C~nvert the following doses into metric weights:
                                                                                                                 4. The Square Meter Surface Area Method relates the sur-
                    a. 1/100 gr.                                                                            face area of individuals to dose. It is thought that this is a more
                    b. 1/320 gr.                                                                            realistic way of relating dosages (see Crawford et al, 8 Talbot et
                    c. 1/6 gr.                                                                              al, 9 and Butler and Richie 10 ).
                    d. 5 gr.
                    e. 20 gr.                                                                                    Body surface area of child
                                                                                                                 ::::---:-'---::------:--::-:- x Adult dose
                         4. Convert:                                                                             Body surface area of adult
                                                                                                                                                      = Child's dose (approx)
                    a. 200 TUJ into mL.
                    b. 3 fl dr into mL.                                                                     The average body surface area for an adult has been given as
                    c. 8 fl oz into mL.                                                                     1. 73 square meters (m 2 ); hence,
                    d. 1 pt into mL.
                    e. 5 TUJ into mL.                                                                            Body surface area of child (m2 )
                                                                                                                 - - = - - - - - - - - - - - - ' - - - - ' - x Adult dose
                    f. 0.1 mg into gr.                                                                                           1.73
                    g. 5 mg into gr.
                                                                                                                                                            =   Child's dose (approx)
                         5.
                    a. How many gr are in 1 5?                                                              Calculating Doses for Individuals
                    b. How many drams are in 1 5?
                    c. How many grains are in 1 oz (avoir)?
                    d. How many gr are in 1/2 lb (apoth)?                                                   The body surface area for individuals may be found in various
                    e. Convert 250 gr to weighable quantities in the apothecary system.                     reference sources such as the previously mentioned APhA

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                                                                                              PHARMACEUTICAL CALCULATIONS                      111


booklet, and in drug dosage data by Shirkey. 11 Talbot et al 9
include a chart that relates weight to body surface area. Wag-        PROBLEM-SOLVING METHODOLOGY
ner12 presents a discussion on dosage of drugs.
   Many drugs have doses stated as the amount of drug/m 2             Two problem-solving methods will be illustrated in solving
body surface area and may be calculated as follows:                   pharmaceutical problems: ratio and proportion, and dimen-
                                                                      sional analysis. Ratio and proportion forms the basis for nearly
Amount of drugs/m 2 X Body surface area in m 2 = Individual's dose    all calculations and is a concept that seems to be generally
                                                                      understood and used. However, many students and pharmacy
Many physiological functions are proportional to body surface         practitioners have difficulty in problem interpretation and
area, such as metabolic rate and kidney function.                     identifying a place to start. Dimensional analysis is based on
   Drug doses are often stated in mg!kg body weight and may           ratio and proportion and offers an alternate way to solve prob-
be calculated as follows:                                             lems and overcome some problem-solving difficulties.
         mg/kg X Body weight in kg = Individual's dose

This is the most common way of determining children's doses.
   Drug doses also may be stated in units, as with vitamins A         RATIO AND PROPORTION
and D, penicillin, and hormones. This means that a certain
quantity of biological activity of that drug is called 1 unit. When   A ratio states the relation of one quantity to another and may
the term unit is used in connection with a drug, the calcula-         be written as a common fraction (implying division) or with a
tions involved are the same as those for more familiar weight or      colon between the two numbers. For example, three p(lrts coni-
volume notations. The USP often standardizes the unit for such        pared with four parts is written 3/4, 3:4, or three is to four. Any
drugs, so the expression "USP Units" is used. This means the          units may be substituted for "parts" but the value of the ratio
units are calculated based on a USP assay procedure and               does not change. The units must be the same.
reference standard.                                                      Two equal ratios that are set equal to each other result in an
                                                                      equation a proportion. For example, 3/4 = 15/20, 3:4::15:20, or
                                                                      "three is to four as fifteen is to twenty" are ways of writing and
Examples                                                              stating that 3 and 4 form the same ratio or fraction as 15 and 20.
                                                                         The first and last terms of a proportion are called the ex-
                                                                      tremes, and the second and third terms are called the means.
   1. The adult dose of a drug is 5 gr. What is the dose for a
3-year-old child?                                                                             3 :4               15 : 20
Use Young's Rule:

                                           3
                                                                                              t   Lmeans_j              t
             Child's dose (approx) =
                                       3
                                           +
                                               12
                                                    X 5 gr =   1 gr
                                                                                               Lextremes         _j
    2. What is the dose for a 40-lb child if the average adult dose
of the medicament is 10 mg?                                           Rules
Use Clark's Rule:
                                                                      The following statements are true for any proportion:
                                     40
           Child's dose (approx) =       x 10 mg = 2.67 mg            1. The product of the means equals the product of the extremes.
                                     150                              2. The product of the means divided by one extreme gives the other
                                                                         extreme.
  3. What is the dose for an 8-month-old infant if the average        3. The product of the extremes divided by one mean gives the other
adult dose of a drug is 250 mg?                                          mean. Therefore, if any three terms of a proportion are known, the
                                                                         fourth can be found by simple calculation.
Use Fried's Rule:
                                                                         In solving problems involving proportions, the following pro-
                                       8                              cedure may be used:
          tnfant's dose (approx) =         x 250 mg = 13.3 mg
                                     150                              1. Let the unknown quantity be represented by X, and let it be the
                                                                         fourth term.
   4. If the average adult dose of a drug is 50 mg, what is the       2. Let the third term be that number in the question which expresses
dose for a child who has a body surface area equal to 0.57 m 2?          the same kind of value (unit) as is expected in the answer.
                                                                      3. AITange the remaining two quantities in the same ratio as the third
                                   0.57                                  term and X. Thus, the first and second terms will express the sanie
           Child's dose (approx) = 1.    x 50 mg = 16.5 mg
                                      73                                 kind of values (units) and the third and fourth terms will express the
                                                                         same kind of values. If the answer sought (X) is to be greater than the
                                                                         third term, the second term will be larger than the first, and vice versa.
                                                                      4. To solve for X, divide the product of the means by the known extreme.
Problems                                                                 Cancel to simplifY. Since the first and second terms form a ratio,
                                                                         common factors may be removed without altering the ratio; the first
   1. What is the dose of a drug for a 9-month-old infant if the         and third terms are actually numerators of equal fractions, so they can
average adult dose is 25 mg?                                             be divided by the same number without changing the proportion.
   2. What is the dose of a drug for a 6-year-old child if the
average adult dose is 11fz gr?
   3. What is the dose of a drug for a child who weighs 28 lb if      Example
the average adult dose is 100 mg?
   4. What is the dose of a drug for an individual who has a 1.21     If 100 g of a drug cost $1.80, how much will 25 g cost?
m 2 body surface area? The average adult dose is 400,000 units.       If the three quantities in the problem, namely 100 g, $1.80, and 25 g, are
   5. What is the dose of a medicament for a child that weighs        considered, it will be seen readily that 100 g bears the same relation to
66 lb if the dose is stated as 2.5 mglkg body weight?                 25 g as $1.80 does to the unknown quantity to be calculated. In other
   6. What is the dose of a drug for an average adult patient if      words, the quantities and prices form equal ratios. The following pro-
the dose of the drug is 45 mg/m 2?                                    portion can be made:




                                                                                                                            JA001053
~:<.n:"ean:.'--.~"''""~~ ........ "="'~"'=~   _                                   ~           1                                                                                                                       ~\
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                                                     100 g:25 g::$1.80:X                          Present Steps 2-4 together:

                 There are three known terms in the statement and X, the unknown                              - __:_$.::_1.:.::8..:.0_ x -
                                                                                                                                         5 g drug 1 teasp 29.6 m.L
                 term. Arithmetically, the product of the means must equal the product                                                      - - x - - - x - - - x 4u = r$
                                                                                                              100 g drug                  1 teasp  5 mL     1 f5   " ·
                 of the extremes. Therefore, if one of the extremes is unknown, it may be
                 calculated by dividing the product of the means by the known extreme.            (The 3rd and 4th terms are known definitions and equivalents needed
                                                                                                  to cancel units.)
                                                       25 g X $1.80                               Solve: x = $0.53.
                                                  X=       100g     = $0.45
                                                                                                     The problems in the remainder of this chapter will be illus-
                 The proportion is set down preferably as given above, but it may be              trated using both problem-solving methods. Readers should
                 stated in several other ways. These are given below merely to show               evaluate both methods and select the one they feel most com-
                 their relationship to the original form. It may be stated as two equal           fortable with.
                 ratios in equation form:

                                                        100g     $1.80
                                                                                                  Examples
                                                        25g         X

                                                                                                     1. Determine the dose for each ingredient contained in one
                                                                                                  dose of the following prescription.
                 DIMENSIONAL ANAL VSIS                                                            1}
                                                                                                  Solid A                                                                                            300 mg
                                                                                                  Solid B                                                                                            150 mg
                 The basis for dimensional analysis is the formation of relation-                 Solid C                                                                                            200mg
                 ships between quantities, multiplication and canceling units                                           M ft capsules, D.T.D. No 12.
                 until only the units of the desired answer remain.                               The directions to the pharmacist are to mix and send 12 capsules
                    As in the example used previously, if 100 g of a drug cost                    containing in the three solids in the amounts indicated. Thus, the dose
                 $1.80, how much will 25 g cost?                                                  of each ingredient is as stated in the prescription.
                                                                                                      2. How much of each ingredient is used in compounding the
                 Begin by collecting all of the information in the problem and identify all
                 relationships with units and labels. In this problem, we know
                                                                                                  following prescription?
                                                                                                  1}
                                                      $1.80                                       Drug E ................................................... 7.2 g
                                                    100 g drug' 25 g drug                         Drug F . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 0.24 g
                                                                                                  Drug G ........... , . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1.2 g
                                                                                                                                      M div capsules, No 24.
                 Write down the units you want for the answer.
                                                                                                  In this prescription the prescriber requests that 24 capsules be made
                                                                                                  from the three ingredients. The amounts of the ingredients requested
                                                           =X$
                                                                                                  are considerable, and drugs usually do not have doses of 7.2 g or 1.2 g,
                Identify a relationship from the problem that contains the units desired          so division of the amounts by the number of doses (24) is required. The
                for the answer, forming the skeleton of the process.                              pharmacist should check a textbook or compendium to confirm the
                                                                                                  average adult dose.
                                                       $1.80                                                                             7.2 g
                                                     ----?=X$                                                                  Drug E: - - - x 1 cap = 0.300 g
                                                     100 g drug ·
                                                                                                                                       2 4 caps
                Complete the process by adding terms from the problem (or equiva-                                                         0.24 g
                lents) necessary to cancel out units until only the units of the answer                                         Drug F: -        x 1 cap = 0.01 g
                remain on the left side.                                                                                                24 caps
                                                                                                                                          1.2 g
                                                    $1.80                                                                       Drug G: -       x 1 cap = 0.05 g
                                                                                                                                        24 caps
                                                  100 g drug 25 g drug =X$
                                                                                                     3. A prescription calls for 10 units of a drug to be taken 3
                Solve mathematically.                                                             times a day. How much will the patient have taken after 7
                                                                                                  days?
                                                        X= $0.45
                                                                                                            10 units/dose             X   3 doses/day X 7 days = 210 units
                   Dimensional analysis can be used to solve most pharmaceu-
                tical problems, regardless of complexity, using a consistent                         4. If 250 units of an antibiotic weigh 1 mg, how many units
                procedure:                                                                        are in the 15 mg?
                1. Collect all the information and relationships in the problem com-                                     250 units/mg X 15 mg = 3750 units
                   plete with units and labels.
                2. Write down the units and label of the answer.                                     5. If the dose of a drug is 0.5 mg/kg of body weight/24 hours,
                3. Select a starting point corresponding to the units and label of the
                   answer in the numerator.                                                       how many grams will a 33-lb infant receive per 24 hours and
                4. Complete the process using relationships in the problem and known              per week?
                   conversions to cancel units.
                5. Solve the problem mathematically.                                                       1g       0.5 mg      1 kg
                                                                                                       - - -- X k        h    X     lb X 33 lb x 24 hours= 0.0075 g
                                                                                                       10 00 mg   g x 2 4 ours 2 .2
                   More complex problems use the same basic procedure; eg, if
                                                                                                                         0.0075 g 7 days
                100 g of a drug cost $1.80, what would be the cost of the drug                                           - - - x --k- x 1 week= 0.0525 g
                to prepare 4 f11 of a solution containing 5 g of the drug per                                               day   wee
                teaspoonful?
                                                                                                     6. A patient is to receive 260 fLg of a drug 4 times a day for
                Collect all information and relationships:                                        14 days. How many 11250-gr tablets must be dispensed?
                                                $1.80          5 g dmg                               1 tab          1 gr            1 mg            260 J.lg        4 doses
                                                                                                   --X ---X ---X ---X--- X                                                          14 days= 56 tabs
                                              100 g drug'       1 teasp ' 4 13.                     y250 gr       64.8 mg          1000 J.lg         dose             day


                                                                                                                                                                                JA001054                                       I
                                                                                                                                                                                                                               I.
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                                                                                                                                                    PHARMACEUTICAL CALCULATIONS                                                113


   7. An antibiotic is available as an injection containing 10 mg                                                                                    140 g               .
antibiotic/mL. How many mL are needed for an infant weigh-                                                                                  Drug M: 1000 mL x 60 mL = 8.40 g
ing 8 kg, the dose being 1.4 mg/kg of body weight?
                                                                                                                                                              450 g
                           1 mL  1.4 mg                                                                                                     Sucrose:             mL x 60 mL = 27.0 g
                                                                                                                                                           1000
                           10 mg X~ X 8 kg= 1.12 mL
                                                                                                                                           Purified Water: to make 60 ml
   8. A preparation for coughs contains 1.5 g of an expectorant per
100 mL. How many gr of the expectorant are there in a teaspoonful?                                                2. Calculate the amounts needed for 100 g of antiseptic
                                     1 teaspoonful = 5mL                                                        powder as follows:
                                                                                                                 Solid A .................................................... 2 g
               15.4 gr            1.5 g           5 mL                                                           Solid B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1 g
               ~X 100 mL X 1 teasp X 1 teasp = 1.16 gr                                                           Solid C . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7 g
                                                                                                                 Solid D ................................................... 25g
                                                                                                                 Solid E . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 115 g
Problems                                                                                                                                                                                                                        150 g
                                                                                                                Solid A                                      2 g X 0.667 =                                              1.33 g
   1. Calculate the dose for each ingredient in the following                                                   Solid B                                      1 g X 0.667 =                                              0.667 g
prescription.                                                                                                   Solid C                                      7 g X 0.667 =                                              4.67 g
                                                                                                                Solid D                                     25 g X 0.667 =                                             16.7 g
~                                                                                                               Solid E                                    115 g X 0.667 =                                             76.7 g
Chemical J . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10 mg
Chemical K . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 50 mg                                                                                                            100.067 g
Chemical L . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 300 g
                           M ft capsules, D.T.D. No 14.                                                             3. Prescriptions, where the instruction to the pharmacist
   2. Calculate the dose of each ingredient in the following                                                    calls for making a certain number of doses of an ingredient or
prescription.                                                                                                   mixture of several ingredients, are a type of formula enlarge-
                                                                                                                ment. The expression usually used is DTD, which means let
~                                                                                                               such doses be given (see Table 98-1). Occasionally the pre-
Drug Q.................................................. 10.5 g
DrugR ................................................... 6.3 g                                                 scriber will not use this expression, but inspection of amounts
                        Make 21 doses.                                                                          of the ingredients indicates that this is what is desired. For
   3. An 8 fi oz prescription contains 6 fi dr of a tincture. If 1                                              example,
teaspoonful4 times a day is prescribed, how much tincture does                                                  ~
the patient take per dose and how much is taken daily?                                                          Solid H . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 50 mg
                                                                                                                Solid K . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 150 mg
   4. How many 0.3-mL doses are contained in 15 mL of a solution?                                               Liquid N . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 0.2 mL
   5. If 1 mg of a hormone equals 22.5 units, how many mg are                                                   '                             M ft capsules, D.T.D. No 24.
required to obtain 1 unit?
   6. If a bottle contains 80 units of a drug/mL, how many mL                                                   The pharmacist checked the individual doses of the ingredients and
must the patient take to get a 60-unit dose? If the bottle                                                      found them to be slightly below the average adult dose, confirming that
contains 10 mL total volume of the drug solution, how many                                                      the prescriber wanted the quantities listed to be multiplied by 24.
days' supply will patients have if they use 60 units a day?
   7. A 10-mL ampul contains a 2.5% solution of a drug. How                                                                                                                                             NEW
                                                                                                                ·INGREDIENTS                    AMOUNTS                   MULTIPLIER                    AMOUNTS
many mL are needed to give a dose of 150 mg?
                                                                                                                 Solid H                         50mg                     X24                           1200 mg or 1.2 g
   8. The dose of an antibiotic is 75 mg for a child. How much                                                   SolidK                         150mg                     X24                           3600 mg or 3.6 g
of a flavored suspension containing 125 mg antibiotic/5 mL                                                       Liquid N                         0.2mL                   X24                           4.8mL
must be given to the child per dose?
   9. How many gr of a drug are there in each teaspoonful of a
syrup that contains 0.5% of the drug?
                                                                                                                Problems
REDUCING AND ENLARGING FORMULAS                                                                                      1. The formula for a liquid preparation is
                                                                                                                Liquid C . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 35 mL
Determine the total weight or volume of ingredients and conyert,                                                Solid B ......................... , ........................ 9 g
if necessary, to the system of the quantities desired. The quanti-                                              Liquid R . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.5 mL
ties in the original and new formulas will have the same ratio.                                                 Liquid P . . . . .. .. .. . . .. . . .. . . . . .. .. .. . . . .. .. .. . . . .. . . . . . . 20 mL
                                                                                                                Purified Water, sufficient to make ............................................ 100 mL
                                                                                                                Calculate the quantities of the ingredients to make 2.5 L.
Examples                                                                                                          2. The formula for an ointment is
                                                                                                                 ~
     1. The formula for a syrup is                                                                              Solid G . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
DrugM ................................................ 140 g                                                    Liquid D ................................................... 30
Sucrose . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 450 g   Solid M ...................................................... 3
Purified Water, qs to make . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1000 mL                    Ointment base, sufficient to make . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1
                                                                                                                Calculate quantities of the ingredients for 2 lb.
a. Find the quantities required for 100 mL.
                                                                                                                   3. How much of each of the three solids and how much
                                        140g                                                                    purified water are needed to properly compound the following
                        Drug M:            mL x 100 mL = 14.0 g                                                 prescription order?
                                     1000
                                         450 g                                                                  ~
                        Sucrose:             mL x 100 mL = 45.0 g                                               Solid N ..... : . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 0.1 mg
                                      1000                                                                      Solid Q . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.5 mg
                        Purified Water: to make 100 mL                                                          Solid R . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 150.0 mg
                                                                                                                Purified Water, qs to make . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5 mL
b. What quantities are required to compound 60 mL of the syrup?                                                                                 M ft solution, D.T.D. No 48.




                                                                                                                                                                                                JA001055
=~~'oi:o:..,..;e!.;..'<'Q.<>.:~"'""'-l'><'===~··~-"'---"·="-~~                                          -                             I                                                                              )\



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                    4. How much of each ingredient is required to compound 90 mL                                                             The expression "parts per thousand" (eg, 1:5000) always
                    of the following product?                                                                                             means parts weight in volume when dealing with solutions of
                                                                                                                                          solids in liquids and is similar to the above expression. A 1:5000
                     ~~l~~ ~ ·::::::::::::::::::::::::::::::::::::::::::::.':::. 2~:
                                                                                                                        7
                                                                                                                                          solution means 1 g of solute in sufficient solvent to make 5000
                     Oil C .................................................. 350 mL                                                      mL of solution. This can be converted to percent by
                     Alcohol . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 250 mL
                     Purified Water, qs, to make . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1000 mL                                                 1 g:5000 mL::X g:100 mL

                                                                                                                                                     X= 0.02 gin 100 mL solution which is 0.02%
                                                                                                                                          or
                    PERCENTAGE                                                                                                                                     I g
                                                                                                                                                                      mL X 100 mL = 0.02 g
                                                                                                                                                                5000
                    Percent, written as %, means per hundred. Fifteen percent is
                    written 15% and means 15/100, 0.15, or 15 parts in a total of                                                                               0.02 g
                    100 parts. Percent is a type of ratio and has no units. Thus, 10%                                                                           100 mL = 0 ·02 %
                    of 1500 tables is 10/100 X 1500 tablets = 150 tablets.
                       To change percent to a fraction, the percent number be-                                                                The expression "trituration" has two different meanings in
                    comes the numerator and 100 is the denominator. To change a                                                           pharmacy. One refers to the process of particle-size reduction,
                    fraction to percent, put the fraction in a form having 100 as its                                                     commonly by grinding or rubbing in a mortar with the aid of a
                    denominator; multiply by 100 so that the numerator becomes                                                            pestle. The other meaning refers to a dilution of a potent
                    the percent.                                                                                                          powdered drug with a suitable powdered diluent in a definite
                                                                                                                                          proportion by weight. It is the second meaning that is used in
                                                                  50     50                                                               this chapter.
                                                        y, = 100; 100 X 100 = 50%                                                             When pharmacists refer to a "1 in 10 trituration" they mean
                                                                                                                                          a mixture of solids composed of 1 g of drug plus sufficient
                                                                 12.5   12.5
                                                     Y,. = 100;         100 X 100 = 12.5%                                                 diluent (another solid) to make 10 g of mixture of dilution. In
                                                                                                                                          this case the "1 in 10 trituration" is actually a solid dilution of
                                                                                                                                          a drug with an inert solid. The strength of a trituration may
                       Calculations involving percentages are encountered contin-                                                         also be stated as percent w/w.
                    ually by pharmacists. They must be familiar not only with the                                                            Thus, the term trituration has come to mean a solid dilution
                    arithmetical principles, but also with certain compendial inter- .                                                    of a potent drug with a chemically and physiologically inert
                    pretations of the different type percentages involving solutions                                                      solid.
                    and mixtures.                                                                                                            The meanings implied by the USP statements in the section
                       The USP states                                                                                                     on percentage are illustrated below with a few examples of the
                   Percentage concentrations of solutions are expressed as follows:                                                       three types of percentages.
                       Percent weight in weight-(wlw) expresses the number of g of a
                   constituent in 100 g of solution.
                       Percent weight in volwne-(wlv) expresses the number of g of a                                                      Weight-in-Volume Percentages
                   constituent in 100 mL of solution, and is used regardless of whether
                   water or another liquid is the solvent.
                       Percent volume in volume-(vlv) expresses the number of mL of a                                                     This is the type of percent problem most often encountered on
                   constituent in 100 mL of solution.                                                                                     prescriptions. The volume occupied by the solute and the vol-
                       The term percent used without qualification means, for mixtures of                                                 ume of the solvent are not known because sufficient solvent is
                   solids, percent weight in weight; for solutions or suspensions of solids in                                            added to make a given or known final volume.
                   liquids, percent weight in volume; for solutions of liquids in liquids,
                   percent volume in volume; and for solutions of gases in liquids, percent
                   weight in volume. For example, a 1 percent solution is prepared by
                   dissolving 1 g of a solid or 1 mL of a liquid in sufficient of the solvent to                                          Examples
                   make 100 mL of the solution.
                                                                                                                                               1. Prepare 1 f5 of a 10% solution.
                                                                                                                                          Since this is a solution of a solid in a liquid, this is a wlu solution.
                    Ratio Strength
                                                                                                                                                              10 g    29.6 mL
                                                                                                                                                             100 mL X-~-.- X 1 f3 = 2.96 g
                   Ratio is another manner of expressing strength. Such phrases
                   as "1 in 10" are understood to mean that 1 part by volume of a                                                         2.96 g is dissolved in sufficient purified water to make 29.6 mL of
                   liquid is to be diluted with, or 1 part by weight of a solid                                                           solution.
                   dissolved in sufficient of the solution to make the finished
                   solution 10 parts by volume. For example, a 1:10 solution                                                                 2. How much of a drug is required to compound 4 f3 of a 3%
                   means 1 mL of a liquid or 1 g of a solid dissolved in sufficient                                                       solution in alcohol?
                   solvent to make 10 mL of solution. It can be converted to                                                                                   3g   29.6 mL
                   percent by                                                                                                                                lOO mL X~ X 4 f3 = 3.55 g

                                                             1 g:10 mL::X g:100 mL                                                           3. How much 0.9% solution of sodium chloride can be made
                                                                                                                                          from 1/2 3 of NaCl?
                                       X = 10 gin 100 mL of solution which is 10%
                                                                                                                                                            100 mL      31.1 g
                   or                                                                                                                                       --o.9g X ~X           z1 3 1730 mL
                                                                                                                                                                                      =

                                                                 1g                                                                           4. How many grams of a drug are required to make 120 mL
                                                                  mL X 100 mL = 10 g
                                                            10                                                                            of a 25% solution?
                                                              10 g                                                                                               25 g
                                                             100 mL = 10 %                                                                                      100
                                                                                                                                                                    mL x 120 mL = 30 g drug


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                                                                                                               PHARMACEUTICAL CALCULATIONS                                          115

   5. How would you prepare 480 mL of a 1 in 750 solution of                                                         1 g:19 g::X g:100 g
an antiseptic?
                                                                                        X = 1 g x 100 gl19 g = 5.26 g 5.26 gl100 g or 5.26%
Remember: percent wlv is indicated.
   1 in 750 means 1 g of the antiseptic dissolved in sufficient solvent to      3. How many grams of a chemical are needed to prepare
make 750 mL solution.                                                        200 g of a 10% wlw solution?
   By ratio and proportion,
                                                                             10% wlw means 10 g of solute in 100 g total solution. If 100 g solution
                       1 g:750 mL::U g:480 mL                                contains 10 g of solute, there are 90 g of solvent (100 g of solution- 10 g
                                                                             of solute = 90 g of solvent). The following proportion may be set up:
      U = 1 g X 480 mL/750 mL = 0.64 g antiseptic needed
                                                                                                                  10 g:100 g::M g:200 g
Dissolve 0~64 g of antiseptic in sufficient solvent to make 480 mL
solution.                                                                                    M = 10 g X 200 gl100 g = 20 g solute needed
   6. How much of a substance is needed to prepare 1 L of a                    4. How would one make a 2% w/w solution of a drug in 240
1:10,000 solution?                                                           mL of alcohol? The density of alcohol is 0.816 g/mL.
The ratio 1:10,000 means 1 g of a substance in 10,000 mL of solution.         a. First, convert 240 mL to weight. Remember: alcohol is the solvent
                                                                                 and it has a density different from that of water.
                           1 L = 1000 mL
                                                                                                             Density = WeightNolume
By ratio and proportion,
                                                                                                           Weight = Density X Volume
                  1 g:10,000 mL::V g:1000 mL
   V = 1 g X 1000 mLI10,000 mL = 0.1 g substance needed                                Weight = 0.816 glmL X 240 mL = 195.8 g (196 g)
   7. How would you prepare 120 mL of 0.25% solution of                      b. 2% w I w means 2 g solute in 100 g solution. In this problem the final
neomycin sulfate? The source of neomycin sulfate is a solution                  weight of solution is not known; 240 mL (196 g) of alcohol represents
which contains 1 g neomycin sulfate/10 mL.                                      the solvent only. The solvent is 98% wlw of the total solution, so the
                                                                                following proportion may be set up:
   10 mL stock soln 0.25 g drug
       1 g drug    x 100 vol soln x 120 mL soln = 3 mL stock soln                                                   2 g:98 g::N g:196 g
                                                                                                          N = 2 g X 196 gl98 g = 4.00 g
Add sufficient purified water to 3 mL of stock solution to make
120 mL.                                                                      c. Dissolve 4.00 g of the drug in 240 mL alcohol. The resulting solution
                                                                                will be 2% w I w and have a volume slightly larger than 240 mL
                                                                                because of the volume displacement of the drug.
Problems                                                                         5. How much of a 5% w/w solution can be made from 28.4 g
                                                                             of a chemical?
    1. How would you make 3 fl oz of a 12.5% solution?
    2. How many liters of a 4% solution can be made from 4 oz                                         100 g soln
                                                                                                                 x 28.4 g chem = 568 g soln
of a solid?                                                                                           5 gc hem
    3. How many liters of an 8% solution can be made from 500 g
of a solid?                                                                     6. How many mL of a 70% w/w solution having a density of
    4. How many grams of a drug are needed to make 4 L of a 1                1.2 g/mL will be needed to prepare 600 mL of a 10% w/v
in 500 solution?                                                             solution?                        ·
                                                                             a. 10 g:100 mL::Z g:600 mL
Weight-in-Weight Percentages                                                                                   Z = 60 g of drug needed
                                                                             b. 70 g:100 g::60 g:T g.
Density must be considered in some of these problems. If a
weight-in-weight solution is requested on a prescription, both the                               T = 85.7 g of70% wlw solution needed.
solute and"solvent must be weighed, or the solute and the solvent            c. Volume= Weight/Density= 85.7 gll.2 glmL = 71.4 mL of the 70%
may be measured if their densities are taken into consideration in              w I w solution needed.
determining the volumes. Since the solutions are made to a given
                                                                                Compounding problems involving solid preparations (such
weight, a given volume is not always obtainable.
                                                                             as mixtures of powder) and semisolid preparations (such as
                                                                             ointments, creams, and suppositories) are also percent w/w;
Examples                                                                     The following is an example of this.                         ·
                                                                                1. How much drug is required to make 2 3 of a 10% ointment?
1. What weights of solute and solvent are required to make                                        10gdrug 31.1goint
2 3 of a 3% wlw solution of a drug in 90% alcohol?                                                       . X   ~ .    X 2 3 = 6.22 g drug
                                                                                                  100 g omt  1 ., omt
         3 g solute 31.1 g soln                                                 The same procedure could be used for such mixtures as
                   X    ~       x 2 3 soln = 1.87 g solute
         100 gsonI   1 uson 1                                                powders and suppository masses. Instead of using units in the
                31.1 g soln                                                  various measuring systems, quantities can be indicated "by
                     soln x 2 3 soln = 62.2 g soln                           parts." The term "parts" then can mean any unit in any mea-
                  13
                                                                             suring system, as long as the units are kept constant.
            62.2 g soln - 1.87 g solute = 60.3 g solvent                        2. How many grams of each of the following three ingredi-
                                                                             ents are required to make 30 g of the product?
  2. The solubility of boric acid is 1 gin 18 mL of water at 25°C.
What is the percentage strength, w!w, of a saturated solution?                1;1:
                                                                              Solid A ..... :. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 0.5 part
1 g of boric acid + 18 mL of water make a saturated solution, 18 mL of        Powder B . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.0 parts
water weighs 18 g; hence, the weight of solution is 19 g. The amount of       Powder C, qs to . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30.0 parts
boric acid present is 1 g in 19 g of solution; therefore, the following      Since the product is a mixture of powders, percent wlw is indicated. In
proportion can be set up:                                                    the above prescription order the total product is 30 parts because




                                                                                                                                                         JA001057
"""'~·~Z""}!.!..><-..->C-1"'':;   '« ~M.•-=..>:.=--"'-""-'-~--~--   ,_ ~'-'~                                              ....--                          I                                                                                                                   ~ ~,

                                                                                                                                                                                                                                                                              -,
~                                                                                                                                                                                                                                                                             I      '

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                                       Powder C is used to "qs to" or "make up to" 30 parts. Therefore, 0.5 g of                                                   7. How much of each of the ingredients is required to make
                                       Powder A and 3.0 g of Powder B are needed.                                                                             1 kg of the following mixture?
                                        Powder A . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 0.5 g         Powder P . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1 part
                                        PowderB ......................................... : .... ~                                                             Powder Q . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8 parts
                                                                                                                                                 3.5 g         Powder R . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12 parts
                                        Total product . . . . . . . . . . . . . . . . . . . . . . . . . . . 30.0 g                                             Powder S . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15 parts
                                                                                                            -3.5 g                                                                                                                                                 36 parts
                                                                                                             26.5 g Powder C needed                               8. How much of each ingredient is required to prepare the
                                            3.                                                                                                                following ointment?
                                        ~                                                                                                                      ~
                                       Solid D . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.0 part         Coal Tar Solution . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10%
                                       Solid E . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.0 parts        Hydrophilic Ointment, qs to make . . . . . . . . . . . . . . . . . . . . . . . . . . 30 g
                                       Ointment Base Q . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30.0 parts

                                        How much of each of the following ingredients is needed to                                                            Volume-in-Volume Percentages
                                      make 60 g of the ointment? ?
                                       Solid D . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3.0 part
                                       Solid E . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6.0 parts
                                                                                                                                                              A direct calculation of percentage from the total volume is
                                       Ointment Base Q . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 30.0 parts                               made. Volumes, unlike weights, may not be additive. However,
                                                                                                                                  39.0 parts total            this does not present a problem because the final solution is up
                                                                                                                                                              to the desired volume with the diluent.
                                      Since a total of 60 g is needed, the following proportions can be
                                      made:
                                                                                                                                                              Examples
                                                 39 Parts total:60 g total needed::3.0 parts Solid D:X g

                                               X= 60 g x 3.0 parts/39 parts = 4.62 g Solid D needed                                                              1. How many minims of a liquid is needed to make 6 fl oz of
                                                                                                                                                              a hand lotion containing 0.5% v/v of the liquid?
                                                                           39 Parts:60 g::6.0 parts:Y g                                                             16.21lf liq  0.5 mL liq    29.6 mL lotion
                                                                                                                                                                     1 mL liq X 100 mL lotion x 1 !5lotion    X 6 f5lotion = 14 .4 n:r liq
                                                 Y = 60 g X 6.0 parts/39 parts = 9.23 g Solid E needed
                                                                                                                                                              Add sufficient lotion to 14.4 rtP= of the liquid to make 6 f)l of the
                                                                4.62 g Solid D                60.00 g                                                         product.
                                                            + 9.23 g Solid E                 -13.85 g Total
                                                              13.85 g                          46.15 g Base Q needed                                             2. How much 90% alcohol is required to compound 500 mL
                                                                                                                                                              of a 10% alcohol mixture? In v/v mixtures, percentage is di-
                                      The amount of ointment base needed can also be calculated by the above                                                  rectly proportional to volume.
                                      ratio and proportion method.
                                                                                                                                                              a. Since alcohol, a liquid, is mixed with water, percent vI v is indicated.
                                         4. What is the percent strength of a salt solution obtained by                                                          Assume no shrinkage.
                                      diluting 100 g of a 5% solution to 200 g?                                                                               b. 500 mL of the 10% solution contains the following amount of alcohol:
                                     Assign the 5% solution as Soln 1                                                                                                                      10 mL:100 mL::X mL:500 mL
                                     Assign the final solution as Soln 2
                                                                                                                                                                            X = 10 mL X 500 mL/100 mL = 50 mL alcohol
                                                      5 g drug     400 g Soln 1
                                                    100 g Soln 1 x 200 g Soln 2 x 100 g Soln 2 = 2.5 g drug                                                   c. 90% alcohol contains 90 mL of alcohol in 100 mL of solution. 50 mL
                                                                                                                                                                 of pure alcohol is needed; therefore, the following proportion may be
                                                                                2.5 g drug                                                                       set up:
                                                                               100 g Soln 2 = 2 ·5o/o w/w
                                                                                                                                                                                            90 mL:100 mL::50 mL:Y mL

                                                                                                                                                               Y = 100 mL X 50 mL/90 mL = 55.5 mL of 90% alcohol needed
                                      Problems
                                                                                                                                                              Problems
                                         1. How much of the drug and solvent are needed to com-
                                      pound the following prescription'?
                                                                                                                                                                 1. How many minims of a liquid are needed to make 4 f;s of
                                       ~                                                                                                                      a 12.5% v/v solution?
                                       Compound A .................... ; . . . . . . . . . . . . . . . . . . . . . . 6% w/w                                      2. What volume of 50% v/v alcohol could be prepared from
                                       Solvent, qs to make . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4 5
                                                                                                                                                              1 L of 95% v/v alcohol?
                                                                                                                                                                 3. What is the percentage strength, weight in weight, of a
                                          2. How many grams of solute are needed to prepare 240 g of                                                          liquid made by dissolving 16 g of a salt in 30 mL of water?
                                      a 12% w/w solution?                                                                                                        4. How much drug will be required to prepare 1 fl oz of a
                                          3. How many kg of a 20% wlw solution can be made from 1                                                             2.5% solution?
                                      kg of the solute?                                                                                                          5. What is the percentage, weight in weight, of sugar in a
                                          4. How would you prepare, using 120 mL of glycerin (den-                                                            syrup made by dissolving 5 kg of sugar in 8 kg of water?
                                      sity, 1.25 g/mL), a solution that is 3% w/w with respect to a                                                              6. How many grams of a drug are required to prepare 120
                                      drug?                                                                                                                   mL of a 12.5% aqueous solution?
                                          5. How much of each substance is needed to prepare a total                                                             7. How much drug is needed to compound a liter of a 1:2500
                                      of 24 g of the following suppository mass?                                                                              aqueous solution?
                                       Compound K . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 0.3 g                8. A solution contains 37% of active ingredient. How much of
                                       Solid H . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 0.15 g       this solution is needed to prepare 480 mL of an aqueous solu-
                                       Suppository base, qs to make . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2.0 g                         tion containing 2.5% of the active ingredient?
                                        6. How would one prepare 500 mL of a 15% w/w aqueous                                                                     9. How much of a drug is required to make 2 qt of a 1:1200
                                     solution?                                                                                                                solution?

                                                                                                                                                                                                                                         JA001058
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                                                                          solution contains 1 part of solute/1 million parts of solution; 5
STOCK SOLUTIONS                                                           ppm is 5 parts solute/1 million parts solution, and so on. Re-
                                                                          member that the two parts must have the same units, except in
To facilitate the dispensing of certain soluble substances, the           the metric system where 1 g = 1 mL of water.
pharmacist frequently prepares or purchases solutions of high                Sodium fluoride is a drug that may be prescribed by a
concentration. Portions of these concentrated solutions are di-           dentist as a preventative for tooth decay in children. It is used
luted to give required solutions of lesser strength. These con-           only in very dilute solutions due to the drug's toxicity and
centrated solutions are known as stock solutions. This proce-             because only minute quantities are needed. For example, how
dure is satisfactory if the substances are stable in solution or if       much sodium fluoride would be needed to prepare the following
the solutions are to be used before they decompose.                       prescription?
    In the case of potent substances, a properly prepared stock
solution permits the pharmacist to obtain accurately a quantity           ij:
of solid that might otherwise be difficult to weigh. In the case of       Sod Fluoride, qs
frequently prescribed salt solutions, a stock solution readily            Purified water, qs 60 mL
provides the required amount of salt without the necessity of             Make soln such that when 1 f3 is diluted to 1 glassful of water a 2 ppm
weighing and dissolving it every time.                                        soln results.
                                                                          Sig: 1 f3 in a glassful of water a day.
    Stock solutions may be of various concentrations depending
on the requirements for use. The stock solutions should be                   The mathematics to solve this compounding problem are
labeled properly and fractional parts needed to make various              easy once the steps for calculating the answer are outlined.
strengths also may be listed as a further convenience.                    This problem should be worked "backward."
    There is a type of compounding and dispensing problem that
involves the concept of stock solutions. This involves the pa-             a. The amount of NaF needed is not known.
tient diluting a dose from the prescription order to a given               b. One glassful of water has a volume of 240 mL. The concentration of
volume to obtain a solution of desired concentration.                         NaF in 240 mL is 2 ppm.
    For example, how many grams of a salt are required to make             c. The N aF solution poured into the glass came from a teaspoonful dose
90 mL of a stock solution, 5 inL of which makes a 1:3000                      (1 3), which is equal to 5 mL.
solution when diluted to 500 mL?                                           d. The 5-mL dose came from the prescription order bottle containing a
                                                                              NaF solution.
a. Determine how many grams are in 500 mL of a 1:3000 solution.
                                                                          Now, inserting numbers
                     1 g:3000 mL::X g:500 mL
                                                                           a. 240 mL contains 2 ppm NaF.
X= 1 g X 500 mL/3000 mL = 0.167 g
                                                                                             2 g:1,000,000 mL::X g:240 mL
                                  salt in 500 mL of 1:3000 solution
b. The 0.167 gin the dilute solution came from the 5 mL of the original              X = 2 g X 240 mL/1,000,000 mL = 0.00048 g
   stock solution (prescription order). The following proportion can be
   used.                                                                  b. The 0.00048 g of NaF in the glass came from the teaspoonful dose;
                                                                             therefore, the teaspoonful (5 mL) contained 0.00048 g of NaF.
                      0.167 g:5 mL::Y g:90 mL                             c. The 5 mL came out of the original prescription order bottle (60 mL).

Y = 0.167 g X 90 mL/5 mL = 3.01 g                                                              5 mL:0.00048 g::60 mL:Y g
        salt needed to make the original 90 niL of stock solution
                                                                                       Y = 0.00048 g X 60 mL/5mL = 0.00576 g
   Alternately,
                                                                             The pharmacist would weigh out 5. 76 mg (actually, one
Assign stock solution as Soln 1                                           would weigh out a larger quantity and take an aliquot part)
Assign final dilution as Soln 2                                           and qs to 60 mL.
         I g salt    500 mL Soln 2                                           Another variation of this problem is the prescriber request-
     3000 mL Soln 2 x 5 mL Soln I x 90 mL Soln I = 3.0 g salt             ing the concentration in terms of fluoride ion (F-). In this case
                                                                          the atomic weight ofF- and molecular weight ofNaF are used
                                                                          in the calculation. If the request called for 2 ppm fluoride, the
                                                                          initial calculations would be the same as above, and an addi-
Problems                                                                  tional step would be added at the end. The 5. 76 mg would now
                                                                          represent the weight of fluoride ion needed. 'rhis must be
                                                                          converted to weight ofNaF. The molecular weight ofNaF is 42
    1. How much of a drug is needed to compound 120 mL of a
                                                                          and the atomic weight of fluorine is 19. The following propor-
prescription order such that when 1 teaspoonful of the solution
                                                                          tion can be set up.
is diluted to 1 qt, a 1:750 solution results?
    2. How many grams of a drug are needed to make 240 mL of                                       5.76 mg:19::Z mg:42
a solution of such strength that when 5 mL is diluted to 2 qt, a
1:2500 solution results?                                                                    Z = 5.76 mg X 42/19 = 12.7 mg
   3. An ampul of solution of an anti-inflammatory drug con-
tains 4 mg of drug/mL. What volume of the solution is needed
to prepare a liter of solution that contains 2 J.Lg of the drug/mL?
                                                                          Problems

PARTS PER MILLION                                                           1. How many mg of N aF are needed in the following
                                                                          prescription?
An expression that is occasionally used in compounding pre-               ij:
scriptions is parts per million (ppm). This is another way of             Sodium Fluoride
expressing concentration, particularly concentrations of very             Purified water, qs to 90 mL
dilute preparations. A 1% solution may be expressed as 1                  M ft solution such that when 13 is dil to 1 glassful of water a 3 ppm NaF
part/100; a 0.1% solution is 0.1 part/100 or 1 part/1000. A 1 ppm            soln results.




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118         CHAPTER 11


                                                                     Problems
DILUTION AND CONCENTRATION
                                                                       1. The following prescription order was received in a phar-
Stock solutions can be diluted to make a produyt that has a          macy. If the only R cream available is a 10% concentration, how
lower concentration; also mixtures of powders or semisolids (eg,     much of the 10% cream and how much diluent are required to
ointments) can be diluted to give a product oflower concentra-       compound the prescription?
tion of the drug(s). The diluent is an inert solid or semisolid or
                                                                      :ij,
base that does not contain any active ingredients.                    R Cream 3% ..................................................................................... 30 g
    Mixtures also may be concentrated by adding pure drug or
mixing with a product containing a higher concentration of the          2. How many grams of a 1:100 trituration contain 100 p,g of
drug. For example, how much of a diluent must be added to 50 g       the active ingredient?
of a 10% ointment to make it a 5% ointment?                             3. How many grams of a 1:1000 dilution can be made from
    1. How many grams of active ingredient are in 50 g of 10%        1 g of a 1:25 trituration?
ointment?

                        10 g:100 g::V g:50 g
                                                                     MIXING DIFFERENT STRENGTHS
                    V = 10 g X 50 g/100 g = 5 g

    2. How many grams of a 5% ointment can be made from 5 g          Rules
of active ingredient?
                                                                        1. The sum of the products obtained by multiplying a series
Assign the 10% ointment as Oint 1
                                                                     of quantities by their respective concentrations equals the
Assign the 5% ointment as Oint 2
                                                                     product obtained by multiplying a concentration by the sum of
                                                                     the quantities. For example, the sum of the products-obtained
        100 g Oint 2  10 g drug
                                                                     by multiplying the individual weights or volumes of a series of
          5 g drug X 100 g Oint 1 X 50 g Oint 1 = 100 g Oint 2       preparations by the concentration of a given ingredient con-
                                                                     tained in each preparation-is equal to the product obtained by
   3. How many grams of base must be added to the 50 g of the        multiplying the total weight of the series of preparations by the
original 10% ointment?                                               percentage of the given ingredient resulting from a homoge-
                                                                     neous mixture of the same series of preparations.
                       100 g       5% ointment                          2. When mixing products of varying strengths, the units and
                      - 50 g      10% base                           type of percent (w!w, w/v, v/v) must be kept constant.
                         50 g     base
                                                                     Examples
   The term trituration was used previously to mean a dilute
powder mixture of a drug. It is often necessary to dilute this
                                                                       1. What is the percent of alcohol in a mixture made by
mixture further to obtain the required amount of drug.
                                                                     mixing 5 L of 25%, 1 L of 50%, and 1 L of 95% alcohol?
   1. How much of a 1 in 10 trituration of a potent drug
contains 200 mg of the drug?                                         a. Determine the total amount of alcohol in the three solutions and the
   A 1 in 10 trituration means 1 g of drug in 10 g of mixture or        total amount of solution (1 L = 1000 mL). Assume additivity of
                                                                        volumes on mixing.
1 g of drug plus 9 g diluent. Remember: mixtures of solids are
present w/w. The following proportion can be made:                                            25 mL ale
                                                                                                   mL x 5000 mL = 1250 mL ale
                                                                                               100
                         1 g:10 g::0.2 g:T g
                                                                                              50 mL ale
                                                                                                   mL x 1000 mL = 500 mL ale
                    T = 10 g X 0.2 g/1 g = 2 g                                                 100
                                                                                              95 mL ale 1000 mL
    2. How much diluent must be added to 10 g of a 1:100                                       100 mL x 7000 mL = 950 mL ale
trituration to make a mixture that contains 1 mg of drug in
each 10 g of the final mixture?                                      b. Determine the percent of alcohol in the mixture. There is a total of
                                                                        2700 mL of alcohol in 7000 mL of total solution.
a. Determine the amount of drug in 10 g of trituration.                                      2700 mL ale
                                                                                                   mL x 100 mL = 38.6 mL ale
                                                                                              7000
                       1 g:100 g::M g:10 g
                                                                                                        38.6 mL ale
                   M = 1 g X 10 g/100 g = 0.1 g                                                           100 mL = 38 ·6%

b. Determine the amount of mixture that can be made from 0.1 g           2. What is the strength of a mixture obtained by mixing 50 g
   (100 mg) of drug.                                                 of a 5%, 100 g of a 7.5% and 40 g of a 10% ointment?
                                                                     a.
                      1 mg:lO g::100 mg:N g
                                                                                                       5% X 50 g            =    2.5 g
               N = 10 g X 100 mg/1 mg = 1000 g                                                       7.5% X 100 g           =    7.5 g
                                                                                                     10%x 40g               =    4.0 g
c. Determine the amount of diluent needed.                                                                  190 g               14.0 g
                                                                     b. There is a total of 14.0 g of active ingredient in 190 g of total mixture.
                         1000 g total mixture
                           I 0 g trituration                                                          14 g:190 g::W g:100 g
                          990 g diluent                                                      W = 14 g X 100 g/190 g = 7.37 g


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Since there are 7.37 g of active ingredients in 100 g of the                           950;{    .                       20 Parts of 95%
mixture, a 7.37% preparation results.                                                       Ommus~              /


                                                                                                        from 50%


                                                                                           /~45 Parts of 30%
Problems

   1. What percent of a drug is contained in a mixture of
powder consisting of 0.5 kg, containing 0.038% of a drug, and                           30%                             65 Parts of 50%
10 kg, containing 0.043% of a drug?
                                                                             In a total of 65 parts, 20 parts of 95% alcohol + 45 parts of 30% alcohol
   2. What is the strength of a mixture produced by combining                are needed. Since the total parts is proportional to 500 mL, the follow-
the following lots of alcohol: 2 L of 95%, 2 L of 50%, and 7 L               ing proportion can be made:
of60%?
   3. What is the percent of drug content in the following                               20 part (mL) 95%
mixture: 2 kg of 3%, 300 g of 2.5%, and 500 g of 4.2% resin?                             65 part (mL) 50 % x 500 mL 50% = 154 mL 95%

                                                                             Add sufficient 30% alcohol to make 500 mL.
                                                                                3. How many grams of an ointment containing 0.18% of
ALLIGATION ALTERNATE                                                         active ingredient must be mi:Jced with 50 grams of an ointment
                                                                             containing 0.14% of active ingredient to make a product con-
Alligation is a rapid method of calculation that is useful to the            taining 0.15% of active ingredient?
pharmacist. The name is derived from the Latin alligatio,                                                              0.01 Parts of0.18o/o
meaning the act of attaching, and it refers to lines drawn                            0.18%
during calculation to bind quantities together. This method is
used to find the proportions in. which substances of different                                 ~
strengths or concentrations must be mixed to yield a mixture of                                      0.15%
desired strength or concentration. When the proportion is
found, a calculation may be performed to find the exact
amounts of the substances required.                                                0.14%/                    ~         0.03 Parts of 0.14%
                                                                                                                       0.04 Parts of 0.15%
                                                                                      0.01 parts (g) 0.18%
Rules                                                                                 0.0 3 parts (g) 0. 14% x 50 g 0.14% = 16.7 g 0.18%

   1. The substance with a higher value than that required is                   4. Occasionally, it is necessary for a pharmacist to increase
the one with the lower amount.                                               the strength of a product. For example, a prescription calls for
   2. The gain in value or amount of one substance balances the              50 g of a 10% ointment. The pharmacist only has a 5% ointment
loss in value or amount of another substance.                                and the pure ingredient available. How much of the 5% oint-
                                                                             ment and the pure ingredient are needed to compound the
                                                                             prescription?
Examples and Procedure                                                                                                   5 Parts 100%
                                                                                          100%
   1. In what proportion must a preparation containing 10% of
drug be mixed with one containing 15% of drug to produce a                                     ~10%
mixture of 12% drug strength?
The 10% drug is 2% too weak and the 15% is 3% too strong. Therefore,
the excess in strength of three parts of the stronger can be calculated to                  /                 ~ 90 Parts 5%
just balance the deficiency of two parts of the weaker drug. Set up the                  5%
                                                                                                                         95 Parts 1Oo/o
problem in this manner:
                                                                                         5 parts (g) 100%
                15% minus                    2 Parts of 15%
                                                                                         95 parts (g) 10% x 50 g 10% = 2.63 g 100%
                        ~                /                                                90 parts (g) 5%
                              from 12%
                                                                                         95 parts (g) lO% x 50 g 10% = 47.4 g 5%

                10%
                    /~                       3 Parts oflO%
                                             5 Parts of 12%
                                                                             Problems
   The desired percent or concentration is placed in the center,
the lower percentage is placed on the left side below the center                1. How much ointment containing 12% drug and how much
and the higher percentage is placed on the left side above the               ointment containing 16% drug must be used to make 1 kg of a
center. The figure obtained by subtracting 10% from 12% is                   product containing 12.5% drug?
placed opposite the 15% on the right side, and that obtained by                 2. In what proportion should 50% alcohol and purified water
subtracting the 12% from 15% is placed opposite the 10% figure               be mixed to make a 35% alcohol solution? (The purified water is
on the right side.                                                           0% alcohol.)                ·
   Then, mixing 2 parts of 15% drug preparation with 3 parts                 Note: This problem may be solved by a method other than alligation as
of 10% drug preparation will produce a drug mixture of the                   was shown above.
desired 12% strength.
   2. In what proportion must 30% alcohol and 95% alcohol be                    3. How many grams of 28% wlw ammonia water should be
mixed to make 500 mL of 50% alcohol? Set up the problem in                   added to 500 g of 5% w/w ammonia water to produce a 10% w/w
the following manner:                                                        ammonia concentration?




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                         4. How many mL of 20% dextrose in water and how many
                      mL of 50% dextrose in water are needed to make 1 L of 35%                                              SATURATED SOLUTIONS
                      dextrose in water?
                                                                                                                             Occasionally, it is necessary for a pharmacist to make satu-
                                                                                                                             rated solutions. Solubility in the USP/NF is expressed as the
                                                                                                                             number of milliliters of a solvent that will dissolve 1 g of a solid;
                       PROOF SPIRIT                                                                                          for example, 1 g dissolves in 0.5 mL of water. In other words, if
                                                                                                                             1 g of a solid is dissolved in 0.5 mL of water, a saturated
                      For tax purposes, the US government calculates the strength of                                         solution results. An example will illustrate this.
                      pure or absolute alcohol (herein referred to as C2 H 5 0H) by                                              How much of a drug is needed to make 120 mL of a satu-
                      means of proof degrees. This means that 100 proof spirit con-                                          rated solution if 1 g of the drug dissolves in 7.5 mL of water?
                      tains 50% (by volume) or 42.49% (by weight) of C2 H 5 0H, and
                      its specific gravity is 0.93426 at 60°F. Thus, 2 proof degrees                                         Calculate the amount of drug that can be dissolved in 120 mL water.
                      equals 1% (by volume) of C2 H 5 0H. One proof gallon is 1 gal of                                                        X= 1 g x 120 mL/7.5 mL = 16 g
                      50% (by volume) of C2 H 5 0H at 15.56°C (60°F). In other words,
                      a proof gallon is a gallon that contains V2 gal of C 2 H 5 0H. A                                       When 16 g of the drug are dissolved in 120 mL of water, a saturated
                      proof gallon is 100 proof.                                                                             solution results that has a volume greater than 120 mL because the
                                                                                                                             solid will take up a certain volume. Only 120 mL would be dispensed.
                          The term 10 degrees under proof (10° up) signifies that 100
                      volumes of the spirit contains 90 volumes of proof spirit plus 10                                      What is the % w/w of the above solution?
                      volumes of water, and 30 degrees over proof (30° op) indicates
                      that 100 volumes diluted with water yields 130 volumes of                                                     120 g (mL) water + 16 g drug = 136 g of solution
                      proof spirit. To prepare proof spirit, 50 volumes of C2 H 5 0H are                                     of total solution weight. There is 16 g of solute in 136 g of solution;
                      mixed with 53.71 volumes of water to allow for the contraction                                         therefore,
                      that occurs to yield 100 volumes of product.
                          The terms proof strength, proof gallon, and proof spirit are                                                               16 g:136 g::P g:100 g
                      used so that the tax is levied only on the actual quantity of                                                            P = 16 g X 100 g/136 g = 11.8 g
                      C2 H 5 0H contained in any mixture. Therefore, it is sometimes
                      necessary for the pharmacist to convert alcohol purchased to                                           in 100 g of solution. Therefore, this is a 11.8% w/w solution.
                     ·proof strength to compute tax refunds or convert proof
                      strengths to percent for compounding purposes.                                                         Problems
                          A quantity of solution that contains 1/z gal of C2 H 5 0H is said
                      to contain 1 proof gal. Proof gallons may be calculated by the                                         1. What is the solubility of a chemical if a saturated aqueous
                      following two equations:                                                                               solution is 0.5% w/w?
                                                   gal x vI v strength                                                          2. How many grams are needed to make 500 mL of a satu-
                                        Proof gal= · 50 % v/v                                                                rated solution if 1 g of the solute is soluble in 14 mL of solvent?

                                                                                 gal x proof strength
                                                                  Proof gal=          100 proof
                                                                                                                             MILLIEQUIVALENTS
                      The second equation is the same as the first because proof
                      strength is always twice the % v/v strength. With these equa-                                          The quantities of electrolytes administered to patients are usu-
                      tions, given any two variables the third can be calculated.                                            ally expressed by the term milliequivalents (mEq). The reason
                                                                                                                             that weight units (mg, g) are not used is because the electrical
                                                                                                                             activity of the ions, which in this instance is important, may be
                      Examples                                                                                               best expressed as mEq. (See Chapter 17 for additional discus-
                                                                                                                             sion on electrolytic equilibria.)
                              1. What is the taxable alcohol in 1 pt of Alcohol USP?                                             A mEq is 1/1000 of an equivalent (Eq). An Eq is the weight
                                                                                                                             of a substance that combines with or replaces one gram-atomic
                                                                    1 pt = 1/s gal (8 pt = 1 gal)                            weight (g-at wt) of hydrogen. In pharmacy the terms equivalent
                      Alcohol USP is 95% v/v; therefore,                                                                     and equivalent weight (Eq wt) have been used interchangeably.
                                                                                                                             For problem solving it is convenient to identify the molar
                                                          gal x o/o strength         \Is gal X 95o/o                         weight in terms of mg per mmol and the number of mEq per
                               Proof gal =                          o/o                  .        o/o   = 0.2375 proof gal   mmol as follows:
                                                                50                           50
                                                                                                                                                                       mg
                         2. How much Diluted Alcohol USP can be made from 1 qt of                                                                 Molecular weight = mmol
                      alcohol labeled 1/z proof gallon?
                      Diluted Alcohol USP is 49% vlv; therefore,                                                                                                        mmol
                                                                                                                                                                 mEq = valence
                                                                           gal x o/o strength
                                                   Proof gal =                                                                   For example, KCl has a molecular weight is 74.5; the above
                                                                                 50 o/o
                                                                                                                             parameters would be 74.5 mg/mmol and 1 mEq/mmol.
                                                                           0.5 proof gal x 50o/o                                Water of hydration contributes to the molecular weight (mol
                                                                    gal=              o/o        = 0.510 gal                 wt) of a compound but not to the valence, and the total mol wt
                                                                                   49
                                                                                                                             is used to calculate mEq.
                      Problems
                                                                                                                             Examples
                      1. How many proof gallons are there in 1 qt of a preparation
                      that is labeled 75% v/v alcohol?                                                                       1. Calcium (Ca2 +) has a gram-atomic weight of 40.08. Determine
                         2. How many proof gallons are there in a pint of an elixir                                          the number of mEq/mmol. As the valence of the calcium ion in 2,
                      that contains 14% alcohol?
                         3. How much Diluted Alcohol USP can be made from 1 gal of                                                                           2mEq
                      190 proof alcohol?                                                                                                                    mmolCa


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  2. A solution (100 mL) that contains 409.5 mg of NaCI/100               6. How many mEq of Na are there in 500 mL of Y2 normal
mL has how many mEq of N a+ and Cl-?                                   saline solution? Normal saline solution contains 9 g NaCIIL;
                                                                       mol wt NaCl is 58.5.
                 Molecular wt = 58.5 mg/mmol                              7. How much KCl is needed to make a pint of syrup tha't
             1 mEq Cl-    . 1 mEq Na+                                  contains 10 mEq of K+ in each tablespoonful? The mol wt of
    There is mmol NaCl and mmol NaCl                                   KCl is 74.5.
      1 mEq CI-       1 mmol NaCl 409.5 mg NaCl
      ----::-:-X                   X            X 100m1
      mmol NaCl       58.5 mg NaCl   100 mL
                                           = 7.0 mEq of Na+            TEMPERATURE
   3. A prescription order calls for a 500 mL solution of potas-
sium chloride to be made so that it will contain 400 mEq ofK+.
How many grams of KCl (mol wt: 74.5) are needed?                       Rules
    1 mEq   74.5 mg                                                    The relationship of Centigrade (C) and Fahrenheit (F) degrees
    mmol and mmol                                                      is
               1 g KCl           74.5 mg KCl 1 mmol KCl
             --:-::-~:___-== X              X
             1000 mg KCl          mmol KCl     mEq K+
                                                                       where oc is the number of degrees Centigrade, and ?F is the
                                           x 400 mEq K+ = 29.8 g KCl
                                                                       number of degrees Fahrenheit.
   4. How many mEq ofK+ are in a 250-mg tablet of potassium
phenoxymethyl penicillin (mol wt: 388.5; valence: 1)?
                                                                       Examples
    1 mEq K+    388.5 mg Pen
    mmol Pen and mmol Pen                                              1. Convert 77°F into oc.
         1 mEq K+ 1 mmol Pen     250 mg Pen                                                    9CC) = 5CF) - 160
         ----x                 x            x1tab
         mmol Pen 388.5 mg Pen       tab                                                      9CC) = 5(77) - 160
                                                     = 0.644 mEq K+                               385- 160
                                                                                             oc =     9
                                                                                                            = 25°C
   5. How many mEq of Mg are there in 10 mL of a 50%
Magnesium Sulfate Injection? The mol wt of MgS04 • 7H2 0 is            2. Convert 10°C into °F.
246.
                                                                                                9C0C) =WF)-160
    2 mEq Mg 2 +          246 mg drug
    _  ___;=----:::__ and ---=------'=--                                                        9(10)=5(°F)-160
      mmol drug            mmol drug
                                                                                              90 + 160
     2 mEq Mg 2 + 1 mmol drug  1000 mg drug 50 g drug                                            5     =OF= 50°F
     mmol drug x 246 mg drug x    g drug   x 100 mL
                                            X 10 mL = 40.7 mEq Mg2+
                                                                       Problems
  6. A vial of Sodium Chloride Injection contains 3 mEq/mL.
What is the percentage strength of this solution? The mol wt of        Convert
NaCl is 58.5.
                                                                       a. 30°C into °F
     1 mEq   58.5 mg                                                   b. 100°C into °F
     mmol and mmol                                                     c. 37°C into °F
                                                                       d. 120°F into oc
          1g    58.5 mg 1 mmol 3 mEq
        1000mg X mmol x 1 mEq x ~ x 100mL                              REFERENCES
                                                           = 17.6 g     1. Specifications, Tolerances, and Other Technical Requirements for
                              17.6g                                        Weighing and Measuring Devices. NBS Handbook 44. Washington
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Problems                                                                4. Morrell CA, Ordway EM. Drug Std 22: 216, 1954.
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                                                                           apy, 5th ed. St Louis: Mosby, 1975, p 19.
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gram atomic weight of 55.85 g?                                             cago: St Louis, Mosby 1995.
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7H2 0)?                                                                    Dallas: Jodane, 1981.
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   4. How many mEq of Ca 2 + are there in a 600-mg calcium                 sity Press, 1959.
lactate pentahydrate (g mol wt: 308.30 g) tablet?                       10. Butler AM, Richie RH. N Eng! J Med 1960; 262: 903.
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bicarbonate tablet? The mol wt of NaHC0 3 is ~4 and the                     Philadelphia: Saunders, 1975, pp 287, 1713.
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                     122                CHAPTER 11




                                                                              5.
                     DENSITY                                                  a. 480 gr
                     1.    816 g                                              b. 8 3
                     2.    363 mL                                             c. 437¥2 gr
                     3.    54.2 mL                                            d. 2880 gr
                                                                              e. 4 3, 10 gr
                     LOGARITHMS                                               DOSAGE CALCULATION
                     1. V = -0.000084 em/sec or -8.4 X 10-5 em/sec            1.    1.5 mg
                     2. S = 65.6 dynes/em                                     2.    V2 gr
                        [Un-ionized] _            _9                          3.    18.7 mg
                     3.   [Ionized]  - 7.94 X 10                              4.    280,000 units
                                                                              5.    75 mg
                     ADDITION                                                 6.    77.9 mg
                     i. 2481.23 g or 2.48123 kg                               PROBLEM-SOLVING METHODOLOGY
                     2.    1157 g or 1.157 kg
                     3.    2 J, 2 3, 3 3, 17¥2 gr                             1.   D.T.D. No. 14 means, send 14 such doses. Assuming the doses have
                     4.    1 lb, 7 3, 4 3, 2 3, 4 gr                               been checked, they are for chemicals J, K, and L (10 mg, 50 mg, and
                     5.    2 79/90 gr                                              300 mg, respectively).
                     6.    4 gal, 2 qt, 11 fi oz                              2.   Drug Q: 0.5 g
                                                                                   Drug R: 0.3 g
                                                                              3.   7.6 llP/dose: 30.4 llP/day
                     SUBTRACTION
                                                                              4.   50 doses
                    1.     4105 mL or 4.105 L                                 5.   0.0444 mg
                    2.     143¥2 gr                                           6.   0.75 mL contains 60 units: 13 113-day supply.
                    3.     7 fi oz, 2 fi dr                                   7.   6mL
                    4.     3.71 g                                             8.   3mL
                                                                              9.   0.386 gr
                    MULTIPLICATION
                                                                              REDUCING AND ENLARGING
                    1.     157 mL
                                                                              1.  Liquid C 875 mL
                    2.     163 g
                                                                                 Solid B 225 g
                    3.     825 mL
                                                                                 Liquid R 62.5 mL
                    4.     2 gal, 1 qt, 4 fi oz, 4 fi dr
                                                                                 Liquid P 500 mL
                    5.     375 mg
                                                                              2. Solid G 24 3 or 3 3
                                                                                 Liquid D 720 llP= or 1 f5, 4 f3
                    DIVISION                                                     Solid M 72 3 or 95
                    1.     769 capsules + 15 mg remainder                     3. Solid N 4.8 mg
                    2.     160 capsules                                          Solid Q 120 mg
                    3.     150 doses                                             Solid R 7.2 g
                    4.     150 doses                                          Add sufficient purified water to make 240 mL solution.
                    5.     1396 capsules + 300 mg remainder
                                                                              4.    Solid S 0.675 g
                    CONVERSIONS                                                    Solid T 2.25 g
                                                                                   Oil C 31.5 mL
                    1.                                                             Alcohol 22.5 mL
                    a. 422 mg                                                 PERCENTAGE
                    b. 19.4 mg                                                w/v Solutions
                    c. 109 g                                                  1. Dissolve 11.1 gin sufficient solvent to make 3 f;s.
                    d. 7780 mg                                                2. 2.84 L
                    e. 99.4 g                                                 3. 6.25 L
                    f. 454 g.                                                 4. 8 g
                    2.
                                                                              wlw Products
                    a. lib, 3 oz, 173 gr
                    b. 6.94 gr                                                1.  Compound A 115 gr or 1 3, 2 3, 15 gr
                    c. 1 lb, 5 3, 5 3, 26 gr                                     Solvent 3 5, 365 gr
                    d. 0.00154 gr                                             2. 28.8 g
                    e. 2.2lb                                                  3. 5 kg
                    3.                                                        4. Dissolve 4.64 g of drug in 120 mL (150 g) of glycerin.
                                                                              5. Compound K 3.6 g
                    a. 0.648 mg                                                  Solid H 1.8 g
                    b. 0.203 mg                                                  Basel8.6 g
                    c. 10.8 mg                                                6. Dissolve 88.2 g of the solute in 500 mL of purified water. Dispense
                    d. 0.325 or 0.324 g                                           500 mL
                    e. 1.299 or 1.296 g                                       7. Powder P 27.8 g
                    4.                                                           Powder Q 222.2 g
                                                                                 Powder R333.3 g
                    a. 12.3 mL                                                   Powder S416.7 g
                    b. 11.1 mL                                                8. 3 g of coal tar solution; 27 g of hydrophilic ointment
                    c. 237 mL
                    d. 473 mL                                                 PERCENT
                    e. 0.309 mL                                               (ulu, w/u, and w/w)
                    f. 0.00154 g:r                                            1.   240 n:p
                    g. 0.0772 gr                                              2.   1900 mL


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                                                      PHARMACEUTICAL   PageID #: 7894
                                                                     CALCULATIONS   123

3.   34.8% wlw                                         2. 35 parts of 50% alcohol and 15 parts of purified water
4.   11.4 gr                                           3. 139 g of 28% ammonia water
5.   38.5% wlw                                         4. 500 mL each of the 20% and 50% solutions are needed
6.   15 g
7.   0.4 g                                             PROOF SPIRIT
8.   32.4 mL of a 37% solution                         1. 0.375 proof gal
9.   1.58 g                                            2. 0.035 proof gal
STOCK SOLUTIONS                                        3. 1.94 gal
1. 30.3 g                                              SATURATED SOLUTIONS
2. 36.3 g                                              1. 1 g in 199 mL
3. 0.5 mL                                              2. 35.7 g of solute
PARTS PER MILLION                                      MILLIEQUIVALENTS
1.   13 mg                                             1.   27.925 mg/mEq
                                                       2.   89.3 mg/mEq
DILUTION AND CONCENTRATION                             3.   12.5 mEq
1. 9 g of 10% cream and 21 g of diluent (base)         4.   3.9 mEq
2. 0.01 g                                              5.   3.86 mEq Na
3. 40 g                                                6.   38.5 mEq Na
                                                       7.   23.5 g
MIXING PRODUCTS OF DIFFERENT STRENGTHS
                                                       TEMPERATURE
1. 0.0428%
2. 64.5%                                               1.
3. 3.16%                                               a. 86°F
ALLIGATION ALTERNATE                                   b. 212°F
                                                       c. 98.6•F
1.   875 g of 12% ointment and 125 g of 16% ointment   d. 48.9°C




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               Continuous Revision of the USP and the NF
       The need for continuously refining specifications             Supplements to USP 23-NF 18 are issued seri-
     and updating standards is a natural consequence of           ally as necessary, with the Index in the latest Sup-
     the introduction of new drugs and the accelerated            plement being fully cumulative with respect to all
     growth of knowledge in the pharmaceutical sci-               Supplements issued previously. Thus, in order to
     ences.                                                       keep the compendia up to date, the user needs to
       In order to keep the United States Pharmacopeia            keep all of the Supplements. Cumulation of the
     and the National Formulary abreast of these de-              Supplements into a new main volume will occur
     velopments and to maintain the official standards            whenever the amount of text in the Supplements
     accordingly , the main volume is revised regularly           becomes unwieldy for the user, or the logistics of
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     are issued between Supplements as necessary.                 volumes may therefore vary from the five-year in-
                                                                  terval characteristic of new main volumes published
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                                                            ...
                          Publish in Pharmacopeia/ Forum for public review
                           (In-process Revision or Pharmacopeia/ Previews)
                                                            ...
                                            Subcommittee approves
                                                            ...
                                    DSD Executive Committee approves
                                                            ...
                                Executive Committee of Revision approves
                                                            ...
                          Board of Trustees approves publication in USP-NF


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                        THE NATIONAL FORMULARY

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                        March 8-10, 1990. Prepared by the Committee of
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                        Official from January I, 1995




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                                                       General Notices
                                                     and Requirements
                                          Applying to . Standards, Tests, .
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                                    of the United .States Pharmacopeia

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  The General Notices and Requirements (herein-              scribed assays and tests, such article shall be
after referred to as the General Notices) provide in         designated. by a name that is clearly distinguishing
summary form the basic guidelines for the interpre-          and differentiating from any name recognized in the
tation and application of the standards, tests, assays,      Pharmacopeia.
and other specifications of the United States Phar-             Articles listed herein are official and the standards
macopeia and obviate the need to repeat throughout           set forth in the monographs apply to them only when
the book those requirements that are pertinent in nu-        the articles are intended or labeled for use as drugs,
merous instances.                                            as nutritional supplements, or as medical devices and
   Where exceptions to the General Notices are made,         when bought, sold, or dispensed for these purposes or
the wording in the individual monograph or general           when labeled as conforming to this Pharmacopeia.
test chapter takes precedence and specifically indi-            An article is deemed to be recognized in this Phar-
cates the directions or the intent. To emphasize that        macopeia when a monograph for the article is pub-
such exceptions do exist, the General Notices employ         lished in it, including its supplements, addenda, or
where indicated a qualifying expression such as "un-         other interim revisions, and an official date is gen-
less otherwise specified." Thus, it. is understood that      erally or specifically assigned to it.
the specific wording of standards, tests, assays, and           The following terminology is used for distinguish-
other specifications is binding wherever deviations          ing the articles for which monographs are provided:
from the General Notices exist. By the same token,           an official substance is an active drug entity, a rec-
where no language is given specifically to the con-          ognized nutrient, or a pharmaceutic ingredient (see
trary, the General Notices apply.                            also NF 18) or a component of a finished device for
                                                             which the monograph title includes no indication of
                                                             the nature of the finished form; an official prepa-
                         TITLE                               ration is a drug product, a nutritional supplement,
                                                             or a finished device. It is the finished or partially
   The full title of this book, including its supple-        finished (e.g., as in the case of a .sterile solid to be
ments, is The Pharmacopeia of the United States of           constituted into a solution for administration) prep-
America, Twenty-third Revision. This title may be            aration or product of one or more official substances
abbreviated to United States Pharmacopeia, Twenty-           formulated for use on or for the patient or consumer;
third Revision, or to USP 23. The United States              an article is an item for which a monograph is pro-
Pharmacopeia, Twenty-third Revision, supersedes all          vided, whether an official substance or an official
earlier revisions. Where the term USP is used, with-         preparation.                                      ·
out further qualification, during the period in which
this Pharmacopeia is official, it refers only to USP            Nutritional Supplements-The designation of an
23 and any supplement(s) thereto.                            official preparation containing recognized nutrients
                                                             as "USP" · or the use of the designation "USP" in
                                                             conjunction with the title of such nutritional supple-
      "OFFICIAL" AND "OFFICIAL ARTICLES"
                                                             ment preparation may be made only if the article
                                                             contains two or more of the recognized nutrients and
   The word "official," as used in this Pharmacopeia         the preparation meets the applicable requirements
or with reference hereto, is synonymous with "Ph.ar-         contained in the individual Class Monograph and
macopeial," with "USP," and with "compendia!."               General Chapters. Any additional ingredient in such
   The designation USP in conjunction with the of-           article that is not recognized in the pharmacopeia and
ficial title on the label of an artiCle means that the       for which nutritional value is claimed, shall not be
article purports to comply with USP standards; such          represented nor imply that it is of USP quality or
specific designation on the lapel does not constitute        recognized by USP. If a preparation does not comply
a representation, endorsement, or incorporation by           with applicable requirements but contains nutrients
the manufacturer's labeling of the informational ma-         that are recognized in the USP, the article may not
terial contained in the USP monograph, nor does it           designate the individual nutrients as complying with
constitute assurance by USP that the article is known        USP standards or being of USP quality without des~
to comply with USP standards. The standards apply            ignating on the label that the article itself does not
equally to articles bearing the official titles or names     comply with USP standards.
derived by transposition of the definitive words of
official titles or transposition in the order of the names
of two or more active ingredients in official titles,          ATOMIC WEIGHTS AND CHEMICAL FORMULAS
whether or not the added designation "USP" is used.
Names considered to be synonyms of the official titles          The atomic weights used in computing molecular
may not be used for official titles.                         weights and the factors in the assays and elsewhere
   Where an article differs from the standards of            are those recommended in 1991 by the IUPAC Com-
strength, quality, and purity, .as determined by the         mission ·on Atomic Weights and Isotopic Abun-
application of the assays and tests set forth for it in      dances. Chemical formulas, other than those in the
the Pharmacopeia, its difference shall be plainly stated     Definitions, tests, and assays, are given for purposes
on its label. Where an article fails to comply in iden-      of information and calculation. The format within a
tity with the identity prescribed in the USP, or con-        given monograph is such that after the official title,
tains an added substance that interferes with the pre-       the primarily informational portions of the text ap-

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. be
           r
           .
           .
               Case 1:22-cv-00252-MSG Document 181-2 Filed 01/03/24 Page 421 of 820General
                 USP23
                 pear first, followed ~y the text comprising. r~qui~e-
                 rnents, the latter section of the monograph bemg m-
                                                                                    PageID   #: 7907 3
                                                                                           Notices

                                                                                values outside the limits. The limits expressed in
b.ing
1 the
           I
           t     traduced by a boldface double-arrow symbol ».
                                                                                monograph definitions and tests, regardless of whether
                                                                                the values are expressed as percentages or as absolute
           I     (Graphic formulas and chemical nomenclature pro-               numbers, are considered significant to the last digit
ards       t     vided as information in the individual monographs              shown.
rhen             are discussed in the Preface.)                                    Equivalence Statements in Titrimeiric Proce-
ugs,                                                                            dures-·The directions for titrimetric procedures con-
 and                                                                            clude with a statement of the weight of the analyte
~s or                                ABBREVIATIONS                              that is equivalent to· each mL of the standardized
:ia.                                                                            titrant. In such an equivalence statement, it is to be
bar-                The term RS refers to a USP Reference Standard
                 as stated under Reference Standards in these General           understood that the number of significant figures in
pub-                                                                            the concentration of the titrant corresponds to the
t, or            Notices (see also USP Reference Standards (11}).
                    The terms CS and TS refer to Colorimetric So-               number of significant figures in the weight of the
gen-                                                                            analyte. Blank corrections are to be made for all
                 lution and Test Solution, respectively (see under Re-
                 agents, Indicators, and Solutions). The term VS re-            titrimetric assays where appropriate (see Titrimetry
lish-                                                                           (541)).
.ded:            fers to Volumetric Solution as stated under Solutions
 rec-            in the General Notices.               ·                           Tolerances- The limits specified in the mono-
 (see               The term PF refers to Pharmacopeia! Forum, the              graphs for Pharmacopeia! articles are established with
~for             journal of standards development and official com-             a view to the use of these articles as drugs, except
1n of            pendia revision (see Pharmacopeia! Forum in these              where it is indicated otherwise. The use of the mo-
epa-             General Notices).                                              lecular formula for the active ingredient(s) named in
lent,               Abbreviations for the names of many institutions,           defining the required strength of a Pharmacopeia!
ially            organizations, and publications are used for conven-           article is intended to designate the chemical entity or
o be             ience throughout USP and NF. An alphabetized tab-              entities, as given in the complete chemical name of
1rep-            ulation follows~                                               the article, having absolute (100 percent) purity.
.nces                                                                              A dosage form shall be formulated with the intent
mer;              Abbreviation      Institution, Organization, or Publication   to provide 100 percent of the quantity of each ingre-
 pro-             AAMI           Association for the Advancement of Medical     dient declared on the label. Where the content of an
'icial                              Instrumentation                             ingredient is known to decrease with time, an amount
                  ACS            American Chemical Society                      in excess of that declared on the label may be intro-
                  ANSI           American National Standards Institute          duced into the dosage form at the time of manufac-
1f an             AOAC           AOAC International (formerly Association       ture to assure compliance with the content require-
ients                               of Official Analytical Chemists)            ments of the monograph throughout the expiration
1
 "   in           ASTM           American Society for Testing and Materials
                                                                                period. The tolerances and limits stated in the def-
Jple-             ATCC           American Type Culture Colle~tion
                  CAS            Chemical Abstracts Service                     initions in the monographs for Pharmacopeia! articles
ticle                                                                           allow for such overages and for analytical error, for
:and              CFR            U.S. Code of Federal Regulations
                  EPA            U.S. Environmental Protection Agency           unavoidable variations in manufacturing and com-
ients             FCC                                                           pounding, and for deterioration to an extent consid-
                                 Food Chemicals Codex
   and            FDA            U.S. Food and Drug Administration              ered acceptable under practical conditions.         ·
such              HIMA           Health Industry Manufacturers Association         The specified tolerances are based upon such at-
tand              ISO            International Standards Organization           tributes of quality as might be expected to charac-
>t be             IUPAC          International Union of Pure and Applied        terize an article produced from suitable raw materials
:y or                            . Chemistry                                    under recognized principles of good manufacturing
mply              NBS            National Bureauof Standards
                  NIST           National Institute of Standards and            practice.
ients                                                                              The existence of compendia! limits or tolerances
f not                              •Technology (formerly NBS)
                  USAN           United States Adopted Names                    does nbt constitute a basis for a claim that an official
 with                                                                           substance that more nearly approaches 100 percent
                  WHO            World Health Organization
   des'-                                                                        purity "exceeds" the Pharmacopeia! quality. Simi-
s not               Abbreviated Statements in Monographs-:-lncom-               larly, the fact that an article has been prepared to
                 plete sentences are employed in various portions of            closer tolerances than those specified in the mono-
                 the monographs for directness and brevity. Where               graph does not constitute a basis for a claim that the
                 the limit tests are so abbreviated, it is to be under-         article "exceeds" the Pharmacopeia! requirements.
\.S              stood that the chapter numbers (shown in angle
                 brackets) designate the respective procedures to be               Interpretation of Requirements-Analytical re-
cular            followed, and that the values specified after the colon        sults observed in the laboratory (or calculated from
rhere            are the required limits.                                       experimental measurements) are compared with
:om-                                                                            stated limits to determine whether there is confor-
,bun-                                                                           mance with compendia! assay or test requirements.
l1 the
                        SIGNIFICANT FIGURES AND TOLERANCES
                                                                                The observed or calculated values usually will contain
poses                                                                           more significant figures than there are in the stated
hin a             · Where limits are expressed numerically herein, the          limit, arid an observed or calculated result is to be
 title,          upper and lower limits of a range include the two              rounded off to the number of places that is in agree-
tap-             values themselves and all intermediate values, but no          ment with the limit expression by the following pro-


                                                                                                                    JA001077
  Case 1:22-cv-00252-MSG Document 181-2 Filed 01/03/24 Page 422 of 820 PageID #: 7908
4    General Notices                                                        USP23

cedure. [NOTE-Limits, which. are fixed numbers,              NF and to afford opportunity for comment thereon.
 are .not rounded off.] .                                    The organization of PF includes, but is notlimited          in
   When rounding off is required, consider only one          to, the following sections. Subsections occur· where        St•
digit in the decimal place to the right of the last place    needed for Drugs and Pharmaceutic Ingredients and           en
in the limit expression. If this digit is smaller than       for Nutritional Supplements.              ·        0
                                                                                                                    0
                                                                                                                     •




5,. it is eliminated and the preceding digit is un-             Pharmacopeia/ Previews-Possible revisions that           COl
changed. If this digit is greater than 5, it is eliminated   are considered to be in a preliminary stage of devel-       St•
and the preceding digit is increased by one. If this         opment.                                                     sta
digit equals 5, the 5 is eliminated and the preceding           In-process Revision-New or revised monographs            qu,
digit is increased by one.
                                                             or chapters that are proposed for adoption as official
                                                             USP or NF standards.                                        da
  Illustration of Rounding Numerical Values for Comparison      Stimuli to the Revision Process-Reports, state-          St•
                      with Requirements                                                                                  ifil
                                                             ments, articles, or commentaries relating to compen-
                                                                                                                         av•
    Compendia!
    Requirement
                         Unrounded
                           Value
                                      Rounded
                                       Result     Conforms
                                                             dia! issues.
                                                                Nomenclature-Articles. and announcements rel-
                                                                                                                         on
                                                                                                                         as!
Assay limit ~98.0%        97.96%       98.0%         Yes     evant to compendia! nomenclature issues and listings        ml
                          97.92%       97.9%         No      of proposed and new United States Adopted Names
                          97.95%       98.0%         Yes     (USAN) and International Nonproprietary Names
Assay limit :::5101.5%     101.55%     101.6%        No      (INN).                     .          0




                          )01.46%      101.5%        Yes        Interim Revision Announcement (if present)-Of-
                          101.45%      101.5%        Yes     ficial revisions and their effective dates, announce-
Limit test :::50.02%      0.025%       0.03%.        No
                                                             ment of the availability of new USP Reference Stan-         ter
                          0.015%       0.02%         Yes
                                                             dards, and announcement of assays o~ tests that are
                                                                                                                         ne1
                          0.027%       0.03%         No                                                                  un
Limit test ::53 ppm       0.00035%     0.0004%       No      held in abeyance pending availability of required USP       de:
                          0.00025%     0.0003%       Yes     Reference Standards.
                          0.00028%     0.0003%       Yes        Official Reference Standards-Catalog of current          Ht
                                                             lots of USP Reference Standards with ordering in-           lo~
                                                             formation and mimes and addresses of worldwide sup-         en
                   GENERAL CHAPTERS                          pliers.                      ·                              (Il
                                                                                                                         art
   Each general chapter is assigned a number that                                                                        to
appears in brackets adjacent to the chapter name{e.g.,                                                                   eq1
(601) Aerosols). General chapters that include gen-                         REAGENT STANDARDS
                                                                                                                         w~
eral requirements for tests and assays are numbered             The proper conduct of the Pharmacopeia! tests and        lis]
from (1) to (999), chapters that are informational           assays and the reliability. of the results depend, in       tht
artf numbered from (1000) to (1999), and chapters            part, upon the quality of the reagents used in the
peitaining to nutritional supplements are numbered           performance of the procedures. Unless otherwise             (8:
above (2000).                ·        ·             ·                                                                    m
                                                             specified, reagents are to be used that conform to the
   The use of the general chapter numbers is en-             specifications set forth in the current edition of Re-      ac1
couraged for the identification and rapid f:lCCess to        agent Chemicals published by the American Chem-             lisl
general tests and information. It is especi~lly helpful      ical Society. Where such ACS reagent specifications         sta
where monograph section headings and chapter names           are not available or where for various reasons the          fOI
are not the same (e.g., Ultraviolet absorption (197U)        required purity differs, compendia! specifications for      Fo
in a monograph refers to method ( 197U) under gen-                                                                       ter
eral tests chapter (197) Spectrophotometric Identi-          reagents of acceptable quality are provided. (See Re-
                                                             agents, Indicators, and Solutions.) Listing of these        in
fication Tests; Specific rotation (781S) in a mono-                                                                      of
                                                             reagents, including the indicators and solutions em-
graph refers to method (781S) under general tests
                                                             ployed as reagents, in no way implies that they have        inc
chapter (781) Optical Rotation; and Calcium (191)
in a monograph refers to the tests for Calcium under         therapeutic utility; furthermore, any reference to USP      tio
general tests chapter (191) Identification Tests-            or NF in their labeling shall include also the term
                                                                                                       o.

                                                                                                                         (H
General).                                                    "reagent" or "reagent grade."                        ·      Sp<


                PHARMACOPEIAL FORUM                                     USP REFERENCE STANDARDS

   Pharmacopeia! Forum (PF) is the USP journal of               USP Reference Standards are authentic specimens
standards development and official compendia revi-           that have been approved by the USP Reference Stan-
sion. Pharmacopeia/ Forum is the working document            dards Committee as suitable for use as comparison
of the USP Committee of Revision. It is intended to          standards in USP or NF tests and assays. (See USP
provide public portions of communications within the         Reference Standards (11 ).) Currently official lots of
General Committee of Revision and public notice of           USP Reference Standards are published in Phar-              OgJ
proposed new and revised standards of the USP and            macopeia/ Forum.                                            frc

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                   JOINT APPENDIX 40
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       United States Patent (19)                                                        11 Patent Number:                        4,737,323
       Martin et al.                                                                   (45. Date of Patent:                    Apr. 12, 1988
       54 LPOSOME EXTRUSION METHOD                                                          FOREIGN PATENT DOCUMENTS
       (75) Inventors: Francis J. Martin, San Francisco;                                2549736 2/1985 France ............................ 210/500.26
                       Jacqueline K. Morano, Mountain                                             OTHER PUBLICATIONS
                               View, both of Calif.
                                                                                  Norton Publication, for Ceraflo TM Asymmetric Ce
       73) Assignee: Liposome Technology, Inc., Menlo                             ramic Microfilters, "A New Breakthrough in Separa
                               Park, Calif.                                       tion Technology', Norton Company, 1984, High Per
                                                                                  formance Ceramics, 1 New Bond Str., Worcester, MA
       21 Appl. No.: 829,710                                                      01606, Printed in U.S.A., (total 6 pp.), Membrane Filtra
                                                                                  tion Publication, for Uni-Pore Membrane Filters, (total
                                                                                   1 p.), p. 80, Feb. 1980,
       22) Filed:              Feb. 13, 1986                                      Chemistry and Physics of Lipids 12, (1973), 75-95 pp.,
                                                                                  North-Holland Publ. Co., “Studies on Phosphatidyl
        51) Int. Cl." .......................... A61K9/52; B01J 13/02             choline Model Membranes I., Size-Heterogeneity Ef
        52 U.S. C. ................................ 264/43; 210/500.23;           fect on Permeability Mesurement, by S. E. Schullery &
                     210/500.26; 424/420; 424/450; 428/402.2;                     J. P. Garzaniti, Chem. Dept. Eastern Mich. U., U.S.A.
                                                       436/829; 514/34            Primary Examiner-Richard D. Lovering
       (58) Field of Search ...................... 264/4.3; 428/402.2;            Attorney, Agent, or Firm-Ciotti & Murashige, Irell &
                   424/19, 38, 420, 450; 436/829; 21.0/500.23,                    Manella
                                                                      500.26
                                                                                  57                       ABSTRACT
       (56)                 References Cited                                      A suspension of liposomes whose sizes are predomi
                     U.S. PATENT DOCUMENTS                                        nantly greater than about 1 micron is passed through an
              4,241,046 12/1980 Papahadjopoulos et al. ........ 424/19            asymmetric ceramic filter whose inner-surface pore size
              4,372,949   2/1983 Kodama et al. .................. 424/38 X        is about 1 micron. The processed liposomes have a
              4,394,372   7/1983 Taylor ............              514/78 G X      selected average size of about 0.4 microns or less, de
              4,429,008   1/1984 Martin et al. :.................... 424/38 X     pending on the number of filter cycles, and a narrow
              4,460,577   7/1984 Moro et al. ........................... 424/38   distribution.
              4,508,703   4/1985 Redziniak et al.                  . 264/4.6 X
              4,529,561   7/1985 Hunt et al. ....................... 264/4.1 X                    7 Claims, 1 Drawing Sheet




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         U.S. Patent                  Apr. 12, 1988                  4.737,323

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                       2                                            F.G.



                      O.G3       59 2.52   4    6.35 O.OO 6
                                LPOSOME SIZE (u)




                                                             3.SSS)ay
                                                             3&
                                                             2.             7TP




                                               To free-drug removal
                                               and aseptic fill processes



                                                                        JA001080
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                                  1.
                                                            4,737,323
                                                                                                2
                                                                     lamellar vesicles (SUVs), in the 0.025-0.08 micron size
               LPOSOME EXTRUSION METHOD                              range. However, a narrow size distribution of liposomes
                  FIELD OF THE INVENTION
                                                                     can only be achieved at liposome sizes of about 0.05
                                                                     microns, i.e., when the liposomes have been substan
         The present invention relates to methods for produc         tially completely reduced in size. The very small lipo
       ing liposomes in a selected size range, preferably be         somes have limited drug capacity and less favorable
       tween about 0.1 and 0.4 microns.                              biodistribution properties than those in the 0.1-0.4 mi
                            REFERENCES                               cron size range, as noted below. The processing capac
                                                                  10 ity of this method is also quite limited, since long-term
        1. Gabizon, A., et al, Cancer Res, 43:4730 (1983).           sonication of relatively small volumes is required. Also,
       2. Poznansky, M. L., et al, Pharm Revs, 36(4):277 heat build-up during sonication can lead to peroxidative
           (1984).                                                   damage to the lipids, and sonic probes shed titanium
       3. Szoka, F., et al, Proc Nat Acad Sci (USA), 75:4194 particles which are potentially quite toxic in vivo.
           (1978).                                                      A third general size-processing method known in the
       4. Szoka, F., et al, Ann Rev Biophys Bioeng, 9:467 15 prior          art is based on liposome extrusion through uni
           (1980).                                                   form pore-size polycarbonate membranes (Szoka 1978).
               BACKGROUND OF THE INVENTION                           This procedure has advantages over the above homoge
          The use of liposomes for drug delivery has been pro nization
                                                                     membrane
                                                                               and sonication methods in that a variety of
                                                                                  pore sizes are available for producing lipo
       posed for a variety of drugs, particularly those which somes in different
                                                                 20
       are administered parenterally. Liposomes have the po the size distributionselected          size ranges, and in addition,
      tential for providing controlled "depot' release of the narrow, particularly by cycling the can
                                                                                           of the liposomes       be made quite
      administered drug over an extended time period, and of the selected-size filter several times. material           through
                                                                                                               Nonetheless, the
      reducing side effects of the drug, by limiting the con membrane extrusion method has several                drawbacks in
      centration of free drug in the bloodstream. Liposomes 25
      can also alter the tissue distribution and uptake of drugs, large-scale processing. For one, the pores in the mem
      in a therapeutically favorable way, and can increase the brane tend to clog, particularly when processing con
      convenience of therapy, by allowing less frequent drug centrated suspensions and/or when the liposome sizes
      administration. Liposome drug delivery systems are are substantially greater than the membrane pore sizes.
      reviewed in Poznansky.                                     30 The clogged membranes cannot be cleared, because the
          Generally, the optimal liposome size for use in paren filter housing configuration does not allow back flush
      teral administration is between about 0.1 and 0.3, and up ing, and replacing the filter is likely to compromise the
      to 0.4, microns. Liposomes in this size range can be sterility of the extrusion operation. Secondly, the men
      sterilized by passage through conventional filters hav branes themselves are planar disks which must be
      ing particle size discrimination of about 0.2 microns. 35 mounted against a flat mechanical support. This se
      This size range of liposomes also favors biodistribution verely restricts the surface area available for extrusion,
      in certain target organs, such as liver, spleen, and bone and leads to slow throughput. Although the problems
      marrow (Gabizon), and gives more uniform and pre of clogging and slow throughput can be overcome
      dictable drug-release rates and stability in the blood partially at high extrusion pressures, such requires spe
      stream. Liposomes whose sizes are less than about 0.4 cially adapted filter holders and membrane tearing be
      microns also show less tendency to agglutinate on stor come more of a problem. Finally, polycarbonate mem
      age, and are thus generally safer and less toxic in paren branes       cannot be steam-sterilized in place, with a high
      teral use than larger-size liposomes.                          degree  of confidence, due to their inherent fragility.
          A variety of techniques have been proposed for pre
      paring liposomes, including drug-containing liposomes 45             BACKGROUND OF THE INVENTION
      (Szoka 1983). Typically, these methods yield liposomes
      which are heterodisperse, and predominantly greater providetherefore
                                                                       It is
                                                                              a novel
                                                                                        a general object of the invention to
                                                                                      liposome  size-processing method which
      than about 1 micron in size. These initial heterodisperse overcomes the above-mentioned             limitations and prob
      suspensions can be reduced in size and size distribution
      by a number of known methods. One size-processing 50 lems           associated with the prior art.
                                                                       One specific object of the invention is to provide such
      method which is suitable for large-scale production is a method            which yields sized liposomes having a se
      homogenization. Here the initial heterodisperse lipo
      some preparation is pumped under high pressure lected average size of between about 0.1 to 0.4 microns,
      through a small orifice or reaction chamber. The sus and a relatively narrow distribution of sizes.
      pension is usually cycled through the reaction chamber 55 Still another object of the invention is to provide such
      until a desired average size of liposome particles is a method which can be operated in a relatively prob
      achieved. A limitation of this method is that the lipo lem-free manner, without heat build-up, at high
      some size distribution is typically quite broad and vari throughput volumes, and in a large-scale operation.
      able, depending on a number of process variables, such           Providing such a method which can be practiced
      as pressure, number of homogenization cycles, and in 60 with little risk of contamination and under sterile condi
      ternal temperature. Also, the processed fluid has the tions is yet another object of the invention.
      potential to pick up metal and oil contaminants from the         In practicing the method of the invention, a suspen
      homogenizer pump, and may be further contaminated sion of liposomes containing a substantial portion of
      by residual chemical agents used to sterilize the pump liposomes with sizes greater than about 1 micron, are
      seals.                                                     65 passed through an asymmetric ceramic filter having an
          Sonication, or ultrasonic irradiation, is another inner-side pore size of about 1 micron. The resulting
      method that is used for reducing liposome sizes. This liposomes have an average particle size of between
      technique is useful especially for preparing small uni about 0.2 and 0.4 microns, depending on the number of



                                                                                                           JA001081
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                                                            4,737,323
                                3                                                           4.
     times the liposomes are cycled through the membrane,         lower limit of size discrimination of the particle-sizer
     and a standard size distribution of about 30-45%.               used. As seen, a suspension contained a broad range of
       The suspension may be alternately passed through              sizes up to about 16 microns, with average sizes be
     the membrane, in an outside-to-inside directions, to            tween about 2-4 microns.
     maintain the membrane in an unclogged condition, al                For producing liposomes under conditions of high
     lowing high throughput processing, even for a concen encapsulation efficiency, the reverse evaporation phase
     trated suspension of liposomes.                              method first described by Szoka 1978 is preferred. The
        The liposome average size may be further reduced by reverse-phase evaporation vesicles (REVs) formed by
     passage through similar types of ceramic filters, but this method are characterized by (a) one or a few bi
     which have smaller specified inner-surface pore sizes. 10 layers, (b) an encapsulation efficiency typically between
        These and other objects and features of the present about 20-50%, and (c) a broad spectrum of sizes be
     invention will become more fully apparent when the tween about 0.5 and up to 20 microns. These and other
     following detailed description of the invention is read in liposome-preparation methods have been reviewed ex
     conjunction with the accompanying drawings.                  tensively (Szoka 1980).
        BRIEF DESCRIPTION OF THE DRAWINGS 15 B. Sizing Liposomes
        FIG. 1 is a graph showing the size distribution of theAccordingunsized
                                                                                  to an important feature of the invention,
                                                                                liposomes   are passed through an asymmet
     multiple lamellar vesicles (MLVs) prior to size-process ric ceramic filter, to produce        liposomes with a selected
     ing according to the invention;
        FIG. 2 is a sectional view of a filter apparatus of the narrow distribution of liposomeand
                                                                  average   size between   about  0.1      0.4 microns, and a
     type used in the present invention, with the inset show ramic filter is a Ceraflow TM MicrofilterAavailable
                                                                                                       sizes.    preferred ce
                                                                                                                            con
     ing an enlarged inner wall portion of a filter in the appa mercially from the Norton Company (Worcester, MA),
     ratus; and
        FIG. 3 is a flow diagram of a liposome processing and supplied as a multifilter cartridge-type filter appara
     system for preparing liposomes according to the present 25 tus, such as seen cross-sectionally in FIG. 2. The filter
     invention.                                                   apparatus 8 includes a tubular casing 10 which houses a
                                                                  plurality of tubular filters, such as filter 12, a side-wall
             DETAILED DESCRIPTION OF THE                          portion of which is shown in enlarged view in the inset
                           INVENTION                              in the figure. The casing is provided with an inlet mani
              I. Preparation of Liposome Suspension            30 fold (not shown) through which the liposome suspen
        A. Unsized Liposomes                                      sion can be supplied under pressure to the inner tubular
       The liposomes, or lipid vesicles, of the invention are The region of each filter, such as inner region 14 of filter 12.
     formed from standard vesicle-forming lipids, which frommaterial,             on passage through the filters, is collected
                                                                         an extratubular space 16, through a casing outlet
     generally include neutral and negatively charged phos
     pholipids and a sterol, such as cholesterol. A variety of 35 (also  not shown). A useful operational feature of the
                                                                  filter system just described is the ability to filter in either
     lipids having selected acyl chain compositions are com direction,        that is, in a forward, inside-to-outside direc
     mercially available or may be obtained using standard
     lipid isolation procedures. The selection of lipids for tion or in a back, outside-to-inside direction in which
     therapeutic liposomes containing an active drug is gen material is pumped under pressure from the extratubu
     erally guided by considerations of (a) drug-entrapment lar space into the filter interior regions, and collected at
     efficiency, (b) drug-release rate in serum, and (c) biodis the casing manifold. Back direction flow may alternate
     tribution and targeting properties. These considerations with forward direction to reduce the tendency of the
     are discussed at length, for example, in U.S. patent ap filters to clog.
     plication Ser. No. 806,084 for "Liposome/Anthraqui              The asymmetric construction of the filters is seen in
     none Drug composition and Method', filed Dec. 6, 45 the inset in FIG. 2, which shows an enlarged sectional
     1985.                                                        view taken through a wall portion offilter 12. The filter
        Several methods for producing a suspension of the is composed of a series of controlled-thickness ceramic
     heterogeneous-size vesicles are available. In one pre layers or strata, such as layers 18, 20, and 22, arranged
     ferred method, vesicle-forming lipids are taken up in a coaxially about the filter's inner tubular space. The
     suitable organic solvent or solvent system, and dried in 50 layers are each composed of sintered particles, with the
     vacuo or under an inert gas to a lipid film. Where the inner wall having the smallest particles and the outer
     vesicles are formulated to include a lipophilic or amphi walls having progressively larger particles. The parti
     philic drug, such may be included in the lipids forming cles forming the inner walls are dimensioned to provide
     the film. To form the vesicles, aqueous medium is added a defined surface pore size in the sintered inner layer.
     to the dry film, and the film is allowed to hydrate, typi 55 For example, the Ceraflow TM filters supplied by Nor
     cally over a one-two hour period with gentle shaking. ton have surface pore sizes of either 1.0, 0.45, or 0.2
     The lipids hydrate to form multilamellar vesicles microns, and are designed for filtering particles, in a
     (MLVs) whose sizes range typically between about 0.5 fluid flowing through the filters in an inside-to-outside
     microns to about 10 microns or greater. In general, the direction, whose size is equal to or greater than the
     size distribution of MLVs can be shifted toward slightly rated pore size.                                                s
     smaller sizes by hydrating the lipids under more vigor          FIG. 3 shows an extrusion system 24 employing
     ous shaking conditions. The aqueous medium used in cartridge-type filter apparatus 8 of the type just de
     hydrating the lipid film may include a water-soluble scribed. The system includes a pump 26, and a pair of
     drug which then becomes encapsulated in the vesicles vessels 28, 30, which hold the liposome suspension
     which form during lipid hydration.                        65 being processed. The pump is connected to the vessels
        Example I below described describes the preparation through a valving arrangement which includes a series
     of an MLV suspension whose size distribution is shown of valves such as valve 32, for effecting fluid flow either
     in FIG. 1. The lower size range of about 0.8 was the in a forward direction (the direction of arrows in FIG.




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       3) from vessel 28, through the apparatus in an inside-to since an asymmetric filter will produce some liposome
       outside direction, to vessel 30, or in the reverse, back sizing effect, with the attendant possibility of higher
       direction. In an alternative system, the driving pressure pressure requirements and/or eventual membrane clog
       is created by compressed gas which is connected to the ging, a conventional membrane filter is preferred for
       vessels in a conventional manner. From vessel 30, the sterilization. Also, the tortuous path pore structure of
       processed liposome suspension can be transferred to a conventional sterilizing membrane filters is preferred
       sterile fill system, as indicated.                          for maximum bacteria retention.
          In a typical processing operation, a suspension of          Where liposomes are formulated to contain an en
       heterogeneous size liposomes are placed in vessel 28, trapped drug, for use in parenteral drug administration,
       and the valves are set initially to pump the suspension 10 it is usually advantageous to further process the sized
       through the filter apparatus in a forward direction. As liposomes to remove free drug, i.e., drug present in the
       will be seen from the procedure described in Examples bulk aqueous phase of the suspension. This is done to
       II and III, and according to an important finding of the reduce the effects of free drug and to maximize the
       present invention, a single passage through the 1.0 mi benefits achievable by drug entrapment in the lipo
       cron pore size filter apparatus reduces the average lipo 15 somes. Free drug may be present in a substantial amount
       some size to about 0.3-0.35 microns, with a standard in the case of a water-soluble drug, which can be encap
       size deviation of about 40%. These size characteristics     sulated at a maximum efficiency of about 50%, as noted
       are suitable for purposes of subsequent filtersterilization above, or in the case of a lipophilic or amphiphilic drug
       and to desirable therapeutic properties. Alternatively, which has originally been included in vesicle-forming
       the suspension may be recycled through the filter appa 20 lipids in molar excess of the liposome drug-carrying
       ratus, and preferably by alternating the flow in forward capacity, as a strategy for maximizing the drug/lipid
       and backward directions, to reduce the average size of ratio in the liposomes. It may also be desirable to reduce
       the liposomes selectively. For example, as described in the bulk phase concentration of other solute molecules,
       Example II, cycling the above MLV suspension such as carbohydrates, chelate agents, or the like, used
       through the 1.0 pore-size filter several times gradually 25 in preparing the liposomes but not desired in parenteral
       reduced the liposome average size from 0.3 microns administration.
       (after one filtration) to about 0.2 microns (after several     Several methods are available for removing free drug
       passes). Cycling the material alternately in a back direc from a liposome suspension. The sized liposome suspen
       tion acts to prevent particle build-up and clogging at the sion can be pelleted by high-speed centrifugation, leav
       filter's inner surface.                                   30 ing free drug and very small liposomes in the superna
         In the filter operation described in Example III, lipo tant. Another method involves concentrating the sus
       some average sizes were reduced to about 0.35 microns pension by ultrafiltration, then resuspending the con
       after a single pass through a 1 micron filter and further centrated liposomes in a drug-free replacement me
       reduced to about 0.27 microns with three passes.             dium. Alternatively, gel filtration can be used to sepa
         If smaller liposome sizes are desired, the material can 35 rate larger liposome particles from solute (free drug)
       be further processed by passage through similar types of molecules. Ion-exchange chromatography may provide
       asymmetric filters having inner surface pore sizes of an efficient method of free drug removal, in instances
       0.45 or 0.2 microns. Example III shows the gradual where a suitable drug-binding resin can be identified.
       reduction in pore size in liposomes after initial sizing One preferred method of free drug removal is by diafil
       using a 1 micron filter, by five passes through a 0.45 tration, using a conventional hollow fiber or stacked
       micron filter. As seen, repeated extrusion through the filter device, which preferably has a molecular weight
       0.45 micron filter reduced average liposome sizes to cutoff of between about 10,000-100,000 daltons. Diafil
       about 0.2 microns.                                           tration has the advantage that it can be used in-line in a
          Alternatively, the material may be processed by di sterile liposome-processing system of the type shown in
       rect passage through a smaller pore size ceramic filter 45 FIG. 3.
       (less than about 0.5 micron), to achieve direct reduction                           II Utility
       of heterogeneous-size liposomes to average sizes of
       about 0.2 microns or less. However, since filter clog          Sized liposome suspensions prepared according to the
       ging tends to occur when unsized liposomes are invention are useful in a variety of liposome therapeutic
       pumped through ceramic filters with smaller pore sizes, 50 compositions in which controlled sizes between about
       it may be necessary to increase filtration pressure, use a 0.1 and 0.3 microns, and within a narrow size distribu
       more dilute liposome suspension, flow the material tion, are desired. One important class of compositions is
       through the filter initially in a back (outside-to-inside) drug-containing liposomes, for parenteral drug adminis
       direction, and/or alternate the direction of flow more tration. As indicated above and reviewed extensively in
       frequently to achieve high-volume throughput. It is 55 the Poznansky reference, liposomal drug-delivery sys
       noted that smaller-pore filters are generally not needed, tems have been developed and tested with a wide range
       since direct reduction in liposome size to a size range of water-soluble and lipid-soluble drugs. Although
       that is suitable for parenteral use (0.2-0.3 microns) can many of the earlier proposed liposome/drug systems
       be achieved directly, and at high throughput rates, with were not carefully defined in terms of size, a variety of
       a 1 micron pore-size filter.                              60 experimental evidence and practical considerations in
          C. Filter Sterilization and Free-Drug Removal             dicate advantages of the 0.1 to 0.3 micron size range.
          The size-processed liposome suspension may be This size range is generally preferred to larger-size
       readily sterilized by passage through a sterilizing mem liposomes, as indicated above, because of ease of steril
       brane having a particle discrimination size of about 0.2 ization, improved biodistribution, more size unifornity,
       microns, such as a conventional 0.22 micron depth 65 and less tendency to aggregate on storage.
       membrane filter. The sterilizing filter may be an asym         With liposome sizes below about 0.1 microns, the
       metric ceramic filter of the type described above, but drug-carrying capacity of the liposomes, measured ei
       having an inner surface pore size of about 0.2. However, ther by internal encapsulation of lipid-bilayer volume,



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     become somewhat restrictive. Also, as liposome sizes             counter device is capable of discriminating size between
     are reduced below about 0.1 microns, the liposomes               about 0.8 and 20 microns, and is programmed to express
     appear to behave more like free drug in terms of biodis          each size window as a percentage of volume distribu
     tribution and drug-clearance rates. The effect of lipo           tion, based on a 100% volume distribution in the 0.8-20
     some size on pharmacokinetic properties of liposomes      micron size range. The size-distribution curves for the
     carrying the anti-tumor drug doxorubicin has been ex liposomes are shown in FIG. 1. It is noted that only
     amined in connection with the drug-liposome invention those liposomes whose sizes are more than about 0.8
     described in the above mentioned U.S. patent applica microns are included in the normalized curves. That is,
     tion Ser. No. 806,084 for "Liposome/Anthraquinone the size distribution curves do not show actual volume
     Composition and Method’, filed Dec. 6, 1985. As de O percentages below 0.8 micron sizes. As seen, the lipo
     tailed there, liposomes with average sizes of about 0.035 somes have a broad distribution over the size range 0.8
     microns were much more similar to free drug in biodis
     tribution and drug clearance rates than liposomes with to    greater than 16 microns, with an average size of
                                                               between about 2-4 microns.
     average sizes of about 0.115 microns.
        The present invention offers a number of advantages 15                         EXAMPLE II
     over prior art liposome-sizing methods. The ceramic                        Liposome Size Processing
     filter can be sterilized by dry heat at temperatures
     which are effective to destroy endotoxins, and the sys       An asymmetric ceramic filter apparatus having a
     tem is compatible with a variety of solvents, including specified inner surface pore size of 1.0 micron was ob
     many organic solvent which are not tolerated by poly 20 tained from the Norton Company (Worcester, MA).
     carbonate-type membranes. The method generates very The
     little heat, and can be performed under aseptic condi type filter      was connected in a two-vessel system of the
                                                                     shown in FIG. 3, but using a pressurized nitrogen
     tions.
        The liposome processing method yields liposome supplythrough    source to pump fluid from one vessel to the
     sizes in a selected size range of between about 0.1 and 25 other
                                                                  The  liposome
                                                                                 the filter apparatus.
                                                                                   suspension from Example I was added
     0.4 microns, and with a relatively narrow distribution of
     sizes i.e., uniform liposome sizes. The method is well to     the first vessel, and the vessel was pressurized with
     suited to a high throughput liposome processing opera filtered nitrogen gas to about 200-250 psi. The valve
     tion which is reliable and requires very little mainte arrangement connecting the two vessels was first ad
     nance, such as filter cartridge replacement. High 30 justed to pump the suspension through the filter appara
     throughput is due in part to the relatively high pressure        tus, in a forward, inside-to-outside direction, into the
     which may be used, and in part because bidirectional             second vessel. The valving in the system was then re
     operation reduces clogging problems. High throughput             versed to pump the suspension through the filter appa
     is also due to the surface area of membrane available. A         ratus in a back direction. The material was filtered an
     tubular cartridge configuration is more efficient in 35 additional eight times, four times in a forward direction
     terms of membrane surface area and makes the process and four times alternately in a back direction, with
     easily scalable.                                             sample material being removed after each step for later
       The finding that liposomes may be directly and effi size-distribution determination.
     ciently reduced from heterogeneous sizes predomi               The size distribution of the liposomes for each of the
     nantly greater than 1 micron, to a narrow distribution of 40 ten samples was determined using a conventional parti
     sizes in a selected size range between about 0.2 and 0.3 cle sizer calibrated with latex particle size standards.
     microns, using a filter with an inner-wall pore size of 1 From the measured sizes of the sample, the machine
     micron, allows for direct liposome sizing without the calculates mean particle diameter and percent standard
     need to pass the liposome suspension through a series of
     progressively smaller pore-size membranes, as has been 45 deviation
                                                                  shown  in
                                                                            with respect to the mean values. The data are
                                                                            Table  1 below. Odd number passes were in a
     generally found for polycarbonate membranes.
       The following examples illustrate both use and results forward     direction through the filter apparatus, and even
                                                                  number passes were in a back direction.
     achievable with the method of the invention, but are in
     no way intended to limit the scope of the invention.                                TABLE 1.
                          EXAMPLE I                              50         No. of        Mean Dian.          Std. Dew,
                                                                            Passes            (nm)              (%)
         Preparation of Heterogeneous-Size Liposomes                           l             301.4              36.5
                                                                               2             300.               38.
       Phosphatidylcholine (PC) was obtained from Asahi                        3             259.4              32.6
     Lipids (Japan), cholesterol (CH) from Sigma Chemical                      4             251.8              36.2
     Co. (St. Louis, MO), and phosphatidylglycerol (PG) 55                     5             239.7              34.2
     were obtained from Avanti Lipid (Birmingham, AL).                         6             241.8              33.4
     PC (0.12 moles), CH (0.09 moles), and PG (0.01 moles)                     7
                                                                               8
                                                                                             233.
                                                                                             234.6
                                                                                                                33.6
                                                                                                                31.1
     were dissolved in 260 ml of chloroform, and the solvent                   9             233.2              33.4
     was removed by rotary evaporation under reduced                           O             223.5              35.
     pressure, leaving a thin film of lipid in the flask. One 60
     liter of hydration buffer consisting of 10.7 mM NaH2
     PO4.H2O, 48.4 mM Na2HPO4.7H2O, pH 7.4, and 86.1               The data show a gradual reduction in average lipo
     mM NaCl was added to the flask and swirled gently some size, with increasing filtration steps, from about
     over the lipids. The lipids were allowed to swell gently 0.3 to 0.2 microns. The extent of size reduction pro
     for about 2 hours.                                       65 duced by each filtration step appears to be greater in the
        The size distribution of a typical suspension made as forward direction than in the back direction. Interest
     described above was measured in a Coulter Counter, ingly, the standard deviation of sizes was not improved
     Model TA2, using a 50 micron aperture tube. The appreciably by repeated passages through the filter.



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                          EXAMPLE III                             the required filtration pressure was substantially greater
                                                                     in the forward than in the back direction.
                     Liposome Size Processing                        While preferred embodiments of the invention have
         The liposome suspension from Example I was added skilleddescribed
                                                                  been                herein, it will be apparent to those
      to one vessel in a two-vessel system of the type shown can be made withoutvarious
                                                                           in the art that         changes and modifications
                                                                                            departing from the invention.
      in FIG. 3, and the valve arrangement connecting the            It is claimed:
      two vessels was adjusted to pump the suspension                1. A method of producing a suspension of liposomes
      through a 1 micron ceramic filter apparatus (Example which have uniform sizes and a selected average size of
      II), in a forward, inside-to-outside direction, into the 10 less than about 0.4 microns, said method comprising:
      second vessel. The valving in the system was then re           providing a suspension of heterogeneous-size lipo
      versed to pump the suspension through the filter appa             somes containing a substantial portion with sizes
      ratus in a back direction. The material was passed                greater than 1.0 micron in size, and
      through the filter a third time in a forward direction.        passing the suspension under pressure through an
      The lu filter was then replace with a 0.45 ceramic 15             asymmetric ceramic filter whose inner-surface
      filter (Norton Company) and the material pumped                   pore size is greater than the desired average lipo
      through the apparatus three times in a forward direction          some size and no greater than about 1 micron.
      (passes 4, 6, and 8) and two times in a back direction         2. The method of claim 1, wherein the liposome sus
      (passes 5 and 7). The size distribution of the liposomes 20 pension   is passed through the filter in an inside-to-out
      after each pass was determined as in Example II. The side3. The   direction.
      data are shown in Table 2 below, along with the gauge Ceraflow method            of claim 1 wherein the membrane is a
                                                                              TM asymmetric ceramic filter.
      pressure, in psi, used at each pass.
                                                                     4. The method of claim 1, for producing a suspension
                               TABLE 2                            of liposomes having a selected average size of between
        No. of   Filter    Pressure   Mean Diam.    Stan. Dev. 25 about 0.3 and 0.4 microns, wherein said asymmetric
        Passes    Size       (psi)       (nm)          (%)        filter has an inner-surface pore size of about 1 micron.
           l        li       400         344.3          42           5. The method of claim 1, for producing a suspension
          2         lu         75        295.8          35        of liposomes having a selected average size of between
         3         ll.     250         269.2           35            about 0.2 and 0.3 microns, wherein said asymmetric
         4      0.45.      150         234.0           33       30 filter has an inner-surface pore size of about 0.45 mi
         5      0.45.       75         242.0           32            crons in size.
         6      0.45p.     250         25.1            3.
         7      0.45u.      70         20.9            3.             6. The method of claim 5, for producing a suspension
         8      0.45p.     150         210.4           29           of liposome having a selected average size between
                                                                    about 0.2 and 0.3 microns, which further includes pass
                                                                 35 ing the suspension repeatedly through the filter, in an
         The data show a gradual reduction in average lipo
      some size, with increasing filtration steps, from about inside-to-outside       direction, until the desired liposome
                                                                    average size is achieved.
      0.35 to 0.2 microns. The gradual reduction in size, after       7. The method of claim 6 which further includes
      replacing the 1 micron filter with a 0.45 micron filter, is alternately passing the suspension through the filter in
      not significantly greater than that achieved in Example 40 an outside-to-inside direction.
      II using a 1 micron filter only. The data also show that                              sk  ck  k  sk




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                   JOINT APPENDIX 41
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                   JOINT APPENDIX 42
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ACQUIRED DISEASES                                                                                               RESEARCH ARTICLE
Stabilized plasmid-lipid particles for systemic gene
therapy
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The structure of ‘stabilized plasmid-lipid particles’ (SPLP)          naked plasmid DNA or plasmid DNA–cationic liposome com-
and their properties as systemic gene therapy vectors has             plexes did not result in significant plasmid delivery to the
been investigated. We show that SPLP can be visualized                tumor site or gene expression at that site. Furthermore, it is
employing cryo-electron microscopy to be homogeneous                  shown that high doses of SPLP corresponding to 175 ␮g
particles of diameter 72 ± 5 nm consisting of a lipid bilayer         plasmid per mouse are nontoxic as assayed by monitoring
surrounding a core of plasmid DNA. It is also shown that              serum enzyme levels, whereas i.v. injection of complexes
SPLP exhibit long circulation lifetimes (circulation half-life ⬎6     give rise to significant toxicity at dose levels above 20 ␮g
h) following intravenous (i.v.) injection in a murine tumor           plasmid per mouse. It is concluded that SPLP exhibit proper-
model resulting in accumulation of up to 3% of the total              ties consistent with potential utility as a nontoxic systemic
injected dose and concomitant reporter gene expression at             gene therapy vector. Gene Therapy (2000) 7, 1867–1874.
a distal (hind flank) tumor site. In contrast, i.v. injection of

Keywords: liposomes; cancer gene therapy; intravenous gene therapy; tumour transfection



Introduction                                                          lipid dioleoylphosphatidylethanolamine (DOPE), low
                                                                      levels of cationic lipid and are stabilized in aqueous
Gene therapies for systemic diseases such as cancer or                media by the presence of a poly(ethylene glycol) (PEG)
inflammatory disorders clearly require systemic vectors.              coating. Here, we show that the structure of SPLP can be
However, currently available vectors for gene therapy                 directly visualized employing cryo-electron microscopy
have limited utility for systemic applications. Recombi-              to reveal homogeneous particles consisting of plasmid
nant virus vectors, for example, are rapidly cleared from             DNA entrapped within a bilayer lipid vesicle. Further-
the circulation following intravenous injection, limiting             more, we show that these SPLP exhibit long circulation
potential transfection sites to ‘first pass’ organs such as           lifetimes and no evidence of systemic toxicities following
the liver.1,2 Nonviral systems, such as plasmid DNA–                  i.v. injection in a murine tumor model. Under the experi-
cationic liposome complexes, are also rapidly cleared                 mental conditions employed, approximately 3% of the
from the circulation, and the highest expression levels are           total injected SPLP dose was delivered to a subcutaneous
again observed in first pass organs, particularly the                 tumor site and 1.5 % of the total intact plasmid dose
lungs.3–8                                                             could be detected at the tumor site at 24 h. Significant
  Intravenous administration of chemotherapeutic drugs                levels of reporter gene expression were observed at the
encapsulated in small (diameter ⭐100 nm), long-circulat-              tumor site employing the SPLP system, whereas no
ing (circulation half-life t. ⭓5 h in murine models) lipo-            expression was observed following i.v. injection of
somes results in preferential delivery of encapsulated                ‘naked’ plasmid DNA or plasmid DNA–cationic lipo-
drug to distal tumors due to increased vascular per-                  some complexes.
meability in these regions.9–11 It therefore follows that
intravenous injection of plasmid DNA encapsulated in
small, long circulating lipid particles should give rise to           Results
preferential delivery of plasmid DNA to tumor sites.
Recent work has shown that plasmid DNA can be encap-                  SPLP consist of a plasmid trapped inside a bilayer lipid
sulated in small (approximately 70 nm diameter) ‘stabil-              vesicle
ized plasmid-lipid particles’ (SPLP) that contain one plas-           Previous work has shown that plasmid DNA can be
mid per particle.12 These particles contain the ‘fusogenic’           encapsulated (trapping efficiency approximately 70%) in
                                                                      SPLP by a detergent dialysis procedure employing octyl-
Correspondence: P Tam, Inex Pharmaceuticals Corporation, 100 – 8900
                                                                      glucopyranoside (OGP).12 These SPLP are composed of
Glenlyon Parkway, Burnaby, BC V5J 5J8, Canada                         DOPE, 5–10 mol% of the cationic lipid dioleoyldimethyl-
*These authors contributed equally to this work.                      ammonium chloride (DODAC) and PEG attached to a
Received 31 January 2000; accepted 18 July 2000                       ceramide anchor containing an arachidoyl acyl group


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         (PEG-CerC20). SPLP can be separated from non-encapsu-                          sist of a lipid bilayer surrounding an internal structure
         lated plasmid by ion exchange chromatography and can                           consistent with entrapped plasmid DNA molecules.
         then be further purified by density gradient centrifug-                        Small (diameter approximately 30 nm), empty vesicles
         ation to remove empty vesicles produced during the                             formed during the detergent dialysis process13 that were
         dialysis procedure. On the basis of the size and plasmid-                      not removed by density centrifugation do not exhibit
         to-lipid ratio of these purified SPLP it was determined                        such internal structure (see arrows in Figure 1a). This
         that each SPLP contained one plasmid molecule.12                               internal structure is also not observed in the LUV pro-
            Here, we further characterize SPLP structure                                duced by extrusion (Figure 1b). It may also be noted that
         employing cryo-electron microscopy. Following the pro-                         SPLP as detected by cryo-electron microscopy have a
         cedures summarized in Materials and methods, purified                          remarkably homogeneous size (diameter 72 ± 5 nm), in
         SPLP were prepared from DOPE:DODAC:PEG-CerC20                                  close agreement with measurements of SPLP diameter
         (83:7:10; mol:mol:mol) and pCMVluc, whereas large unil-                        employing freeze–fracture electron microscopy (diameter
         amellar vesicles (LUV) with the same lipid composition                         64 ± 9 nm).12 The homogeneous size and morphology of
         were prepared by extrusion of the hydrated lipid mixture                       SPLP contrasts with the irregular morphology and large
         through 100 nm pore size filters. As shown in Figure 1a,                       size distribution of the extruded vesicles. The narrow size
         the cryo-electron micrographs clearly reveal SPLP to con-                      distribution of SPLP was also reflected by quasi-elastic
                                                                                        light scattering (QELS) measurements (data not shown)
                                                                                        which indicated a mean diameter of 83 ± 4 nm. Plasmid
                                                                                        DNA–cationic liposome complexes made from DOPE:
                                                                                        DODAC (1:1; mol:mol) LUV exhibited a large, hetero-
                                                                                        geneous size distribution as determined by QELS
                                                                                        (diameter 220 ± 85 nm, data not shown).

                                                                                        SPLP exhibit extended circulation lifetimes, preferential
                                                                                        accumulation at tumor sites, and low systemic toxicities
                                                                                        following intravenous injection
                                                                                        The next set of experiments was aimed at characterizing
                                                                                        the pharmacokinetics and biodistribution of SPLP follow-
                                                                                        ing i.v. injection into tumor-bearing mice. SPLP were pre-
                                                                                        pared with trace amounts of the lipid label, 3H-choles-
                                                                                        teryl hexadecylether (3H-CHE) and were injected at a
                                                                                        dose level equivalent to 100 ␮g plasmid DNA per mouse
                                                                                        into C57Bl/6 mice bearing a subcutaneous Lewis lung
                                                                                        carcinoma (approximately 200 mg) in the hind flank. The
                                                                                        clearance of SPLP from the circulation as assayed by the
                                                                                        lipid label (Figure 2a) corresponds to a first order process
                                                                                        with a t. of 6.4 ± 1.1 h. Relatively low levels of uptake by
                                                                                        the lung and liver are observed (Figure 2b and c) whereas
                                                                                        approximately 3% of the injected SPLP dose accumulates
                                                                                        at the tumor site over 24 h (Figure 2d). Such tumor
                                                                                        accumulation levels are comparable with those achieved
                                                                                        for small, long-circulating liposomes containing conven-
                                                                                        tional drugs such as doxorubicin, where approximately
                                                                                        5% of the injected dose can be found at 24 h in larger
                                                                                        (⬎0.5 g) tumors.14 In contrast to the behavior of the SPLP
                                                                                        system, 3H-CHE-labeled plasmid DNA–cationic lipo-
                                                                                        some complexes were rapidly cleared from the circu-
                                                                                        lation (t. ¿ 15 min), appearing predominantly in the lung
                                                                                        and liver, and less than 0.2% of the injected dose was
                                                                                        found at the tumor site at 24 h. The biodistribution of 3H-
                                                                                        CHE labeled SPLP and complexes 4 and 24 h following
                                                                                        injection are summarized in Table 1. Only trace amounts
                                                                                        were detected in kidney, heart and lymph nodes.
                                                                                           The levels of intact plasmid DNA in the circulation and
                                                                                        tumor tissue following i.v. injection of naked plasmid
         Figure 1 Cryo-electron micrographs of (a) purified SPLP and (b) LUV
                                                                                        DNA, plasmid DNA–cationic lipid complexes and SPLP
         prepared by extrusion. SPLP were prepared from DOPE:DODAC:PEG-                 were analyzed by Southern blot hybridization (Figure 3a,
         CerC20 (83:7:10; mol:mol:mol) and pCMVluc and purified employing               b and c, respectively) and quantified by phosphor-
         DEAE column chromatography and density gradient centrifugation. LUV            imaging analysis (Figure 3d and e). For naked plasmid,
         were prepared from DOPE:DODAC:PEG-CerC20 (83:7:10; mol:mol:mol)                less than 0.01% of the injected dose remained intact in
         by hydration and extrusion through filters with 100 nm diameter pore           the circulation at 15 min, and no intact tumor-associated
         size. The arrows in panel (a) indicate the presence of residual ‘empty’
         vesicles formed during the detergent dialysis process that were not
                                                                                        plasmid could be observed at any time. For plasmid
         removed by the density centrifugation purification step. The bar in panel      administered in complexes, only a small fraction (⬍2%)
         (b) indicates 100 nm. For details of sample preparation and cryo-electron      was still intact in the circulation at 15 min and less than
         microscopy see Materials and methods.                                          0.2% was found to be intact in tumor tissue at 1 h. In

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                                                                             (ALT) or aspartate aminotransferase (AST) were assayed
                                                                             for evidence of toxicity following i.v. administration of
                                                                             SPLP and plasmid DNA–cationic liposome complexes.
                                                                             Elevated ALT and AST levels are usually associated with
                                                                             liver damage, although elevated AST levels can also indi-
                                                                             cate systemic tissue damage. Mice receiving SPLP at dose
                                                                             levels as high as 175 ␮g plasmid DNA per mouse did not
                                                                             have significantly elevated serum levels of ALT and AST
                                                                             (Figure 4a). However, mice receiving doses of plasmid
                                                                             DNA–cationic liposome complexes corresponding to
                                                                             plasmid doses above 20 ␮g per mouse exhibited pro-
                                                                             gressively higher serum levels of ALT and AST, reaching
                                                                             levels 100-fold above normal levels at plasmid doses of
                                                                             75 ␮g (Figure 4b).

                                                                             Intravenously administered SPLP promote gene
                                                                             expression in a distal tumor
                                                                             It is of obvious interest to determine whether SPLP-
                                                                             mediated delivery of intact plasmid to the tumor site
                                                                             results in transgene expression at that site. Luciferase
                                                                             gene expression in tumor tissue was therefore monitored
                                                                             following i.v. injection of SPLP, naked plasmid DNA and
                                                                             plasmid DNA–cationic liposome complexes at dose levels
                                                                             corresponding to 100 ␮g plasmid DNA per mouse. This
Figure 2 Pharmacokinetics, tissue distribution and tumor accumulation        dose level corresponded to the maximum tolerated dose
of SPLP and plasmid DNA–cationic liposome complexes following intra-         of complexes as evidenced by animal morbidity and mor-
venous administration in tumor-bearing mice as reported by the 3H-CHE        tality. As shown in Figure 5, administration of SPLP
lipid marker. The levels of complexes (䊊) and SPLP (䊉) in the circulation,   results in reporter gene expression at the tumor site, with
the lung, the liver and in Lewis lung tumor tissue are shown in panels       maximum levels corresponding to 32 pg luciferase per
(a), (b), (c) and (d), respectively. The accumulations in liver, lung and
tumor were corrected for plasma contributions29 and are expressed as a       gram of tumor tissue at the 48 h time-point and signifi-
percentage of the total injected dose.                                       cant gene expression extending to 96 h after injection.
                                                                             Injection of free plasmid DNA or plasmid DNA–cationic
                                                                             liposome complexes, on the other hand, resulted in no
Table 1 Biodistribution of SPLP and plasmid DNA–cationic lipo-               detectable gene expression at the tumor site. It is of inter-
some complexes in mice 4 and 24 h following i.v. injection                   est to note that i.v. administration of complexes did result
                                                                             in transfection in the lung, liver and spleen, whereas
Tissue                         % Injected dose (s.e.m.)                      administration of SPLP did not result in detectable levels
                                                                             of gene expression in these organs (data not shown). In
                        SPLP                           Complexes             an attempt to understand why SPLP did not give rise to
                                                                             significant gene expression in the liver, the levels of intact
                  4h            24 h              4h            24 h         plasmid in the liver 24 h after injection of SPLP into
                                                                             C57BI/6 mice (100 ␮g plasmid per mouse) bearing a sub-
Plasma         55.0 (1.7)      6.4 (1.0)       1.7 (0.2)      1.4 (0.3)      cutaneous Lewis lung carcinoma were analyzed by
Liver           7.0 (0.6)     23.0 (4.3)      35.2 (2.3)     35.1 (3.5)
Lung            0.0 (0.1)      0.2 (0.1)       1.8 (0.8)      0.5 (0.0)      Southern blot hybridization. No intact plasmid could be
Spleen          0.4 (0.1)      1.6 (0.1)       0.2 (0.2)      0.1 (0.3)      detected in the liver whereas intact plasmid was readily
Tumor           0.2 (0.0)      2.8 (0.5)       0.2 (0.1)      0.3 (0.2)      detected at the tumor site (results not shown). This sug-
                                                                             gests that the ability of SPLP to transfect cells at the
Both SPLP and complexes contained pCMVLuc as well as trace                   tumor site but not in the liver may reflect relatively rapid
levels of the 14C-labeled CHE lipid marker and were administered             breakdown of SPLP and associated plasmid following
at a dose level of 100 ␮g plasmid per mouse. The biodistribution             uptake into liver phagocytes (Kuppfer cells), which play
was measured employing the CHE lipid marker.                                 a dominant role in clearing liposomal systems from the
s.e.m., standard error of the mean.
                                                                             circulation.15 Lower gene expression in the liver may also
                                                                             reflect the finding that nonviral vectors such as SPLP
contrast, following i.v. injection of SPLP, approximately                    transfect dividing cells much more efficiently than non-
85% of the injected plasmid DNA remained in intact form                      dividing cells16 or that Kuppfer cells are less readily
in the circulation at 15 min, and progressively higher lev-                  transfected than tumor cells.
els of intact plasmid accumulated at the tumor site over
the time-course of the experiment. The levels achieved at
24 h correspond to approximately 1.5% of the total
                                                                             Discussion
injected plasmid DNA dose. The circulation half-life of                      This study demonstrates that SPLP consist of plasmid
intact plasmid DNA following injection of SPLP was cal-                      DNA encapsulated in a bilayer vesicle, and that systemic
culated to be 7.2 ± 1.6 h, in good agreement with the                        administration of SPLP results in significant accumu-
circulation half-life of 3H-CHE-labeled SPLP, confirming                     lation and transfection at a distal tumor site. There are
the highly stable nature of SPLP in the circulation.                         three important features of these results. The first con-
   Serum enzyme levels of alanine aminotransferase                           cerns the structure of SPLP, which represents a major

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         Figure 3 Pharmacokinetics and tumor accumulation of plasmid DNA following intravenous administration of naked plasmid, plasmid DNA–cationic
         liposome complexes and SPLP as reported by a Southern blot analysis. The Southern blot hybridizations shown in panels (a), (b) and (c) result from
         plasmid DNA isolated from blood and tumor tissue of mice injected with naked plasmid DNA, plasmid DNA–cationic lipid complexes and SPLP,
         respectively. Each panel shows pCMVluc (2 ng) to indicate the position of intact plasmid DNA. The levels of intact plasmid resulting from i.v. injection
         of naked plasmid DNA (쏔), plasmid DNA–cationic liposome complexes (䊊) and SPLP (䊉) were quantified for plasma (panel d) and tumor tissue (panel
         e) by phospor-imaging analysis and converted to mass quantities of plasmid DNA by comparison to a standard curve made from known amounts of
         plasmid DNA. Tumor accumulations of plasmid were corrected for plasma contributions and expressed as a percentage of the total injected plasmid
         DNA dose.29




         advance for plasmid encapsulation in liposomal delivery                       bilities for further optimization of the SPLP system are
         systems. Second, it is of interest to compare the proper-                     of interest. We discuss these areas in turn.
         ties of the SPLP system for systemic gene delivery and                           The cryo-electron microscopy results presented here
         distal tumor transfection with the properties of other                        establish the structure of SPLP as a plasmid surrounded
         viral or nonviral gene delivery systems. Finally, the possi-                  by a lipid bilayer envelope. This represents the first direct

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                                                                          Figure 5 Transgene expression at a distal tumor site following intra-
                                                                          venous injection of naked plasmid DNA (쏔), plasmid DNA–cationic lipid
                                                                          complexes (䊊) and SPLP (䊉). Mice bearing subcutaneous Lewis lung
                                                                          tumors were injected i.v. with doses containing 100 ␮g of pCMVluc.
                                                                          Tumors were harvested at the indicated times and assayed for luciferase
                                                                          activity. The level of transgene expression reported is normalized for the
                                                                          weight of the tumor tissue.


                                                                          enable transgene expression corresponding to 30 pg
                                                                          luciferase per gram tumor at that site with no evidence
                                                                          of toxicity (as indicated by serum enzyme levels). Deliv-
                                                                          ery of approximately 3% of the injected dose of SPLP at
                                                                          a 200 mg tumor site corresponds to more than 1000 plas-
                                                                          mid copies per tumor cell, assuming a cell density of 1 ×
                                                                          109 per milliliter. It is of interest to compare these proper-
                                                                          ties with the behavior of other gene delivery systems. In
                                                                          the case of viral vectors, there have been three reports of
                                                                          transgene expression in liver metastases and in a distal
                                                                          tumor following systemic administration of a recombi-
                                                                          nant vaccinia virus18,19 and a selectively replicating
                                                                          adenovirus.20 These viral vectors are replication incom-
                                                                          petent in normal nondividing cells but can selectively
Figure 4 Toxicity resulting from i.v. injection into mice of varying      replicate in tumor cells resulting in transgene expression
amounts of SPLP (panel a) and plasmid DNA–cationic lipid complexes
(panel b) as assayed by determining serum levels of the hepatic enzymes   in tumors and antitumoral efficacy. The major drawback
alanine aminotransferase (ALT) and aspartate aminotransferase (ASP).      of these viral vectors is the immune response, which
The serum levels of AST (쏔) and ALT (쐽) were measured 24 h after          occurs within 6 days. In the case of nonviral vectors such
injection.                                                                as plasmid DNA–cationic polymer ‘polyplexes’, there is
                                                                          only one report showing transfection of distal tumors fol-
                                                                          lowing i.v. injection.21 This work utilized a PEG-contain-
demonstration that plasmid can be entrapped in small                      ing polyplex that exhibits plasmid circulation half-lives
(diameter approximately 70 nm), well defined vesicular                    of less than 0.5 h following intravenous injection and
systems containing a single plasmid per vesicle. Entrap-                  gave rise to transfection at a distal tumor site, achieving
ment of a plasmid such as pCMVluc, which contains 5650                    transfection levels corresponding to approximately 250
bp, in a supercoiled configuration in a 70 nm diameter                    pg/g tumor, approximately eight-fold higher than the
vesicle represents a solution for a difficult packing prob-               levels reported here.
lem. For example, electron micrographs of supercoiled                        With regard to plasmid DNA–cationic liposome
4.4 kbp plasmids reveals extended lengths of approxi-                     complexes (‘lipoplexes’), a number of studies have
mately 500 nm and average (two dimensional) diameters                     characterized transfection properties following i.v.
in the range of 350 nm, suggesting an average diameter                    administration,3–7 however, only two studies by Xu and
for free supercoiled pCMVluc of approximately 400 nm.17                   co-workers have demonstrated transfection at a distal
The detergent dialysis process clearly involves a partial                 tumor site.22,23 In the initial study,22 less than 5% of the
condensation of entrapped plasmid to allow encapsul-                      cells at the tumor site were transfected as indicated by
ation in a 70 nm diameter vesicle. The mechanism of                       immunohistochemical staining, whereas in the second
entrapment is not understood in detail, but appears to                    study using transferrin targeted complexes 20–30% of the
proceed via association of plasmid with lipid structures                  cells were transfected. The levels of gene expression
formed as intermediates in the detergent dialysis                         could not be related to the levels observed here. Issues
process.12                                                                related to circulation lifetimes, plasmid tumor accumu-
   SPLP exhibit extended circulation lifetimes (t. approxi-               lation and toxicity were not addressed. An additional
mately 7 h) following i.v. injection, can deliver significant             study24 has demonstrated the presence of complexes at a
amounts of intact plasmid to a distal tumor site and                      distal tumor site following i.v. injection but the levels of

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         gene transfer were not measured. In general, i.v. injection           The cationic lipid N,N-dioleyl-N,N-dimethylammonium
         of complexes gives rise to high levels of transgene                   chloride (DODAC) and 1-O-[2⬘-(␻-methoxypolyethylene-
         expression in the lungs, with lower levels of expression in           glycol)succinoyl]-2-N-arachidoylsphingosine (PEG-CerC20)
         the spleen, liver, heart and kidneys. Similar results were            were prepared at Inex Pharmaceuticals (Burnaby, BC,
         observed for the complexes employed in this investi-                  Canada) using previously described methods.27 3H-lab-
         gation. The lung expression appears to arise from depo-               eled cholesteryl hexadecyl ether (CHE) was purchased
         sition in lung microvasculature and reflects the rapid                from Dupont NEN Products (Boston, MA, USA). The
         clearance of plasmid DNA–cationic lipid complexes from                pCMVluc plasmid encodes the Photinus pyralis luciferase
         the circulation due to their large size (⬎200 nm diameter)            gene under the control of the human CMV immediate–
         and high cationic lipid content.8 This is consistent with             early promoter. Plasmid DNA was propagated in E. coli
         the observation that murine B16 tumors seeded in the                  (DH5␣) and purified using the alkaline lysis method fol-
         pulmonary vascular compartment can be transfected by                  lowed by two rounds of CsCl/ethidium bromide density
         i.v. administered complexes.3 Finally, as clearly shown in            equilibrium centrifugation.
         this study, administration of complexes is often associa-
         ted with significant toxicity.
            The final point of discussion concerns the utility of              SPLP and plasmid DNA–cationic liposome complex
         SPLP as a systemic gene therapy vector and the potential              preparation
         for further optimization. As indicated above, despite the             Plasmid DNA was encapsulated in SPLP composed of
         delivery of large amounts of intact plasmid to the tumor              DOPE/DODAC/PEG-CerC20 (83:7:10; mol:mol:mol) by
         site, the levels of gene expression observed for the SPLP             the detergent dialysis method.12 Lipids were dissolved in
         system are modest, albeit comparable with or superior                 ethanol and dried to a lipid film in a round-bottom flask.
         than can be achieved with other vectors. It is likely that            The lipid mixture was resuspended in HBS (5 mm Hepes,
         the low levels of transfection reflect low levels of uptake           150 mm NaCl, pH 7.5) containing 200 mm OGP and 0.4
         of SPLP into cells at the tumor site due to inhibition of             mg/ml pCMVluc. The final lipid concentration was 10
         cell association and uptake by the PEG coating.25 In vitro            mg/ml. When required, 3H-CHE was added to a specific
         studies have shown that SPLP containing PEG-CerC20 are                activity of 1.0 ␮Ci/mg total lipid. The mixture of lipid,
         accumulated into cells to a very limited extent, however,             plasmid and OGP was dialyzed against 4 l of HBS for 2
         the SPLP that are taken up are highly transfection                    days with three changes. Untrapped plasmid was
         potent.26 The challenge that faces the next stage of SPLP             removed by DEAE-Sepharose CL-6B chromatography,
         development is, therefore, to devise methods of enhanc-               and plasmid DNA-containing SPLP were purified by
         ing intracellular delivery of SPLP following arrival at the           sucrose gradient centrifugation (2.5%/5%/10%) in a
         tumor site. There are a number of avenues to explore.                 Beckman SW 28 rotor (16 h at 107 000 g) (Beckman, Fuller-
         First, the dissociation rate of the PEG coating from the              ton, CA, USA). DNA-containing particles banding at the
         SPLP can be modulated by varying the acyl chain length                5%/10% sucrose interface were collected and concen-
         of the ceramide anchor,12 suggesting the possibility of               trated by ultrafiltration before the DNA concentration
         developing PEG-Cer molecules that remain associated                   was adjusted to 500 ␮g/ml. The final lipid composition
         with the SPLP long enough to promote passive targeting                was determined by HPLC analysis. DNA was quantified
         to the tumor, but which dissociate quickly enough to                  by picogreen (Molecular Probes, Eugene, OR, USA) flu-
         allow transfection after arriving at the tumor site. Alter-           orescence of TX-100-solubilized SPLP preparations. Plas-
         natively, improvements may be expected from inclusion                 mid DNA–cationic liposome complexes were prepared
         of cell-specific targeting ligands in SPLP to promote cell            by adding pCMVluc to large unilamellar vesicles (LUV)
         association and uptake. Finally, the nontoxic properties              composed of DOPE:DODAC (1:1; mol:mol) to a final
         of SPLP allow the possibility of higher doses. A dose of              charge ratio (+/−) of 3.0 in 5% glucose. The LUV were
         100 ␮g plasmid DNA per mouse corresponds to a dose                    prepared by extrusion through 100 nm pore size filters
         of approximately 5 mg plasmid DNA per kilogram body                   according to standard procedures.28
         weight. This is a relatively low dose level in comparison
         to small molecules used for cancer therapy, which typi-
         cally are used at dose levels of 10 to 50 mg per kg                   Cryo-electron microscopy
         body weight.                                                          A drop of buffer containing SPLP was applied to a stan-
            In summary, we have shown that SPLP consist of plas-               dard electron microscopy grid with a perforated carbon
         mid encapsulated in a lipid vesicle. Furthermore, we                  film. Excess liquid was removed by blotting leaving a
         have demonstrated that, in contrast to naked plasmid or               thin layer of water covering the holes of the carbon film.
         complexes, SPLP exhibit extended circulation lifetimes                The grid was rapidly frozen in liquid ethane, resulting in
         following intravenous injection, resulting in plasmid                 vesicles embedded in a thin film of amorphous ice.
         accumulation and transgene expression at a distal tumor               Images of the vesicles in ice were obtained under cryo-
         site in a murine model. The levels of transgene expression            genic conditions at a magnification of 66 000 and a defo-
         achieved are modest, but are comparable or superior to                cus of −1.5 micron using a Gatan cryo-holder in a Philips
         distal tumor expression levels achieved employing other               CM200 FEG electron microscope (Eindhoven, The
         vectors. Further improvements can be expected due to                  Netherlands).
         the low toxicity and flexible nature of the SPLP system.
                                                                               Quasi-elastic light scattering
         Materials and methods                                                 The mean diameter of SPLP was measured by quasi-elas-
         Lipids and plasmid                                                    tic light scattering (QELS) using a Nicomp Model 370
         1,2-Dioleoyl-3-phosphatidylethanolamine (DOPE) was                    Sub-Micron particle sizer (Santa Barbara, CA, USA)
         obtained from Northern Lipids (Vancouver, BC, Canada).                operated in the particle mode.


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Clearance, biodistribution and tumor accumulation of           Plasmid DNA was prepared by C Giesbrecht and J
SPLP                                                           Thompson.
Lewis lung carcinoma cells (300 000; ATCC CRL-1642)
were implanted subcutaneously in the hind flank of 6-
week-old female C57BL/6 mice (Harlan, Indianapolis,            References
IN, USA) and the tumor allowed to grow to approxi-              1 Huard J et al. The route of administration is a major determinant
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cardiac puncture. Tumors and organs were quickly                3 Zhu N, Liggitt D, Liu Y, Debs R. Systemic gene expression after
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mm EDTA, 0.5% SDS, pH 8.0). After incubation at 37°C              tration of cationic lipid-protamine-DNA (LPD) complexes. Gene
for 3 h, the samples were purified by phenol/chloroform           Therapy 1997; 4: 891–900.
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were homogenized in PBS containing 100 mm EDTA pH                 some-mediated intravenous gene delivery. Nat Biotechnol 1997;
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tumor homogenates were digested with EcoRI. DNA                 9 Proffitt RT et al. Liposomal blockade of the reticuloendothelial
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immediately for ALT or ASP using commercially avail-           20 Heise CC et al. Intravenous administration of ONYX-015, a selec-
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technical assistance, Dr P Joshi for assistance in preparing   22 Xu M et al. Gene therapy with p53 inhibits human breast tumors
the manuscript and Dr S Ansell and Dr Z Wang for                  in vivo through a bystander mechanism without evidence of tox-
supplying the DODAC and PEG-CerC20 respectively.                  icity. Hum Gene Ther 1997; 8: 177–185.


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GENE DELIVERY




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                         Synthesis and characterization of novel poly(ethylene glycol)-lipid
                                    conjugates suitable for use in drug delivery
                                     James Heyes, Kim Hall, Vicky Tailor, Richard Lenz, Ian MacLachlan ⁎
                                                      Protiva Biotherapeutics, 100-3480 Gilmore Way, Burnaby, B.C., Canada V5G 4Y1
                                                                   Received 12 December 2005; accepted 16 February 2006
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                Abstract

                    Liposomal formulations have been used to encapsulate and deliver a wide variety of therapeutic and diagnostic agents. Their circulation can be
                prolonged by the addition of neutral, hydrophilic polymers such as poly(ethylene glycol) (PEG) to the outer surface. An extended circulation
                lifetime allows them to take advantage of the enhanced permeability and retention effect (EPR), resulting in increased delivery to target sites.
                Incorporation of PEG also prevents aggregation and aids in the formation of uniform, small mono-disperse particles. This is often accomplished
                with the use of PEG-lipid conjugates, PEG molecules with a hydrophobic domain to anchor them into the liposomal bilayer upon formulation.
                    Here we present data showing that some commonly used PEG-lipids are chemically unstable due to the presence of carboxylic ester bonds.
                This instability limits their utility in aqueous environments common to many liposomal preparations. To address this problem, we designed and
                synthesized three alternative PEG-lipids. Using SPLP (PEG-stabilized liposomal vesicles encapsulating plasmid DNA) as a model system, we
                investigated the properties of the novel PEG-lipids. An accelerated stability study was conducted at 37 °C for 42 days to confirm chemical stability
                and an in vivo model was used to assess the pharmacokinetics, toxicity and activity of the SPLP. We show that the novel PEG-lipids are more
                stable in liposomal formulation, less toxic upon systemic administration, and accordingly, are suitable replacements for the PEG-lipids described
                previously.
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                Keywords: Liposome; SPLP; SNALP; PEG; Stability




                1. Introduction                                                                 plexes formed between cationic lipids and negatively charged
                                                                                                nucleic acids [12]. However, unshielded cationic lipoplexes
                   Through liposomal encapsulation, it is possible to obtain                    themselves possess poor physico-chemical characteristics for
                particles with the small size, low surface charge and increased                 systemic delivery. Their positive surface charge leads to non-
                serum stability necessary to increase circulation lifetime and                  specific interaction with anionic species in the blood, resulting
                take advantage of the “enhanced permeation and retention”                       in rapid clearance by the reticulo-endothelial system (RES)
                (EPR) effect [1–3]. This effect occurs where fenestrated                        [13–15].
                vasculature permits the extravasation and increased accumula-                      This problem can be overcome through the use of
                tion of encapsulated material at target sites such as tumors, sites             hydrophilic polymers attached to the particle's surface. Most
                of infection or inflammation [4–6].                                             commonly PEG has been used [16,17], although other polymers
                   Nucleic acid based drugs acquire other benefits from lipo-                   have been described [18,19]. However, it has been shown that
                somal encapsulation [7–11]. When administered systemically                      the presence of PEG can affect the intracellular delivery and
                in unprotected form, nucleic acids suffer from poor pharma-                     trafficking of non-viral vectors, resulting in lower gene
                cokinetics due to rapid degradation by intravascular nucleases.                 expression [20]. To this end, many groups have devised stra-
                Early liposomal strategies utilized lipoplex, electrostatic com-                tegies to ensure that the presence of PEG is transient. One
                                                                                                strategy involves the use of exchangeable PEG-lipids that rely
                 ⁎ Corresponding author. Tel.: +1 604 630 5064.                                 on slow diffusion from the particle surface at a rate determined
                   E-mail address: ian@protivabio.com (I. MacLachlan).                          by the size of their lipid anchors [9,21]. Examples include PEG-
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                doi:10.1016/j.jconrel.2006.02.012


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phosphatidyl ethanolamines (PEG-PE) [22], PEG-Ceramides                   the control of the cytomegalovirus promoter, was manufactured
(PER-Cer) [21], SAINT-PEGs [23] and PEG-succinoyl diacyl-                 as described previously [36]. 1H nuclear magnetic resonance
glycerols (PEG-S-DAGs) [9]. Another strategy uses PEG-                    (NMR) spectrometry was performed by Spectral Data Services,
disulphide lipids that possess a disulphide bond between the              Inc. (IL, USA). Elemental analysis (CHN) was performed by
polymer and the lipid anchor that is cleaved by thiolytic agents          Canadian Microanalytical Service Ltd. (BC, Canada).
in the reductive environment of the endosome [24,25]. Simi-
larly, vinyl ether PEG-lipids [26] and orthoester PEG-lipids              2.2. SPLP preparation
[27–29] have been developed using chemical linkages that are
sensitive to the reduced pH of the endosomal compartment.                     SPLP at a total lipid concentration of approximately 10 mg/
    Recently published data shows that when administering                 mL were prepared using the method of spontaneous vesicle
repeated doses of liposomally encapsulated, immunostimula-                formation by ethanol dilution, as described previously [37]. The
tory nucleic acids, a strong, long-lived antibody response can be         lipid composition was DSPC : cholesterol : PEG-lipid : DODMA
generated against PEG, a result of the powerful adjuvant effect           (20:55:10:15 molar ratio). Nucleic acid encapsulation was deter-
of the nucleic acid payload [30,31]. While this effect has in the         mined using a PicoGreen assay, and encapsulation efficiency
past been attributed to the immunostimulatory CpG motifs of               calculated by comparing fluorescence in the presence and
bacterial pDNA [32], CpG free phosphorothioate ODN [33] and               absence of Triton X-100 [37]. Picogreen fluorescence was
siRNA [34] have also been shown to be immunostimulatory.                  measured using a Varian Eclipse Spectrofluorometer (Varian Inc.,
This impacts the potential for repeat administration of                   CA, USA). Particle size was determined using a Malvern
PEGylated nucleic acid delivery systems, causing a loss of                Instruments Zetasizer 3000HSA (Malvern, UK). SPLP (40 μL)
disease site targeting, accelerated blood clearance and acute             were diluted with 4 mL of phosphate buffered saline (PBS
hypersensitivity upon subsequent administration. It has been              (150 mM NaCl, 10 mM Phosphate, pH 7.4 buffer)). Intensity-
shown that the use of PEG-lipids with a smaller C14 lipid                 weighted, Gaussian distribution analysis was used to determine
anchor, thereby increasing the rate of dissociation of the PEG            mean vesicle diameters and population standard deviations.
from the particle, abrogates this deleterious effect [30,31]. In
this regard, there may be advantages to a strategy using
exchangeable PEG layers, rather than those that are perma-
nently bound or not cleaved until entry to the endosome.
    Our characterization of the immune response to PEG-lipids
[31] coincided with our observation that PEG-succinoyl
distearylglycerol (PEG-S-DSG)-containing SPLP in a con-
trolled, long-term stability study exhibited a steadily decreasing
concentration of PEG-lipid over time (Fig. 1), ultimately
leading to particle destabilization and aggregation. This led us
to believe that PEG-S-DSG was chemically unstable, an unde-
sirable attribute for a component of a potential pharmaceutical
product. An examination of commercially available alternatives
and the literature yielded no acceptable substitutes for PEG-S-
DSG. Therefore, we set out to design, synthesize and cha-
racterize novel replacements with the aim of preparing SPLP
that are at least as efficacious as those containing the original
PEG-S-DSG.

2. Materials and methods

2.1. Materials and analyses

   1,2-Distearoyl-sn-glycero-3-phosphocholine (DSPC) and
cholesterol were purchased from Avanti Polar Lipids (Alabaster,
AL). 1,2-dioleyloxy-N,N-dimethyl-3-aminopropane (DODMA)
[35], PEG-S-DAGs [9] and PEG-CerC20 [21] were prepared as
previously described. 3H-labelled CHE was obtained from
Perkin-Elmer (Boston, MA, USA). The Picogreen Quantitation                Fig. 1. (A) Accelerated stability study of SPLP lipids at 40 °C. Lipid
Assay and Kit was obtained from Molecular Probes (Eugene,                 concentrations were determined by HPLC analysis using an evaporative light
OR, USA). GPR grade solvents were purchased from VWR                      scattering detector. PEG-S-DSG, possessing four carboxylic ester bonds,
                                                                          exhibited a pronounced tendency to degrade. DSPC was also unstable at
Scientific (Edmonton, AB, Canada). All other chemicals were               40 °C. (B) Stability study of PEG-S-DSG in SPLP at 40, 25 and 5 °C. Data-
purchased from Sigma-Aldrich (Oakville, ON, Canada). The                  points are the mean of 2 analyses. Error shown is the percent relative standard
pCMVluc plasmid, encoding the luciferase reporter gene under              deviation of six analyses of a standard containing all four lipids.


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                Polydispersity was reported using ‘Contin’ mode of the instru-            (AST) by the Central Laboratory for Veterinarians (Langley, BC,
                ments PCS software.                                                       Canada). For this experiment, n = 3.

                2.3. SPLP stability studies and HPLC analysis                             2.6. Pharmacokinetic studies

                    SPLP formulations were incubated at relevant temperatures                SPLP containing tritiated cholesteryl hexadecyl ether (3H-
                (5, 25, 37 or 40 °C) for the duration of the study in question (up        CHE) (1.0 μCi/mg of total lipid) in the lipid solution were
                to 12 months for the long-term study, 42 days for the accelerated         prepared as in Section 2.2. Injections containing 50 μg DNA in
                study). Samples (100 μL) were withdrawn using a Gilson                    a 100 μL volume were administered to 5-week-old male A/J
                pipette and prepared for HPLC analysis by diluting 1:19 in                mice (Harlan, IN, USA) by lateral tail vein injection. At
                ethanol. This dissolved the SPLP lipid bilayer and resulted in            appropriate time points, 3 H-CHE in whole blood was
                precipitation of the nucleic acids and buffer salts. Precipitates         determined by liquid scintillation counting, using Picofluor 15
                were removed by filtering through a 13 mm Acrodisc 0.45 μm                and a Beckman LS6500 (Beckman Instruments, CA, USA). For
                syringe filter (Pall Corp., Ann Arbor, MI). A Waters Alliance             this experiment, n = 4.
                2695 HPLC (Waters Ltd., ON, Canada) with an ACE C8,
                4.6 × 250 mm, 5 μm column (Canadian Life Science, ON,                     2.7. Synthesis of lipid anchors
                Canada), was used for analysis with sample injection volumes
                of 20 μL. Sample and column temperatures were 20 and 40 °C,                  The synthesis of the C18 lipid anchor is described below. The
                respectively. The mobile phase gradient varied linearly from              C14 anchor was made in an analogous fashion, substituting an
                80:20 A:B to 83:17 A:C (where A = methanol, B = 10 mM                     equimolar amount of 1-bromotetradecane for the 1-bromoocta-
                ammonium bicarbonate, pH 8.0, C = tetrahydrofuran (THF))                  decane in the reaction to make the analogous compound 1.
                over a time period of 18 min. The mobile phase flow rate was
                1.1 mL per min. A 6-min hold at the final conditions was                  2.7.1. Preparation of 1,2-distearyloxy-3-allyloxypropane (1)
                followed by a 21-min re-equilibration period for the column                   Benzene (250 mL) was added to 95% sodium hydride
                (equating to a total run time of 45 min). An Alltech Evaporative          (11.4 g, 450.0 mmol), and the flask was sealed and flushed with
                Light Scattering Detector 2000 (Alltech Associates Inc., IL,              nitrogen. A solution of 3-allyloxy-1,2-propanediol (6.6 g,
                USA) was used for detection, with the drift tube temperature set          50.0 mmol) in benzene (75 mL) was added to the flask. 96%
                at 70 °C and gas flow rate set at 1.8 L per min. A standard curve         1-bromooctadecane (41.7 g, 120.0 mmol) was added and the
                was generated for each lipid. System suitability was determined           reaction left to reflux overnight under nitrogen. The mixture
                prior to each run by analysis of a standard sample containing all         was cooled to room temperature and excess sodium hydride
                four lipids. When the relative standard deviation (RSD) of six            slowly quenched with ethanol. The solution was transferred to a
                repeat analyses was less than 2.0% for each lipid, the run was            separatory funnel with benzene (250 mL) and washed with
                considered acceptable. For the long-term stability study, n = 2.          distilled water (2 × 200 mL) and brine (1 × 200 mL). The organic
                For the accelerated study, n = 3.                                         fractions were combined, dried over magnesium sulfate and
                                                                                          concentrated. The crude product was purified by flash column
                2.4. In vivo transfection studies                                         chromatography (1–5% ether in hexane) to yield compound 1
                                                                                          as a colourless wax (21.0 g, 66%, Rf = 0.35 (5% ether in
                   Neuro-2a neuroblastoma cells were cultured in Minimum                  hexane)). 1H NMR (400 MHz), δH: 5.90 (m, 1H, CH2 = CH),
                Essential Medium (MEM; Invitrogen, ON, Canada), supplemen-                5.21 (m, 2H, CH2 = CH), 4.01 (m, 2H, CH2 = CHCH2), 3.61–
                ted with 10% fetal bovine serum (FBS; Invitrogen, ON, Canada)             3.40 (m, 9H, CH2CH(OCH2)CH2OCH2), 1.61–1.51 (m, 4H,
                at 37 °C with 5% CO2. 5-week-old male A/J mice (Harlan, IN,               OCH2CH2), 1.38–1.20 (m, 60H, CH2(stearyl)), 0.88 (t, 6H, CH3,
                USA) were inoculated subcutaneously in the hind flank with                J = 6.8 Hz).CHN found; C 79.06, H 13.15 (C42H84O3 = C 79.18;
                1.5 × 106 Neuro-2a cells 13 days prior to SPLP treatment. SPLP            H 13.29; O 7.53).
                containing 50 μg DNA in a 100 μL injection volume or 100 μL
                PBS were administered by lateral tail vein injection. Mice were           2.7.2. Preparation of 1,2-distearyloxypropan-3-ol (2)
                sacrificed 48 h after treatment. Tumor, liver, lungs, spleen and              Compound 1 (21.0 g, 33 mmol) was dissolved in ethanol
                heart tissues were subject to analysis for luciferase gene                (250 mL) and trifluoroacetic acid (20 mL) and tetrakis
                expression as described previously [9]. For the experiment in             (triphenylphosphine) palladium(0) (5.0 g, 4.3 mmol) added.
                Fig. 5, n = 6. For the experiment in Fig. 7B, n = 4.                      The reaction mixture was refluxed under nitrogen overnight. The
                                                                                          solvent was removed by rotary evaporator and the crude product
                2.5. Toxicity studies                                                     purified by flash column chromatography (100% dichloro-
                                                                                          methane (DCM)), to yield compound 2 as a colourless wax
                   5-week-old male A/J mice (Harlan, IN, USA) were treated                (18.7 g, 95%, Rf = 0.4 (chloroform)). 1H NMR (400 MHz), δH:
                with SPLP containing 50 μg DNA in a 100 μL injection volume               3.75–3.67 (m, 1H, OCH), 3.67–3.47 (m, 8H, OCH2), 2.26 (s,
                or 100 μL PBS, administered by lateral tail vein injection.               1H, OH), 1.62–1.50 (m, 4H, OCH2CH2), 1.38–1.20 (m, 60H,
                Animals were sacrificed 48 h after treatment. Serum was assayed           CH2(stearyl)), 0.88 (t, 6H, CH3, J = 6.8 Hz). CHN found; C 79.06,
                for alanine aminotransferase (ALT) and aspartate amiotransferase          H 13.25 (C39H80O3 = C, 78.46; H, 13.51; O, 8.04).

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2.7.3. Preparation of N-(2,3-distearyloxypropyl)phthalimide                CH2CO2H), 3.7–3.6 (m, ∼180H, OCH2(PEG)), 3.38 (s, 3H,
(3)                                                                        CH3O).
   97% methanesulphonic anhydride (11.3 g, 62.8 mmol) was
dissolved in DCM (anhydrous, 100 mL) and pyridine (anhydrous,              2.8.2. Preparation of N-(1,2-distearyloxypropyl) methoxy poly
5.0 g, 62.8 mmol) slowly added. A solution of compound 2                   (ethylene glycol)2000 acetamide (PEG-A-DSA) (6)
(18.7 g, 31.4 mmol) in DCM (anhydrous, 100 mL) was added and                  Compound 5 (6.8 g, 3.4 mmol) was dissolved in benzene
the reaction stirred overnight at room temperature. The reaction           (80 mL) and oxalyl chloride (3.4 mL, 20 mmol) slowly added.
mixture was washed with distilled water (2 × 200 mL) and brine             The solution was stirred for 2 h prior to solvent removal by rotary
(1 × 200 mL), dried over magnesium sulphate, and concentrated to           evaporator. Compound 4 (2.15 g, 3.6 mmol), DCM (anhydrous,
yield the mesylate as a colourless wax (Rf = 0.8 (chloroform)). The        80 mL) and triethylamine (TEA) (3 mL, 20 mmol) were added
mesylate and potassium phthalimide (15.7 g, 85.0 mmol) were                and the reaction was stirred for 48 h. The solution was acidified
added to N,N-dimethylformamide (DMF) (anhydrous, 500 mL)                   via the addition of a 1% solution of hydrochloric acid (HCl)
and the mixture stirred at 70 °C overnight under nitrogen. DMF             (250 mL) with agitation. The organic layer was collected, dried
was removed by rotary evaporator attached to a high vacuum                 over magnesium sulphate and concentrated to yield a pale yellow
pump and the residue triturated in chloroform (300 mL). The                solid. The crude product was purified by flash column
suspension was filtered and the filtrate washed (distilled water           chromatography (0–7% MeOH in CHCl3), then lyophilized to
(2 × 200 mL) and brine (1 × 200 mL), dried (magnesium sulphate)            yield PEG-A-DSA as a colourless solid (3.4 g, 38%, Rf = 0.5
and concentrated. The crude product was purified by flash column           (10% MeOH in CHCl3)). 1H NMR (400 MHz), δH: 7.10–7.04
chromatography (100% DCM) to yield compound 3 as a                         (m, 1H, NH), 4.00 (s, 2H, CH2C(O)NH), 3.7–3.6 (m, ∼180H,
colourless wax (19.5 g, 86%, Rf = 0.65 (DCM)). 1H NMR                      OCH2(PEG)), 3.60–3.39 (m, 9H, NCH2CH(OCH2)CH2OCH2),
(400 MHz), δH: 7.85 (dd, 2H, CH(arom 3, 6), Jortho = 5.5 Hz,               3.38 (s,3H, CH3O), 1.60–1.50 (m, 4H, OCH2CH2(stearyl)), 1.38–
Jmeta = 3.0 Hz), 7.71 (dd, 2H, CH(arom 4, 5)), 3.90–3.70 (m, 3H,           1.20 (m, 60H, CH2(stearyl)), 0.88 (t, 6H, CH2CH3, J = 6.8 Hz).
NCH2CH), 3.63–3.38 (m, 6H, OCH2), 1.54–1.37 (m, 4H,
OCH2CH2), 1.38–1.06 (m, 60H, CH2(stearyl)), 0.88 (t, 6H, CH3,              2.8.3. Preparation of methoxy poly(ethylene glycol)2000 mesy-
J = 6.9 Hz). CHN found; C 77.76, H 11.69, N 1.86                           late (ME-PEG2000-OMs) (7)
(C47H83NO4 = C 77.74, H 11.52, N 1.93, O 8.81).                               Pyridine (3.8 mL, 47.0 mmol) was added slowly to a solution
                                                                           of 97% methanesulphonic anhydride (8.2 g, 47.1 mmol) in
2.7.4. Preparation of 1,2-distearyloxypropyl-3-amine (4)                   DCM (anhydrous, 80 mL). A solution of Me-PEG2000-OH
   Phthalimide deprotection was performed as described previ-              (31.5 g, 15.5 mmol) in DCM (anhydrous, 120 mL) was added
ously [38]. Briefly, compound 3 (19.5 g, 26.9 mmol) was                    and the reaction stirred overnight. The reaction mixture was
dissolved in ethanol (500 mL), hydrazine monohydrate (40 mL,               washed with distilled water (2 × 200 mL) and brine
825 mmol) added and the reaction refluxed overnight. A pale                (1 × 200 mL), dried over magnesium sulphate, and concentrated.
yellow precipitate developed so the suspension was filtered and            Purification by flash column chromatography (0–10% MeOH–
the filtrate evaporated under reduced pressure. The crude product          CHCl3) yielded compound 7 as a colourless solid (30.1 g,
was purified by flash column chromatography (0–5% MeOH–                    92.8%, Rf = 0.4 (5% MeOH in CHCl3)). 1H NMR (400 MHz),
CHCl3) to give compound 4 as a pale yellow wax (13.1 g, 82%,               δH: 4.38 (t, 3H, CH2OS, J = 4.5 Hz), 3.79–3.74 (m, 2H,
Rf = 0.45 (8% methanol (MeOH) in CHCl3)). 1 H NMR                          CH2CH2OS), 3.7–3.6 (m, ∼ 180H, OCH2(PEG)), 3.38 (s, 3H,
(400 MHz), δH: 3.65–3.58 (m, 1H, NCH2CH), 3.52–3.32 (m,                    CH3O), 3.08 (s, 3H, OS(O)2CH3).
6H, OCH2), 2.79 (ABX, 2H, NCH2 (A and B), JAB = 13.2 Hz,
JAX = 3.7 Hz, JBX = 6.4 Hz), 1.62–1.51 (m, 4H, OCH2CH2),                   2.8.4. Preparation of 1-amino methoxy poly(ethylene glycol)
1.40–1.20 (m, 62H, NH2, CH2(stearyl)), 0.88 (t, 6H, CH3,                   (Me-PEG2000-NH2) (8)
J = 6.8 Hz).CHN found; C 78.69, H 13.42, N 2.66                                Me-PEG2000-NH2 was prepared as previously described [39].
(C39H81NO2 = C, 78.58; H, 13.70; N, 2.35; O, 5.37).                        Briefly, compound 7 (10 g, 5 mmol) was dissolved in a
                                                                           concentrated solution of aqueous ammonia (400 mL), sealed and
2.8. Synthesis of PEG-lipids                                               left to stir for 72 h. The product was extracted with DCM
                                                                           (3 × 300 mL) and the combined organic fractions dried over
2.8.1. Preparation of methoxy PEG2000 acetic acid (5)                      MgSO4 and concentrated. The product was crystallized from
   Methoxy poly(ethylene glycol) 2000 (Me-PEG 2000-OH)                     diethyl ether to yield compound 9 as a colourless solid (9.3 g,
(20.0 g, 10 mmol) was added to a solution of sodium dichromate             93%, Rf = 0.15 (10% MeOH in CHCl3)). 1H NMR (400 MHz),
(3.0 g, 10 mmol) in 10% sulfuric acid (200 mL) and stirred at              δH: 3.7–3.6 (m, ∼ 180H, OCH2(PEG)), 3.58–3.53 (m, 2H,
room temperature overnight. The product was extracted with                 CH2CH2NH2), 3.38 (s, 3H, CH3O), 2.90 (t, 2H, CH2NH2,
chloroform (3 × 250 mL) and the organic fraction combined,                 J = 5.2 Hz), 2.2–1.9 (bs, 2H, NH2).
washed with 1 M sodium hydroxide (250 mL) and evaporated to
yield a pale blue wax. This crude material was purified by flash           2.8.5. Preparation of methoxy poly(ethylene glycol) succini-
column chromatography (0–15% MeOH–CHCl3) to give                           mide (Me-PEG2000-Sn) (9)
compound 5 as a colourless solid (8.0 g, 38.7%, Rf = 0.3 (13%                  Succinic anhydride (3.8 g, 38.1 mmol) was added to a solution
MeOH in CHCl3)). 1H NMR (400 MHz), δH: 4.0–3.9 (s, 2H,                     of compound 8 (9.0 g, 4.4 mmol) in pyridine (anhydrous, 100 mL)

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                and the reaction stirred overnight. The pyridine solvent was               2.8.8. N-[(methoxy poly(ethylene glycol)2000)carbamyl]-1,2-
                removed under reduced pressure, and the residue dissolved in               dimyristyloxlpropyl-3-amine (PEG-C-DMA) (12)
                distilled water (100 mL) and acidified with HCl. Crude product                PEG-C-DMA, compound 12, was synthesized in a manner
                was extracted with DCM (3 × 100 mL), dried over magnesium                  similar to PEG-C-DSA, compound 11, on a 5 mmol scale to
                sulphate and concentrated. Purification by flash column chroma-            yield, after chromatography, compound 12 as a colourless solid
                tography (0–10% MeOH–CHCl3) yielded compound 9 as a                        (11.1 g, 88%, Rf = 0.35 (8% MeOH in CHCl3)). 1H NMR
                colourless solid (5.7 g, 61%, Rf = 0.3 (10% MeOH in CHCl3)). 1H            (400 MHz), δH: 5.21–5.15 (m, 1H, NH), 4.26–4.19 (m, 2H,
                NMR (400 MHz), δH: 6.69 (m, 1H, NH), 3.7–3.6 (m, ∼180H,                    CH2OC(O)), 3.7–3.6 (m, ∼ 180H, OCH2(PEG)), 3.60–3.39 (m,
                OCH2(PEG)), 3.58–3.53 (m, 2H, CH2CH2NH), 3.45 (quint, 2H,                  9H, NCH2CH(OCH2)CH2OCH2), 3.38 (s, 3 H, CH3O),
                CH2CH2NH, J = 5.0 Hz), 3.38 (s, 3H, CH3O), 2.70–2.61 (m, 2H,               1.60–1.50 (m, 4H, OCH2CH2(myristyl)), 1.38–1.20 (m, 44H,
                CH2CO2H), 2.57–2.50 (m, 2H, CH2CH2CO2H).                                   CH2(myristyl)), 0.88 (t, 6H, CH2CH3, J = 6.9 Hz).

                2.8.6. Preparation of N-[(methoxy poly(ethylene glycol)2000)               3. Results
                succinimidyl]-1,2-distearyloxlpropyl-3-amine (PEG-S-DSA)
                (10)                                                                       3.1. PEG-S-DSG is chemically unstable in liposomal
                   N-hydroxysuccinamide (360 mg, 3 mmol) and compound 9                    formulations
                (3.1 g, 1.5 mmol) were dissolved in chloroform (anhydrous,
                30 mL). A solution of 1,3-dicyclohexyl-carbodiimide (DCC)                     To ascertain lipid stability, we studied lipid concentrations over
                (490 mg, 2.25 mmol) in chloroform (anhydrous, 10 mL) was                   time in SPLP samples stored at different temperatures. Formula-
                added, and the reaction stirred for 1 h. A separate solution of            tions containing the lipids DSPC : cholesterol : PEG-S-DSG :
                compound 4 (900 mg, 1.5 mmol) and TEA (0.9 mL, 6 mmol) in                  DODMA (20:55:10:15 molar ratio) were examined by HPLC for
                chloroform (anhydrous, 10 mL) was added and the reaction for a             degradation at 5, 25 and 40 °C. DODMA and cholesterol
                further hour. The solution was filtered through a bed of Celite and        exhibited negligible structural instability, even under accelerated
                distilled water added (50 mL). The mixture was acidified with              conditions (40 °C, Fig. 1A), while DSPC degraded to a certain
                concentrated HCl, then washed again with distilled water                   extent. However, PEG-S-DSG degraded rapidly, with more than
                (2 × 50 mL) and brine (50 mL). Organic fractions were combined,            10% of the lipid degrading in the first 2 months, even at 5 °C (Fig.
                dried over magnesium sulphate and concentrated. The product                1B). As expected the instability of PEG-S-DSG was exacerbated
                was purified by flash column chromatography (0–7% MeOH–                    at higher temperatures. The PEG-S-DSG half-life in aqueous
                CHCl3) to yield PEG-S-DSA, compound 10, as a colourless solid              liposomal formulations was 18.3, 5.2 and 2.7 months at 5, 25 and
                (3.5 g, 88%, Rf = 0.65 (12% MeOH in CHCl3)). 1H NMR                        40 °C, respectively. Half-life values were calculated using a first
                (400 MHz), δH: 6.84–6.79 (m, 1H, NHCH2CH), 6.40–6.34 (m,                   order, non-compartmental model. Log values of the concentra-
                1H, CH2CH2NH), 3.7–3.6 (m, ∼180H, OCH2(PEG)), 3.60–3.39                    tions were plotted against time to give straight lines, the slopes of
                (m, 13H, OCH2CH2CN, NCH2CH(OCH2)CH2OCH2), 3.38 (s,                         which were used to calculate half-life.
                3H, CH3O), 2.54–2.49 (m, 2H, CH2CH2CO2H), 1.60–1.51 (m,
                4H, OCH2CH2(stearyl)), 1.40–1.20 (m, 60H, CH2(stearyl)), 0.88 (t,          3.2. Synthesis of novel PEG-lipids
                6H, CH3, J = 6.9 Hz).
                                                                                              Three novel PEG-lipids were synthesized for consideration as
                2.8.7. N-[(methoxy poly(ethylene glycol)2000)carbamyl]-1,2-                potential replacements for PEG-S-DSG; PEG-S-DSA, PEG-A-
                distearyloxlpropyl-3-amine (PEG-C-DSA) (11)                                DSA and PEG-C-DSA. Each used a different linker to join the
                   Diphosgene (2.0 mL, 16.7 mmol) was added to a solution of               PEG to the lipid anchor (the previously described 1,2-disteary-
                PEG2000 methyl ether (10.0 g, 5 mmol) in DCM (anhydrous,                   loxypropyl-3-amine (DSA) [38]); PEG-S-DSA, PEG-A-DSA
                100 mL) and stirred under nitrogen at room temperature for 3 h.            and PEG-C-DSA utilized succinimide, amide and carbamate
                DCM and excess diphosgene were then removed under reduced                  linkers, respectively (Fig. 2). The structure of DSA allows the
                pressure and compound 4 (4.2 g, 7 mmol) added. The flask was               possibility of synthesizing analogues with shorter alkyl chains,
                flushed with nitrogen, then DCM (anhydrous, 150 mL) and TEA                necessary for giving the PEG-lipids the desired programmable,
                (1.4 mL) added prior to stirring overnight. The solution was               exchangeable properties. The synthetic route to the lipids was
                diluted with DCM (100 mL), washed (1% HCl (1 × 200 mL),                    comprehensively revised to allow more efficient manufacture,
                water (1 × 200 mL) and brine (1 × 200 mL)), dried over magne-              such that the overall yield was improved by approximately 50%
                sium sulphate and concentrated. Purification by flash column               while the number of synthetic steps was decreased from six to
                chromatography (1.5–6.0% MeOH in CHCl3) followed by                        four. The synthesis and PEG-coupling processes (Fig. 3) dis-
                lyophilization afforded PEG-C-DSA, compound 11, as a colour-               played varying efficiency. Although the 2-step strategy used to
                less solid (11.9 g, 90%, Rf = 0.35 (8% MeOH in CHCl3)). 1H NMR             obtain PEG-A-DSA had a low overall yield of 14%, this did not
                (400 MHz), δH: 5.16–5.08 (m, 1H, NH), 4.25–4.19 (m, 2H,                    present a problem as the reactions are easily performed on large
                CH2OC(O)), 3.7–3.6 (m, ∼ 180H, OCH2(PEG)), 3.60–3.39                       scale. PEG-S-DSA predictably had a low yield also (46%), having
                (m, 9H, NCH2CH(OCH2)CH2OCH2), 3.38 (s, 3H, CH3O),                          the longest synthetic route with 4 discrete steps. The PEG-C-DSA
                1.60–1.50 (m, 4H, OCH2CH2(stearyl)), 1.38–1.20 (m, 60H,                    single-step synthesis was least complicated, and, unsurprisingly,
                CH2(stearyl)), 0.88 (t, 6H, CH2CH3, J = 6.8 Hz).                           had the highest yield of 90%. All synthetic products were

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                                                                                characteristic small particle size of SPLP (approximately 120 nm
                                                                                diameter, Table 1). Encapsulation efficiency was also significant-
                                                                                ly less with the use of PEG-DSPE; 61% as compared to 72% to
                                                                                80% for the other 5 formulations (P b 0.05, t-test). Final DNA
                                                                                encapsulation values were all somewhat similar, as the SPLP were
                                                                                passed through Mustang Q cartridges to remove unencapsulated
                                                                                DNA at the end of the formulation process. Even so, PEG-DSPE
                                                                                resulted in a formulation with a significantly lower percentage of
                                                                                encapsulated nucleic acid in the final product, as compared to the
                                                                                other PEG-lipids (P b 0.05, t-test).

                                                                                3.4. The presence of a succinate linker promotes instability in
                                                                                PEG-lipids

Fig. 2. Chemical structures of the 2000 molecular weight (n = 45) PEG-lipids        Assessment of PEG-lipid stability within the vesicles was of
assessed as replacements for PEG-S-DSG (top left). The 3 novel lipids (right
hand column) were designed without carboxylic ester bonds present in the
                                                                                interest. Therefore, formulations containing the six PEG-lipids
readily available alternatives (left column).                                   were analyzed for lipid degradation in an accelerated stability
                                                                                study, carried out over a six-week period at 37 °C. As expected
                                                                                from the earlier results, PEG-S-DSG was shown to degrade
analyzed by TLC and gave single spots with expected Rf values.                  steadily over the course of the experiment (t1 / 2 = 58 days) and
They were further characterized by 1H NMR and, in the case of                   PEG-CerC20 degraded at a very similar rate (t1 / 2 = 47 days)
non-polymeric compounds, elemental analysis.                                    (Fig. 4). The breakdown of both lipids was shown to be
                                                                                significant, even after 7 days (P b 0.05, t-test). The remaining
3.3. Physical characterization of formulations                                  PEG-lipids exhibited no obvious signs of instability during the
                                                                                six-week time-course, with concentrations after 42 days not
    The formulation characteristics of the six PEG-lipids were                  significantly different from initial values (P N 0.1 in all cases,
evaluated with particular emphasis on particle size and encapsu-                t-test). The other lipids, cholesterol, DSPC and DODMA, were
lation efficiency. The PEG-lipids were used to prepare SPLP by                  also stable during this time period. It is interesting to note that
spontaneous vesicle formation [37]. The PEG-DSPE formulation                    PEG-DSPE, despite containing two carboxylic ester bonds in its
had a mean particle size of 161 nm. All other formulations had the              structure, appears to be stable within the context of this
                                                                                particular experiment.

                                                                                3.5. In vivo gene expression from intravenous administration of
                                                                                SPLP

                                                                                    It has previously been shown that use of PEG-S-DSG or
                                                                                PEG-CerC20 allows for the formation of long circulating par-
                                                                                ticles that yield preferential gene expression in tumor tissue
                                                                                [8,9]. Ensuring a similar performance with the new PEG-lipids
                                                                                was of obvious importance. Therefore, gene expression was
                                                                                evaluated in a mouse tumor model following intravenous (i.v.)
                                                                                administration of SPLP containing the pCMVluc plasmid. 48 h

                                                                                Table 1
                                                                                Physical properties of the SPLP formulations
                                                                                PEG-lipid       Mean particle Initial      Final        Charge of PEG-
                                                                                                diameter      encapsulated encapsulated lipid at
                                                                                                (nm ± S.D.)   DNA (%)      DNA (%)      formulation pH
                                                                                                                                        (5.0)
                                                                                PEG-S-DSG       118 ± 4           80 ± 1       94 ± 1        Neutral
                                                                                PEG-DSPE        161 ± 5           61 ± 3       84 ± 2        −1
                                                                                PEG-CerC20      109 ± 6           74 ± 2       94 ± 2        Neutral
                                                                                PEG-A-DSA       122 ± 5           72 ± 2       89 ± 2        Neutral
                                                                                PEG-S-DSA       122 ± 6           75 ± 1       95 ± 1        Neutral
                                                                                PEG-C-DSA       118 ± 5           72 ± 2       89 ± 1        Neutral
                                                                                PEG-C-DMA       122 ± 5           78 ± 2       95 ± 2        Neutral
Fig. 3. Synthesis of three novel PEG-lipids. The PEG-lipids possessed
carbamate, amide and succinimide linkers, rather than the succinate linker      Values are the mean of 3 separate experiments, the error stated is the standard
used in PEG-S-DSG and PEG-CerC20.                                               deviation.


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                                                                                                  C-DSA SPLP. The remaining four formulations exhibited only
                                                                                                  marginally increased levels of either enzyme.

                                                                                                  3.7. Circulation half-life of SPLP comprising PEG-lipids with
                                                                                                  shorter lipid anchors

                                                                                                      Formulation, stability, transfection and toxicity data, combined
                                                                                                  with the ease of synthesis, lead to the selection of the carbamate
                                                                                                  linker chemistry for further characterization. The C14 analogue
                                                                                                  (PEG-C-DMA) was synthesized to confirm that, similarly to
                                                                                                  PEG-S-DAGs and PEG-Ceramides, bilayer exchangeability (and
                                                                                                  thus pharmacology) could be modulated by varying the size of the
                                                                                                  lipid anchor. SPLP were prepared incorporating a 3H-CHE-lipid
                Fig. 4. Stability of PEG-lipids in SPLP at 40 °C. Lipid concentrations were       marker. The percentage of injected dose remaining in circulation
                determined by HPLC analysis. Error shown is standard deviation (n = 3).           following a single injection of SPLP in the tail vein is displayed as
                                                                                                  a function of time (Fig. 7A). SPLP containing PEG-C-DSA
                after SPLP administration, luciferase expression was evaluated                    exhibited a circulation half-life of 16 h, similar to that of the PEG-
                in the liver, lung, spleen heart and tumor. As shown previously                   S-DSG containing formulation. SPLP containing PEG-C-DMA
                with PEG-S-DSG [9] or PEG-CerC20 [40] containing SPLP, an                         cleared more rapidly with a half-life of approximately 2 h. These
                excellent differential in luciferase protein levels was observed                  results are very similar to those reported previously for SPLP
                between the tumor and other tissues (Fig. 5). All six formu-                      containing the PEG-DAGs [9] and PEG-Ceramides [7]. The
                lations were similar in this respect, typically resulting in tumor                initial phase of the curve (from 0 to 8 h) was used to calculate half-
                gene expression 2 orders of magnitude greater than that ob-                       life, using a first order, non-compartmental model. This initial
                served in other, non-target tissues.                                              phase was felt to be the most relevant part of the curve, as it
                                                                                                  indicates how quickly the majority of the SPLP dose is cleared. It
                3.6. Intravenous administration of SPLP is well tolerated                         also represents 4 out of the 5 data-points. Log values of the
                                                                                                  concentrations were plotted against time to give straight lines, the
                   The relative toxicity of the new PEG-lipids was clearly of                     slopes of which were used to calculate half-life.
                interest, as they are ultimately intended for in vivo applications.
                The toxicity following SPLP administration was examined by                        3.8. Gene expression patterns from formulations containing
                determining levels of the transaminases ALT and AST in mouse                      PEG-lipids with shorter lipid anchors
                serum following SPLP treatment (Fig. 6). ALT is primarily
                regarded as a hepatocytes protein and increases in ALT are                           We have previously determined that the use of PEG-lipids with
                thought to indicate liver damage. AST is present in most tissues                  a shorter, C14 lipid anchor is necessary to avoid the generation of
                but particularly in cardiac muscle, skeletal muscle and the liver.                an antibody response when delivering encapsulated nucleic acids
                Elevations in AST are regarded as a more general indication of                    [30,31]. The main drawback to this strategy is that the shorter lipid
                systemic tissue damage. None of the formulations resulted in                      anchor leads to faster clearance, meaning less time for the
                large increases in either enzyme, and ALT and AST levels actually
                remained within the normal limits for the PEG-A-DSA and PEG-




                                                                                                  Fig. 6. Toxicity resulting from intravenous administration of SPLP. Serum was
                                                                                                  collected from mice and assayed for the enzymes alanine transferase (ALT) and
                Fig. 5. Biodistribution of luciferase gene expression in Neuro-2a tumor-bearing   aspartate transferase (AST). The upper and lower limits of historical normal
                male A/J mice. Gene expression was assessed 48 h after a single intravenous       values, as quoted by the Canadian Council on Animal Care, are indicated by
                administration of SPLP. Error shown is standard deviation (n = 6).                dotted lines. Error bars represent standard deviation (n = 3).


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                                                                                    Upon storage, even at 4 °C, more than 10% of the PEG-lipid
                                                                                    was degraded within 2 months (Fig. 1). This effectively
                                                                                    disqualifies this PEG-lipid from incorporation into any
                                                                                    formulation to be considered for clinical development. We
                                                                                    hypothesized that this instability was due to the presence of
                                                                                    readily hydrolysable carboxylic ester bonds (of which there are
                                                                                    4 in the structure of PEG-S-DSG) [41,42]. Of the possible
                                                                                    replacements, PEG-Ceramides [21] and PEG-DSPE possess
                                                                                    ester bonds. PEG-DSPE also possesses an electrostatic charge,
                                                                                    at both formulation and physiological pH, as do SAINT-PEGs
                                                                                    [23]. This was also considered to be undesirable, for reasons of
                                                                                    increased blood clearance [43,44], possible complement
                                                                                    activation, and/or possible leakage of encapsulated material
                                                                                    [21].
                                                                                        Another strategy for facilitating the intracellular delivery of
                                                                                    PEG-lipid-containing particles is the use of PEG-lipids
                                                                                    designed to cleave in the endosome. These include the
                                                                                    disulphide-, vinyl ether- and diorthoester-linked PEG-lipids
                                                                                    mentioned previously [24–29]. However, when considering the
                                                                                    PEGylation strategy for nucleic acid containing particles, it is
                                                                                    important to consider recent reports of an acquired immune
                                                                                    response to C18 PEG-lipids with a long residence time on the
                                                                                    particle [30,31]. The environmentally sensitive PEG-lipids
                                                                                    described to date utilize C18 lipid anchors, and therefore may
                                                                                    illicit similar immune responses when used to deliver
                                                                                    immunostimulatory nucleic acids. The use of PEG-lipid linker
                                                                                    chemistries that were designed to cleave in response to
Fig. 7. (A) Plasma clearance of SPLP containing PEG-S-DSG, PEG-C-DSA or
                                                                                    environmental triggers was rejected in favor of using exchange-
PEG-C-DMA. The percentage of injected dose remaining in plasma of mice
following a single intravenous administration is displayed. SPLP were labelled      able PEG-lipids.
with 3H-cholesteryl hexadecyl ether (1 μCi per mg of lipid). Error bars represent       We designed three novel PEG-lipids as potential replace-
standard deviation (n = 4). (B) Biodistribution of gene expression resulting from   ments for PEG-S-DSG, each containing a different linker
administration of SPLP containing C14 or C18 PEG-lipid analogues. SPLP were         connecting the PEG and lipid domains. The first, PEG-S-DSA,
administered by intravenous administration and gene expression measured 48 h
                                                                                    utilized a succinimide linker, a direct (amide) analogue of the
later. Error shown is standard deviation (n = 4).
                                                                                    labile succinate linker in PEG-S-DSG. The yield for coupling of
                                                                                    the PEG and lipid moieties was quite low, with an overall yield
particles to accumulate at the disease site and typically resulting in              of 14%. The second and third PEG-lipids, PEG-A-DSA and
lower gene expression at distal tumor sites. It was of interest to                  PEG-C-DSA, possessed simple amide and carbamate linkers.
evaluate to what degree this phenomenon affected gene ex-                           These required fewer steps to synthesize and yields were much
pression using PEG-C-DMA SPLP. SPLP were prepared using                             higher, 46% and 90%, respectively. All novel PEG-lipids
the C14 (PEG-C-DMA and PEG-succinoyl dimyristylglycerol                             utilized the same type of lipid anchor. Similarly to the linker, the
(PEG-S-DMG)) and C18 (PEG-C-DSA and PEG-S-DSG)                                      carboxylic esters in the lipid anchor were replaced, in this case
analogues of PEG-C-DAAs and PEG-S-DAGs. Gene expression                             with ether bonds. The lipid possesses a primary amine head
was evaluated in the liver, lung, spleen heart and tumor 48 h after a               group to facilitate coupling to PEG. The dialkylglyceryl nature
single intravenous administration of SPLP. Although tumor gene                      of the hydrophobic anchor was retained, to facilitate straight-
expression resulting from PEG-C-DMA SPLP treatment was                              forward adjustment of the diffusible nature of the resulting
significantly lower than that obtained with PEG-C-DSA                               PEG-lipid conjugate. When performing PEG-lipid coupling, an
(P b 0.05), there was no significant difference between the level                   excess of lipid was used in relation to PEG. While this may
of tumor gene expression following treatment with PEG-S-DMG,                        seem counterintuitive (since the lipid anchor requires more
PEG-S-DSG, or PEG-C-DMA SPLP (Fig. 7B). Consistent with                             synthetic steps to prepare than PEG), subsequent work up and
previous results, a marked differential was seen between the gene                   purification of the final compounds was found to be easier
expression in tumor tissue and the other tissues examined, typi-                    with this approach. The C18 analogues of all PEG-lipids
cally of 2 orders of magnitude.                                                     were synthesized initially to allow for direct comparison with
                                                                                    PEG-S-DSG.
4. Discussion                                                                           All of the PEG-lipids, with the exception of PEG-DSPE,
                                                                                    were readily incorporated in SPLP and resulted in acceptable
   While conducting long-term stability tests on SPLP, we                           formulations. PEG-DSPE, being the only PEG-lipid to possess
discovered that the PEG-lipid, PEG-S-DSG, was unstable.                             a negative charge, yielded larger particles (∼160 nm) than the

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                five neutral compounds (∼120 nm). The model for SPLP                      synthesized in good yield with a minimum number of steps,
                formation and nucleic acid encapsulation involves a charge                and gives particles that transfect as well as PEG-S-DSG
                interaction between nascent cationic lipid-containing bilayer             without signs of toxicity. To confirm the diffusible PEG-lipid
                fragments and the negatively charged nucleic acid. PEG-DSPE               paradigm would apply to PEG-C-DSA analogues and to
                may act to partially neutralize the charge on the bilayer                 address the issue of the immune response with more stably
                fragments or actively repel the DNA by charge repulsion,                  incorporated PEG-lipids, the C14 analogue (PEG-C-DMA) of
                as encapsulation efficiency was also reduced when using                   PEG-C-DSA was synthesized. The synthesis and purification
                PEG-DSPE.                                                                 of PEG-C-DMA, like its C18 analogue, were found to be
                   Stability assessment of the individual PEG-lipids incorpo-             straightforward and of high yield (88% compared to 90%).
                rated in SPLP yielded interesting results (Fig. 4). PEG-S-DSG             PEG-C-DMA particles were found to possess the same small
                was shown to degrade steadily in aqueous solution, as was the             size and high encapsulation characteristics as those containing
                PEG-CerC20. PEG-DSPE, however, is stable, despite posses-                 PEG-C-DSA (Table 1). The pharmacokinetics of PEG-C-
                sing two carboxylic ester bonds similar to those thought to               DMA-containing SPLP was confirmed in PK studies utilizing
                                                                                          3
                contribute to PEG-S-DSG instability. This may be explained by               H-labelled SPLP. As with PEG-S-DSG/PEG-S-DMG formu-
                the location of the ester bonds. PEG-S-DSG and PEG-CerC20                 lations, where long (t1 / 2 = 15 h) and short (t1 / 2 = 1 h)
                both contain ester bonds in the succinate linkers, between the            circulating formulations were prepared by switching from the
                PEG and hydrophobic domains of the molecule. These are                    C18 to a C14 lipid anchor [9], the circulation half-life of PEG-
                expected to be located at the surface of the SPLP lipid bilayer,          C-DSA (t1 / 2 = 16 h) and PEG-C-DMA (t1 / 2 = 2 h) supported
                allowing ingress of water molecules necessary for the                     the diffusible PEG-lipid paradigm. Of interest, although the
                hydrolysis of this bond. Conversely, the ester bonds of PEG-              reduced circulation time had an effect on the resulting
                DSPE are located in the hydrophobic domain of the molecule                transfection efficiency (Fig. 7B), the tumor gene expression
                and would be expected to be sequestered deep within the lipid             resulting from the administration of PEG-C-DMA-containing
                bilayer. These bonds would be less accessible to water and                SPLP was as great as that obtained when using PEG-S-DSG
                therefore less susceptible to hydrolysis. Of note, DSPC, which            suggesting that PEG-C-DMA may be a suitable replacement
                also contains ester bonds in the hydrophobic domain, also                 for PEG-S-DSG in nucleic acid delivery systems. Subsequent-
                appears to be relatively stable within the limited context of this        ly, toxicity evaluation by analysis of serum transferase levels
                experiment. The three novel PEG-lipids, containing no ester               was performed, following intravenous administration of PEG-
                bonds, were completely stable, as were the cholesterol and                C-DMA SPLP in A/J mice (data not shown). Similarly to the
                DODMA components.                                                         PEG-C-DSA analogue, AST and ALT levels of 125 and 78 IU/
                   To assess the utility of the PEG-lipids in formulations for            L, respectively, were barely elevated, and well within normal
                systemic delivery, SPLP containing a luciferase reporter                  limits as set out by the Canadian Council on Animal Care
                plasmid were administered to Neuro-2a tumor-bearing mice                  (CCAC).
                via tail vein injection. Since all the PEG-lipids used in this
                experiment were C18 analogues, and the hydrophobic domain                 5. Conclusion
                of the molecule is the dominant factor in determining
                transfection efficiency, it was not unexpected that the six                  Using a simple assay developed to determine lipid
                formulations performed similarly. Each formulation resulted in            degradation, we have demonstrated that two of the better-
                comparable luciferase expression of approximately 700 pg/g                known types of PEG-lipid, PEG-S-DAGs and PEG-Ceramides,
                of tumor. This compares favorably with previously reported                are unstable when incorporated in aqueous liposomal formula-
                SPLP formulations containing pCMVluc plasmids, which                      tions. Accordingly, we have designed and synthesized three
                have yielded 30 [7] and 100 pg/g [9]. The preferential                    replacement PEG-lipids. We have shown that all three of the
                expression of luciferase in the tumor is in part due to passive           novel PEG-lipids are readily synthesized, stable under stressed
                disease site targeting and the EPR effect, but also because non-          conditions and formulate well as SPLP. The resulting particles
                viral delivery systems transfect actively dividing cells more             are non-toxic and capable of transfecting distal tumors with 2
                efficiently [45].                                                         orders of magnitude of specificity over other organs. Our
                   Analysis of serum transaminase levels confirmed comparable,            continuing changes to the lipid components of the SPLP
                low toxicity for all systems. AST and ALT levels were elevated            particle, with no obvious penalty in terms of formulability or
                only slightly in mice treated with 50 mg/kg total lipid, of which         performance, further demonstrate the robustness of the SPLP
                approximately 20 mg/kg was PEG-lipid, when compared to PBS                platform and formulation methodology.
                controls. This was consistent with previous results in which SPLP
                have been shown to be less toxic than lipoplex systems [7]. The           Acknowledgements
                move from readily degradable ester PEG-lipids, to those with
                more stable, and possibly less easily metabolised bonds, had no              The authors wish to thank Jay Petkau for the synthesis of the
                apparent effect on acute toxicity.                                        pCMVluc plasmid and Kevin McClintock for co-ordination of
                   The data favored the adoption of PEG-C-DSA or one of its               the in vivo studies. They also wish to thank Dr. Lloyd Jeffs and
                analogues. PEG-C-DSA is stable in the bilayer at 40 °C for                Dr. Lorne Palmer for helpful discussions and assistance with
                greater than six weeks, it is charge-neutral, formulates well, is         SPLP formulation.

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ACQUIRED DISEASES                                                                                               RESEARCH ARTICLE
Stabilized plasmid-lipid particles for systemic gene
therapy
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RW Graham1 and PR Cullis1,3
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The structure of ‘stabilized plasmid-lipid particles’ (SPLP)          naked plasmid DNA or plasmid DNA–cationic liposome com-
and their properties as systemic gene therapy vectors has             plexes did not result in significant plasmid delivery to the
been investigated. We show that SPLP can be visualized                tumor site or gene expression at that site. Furthermore, it is
employing cryo-electron microscopy to be homogeneous                  shown that high doses of SPLP corresponding to 175 ␮g
particles of diameter 72 ± 5 nm consisting of a lipid bilayer         plasmid per mouse are nontoxic as assayed by monitoring
surrounding a core of plasmid DNA. It is also shown that              serum enzyme levels, whereas i.v. injection of complexes
SPLP exhibit long circulation lifetimes (circulation half-life ⬎6     give rise to significant toxicity at dose levels above 20 ␮g
h) following intravenous (i.v.) injection in a murine tumor           plasmid per mouse. It is concluded that SPLP exhibit proper-
model resulting in accumulation of up to 3% of the total              ties consistent with potential utility as a nontoxic systemic
injected dose and concomitant reporter gene expression at             gene therapy vector. Gene Therapy (2000) 7, 1867–1874.
a distal (hind flank) tumor site. In contrast, i.v. injection of

Keywords: liposomes; cancer gene therapy; intravenous gene therapy; tumour transfection



Introduction                                                          lipid dioleoylphosphatidylethanolamine (DOPE), low
                                                                      levels of cationic lipid and are stabilized in aqueous
Gene therapies for systemic diseases such as cancer or                media by the presence of a poly(ethylene glycol) (PEG)
inflammatory disorders clearly require systemic vectors.              coating. Here, we show that the structure of SPLP can be
However, currently available vectors for gene therapy                 directly visualized employing cryo-electron microscopy
have limited utility for systemic applications. Recombi-              to reveal homogeneous particles consisting of plasmid
nant virus vectors, for example, are rapidly cleared from             DNA entrapped within a bilayer lipid vesicle. Further-
the circulation following intravenous injection, limiting             more, we show that these SPLP exhibit long circulation
potential transfection sites to ‘first pass’ organs such as           lifetimes and no evidence of systemic toxicities following
the liver.1,2 Nonviral systems, such as plasmid DNA–                  i.v. injection in a murine tumor model. Under the experi-
cationic liposome complexes, are also rapidly cleared                 mental conditions employed, approximately 3% of the
from the circulation, and the highest expression levels are           total injected SPLP dose was delivered to a subcutaneous
again observed in first pass organs, particularly the                 tumor site and 1.5 % of the total intact plasmid dose
lungs.3–8                                                             could be detected at the tumor site at 24 h. Significant
  Intravenous administration of chemotherapeutic drugs                levels of reporter gene expression were observed at the
encapsulated in small (diameter ⭐100 nm), long-circulat-              tumor site employing the SPLP system, whereas no
ing (circulation half-life t. ⭓5 h in murine models) lipo-            expression was observed following i.v. injection of
somes results in preferential delivery of encapsulated                ‘naked’ plasmid DNA or plasmid DNA–cationic lipo-
drug to distal tumors due to increased vascular per-                  some complexes.
meability in these regions.9–11 It therefore follows that
intravenous injection of plasmid DNA encapsulated in
small, long circulating lipid particles should give rise to           Results
preferential delivery of plasmid DNA to tumor sites.
Recent work has shown that plasmid DNA can be encap-                  SPLP consist of a plasmid trapped inside a bilayer lipid
sulated in small (approximately 70 nm diameter) ‘stabil-              vesicle
ized plasmid-lipid particles’ (SPLP) that contain one plas-           Previous work has shown that plasmid DNA can be
mid per particle.12 These particles contain the ‘fusogenic’           encapsulated (trapping efficiency approximately 70%) in
                                                                      SPLP by a detergent dialysis procedure employing octyl-
Correspondence: P Tam, Inex Pharmaceuticals Corporation, 100 – 8900
                                                                      glucopyranoside (OGP).12 These SPLP are composed of
Glenlyon Parkway, Burnaby, BC V5J 5J8, Canada                         DOPE, 5–10 mol% of the cationic lipid dioleoyldimethyl-
*These authors contributed equally to this work.                      ammonium chloride (DODAC) and PEG attached to a
Received 31 January 2000; accepted 18 July 2000                       ceramide anchor containing an arachidoyl acyl group


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                                                      SPLP for systemic gene therapy
                                                                          P Tam et al

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         (PEG-CerC20). SPLP can be separated from non-encapsu-                          sist of a lipid bilayer surrounding an internal structure
         lated plasmid by ion exchange chromatography and can                           consistent with entrapped plasmid DNA molecules.
         then be further purified by density gradient centrifug-                        Small (diameter approximately 30 nm), empty vesicles
         ation to remove empty vesicles produced during the                             formed during the detergent dialysis process13 that were
         dialysis procedure. On the basis of the size and plasmid-                      not removed by density centrifugation do not exhibit
         to-lipid ratio of these purified SPLP it was determined                        such internal structure (see arrows in Figure 1a). This
         that each SPLP contained one plasmid molecule.12                               internal structure is also not observed in the LUV pro-
            Here, we further characterize SPLP structure                                duced by extrusion (Figure 1b). It may also be noted that
         employing cryo-electron microscopy. Following the pro-                         SPLP as detected by cryo-electron microscopy have a
         cedures summarized in Materials and methods, purified                          remarkably homogeneous size (diameter 72 ± 5 nm), in
         SPLP were prepared from DOPE:DODAC:PEG-CerC20                                  close agreement with measurements of SPLP diameter
         (83:7:10; mol:mol:mol) and pCMVluc, whereas large unil-                        employing freeze–fracture electron microscopy (diameter
         amellar vesicles (LUV) with the same lipid composition                         64 ± 9 nm).12 The homogeneous size and morphology of
         were prepared by extrusion of the hydrated lipid mixture                       SPLP contrasts with the irregular morphology and large
         through 100 nm pore size filters. As shown in Figure 1a,                       size distribution of the extruded vesicles. The narrow size
         the cryo-electron micrographs clearly reveal SPLP to con-                      distribution of SPLP was also reflected by quasi-elastic
                                                                                        light scattering (QELS) measurements (data not shown)
                                                                                        which indicated a mean diameter of 83 ± 4 nm. Plasmid
                                                                                        DNA–cationic liposome complexes made from DOPE:
                                                                                        DODAC (1:1; mol:mol) LUV exhibited a large, hetero-
                                                                                        geneous size distribution as determined by QELS
                                                                                        (diameter 220 ± 85 nm, data not shown).

                                                                                        SPLP exhibit extended circulation lifetimes, preferential
                                                                                        accumulation at tumor sites, and low systemic toxicities
                                                                                        following intravenous injection
                                                                                        The next set of experiments was aimed at characterizing
                                                                                        the pharmacokinetics and biodistribution of SPLP follow-
                                                                                        ing i.v. injection into tumor-bearing mice. SPLP were pre-
                                                                                        pared with trace amounts of the lipid label, 3H-choles-
                                                                                        teryl hexadecylether (3H-CHE) and were injected at a
                                                                                        dose level equivalent to 100 ␮g plasmid DNA per mouse
                                                                                        into C57Bl/6 mice bearing a subcutaneous Lewis lung
                                                                                        carcinoma (approximately 200 mg) in the hind flank. The
                                                                                        clearance of SPLP from the circulation as assayed by the
                                                                                        lipid label (Figure 2a) corresponds to a first order process
                                                                                        with a t. of 6.4 ± 1.1 h. Relatively low levels of uptake by
                                                                                        the lung and liver are observed (Figure 2b and c) whereas
                                                                                        approximately 3% of the injected SPLP dose accumulates
                                                                                        at the tumor site over 24 h (Figure 2d). Such tumor
                                                                                        accumulation levels are comparable with those achieved
                                                                                        for small, long-circulating liposomes containing conven-
                                                                                        tional drugs such as doxorubicin, where approximately
                                                                                        5% of the injected dose can be found at 24 h in larger
                                                                                        (⬎0.5 g) tumors.14 In contrast to the behavior of the SPLP
                                                                                        system, 3H-CHE-labeled plasmid DNA–cationic lipo-
                                                                                        some complexes were rapidly cleared from the circu-
                                                                                        lation (t. ¿ 15 min), appearing predominantly in the lung
                                                                                        and liver, and less than 0.2% of the injected dose was
                                                                                        found at the tumor site at 24 h. The biodistribution of 3H-
                                                                                        CHE labeled SPLP and complexes 4 and 24 h following
                                                                                        injection are summarized in Table 1. Only trace amounts
                                                                                        were detected in kidney, heart and lymph nodes.
                                                                                           The levels of intact plasmid DNA in the circulation and
                                                                                        tumor tissue following i.v. injection of naked plasmid
         Figure 1 Cryo-electron micrographs of (a) purified SPLP and (b) LUV
                                                                                        DNA, plasmid DNA–cationic lipid complexes and SPLP
         prepared by extrusion. SPLP were prepared from DOPE:DODAC:PEG-                 were analyzed by Southern blot hybridization (Figure 3a,
         CerC20 (83:7:10; mol:mol:mol) and pCMVluc and purified employing               b and c, respectively) and quantified by phosphor-
         DEAE column chromatography and density gradient centrifugation. LUV            imaging analysis (Figure 3d and e). For naked plasmid,
         were prepared from DOPE:DODAC:PEG-CerC20 (83:7:10; mol:mol:mol)                less than 0.01% of the injected dose remained intact in
         by hydration and extrusion through filters with 100 nm diameter pore           the circulation at 15 min, and no intact tumor-associated
         size. The arrows in panel (a) indicate the presence of residual ‘empty’
         vesicles formed during the detergent dialysis process that were not
                                                                                        plasmid could be observed at any time. For plasmid
         removed by the density centrifugation purification step. The bar in panel      administered in complexes, only a small fraction (⬍2%)
         (b) indicates 100 nm. For details of sample preparation and cryo-electron      was still intact in the circulation at 15 min and less than
         microscopy see Materials and methods.                                          0.2% was found to be intact in tumor tissue at 1 h. In

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                                                                             (ALT) or aspartate aminotransferase (AST) were assayed
                                                                             for evidence of toxicity following i.v. administration of
                                                                             SPLP and plasmid DNA–cationic liposome complexes.
                                                                             Elevated ALT and AST levels are usually associated with
                                                                             liver damage, although elevated AST levels can also indi-
                                                                             cate systemic tissue damage. Mice receiving SPLP at dose
                                                                             levels as high as 175 ␮g plasmid DNA per mouse did not
                                                                             have significantly elevated serum levels of ALT and AST
                                                                             (Figure 4a). However, mice receiving doses of plasmid
                                                                             DNA–cationic liposome complexes corresponding to
                                                                             plasmid doses above 20 ␮g per mouse exhibited pro-
                                                                             gressively higher serum levels of ALT and AST, reaching
                                                                             levels 100-fold above normal levels at plasmid doses of
                                                                             75 ␮g (Figure 4b).

                                                                             Intravenously administered SPLP promote gene
                                                                             expression in a distal tumor
                                                                             It is of obvious interest to determine whether SPLP-
                                                                             mediated delivery of intact plasmid to the tumor site
                                                                             results in transgene expression at that site. Luciferase
                                                                             gene expression in tumor tissue was therefore monitored
                                                                             following i.v. injection of SPLP, naked plasmid DNA and
                                                                             plasmid DNA–cationic liposome complexes at dose levels
                                                                             corresponding to 100 ␮g plasmid DNA per mouse. This
Figure 2 Pharmacokinetics, tissue distribution and tumor accumulation        dose level corresponded to the maximum tolerated dose
of SPLP and plasmid DNA–cationic liposome complexes following intra-         of complexes as evidenced by animal morbidity and mor-
venous administration in tumor-bearing mice as reported by the 3H-CHE        tality. As shown in Figure 5, administration of SPLP
lipid marker. The levels of complexes (䊊) and SPLP (䊉) in the circulation,   results in reporter gene expression at the tumor site, with
the lung, the liver and in Lewis lung tumor tissue are shown in panels       maximum levels corresponding to 32 pg luciferase per
(a), (b), (c) and (d), respectively. The accumulations in liver, lung and
tumor were corrected for plasma contributions29 and are expressed as a       gram of tumor tissue at the 48 h time-point and signifi-
percentage of the total injected dose.                                       cant gene expression extending to 96 h after injection.
                                                                             Injection of free plasmid DNA or plasmid DNA–cationic
                                                                             liposome complexes, on the other hand, resulted in no
Table 1 Biodistribution of SPLP and plasmid DNA–cationic lipo-               detectable gene expression at the tumor site. It is of inter-
some complexes in mice 4 and 24 h following i.v. injection                   est to note that i.v. administration of complexes did result
                                                                             in transfection in the lung, liver and spleen, whereas
Tissue                         % Injected dose (s.e.m.)                      administration of SPLP did not result in detectable levels
                                                                             of gene expression in these organs (data not shown). In
                        SPLP                           Complexes             an attempt to understand why SPLP did not give rise to
                                                                             significant gene expression in the liver, the levels of intact
                  4h            24 h              4h            24 h         plasmid in the liver 24 h after injection of SPLP into
                                                                             C57BI/6 mice (100 ␮g plasmid per mouse) bearing a sub-
Plasma         55.0 (1.7)      6.4 (1.0)       1.7 (0.2)      1.4 (0.3)      cutaneous Lewis lung carcinoma were analyzed by
Liver           7.0 (0.6)     23.0 (4.3)      35.2 (2.3)     35.1 (3.5)
Lung            0.0 (0.1)      0.2 (0.1)       1.8 (0.8)      0.5 (0.0)      Southern blot hybridization. No intact plasmid could be
Spleen          0.4 (0.1)      1.6 (0.1)       0.2 (0.2)      0.1 (0.3)      detected in the liver whereas intact plasmid was readily
Tumor           0.2 (0.0)      2.8 (0.5)       0.2 (0.1)      0.3 (0.2)      detected at the tumor site (results not shown). This sug-
                                                                             gests that the ability of SPLP to transfect cells at the
Both SPLP and complexes contained pCMVLuc as well as trace                   tumor site but not in the liver may reflect relatively rapid
levels of the 14C-labeled CHE lipid marker and were administered             breakdown of SPLP and associated plasmid following
at a dose level of 100 ␮g plasmid per mouse. The biodistribution             uptake into liver phagocytes (Kuppfer cells), which play
was measured employing the CHE lipid marker.                                 a dominant role in clearing liposomal systems from the
s.e.m., standard error of the mean.
                                                                             circulation.15 Lower gene expression in the liver may also
                                                                             reflect the finding that nonviral vectors such as SPLP
contrast, following i.v. injection of SPLP, approximately                    transfect dividing cells much more efficiently than non-
85% of the injected plasmid DNA remained in intact form                      dividing cells16 or that Kuppfer cells are less readily
in the circulation at 15 min, and progressively higher lev-                  transfected than tumor cells.
els of intact plasmid accumulated at the tumor site over
the time-course of the experiment. The levels achieved at
24 h correspond to approximately 1.5% of the total
                                                                             Discussion
injected plasmid DNA dose. The circulation half-life of                      This study demonstrates that SPLP consist of plasmid
intact plasmid DNA following injection of SPLP was cal-                      DNA encapsulated in a bilayer vesicle, and that systemic
culated to be 7.2 ± 1.6 h, in good agreement with the                        administration of SPLP results in significant accumu-
circulation half-life of 3H-CHE-labeled SPLP, confirming                     lation and transfection at a distal tumor site. There are
the highly stable nature of SPLP in the circulation.                         three important features of these results. The first con-
   Serum enzyme levels of alanine aminotransferase                           cerns the structure of SPLP, which represents a major

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         Figure 3 Pharmacokinetics and tumor accumulation of plasmid DNA following intravenous administration of naked plasmid, plasmid DNA–cationic
         liposome complexes and SPLP as reported by a Southern blot analysis. The Southern blot hybridizations shown in panels (a), (b) and (c) result from
         plasmid DNA isolated from blood and tumor tissue of mice injected with naked plasmid DNA, plasmid DNA–cationic lipid complexes and SPLP,
         respectively. Each panel shows pCMVluc (2 ng) to indicate the position of intact plasmid DNA. The levels of intact plasmid resulting from i.v. injection
         of naked plasmid DNA (쏔), plasmid DNA–cationic liposome complexes (䊊) and SPLP (䊉) were quantified for plasma (panel d) and tumor tissue (panel
         e) by phospor-imaging analysis and converted to mass quantities of plasmid DNA by comparison to a standard curve made from known amounts of
         plasmid DNA. Tumor accumulations of plasmid were corrected for plasma contributions and expressed as a percentage of the total injected plasmid
         DNA dose.29




         advance for plasmid encapsulation in liposomal delivery                       bilities for further optimization of the SPLP system are
         systems. Second, it is of interest to compare the proper-                     of interest. We discuss these areas in turn.
         ties of the SPLP system for systemic gene delivery and                           The cryo-electron microscopy results presented here
         distal tumor transfection with the properties of other                        establish the structure of SPLP as a plasmid surrounded
         viral or nonviral gene delivery systems. Finally, the possi-                  by a lipid bilayer envelope. This represents the first direct

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                                                                          Figure 5 Transgene expression at a distal tumor site following intra-
                                                                          venous injection of naked plasmid DNA (쏔), plasmid DNA–cationic lipid
                                                                          complexes (䊊) and SPLP (䊉). Mice bearing subcutaneous Lewis lung
                                                                          tumors were injected i.v. with doses containing 100 ␮g of pCMVluc.
                                                                          Tumors were harvested at the indicated times and assayed for luciferase
                                                                          activity. The level of transgene expression reported is normalized for the
                                                                          weight of the tumor tissue.


                                                                          enable transgene expression corresponding to 30 pg
                                                                          luciferase per gram tumor at that site with no evidence
                                                                          of toxicity (as indicated by serum enzyme levels). Deliv-
                                                                          ery of approximately 3% of the injected dose of SPLP at
                                                                          a 200 mg tumor site corresponds to more than 1000 plas-
                                                                          mid copies per tumor cell, assuming a cell density of 1 ×
                                                                          109 per milliliter. It is of interest to compare these proper-
                                                                          ties with the behavior of other gene delivery systems. In
                                                                          the case of viral vectors, there have been three reports of
                                                                          transgene expression in liver metastases and in a distal
                                                                          tumor following systemic administration of a recombi-
                                                                          nant vaccinia virus18,19 and a selectively replicating
                                                                          adenovirus.20 These viral vectors are replication incom-
                                                                          petent in normal nondividing cells but can selectively
Figure 4 Toxicity resulting from i.v. injection into mice of varying      replicate in tumor cells resulting in transgene expression
amounts of SPLP (panel a) and plasmid DNA–cationic lipid complexes
(panel b) as assayed by determining serum levels of the hepatic enzymes   in tumors and antitumoral efficacy. The major drawback
alanine aminotransferase (ALT) and aspartate aminotransferase (ASP).      of these viral vectors is the immune response, which
The serum levels of AST (쏔) and ALT (쐽) were measured 24 h after          occurs within 6 days. In the case of nonviral vectors such
injection.                                                                as plasmid DNA–cationic polymer ‘polyplexes’, there is
                                                                          only one report showing transfection of distal tumors fol-
                                                                          lowing i.v. injection.21 This work utilized a PEG-contain-
demonstration that plasmid can be entrapped in small                      ing polyplex that exhibits plasmid circulation half-lives
(diameter approximately 70 nm), well defined vesicular                    of less than 0.5 h following intravenous injection and
systems containing a single plasmid per vesicle. Entrap-                  gave rise to transfection at a distal tumor site, achieving
ment of a plasmid such as pCMVluc, which contains 5650                    transfection levels corresponding to approximately 250
bp, in a supercoiled configuration in a 70 nm diameter                    pg/g tumor, approximately eight-fold higher than the
vesicle represents a solution for a difficult packing prob-               levels reported here.
lem. For example, electron micrographs of supercoiled                        With regard to plasmid DNA–cationic liposome
4.4 kbp plasmids reveals extended lengths of approxi-                     complexes (‘lipoplexes’), a number of studies have
mately 500 nm and average (two dimensional) diameters                     characterized transfection properties following i.v.
in the range of 350 nm, suggesting an average diameter                    administration,3–7 however, only two studies by Xu and
for free supercoiled pCMVluc of approximately 400 nm.17                   co-workers have demonstrated transfection at a distal
The detergent dialysis process clearly involves a partial                 tumor site.22,23 In the initial study,22 less than 5% of the
condensation of entrapped plasmid to allow encapsul-                      cells at the tumor site were transfected as indicated by
ation in a 70 nm diameter vesicle. The mechanism of                       immunohistochemical staining, whereas in the second
entrapment is not understood in detail, but appears to                    study using transferrin targeted complexes 20–30% of the
proceed via association of plasmid with lipid structures                  cells were transfected. The levels of gene expression
formed as intermediates in the detergent dialysis                         could not be related to the levels observed here. Issues
process.12                                                                related to circulation lifetimes, plasmid tumor accumu-
   SPLP exhibit extended circulation lifetimes (t. approxi-               lation and toxicity were not addressed. An additional
mately 7 h) following i.v. injection, can deliver significant             study24 has demonstrated the presence of complexes at a
amounts of intact plasmid to a distal tumor site and                      distal tumor site following i.v. injection but the levels of

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         gene transfer were not measured. In general, i.v. injection           The cationic lipid N,N-dioleyl-N,N-dimethylammonium
         of complexes gives rise to high levels of transgene                   chloride (DODAC) and 1-O-[2⬘-(␻-methoxypolyethylene-
         expression in the lungs, with lower levels of expression in           glycol)succinoyl]-2-N-arachidoylsphingosine (PEG-CerC20)
         the spleen, liver, heart and kidneys. Similar results were            were prepared at Inex Pharmaceuticals (Burnaby, BC,
         observed for the complexes employed in this investi-                  Canada) using previously described methods.27 3H-lab-
         gation. The lung expression appears to arise from depo-               eled cholesteryl hexadecyl ether (CHE) was purchased
         sition in lung microvasculature and reflects the rapid                from Dupont NEN Products (Boston, MA, USA). The
         clearance of plasmid DNA–cationic lipid complexes from                pCMVluc plasmid encodes the Photinus pyralis luciferase
         the circulation due to their large size (⬎200 nm diameter)            gene under the control of the human CMV immediate–
         and high cationic lipid content.8 This is consistent with             early promoter. Plasmid DNA was propagated in E. coli
         the observation that murine B16 tumors seeded in the                  (DH5␣) and purified using the alkaline lysis method fol-
         pulmonary vascular compartment can be transfected by                  lowed by two rounds of CsCl/ethidium bromide density
         i.v. administered complexes.3 Finally, as clearly shown in            equilibrium centrifugation.
         this study, administration of complexes is often associa-
         ted with significant toxicity.
            The final point of discussion concerns the utility of              SPLP and plasmid DNA–cationic liposome complex
         SPLP as a systemic gene therapy vector and the potential              preparation
         for further optimization. As indicated above, despite the             Plasmid DNA was encapsulated in SPLP composed of
         delivery of large amounts of intact plasmid to the tumor              DOPE/DODAC/PEG-CerC20 (83:7:10; mol:mol:mol) by
         site, the levels of gene expression observed for the SPLP             the detergent dialysis method.12 Lipids were dissolved in
         system are modest, albeit comparable with or superior                 ethanol and dried to a lipid film in a round-bottom flask.
         than can be achieved with other vectors. It is likely that            The lipid mixture was resuspended in HBS (5 mm Hepes,
         the low levels of transfection reflect low levels of uptake           150 mm NaCl, pH 7.5) containing 200 mm OGP and 0.4
         of SPLP into cells at the tumor site due to inhibition of             mg/ml pCMVluc. The final lipid concentration was 10
         cell association and uptake by the PEG coating.25 In vitro            mg/ml. When required, 3H-CHE was added to a specific
         studies have shown that SPLP containing PEG-CerC20 are                activity of 1.0 ␮Ci/mg total lipid. The mixture of lipid,
         accumulated into cells to a very limited extent, however,             plasmid and OGP was dialyzed against 4 l of HBS for 2
         the SPLP that are taken up are highly transfection                    days with three changes. Untrapped plasmid was
         potent.26 The challenge that faces the next stage of SPLP             removed by DEAE-Sepharose CL-6B chromatography,
         development is, therefore, to devise methods of enhanc-               and plasmid DNA-containing SPLP were purified by
         ing intracellular delivery of SPLP following arrival at the           sucrose gradient centrifugation (2.5%/5%/10%) in a
         tumor site. There are a number of avenues to explore.                 Beckman SW 28 rotor (16 h at 107 000 g) (Beckman, Fuller-
         First, the dissociation rate of the PEG coating from the              ton, CA, USA). DNA-containing particles banding at the
         SPLP can be modulated by varying the acyl chain length                5%/10% sucrose interface were collected and concen-
         of the ceramide anchor,12 suggesting the possibility of               trated by ultrafiltration before the DNA concentration
         developing PEG-Cer molecules that remain associated                   was adjusted to 500 ␮g/ml. The final lipid composition
         with the SPLP long enough to promote passive targeting                was determined by HPLC analysis. DNA was quantified
         to the tumor, but which dissociate quickly enough to                  by picogreen (Molecular Probes, Eugene, OR, USA) flu-
         allow transfection after arriving at the tumor site. Alter-           orescence of TX-100-solubilized SPLP preparations. Plas-
         natively, improvements may be expected from inclusion                 mid DNA–cationic liposome complexes were prepared
         of cell-specific targeting ligands in SPLP to promote cell            by adding pCMVluc to large unilamellar vesicles (LUV)
         association and uptake. Finally, the nontoxic properties              composed of DOPE:DODAC (1:1; mol:mol) to a final
         of SPLP allow the possibility of higher doses. A dose of              charge ratio (+/−) of 3.0 in 5% glucose. The LUV were
         100 ␮g plasmid DNA per mouse corresponds to a dose                    prepared by extrusion through 100 nm pore size filters
         of approximately 5 mg plasmid DNA per kilogram body                   according to standard procedures.28
         weight. This is a relatively low dose level in comparison
         to small molecules used for cancer therapy, which typi-
         cally are used at dose levels of 10 to 50 mg per kg                   Cryo-electron microscopy
         body weight.                                                          A drop of buffer containing SPLP was applied to a stan-
            In summary, we have shown that SPLP consist of plas-               dard electron microscopy grid with a perforated carbon
         mid encapsulated in a lipid vesicle. Furthermore, we                  film. Excess liquid was removed by blotting leaving a
         have demonstrated that, in contrast to naked plasmid or               thin layer of water covering the holes of the carbon film.
         complexes, SPLP exhibit extended circulation lifetimes                The grid was rapidly frozen in liquid ethane, resulting in
         following intravenous injection, resulting in plasmid                 vesicles embedded in a thin film of amorphous ice.
         accumulation and transgene expression at a distal tumor               Images of the vesicles in ice were obtained under cryo-
         site in a murine model. The levels of transgene expression            genic conditions at a magnification of 66 000 and a defo-
         achieved are modest, but are comparable or superior to                cus of −1.5 micron using a Gatan cryo-holder in a Philips
         distal tumor expression levels achieved employing other               CM200 FEG electron microscope (Eindhoven, The
         vectors. Further improvements can be expected due to                  Netherlands).
         the low toxicity and flexible nature of the SPLP system.
                                                                               Quasi-elastic light scattering
         Materials and methods                                                 The mean diameter of SPLP was measured by quasi-elas-
         Lipids and plasmid                                                    tic light scattering (QELS) using a Nicomp Model 370
         1,2-Dioleoyl-3-phosphatidylethanolamine (DOPE) was                    Sub-Micron particle sizer (Santa Barbara, CA, USA)
         obtained from Northern Lipids (Vancouver, BC, Canada).                operated in the particle mode.


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Clearance, biodistribution and tumor accumulation of           Plasmid DNA was prepared by C Giesbrecht and J
SPLP                                                           Thompson.
Lewis lung carcinoma cells (300 000; ATCC CRL-1642)
were implanted subcutaneously in the hind flank of 6-
week-old female C57BL/6 mice (Harlan, Indianapolis,            References
IN, USA) and the tumor allowed to grow to approxi-              1 Huard J et al. The route of administration is a major determinant
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the appropriate time-points into blood collection tubes by        vivo administration. Hum Gene Ther 1997; 8: 37–44.
cardiac puncture. Tumors and organs were quickly                3 Zhu N, Liggitt D, Liu Y, Debs R. Systemic gene expression after
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mm EDTA, 0.5% SDS, pH 8.0). After incubation at 37°C              tration of cationic lipid-protamine-DNA (LPD) complexes. Gene
for 3 h, the samples were purified by phenol/chloroform           Therapy 1997; 4: 891–900.
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were homogenized in PBS containing 100 mm EDTA pH                 some-mediated intravenous gene delivery. Nat Biotechnol 1997;
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ase gene. Hybridization intensity was quantified using a       11 Chonn A, Cullis PR. Recent advances in liposomal drug-
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nyvale, CA, USA) and converted to mass of DNA using            12 Wheeler JJ et al. Stabilized plasmid-lipid particles: construction
a standard curve constructed with known amounts of                and characterization. Gene Therapy 1999; 6: 271–281.
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comparison with a standard curve generated by assaying            motion of supercoiled plasmids in solution. Macromolecules 1985;
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enzyme (Boehringer-Mannheim, Laval, PQ, Canada)                18 Gnant MFX et al. Sensitization of tumor necrosis factor ␣-resist-
                                                                  ant human melanoma by tumor-specific in vivo transfer of the
diluted into untreated tumor extract.                             gene encoding endothelial monocyte-activating polypeptide II
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plasmid DNA–cationic lipid complexes or HBS was reco-             nant vaccinia virus in a rabbit model of liver metastases. J Natl
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able kits (Sigma, St Louis, MO, USA).                             tively replicating adenovirus, induces antitumoral efficacy. Can-
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                         Synthesis and characterization of novel poly(ethylene glycol)-lipid
                                    conjugates suitable for use in drug delivery
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                Abstract

                    Liposomal formulations have been used to encapsulate and deliver a wide variety of therapeutic and diagnostic agents. Their circulation can be
                prolonged by the addition of neutral, hydrophilic polymers such as poly(ethylene glycol) (PEG) to the outer surface. An extended circulation
                lifetime allows them to take advantage of the enhanced permeability and retention effect (EPR), resulting in increased delivery to target sites.
                Incorporation of PEG also prevents aggregation and aids in the formation of uniform, small mono-disperse particles. This is often accomplished
                with the use of PEG-lipid conjugates, PEG molecules with a hydrophobic domain to anchor them into the liposomal bilayer upon formulation.
                    Here we present data showing that some commonly used PEG-lipids are chemically unstable due to the presence of carboxylic ester bonds.
                This instability limits their utility in aqueous environments common to many liposomal preparations. To address this problem, we designed and
                synthesized three alternative PEG-lipids. Using SPLP (PEG-stabilized liposomal vesicles encapsulating plasmid DNA) as a model system, we
                investigated the properties of the novel PEG-lipids. An accelerated stability study was conducted at 37 °C for 42 days to confirm chemical stability
                and an in vivo model was used to assess the pharmacokinetics, toxicity and activity of the SPLP. We show that the novel PEG-lipids are more
                stable in liposomal formulation, less toxic upon systemic administration, and accordingly, are suitable replacements for the PEG-lipids described
                previously.
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                Keywords: Liposome; SPLP; SNALP; PEG; Stability




                1. Introduction                                                                 plexes formed between cationic lipids and negatively charged
                                                                                                nucleic acids [12]. However, unshielded cationic lipoplexes
                   Through liposomal encapsulation, it is possible to obtain                    themselves possess poor physico-chemical characteristics for
                particles with the small size, low surface charge and increased                 systemic delivery. Their positive surface charge leads to non-
                serum stability necessary to increase circulation lifetime and                  specific interaction with anionic species in the blood, resulting
                take advantage of the “enhanced permeation and retention”                       in rapid clearance by the reticulo-endothelial system (RES)
                (EPR) effect [1–3]. This effect occurs where fenestrated                        [13–15].
                vasculature permits the extravasation and increased accumula-                      This problem can be overcome through the use of
                tion of encapsulated material at target sites such as tumors, sites             hydrophilic polymers attached to the particle's surface. Most
                of infection or inflammation [4–6].                                             commonly PEG has been used [16,17], although other polymers
                   Nucleic acid based drugs acquire other benefits from lipo-                   have been described [18,19]. However, it has been shown that
                somal encapsulation [7–11]. When administered systemically                      the presence of PEG can affect the intracellular delivery and
                in unprotected form, nucleic acids suffer from poor pharma-                     trafficking of non-viral vectors, resulting in lower gene
                cokinetics due to rapid degradation by intravascular nucleases.                 expression [20]. To this end, many groups have devised stra-
                Early liposomal strategies utilized lipoplex, electrostatic com-                tegies to ensure that the presence of PEG is transient. One
                                                                                                strategy involves the use of exchangeable PEG-lipids that rely
                 ⁎ Corresponding author. Tel.: +1 604 630 5064.                                 on slow diffusion from the particle surface at a rate determined
                   E-mail address: ian@protivabio.com (I. MacLachlan).                          by the size of their lipid anchors [9,21]. Examples include PEG-
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phosphatidyl ethanolamines (PEG-PE) [22], PEG-Ceramides                   the control of the cytomegalovirus promoter, was manufactured
(PER-Cer) [21], SAINT-PEGs [23] and PEG-succinoyl diacyl-                 as described previously [36]. 1H nuclear magnetic resonance
glycerols (PEG-S-DAGs) [9]. Another strategy uses PEG-                    (NMR) spectrometry was performed by Spectral Data Services,
disulphide lipids that possess a disulphide bond between the              Inc. (IL, USA). Elemental analysis (CHN) was performed by
polymer and the lipid anchor that is cleaved by thiolytic agents          Canadian Microanalytical Service Ltd. (BC, Canada).
in the reductive environment of the endosome [24,25]. Simi-
larly, vinyl ether PEG-lipids [26] and orthoester PEG-lipids              2.2. SPLP preparation
[27–29] have been developed using chemical linkages that are
sensitive to the reduced pH of the endosomal compartment.                     SPLP at a total lipid concentration of approximately 10 mg/
    Recently published data shows that when administering                 mL were prepared using the method of spontaneous vesicle
repeated doses of liposomally encapsulated, immunostimula-                formation by ethanol dilution, as described previously [37]. The
tory nucleic acids, a strong, long-lived antibody response can be         lipid composition was DSPC : cholesterol : PEG-lipid : DODMA
generated against PEG, a result of the powerful adjuvant effect           (20:55:10:15 molar ratio). Nucleic acid encapsulation was deter-
of the nucleic acid payload [30,31]. While this effect has in the         mined using a PicoGreen assay, and encapsulation efficiency
past been attributed to the immunostimulatory CpG motifs of               calculated by comparing fluorescence in the presence and
bacterial pDNA [32], CpG free phosphorothioate ODN [33] and               absence of Triton X-100 [37]. Picogreen fluorescence was
siRNA [34] have also been shown to be immunostimulatory.                  measured using a Varian Eclipse Spectrofluorometer (Varian Inc.,
This impacts the potential for repeat administration of                   CA, USA). Particle size was determined using a Malvern
PEGylated nucleic acid delivery systems, causing a loss of                Instruments Zetasizer 3000HSA (Malvern, UK). SPLP (40 μL)
disease site targeting, accelerated blood clearance and acute             were diluted with 4 mL of phosphate buffered saline (PBS
hypersensitivity upon subsequent administration. It has been              (150 mM NaCl, 10 mM Phosphate, pH 7.4 buffer)). Intensity-
shown that the use of PEG-lipids with a smaller C14 lipid                 weighted, Gaussian distribution analysis was used to determine
anchor, thereby increasing the rate of dissociation of the PEG            mean vesicle diameters and population standard deviations.
from the particle, abrogates this deleterious effect [30,31]. In
this regard, there may be advantages to a strategy using
exchangeable PEG layers, rather than those that are perma-
nently bound or not cleaved until entry to the endosome.
    Our characterization of the immune response to PEG-lipids
[31] coincided with our observation that PEG-succinoyl
distearylglycerol (PEG-S-DSG)-containing SPLP in a con-
trolled, long-term stability study exhibited a steadily decreasing
concentration of PEG-lipid over time (Fig. 1), ultimately
leading to particle destabilization and aggregation. This led us
to believe that PEG-S-DSG was chemically unstable, an unde-
sirable attribute for a component of a potential pharmaceutical
product. An examination of commercially available alternatives
and the literature yielded no acceptable substitutes for PEG-S-
DSG. Therefore, we set out to design, synthesize and cha-
racterize novel replacements with the aim of preparing SPLP
that are at least as efficacious as those containing the original
PEG-S-DSG.

2. Materials and methods

2.1. Materials and analyses

   1,2-Distearoyl-sn-glycero-3-phosphocholine (DSPC) and
cholesterol were purchased from Avanti Polar Lipids (Alabaster,
AL). 1,2-dioleyloxy-N,N-dimethyl-3-aminopropane (DODMA)
[35], PEG-S-DAGs [9] and PEG-CerC20 [21] were prepared as
previously described. 3H-labelled CHE was obtained from
Perkin-Elmer (Boston, MA, USA). The Picogreen Quantitation                Fig. 1. (A) Accelerated stability study of SPLP lipids at 40 °C. Lipid
Assay and Kit was obtained from Molecular Probes (Eugene,                 concentrations were determined by HPLC analysis using an evaporative light
OR, USA). GPR grade solvents were purchased from VWR                      scattering detector. PEG-S-DSG, possessing four carboxylic ester bonds,
                                                                          exhibited a pronounced tendency to degrade. DSPC was also unstable at
Scientific (Edmonton, AB, Canada). All other chemicals were               40 °C. (B) Stability study of PEG-S-DSG in SPLP at 40, 25 and 5 °C. Data-
purchased from Sigma-Aldrich (Oakville, ON, Canada). The                  points are the mean of 2 analyses. Error shown is the percent relative standard
pCMVluc plasmid, encoding the luciferase reporter gene under              deviation of six analyses of a standard containing all four lipids.


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                Polydispersity was reported using ‘Contin’ mode of the instru-            (AST) by the Central Laboratory for Veterinarians (Langley, BC,
                ments PCS software.                                                       Canada). For this experiment, n = 3.

                2.3. SPLP stability studies and HPLC analysis                             2.6. Pharmacokinetic studies

                    SPLP formulations were incubated at relevant temperatures                SPLP containing tritiated cholesteryl hexadecyl ether (3H-
                (5, 25, 37 or 40 °C) for the duration of the study in question (up        CHE) (1.0 μCi/mg of total lipid) in the lipid solution were
                to 12 months for the long-term study, 42 days for the accelerated         prepared as in Section 2.2. Injections containing 50 μg DNA in
                study). Samples (100 μL) were withdrawn using a Gilson                    a 100 μL volume were administered to 5-week-old male A/J
                pipette and prepared for HPLC analysis by diluting 1:19 in                mice (Harlan, IN, USA) by lateral tail vein injection. At
                ethanol. This dissolved the SPLP lipid bilayer and resulted in            appropriate time points, 3 H-CHE in whole blood was
                precipitation of the nucleic acids and buffer salts. Precipitates         determined by liquid scintillation counting, using Picofluor 15
                were removed by filtering through a 13 mm Acrodisc 0.45 μm                and a Beckman LS6500 (Beckman Instruments, CA, USA). For
                syringe filter (Pall Corp., Ann Arbor, MI). A Waters Alliance             this experiment, n = 4.
                2695 HPLC (Waters Ltd., ON, Canada) with an ACE C8,
                4.6 × 250 mm, 5 μm column (Canadian Life Science, ON,                     2.7. Synthesis of lipid anchors
                Canada), was used for analysis with sample injection volumes
                of 20 μL. Sample and column temperatures were 20 and 40 °C,                  The synthesis of the C18 lipid anchor is described below. The
                respectively. The mobile phase gradient varied linearly from              C14 anchor was made in an analogous fashion, substituting an
                80:20 A:B to 83:17 A:C (where A = methanol, B = 10 mM                     equimolar amount of 1-bromotetradecane for the 1-bromoocta-
                ammonium bicarbonate, pH 8.0, C = tetrahydrofuran (THF))                  decane in the reaction to make the analogous compound 1.
                over a time period of 18 min. The mobile phase flow rate was
                1.1 mL per min. A 6-min hold at the final conditions was                  2.7.1. Preparation of 1,2-distearyloxy-3-allyloxypropane (1)
                followed by a 21-min re-equilibration period for the column                   Benzene (250 mL) was added to 95% sodium hydride
                (equating to a total run time of 45 min). An Alltech Evaporative          (11.4 g, 450.0 mmol), and the flask was sealed and flushed with
                Light Scattering Detector 2000 (Alltech Associates Inc., IL,              nitrogen. A solution of 3-allyloxy-1,2-propanediol (6.6 g,
                USA) was used for detection, with the drift tube temperature set          50.0 mmol) in benzene (75 mL) was added to the flask. 96%
                at 70 °C and gas flow rate set at 1.8 L per min. A standard curve         1-bromooctadecane (41.7 g, 120.0 mmol) was added and the
                was generated for each lipid. System suitability was determined           reaction left to reflux overnight under nitrogen. The mixture
                prior to each run by analysis of a standard sample containing all         was cooled to room temperature and excess sodium hydride
                four lipids. When the relative standard deviation (RSD) of six            slowly quenched with ethanol. The solution was transferred to a
                repeat analyses was less than 2.0% for each lipid, the run was            separatory funnel with benzene (250 mL) and washed with
                considered acceptable. For the long-term stability study, n = 2.          distilled water (2 × 200 mL) and brine (1 × 200 mL). The organic
                For the accelerated study, n = 3.                                         fractions were combined, dried over magnesium sulfate and
                                                                                          concentrated. The crude product was purified by flash column
                2.4. In vivo transfection studies                                         chromatography (1–5% ether in hexane) to yield compound 1
                                                                                          as a colourless wax (21.0 g, 66%, Rf = 0.35 (5% ether in
                   Neuro-2a neuroblastoma cells were cultured in Minimum                  hexane)). 1H NMR (400 MHz), δH: 5.90 (m, 1H, CH2 = CH),
                Essential Medium (MEM; Invitrogen, ON, Canada), supplemen-                5.21 (m, 2H, CH2 = CH), 4.01 (m, 2H, CH2 = CHCH2), 3.61–
                ted with 10% fetal bovine serum (FBS; Invitrogen, ON, Canada)             3.40 (m, 9H, CH2CH(OCH2)CH2OCH2), 1.61–1.51 (m, 4H,
                at 37 °C with 5% CO2. 5-week-old male A/J mice (Harlan, IN,               OCH2CH2), 1.38–1.20 (m, 60H, CH2(stearyl)), 0.88 (t, 6H, CH3,
                USA) were inoculated subcutaneously in the hind flank with                J = 6.8 Hz).CHN found; C 79.06, H 13.15 (C42H84O3 = C 79.18;
                1.5 × 106 Neuro-2a cells 13 days prior to SPLP treatment. SPLP            H 13.29; O 7.53).
                containing 50 μg DNA in a 100 μL injection volume or 100 μL
                PBS were administered by lateral tail vein injection. Mice were           2.7.2. Preparation of 1,2-distearyloxypropan-3-ol (2)
                sacrificed 48 h after treatment. Tumor, liver, lungs, spleen and              Compound 1 (21.0 g, 33 mmol) was dissolved in ethanol
                heart tissues were subject to analysis for luciferase gene                (250 mL) and trifluoroacetic acid (20 mL) and tetrakis
                expression as described previously [9]. For the experiment in             (triphenylphosphine) palladium(0) (5.0 g, 4.3 mmol) added.
                Fig. 5, n = 6. For the experiment in Fig. 7B, n = 4.                      The reaction mixture was refluxed under nitrogen overnight. The
                                                                                          solvent was removed by rotary evaporator and the crude product
                2.5. Toxicity studies                                                     purified by flash column chromatography (100% dichloro-
                                                                                          methane (DCM)), to yield compound 2 as a colourless wax
                   5-week-old male A/J mice (Harlan, IN, USA) were treated                (18.7 g, 95%, Rf = 0.4 (chloroform)). 1H NMR (400 MHz), δH:
                with SPLP containing 50 μg DNA in a 100 μL injection volume               3.75–3.67 (m, 1H, OCH), 3.67–3.47 (m, 8H, OCH2), 2.26 (s,
                or 100 μL PBS, administered by lateral tail vein injection.               1H, OH), 1.62–1.50 (m, 4H, OCH2CH2), 1.38–1.20 (m, 60H,
                Animals were sacrificed 48 h after treatment. Serum was assayed           CH2(stearyl)), 0.88 (t, 6H, CH3, J = 6.8 Hz). CHN found; C 79.06,
                for alanine aminotransferase (ALT) and aspartate amiotransferase          H 13.25 (C39H80O3 = C, 78.46; H, 13.51; O, 8.04).

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2.7.3. Preparation of N-(2,3-distearyloxypropyl)phthalimide                CH2CO2H), 3.7–3.6 (m, ∼180H, OCH2(PEG)), 3.38 (s, 3H,
(3)                                                                        CH3O).
   97% methanesulphonic anhydride (11.3 g, 62.8 mmol) was
dissolved in DCM (anhydrous, 100 mL) and pyridine (anhydrous,              2.8.2. Preparation of N-(1,2-distearyloxypropyl) methoxy poly
5.0 g, 62.8 mmol) slowly added. A solution of compound 2                   (ethylene glycol)2000 acetamide (PEG-A-DSA) (6)
(18.7 g, 31.4 mmol) in DCM (anhydrous, 100 mL) was added and                  Compound 5 (6.8 g, 3.4 mmol) was dissolved in benzene
the reaction stirred overnight at room temperature. The reaction           (80 mL) and oxalyl chloride (3.4 mL, 20 mmol) slowly added.
mixture was washed with distilled water (2 × 200 mL) and brine             The solution was stirred for 2 h prior to solvent removal by rotary
(1 × 200 mL), dried over magnesium sulphate, and concentrated to           evaporator. Compound 4 (2.15 g, 3.6 mmol), DCM (anhydrous,
yield the mesylate as a colourless wax (Rf = 0.8 (chloroform)). The        80 mL) and triethylamine (TEA) (3 mL, 20 mmol) were added
mesylate and potassium phthalimide (15.7 g, 85.0 mmol) were                and the reaction was stirred for 48 h. The solution was acidified
added to N,N-dimethylformamide (DMF) (anhydrous, 500 mL)                   via the addition of a 1% solution of hydrochloric acid (HCl)
and the mixture stirred at 70 °C overnight under nitrogen. DMF             (250 mL) with agitation. The organic layer was collected, dried
was removed by rotary evaporator attached to a high vacuum                 over magnesium sulphate and concentrated to yield a pale yellow
pump and the residue triturated in chloroform (300 mL). The                solid. The crude product was purified by flash column
suspension was filtered and the filtrate washed (distilled water           chromatography (0–7% MeOH in CHCl3), then lyophilized to
(2 × 200 mL) and brine (1 × 200 mL), dried (magnesium sulphate)            yield PEG-A-DSA as a colourless solid (3.4 g, 38%, Rf = 0.5
and concentrated. The crude product was purified by flash column           (10% MeOH in CHCl3)). 1H NMR (400 MHz), δH: 7.10–7.04
chromatography (100% DCM) to yield compound 3 as a                         (m, 1H, NH), 4.00 (s, 2H, CH2C(O)NH), 3.7–3.6 (m, ∼180H,
colourless wax (19.5 g, 86%, Rf = 0.65 (DCM)). 1H NMR                      OCH2(PEG)), 3.60–3.39 (m, 9H, NCH2CH(OCH2)CH2OCH2),
(400 MHz), δH: 7.85 (dd, 2H, CH(arom 3, 6), Jortho = 5.5 Hz,               3.38 (s,3H, CH3O), 1.60–1.50 (m, 4H, OCH2CH2(stearyl)), 1.38–
Jmeta = 3.0 Hz), 7.71 (dd, 2H, CH(arom 4, 5)), 3.90–3.70 (m, 3H,           1.20 (m, 60H, CH2(stearyl)), 0.88 (t, 6H, CH2CH3, J = 6.8 Hz).
NCH2CH), 3.63–3.38 (m, 6H, OCH2), 1.54–1.37 (m, 4H,
OCH2CH2), 1.38–1.06 (m, 60H, CH2(stearyl)), 0.88 (t, 6H, CH3,              2.8.3. Preparation of methoxy poly(ethylene glycol)2000 mesy-
J = 6.9 Hz). CHN found; C 77.76, H 11.69, N 1.86                           late (ME-PEG2000-OMs) (7)
(C47H83NO4 = C 77.74, H 11.52, N 1.93, O 8.81).                               Pyridine (3.8 mL, 47.0 mmol) was added slowly to a solution
                                                                           of 97% methanesulphonic anhydride (8.2 g, 47.1 mmol) in
2.7.4. Preparation of 1,2-distearyloxypropyl-3-amine (4)                   DCM (anhydrous, 80 mL). A solution of Me-PEG2000-OH
   Phthalimide deprotection was performed as described previ-              (31.5 g, 15.5 mmol) in DCM (anhydrous, 120 mL) was added
ously [38]. Briefly, compound 3 (19.5 g, 26.9 mmol) was                    and the reaction stirred overnight. The reaction mixture was
dissolved in ethanol (500 mL), hydrazine monohydrate (40 mL,               washed with distilled water (2 × 200 mL) and brine
825 mmol) added and the reaction refluxed overnight. A pale                (1 × 200 mL), dried over magnesium sulphate, and concentrated.
yellow precipitate developed so the suspension was filtered and            Purification by flash column chromatography (0–10% MeOH–
the filtrate evaporated under reduced pressure. The crude product          CHCl3) yielded compound 7 as a colourless solid (30.1 g,
was purified by flash column chromatography (0–5% MeOH–                    92.8%, Rf = 0.4 (5% MeOH in CHCl3)). 1H NMR (400 MHz),
CHCl3) to give compound 4 as a pale yellow wax (13.1 g, 82%,               δH: 4.38 (t, 3H, CH2OS, J = 4.5 Hz), 3.79–3.74 (m, 2H,
Rf = 0.45 (8% methanol (MeOH) in CHCl3)). 1 H NMR                          CH2CH2OS), 3.7–3.6 (m, ∼ 180H, OCH2(PEG)), 3.38 (s, 3H,
(400 MHz), δH: 3.65–3.58 (m, 1H, NCH2CH), 3.52–3.32 (m,                    CH3O), 3.08 (s, 3H, OS(O)2CH3).
6H, OCH2), 2.79 (ABX, 2H, NCH2 (A and B), JAB = 13.2 Hz,
JAX = 3.7 Hz, JBX = 6.4 Hz), 1.62–1.51 (m, 4H, OCH2CH2),                   2.8.4. Preparation of 1-amino methoxy poly(ethylene glycol)
1.40–1.20 (m, 62H, NH2, CH2(stearyl)), 0.88 (t, 6H, CH3,                   (Me-PEG2000-NH2) (8)
J = 6.8 Hz).CHN found; C 78.69, H 13.42, N 2.66                                Me-PEG2000-NH2 was prepared as previously described [39].
(C39H81NO2 = C, 78.58; H, 13.70; N, 2.35; O, 5.37).                        Briefly, compound 7 (10 g, 5 mmol) was dissolved in a
                                                                           concentrated solution of aqueous ammonia (400 mL), sealed and
2.8. Synthesis of PEG-lipids                                               left to stir for 72 h. The product was extracted with DCM
                                                                           (3 × 300 mL) and the combined organic fractions dried over
2.8.1. Preparation of methoxy PEG2000 acetic acid (5)                      MgSO4 and concentrated. The product was crystallized from
   Methoxy poly(ethylene glycol) 2000 (Me-PEG 2000-OH)                     diethyl ether to yield compound 9 as a colourless solid (9.3 g,
(20.0 g, 10 mmol) was added to a solution of sodium dichromate             93%, Rf = 0.15 (10% MeOH in CHCl3)). 1H NMR (400 MHz),
(3.0 g, 10 mmol) in 10% sulfuric acid (200 mL) and stirred at              δH: 3.7–3.6 (m, ∼ 180H, OCH2(PEG)), 3.58–3.53 (m, 2H,
room temperature overnight. The product was extracted with                 CH2CH2NH2), 3.38 (s, 3H, CH3O), 2.90 (t, 2H, CH2NH2,
chloroform (3 × 250 mL) and the organic fraction combined,                 J = 5.2 Hz), 2.2–1.9 (bs, 2H, NH2).
washed with 1 M sodium hydroxide (250 mL) and evaporated to
yield a pale blue wax. This crude material was purified by flash           2.8.5. Preparation of methoxy poly(ethylene glycol) succini-
column chromatography (0–15% MeOH–CHCl3) to give                           mide (Me-PEG2000-Sn) (9)
compound 5 as a colourless solid (8.0 g, 38.7%, Rf = 0.3 (13%                  Succinic anhydride (3.8 g, 38.1 mmol) was added to a solution
MeOH in CHCl3)). 1H NMR (400 MHz), δH: 4.0–3.9 (s, 2H,                     of compound 8 (9.0 g, 4.4 mmol) in pyridine (anhydrous, 100 mL)

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                and the reaction stirred overnight. The pyridine solvent was               2.8.8. N-[(methoxy poly(ethylene glycol)2000)carbamyl]-1,2-
                removed under reduced pressure, and the residue dissolved in               dimyristyloxlpropyl-3-amine (PEG-C-DMA) (12)
                distilled water (100 mL) and acidified with HCl. Crude product                PEG-C-DMA, compound 12, was synthesized in a manner
                was extracted with DCM (3 × 100 mL), dried over magnesium                  similar to PEG-C-DSA, compound 11, on a 5 mmol scale to
                sulphate and concentrated. Purification by flash column chroma-            yield, after chromatography, compound 12 as a colourless solid
                tography (0–10% MeOH–CHCl3) yielded compound 9 as a                        (11.1 g, 88%, Rf = 0.35 (8% MeOH in CHCl3)). 1H NMR
                colourless solid (5.7 g, 61%, Rf = 0.3 (10% MeOH in CHCl3)). 1H            (400 MHz), δH: 5.21–5.15 (m, 1H, NH), 4.26–4.19 (m, 2H,
                NMR (400 MHz), δH: 6.69 (m, 1H, NH), 3.7–3.6 (m, ∼180H,                    CH2OC(O)), 3.7–3.6 (m, ∼ 180H, OCH2(PEG)), 3.60–3.39 (m,
                OCH2(PEG)), 3.58–3.53 (m, 2H, CH2CH2NH), 3.45 (quint, 2H,                  9H, NCH2CH(OCH2)CH2OCH2), 3.38 (s, 3 H, CH3O),
                CH2CH2NH, J = 5.0 Hz), 3.38 (s, 3H, CH3O), 2.70–2.61 (m, 2H,               1.60–1.50 (m, 4H, OCH2CH2(myristyl)), 1.38–1.20 (m, 44H,
                CH2CO2H), 2.57–2.50 (m, 2H, CH2CH2CO2H).                                   CH2(myristyl)), 0.88 (t, 6H, CH2CH3, J = 6.9 Hz).

                2.8.6. Preparation of N-[(methoxy poly(ethylene glycol)2000)               3. Results
                succinimidyl]-1,2-distearyloxlpropyl-3-amine (PEG-S-DSA)
                (10)                                                                       3.1. PEG-S-DSG is chemically unstable in liposomal
                   N-hydroxysuccinamide (360 mg, 3 mmol) and compound 9                    formulations
                (3.1 g, 1.5 mmol) were dissolved in chloroform (anhydrous,
                30 mL). A solution of 1,3-dicyclohexyl-carbodiimide (DCC)                     To ascertain lipid stability, we studied lipid concentrations over
                (490 mg, 2.25 mmol) in chloroform (anhydrous, 10 mL) was                   time in SPLP samples stored at different temperatures. Formula-
                added, and the reaction stirred for 1 h. A separate solution of            tions containing the lipids DSPC : cholesterol : PEG-S-DSG :
                compound 4 (900 mg, 1.5 mmol) and TEA (0.9 mL, 6 mmol) in                  DODMA (20:55:10:15 molar ratio) were examined by HPLC for
                chloroform (anhydrous, 10 mL) was added and the reaction for a             degradation at 5, 25 and 40 °C. DODMA and cholesterol
                further hour. The solution was filtered through a bed of Celite and        exhibited negligible structural instability, even under accelerated
                distilled water added (50 mL). The mixture was acidified with              conditions (40 °C, Fig. 1A), while DSPC degraded to a certain
                concentrated HCl, then washed again with distilled water                   extent. However, PEG-S-DSG degraded rapidly, with more than
                (2 × 50 mL) and brine (50 mL). Organic fractions were combined,            10% of the lipid degrading in the first 2 months, even at 5 °C (Fig.
                dried over magnesium sulphate and concentrated. The product                1B). As expected the instability of PEG-S-DSG was exacerbated
                was purified by flash column chromatography (0–7% MeOH–                    at higher temperatures. The PEG-S-DSG half-life in aqueous
                CHCl3) to yield PEG-S-DSA, compound 10, as a colourless solid              liposomal formulations was 18.3, 5.2 and 2.7 months at 5, 25 and
                (3.5 g, 88%, Rf = 0.65 (12% MeOH in CHCl3)). 1H NMR                        40 °C, respectively. Half-life values were calculated using a first
                (400 MHz), δH: 6.84–6.79 (m, 1H, NHCH2CH), 6.40–6.34 (m,                   order, non-compartmental model. Log values of the concentra-
                1H, CH2CH2NH), 3.7–3.6 (m, ∼180H, OCH2(PEG)), 3.60–3.39                    tions were plotted against time to give straight lines, the slopes of
                (m, 13H, OCH2CH2CN, NCH2CH(OCH2)CH2OCH2), 3.38 (s,                         which were used to calculate half-life.
                3H, CH3O), 2.54–2.49 (m, 2H, CH2CH2CO2H), 1.60–1.51 (m,
                4H, OCH2CH2(stearyl)), 1.40–1.20 (m, 60H, CH2(stearyl)), 0.88 (t,          3.2. Synthesis of novel PEG-lipids
                6H, CH3, J = 6.9 Hz).
                                                                                              Three novel PEG-lipids were synthesized for consideration as
                2.8.7. N-[(methoxy poly(ethylene glycol)2000)carbamyl]-1,2-                potential replacements for PEG-S-DSG; PEG-S-DSA, PEG-A-
                distearyloxlpropyl-3-amine (PEG-C-DSA) (11)                                DSA and PEG-C-DSA. Each used a different linker to join the
                   Diphosgene (2.0 mL, 16.7 mmol) was added to a solution of               PEG to the lipid anchor (the previously described 1,2-disteary-
                PEG2000 methyl ether (10.0 g, 5 mmol) in DCM (anhydrous,                   loxypropyl-3-amine (DSA) [38]); PEG-S-DSA, PEG-A-DSA
                100 mL) and stirred under nitrogen at room temperature for 3 h.            and PEG-C-DSA utilized succinimide, amide and carbamate
                DCM and excess diphosgene were then removed under reduced                  linkers, respectively (Fig. 2). The structure of DSA allows the
                pressure and compound 4 (4.2 g, 7 mmol) added. The flask was               possibility of synthesizing analogues with shorter alkyl chains,
                flushed with nitrogen, then DCM (anhydrous, 150 mL) and TEA                necessary for giving the PEG-lipids the desired programmable,
                (1.4 mL) added prior to stirring overnight. The solution was               exchangeable properties. The synthetic route to the lipids was
                diluted with DCM (100 mL), washed (1% HCl (1 × 200 mL),                    comprehensively revised to allow more efficient manufacture,
                water (1 × 200 mL) and brine (1 × 200 mL)), dried over magne-              such that the overall yield was improved by approximately 50%
                sium sulphate and concentrated. Purification by flash column               while the number of synthetic steps was decreased from six to
                chromatography (1.5–6.0% MeOH in CHCl3) followed by                        four. The synthesis and PEG-coupling processes (Fig. 3) dis-
                lyophilization afforded PEG-C-DSA, compound 11, as a colour-               played varying efficiency. Although the 2-step strategy used to
                less solid (11.9 g, 90%, Rf = 0.35 (8% MeOH in CHCl3)). 1H NMR             obtain PEG-A-DSA had a low overall yield of 14%, this did not
                (400 MHz), δH: 5.16–5.08 (m, 1H, NH), 4.25–4.19 (m, 2H,                    present a problem as the reactions are easily performed on large
                CH2OC(O)), 3.7–3.6 (m, ∼ 180H, OCH2(PEG)), 3.60–3.39                       scale. PEG-S-DSA predictably had a low yield also (46%), having
                (m, 9H, NCH2CH(OCH2)CH2OCH2), 3.38 (s, 3H, CH3O),                          the longest synthetic route with 4 discrete steps. The PEG-C-DSA
                1.60–1.50 (m, 4H, OCH2CH2(stearyl)), 1.38–1.20 (m, 60H,                    single-step synthesis was least complicated, and, unsurprisingly,
                CH2(stearyl)), 0.88 (t, 6H, CH2CH3, J = 6.8 Hz).                           had the highest yield of 90%. All synthetic products were

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                                                                                characteristic small particle size of SPLP (approximately 120 nm
                                                                                diameter, Table 1). Encapsulation efficiency was also significant-
                                                                                ly less with the use of PEG-DSPE; 61% as compared to 72% to
                                                                                80% for the other 5 formulations (P b 0.05, t-test). Final DNA
                                                                                encapsulation values were all somewhat similar, as the SPLP were
                                                                                passed through Mustang Q cartridges to remove unencapsulated
                                                                                DNA at the end of the formulation process. Even so, PEG-DSPE
                                                                                resulted in a formulation with a significantly lower percentage of
                                                                                encapsulated nucleic acid in the final product, as compared to the
                                                                                other PEG-lipids (P b 0.05, t-test).

                                                                                3.4. The presence of a succinate linker promotes instability in
                                                                                PEG-lipids

Fig. 2. Chemical structures of the 2000 molecular weight (n = 45) PEG-lipids        Assessment of PEG-lipid stability within the vesicles was of
assessed as replacements for PEG-S-DSG (top left). The 3 novel lipids (right
hand column) were designed without carboxylic ester bonds present in the
                                                                                interest. Therefore, formulations containing the six PEG-lipids
readily available alternatives (left column).                                   were analyzed for lipid degradation in an accelerated stability
                                                                                study, carried out over a six-week period at 37 °C. As expected
                                                                                from the earlier results, PEG-S-DSG was shown to degrade
analyzed by TLC and gave single spots with expected Rf values.                  steadily over the course of the experiment (t1 / 2 = 58 days) and
They were further characterized by 1H NMR and, in the case of                   PEG-CerC20 degraded at a very similar rate (t1 / 2 = 47 days)
non-polymeric compounds, elemental analysis.                                    (Fig. 4). The breakdown of both lipids was shown to be
                                                                                significant, even after 7 days (P b 0.05, t-test). The remaining
3.3. Physical characterization of formulations                                  PEG-lipids exhibited no obvious signs of instability during the
                                                                                six-week time-course, with concentrations after 42 days not
    The formulation characteristics of the six PEG-lipids were                  significantly different from initial values (P N 0.1 in all cases,
evaluated with particular emphasis on particle size and encapsu-                t-test). The other lipids, cholesterol, DSPC and DODMA, were
lation efficiency. The PEG-lipids were used to prepare SPLP by                  also stable during this time period. It is interesting to note that
spontaneous vesicle formation [37]. The PEG-DSPE formulation                    PEG-DSPE, despite containing two carboxylic ester bonds in its
had a mean particle size of 161 nm. All other formulations had the              structure, appears to be stable within the context of this
                                                                                particular experiment.

                                                                                3.5. In vivo gene expression from intravenous administration of
                                                                                SPLP

                                                                                    It has previously been shown that use of PEG-S-DSG or
                                                                                PEG-CerC20 allows for the formation of long circulating par-
                                                                                ticles that yield preferential gene expression in tumor tissue
                                                                                [8,9]. Ensuring a similar performance with the new PEG-lipids
                                                                                was of obvious importance. Therefore, gene expression was
                                                                                evaluated in a mouse tumor model following intravenous (i.v.)
                                                                                administration of SPLP containing the pCMVluc plasmid. 48 h

                                                                                Table 1
                                                                                Physical properties of the SPLP formulations
                                                                                PEG-lipid       Mean particle Initial      Final        Charge of PEG-
                                                                                                diameter      encapsulated encapsulated lipid at
                                                                                                (nm ± S.D.)   DNA (%)      DNA (%)      formulation pH
                                                                                                                                        (5.0)
                                                                                PEG-S-DSG       118 ± 4           80 ± 1       94 ± 1        Neutral
                                                                                PEG-DSPE        161 ± 5           61 ± 3       84 ± 2        −1
                                                                                PEG-CerC20      109 ± 6           74 ± 2       94 ± 2        Neutral
                                                                                PEG-A-DSA       122 ± 5           72 ± 2       89 ± 2        Neutral
                                                                                PEG-S-DSA       122 ± 6           75 ± 1       95 ± 1        Neutral
                                                                                PEG-C-DSA       118 ± 5           72 ± 2       89 ± 1        Neutral
                                                                                PEG-C-DMA       122 ± 5           78 ± 2       95 ± 2        Neutral
Fig. 3. Synthesis of three novel PEG-lipids. The PEG-lipids possessed
carbamate, amide and succinimide linkers, rather than the succinate linker      Values are the mean of 3 separate experiments, the error stated is the standard
used in PEG-S-DSG and PEG-CerC20.                                               deviation.


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                                                                                                  C-DSA SPLP. The remaining four formulations exhibited only
                                                                                                  marginally increased levels of either enzyme.

                                                                                                  3.7. Circulation half-life of SPLP comprising PEG-lipids with
                                                                                                  shorter lipid anchors

                                                                                                      Formulation, stability, transfection and toxicity data, combined
                                                                                                  with the ease of synthesis, lead to the selection of the carbamate
                                                                                                  linker chemistry for further characterization. The C14 analogue
                                                                                                  (PEG-C-DMA) was synthesized to confirm that, similarly to
                                                                                                  PEG-S-DAGs and PEG-Ceramides, bilayer exchangeability (and
                                                                                                  thus pharmacology) could be modulated by varying the size of the
                                                                                                  lipid anchor. SPLP were prepared incorporating a 3H-CHE-lipid
                Fig. 4. Stability of PEG-lipids in SPLP at 40 °C. Lipid concentrations were       marker. The percentage of injected dose remaining in circulation
                determined by HPLC analysis. Error shown is standard deviation (n = 3).           following a single injection of SPLP in the tail vein is displayed as
                                                                                                  a function of time (Fig. 7A). SPLP containing PEG-C-DSA
                after SPLP administration, luciferase expression was evaluated                    exhibited a circulation half-life of 16 h, similar to that of the PEG-
                in the liver, lung, spleen heart and tumor. As shown previously                   S-DSG containing formulation. SPLP containing PEG-C-DMA
                with PEG-S-DSG [9] or PEG-CerC20 [40] containing SPLP, an                         cleared more rapidly with a half-life of approximately 2 h. These
                excellent differential in luciferase protein levels was observed                  results are very similar to those reported previously for SPLP
                between the tumor and other tissues (Fig. 5). All six formu-                      containing the PEG-DAGs [9] and PEG-Ceramides [7]. The
                lations were similar in this respect, typically resulting in tumor                initial phase of the curve (from 0 to 8 h) was used to calculate half-
                gene expression 2 orders of magnitude greater than that ob-                       life, using a first order, non-compartmental model. This initial
                served in other, non-target tissues.                                              phase was felt to be the most relevant part of the curve, as it
                                                                                                  indicates how quickly the majority of the SPLP dose is cleared. It
                3.6. Intravenous administration of SPLP is well tolerated                         also represents 4 out of the 5 data-points. Log values of the
                                                                                                  concentrations were plotted against time to give straight lines, the
                   The relative toxicity of the new PEG-lipids was clearly of                     slopes of which were used to calculate half-life.
                interest, as they are ultimately intended for in vivo applications.
                The toxicity following SPLP administration was examined by                        3.8. Gene expression patterns from formulations containing
                determining levels of the transaminases ALT and AST in mouse                      PEG-lipids with shorter lipid anchors
                serum following SPLP treatment (Fig. 6). ALT is primarily
                regarded as a hepatocytes protein and increases in ALT are                           We have previously determined that the use of PEG-lipids with
                thought to indicate liver damage. AST is present in most tissues                  a shorter, C14 lipid anchor is necessary to avoid the generation of
                but particularly in cardiac muscle, skeletal muscle and the liver.                an antibody response when delivering encapsulated nucleic acids
                Elevations in AST are regarded as a more general indication of                    [30,31]. The main drawback to this strategy is that the shorter lipid
                systemic tissue damage. None of the formulations resulted in                      anchor leads to faster clearance, meaning less time for the
                large increases in either enzyme, and ALT and AST levels actually
                remained within the normal limits for the PEG-A-DSA and PEG-




                                                                                                  Fig. 6. Toxicity resulting from intravenous administration of SPLP. Serum was
                                                                                                  collected from mice and assayed for the enzymes alanine transferase (ALT) and
                Fig. 5. Biodistribution of luciferase gene expression in Neuro-2a tumor-bearing   aspartate transferase (AST). The upper and lower limits of historical normal
                male A/J mice. Gene expression was assessed 48 h after a single intravenous       values, as quoted by the Canadian Council on Animal Care, are indicated by
                administration of SPLP. Error shown is standard deviation (n = 6).                dotted lines. Error bars represent standard deviation (n = 3).


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                                                                                    Upon storage, even at 4 °C, more than 10% of the PEG-lipid
                                                                                    was degraded within 2 months (Fig. 1). This effectively
                                                                                    disqualifies this PEG-lipid from incorporation into any
                                                                                    formulation to be considered for clinical development. We
                                                                                    hypothesized that this instability was due to the presence of
                                                                                    readily hydrolysable carboxylic ester bonds (of which there are
                                                                                    4 in the structure of PEG-S-DSG) [41,42]. Of the possible
                                                                                    replacements, PEG-Ceramides [21] and PEG-DSPE possess
                                                                                    ester bonds. PEG-DSPE also possesses an electrostatic charge,
                                                                                    at both formulation and physiological pH, as do SAINT-PEGs
                                                                                    [23]. This was also considered to be undesirable, for reasons of
                                                                                    increased blood clearance [43,44], possible complement
                                                                                    activation, and/or possible leakage of encapsulated material
                                                                                    [21].
                                                                                        Another strategy for facilitating the intracellular delivery of
                                                                                    PEG-lipid-containing particles is the use of PEG-lipids
                                                                                    designed to cleave in the endosome. These include the
                                                                                    disulphide-, vinyl ether- and diorthoester-linked PEG-lipids
                                                                                    mentioned previously [24–29]. However, when considering the
                                                                                    PEGylation strategy for nucleic acid containing particles, it is
                                                                                    important to consider recent reports of an acquired immune
                                                                                    response to C18 PEG-lipids with a long residence time on the
                                                                                    particle [30,31]. The environmentally sensitive PEG-lipids
                                                                                    described to date utilize C18 lipid anchors, and therefore may
                                                                                    illicit similar immune responses when used to deliver
                                                                                    immunostimulatory nucleic acids. The use of PEG-lipid linker
                                                                                    chemistries that were designed to cleave in response to
Fig. 7. (A) Plasma clearance of SPLP containing PEG-S-DSG, PEG-C-DSA or
                                                                                    environmental triggers was rejected in favor of using exchange-
PEG-C-DMA. The percentage of injected dose remaining in plasma of mice
following a single intravenous administration is displayed. SPLP were labelled      able PEG-lipids.
with 3H-cholesteryl hexadecyl ether (1 μCi per mg of lipid). Error bars represent       We designed three novel PEG-lipids as potential replace-
standard deviation (n = 4). (B) Biodistribution of gene expression resulting from   ments for PEG-S-DSG, each containing a different linker
administration of SPLP containing C14 or C18 PEG-lipid analogues. SPLP were         connecting the PEG and lipid domains. The first, PEG-S-DSA,
administered by intravenous administration and gene expression measured 48 h
                                                                                    utilized a succinimide linker, a direct (amide) analogue of the
later. Error shown is standard deviation (n = 4).
                                                                                    labile succinate linker in PEG-S-DSG. The yield for coupling of
                                                                                    the PEG and lipid moieties was quite low, with an overall yield
particles to accumulate at the disease site and typically resulting in              of 14%. The second and third PEG-lipids, PEG-A-DSA and
lower gene expression at distal tumor sites. It was of interest to                  PEG-C-DSA, possessed simple amide and carbamate linkers.
evaluate to what degree this phenomenon affected gene ex-                           These required fewer steps to synthesize and yields were much
pression using PEG-C-DMA SPLP. SPLP were prepared using                             higher, 46% and 90%, respectively. All novel PEG-lipids
the C14 (PEG-C-DMA and PEG-succinoyl dimyristylglycerol                             utilized the same type of lipid anchor. Similarly to the linker, the
(PEG-S-DMG)) and C18 (PEG-C-DSA and PEG-S-DSG)                                      carboxylic esters in the lipid anchor were replaced, in this case
analogues of PEG-C-DAAs and PEG-S-DAGs. Gene expression                             with ether bonds. The lipid possesses a primary amine head
was evaluated in the liver, lung, spleen heart and tumor 48 h after a               group to facilitate coupling to PEG. The dialkylglyceryl nature
single intravenous administration of SPLP. Although tumor gene                      of the hydrophobic anchor was retained, to facilitate straight-
expression resulting from PEG-C-DMA SPLP treatment was                              forward adjustment of the diffusible nature of the resulting
significantly lower than that obtained with PEG-C-DSA                               PEG-lipid conjugate. When performing PEG-lipid coupling, an
(P b 0.05), there was no significant difference between the level                   excess of lipid was used in relation to PEG. While this may
of tumor gene expression following treatment with PEG-S-DMG,                        seem counterintuitive (since the lipid anchor requires more
PEG-S-DSG, or PEG-C-DMA SPLP (Fig. 7B). Consistent with                             synthetic steps to prepare than PEG), subsequent work up and
previous results, a marked differential was seen between the gene                   purification of the final compounds was found to be easier
expression in tumor tissue and the other tissues examined, typi-                    with this approach. The C18 analogues of all PEG-lipids
cally of 2 orders of magnitude.                                                     were synthesized initially to allow for direct comparison with
                                                                                    PEG-S-DSG.
4. Discussion                                                                           All of the PEG-lipids, with the exception of PEG-DSPE,
                                                                                    were readily incorporated in SPLP and resulted in acceptable
   While conducting long-term stability tests on SPLP, we                           formulations. PEG-DSPE, being the only PEG-lipid to possess
discovered that the PEG-lipid, PEG-S-DSG, was unstable.                             a negative charge, yielded larger particles (∼160 nm) than the

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                five neutral compounds (∼120 nm). The model for SPLP                      synthesized in good yield with a minimum number of steps,
                formation and nucleic acid encapsulation involves a charge                and gives particles that transfect as well as PEG-S-DSG
                interaction between nascent cationic lipid-containing bilayer             without signs of toxicity. To confirm the diffusible PEG-lipid
                fragments and the negatively charged nucleic acid. PEG-DSPE               paradigm would apply to PEG-C-DSA analogues and to
                may act to partially neutralize the charge on the bilayer                 address the issue of the immune response with more stably
                fragments or actively repel the DNA by charge repulsion,                  incorporated PEG-lipids, the C14 analogue (PEG-C-DMA) of
                as encapsulation efficiency was also reduced when using                   PEG-C-DSA was synthesized. The synthesis and purification
                PEG-DSPE.                                                                 of PEG-C-DMA, like its C18 analogue, were found to be
                   Stability assessment of the individual PEG-lipids incorpo-             straightforward and of high yield (88% compared to 90%).
                rated in SPLP yielded interesting results (Fig. 4). PEG-S-DSG             PEG-C-DMA particles were found to possess the same small
                was shown to degrade steadily in aqueous solution, as was the             size and high encapsulation characteristics as those containing
                PEG-CerC20. PEG-DSPE, however, is stable, despite posses-                 PEG-C-DSA (Table 1). The pharmacokinetics of PEG-C-
                sing two carboxylic ester bonds similar to those thought to               DMA-containing SPLP was confirmed in PK studies utilizing
                                                                                          3
                contribute to PEG-S-DSG instability. This may be explained by               H-labelled SPLP. As with PEG-S-DSG/PEG-S-DMG formu-
                the location of the ester bonds. PEG-S-DSG and PEG-CerC20                 lations, where long (t1 / 2 = 15 h) and short (t1 / 2 = 1 h)
                both contain ester bonds in the succinate linkers, between the            circulating formulations were prepared by switching from the
                PEG and hydrophobic domains of the molecule. These are                    C18 to a C14 lipid anchor [9], the circulation half-life of PEG-
                expected to be located at the surface of the SPLP lipid bilayer,          C-DSA (t1 / 2 = 16 h) and PEG-C-DMA (t1 / 2 = 2 h) supported
                allowing ingress of water molecules necessary for the                     the diffusible PEG-lipid paradigm. Of interest, although the
                hydrolysis of this bond. Conversely, the ester bonds of PEG-              reduced circulation time had an effect on the resulting
                DSPE are located in the hydrophobic domain of the molecule                transfection efficiency (Fig. 7B), the tumor gene expression
                and would be expected to be sequestered deep within the lipid             resulting from the administration of PEG-C-DMA-containing
                bilayer. These bonds would be less accessible to water and                SPLP was as great as that obtained when using PEG-S-DSG
                therefore less susceptible to hydrolysis. Of note, DSPC, which            suggesting that PEG-C-DMA may be a suitable replacement
                also contains ester bonds in the hydrophobic domain, also                 for PEG-S-DSG in nucleic acid delivery systems. Subsequent-
                appears to be relatively stable within the limited context of this        ly, toxicity evaluation by analysis of serum transferase levels
                experiment. The three novel PEG-lipids, containing no ester               was performed, following intravenous administration of PEG-
                bonds, were completely stable, as were the cholesterol and                C-DMA SPLP in A/J mice (data not shown). Similarly to the
                DODMA components.                                                         PEG-C-DSA analogue, AST and ALT levels of 125 and 78 IU/
                   To assess the utility of the PEG-lipids in formulations for            L, respectively, were barely elevated, and well within normal
                systemic delivery, SPLP containing a luciferase reporter                  limits as set out by the Canadian Council on Animal Care
                plasmid were administered to Neuro-2a tumor-bearing mice                  (CCAC).
                via tail vein injection. Since all the PEG-lipids used in this
                experiment were C18 analogues, and the hydrophobic domain                 5. Conclusion
                of the molecule is the dominant factor in determining
                transfection efficiency, it was not unexpected that the six                  Using a simple assay developed to determine lipid
                formulations performed similarly. Each formulation resulted in            degradation, we have demonstrated that two of the better-
                comparable luciferase expression of approximately 700 pg/g                known types of PEG-lipid, PEG-S-DAGs and PEG-Ceramides,
                of tumor. This compares favorably with previously reported                are unstable when incorporated in aqueous liposomal formula-
                SPLP formulations containing pCMVluc plasmids, which                      tions. Accordingly, we have designed and synthesized three
                have yielded 30 [7] and 100 pg/g [9]. The preferential                    replacement PEG-lipids. We have shown that all three of the
                expression of luciferase in the tumor is in part due to passive           novel PEG-lipids are readily synthesized, stable under stressed
                disease site targeting and the EPR effect, but also because non-          conditions and formulate well as SPLP. The resulting particles
                viral delivery systems transfect actively dividing cells more             are non-toxic and capable of transfecting distal tumors with 2
                efficiently [45].                                                         orders of magnitude of specificity over other organs. Our
                   Analysis of serum transaminase levels confirmed comparable,            continuing changes to the lipid components of the SPLP
                low toxicity for all systems. AST and ALT levels were elevated            particle, with no obvious penalty in terms of formulability or
                only slightly in mice treated with 50 mg/kg total lipid, of which         performance, further demonstrate the robustness of the SPLP
                approximately 20 mg/kg was PEG-lipid, when compared to PBS                platform and formulation methodology.
                controls. This was consistent with previous results in which SPLP
                have been shown to be less toxic than lipoplex systems [7]. The           Acknowledgements
                move from readily degradable ester PEG-lipids, to those with
                more stable, and possibly less easily metabolised bonds, had no              The authors wish to thank Jay Petkau for the synthesis of the
                apparent effect on acute toxicity.                                        pCMVluc plasmid and Kevin McClintock for co-ordination of
                   The data favored the adoption of PEG-C-DSA or one of its               the in vivo studies. They also wish to thank Dr. Lloyd Jeffs and
                analogues. PEG-C-DSA is stable in the bilayer at 40 °C for                Dr. Lorne Palmer for helpful discussions and assistance with
                greater than six weeks, it is charge-neutral, formulates well, is         SPLP formulation.

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